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                                     No. 22-1890


               United States Court of Appeals
                   for the Federal Circuit
                                 APPLE INC.,

                                                   Appellant,

                                         v.

                          MASIMO CORPORATION,

                                                   Appellee.

      APPEAL FROM THE UNITED STATES PATENT AND TRADEMARK OFFICE,
          PATENT TRIAL AND APPEAL BOARD IN NO. IPR2020-01523

                              JOINT APPENDIX

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February 15, 2023
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           319, 37 C.F.R. § 42 (Paper 2)
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                2003/0004428 to Pless et al.
                APPLE-1017 - U.S. Patent Application Publication No.         Appx934
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Trials@uspto.gov                                                Paper 32
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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                   v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2020-01523
                          Patent 8,457,703 B2



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

COCKS, Administrative Patent Judge.


                            JUDGMENT
                        Final Written Decision
            Determining No Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
             Dismissing Patent Owner’s Motion to Exclude
                          37 C.F.R. § 42.64




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                           I.   INTRODUCTION

                                A. Background

      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) pursuant to
35 U.S.C. §§ 311–319 to institute an inter partes review of claims 1–7, 9–
18, and 20–24 (“challenged claims”) of U.S. Patent No. 8,457,703 B1
(Ex. 1001, “the ’703 patent”). We instituted the petitioned review (Paper 7).
      Masimo Corporation (“Patent Owner”) filed a Patent Owner Response
(Paper 15, “PO Resp.”) to oppose the Petition. Petitioner filed a Reply
(Paper 18, “Pet. Reply”) to the Patent Owner Response. Patent Owner filed
a Sur-reply (Paper 20, “Sur-reply”) to the Reply. Patent Owner filed a
Motion to Exclude Petitioner’s Evidence (Paper 25). Petitioner filed an
Opposition to the Motion to Exclude (Paper 26). Patent Owner filed a Reply
(Paper 27) to Petitioner’s Opposition. We conducted an oral hearing on
January 19, 2022. A transcript has been entered in the record (Paper 31,
“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b)(4) and § 318(a). This
Decision is a final written decision under 35 U.S.C. § 318(a) and 37 C.F.R.
§ 42.73 as to the patentability of claims 1–7, 9–18, and 20–24 of the
’703 patent. We determine Petitioner has not shown by a preponderance of
the evidence that those claims are unpatentable.




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                              B. Related Matters

      The parties identify the following matters related to the ’703 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB
Sept. 2, 2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB
Sept. 2, 2020) (challenging claims of U.S. Patent No. 10,588,554 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB
Sept. 2, 2020) (challenging claims of U.S. Patent No. 10,588,554 B2).
Pet. 75; Paper 3, 2.

                             C. The ’703 Patent
      The ’703 patent is titled “Low Power Pulse Oximeter,” and issued on
June 4, 2013, from U.S. Patent Application No. 16/174,144, filed
November 13, 2007. Ex. 1001, codes (21), (22), (45), (54). The ’703 patent
relates to a pulse oximeter that may reduce power consumption in the

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absence of certain parameters that may be monitored to trigger or override
the reduced power consumption state. Id. at code (57). “In this manner, a
pulse oximeter can lower power consumption without sacrificing
performance during, for example, high noise conditions or oxygen
desaturations.” Id.
      As depicted below, the low power pulse oximeter has signal
processor 340 that derives physiological measurements 342, including
oxygen saturation, pulse rate, and plethysmograph, from input sensor signal
322. Ex.1001, 4:64–5:10, Figs. 3, 4.




Figure 3 above illustrates a top-level block diagram of a low power pulse
oximeter. Id. at 4:40–41. Signal processor 340 may also derive signal
statistics 344, such as signal strength, noise, and motion artifact. Id. at 5:14–
15, Figs. 3, 4. Physiological measurements 342 and signal statistics 344
may be input into sampling controller 360, which outputs sampling controls
362 that in turn are used to regulate pulse oximeter power dissipation by
causing sensor interface 320 to vary the sampling characteristics of sensor



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port 302 and by causing signal processor 340 to vary its sample processing
characteristics. Id. at 5:15–27, Figs. 3, 4. According to the ’703 patent,
power dissipation “is responsive not only to output parameters, such as the
physiological measurements 342, but also to internal parameters, such as the
signal statistics 344.” Id. at 5:24–27.
      The pulse oximeter uses the physiological measurements and signal
statistics to determine “the occurrence of an event or low signal quality
condition.” Ex. 1001, 6:25–28. An event determination is based upon the
physiological measurements and “may be any physiological-related
indication that justifies the processing of more sensor samples and an
associated higher power consumption level, such as an oxygen desaturation,
a fast or irregular pulse rate or an unusual plethysmograph waveform.” Id.
at 6:28–34. A low signal quality condition is based upon the signal statistics
and “may be any signal-related indication that justifies the processing or
more sensor samples and an associated higher power consumption level,
such as a low signal level, a high noise level or motion artifact.” Id. at 6:34–
41.
      The pulse oximeter “utilizes multiple sampling mechanisms to alter
power consumption.” Ex. 1001, 5:59–61. One sampling mechanism is “an
emitter duty cycle control” that “determines the duty cycle of the current
supplied by the emitter drive outputs 482 to both red and IR sensor
emitters.” Id. at 5:61–66. The sampling mechanisms “modify power
consumption by, in effect, increasing or decreasing the number of input
samples received and processed.” Id. at 6:9–11. “Sampling, including
acquiring input signal samples and subsequent sample processing, can be
reduced during high signal quality periods and increased during low signal



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quality periods or when critical measurements are necessary.” Id. at 6:11–
15. “In conjunction with an intermittently reduced duty cycle or as an
independent sampling mechanism, there may be a ‘data off’ time period
longer than one drive current cycle where the emitter drivers . . . are turned
off.” Id. at 7:8–12. The occurrence of an event or low signal quality
triggers a higher duty sensor sampling, allowing high fidelity monitoring of
the event and providing a larger signal-to-noise ratio. Id. at 8:44–57.

                            D. Illustrative Claims
      Of the challenged claims, claims 1, 9, 12, 15, 20, and 22 are
independent. Claims 1 and 9 are illustrative and are reproduced below.
      1. A method of managing power consumption during continuous
      patient monitoring by adjusting behavior of a patient monitor, the
      method comprising:
              [a] driving one or more light sources configured to emit
      light into tissue of a monitored patient;
              [b] receiving on or more signals from one or more
      detectors configured to detect said light after attenuation by said
      tissue;
              [c] continuously operating a patient monitor at a lower
      power consumption level to determine measurement values for
      one or more physiological parameters of a patient;
              [d] comparing processing characteristics to a
      predetermined threshold; and
              [e] when said processing characteristics pass said
      threshold, transitioning to continuously operating said patient
      monitor at a higher power consumption level,
              [f] wherein said continuously operating at said lower
      power consumption level comprises reducing activation of an
      attached sensor,
              [g] said sensor positioning said light sources and said
      detectors proximate said tissue.




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      9. A method of managing power consumption during continuous
      patient monitoring by adjusting behavior of a patient monitor, the
      method comprising:
              [a] driving one or more light sources configured to emit
      light into tissue of a monitored patient;
              [b] receiving one or more signals from one or more
      detectors configured to detect said light after attenuation by said
      tissue;
              [c] continuously operating a patient monitor at a lower
      power consumption level to determine measurement values for
      one or more physiological parameters of a patient;
              [d] comparing processing characteristics to a
      predetermined threshold; and
              [e] when said processing characteristics pass said
      threshold, transitioning to continuously operating said patient
      monitor at a higher power consumption level,
              [f] wherein said continuously operating at said lower
      power consumption level comprises reducing an amount of
      processing by a signal processor.

Ex. 1001, 11:32–51, 12:5–22 (bracketed identifiers [a]–[g] and [a]–[f]
added).
      Independent claim 12 is also a method claim that includes similar
limitations, but its last clause recites “wherein said processing characteristics
include an override condition.” Id. at 12:29–46. Independent claims 15, 20,
and 22 are corresponding apparatus claims, each directed to a “patient
monitor.” Id. at 12:53–67, 13:16–14:3, 14:6–21.




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                             E. Evidence Relied Upon

          Petitioner relies on the following references:
Reference                      Publication/Patent Number                    Exhibit
Diab                 U.S. Patent No. 5,632,272 issued May 27, 1997          1007
Amano                U.S. Patent No. 6,293915 B1 issued Sept. 25,           1004
                     2001
Edgar                U.S. Patent No. 6,393,311 B1 issued May 21,            1005
                     2002
Turcott              U.S. Patent No. 6,527,729 B1 issued Mar. 4,            1006
                     2003

Pet. 3.
          Petitioner also relies on the declaration testimony of Brian W.
Anthony, Ph.D. (Exhibit 1003). Patent Owner relies on the declaration
testimony of Vijay K. Madisetti, Ph.D. (Exhibit 2001).

                               F. Asserted Grounds
          We instituted trial to determine if claims 1–7, 9–18, and 20–24 are
unpatentable based upon the following grounds:
  Claims Challenged            35 U.S.C. §              References/Basis
 9, 10, 12–14, 20, 22–
                                   103           Diab, Amano
 24
 11, 21                            103           Diab, Amano, Edgar
 1–7, 15–18                        103           Diab, Amano, Turcott
                                                 Diab and “the General
 9, 10, 12–14, 20, 22–                           Knowledge of a [person of
                                   103
 24                                              ordinary skill in the art]” (“GK-
                                                 POSITA”)
 11, 21                            103           Diab, GK-POSITA, Edgar
 1–7, 15–18                        103           Diab, GK-POSITA, Turcott
 9, 10, 12–14, 20, 22–
                                   103           Amano
 24
 1–3, 15–17                        103           Amano, Turcott


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                                II. ANALYSIS

                           A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). The parties offer constructions for the following claim
terms or phrases (1) “reducing/reduce activation of an attached sensor”
(claims 1 and 15), and (2) “processing characteristics” (all challenged
claims). We determine that it is only necessary to consider the meaning of
“processing characteristics.”

      1. “processing characteristics”
      The term “processing characteristics” is one that is required by all of
the challenged claims. In the body of the Petition, Petitioner offers two
apparent constructions of the term. In one instance, Petitioner sets forth a
“limiting interpretation requiring ‘processing characteristics’ to be obtained
from a signal provided by a photodetector.” Pet. 50 (citing Ex. 1003 ¶ 97).
In another instance, Petitioner expresses that “the plain meaning of
‘processing characteristics’ includes characteristics or features obtained from
or used for processing information.” Id. at 51 (citing Ex. 1003 ¶ 98;
Ex. 1004, 21:9–49). Dr. Anthony characterizes this “plain meaning”
construction as constituting “an alternative non-limiting interpretation.”
Ex. 1003 ¶ 98.
      In its Response, Patent Owner lays out disagreement with Petitioner
on the construction of “processing characteristics.” Patent Owner contends
that neither Petitioner nor Dr. Anthony has adequately taken a position as to



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what is the proper or correct construction of “processing characteristics.”
Patent Owner indicates that on cross-examination, Dr. Anthony, “admitted
he had not formed an opinion regarding the correct construction.” PO Resp.
22 (citing Ex. 2003, 126:13–127:5). Because in Patent Owner’s view, Dr.
Anthony “never formed an opinion regarding the proper construction,”
Patent Owner submits that Petitioner’s claim construction positions should
be regarded with skepticism. See id. at 23. Patent Owner expresses that the
panel should “construe ‘processing characteristics’ to require that the
processing characteristics are determined from a signal received from one or
more detectors configured to detect light.” Id. at 23 (citing Ex. 2001 ¶ 44).
Notably, Patent Owner likens its proposed construction to “Petitioner’s
‘limiting construction’” and characterizes that construction as “the plain and
ordinary meaning” of “processing characteristics,” rather than Petitioner’s
broader proposed construction of the term. Id. at 24. Patent Owner
contends that its proposed construction draws supports from the claims
themselves as well as the Specification of the ’703 patent. Id. at 24–27.
      In particular, Patent Owner notes that all of the challenged claims
require that one or more signals are received from one or more detectors that
are configured to detect the light after attenuation by body tissue. Id. at 24
(referencing independent claims 1, 9, 12, 15, 20, 22). Patent Owner also
observes that all of the claims require “comparing processing characteristics
to a predetermined threshold.” Id. Patent Owner reasons the following:
      A POSITA would have understood that the processing
      characteristics are determined from the signal received from the
      detector because (1) the signal received from the detector is the
      only signal referenced in the claims, (2) all data processing in the
      claims depends on the signal from the detector, and (3) as
      discussed herein, the specification consistently describes


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       determining the processing characteristics from the signal
       received [from] the detector.
Id. at 24–25 (citing Ex. 2001 ¶ 46).
       Patent Owner also explains that throughout the Specification
the characteristics that are described and shown as being processed are
those conveyed via signals from light detectors. Id. at 24–27 (citing
Ex. 1001, 5:28–30, 5:35–38, 5:40–41, 5:46–48, 11:43–47, 12:16–20,
12:40–44, 12:62–66, 13:25–41:1, 14:15–19, Fig. 4; Ex. 2001 ¶¶ 43–
49).
       In its Reply, Petitioner characterizes Patent Owner’s proposed
construction as “unjustifiably limiting.” Pet. Reply 1. In support of its
view, Petitioner points to claims 4 and 8 that, according to Petitioner, convey
a more expansive meaning of “processing characteristics.” Specifically,
Petitioner contends that because claim 4 recites “said processing
characteristics comprise signal characteristics from one or more light
sensitive detectors” the claim allegedly would be “meaningless” if
“processing characteristics are already required to be ‘determined from a
signal received from one or more detectors.’” Id.
       Claim 8 recites “said processing characteristics include determining
an estimate of current power consumption and comparing said estimate with
a target power consumption.” Ex. 1001, 12:1–4. Petitioner contends that
the meaning of that claim as informed by the Specification is that in
determining an estimate of current power consumption, the processing
characteristics are determined from control engine 440 rather than detector
front-end 490 (i.e., a light detector). Id. at 2–3.
       In its Sur-reply, Patent Owner responds to Petitioner’s interpretation
of claims 4 and 8 as allegedly informing the meaning of “processing


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characteristics.” Specifically, with respect to claim 4, Patent Owner argues
that Petitioner’s understanding of the claim is incorrect, stating the
following:
      Petitioner assumes the limitation “from one or more light
      sensitive detectors” is the narrowing limitation of claim 4.
      However, Petitioner ignores that claim 4 is narrower than claim 1
      because the “processing characteristics comprise signal
      characteristics.” The ’703 patent discloses that processing
      characteristics can include (1) physiological measurements and
      (2) signal statistics, both of which are received from the one or
      more light sensitive detectors. (Ex. 1001, 4:11-27, Figs. 3-4.)
      Claim 4 is limited to signal characteristics (i.e., as opposed to
      physiological measurements).
             The clause identified by Petitioner, “from one more light
      sensitive detectors,” supports Masimo’s construction that the
      “processing characteristics” must come “from a signal received
      from one or more detectors configured to detect light.” (See also
      POR 23-27.)
Sur-reply 4–5.
      In connection with claim 8, and the portions of the Specification cited
by Petitioner in construing the claim, Patent Owner expresses that Petitioner
is incorrect in its view that a power consumption estimate is not determined
from a signal received from detector 490. Patent Owner argues “[a]s
illustrated by the red lines below, the ‘process status calculator 460’ [orange]
estimates the current power consumption using a signal received from the
detector front-end 490 [green].” Id. at 5–6. Patent Owner’s annotated
version of Figure 4 is reproduced below.




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The annotated version of Figure 4 above shows a signal path from detector
front-end 490 to power status calculator 460. Patent Owner explains that,
while the signal passes through other processing modules before reaching
power status calculator 460, the power consumption estimate is still
“determined from a signal received from one or more detectors [490]
configured to detect light.” Id. at 6.
      In our view, Patent Owner has the better explanation for what a
person of ordinary skill in the art would understand from the ’703 patent as
to what constitutes the “processing characteristics” that factor into the
patient monitoring described by the claims. In that respect, we agree with
Patent Owner’s above-noted assessments of the requirements of claims 4
and 8. Patent Owner persuasively explains that claim 4 does not emerge as
meaningless based on Patent Owner’s construction of “processing


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characteristics” but instead claim 4 further refines the understanding of the
type of processing characteristics that are received from the light detectors,
i.e., signal characteristics rather than physiological measurements. We also
share Patent Owner’s view that the understanding of claim 8 taken in the
context of the Specification (e.g., Fig. 4), establishes that the estimate of
power consumption is determined based on signals from light detector 490.
We agree that Petitioner’s views as to how claims 4 and 8 inform the
meaning of “processing characteristics” lack support and fall short.
      We conclude that it is inconsistent with the ’703 patent to tease out
the sweeping premise advanced by Petitioner that simply any information
that is processed, regardless of its source, can constitute the “processing
characteristics” that are employed as a part of all of the challenged claims to
monitor a patient based on light signals. Rather, we rely on the written
description of the ’703 patent as a useful guide in informing the meaning of
“processing characteristics,” and conclude that the proper understanding of
the term is that such characteristics are derived from signals from light
detectors. See Phillips v. AWH Corp., 415 F.3d 1303, 1317 (Fed. Cir. 2005)
(“It is therefore entirely appropriate for a court, when conducting claim
construction, to rely heavily on the written description for guidance as to the
meaning of the claims.”).
      Accordingly, we conclude that, in the context of the ’703 patent,
“processing characteristics” are determined from a signal received from one
or more detectors configured to detect light.

      2. Other Claim Terms

      Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is


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needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.,
868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need to be
construed “only to the extent necessary to resolve the controversy” (quoting
Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.
1999))).

                             B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.




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    Neither party presents objective evidence of non-obviousness.

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      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). It is
Petitioner’s burden to show unpatentability by a preponderance of the
evidence. 35 U.S.C. § 316(e). The burden of persuasion never shifts to
Patent Owner. Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800 F.3d
1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having
      a Bachelor of Science degree in an academic discipline
      emphasizing the design of electrical, computer, or software
      technologies, in combination with training or at least one to two
      years of related work experience with capture and processing of
      data or information, including but not limited to physiological
      monitoring technologies or a Master of Science degree in a
      relevant academic discipline with less than a year of related work
      experience in the same discipline.

Pet. 5 (citing Ex. 1003 ¶ 33).
      Patent Owner does not offer its own assessment of the level of
ordinary skill. Patent Owner, however, does level a measure of criticism of
Petitioner’s assessment of the level of skill in the art as being inconsistent
with Petitioner’s own declarant, Dr. Anthony, in not accounting for
experience in “non-invasive optical biosensors.” PO Resp. 16–17.
Nevertheless, Patent Owner expresses that it “applies the asserted level of
skill identified in the Petition.” Id. at 17 (citing Ex. 2001 ¶ 22). We


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determine that the Petitioner’s expressed level of ordinary skill in the art is
consistent with the ’703 patent and the prior art of record. Accordingly, we
adopt it in this Decision.

                   D. Ground Based on Diab and Amano
      Petitioner contends that claims 9, 10, 12–14, 20, and 22–24 of the
’703 patent would have been obvious over the combined teachings of Diab
and Amano. Pet. 6–28. Patent Owner challenges that obviousness
contention. See generally PO Resp.; Sur-reply.

      1. Overview of Diab (Ex. 1007)

      Diab is a U.S. Patent titled “Signal Processing Apparatus.” Ex. 1007,
code [54]. Diab discloses a “method and apparatus for analyzing two
measured signals that are modeled as containing primary and secondary
portions” particularly with respect to blood oximetry measurements. Id. at
code [57]. Diab further presents “[a] physiological monitor particularly
adapted to pulse oximetry oxygen saturation measurement comprises two
light emitting diodes (LED[]s) which emit light at difference wavelengths to
produce first and second signals.” Id. at 4:51–54.




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      Diab’s Figure 11 is reproduced below:




Figure 11 above shows “[a] schematic of a physiological monitor for pulse
oximetry” that “depicts a general hardware block diagram of a pulse
oximeter 299.” Id. at 34:10–12. Pulse oximeter 299 includes sensor 300
with light emitters 301 and 302, digital signal processing system 334, and
display 336. Id. at 34:12–25. Digital signal processing system 334 provides
outputs to display 336 that may include “blood oxygen saturation, heart rate,
and a clean plethysmographic waveform.” Id. at 34:25–29.




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      Diab’s Figure 14 is reproduced below:




Figure 14 depicts a “functional block diagram[] of the operations of the
pulse oximeter 299 carried out by the digital signal processing system 334.”
Id. at 38:61–63. Data entering processing system 334 undergoes various
operations including “demodulation” by demodulation module 400,
“decimation” by decimation module 402, certain statistical calculations by
statistics module 404, and a “saturation transform” by saturation transform
module 406. Id. at 38:66–39:10. “The data subjected to the statistics
operations and the data subjected to the saturation transform operations are
forwarded to the saturation operations as represented by a saturation
calculation module 408 and pulse rate operations as represented in a pulse
rate calculation module 410.” Id. at 39:10–15.




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      Diab’s Figure 20 is reproduced below:




Figure 20 shows pulse rate module 410. Id. at 47:30. Pulse rate module 410
includes, inter alia, motion status module 584 and “motion artifact
suppression module 580.” Id. at 47:33–34. An “average peak width value”
is provided to motion status module 584 and, “if the peaks are wide, this is
taken as an indication of motion.” Id. at 47:50–52. “In the case of motion,
motion artifacts are suppressed using the motion artifact suppression
module 580.” Id. at 47:55–56. “If motion is not detected, spectral
estimation on the signals is carried out directly without motion artifact
suppression.” Id. at 47:52–54.

      2. Overview of Amano (Ex. 1004)

      Amano is a U.S. Patent titled “Pulse Wave Examination Apparatus,
Blood Pressure Monitor, Pulse Waveform Motion, and Pharmacological




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Action Monitor.” Ex. 1004, code (54). Amano characterizes its disclosure
as follows:
             The present invention relates to a pulse wave examination
      apparatus suitable for specifying the type of human pulse wave,
      a blood pressure monitor using the mean blood pressure and
      pulse pressure as its parameters and a pulse waveform monitor
      and a pharmacological action monitor which use a parameter
      related to a dicrotic notch part of an arterial pressure waveform.
Id. at 1:7–13.2

      Amano’s Figures 37A and 37B are reproduced below:




Figure 37A “is a view showing the condition of a wrist watch-type pulse
wave examination apparatus which is installed.” Id. at 16:38–40.


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  A “pulse wave is usually defined as a wave of blood which is output from
the heart and propagates through a blood vessel.” Id. at 1:17–19.

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Figure 37B “is a view showing a pulse wave detecting section of a wrist
watch-type pulse wave examination apparatus” that is mounted on “the root
of a finger.” Id. at 16:41–43, 40:44–45. Wrist watch-type pulse
examination apparatus 1 includes device body 100 with cable 101
connecting to pulse wave detecting section 10. Id. at 40:23–27.
      Amano’s Figure 1 is reproduced below:




Figure 1 above “is a block diagram showing the functional structure of the
pulse wave examination apparatus according to” an embodiment. Id. at
21:3–5. Pulse wave detecting section 10 detects a pulse waveform and
outputs the detected signal to body movement elimination section 30. Id. at
21:5–8. The pulse wave examination apparatus also includes, inter alia,


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body movement detecting section 20, waveform treating section 21, and
judging section 22. “[B]ody movement detection section 20 comprises, for
instance, an acceleration sensor and detects the body movement of a subject
to output the detected signal as a signal TH to . . . waveform treating
section 21.” Id. at 21:9–12. “[J]udging section 22 determines whether body
movement is present or not, based on the body movement waveform TH, to
yield a control signal C.” Id. at 21:58–60. “[W]hen control signal C
indicates that no body movement is present the operations of the waveform
treating section 21 and body movement component elimination section 30
are suspended.” Id. at 21:64–22:2. Such suspension can result in “reduce[d]
power consumption in the apparatus.” Id. at 22:6.

      3. Discussion

      Petitioner takes the position that Diab and Amano satisfy all the
features required by claims 9, 10, 12–14, 20, and 22–24. Pet. 6–28. Patent
Owner disagrees. See generally PO Resp.; Sur-reply. Patent Owner
expresses that each of independent claims 9, 12, 20, and 22 requires “(1)
operating a patient monitor ‘at a lower power consumption level to
determine measurement values for one or more physiological parameters of
(a/said) patient,’ and (2) ‘transitioning to continuously operating . . . at a
higher power consumption level.’” PO Resp. 29. Patent Owner contends
that Petitioner’s ground based on Diab and Amano fails to account for those
features characterized by Patent Owner as the “power consumption




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limitations.” Id. at 30. 3 We focus first on the parties’ views as to Diab’s
disclosure.

              i. Diab’s Motion Artifact Suppression Module
      A principal basis of disagreement between the parties with respect to
the power consumption limitations centers on operation of Diab’s “motion
artifact suppression” module 580. Petitioner contends that Diab describes
that when motion is detected, “motion artifacts are suppressed using the
motion artifact suppression module 580,” but “[i]f motion is not detected,
spectral estimation on the signals is carried out directly without motion
artifact suppression.” Pet. 17 (citing Ex. 1007, 47:52–56). In Petitioner’s
view, that means that Diab “teaches not executing the motion artifact
suppression module 580 if motion is not detected.” Id. It is clear that this
view plays a role in Petitioner’s general proposal that Diab contemplates
reduced power consumption when the motion artifact suppression module
allegedly is not executing or operating.
      Patent Owner contends that Petitioner misunderstands Diab’s
disclosure. For instance, Patent Owner submits that Petitioner’s statement
that Diab “teaches not executing the motion artifact suppression module 580
if motion is not detected” is inaccurate. PO Resp. 31 (quoting Pet. 17).
Rather, Patent Owner explains the following:
      Diab merely discloses that “spectral estimation on the signals is
      carried out directly without motion artifact suppression” to
      calculate the heart rate when motion is not detected. The
      continuous operation of the motion artifact suppression module
      is still necessary to generate the clean plethysmograph


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  For convenience, at times we also refer to the noted features collectively as
the power consumption limitations in this Decision.

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      waveform. This is why Diab never discloses “suspend[ing] and
      not execut[ing]” the motion artifact suppression module.
      Petitioner incorrectly ignores the clean plethysmograph
      waveform in its analysis.
Id. at 31–32 (citing Ex. 1007, 47:52–54; Ex. 2001 ¶¶ 53–59, 65–69).
      Thus, Patent Owner argues that Petitioner mischaracterizes Diab’s
teachings as conveying that its motion artifact suppression module is ever
suspended and not executed because the module is required to continuously
operate for the generation of a “clean plethysmograph waveform.” Id.; see
id. at 34–35 (citing Ex. 2001 ¶¶ 57–59). In that regard, we understand
Patent Owner’s position as being that although Diab contemplates omitting
motion artifact suppression in some circumstances to calculate heart rate, the
motion artifact suppression module 580 is never suspended but instead
operates continuously, because it functions at all times to enable generation
of a “clean plethysmograph waveform.” Patent Owner provides the
following annotated versions of Diab’s Figure 20 to illustrate that
understanding:




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PO Resp. 34–35. The annotated versions of Figure 20 above illustrate that
although Diab contemplates calculating “heart rate” in a situation in which
the “infrared” signal (i.e., designated the “infrared snapshot” in Figure 20) is
not passed through motion artifact suppression module 580, in all
circumstances generation of the clean plethysmograph waveform occurs
after each of the “infrared” signal and the “red” signal pass through the
motion artifact suppression module. Patent Owner also emphasizes that
Diab necessitates that motion artifact suppression module 580 uses each of
the infrared and red signals to generate the clean waveform, providing the
following annotated version of Diab’s Figure 21 in making that point:




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Id. at 36. Figure 21 above illustrates the internal operating components of
motion artifact suppression module 580. Ex. 1007, 8:19–20. We agree with
Patent Owner that Diab makes clear that operation of the motion artifact
suppression module includes a single processing path that uses each of the
infrared and red signals to generate the clean plethysmograph waveform,
which is necessary for Diab’s approach to patient monitoring. Id. at 36–41
(citing Ex. 2001 ¶¶ 53–59, 65–73).
      We also note that, as is shown in Diab’s Figure 20, Diab’s system
provides for “spectral estimation” (via modules 586 and 588) for only the
processing paths that result in calculation of the heart rate. See, e.g., Ex.
1007, 47:30–39; PO Resp. 38–39. We, therefore, agree with Patent Owner
that Petitioner’s argument that “[i]f motion is not detected, spectral
estimation on the signals is carried out directly without artifact suppression”
means Diab “teaches not executing the motion artifact suppression module
580 if motion is not detected” is questionable. See PO Resp. 38–39. As
Patent Owner observes, “[s]pectral estimation is not part of the clean
plethysmograph waveform processing path.” Id. at 39 (citing Ex. 2001


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¶¶ 53–54, 65–66). That is evident from Diab’s Figure 20. Yet, generation
of the clean plethysmograph waveform necessarily occurs based on signals
that have passed through motion artifact suppression module 580. Thus,
whether spectral estimation occurs does not impact the function of motion
artifact suppression module 580 in generating a clean plethysmograph
waveform. Simply put, Petitioner’s assessment of what Diab would have
taught a skilled artisan as to the function of motion artifact suppression
module 580 does not find adequate support within Diab’s own disclosure,
and does not address sufficiently the impact of Figures 20–21 on its position.
      Accordingly, we agree with Patent Owner that the record does not
support Petitioner’s view that Diab contemplates “suspend[ing] and not
execut[ing]” motion artifact suppression module 580. PO Resp. 32. In that
regard, we conclude that Petitioner does not offer adequate evidence or
argument that Diab contemplates either not generating a clean
plethysmograph waveform or some non-use of that module in so generating
a clean waveform. We credit Dr. Madisetti’s testimony to that effect, as we
conclude that his testimony accurately reflects what an ordinarily skilled
artisan would have gleaned from Diab’s teachings. See, e.g., Ex. 2001
¶¶ 53–59. As a result, we find unpersuasive Petitioner’s apparent view that
Diab, itself, suggests reducing power consumption of its patient monitoring
system by suspending or shutting off operation of motion artifact
suppression module 580.

           ii. Petitioner’s Proposed Reasoning to Combine Diab and
               Amano

      Petitioner also theorizes that it would have been obvious to “suspend
and not execute the operations of Diab’s motion artifact suppression


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module 580 if motion is not detected based on Amano’s teaching of
suspending ‘the operations of. . . body movement component elimination
section’ ‘when no body movement is presented.’” Pet. 17 (citing Ex. 1004,
21:65–22:6). According to Petitioner,
      A POSITA would have been motivated and would have found it
      obvious and straightforward to combine Diab with Amano to
      “reduc[e] calculation time and power consumption,” as
      suggested by Amano, “[i]f motion is not detected” by performing
      “spectral estimation on the signals... directly without motion
      artifact suppression,” as taught by Diab. Accordingly, the
      combination of Diab and Amano renders obvious continuously
      operating the oximeter at a lower power consumption level “[i]f
      motion is not detected” to determine measurement values for one
      or more physiological parameters of a patient.
Id. at 18 (citing Ex. 1004, 21:50–22:6, 35:54–64; Ex. 1007, 48:34–49:38;
Ex. 1003 ¶ 55).
      Patent Owner challenges Petitioner’s position. See, e.g., PO
Resp. 41–45. We find Patent Owner’s arguments availing as we do not find
Petitioner’s position persuasive as to what one of ordinary skill in the art
would have taken from the teachings of Diab and Amano. Although Diab
and Amano are both directed to systems for the physiological monitoring of
patients, we agree with Patent Owner that “Diab and Amano disclose
different processing algorithms that result in different outputs that are not
directly applicable to each other.” PO Resp. 41 (citing Ex. 2001 ¶¶ 70–73).
For instance, we agree with Patent Owner that where Diab discloses
producing “multiple patient-monitoring outputs, including a heart rate and
clean plethysmograph waveform,” the portions of Amano on which
Petitioner relies seemingly produce a “single output” that is descriptive of a
patient’s pulse condition. Id. at 41 (citing Ex. 1004, 213–57, 23:5–9, 40:23–
24). Although Amano does teach that some of the modules of its particular

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system may be suspended (see, e.g., Ex. 1004, 21:57–60), Petitioner does
not explain adequately why a skilled artisan would have applied such a
teaching to Diab’s particular motion artifact suppression module 580. As
Patent Owner observes, and as discussed above, Diab’s system is one that
requires operation of motion artifact suppression module 580 to produce a
clean plethysmograph waveform. See PO Resp. 42–43 (citing Ex. 2001
¶¶ 61–62, 71); supra § II.D.3.i. Petitioner’s proposed modification,
however, is premised on the conclusion that a skilled artisan would,
nevertheless, suspend operation of that module under the guise of reducing
power consumption. Yet, that circumstance would seemingly result in no
clean plethysmograph waveform being generated. Petitioner simply does
not explain adequately why that outcome follows from the teachings of the
prior art.
       We further take note of the disagreement between the parties as to
whether, even if Diab’s motion artifact suppression module was suspended,
such suspension necessarily would result in reduced power consumption of
Diab’s system. Compare Pet. 10, 17–18; Pet. Reply 8–13 with PO Resp.
52–54; Sur-reply 15–17. The main thrust of Petitioner’s position is that
suspending Diab’s motion artifact suppression module would eliminate its
processing requirements and result in “reduce[d] calculation time and power
consumption.” See, e.g., Pet. Reply 9 (citing Ex. 1004, 21:50–22:6, 35:54–
64; Ex. 1007, 48:34–49:38; Ex. 1003 ¶¶ 54–55). Patent Owner counters that
Petitioner’s reasoning in that regard is speculative, and submits argument
and evidence that one of ordinary skill in the art would have regarded
suspending Diab’s motion artifact suppression module as requiring more
overall data processing, not less, thus increasing power consumption of



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Diab’s system. See, e.g., PO Resp. 52–54; Sur-reply 15–17. Specifically,
Patent Owner points to disclosure in Diab conveying that output filter 594
processes samples “much faster” when no motion is detected. PO Resp. 53;
Sur-reply 17. And, Patent Owner submits that the filter’s capacity to sample
much faster means more data is processed potentially causing more power
consumption. PO Resp. 53–54 (citing Ex. 1007, 50:23–27; Ex. 2001 ¶ 88);
Sur-reply 16 (citing Ex. 2001 ¶ 76). Patent Owner also contends that Diab’s
spectrum analysis module 590 “operates differently” based on motion status,
and that eliminating the function of motion artifact suppression module 580
could also cause increased power consumption. PO Resp. 54 (citing Ex.
1007, 50:8–14; Ex. 2001 ¶ 89); Sur-reply 17 (citing Ex. 2001 ¶ 77; Ex. 1039
68:2–72:2).
      We are not persuaded by Petitioner’s view that suspending Diab’s
motion artifact suppression module necessarily will result in reduced power
consumption. Although Amano does describe that its particular system
enjoys reduced power consumption when its body movement component
eliminating section 30 is suspended (Ex. 1004, 21:65–22:6), Patent Owner
presents plausible reasoning and evidence that such power reduction may
not occur in Diab’s differently structured and configured system. As
between the conflicting testimony of Dr. Anthony and Dr. Madisetti on this
matter, we find more credible the testimony of Dr. Madisetti in explaining
why the same power consumption reduction attributed in Amano may not
occur in Diab’s differently structured system. See, e.g., Ex. 2001 ¶¶ 76–77,
87–90. Yet, the premise of supposed power reduction is the foundational
reason that Petitioner advances in combining the teachings of Amano with




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Diab. We conclude that Petitioner has not met its burden of persuasion on
this issue. See Dynamic Drinkware, 800 F.3d at 1378.

          iii. Summary
      We have considered the respective positions of the parties, including
the proffered briefings and underlying evidence. For the foregoing reasons,
we conclude that Petitioner has not met its burden to show that claims 9, 10,
12–14, 20, and 22–24 of the ’703 patent would have been obvious over the
teachings of Diab and Amano.

              E. Ground Based on Diab, Amano, and Edgar

      Petitioner contends that claims 11 and 21 would have been obvious
based on Diab, Amano, and Edgar. Pet. 29–37. Claim 11 ultimately
depends from claim 9. Claim 21 depends from claim 20. Petitioner relies
on Edgar to account for features added by claims 11 and 21. Patent Owner
argues that Petitioner’s ground has the same deficiencies noted above with
respect to the ground based on Diab and Amano, and that Petitioner does not
rely on Edgar to account for the deficiencies. PO Resp. 55. We agree with
Patent Owner. For the same reasons discussed above (see supra § II.D.3),
we conclude that Petitioner has not shown by a preponderance of the
evidence that claims 11 and 21 are unpatentable based on Diab, Amano, and
Edgar.

              F. Ground Based on Diab, Amano, and Turcott

      Petitioner contends that claims 1–7 and 15–18 of the ’703 patent
would have been obvious over the combined teachings of Diab, Amano, and
Turcott. Pet. 37–47. Claim 1, like claim 9, is directed to a “method of



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managing power consumption during continuous patient monitoring by
adjusting behavior of a patient monitor.” Ex. 1001, 11:32–34. Claim 1
requires the same limitations of claim 9 that are designated [a]–[e] in this
Decision. Claims 2–7 ultimately depend from claim 1. Independent
claim 15 is drawn to a “patient monitor” that corresponds to the method of
claim 1, including corresponding steps for noted limitations [a]–[e].
Claims 16–18 ultimately depend from claim 15. Petitioner relies on the
combined teachings of Diab and Amano in the same manner as it did for the
limitations in claim 9. See Pet. 40–41.
      Patent Owner contends that the proposed ground of unpatentability
based on Diab, Amano, and Turcott and applied to claims 1–7 and 15–18
suffers from the same flaws that Patent Owner submits for the ground based
on Diab and Amano and applied to claims 9, 10, 12–14, 20, and 22–24. PO
Resp. 56. In particular, Patent Owner contends the following:
      Independent claims 1 and 15 include similar limitations as the
      claims discussed in [the ground based on Diab and Amano],
      except for their final limitation (Limitations 1[f] and 15[e]).
      Limitations 1[f] and 15[e] require “reducing/reduce activation of
      an attached sensor.” Petitioner argues that Turcott discloses this
      limitation. (Pet. 41-42, 46.) Petitioner does not allege that Turcott
      satisfies any other limitations in independent claims 1 and 15.
      (Id.) Consequently, [the ground based on Diab, Amano, and
      Turcott] fails to show obviousness for many of the same reasons
      as [the ground based on Diab and Amano].
Id.
      Patent Owner further expresses the following:
      [I]ndependent claims 1 and 15 require (1) operating a patient
      monitor “at a lower power consumption level to determine
      measurement values for one or more physiological parameters of
      (a/said) patient,” and (2) “transitioning to continuously operating
      … at a higher power consumption level.” Petitioner does not


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       make any new arguments regarding these limitations in [the
       ground based on Diab, Amano, and Turcott]. (Pet. 41, 46.)
       Rather, Petitioner simply refers back to its arguments in [the
       ground based on Diab and Amano]. Therefore, [the ground based
       on Diab, Amano, and Turcott] fails to render these limitations
       obvious for the same reasons as [the ground based on Diab and
       Amano].
Id. at 57.
       We agree with all of Patent Owner’s above-noted assertions. We
conclude that the deficiencies discussed above (see supra § II.D.3) also
extend to the proposed ground for claims 1–7 and 15–18 based on Diab,
Amano, and Turcott. Therefore, for the same reasons discussed above, we
conclude that Petitioner has not shown by a preponderance of the evidence
that claims 1–7 and 15–18 are unpatentable based on Diab, Amano, and
Turcott.

 G. Grounds Based on: (1) Diab and GK-POSITA; (2) Diab, GK-POSITA,
            and Edgar; and (3) Diab, GK-POSITA, and Turcott

       Petitioner contends that: (1) claims 9, 10, 12–14, 20, and 22–24 are
unpatentable over Diab and GK-POSITA; (2) claims 11, and 21 are
unpatentable over Diab, GK-POSITA, and Edgar; and (3) claims 1–7 and
15–18 are unpatentable over Diab, GK-POSITA, and Turcott. These three
grounds largely mirror those discussed above that employ Amano for its
asserted teachings of reducing power consumption by not performing motion
artifact suppression when no motion is detected. For these grounds,
however, in lieu of Amano’s teachings, Petitioner seeks recourse to the
“general knowledge and ordinary level of skill” in proposing that “changes
in power consumption were obvious from changes in the amount of
processing that are contemplated by Diab.” Pet. 47. This theory of the


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“general knowledge” is said to be collectively “corroborated by” seven
additional prior art references. Id. at 48.
      Patent Owner urges that the same arguments that it advanced for the
grounds using Amano also apply for the grounds that reference GK-
POSITA, and specifically that “Diab never suspends the motion artifact
suppression module and a POSITA would not have been motivated to do
so.” PO Resp. 68 (referencing §§ VII.A and VII.C of the Patent Owner
Response). Patent Owner additionally contends that “Diab does not operate
at a lower power level or process less data when motion is not detected.” Id.
(also referencing §§ VII.A and VII.C of the Patent Owner Response).
      We are not persuaded by Petitioner that the “general knowledge” of
an ordinarily skilled artisan in lieu of Amano’s teachings bootstraps these
grounds to overcome the deficiencies discussed above in connection with the
reasoning for, and potential implications of, suspending or eliminating
Diab’s motion artifact suppression module. See supra §§ II.D.3, II.E, II.F.
For the same reasons as those discussed above, we are not persuaded that
any of the grounds employing GK-POSITA establish the unpatentability of
any of the challenged claims.

       H. Grounds Based on: (1) Amano; and (2) Amano and Turcott

      Petitioner contends that claims 9, 10, 12–14, 20, and 22–24 are
unpatentable based on Amano. Pet. 49–63. Petitioner also contends that
claims 1–5 and 15–17 are unpatentable over Amano and Turcott. Id. at 64–
70. Patent Owner disputes that any of the noted claims have been shown to
be unpatentable based on the noted grounds. PO Resp. 69–79. We find
Patent Owner’s dispute availing.



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      A central issue with the grounds that are based primarily on Amano
lies in the meaning of “processing characteristics.” As discussed above
(supra § II.A.1), we conclude that, in the context of the ’703 patent,
“processing characteristics” must necessarily be determined from a signal
received from one or more detectors configured to detect light. Petitioner’s
grounds based on Amano, however, rely on an “acceleration sensor” that
outputs a signal. See, e.g., Pet. 50. Patent Owner contends that “[t]he
Parties agree that Amano receives the alleged processing characteristics
from an acceleration sensor, not one or more detectors configured to detect
light.” Sur-reply 29 (citing Petitioner’s Reply 24). Petitioner also notes that
the parties “agree that Amano receives processing characteristics from an
acceleration sensor[.]” Pet. Reply 24. We do not discern any dispute that
Amano’s “acceleration sensor” is not configured to detect light.
      All of the challenged claims require “comparing processing
characteristics to a predetermined threshold.” Because in the context of the
’703 patent, processing characteristics must be derived from detectors
configured to detect light, and because there is no dispute that Amano’s
acceleration sensor is not such a detector, we find Petitioner’s proposed
grounds based on Amano to be ineffective to establish the unpatentability of
any of the challenged claims. Accordingly, we conclude that Petitioner has
not shown by a preponderance of the evidence that claims 9, 10, 12–14, 20,
and 22–24 are unpatentable based on Amano or that claims 1–5 and 15–17
are unpatentable based on Amano and Turcott.

                   I.   Patent Owner’s Motion to Exclude

      Patent Owner moves to exclude Exhibit 1038 as being inadmissible
evidence because it is not authenticated and contains hearsay. Paper 25, 1–


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                                     Appx36
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4. Because we do not rely on Exhibit 1038 in this Decision, we dismiss
Patent Owner’s Motion as moot.

                            III. CONCLUSION
      In summary:
   Claims       35 U.S.C. § Reference(s)/     Claims      Claims Not
                               Basis          Shown         Shown
                                            Unpatentable Unpatentable
9, 10, 12–
                                                            9, 10, 12–14,
14, 20, 22–         103      Diab, Amano
                                                            20, 22–24
24
                             Diab,
11, 21              103      Amano,                         11, 21
                             Edgar
                             Diab,
1–7, 15–18          103      Amano,                         1–7, 15–18
                             Turcott
9, 10, 12–
                             Diab, GK-                      9, 10, 12–14,
14, 20, 22–         103
                             POSITA                         20, 22–24
24
                             Diab, GK-
11, 21              103      POSITA,                        11, 21
                             Edgar
                             Diab, GK-
1–7, 15–18          103      POSITA,                        1–7, 15–18
                             Turcott
9, 10, 12–
                                                            9, 10, 12–14,
14, 20, 22–         103      Amano
                                                            20, 22–24
24
                             Amano,
1–3, 15–17          103                                     1–3, 15–17
                             Turcott
Overall                                                     1–7, 9–18,
Outcome                                                     20–24




                                   37
                                  Appx37
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                                IV. ORDER

      Upon consideration of the record before us, it is:

      ORDERED that Petitioner has not shown that claims 1–7, 9–18, and
20–24 of the ’703 patent are unpatentable by a preponderance of the
evidence;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed as moot; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                                   Appx38
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    Patent 8,457,703 B2

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                          Appx39
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                                                                                                              USOO8457703B2


(12)   United States Patent                                                             (10)Patent No.:                           US 854575703 B2
       Al-Ali                                                                           (45)Date of Patent:                                Jun. 4, 2013

(54)    LOW POWER PULSE OXIMETER                                                            5,069,213 A           12/1991    Polczynski
                                                                                            5,163,438 A           11/1992    Gordon et al.
        Inventor:    Ammar Al-Ali, Tustin, CA (US)                                          5,337,744 A            8/1994    Branigan
(75)
                                                                                            5,341,805 A            8/1994    Stavridi et al.
                                                                                            D353,195 S            12/1994    Savage et al.
(73)    Assignee: Masimo Corporation, Irvine, CA (US)                                       D353,196 S            12/1994    Savage et al.
                                                                                            5,377,676 A            1/1995    Vari et al.
(*)     Notiee:      Subject to any diselaimer, the term of this                            D359,546 S             6/1995    Savage et al.
                     patent is extended or adjusted under 35                                5,431,170 A            7/1995    Mathews
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                                                                                            5,490,505 A            2/1996    Diab et al.
                                                                                            5,494,043 A            2/1996    O'Sullivan et al.
(65)                    Prior Pubiication Data
                                                                                                                    (Continued)
        US 2008/0064936 Al              Mar. 13, 2008
                                                                                                    FOREIGN PATENT DOCUMENTS
                  R이ated U.S. Application Data                                       EP               0 872 210 Al               10/1998
        Continuation of application No. 10/785,573, filed on                         WO             WO 99/63883                  12/1999
(63)
        Feb. 24, 2004, now Pat. No. 7,295,866, which is a                                                   OTHER PUBEICATIONS
        continuation of application No. 10/184,028, filed on
        Jun. 26, 2002, now Pat. No. 6,697,658.                                       PCT International Search Report, App. No. PCT/US02/20675, App.
                                                                                     Date: Jun. 28, 2002, 4 pages.
(60)    Provisional application No. 60/302,564, filed on Jul. 2,
        2001.                                                                        Primary Examiner 一 Eric Winakur
                                                                                     Assistant Examiner 一 Chu Chuan (JJ) Eiu
(51)    Int. CL
        A61B 5/1455              (2006.01)                                           (74) Attorney, Agent, or Firm — Knobbe, Martens, Olson &
        U.S. Cl.                                                                     Bear LLP
(52)
        USPC                        600/323; 600/310; 600/322
                                                                                     (57)                          ABSTRACT
(58)    Field of Classification Search
        USPC                 600/309,310,322,323,324,333,                            A pulse oximeter may reduce power consumption in the
                                         600/473, 476; 356/41                        absence of overriding conditions. Various sampling mecha­
        See applieation file for complete seareh history.                            nisms may be used individually or in combination. Various
                                                                                     parameters may be monitored to trigger or override a reduced
(56)                    References Cited                                             power consumption state. In this manner, a pulse oximeter
                                                                                     can lower power consumption without sacrificing perfor­
                  U.S. PATENT DOCUMENTS                                              mance during, for example, high noise eonditions or oxygen
       4,960,128 A      10/1990 Gordon et al.                                        desaturations.
       4,964,408 A      10/1990 Hink et al.
       5,041,187 A       8/1991 Hink et al.                                                               24 Claims, 11 Drawing Sheets

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                                                                              POWER                          SIGNAL
                                                                              STATUS                         STATUS
                                                                            CALCULATOR                     CALCULATOR
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                                      DETECTOR                                                                                    I
                                      FRONT-END                                                                                   |


                                        SENSOR
                               1      INTERFACE                           SIGNAL PROCESSOR
                                                          L



                                                                                1                                                                APPLE 1001



                                                                    Appx40
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         Case: 22-1890    Document: 22         Page: 46   Filed: 02/15/2023




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Appx43
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                         디G. 1 (Prior Art)
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Appx44
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                         FIG. 2 (Prior Art)
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         Case: 22-1890   Document: 22    Page: 48   Filed: 02/15/2023




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Appx45
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         Case: 22-1890   Document: 22   Page: 49   Filed: 02/15/2023




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Appx46
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    Case: 22-1890      Document: 22      Page: 51    Filed: 02/15/2023




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                                   Appx48
    Case: 22-1890      Document: 22       Page: 52   Filed: 02/15/2023




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                                                                            FIG. 8
Document: 22
Case: 22-1890




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              Case: 22-1890   Document: 22   Page: 54   Filed: 02/15/2023




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Appx52
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          Case: 22-1890       Document: 22               Page: 56     Filed: 02/15/2023




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                 E, Q,P     LARGE
                           OVERLAP



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                           default
                                                                                          Jun- 4。2013




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                           MEDIUM
                                               default
                           OVERLAP                                E




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         1178
                            SMALL
                 default
                           OVERLAP                                  E = EVENT
                                                                Q = LOW QUALITY
                                               1170      P = ABOVE POWER TARGET FOR A
                                                             PARTICULAR TIME PERIOD
                                                                                          US 8457




                           디 G. 11                                                             경
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                                                      US 8,457,703 B2
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           LOW POWER PULSE OXIMETER                                     FIG. 2 illustrates a sleep-mode pulse oximeter 200 utilizing
                                                                     conventional sleep-mode power reduction. The pulse oxime­
        REFERENCE TO REEATED APPEICATIONS                            ter 200 has a pulse oximeter processor 210 and a power
                                                                     control 22〇. The power control 220 monitors the pulse oxime­
    The present applieation is a continuation of U.S. applica­ 5 ter output parameters 212, such as oxygen saturation and
tion Ser. No. 10/785,573, entitled "Low Power Pulse Oxime­           pulse rate, and controls the processor power 214 according to
ter," filed Feb. 24,2004, whieh is a continuation of applieation     measured aetivity. For example, if there is no significant
Ser. No. 10/184,028, entitled "Low Power Pulse Oximeter,''           change in the oxygen saturation value over a certain time
filed Jun. 26, 2002, now U.S. Pat. No. 6,697,658, which              period, the power control 220 will power down the proeessor
claims priority benefit under 35 U.S.C. §119(e) from U.S. 10 210, exeept perhaps for a portion of memory. The power
Provisional Application No. 60/302,564, entitled "Low                control 220 may have a timer that triggers the proeessor 210
Power Pulse Oximeter,'' filed Jul. 2, 2001. The present appli­       to periodically sample the oxygen saturation value, and the
cation incorporates each of the foregoing disclosures herein         power control 220 determines if any changes in this param­
by referenee.
                                                                  15
                                                                     eter are oeeurring. If not, the power control 220 will leave the
            BACKGROUND OF THE INVENTION                              proeessor   210 in sleep mode.
                                                                        There are a number of disadvantages to applying consumer
    Pulse oximetry is a widely aeeepted noninvasive proeedure        electronic sleep mode techniques to pulse oximetry. By defi­
for measuring the oxygen saturation level of a person's arte­        nition, the pulse oximeter is not functioning during sleep
rial blood, an indicator of their oxygen supply. Oxygen satu­ 20 mode. Unlike eonsumer eleetronies, pulse oximetry cannot
ration monitoring is crucial in critical care and surgical appli­    afford to miss events, sueh as patient oxygen desaturation.
cations, where an insufficient blood supply can quickly lead         Further, there is a trade-off between shorter but more frequent
to injury or death. FIG. 1 illustrates a conventional pulse          sleep periods to avoid a missed event and the inereased pro­
oximetry system 100, whieh has a sensor 110 and a monitor            cessing overhead to power-up after each sleep period. Also,
15〇. The sensor 110, which can be attached to an adult's 25 sleep mode teehniques rely only on the output parameters to
finger or an infant's foot, has both red and infrared LEDs 112       determine whether the pulse oximeter should be aetive or in
and a photodiode detoetor 114. For a finger, the sensor is           sleep mode. Finally, the earegiver is given no indication of
configured so that the LEDs 112 projeet light through the            when the pulse oximeter outputs were last updated.
fingernail and into the blood vessels and capillaries under­            One aspeet of a low power pulse oximeter is a sensor
neath. The photodiode 114 is positioned at the finger tip 30 interface adapted to drive a pulse oximetry sensor and receive
opposite the fingernail so as to detect the LED emitted light as     a corresponding input signal. A processor derives a physi­
it emerges from the finger tissues. A pulse oximetry sensor is       ological measurement eorresponding to the input signal, and
described in U.S. Pat. No. 6,088,607 entitled "Low Noise             a display driver communicates the measurement to a display.
Optieal Probe,'' whieh is assigned to the assignee of the            A controller generates a sampling control output to at least
present invention and incorporated by referenee herein.           35 one of said sensor interface and said processor so as to reduce
   Also shown in FIG. 1, the monitor 150 has LED drivers             the average power consumption of the pulse oximeter consis­
152, a signal conditioning and digitization front-end 154, a         tent with a predetermined power target.
signal processor 156, a display driver 158 and a display 159.           In one embodiment, a calculator derives a signal status
The LED drivers 152 alternately aetivate the red and IRLEDs          output responsive to the input signal. The signal status output
112 and the front-end 154 eonditions and digitizes the result­ 40 is communicated to the eontroller to override the sampling
ing eurrent generated by the photodiode 114, whieh is pro­           control output. The signal status output may indicate the
portional to the intensity of the deteeted light. The signal         occurrence of a low signal quality or the oeeurrenee of a
processor 156 inputs the eonditioned photodiode signal and           physiological event. In another embodiment, the sensor inter­
determines oxygen saturation based on the differential               face has an emitter driver adapted to provide a current output
absorption by arterial blood of the two wavelengths emitted 45 to an emitter portion of the sensor. Here, the sampling control
by the LEDs 112. Speeifieally, a ratio of detected red and           output determines a duty cycle of the eurrent output. In a
infrared intensities is calculated by the signal processor 156,      particular embodiment, the duty eyele may be in the range of
and an arterial oxygen saturation value is empirieally deter­        about 3.125% to about 25%.
minedbased on the ratio obtained. The display driver 158 and            In another embodiment, the sensor interface has a front­
associated display 159 indicate a patient's oxygen saturation, 50 end adapted to receive the input signal from a detector portion
heart rate and plethysmographic waveform.                            of the sensor and to provide a corresponding digitized signal.
                                                                     Here, the sampling control output determines a powered-
              SUMMARY OF THE INVENTION                               down period of the front-end. A eonfidenee indieator respon­
                                                                     sive to a duration of the powered-down period may be pro­
    Inereasingly, pulse oximeters are being utilized in portable, 55 vided and displayed.
battery-operated applieations. For example, a pulse oximeter            In yet another embodiment, the pulse oximeter comprises a
may be attaehed to a patient during emergency transport and          plurality of data blocks responsive to the input signal, wherein
remain with the patient as they are moved between hospital           the sampling control output determines a time shift of suc­
wards. Further, pulse oximeters are often implemented as             cessive ones of the data blocks. The time shift may vary in the
plug-in modules for muhiparameter patient monitors having 60 range of about 1.2 seconds to about 4.8 seconds.
a restricted power budget. These applieations and others cre­           An aspect of a low power pulse oximetry method com­
ate an inereasing demand for lower power and higher perfor­          prises the steps of setting a power target and receiving an
mance pulse oximeters. A conventional approach for reduc­            input signal from a pulse oximetry sensor. Further steps
ing power consumption in portable electronics, typically             inelude ealeulating signal status related to the input signal,
utilized by devices such as calculators and notebook comput­ 65 calculating power status related to the power target, and sam­
ers, is to have a "sleep mode'' where the eireuitry is powered-      pling based upon the result of the ealeulating signal status and
down when the deviees are idle.                                      the ealeulating power status steps.
                                                                  15



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   In one embodiment, the ealeulating signal status step eom-         the data blocks have a time shift from a preceding one of the
prises the substeps of reeeiving a signal statistic related to the    data blocks, and where the sampling control may determine
input signal, receiving a physiological measurement related           the amount of the time shift.
to the input signal, determining a low signal quality condition          A further aspect of a low power pulse oximeter comprises
from the signal statistic, determining an event occurrence 5 an interface means for communicating with a sensor, a pro­
from the physiologieal measurement, and indicating an over­           cessor means for generating an internal parameter and an
ride based upon the low signal quality condition or the event         output parameter, and a controller means for selectively
oeeurrenee. The ealeulating power status step may comprise            redueing the power consumption of at least one of the inter-
the suhsteps of estimating an average power consumption for           faee means and the proeessor means based upon the param­
at least a portion of the pulse oximeter, and indicating an 10 eters. In one embodiment, the interfaee means comprises a
above power target eondition when the average power con­              driver means for determining the duty eyele of emitter current
sumption is above the power target. The sampling step may             to the sensor, the driver means being responsive to the eon-
comprise the sub step of inereasing sampling as the result of         troller means. In another embodiment, the interfaee means
the override. The sampling step may also comprise the sub­            comprises a detector front-end means for receiving an input
step of decreasing sampling as the result of the above power 15 signal from the sensor, the power for the deteetor front-end
target eondition, except during the override.                         means being responsive to the eontroller means. In yet
   Another aspect of a low power pulse oximetry method                another embodiment, the proeessor means comprises a post­
comprises the steps of detecting an override related to a             processor means for determining a time shift between data
measure of signal quality or a physiological measurement              blocks, the post-proeessor means being responsive to the
event, increasing the pulse oximeter power to a higher power 20 eontroller means. In a further embodiment, the eontroller
level when the override exists, and redueing the pulse oxime­         means comprises a signal status calculator means for gener­
ter power to a lower power level when the override does not           ating an indication of a low signal quality or a physiological
exist. The method may comprise the further steps of prede­            event based upon at least one of an internal signal statistic and
termining a target power level for a pulse oximeter and               an output physiological measurement, and a control engine
cycling between the lower power level and the higher power 25 means in communications with the signal status calculator
level so that an average pulse oximeter power is consistent           means for generating a sampling control responsive to the
with the target power level.                                          indieation. In yet a further embodiment, the eontroller means
   In one embodiment, the redueing stop eomprises the sub­            comprises a power status calculator means for generating a
step of decreasing the duty cycle of an emitter driver output to      power indication of power consumption relative to a power
the sensor. In another embodiment, the redueing stop eom­ 30 target, and a control engine means in communications with
prises the sub step of powering-down a detector front-end. A          the power status calculator means for generating a sampling
further step may comprise displaying a confidence indicator           control responsive to the power indication.
related to the duration of the powering-down sub step. In yet
another embodiment, the redueing step eomprises the sub step                  BRIEF DESCRIPTION OF THE DRAWINGS
of inereasing the time-shift of post-proeessor data blocks.        35
   Another aspect of a low power pulse oximeter comprises a              FIG. 1 is a block diagram of a conventional pulse oximeter
sensor interface adapted to receive an input signal from a            sensor and monitor;
sensor, a signal processor configured to communicate with                FIG. 2 is a block diagram of a pulse oximeter having a
the sensor interface and to generate an internal parameter            conventional sleep mode;
responsive to the input signal, and a sampling controller 40             FIG. 3 is a top-level bloek diagram of a low power pulse
responsive to the internal parameter so as to generate a sam­         oximeter;
pling control to alter the power consumption of at least one of          FIG. 4 is a detailed bloek diagram of a low power pulse
the sensor interface and the signal processor. The signal pro­        oximeter illustrating a sensor interface, a signal processor and
cessor maybe eonfigured to generate an output parameter and           a sampling controller;
the sampling controller may be responsive to a combination 45            FIG. 5 is a graph of emitter drive eurrent versus time
of the internal and output parameters so as to generate a             illustrating variable duty eyele proeessing;
sampling control to alter the power consumption of at least              FIG. 6 is a graph of oxygen saturation versus time illus­
one of the sensor interface and the signal processor. The             trating intermittent sample proeessing;
internal parameter may be indieative of the quality of the               FIGS. 7A-B are graphs of data buffer content versus time
input signal. The output parameter may be indieative of oxy­ 50 illustrating variable data block overlap processing;
gen saturation.                                                          FIG. 8 is a graph of power versus time illustrating power
   In another embodiment, the sampling controller is respon­          dissipation conformance to an average power target using
sive to a predetermined power target in eombination with the          variable duty eyele and intermittent sample proeessing;
internal parameter so as to generate a sampling control to alter         FIG. 9 is a state diagram of the sampling controller for
the power consumption of at least one of the sensor interface 55 variable duty eyele and intermittent sample proeessing;
and the signal processor. The signal processor may be eon-               FIG. 10 is a graph of power versus time illustrating power
figured to generate au output parameter aud the sampliug              dissipation using variable data block overlap processing; and
eoutroller may be responsive to a combination of the internal            FIG. 11 is a state diagram of the sampling controller for
and output parameters and the power target so as to generate          variable data block overlap processing.
a sampling control to alter the power consumption of at least 60
one of the sensor interface and the signal processor. The                 DETAILED DESCRIPTION OF THE PREFERRED
sensor interface may comprise an emitter driver and the sam­                                  EMBODIMENT
pling control may modify a duty cycle of the emitter driver.
The sensor interface may comprise a detector front-end and               FIG. 3 illustrates one embodiment of a low power pulse
the sampling control may intermittently power-down the 65 oximeter. The pulse oximeter 300 has a sensor interface 320,
deteetor front-end. The proeessor may generate a plurality of         a signal processor 340, a sampling controller 360 and a dis­
data blocks corresponding to the input signal, where eaeh of          play driver 38〇. The pulse oximeter 300 also has a sensor port
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302 and a display port 304. The sensor port 302 connects to an      removes power to the deteetor front-end 490, as described
external sensor, e.g. sensor 110 (FIG. 1). The sensor interface     with respected to FIG. 6, below. Yet another sampling mecha­
320 drives the sensor port 302, receives a corresponding inpnt      nism is a data block overlap control 366 that varies the num­
signal from the sensor port 302, and provides a conditioned         ber of data blocks processed by the post processor 43〇. These
and digitized sensor signal 322 accordingly. Physiological 5 various sampling mechanisms provide the flexibility to
measurements 342 are input to a display driver 380 that out­        reduce power without sacrificing performance during, for
puts to the display port 304. The display port 304 connects to      example, high noise eonditions or oxygen desaturation
a display device, such as a CRT or LCD, which a healthcare          events, as described below in further detail.
provider typically uses for monitoring a patient's oxygen              The sampling controls 362, 364, 366 modify power con­
saturation, pulse rate and plethysmograph.                       10 sumption by, in effect, increasing or decreasing the number of
   As shown in FIC. 3, the signal processor 340 derives the         input samples reeeived and processed. Sampling, including
physiologieal measurements 342, ineluding oxygen satura­            acquiring input signal samples and subsequent sample pro­
tion, pulse rate and plethysmograph, from the input signal          cessing, can be reduced during high signal quality periods and
322. The signal processor 340 also derives signal statistics        increased during low signal quality periods or when eritieal
344, sueh as signal strength, noise and motion artifact. The 15 measurements are neeessary. In this manner, the eontrol
physiological measurements 342 and signal statistics 344 are        engine 440 regulates power consumption to satisfy a prede­
input to the sampling controller 360, which outputs sampling        termined power target, to minimize power consumption, or to
controls 362, 364, 366 accordingly. The sampling controls           simply reduce power consumption, as described with respect
362, 364, 366 regulate pulse oximeter power dissipation by          to FIGS. 8 and 10, below. The eurrent state of the eontrol
causing the sensor interface 320 to vary the sampling charac­ 20 engine is provided as a control state output 442 to the power
teristics of the sensor port 302 and by causing the signal          status calculator 46〇. The control engine 440 utilizes the
processor 340 to vary its sample proeessing eharaeteristies, as     power status output 462 and the signal status output 452 to
described in further detail with respect to FIC. 4, below.          determine its next eontrol state, as described with respect to
Advantageously, power dissipation is responsive not only to         FIGS. 9 and 11, below.
output parameters, such as the physiologieal measurements 25           Further shown in FIG. 4, the signal status calculator 450
342, but also to internal parameters, such as the signal statis­    receives physiological measurements and signal statistics
tics 344.                                                           from the post processor 430 and determines the oeeurrenee of
   FIG. 4 illustrates further detail regarding the sensor inter­    an event or a low signal quality condition. An event determi­
face 320, the signal processor 340 and the sampling controller      nation is based upon the physiologieal measurements output
36〇. The sensor interface 320 has emitter drivers 480 and a 30 342 and may be any physiological-related indieation that
detector front-end 49〇. The emitter drivers 480 are responsive      justifies the proeessing of more sensor samples and an asso­
to a sampling control 362, described below, and provide emit­       ciated higher power consumption level, sueh as an oxygen
ter drive outputs 482. The emitter drive outputs 482 activate       desaturation, a fast or irregular pulse rate or an unusual
the LEDs of a sensor attached to the sensor port 302 (FIG. 3).      plethysmograph waveform to name a few. A low signal qual­
The deteetor Iront-end 490 reeeives an input signal 492 from 35 ity condition is based upon the signal statistics output 344 and
a sensor attached to the sensor port 302 (FIG. 3) and provides      maybe any signal-related indication that justifies the proeess­
a corresponding conditioned and digitized input signal 322 to       ing of more sensor samples and an associated higher power
the signal processor 34〇. A sampling control 364 controls           consumption level, sueh as a low signal level, a high noise
power to the deteetor front-end 490, as described below.            level or motion artifact to name a few. The signal status
   As shown in FIG. 4, the signal processor 340 has a pre­ 40 calculator 450 provides the signal status output 452 that is
processor 410 and a post processor 43〇. The pre-proeessor           input to the eontrol engine 44〇.
410 demodulates red and IR signals from the digitized signal           In addition, FIG. 4 shows that the power status calculator
322, performs filtering, and reduces the sample rate. The           460 has a control state input 442 and a power status output
pre-proeessor provides a demodulated output, having a red           4〇2. fhe control state input 442 indieates the eurrent state of
eharmel 412 and an IR channel 414, which is input into the 45 the eontrol engine 44〇. The power status calculator 460 uti­
post-proeessor 43〇. The post processor 430 calculates the           lizes an internal time base, sueh as a counter, timer or real­
physiological measurements 342 and the signal statistics 344,       time eloek, in eonjunetion with the eontrol engine state to
whieh are output to a signal status calculator 45〇. The physi­      estimate the average power consumption of at least a portion
ological measurements 342 are also output to a display driver       of the pulse oximeter 30〇. The power status calculator 460
380 (FIG. 3) as described above. A pulse oximetry signal 50 also stores a predetermined power target and compares its
processor is described in U.S. Pat. No. 6,081,735 entitled          power consumption estimate to this target. The power status
“Signal Proeessing Apparatus,'' which is assigned to the            calculator 460 generates the power status output 462 as an
assignee of the present invention and incorporated by refer-        indication that the eurrent average power estimate is above or
enee herein.                                                        below the power target and provides this output 462 to the
   Also shown in FIG. 4, the sampling controller 360 has a 55 eontrol engine 44〇.
control engine 440, a signal status calculator 450 and a power         FIG. 5 illustrates emitter driver output current versus time.
status calculator 46〇. The eontrol engine 440 outputs sam­          The graph 500 depicts the eombination of a red LED drive
pling controls 362,364,366 to reduce the power consumption          eurrent 510 and an IR drive eurrent 56〇. The solid line graph
of the pulse oximeter 30〇. In one embodiment, the eontrol           502 illustrates drive eurrents having a high duty cycle. The
engine 440 advantageously utilizes multiple sampling 60 dashed line graph 504 illustrates drive currents having a low
mechanisms to alter power consumption. One sampling                 duty cycle. In a typical pulse oximeter, the duty eyele of the
mechanism is an emitter duty cycle eontrol 362 that is an           drive signals is constant and provides sufficient dark bands
input to the emitter drivers 48〇. The emitter duty cycle control    508 to demodulate the deteetor response into red and IR
362 determines the duty eyele of the eurrent supplied by the        channels. The emitter drivers 480 (FIG. 4), however, require
emitter drive outputs 482 to both red and IR sensor emitters, 65 a significant portion of the overall pulse oximeter power
as described with respect to FIG. 5, below. Another sampling        budget. Intermittently redueing the drive eurrent duty eyele
mechanism is a front-end eontrol 364 that intermittently            ean advantageously reduce power dissipation without com­
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promising signal integrity. As an example, a low power pulse        various control engine states. In one embodiment, the eontrol
oximeter implementation nominally consuming 500 mw may              engine 440 (FIG. 4) has three states related to the sampling
be able to reduce power consumption on the order of 70 mw           control outputs 362, 364 that affect pulse oximeter power
by such drive current duty cycle reductions. In a preferred         consumption accordingly. One of ordinary skill in the art will
embodiment, the drive eurrent duty eyele is varied within a 5 recognize that the eontrol engine 440 (FIG. 4) may have
range from about 25% to about 3.125%. In a more preferred           greater or fewer states and associated power consumption
embodiment, the drive eurrent duty eyele is intermittently          levels. The profile 800 shows the three eontrol engine states
redueed from about 25% to about 3.125%. In conjunction              810 and the assoeiated power consumption levels 82〇. fhese
with an intermittently redueed duty eyele or as an indepen­         three states are high duty eyele 812, low duty cycle 814 and
dent sampling mechanism, there may be a "data off' time 10
                                                                    data off 818.
period longer than one drive eurrent eyele where the emitter
                                                                        fn the high duty eyele state 812, the eontrol engine 440
drivers 480 (FIG. 4) are turned off. The deteetor front-end 490
                                                                    (FIG. 4) eauses the emitter drivers 480 (FIG. 4) to turn on
(FIG. 4) may also be powered down during such a data off
period, as described with respect to FIGS. 8 and 9, below.          sensor emitters for a relatively long time period, such as 25%
   FIG. 6 is a graph 600 of a pre-processor output signal 610 15 on time for each of the red 510 and IR 560 drive eurrents. In
over time depieting the result of intermittent sampling at the      the low duty cycle state 814, the control engine 440 (FIG. 4)
deteetor front-end 490 (FIG. 4). The output signal 610 is a red     eauses the emitter drivers 480 (FIG. 4) to turn on sensor
eharmel 412 (FIG. 4) or an IR channel 414 (FIG. 4) output           emitters for a relatively short time period, such as 3.125% of
from the pre-processor 410 (FIG. 4), which is input to the post     the time for each of the red 510 and IR 560 drive eurrents. In
processor 430 (FIG. 4), as described above. The output signal 20 the data off state 818, the eontrol engine 440 (FIG. 4) turns off
610 has "on" periods 612, during which time the detector            the emitter drivers 480 (FIG. 4) and powers down the deteetor
front-end 490 (FIG. 4) is powered-up and "off" periods 614,         front-end 490 (FIG. 4). Also shown is a predetermined target
during which time the detector front-end 490 (FIG. 4) is            power consumption level 83〇. The eontrol engine 440 (FIG.
powered-down. The loeation and duration of the on periods           4) alters the sensor sampling of the pulse oximeter 300 (FIG.
612 and off periods 614 are determined by the front-end 25 3) so that the average power consumption matches the target
eontrol 364 (FIG. 4).                                               level 830, as indicated by the power status output 462 (FIG.
   Also shown in FIG. 6 is a corresponding timeline 601 of          4) , except when overridden by the signal status output 452
overlapping data blocks 700, which are "snap-shots" of the          (FIG. 4).
pre-processor output signal 610 over specific time intervals.           As shown in FIG. 8, power consumption changes accord­
Specifically, the post processor 430 (FIG. 4) processes a 30 ing to the eontrol states 810 during each of the time intervals
sliding window of samples of the pre-proeessor output signal        85〇. In a first time interval 851, the pulse oximeter is in a low
610, as described with respect to FIGS. 7A-B, below. Advan­         duty cycle state 814 and transitions to a high duty cycle state
tageously, the post processor 430 (FIG. 4) continues to func­       812 during a second time interval 852 due to an event or low
tion during off portions 614, marking as invalid those data         quality signal. During a third time interval 853, the pulse
blocks 640 that incorporate off portions 614. A freshness 35 oximeter is able to enter the data off state 818, during which
eounter ean be used to measure the time period 660 between          time no sensor samples are proeessed. In a forth time interval
valid data blocks 630, whieh ean be displayed on a pulse            854, sensor samples are again taken, but at a low duty cycle
oximeter monitor as an indication of confidence in the current      814. During the fifth and sixth time intervals 855,856, sensor
measurements.                                                       samples are shut off and turned on again as the pulse oximeter
   FIGS. 7A-B illustrate data blocks 700, which are processed 40 300 (FIG. 3) alternates between the data off state 818 and the
by the post processor 430 (FIG. 4). Each data block 700 has n       low duty cycle state 814 so as to maintain an average power
samples 702 of the pre-processor output and corresponds to a        consumption at the target level 83〇.
time interval 704 ofn/f^, where 匚 is the sample frequeney. For          FIG. 9 illustrates a state diagram 900 for one embodiment
example, in one embodiment n=600 and £=62.5 Hz. Hence,              of the eontrol engine 440 (FIG. 4). In this embodiment, there
eaeh data block time interval 704 is nominally 9.6 sec.          45 are three eontrol states, high duty eyele 910, low duty cycle
   As shown in FIG. 7A, each data block 700 also has a              940 and data off 970, as described with respect to FIG. 8,
relative time shift 706 from the preceding databloek, where is      above. If the eontrol state is data off 970, an event triggers a
an integral number of sample periods. That is, =m/f勇 where m        data-off to high-duty-cycle transition 972. If the eontrol state
is an integer representing the number of samples dropped            is low duty cycle 940, an event similarly triggers a low-duty
from the preeeding data block and added to the succeeding 50 cycle to high-duty-cycle transition 942. In this manner, the
data block. In the embodiment deseribed above, m=75 and             oeeurrenee of an event initiates high duty sensor sampling,
=1.2 sec, nominally. The corresponding overlap 708 of two           allowing high fidelity monitoring of the event. Similarly, if
adjacent data blocks 710, 720 is (n-m)/f^. In the embodiment        the eontrol state is low duty cycle 940, low signal quality
deseribed above, the overlap 708 is nominally 9.6 sec-1.2           triggers a low-duty cycle to high-duty-cycle transition 942. In
sec=8.4 sec. The greater the overlap 708, i.e. the smaller the 55 this manner, low signal quality initiates higher duty sensor
time shift 706, the more data blocks there are to process in the    sampling, providing, for example, a larger signal-to-noise
post-processor 430 (FIG. 4), with a corresponding greater           ratio.
power consumption. The overlap 708 between sueeessive                   Also shown in FIG. 9, if the eontrol state is high duty eyele
data blocks 710, 720 may vary from n-f samples to no                910 and either an event is oeeurring or signal quality is low,
samples, i.e. no overlap. Also, as shown in FIG. 7B, there may 60 then a null transition 918 maintains the high duty eyele state
be a sample gap 756 or negative overlap, i.e. samples between       91〇. If the pulse oximeter is not above the power target for
data blocks that are not processed by the post-processor,           more than a particular time interval, a null transition 948
allowing further post-processor power savings. Sample gaps          maintains the low duty cycle state 940, so that sampling is
756 may correspond to detector front-end off periods 614            turned-off only when neeessary to track the power target.
(FIG. 6).                                                        65 Further, if the eontrol state is data off970 and no time-out has
   FIG. 8 illustrates an exemplar power consumption versus          occurred, a null transition 978 maintains the data off state
time profile 800 for the pulse oximeter 300 (FIG. 3) during         970, providing a minimum power consumption.
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   In addition, FIG. 9 shows that when the eontrol state is in a     processor is in a large overlap state 1012 and transitions to a
high duty cycle state 910, if neither an event nor low signal        medium overlap state 1014 during a second time interval
quality are oeeurring, then a high-duty-cycle to low-duty-           1054, so as to meet a power target during a high signal quality
cycle transition 912 occurs by default. Also, if the eontrol         period, for example. During a third time interval 1055, the
state is low duty cycle 940, if neither an event nor low signal 5 post processor enters a small overlap state 1018, for example
quality are oeeurring and the power consumption is above the         to meet a power target by further reducing power consump­
target level for longer than a particular time interval, a low-      tion. In a forth time interval 1056, the post processor transi­
duty-cycle to data-off transition 944 occurs by default, allow­      tions back to a large overlap state 1012, sueh as during an
ing power consumption to come down to the target level.              event or low signal quality conditions.
Further, if the eontrol state is data off 970, if no event oeenrs 10     FIG. 11 illustrates a state diagram 1100 for one embodi­
and a timeout does oeeur, a data-off to low-duty-cycle tran­         ment of the eontrol engine 440 (FIG. 4). These states may
sition 974 occurs by default, preventing excessively long            function in parallel with, or in combination with, the sam­
periods of no sensor sampling.                                       pling states deseribed with respeet to FIG. 9, above. In the
   FIG. 10 illustrates an exemplar power consumption versus          illustrated embodiment, there are three eontrol states, large
time profile 1000 for the post processor 430 (FIG. 4) during 15 overlap 1110, medium overlap 1140 and small overlap 1170,
various control engine states. In one embodiment, the eontrol        as described with respect to FIG. 10, above. Ifthe eontrol state
engine 440 (FIG. 4) has three states related to the sampling         is small overlap 1170, an event triggers a small overlap to
control output 366 (FIG. 4) that affect post processor power         large overlap transition 1172. If the eontrol state is medium
consumption accordingly. One of ordinary skill in the art will       overlap 1140, an event similarly triggers a medium overlap to
recognize that the eontrol engine may have greater or fewer 20 large-overlap transition 1142. In this manner, the oeeurrenee
states and associated power consumption levels. The profile          of an event initiates the proeessing of more data blocks,
1000 shows the three eontrol engine states 1010 and the              allowing more robust signal statistics and higher fidelity
assoeiated post processor power consumption levels 102〇.             monitoring of the event. Similarly, if the eontrol state is
These three states are large overlap 1012, medium overlap            medium overlap 1140, low signal quality triggers a medium
1014 and small overlap 1018.                                      25 overlap to large overlap transition 1142. In this manner, low
   As shown in FIG. 10, in the large overlap state 1012, the         signal quality initiates the proeessing of more data blocks,
eontrol engine 440 (FIG. 4) eauses the post processor to             providing more robust signal statistics during lower signal-
process data blocks that have a comparatively small time shift       to-noise ratio periods.
706 (FIG. 7A), and the post processor exhibits relatively high           Also shown in FIG. 11, if the eontrol state is large overlap
power consumption under these eonditions, say 300 mw. In 30 1110 and either an event is oeeurring or signal quality is low,
the medium overlap state 1014, the eontrol engine 440 (FIG.          then a null transition 1118 maintains the large overlap state
4) eauses the post processor to process data blocks that have        1110. If the pulse oximeter is not above the power target for
a comparatively larger time shift 706 (FIG. 7A). For example,        more than a particular time interval, a null transition 1148
the data blocks may be time shifted twiee as much as for the         maintains the medium overlap state 1140, so that reduced
large overlap state 1012, and, as such, the post processor 35 data processing oeeurs only when neeessary to track the
performs only half as many computations and consumes half            power target. Further, if the eontrol state is small overlap
the nominal power, say 150 mw. In the small overlap state            1170, a null transition 1178 maintains this power saving state
1018, the eontrol engine 440 (FIG. 4) eauses the post proces­        until the power target is reaehed or an event or low signal
sor to process data blocks that have a comparatively large           quality condition occurs.
time shift. For example, the data blocks may be time shifted 40          In addition, FIG. 11 shows that when the eontrol state is in
twiee as much as for the medium overlap state 1014. As such,         a large overlap state 1110, if neither an event nor low signal
the post processor performs only a quarter as many compu­            quality are oeeurring, then a large overlap to medium overlap
tations and consumes a quarter of the nominal power, say 75          transition 1112 occurs by default. Also, if the eontrol state is
mw, as for the large overlap state 1012. In one embodiment,          medium overlap 1140, if the power consumption is above the
the eontrol engine 440 (FIG. 4) alters the data bloek overlap of 45 target level for longer than a particular time interval and no
the post processor in conjunction with the duty eyele of the         low signal quality condition or event is oeeurring, a medium
emitter drivers described with respeet to FIG. 5, above, and         overlap to small overlap transition 1174 occurs, allowing
the front-end sampling described with respect to FIG. 6,             power consumption to come down to the target level. Further,
above, so that the average power consumption of the pulse            if the eontrol state is small overlap 1170, ifno event oeeurs but
oximeter matehes a target level indieated by the power status 50 the power target has been met, a small overlap to medium
output 462 (FIG. 4) or so that the power consumption is              overlap transition 1174 occurs.
otherwise redueed or minimized.                                          A low power pulse oximeter embodiment is deseribed
   In a preferred embodiment, data bloeks are time shifted by        above as having a power status calculator 460 (FIG. 4) and an
either about 0.4 sec or about 1.2 sec, depending on the overlap      associated power target. Another embodiment of a low power
state of the eontrol engine 440 (FIG. 4). In a more preferred 55 pulse oximeter, however, functions without either a power
embodiment, the data blocks are varied between about 1.2 sec         status calculator or a power target, utilizing the sampling
and about 4.8 sec. In a most preferred embodiment, the data          controls 362, 364,366 (FIG. 3) in response to internal param­
blocks are time shifted by either about 1.2 sec, about 2.4 sec       eters and/or output parameters, such as signal statistics 344
or about 4.8 sec, depending on the overlap state of the eontrol      (FIG. 3) and/or physiological measurements 342 (FIG. 3) to
engine 440 (FIG. 4). Although the post-proeessing of data 60 reduce power consumption except during, say, periods oflow
blocks is described above with respeet to only a few overlap         signal quality and physiological events.
states and a corresponding number of particular data block               One of ordinary skill in the art will recognize that various
time shifts, there may be many overlap states and a corre­           state diagrams are possible representing eontrol of the emitter
sponding range of data block time shifts.                            drivers, the deteetor front-end and the post-proeessor. Sueh
   Further shown in FIG. 10, power consumption 1020 65 state diagrams may have fewer or greater states with differing
changes according to the eontrol states 1010 during each of          transitional characteristics and with differing relationships
the time intervals 105〇. In a first time interval 1052, the post     between sampling mechanisms than the partieular embodi-
                                                                  19



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                             11                                                                  12
ments described above. In relatively simple embodiments of             8. The method of claim 1, wherein said processing charac­
the eontrol engine 440 (FIG. 4), only a single sampling             teristics include determining an estimate of current power
mechanism is nsed, snch as the sampling mechanism nsed to           consumption and comparing said estimate with a target power
vary the duty cycle of the emitter drivers. The single sampling     consumption.
mechanism may be based only upon internal parameters, such 5           9. A method of managing power consumption during con­
as signal quality, only upon output parameters, such as those       tinuous patient monitoring by adjusting behavior of a patient
that indicate the occurrence of physiological events, or upon       monitor, the method comprising:
a combination of internal and output parameters, with or               driving one or more light sourees eonfigured to emit light
without a power target.                                                   into tissue of a monitored patient;
   In relatively more eomplex embodiments of the eontrol lo            reeeiving one or more signals from one or more deteetors
engine 440 (FIG. 4), sampling mechanisms are used in eom-                 configured to detect said light after attenuation by said
bination. These sampling mechanisms may he based only                     tissue;
upon internal parameters, only upon output parameters, or              eontinuously operating a patient monitor at a lower power
upon a combination of internal and output parameters, with or             consumption level to determine measurement values for
without a power target. In a particular embodiment, the emit- 15          one or more physiologieal parameters of a patient;
ter duty-cycle, front-end duty-cycle and data block overlap            eomparing processing characteristics to a predetermined
sampling mechanisms described above are combined. A                       threshold; and
“reduced overlap" state relating to the post-processing of data        when said processing eharaeteristies pass said threshold,
blocks is added to the diagram of FIG. 9 between the Tow                  transitioning to continuously operating said patient
duty eyele" state and the "data off' state. That is, sampling is 20       monitor at a higher power consumption level, wherein
varied between a high duty cycle state, a low duty cycle state,           said continuously operating at said lower power con­
a reduced overlap state and a data off state in response to               sumption level eomprises redueing an amount of pro­
signal quality and physiological events, with or without a                cessing by a signal processor.
power target.                                                          10. The method of claim 9, wherein said reducing eom­
   The low power pulse oximeter has been diselosed in detail 25 prises proeessing less data.
in connection with various embodiments. These embodi­                  11. fhe method of claim 10, wherein said processing less
ments are diselosed by way of examples only and are not to          data comprises reducing an overlap in data blocks being
limit the seope of the elaims that follow. One of ordinary skill    processed.
in the art will appreciate many variations and modifications.          12. A method of managing power consumption during
                                                                 30 continuous patient monitoring by adjusting behavior of a
   What is claimed is:                                              patient monitor, the method comprising:
   1. A method of managing power eonsumption during con­               driving one or more light sourees eonfigured to emit light
tinuous patient monitoring by adjusting behavior of a patient             into tissue of a monitored patient;
monitor, the method comprising:                                        reeeiving one or more signals from one or more deteetors
   driving one or more light sourees eonfigured to emit light 35          configured to detect said light after attenuation by said
      into tissue of a monitored patient;                                 tissue;
   reeeiving one or more signals from one or more detoetors            eontinuously operating a patient monitor at a lower power
      eonfigured to detect said light after attenuation by said           consumption level to determine measurement values for
      tissue;                                                             one or more physiologieal parameters of a patient;
   eontinuously operating a patient monitor at a lower power 가〇        eomparing processing characteristics to a predetermined
      consumption level to determine measurement values for               threshold; and
      one or more physiologieal parameters of a patient;               when said processing eharaeteristies pass said threshold,
   eomparing proeessing eharaeteristies to a predetermined                transitioning to continuously operating said patient
      threshold; and                                                      monitor at a higher power consumption level, wherein
   when said processing eharaeteristies pass said threshold, 가5           said processing eharaeteristies inelude an override eon-
      transitioning to continuously operating said patient                dition.
      monitor at a higher power consumption level, wherein             13. The method of claim 12, wherein said override eondi-
      said continuously operating at said lower power con­          tion eomprises measurements during a critical care environ­
      sumption level eomprises redueing aetivation of an            ment.
      attached sensor, said sensor positioning said light 50           丄4. fhe method of claim 12, wherein said override eondi-
      sources and said detectors proximate said tissue.             tion eomprises one or more monitored parameters exhibiting
   2. The method of claim 1, wherein said reducing aetivation       predefined behavior.
comprises reducing a duty cycle of said sensor.                        15. A patient monitor configured to manage power con­
   3. The method of claim 1, wherein during said operating at       sumption during continuous patient monitoring, the monitor
said higher power consumption level, monitoring when said 55 comprising:
processing eharaeteristies recedes from said threshold; and            an input configured to receive at least one signal responsive
when reeeded, transitioning to continuously operating said                to light detected after attenuation by body tissue of a
patient monitor at said lower power consumption level.                    patient by a noninvasive sensor; and
   4. fhe method of claim 1, wherein said processing eharae­           one or more proeessors eontinuously operating at a lower
teristies eomprise signal characteristics from one or more 60             power consumption level to determine measurement
light sensitive deteetors.                                                values for one or more physiologieal parameters of said
   5. The method of claim 4, wherein said signal characteris­             patient, said processors comparing processing charac­
tics comprise signal strength.                                            teristics to a predetermined threshold, and when said
   〇. fhe method of claim 4, wherein said signal characteris­             processing eharaeteristies pass said threshold, said pro­
tics comprise a presence of noise.                               65       cessors transitioning to continuously operating at a
   7. The method of claim 4, wherein said signal characteris­             higher power consumption level, wherein proeessors
tics comprise a presence of motion induced noise.                         reduce activation of an attached sensor.
                                                                 20



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   16. The monitor of claim 15, wherein said processors                  higher power consumption level, wherein said proces­
reduce a duty cycle of said sensor.                                       sors reduce an amount of processing by a signal proces­
   17. The monitor of claim 15, wherein during said operating             sor.
at said higher power consumption level, said processors                21. The monitor of claim 20, wherein said processors
monitors when said processing eharaeteristies recedes from 5 reduce an overlap in data blocks being processed.
said threshold; and when reeeded, said processors transition           22. A patient monitor configured to manage power con­
to continuously operating at said lower power consumption           sumption during continuous patient monitoring, the monitor
level.                                                              comprising:
   18. The monitor of claim 15, wherein said processing char­          an input configured to receive at least one signal responsive
acteristics comprise signal characteristics from one or more 10
                                                                         to fight detected after attenuation by body tissue of a
light sensitive deteetors.
                                                                         patient by a noninvasive sensor; and
   19. The monitor of claim 15, wherein said processing char­
                                                                       one or more proeessors continuously operating at a lower
acteristics include determining an estimate of current power
consumption and comparing said estimate with a target power              power consumption level to determine measurement
consumption.                                                     15
                                                                         values for one or more physiologieal parameters of said
   2〇. A patient monitor configured to manage power con­                 patient, said processors comparing processing charac­
sumption during continuous patient monitoring, the monitor               teristics to a predetermined threshold, and when said
comprising:                                                              processing eharaeteristies pass said threshold, said pro­
   an input configured to receive at least one signal responsive          cessors transitioning to continuously operating at a
      to fight detected after attenuation by body tissue of a 20         higher power consumption level, wherein said process­
      patient by a noninvasive sensor; and                                ing eharaeteristies inelude an override eondition.
   one or more proeessors eontinuously operating at a lower            23. The monitor of claim 22, wherein said override eondi­
      power consumption level to determine measurement              tion comprises measurements during a critical care environ­
      values for one or more physiologieal parameters of said       ment.
      patient, said processors comparing processing charac­ 25         24. fhe monitor of claim 22, wherein said override eondi­
      teristics to a predetermined threshold, and when said         tion comprises one or more monitored parameters exhibiting
      processing eharaeteristies pass said threshold, said pro­     predefined behavior.
      cessors transitioning to continuously operating at a




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                     U.S. DEPARTMENT OF COMMERCE
                    United States Patent and Trademark Office


                                                                          July 20, 2022
                                                                          (Date)


THIS IS TO CERTIFY that the attached document is a list of the papers that comprise
the record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                   APPLE INC.,
                                    Petitioner

                                          v.

                            MASIMO CORPORATION,
                                 Patent Owner

                                Case: IPR2020-01523
                                 Patent 8,457,703 B2


                            By authority of the

                            DIRECTOR OF THE UNITED STATES
                            PATENT AND TRADEMARK OFFICE



                                           /s/ Natasha M. Brotten
                                                  Certifying Officer




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Prosecution History IPR2020-01523
 Date           Document
 09/09/2020     Petitioner's Power of Attorney
 09/09/2020     Petition for Inter Partes Review
 09/21/2020     Patent Owner's Mandatory Notices
 10/19/2020     Notice of Accord Filing Date
 01/08/2021     Petitioner's Updated Exhibit List
 01/19/2021     Patent Owner's Notice of Waiver of Preliminary Response
 04/14/2021     Trial Instituted Document
 04/14/2021     Scheduling Order
 04/28/2021     Patent Owner's Objection to Evidence
 04/28/2021     Patent Owner's Supplemental Mandatory Notice Adding Joshua J. Stowell as
                Backup Counsel
 05/25/2021     Patent Owner's Notice of Deposition of Dr. Brian W. Anthony
 06/10/2021     Patent Owner's Notice of Stipulation to Modify Due Dates 1-3
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 07/28/2021     Patent Owner's Response
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 08/20/2021     Petitioner's Notice of Deposition of Vijay K. Madisetti, Ph.D.
 10/21/2021     Petitioner's Reply to Patent Owner's Response
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 12/03/2021     Petitioner's Oral Hearing Request
 12/03/2021     Patent Owner's Request for Oral Argument
 12/17/2021     Order Setting Oral Argument
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 01/03/2022     Petitioner's Opposition to Patent Owner's Motion to Exclude Petitioner's
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 01/10/2022     Patent Owner's Reply ISO Motion to Exclude Petitioner's Evidence
 01/14/2022     Petitioner's Updated Exhibit List
 01/14/2022     Patent Owner's Demonstratives for Trial Hearing
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 02/16/2022     Hearing transcript
 04/11/2022     Final Written Decision
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    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent of:    Al-Ali
U.S. Patent No.:    8,457,703          Attorney Docket No.: 50095-0002IP1
Issue Date:         June 4, 2013
Appl. Serial No.:   11/939,519
Filing Date:        November 13, 2007
Title:              LOW POWER PULSE OXIMETER

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PETITION FOR INTER PARTES REVIEW OF UNITED STATES PATENT
   NO. 8,457,703 PURSUANT TO 35 U.S.C. §§ 311–319, 37 C.F.R. § 42




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                              EXHIBITS

APPLE-1001    U.S. Patent No. 8,457,703 to Al-Ali (“the ’703 Patent”)

APPLE-1002    Excerpts from the Prosecution History of the ’703 Patent

APPLE-1003    Declaration of Brian W. Anthony, Ph.D.

APPLE-1004    U.S. Patent No. 6,293,915 to Amano et al. (“Amano”)

APPLE-1005    U.S. Patent No. 6,393,311 to Edgar, Jr. et al. (“Edgar”)

APPLE-1006    U.S. Patent No. 6,527,729 to Turcott (“Turcott”)

APPLE-1007    U.S. Patent No. 5,632,272 to Diab et al. (“Diab”)

APPLE-1008    U.S. Patent No. 6,178,343 to Bindszus et al.

APPLE-1009    U.S. Patent No. 5,924,979 to Swedlow et al.

APPLE-1010    Tremper, Pulse Oximetry, Anesthesiology, The Journal of the
              American Society of Anesthesiologists, Inc., Vol. 70, No. 1
              (January 1989)

APPLE-1011    Mendelson, Skin Reflectance Pulse Oximetry: In Vivo
              Measurements from the Forearm and Calf, Journal of Clinical
              Monitoring, Vol. 7, No. 1 (January 1991)

APPLE-1012    Excerpts from Bronzino, The Biomedical Engineering
              Handbook, CRC Press, Inc. (1995)

APPLE-1013    Konig, Reflectance Pulse Oximetry – Principles and Obstetric
              Application in the Zurich System, Journal of Clinical
              Monitoring, Vol. 14, No. 6 (August 1998)

APPLE-1014    U.S. Patent No. 5,490,505 to Diab et al.

APPLE-1015    U.S. Patent No. 5,027,410 to Williamson et al.




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APPLE-1016     U.S. Patent Application Publication No. 2003/0004428 to Pless
               et al.

APPLE-1017     U.S. Patent Application Publication No. 2002/0032386 to
               Sackner et al.

APPLE-1018     U.S. Patent Application Publication No. 2003/0163287 to Vock
               et al.

APPLE-1019     U.S. Patent No. 6,163,721 to Thompson

APPLE-1020     U.S. Patent No. 5,058,203 to Inagami

APPLE-1021     U.S. Patent No. 6,711,691 to Howard et al.

APPLE-1022-1030      Reserved

APPLE-1031     Scheduling Order, Masimo v. Apple et al., Case 8:20-cv-00048,
               Paper 37 (April 17, 2020)

APPLE-1032     Stipulation by Apple

APPLE-1033     Telephonic Status Conference, Masimo v. Apple et al., Case
               8:20-cv-00048, Paper 78 (July 13, 2020)

APPLE-1034     Joseph Guzman, “Fauci says second wave of coronavirus is
               ‘inevitable’”, TheHill.com (Apr. 29, 2020), available at:
               https://thehill.com/changing-america/resilience/natural-
               disasters/495211-fauci-says-second-wave-of-coronavirus-is

APPLE-1035     “Tracking the coronavirus in Los Angeles County,”
               LATimes.com (Aug. 20, 2020), available at
               https://www.latimes.com/projects/california-coronavirus-cases-
               tracking-outbreak/los-angeles-county/

APPLE-1036     Order Amending Scheduling Order, Masimo et al. v. True
               Wearables et al., Case 8:18-CV-02001 (July 7, 2020)




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                                                Attorney Docket No. 50095-0002IP1
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      Apple Inc. (“Petitioner” or “Apple”) petitions for Inter Partes Review

(“IPR”) of claims 1-7, 9-18, and 20-24 (“the Challenged Claims”) of U.S. Patent

No. 8,457,703 (“the ’703 Patent”). The ’703 Patent describes a purported

improvement to “a sleep-mode pulse oximeter... utilizing conventional sleep-mode

power reduction” “where the circuitry is powered down,” and thus “the pulse

oximeter is not functioning during sleep mode” which can result in “miss[ed]

events, such as patient oxygen desaturation.” APPLE-1001, 1:63-2:2, 2:18-21.

According to the ’703 Patent, the improved pulse oximeter uses processing

characteristics to “regulate pulse oximeter power dissipation” by “reducing

activation of an attached sensor” or “reducing an amount of processing.” APPLE-

1001, 5:15-23, claims 1 and 9.

      But this “improvement” was not new. To the contrary, the ’703 Patent was

granted without full consideration to the wide body of applicable art. As Dr. Brian

Anthony explains in his accompanying declaration with respect to the applied prior

art, patient monitors such as pulse rate detectors and pulse oximeters commonly

included these and other features before the ’703 Patent’s earliest effective filing

date, and a patient monitor including each feature of the Challenged Claims would

have been obvious to a POSITA. APPLE-1003, ¶¶37-127. For example, U.S.

Patent No. 6,293,915 to Amano et al. (APPLE-1004) describes the exact

limitations of the ’703 Patent’s proposed solution to the problem found in the prior


                                          1
                                         Appx69
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art “sleep-mode pulse oximeter.” APPLE-1001, 1:63-2:2, 2:18-21. Much like the

’703 Patent, Amano describes a pulse wave examination apparatus that “reduce[s]

power consumption in the apparatus” while allowing a subject to “detect his pulse

condition continuously in his daily life” by suspending body movement processing

operations (reducing an amount of processing) “when... no body movement is

present.” APPLE-1004, 21:50-22:9, 35:54-64, 36:23-27, 38:26-27. Amano is not

alone, as Turcott (APPLE-1006) describes “minimiz[ing] power consumption” by

adjusting “the drive current” of the light emitter (reducing activation of an attached

sensor). APPLE-1006, 11:51-59. Other references cited herein likewise disclose

managing power consumption during continuous patient monitoring by adjusting

behavior of a patient monitor, as discussed in detail below. Apple respectfully

submits that an IPR should be instituted, and that the Challenged Claims should be

canceled as unpatentable.

             REQUIREMENTS FOR IPR

                   Grounds for Standing

      Apple certifies that the ’703 Patent is available for IPR. The present Petition

is being filed within one year of service of a complaint against Apple in Masimo

Corporation et al. v. Apple Inc., Case No. 8:20-cv-00048 (C.D. Cal.). Apple is not

estopped from requesting this review challenging the Challenged Claims on the

below-identified grounds.

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                                        Appx70
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                     Challenge and Relief Requested

       An explanation of how these claims are unpatentable under the statutory

grounds identified below is provided in the form of a detailed description that

follow. Additional explanation and support for each ground of rejection is set forth

in the Declaration of Brian W. Anthony, Ph.D. (APPLE-1003), referenced

throughout this Petition.

 Ground              Claims                           §103 Basis

    1A      9-10, 12-14, 20, 22-24 Diab (APPLE-1007) and Amano

    1B               11, 21          Diab, Amano, and Edgar (APPLE-1005)

    1C             1-7, 15-18        Diab, Amano, and Turcott (APPLE-1006)

    2A      9-10, 12-14, 20, 22-24 Diab and the General Knowledge of a
                                     POSITA (GK-POSITA)

    2B               11, 21          Diab, GK-POSITA, and Edgar

    2C             1-7, 15-18        Diab, GK-POSITA, and Turcott

    3A      9-10, 12-14, 20, 22-24 Amano (APPLE-1004)

    3B             1-3, 15-17        Amano and Turcott (APPLE-1006)



       Each reference pre-dates the provisional application (filed 7/2/2001) and

qualifies as prior art:




                                         3
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                      Reference          Date          Section

                        Diab      5/27/1997 (issued)    102(b)

                       Amano       7/16/1999 (filed)       102(e)

                       Edgar       10/1/1999 (filed)       102(e)

                       Turcott    10/11/2000 (filed)       102(e)


      None of these references were cited in any office action by the examiner

during prosecution.

            THE ’703 PATENT

                   Brief Description

      The ’703 Patent relates to “a low power pulse oximeter.” APPLE-1001,

4:64-5:14, 5:14-15, FIG. 3. The pulse oximeter “utilizes multiple sampling

mechanisms to alter power consumption.” APPLE-1001, 5:59-61; APPLE-1003,

¶¶26-29. The ’703 patent describes that the sampling mechanisms “modify power

consumption by, in effect, increasing or decreasing the number of input samples

received and processed.” APPLE-1001, 6:9-11; APPLE-1003, ¶¶30-31. The

patent states that “[s]ampling, including acquiring input signal samples and

subsequent sample processing, can be reduced during high signal quality periods

and increased during low signal quality periods or when critical measurements are

necessary.” APPLE-1001, 6:11-15.



                                        4
                                       Appx72
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                   Summary of the Prosecution History

      Original claims 1-16 were rejected based on U.S. Patent No. 5,924,979 to

Swedlow et al. (“Swedlow”). APPLE-1002, 65-68. In the response to the first

office action, the applicant argued that “Swedlow discloses a ‘sleep mode’ for a

pulse oximeter” and the “sleep mode technologies, including Swedlow, do not

teach or suggest continuous determination of measurement values” but “[r]ather,

sleep mode disclosures, including Swedlow, simply turn off various

portions/electronics for predetermined periods of time.” APPLE-1002, 91. As

described in detail below, other prior art references—which were never before the

examiner—teach or suggest the claimed features. APPLE-1003, ¶32.

                   Level of Ordinary Skill in the Art

      A person of ordinary skill in the art relating to, and at the time of, the

invention of the ’703 Patent (“POSITA”) would have had a Bachelor of Science

degree in an academic discipline emphasizing the design of electrical, computer, or

software technologies, in combination with training or at least one to two years of

related work experience with capture and processing of data or information,

including but not limited to physiological monitoring technologies or a Master of

Science degree in a relevant academic discipline with less than a year of related

work experience in the same discipline. APPLE-1003, ¶33.




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                    Claim Construction

      Petitioner submits that all claim terms should be construed according to the

Phillips standard. Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005); 37

C.F.R. § 42.100. Here, based on the evidence below and the prior art’s description

of the claimed elements being similar to that of the ’703 patent specification, no

formal claim constructions, except those discussed below, are necessary in this

proceeding because “claim terms need only be construed to the extent necessary to

resolve the controversy.” Wellman, Inc. v. Eastman Chem. Co., 642 F.3d 1355,

1361 (Fed. Cir. 2011).

                    1.    “reducing/reduce activation of an attached sensor”
                          (claims 1 and 15)

      We construe this phrase as “reducing the duty cycle of an emitter driver

output to the sensor” or “entering a data off state for a time period in which the

emitter drivers are turned off.” APPLE-1003, ¶36. This construction is consistent

with the ’703 Patent disclosure, as understood by a POSITA, which states that

“[i]ntermittently reducing the drive current duty cycle can advantageously reduce

power dissipation” and “[i]n conjunction with an intermittently reduced duty cycle

or as an independent sampling mechanism, there may be a ‘data off’ time period

longer than one drive current cycle where the emitter drivers... are turned off.”

APPLE-1001, 3:28-30, 6:66-7:1, 7:8-12; APPLE-1003, ¶36.



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         Moreover, regardless of whether the particular language offered by this

proposed construction is adopted, the scope of the phrase “reducing/reduce

activation of an attached sensor” should nonetheless be broad enough to

encompass “reducing the duty cycle of an emitter driver output to the sensor” and

“entering a data off state for a time period in which the emitter drivers are turned

off.” See APPLE-1001, 3:28-30, 6:66-7:1, 7:8-12; APPLE-1003, ¶36.

               UNPATENTABILITY GROUNDS

                      GROUND 1A: Claims 9-10, 12-14, 20, and 22-24 are
                      obvious based on Diab and Amano

                      1.    Overview of Diab1

         Diab describes “a physiological monitor for pulse oximetry” referred to as

“pulse oximeter 299.” APPLE-1007, 34:10-12, FIG. 11. The oximeter includes “a

digital signal processing system 334” that “provides clean plethysmographic

waveforms of the detected signals and provides values for oxygen saturation and

pulse rate to the display.” APPLE-1007, 35:34-47, 34:24-28, FIGS. 13-14. The

signal processor 334 performs functions of a “pulse rate module 410” that includes



1
    General descriptions provided for the references, including but not limited to

Diab, and combinations thereof are hereby incorporated into each subsection

addressing/applying those references, as are the discussions of combinations.


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                                          Appx75
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“a motion status module 584,” the output of which is provided to “a motion artifact

suppression module 580.” APPLE-1007, 38:61-63, 47:30-38, 47:47-49, FIGS. 14,

20. An “average peak width value” is input to the motion status module 584, and

“if the peaks are wide, this is taken as an indication of motion.” APPLE-1007,

47:50-52, FIG. 20. “If motion is not detected, spectral estimation on the signals is

carried out directly without motion artifact suppression,” and “[i]n the case of

motion, motion artifacts are suppressed using the motion artifact suppression

module 580.” APPLE-1007, 47:52-56. The “output filter 594” of the pulse rate

module 410 provides “the pulse of the patient, which is advantageously provided to

the display.” APPPLE-1007, 48:3-5, 50:27-29; APPLE-1003, ¶¶37-40.

                   2.     Overview of Amano

      Amano describes a “pulse wave examination apparatus” that includes a

“pulse wave detecting section 10.” APPLE-1004, 40:23-24. Amano teaches that,

in the context of processing the detected pulse wave obtained from a LED and a

phototransistor of the pulse wave detection section 10, “when the body movement

component eliminating section 30 is made to operate for the elimination of the

body movement component [from the detected pulse wave] even if there is no

body movement,... power is consumed by the body movement eliminating

operation.” APPLE-1004, 21:3-57. Amano provides a solution where “when no

body movement is present, the operations of the waveform treating section 21 and


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body movement component eliminating section 30 are suspended,” which

“reduce[s] power consumption in the apparatus.” APPLE-1004, 21:65-22:6,

35:54-64. Thus, Amano teaches reducing power consumption by suspending

unnecessary processing operations. Id.; APPLE-1003, ¶¶41-42.

                     3.    The Combination of Diab and Amano

        In light of Amano’s teaching that “power is consumed by the body

movement eliminating operation,” a POSITA would have found obvious that

operating Diab’s “motion artifact suppression module 580” likewise consumes

power. APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007, 47:52-56, 48:34-49:38;

APPLE-1003, ¶43. Additionally, in light of Amano’s teaching that suspending

“the operations of... body movement component eliminating section” reduces

power consumption, a POSITA would have found obvious that performing Diab’s

“spectral estimation on the signals... directly without motion artifact suppression” 2

similarly reduces power consumption. Id. In light of Amano’s teaching of

reducing power consumption by suspending unnecessary processing operations, a

POSITA would have found obvious that Diab’s oximeter likewise reduces power

consumption by performing “spectral estimation on the signals... directly without

motion artifact suppression.” Id.


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    All emphasis added unless otherwise indicated.


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                   4.    Reasons to Combine Diab and Amano

      A POSITA would have been motivated to and would have found it obvious

and straightforward to supplement Diab’s teachings with the teachings of Amano

as described above. APPLE-1003, ¶44. Both Diab and Amano are in the same

field of art and relate to devices that provide pulse waveforms. APPLE-1004,

21:3-8, 29:23-25, 31:2-8, 33:50-54, 34:3-14, 35:17-21, 36:23-27, 38:26-27, 40:23-

27; APPLE-1007, 34:27-28, 35:44-47, 49:25-32. Both Amano and Diab disclose a

need to eliminate motion-induced noise from a pulse waveform. APPLE-1004,

33:54-67; APPLE-1007, 2:23-26, 2:53-3:9, 34:1-9.

      Amano is offered to demonstrate that reducing the amount of processing by

suspending operations reduces power consumption. APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 47:52-56, 48:34-49:38; APPLE-1003, ¶45. A POSITA

faced with Diab’s disclosure would look to similar systems, such as Amano, to

obtain more information on the effect of Diab’s reduction in processing. Id.

Amano’s teachings reveal to a POSITA that changes in power consumption were

obvious from changes in the amount of processing that are contemplated by Diab.

Id. A POSITA would have recognized that supplementing Diab’s teachings with

the teachings of Amano as described above would have led to predictable results

without significantly altering or hindering the functions performed by Diab’s

oximeter. Id.


                                        10
                                       Appx78
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                   5.     Claim 9

9[p]: “A method of managing power consumption during continuous patient
monitoring by adjusting behavior of a patient monitor, the method
comprising:”

      In the combination, Diab teaches a method for operating “a physiological

monitor for pulse oximetry” referred to as “pulse oximeter 299” that “compute[s]

the arterial and venous blood oxygen saturations of a physiological system on a

continuous or nearly continuous time basis.” APPLE-1007, 34:10-12, 63:38-41,

FIG. 11; APPLE-1003, ¶46. The oximeter includes “a digital signal processing

system 334” that “provides clean plethysmographic waveforms of the detected

signals and provides values for oxygen saturation and pulse rate to the display.”

APPLE-1007, 35:34-47, 34:24-28, FIGS. 13-14. A portion of the functional

diagram of the oximeter 299 is shown below:




                          APPLE-1007, Detail of FIG. 11



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      Diab’s signal processor 334 adjusts behavior of the oximeter during

continuous patient monitoring by including “a motion status module 584,” the

output of which is provided to “a motion artifact suppression module 580.”

APPLE-1007, 47:30-38, 47:47-49, FIGS. 14, 20; APPLE-1003, ¶¶47-48. An

“average peak width value” is input to the motion status module 584, and “if the

peaks are wide, this is taken as an indication of motion.” APPLE-1007, 47:50-52,

FIG. 20. “If motion is not detected, spectral estimation on the signals is carried out

directly without motion artifact suppression,” and “[i]n the case of motion, motion

artifacts are suppressed using the motion artifact suppression module 580.”

APPLE-1007, 47:52-56. Thus, Diab adjusts the behavior of the oximeter by (1)

not performing motion artifact suppression when motion is not detected and (2)

suppressing motion artifacts when motion is detected. APPLE-1007, 47:52-56;

APPLE-1003, ¶¶47-48.

      Also in the combination, Amano teaches that “when the body movement

component eliminating section... is made to operate... power is consumed by the

body movement eliminating operation” and “when no body movement is present,

the operations of... body movement component eliminating section... are

suspended,” “thereby reducing calculation time and power consumption.”

APPLE-1004, 21:50-22:6, 35:54-64. A POSITA would have found obvious that

operating Diab’s “motion artifact suppression module 580” consumes power based


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on Amano’s teaching that “power is consumed by the body movement eliminating

operation” to Diab’s oximeter. APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007,

48:34-49:38; APPLE-1003, ¶49.

      Additionally, a POSITA would have found obvious that performing

“spectral estimation on the signals... directly without motion artifact suppression”

reduces power consumption based on Amano’s teaching that suspending “the

operations of... body movement component eliminating section” reduces power

consumption. Id.; APPLE-1003, ¶50. A POSITA would have been motivated and

would have found it obvious and straightforward to combine Diab with Amano to

manage power consumption by “reducing calculation time and power

consumption,” as suggested by Amano, “[i]f motion is not detected” by performing

“spectral estimation on the signals... directly without motion artifact suppression,”

as taught by Diab. Id.

9[a]: “driving one or more light sources configured to emit light into tissue of
a monitored patient;”
9[b]: “receiving one or more signals from one or more detectors configured to
detect said light after attenuation by said tissue;”

      In the combination, Diab’s “pulse oximeter... non-invasively measures the

arterial saturation of oxygen in the blood.” APPLE-1007, 2:66-3:1. Diab’s

oximeter 299 includes “red and infrared light emitters 301, 302 [that] each emits

energy which is absorbed by the finger 310 and received by the photodetector 320”



                                         13
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after attenuation by the finger. APPLE-1007, 35:23-27, 4:51-57, 33:51-60, 34:12-

19; APPLE-1003, ¶51. “The finger comprises skin, tissue, muscle, both arterial

blood and venous blood, fat, etc., each of which absorbs light energy.” APPLE-

1007, 33:60-64. A portion of the functional diagram of the oximeter 299 showing

the sensor is below:

                                                          detector
                   light sources




                                               tissue

                       APPLE-1007, Detail of FIG. 11 (annotated)

9[c]: “continuously operating a patient monitor at a lower power consumption
level to determine measurement values for one or more physiological
parameters of a patient;”

      In the combination, Diab’s oximeter includes “a digital signal processing

system 334” that includes a “digital signal processor 362” that carries out “the

operations of the pulse oximeter 299” depicted in FIGS. 14-20. APPLE-1007,

38:31-38, 38:61-63. The signal processor “provides clean plethysmographic

waveforms of the detected signals and provides values for oxygen saturation and

pulse rate to the display.” APPLE-1007, 35:34-47, 34:24-28, FIGS. 13-14. The

signal processor 334 of the oximeter 299 performs functions of a “pulse rate


                                          14
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module 410” that includes “a motion status module 584,” the output of which is

provided to “a motion artifact suppression module 580.” APPLE-1007, 38:61-63,

47:30-38, 47:47-49, FIGS. 14, 20. “If motion is not detected, spectral estimation

on the signals is carried out directly without motion artifact suppression,” and

“[i]n the case of motion, motion artifacts are suppressed using the motion artifact

suppression module 580.” APPLE-1007, 47:52-56. In this way, Diab’s oximeter

continuously operates by “comput[ing] the arterial and venous blood oxygen

saturations of a physiological system on a continuous or nearly continuous time

basis... regardless of whether or not the physiological system undergoes voluntary

motion.” APPLE-1007, 34:10-12, 63:38-41, FIG. 11; APPLE-1003, ¶52. The

“output filter 594” of the pulse rate module 410 provides “the pulse of the patient,

which is advantageously provided to the display.” APPLE-1007, 48:3-5, 50:27-29.

      A functional diagram of Diab’s pulse rate module 410 is shown below, with

annotations showing the signals (only infrared samples) and the modules 578, 586,

590, 592, and 594 used to determine the pulse rate “without motion artifact

suppression” (green line) when motion is not detected by the motion status module

584. APPLE-1007, 48:6-33, 50:1-29; APPLE-1003, ¶53. As a comparison, the

functional diagram is also annotated to show the signals (infrared samples, red

samples, saturation value) and the motion artifact suppression module 580 (purple

box) and modules 588, 590, 592, and 594 used to determine the pulse rate (purple


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                                        Appx83
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line) when motion is detected by the motion status module 584. APPLE-1007,

47:47-49, 47:55-50:29; APPLE-1003, ¶53.

                                             Heart rate determination without
                                             motion artifact suppression




        Additional processing for
        motion artifact suppression

                   APPLE-1007, Detail of FIG. 20 (annotated)

      A functional diagram of the motion artifact suppression module 580 is

shown below, with the additional processing for motion artifact suppression

annotated. APPLE-1007, 48:34-49:32; APPLE-1003, ¶54.




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                                                      Additional processing for
                                                      motion artifact suppression

                    APPLE-1007, Detail of FIG. 21 (annotated)

While Diab’s explicit description that “[i]f motion is not detected, spectral

estimation on the signals is carried out directly without motion artifact

suppression” and “[i]n the case of motion, motion artifacts are suppressed using the

motion artifact suppression module 580” (APPLE-1007, 47:52-56) teaches not

executing the motion artifact suppression module 580 if motion is not detected, it

would have also been obvious to suspend and not execute the operations of Diab’s

motion artifact suppression module 580 if motion is not detected based on

Amano’s teaching of suspending “the operations of... body movement component

eliminating section” “when no body movement is present” (APPLE-1004, 21:65-

22:6). APPLE-1003, ¶54.

      Based at least on the teachings of Amano, a POSITA would have understood



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that performing “spectral estimation on the signals... directly without motion

artifact suppression” reduces power consumption based on Amano’s teaching that

suspending “the operations of... body movement component eliminating section”

reduces power consumption. APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007,

48:34-49:38; APPLE-1003, ¶55. A POSITA would have been motivated and

would have found it obvious and straightforward to combine Diab with Amano to

“reduc[e] calculation time and power consumption,” as suggested by Amano, “[i]f

motion is not detected” by performing “spectral estimation on the signals... directly

without motion artifact suppression,” as taught by Diab. Id. Accordingly, the

combination of Diab and Amano renders obvious continuously operating the

oximeter at a lower power consumption level “[i]f motion is not detected” to

determine measurement values for one or more physiological parameters of a

patient. Id.

9[d]: “comparing processing characteristics to a predetermined threshold;
and”

       In the combination, Diab’s oximeter includes “red and infrared light emitters

301, 302 [that] each emits energy which is absorbed by the finger 310 and received

by the photodetector 320” that “produces an electrical signal which corresponds to

the intensity of the light energy striking the photodetector.” APPLE-1007, 35:23-

27, 34:12-19. The signal processor 334 performs “a saturation transform,” which



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is “an operation which converts the sample data from time domain to saturation

domain values,” to provide “saturation transform power curve[s].” APPLE-1007,

35:34-47, 45:6-10. The signal processor 334 calculates “peak width of a power

curve” where “[t]he width of the peaks provides some indication of motion by the

patient—wider peaks indicating motion.” APPLE-1007, 46:13-20, 46:53-55.

Accordingly, the red and infrared samples obtained from the photodetector signal

are used to calculate the “peak width of a power curve.” APPLE-1007, 44:38-

46:55; APPLE-1003, ¶56.

      Diab’s signal processor 334 also performs functions of a “pulse rate module

410” that includes “a motion status module 584,” the output of which is provided

to “a motion artifact suppression module 580.” APPLE-1007, 38:61-63, 47:30-38,

47:47-49, FIGS. 14, 20. An “average peak width value” (processing

characteristics) is input to the “motion status module 584.” APPLE-1007, 47:50-

52, FIG. 20. Diab teaches that “[t]he width of the peaks provides some indication

of motion by the patient—wider peaks indicating motion” and “[i]f the peaks are

wide, this is taken as an indication of motion.” APPLE-1007, 46:53-55, 47:51-52.

As such, the motion status module 584 detects motion by determining “if the peaks

are wide.” APPLE-1007, 47:50-56. A POSITA would have understood that in

order to determine whether the peaks are “wide,” the “average peak width value”

would be compared to a width value above which the peaks are considered “wide”


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(a threshold). Id.; APPLE-1003, ¶57.

9[e]: “when said processing characteristics pass said threshold, transitioning
to continuously operating said patient monitor at a higher power consumption
level,”

      As previously discussed (supra Ground 1A, 9[c]), Diab teaches that “[i]f

motion is not detected, spectral estimation on the signals is carried out directly

without motion artifact suppression,” and “[i]n the case of motion, motion

artifacts are suppressed using the motion artifact suppression module 580.”

APPLE-1007, 47:52-56; APPLE-1003, ¶¶52-55. Based on Diab’s and Amano’s

teachings as previously discussed (supra, Ground 1A, 9[p] and 9[c]), a POSITA

would have found obvious that, during operation at the lower power consumption

level “without motion artifact suppression,” when motion is detected based on

processing characteristics (“average peak width value”) passing the threshold (a

value corresponding to “wider peaks indicating motion”), the signal processor 334

transitions to the higher power consumption level where “motion artifacts are

suppressed using the motion artifact suppression module 580.” APPLE-1007,

47:52-56; APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1003, ¶¶58, 46-50, 52-55.

In the combination, Diab’s oximeter continuously operates by “comput[ing] the

arterial and venous blood oxygen saturations of a physiological system on a

continuous or nearly continuous time basis... regardless of whether or not the

physiological system undergoes voluntary motion.” APPLE-1007, 34:10-12,


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63:38-41, FIG. 11.

9[f]: “wherein said continuously operating at said lower power consumption
level comprises reducing an amount of processing by a signal processor.”

      As previously discussed, a POSITA would have found obvious that

performing “spectral estimation on the signals... directly without motion artifact

suppression,” as taught by Diab, reduces power consumption based on Amano’s

teaching that suspending “the operations of... body movement component

eliminating section” “reduc[es]... power consumption.” APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 48:34-49:38; APPLE-1003, ¶61. As previously discussed

(supra Ground 1A, 9[c]), a POSITA would have understood that Diab’s oximeter

reduces the amount of processing by the signal processor when motion is not

detected by processing less data (only infrared samples) and “without motion

artifact suppression.” APPLE-1007, 47:52-56, 48:6-33, 50:1-29; APPLE-1003,

¶¶61, 52-55. Conversely, a POSITA also would have understood that Diab’s

oximeter increases the amount of processing by the signal processor when motion

is detected by processing more data (infrared samples, red samples, and saturation

value) and “using the motion artifact suppression module 580.” APPLE-1007,

47:47-49, 47:55-50:29; APPLE-1003, ¶61. Also as previously discussed (supra,

Ground 1A, 9[e]), the combination teaches that Diab’s oximeter continuously

operates by “comput[ing] the arterial and venous blood oxygen saturations of a



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physiological system on a continuous or nearly continuous time basis... regardless

of whether or not the physiological system undergoes voluntary motion.” APPLE-

1007, 34:10-12, 63:38-41, FIG. 11; APPLE-1003, ¶¶46-50, 52-55, 58.

Accordingly, in the combination, operating at the lower power consumption level

by performing “spectral estimation on the signals... directly without motion artifact

suppression” includes reducing an amount of processing because the signal

processor processes less data (only infrared samples) and “without motion artifact

suppression.” APPLE-1007, 47:52-56, 48:6-33, 50:1-29; APPLE-1003, ¶62.

                    6.    Claim 10

10. The method of claim 9, wherein said reducing comprises processing less
data.

      As previously discussed (supra, Ground 1A, 9[f]), the combination of Diab

and Amano teaches reducing an amount of processing, including the signal

processor processes less data (only infrared samples) and “without motion artifact

suppression.” APPLE-1007, 47:52-56, 48:6-33, 50:1-29; APPLE-1003, ¶¶61-63,

46-50, 52-55, 58.

                    7.    Claim 12

12[p]: “A method of managing power consumption during continuous patient
monitoring by adjusting behavior of a patient monitor, the method
comprising:”

      Supra, Ground 1A, 9[p]; APPLE-1003, ¶¶46-50.


                                         22
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12[a]: “driving one or more light sources configured to emit light into tissue of
a monitored patient;”
12[b]: “receiving one or more signals from one or more detectors configured
to detect said light after attenuation by said tissue;”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.

12[c]: “continuously operating a patient monitor at a lower power
consumption level to determine measurement values for one or more
physiological parameters of a patient;”

      Supra, Ground 1A, 9[c]; APPLE-1003, ¶52-55.

12[d]: “comparing processing characteristics to a predetermined threshold;
and”

      Supra, Ground 1A, 9[d]; APPLE-1003, ¶¶56-57.

12[e]: “when said processing characteristics pass said threshold, transitioning
to continuously operating said patient monitor at a higher power consumption
level,”

      Supra, Ground 1A, feature 9[e]; APPLE-1003, ¶¶46-50, 52-55, 58.

12[f]: “wherein said processing characteristics include an override condition.”

      As previously discussed (supra Ground 1A, 9[d]), in the combination, Diab

teaches comparing processing characteristics (“average peak width value”) to a

predetermined threshold (a value corresponding to “wider peaks indicating

motion”). APPLE-1007, 47:50-56; APPLE-1003, ¶¶56-57. “If motion is not

detected, spectral estimation on the signals is carried out directly without motion

artifact suppression,” and “[i]n the case of motion, motion artifacts are suppressed



                                         23
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using the motion artifact suppression module 580.” APPLE-1007, 47:52-56.

Based on Diab’s and Amano’s teachings as previously discussed (supra, Ground

1A, 9[p] and 9[c]), a POSITA would have found obvious that, during operation at

the lower power consumption level “without motion artifact suppression,” when

motion is detected based on processing characteristics (“average peak width

value”) passing the threshold (a value corresponding to “wider peaks indicating

motion”), the signal processor 334 transitions to the higher power consumption

level where “motion artifacts are suppressed using the motion artifact suppression

module 580.” APPLE-1007, 47:52-56; APPLE-1004, 21:50-22:6, 35:54-64;

APPLE-1003, ¶59, 46-50, 52-55.

      A POSITA would have understood that when motion is present, the detected

condition overrides the reduced power consumption state (where the signal

processor processes only infrared samples “without motion artifact suppression”)

causing the oximeter to continuously operate at a higher power consumption level

where the signal processor processes more data (red samples and saturation value

in addition to infrared samples) using the “motion artifact suppression module

580.” Id.; APPLE-1003, ¶60. Accordingly, the processing characteristics

(“average peak width value”) passing the threshold (a value corresponding to

“wider peaks indicating motion”) is an override condition that overrides the

reduced power consumption state. Id.


                                        24
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                   8.     Claim 13

13. The method of claim 12, wherein said override condition comprises
measurements during a critical care environment.

      In the combination, Diab’s oximeter “provides clean plethysmographic

waveforms of the detected signals and provides values for oxygen saturation and

pulse rate to the display.” APPLE-1007, 35:34-47, 34:24-28, FIGS. 13-14. A

POSITA would have found it obvious to use Diab’s oximeter to obtain “blood

oxygen saturation, heart rate, and a clean plethysmographic waveform” during

critical care of a patient in a critical care environment; doing so was contemplated

by POSITAs at the time of the ’703 Patent. See, e.g., APPLE-1005, 1:67-2:10;

APPLE-1014, 2:11-18; APPLE-1003, ¶64. In its description of the prior art in the

background section, the ’703 patent itself admits that using pulse oximetry devices

to obtain measurements during a critical care environment were well known.

APPLE-1001, 1:18-23. Obtaining the “blood oxygen saturation, heart rate, and a

clean plethysmographic waveform” during critical care would include obtaining

measurements indicating whether the override condition, e.g., the processing

characteristic (“average peak width value”) passing a predetermined threshold (a

value corresponding to “wider peaks indicating motion”), exists to control the

oximeter to operate at either the lower power consumption level or the higher

power consumption level. APPLE-1007, 35:34-47, 34:24-28, 47:50-56; APPLE-



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1003, ¶64.

                   9.    Claim 14

14. The method of claim 12, wherein said override condition comprises one or
more monitored parameters exhibiting predefined behavior.

      As previously discussed (supra Ground 1A, 12[f]), in the combination, Diab

teaches that the processing characteristic (“average peak width value”) passing a

predetermined threshold (a value corresponding to “wider peaks indicating

motion”) is an override condition that overrides operation at the lower power

consumption level. APPLE-1003, ¶¶46-50, 52-57, 59-60; APPLE-1007, 47:50-56.

As such, the override condition includes a monitored parameter exhibiting a

predefined behavior, e.g., the processing characteristic (“average peak width

value”) passing a predetermined threshold (a value corresponding to “wider peaks

indicating motion”). Id.; APPLE-1003, ¶65.

                   10.   Claim 20

20[p]: “A patient monitor configured to manage power consumption during
continuous patient monitoring, the monitor comprising:”

      Supra, Ground 1A, 9[p]; APPLE-1003, ¶¶46-50.

20[a]: “an input configured to receive at least one signal responsive to light
detected after attenuation by body tissue of a patient by a noninvasive sensor;
and”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.



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20[b]: “one or more processors continuously operating at a lower power
consumption level to determine measurement values for one or more
physiological parameters of said patient,”

      Supra, Ground 1A, 9[c]; APPLE-1003, ¶52-55.

20[c]: “said processors comparing processing characteristics to a
predetermined threshold, and”

      Supra, Ground 1A, 9[d]; APPLE-1003, ¶¶56-57.

20[d]: “when said processing characteristics pass said threshold, said
processors transitioning to continuously operating at a higher power
consumption level,”

      Supra, Ground 1A, 9[e]; APPLE-1003, ¶¶46-50, 52-55, 58.

20[e]: “wherein said processors reduce an amount of processing by a signal
processor.”

      Supra, Ground 1A, 9[f]; APPLE-1003, ¶¶61-62, 46-50, 52-55, 58.

                  11.   Claim 22

22[p]: “A patient monitor configured to manage power consumption during
continuous patient monitoring, the monitor comprising:”

      Supra, Ground 1A, 9[p]; APPLE-1003, ¶¶46-50.

22[a]: “an input configured to receive at least one signal responsive to light
detected after attenuation by body tissue of a patient by a noninvasive sensor;
and”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.




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22[b]: “one or more processors continuously operating at a lower power
consumption level to determine measurement values for one or more
physiological parameters of said patient,”

      Supra, Ground 1A, 9[c]; APPLE-1003, ¶52-55.

22[c]: “said processors comparing processing characteristics to a
predetermined threshold, and”

      Supra, Ground 1A, feature 9[d]; APPLE-1003, ¶¶56-57.

22[d]: “when said processing characteristics pass said threshold, said
processors transitioning to continuously operating at a higher power
consumption level,”

      Supra, Ground 1A, feature 9[e]; APPLE-1003, ¶¶46-50, 52-55, 58.

22[e]: “wherein said processing characteristics include an override condition.”

      Supra, Ground 1A, feature 12[f]; APPLE-1003, ¶¶46-50, 52-57, 59-60.

                  12.   Claim 23

23. The monitor of claim 22, wherein said override condition comprises
measurements during a critical care environment.

      Supra, Ground 1A, Claim 13; APPLE-1003, ¶64.

                  13.   Claim 24

24. The monitor of claim 22, wherein said override condition comprises one or
more monitored parameters exhibiting predefined behavior.

      Supra, Ground 1A, Claim 14; APPLE-1003, ¶¶46-50, 52-57, 59-60, 65.




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                   GROUND 1B: Claims 11 and 21 are obvious based on Diab,
                   Amano, and Edgar

                   1.     Overview of Edgar

      Edgar describes operating a pulse oximeter to remove motion-induced noise

artifacts or other similar artifacts from a measured waveform representative of a

patient’s arterial pulse. APPLE-1005, 2:28-42, 5:1-9, 6:15-18; APPLE-1003, ¶66.

The pulse oximeter acquires “a segment of data (e.g., five or more pulses or

approximately ten seconds)” measured from a light source transmitted through a

finger and detected with a sensor. APPLE-1005, 6:42-46, 6:61-63. The data

segment is subsegmented into its consecutive individual heartbeat pulses. APPLE-

1005, 7:66-8:2.

      If there is not sufficient noise in the data segment, only the latest pulse of the

data segment is used for calculating arterial oxygen saturation. APPLE-1005,

8:48-62, 11:42-45, FIG. 11 (steps 230, 250). If there is sufficient noise in the data

segment, the subsegments representing individual pulses of the data segment are

combined to create an average pulse that is used for calculating arterial oxygen

saturation. APPLE-1005, 8:48-62, 9:56-10:28, 11:34-36, 11:42-45, FIG. 11 (steps

230, 240). When data for a new pulse is obtained, data for the oldest pulse is

removed from the segment of data, and the processing is repeated to calculate a

new arterial oxygen saturation value for the new pulse. APPLE-1005, 11:45-52,



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FIG. 7; APPLE-1003, ¶67.

                   2.     The Combination of Diab, Amano, and Edgar

      To the above-noted combination of Diab with Amano for providing “the

pulse of the patient,” Edgar’s teachings would be added to offer an improved

technique for removing motion artifacts from a measured signal used to calculate

“blood oxygen saturation.” APPLE-1003, ¶¶68-69; APPPLE-1007, 48:3-5, 50:27-

29; APPLE-1005, 1:64-2:10, 3:58-4:6, 5:1-4. In particular, Edgar explains that

Diab’s approach to “removing motion artifacts from measured physiological

signals” “is to first generate a noise reference signal from the two measured

signals, and then use the noise reference signal as an input to an adaptive noise

canceler along with either or both of the measured signals to remove the reference

noise signal from the measured signals.” APPLE-1005, 3:58-4:6. Edgar provides

a technique that “eliminate[s] motion-induced noise artifacts from light signals,

that is relatively simple computationally, and that does not require more than one

sensor.” APPLE-1005, 5:1-11. A POSITA would have recognized that the

predictable modification of Diab (when combined with Amano) as suggested by

Edgar would include implementing Edgar’s technique, instead of Diab’s technique

that Edgar seeks to improve upon, for calculating “blood oxygen saturation” in the

combined device. APPLE-1005, 3:58-4:6; APPLE-1003, ¶69.




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                   3.    Reasons to Combine Diab, Amano, and Edgar

      A POSITA would have been motivated and would have found it obvious and

straightforward to combine Diab, Amano, and Edgar to achieve a pulse oximeter as

described above (supra, Section III.B.2). APPLE-1003, ¶¶68-70; APPLE-1005,

2:28-42, 5:1-9, 6:15-18, 8:48-62, 9:56-10:28, 11:34-36, 11:42-45, FIG. 11. Diab,

Amano, and Edgar are in the same field of art and relate to eliminating motion-

induced noise from a measured physiological signal. APPLE-1004, 21:9-20,

21:37-46, 33:63-67, 34:3-15, 35:17-21, 38:23-26; APPLE-1005, 2:28-42, 5:1-9,

6:15-18; APPLE-1007, 2:23-26, 2:53-3:9, 34:1-9. Diab describes calculating

blood oxygen saturation, and Edgar teaches calculating blood oxygen saturation

using data from a single pulse or data from an average of multiple pulses

depending on the level of noise in a data segment. APPLE-1007, 33:23-35, 39:25-

30, FIG. 14 (module 408); APPLE-1005, 8:48-62, 11:42-45, FIG. 11 (steps 230,

240, 250). A POSITA would have been motivated to implement Edgar’s teaching

in Diab’s oximeter (as supplemented with Amano’s teachings) to provide an

oximeter that eliminates motion-induced noise artifacts when calculating arterial

oxygen saturation by using data from a single pulse when the noise level in a data

segment is low or data from an average of multiple pulses when the noise level in a

data segment is high, which is a relatively simple computation as compared to

Diab’s. APPLE-1005, 5:1-11; APPLE-1003, ¶71.


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      Further, a POSITA would have found it obvious to modify Diab (as

supplemented with Amano’s teachings) with Edgar because doing so entails the

use of known techniques to improve similar systems and methods in the same way.

APPLE-1003, ¶72. “[W]hen a patent ‘simply arranges old elements with each

performing the same function it had been known to perform’ and yields no more

than one would expect from such an arrangement, the combination is obvious.”

KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007). A POSITA would have

recognized that applying Edgar’s teachings to Diab’s oximeter (as supplemented

with Amano’s teachings) would have led to predictable results without

significantly altering or hindering the functions performed by the combined

system. APPLE-1003, ¶72. In fact, a POSITA would have been motivated to

provide the well-known technique of calculating blood oxygen saturation using

data from a single pulse or data from an average of multiple pulses depending on

the level of noise in a data segment to cause the combined apparatus to include

such features to achieve the predictable benefits offered by Edgar’s description of

the same. Id.; see, e.g., APPLE-1004, 36:23-27, 38:26-27; APPLE-1005, 2:22-24,

8:48-62, 11:42-45, FIG. 11 (steps 230, 240, 250).

      Indeed, a POSITA would have had a reasonable expectation of success in

making this modification, and would have reasonably expected to reap benefits of

calculating blood oxygen saturation from a measured waveform representative of a


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patient’s arterial pulse. APPLE-1003, ¶73. Diab, Amano, and Edgar describe

types of devices that provide pulse waveforms and, in combination, Edgar’s

features are implemented in Diab’s oximeter (as supplemented with Amano’s

teachings) just as it is in Edgar’s oximeter. Id.; see, e.g., APPLE-1004, 36:23-27,

38:26-27; APPLE-1005, 2:22-24, 8:48-62, 11:42-45, FIG. 11 (steps 230, 240, 250);

APPLE-1007, 34:27-28, 35:44-47, 49:25-32. Accordingly, implementing Edgar’s

teaching of calculating blood oxygen saturation in Diab’s oximeter (as

supplemented with Amano’s teachings) would have been routine and

straightforward to a POSITA, and it would have been clear that such a combination

would predictably work and provide the expected functionality. Id.

                   4.     Claim 11

11. The method of claim 10, wherein said processing less data comprises
reducing an overlap in data blocks being processed.

      As previously discussed (supra Ground 1A, 9[f]), the combination of Diab

and Amano renders obvious operating at the lower power consumption level by

performing “spectral estimation on the signals... directly without motion artifact

suppression” when motion is not detected, which includes reducing an amount of

processing because the signal processor processes less data (only infrared samples)

and “without motion artifact suppression.” APPLE-1007, 47:52-56, 48:6-33, 50:1-

29; APPLE-1003, ¶¶74, 61-62, 46-50, 52-55, 58.



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      In the present combination, Edgar describes measuring dispersion to

“determine whether there is sufficient noise in the data segment to warrant

additional signal processing.” APPLE-1005, 8:48-50. “[W]here the dispersion is

very low,” indicating that noise is low, “the use of previous data in combination

with the latest pulse would not be required, see blocks 230 and 250 of FIG. 11”

reproduced and annotated below. APPLE-1005, 8:50-53, FIG. 11 (steps 230, 250).




                       APPLE-1005, FIG. 11 (color added)

Accordingly, Edgar teaches processing less data when the motion-induced noise


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level is low by using data from only the latest pulse to calculate arterial oxygen

saturation. APPLE-1005, 8:48-62, 11:42-45, FIG. 11 (steps 230, 250); APPLE-

1003, ¶75. A POSITA would have understood that there is no overlap in data

being processed when using data from only the latest pulse. Id.

      This is in contrast to Edgar’s processing of more data that is performed when

the noise level is high. APPLE-1003, ¶76. In particular, Edgar “begins with

acquiring a segment of data (e.g., five or more pulses or approximately ten

seconds) measured from a single light source transmitted through a finger and

detected with a sensor.” APPLE-1005, 6:42-46. “Where the dispersion is higher,”

indicating that noise is high, “the pulses for the time interval being evaluated may

be combined to create an average pulse, see blocks 230 and 240 of FIG. 11.”

APPLE-1005, 8:53-56, 9:56-10:28, FIG. 11 (steps 230, 240). “The above methods

may be repeated once another full heartbeat pulse of data is collected for both the

red and IR signals, see block 140 of FIG. 1.” APPLE-1005, 11:45-48. “The new

pulse of data is added to the red and IR segments, respectively, and the oldest pulse

of data is removed.” APPLE-1005, 11:48-52, FIG. 7.

      A POSITA would have understood that repeating the processing for a high

noise level results in an overlap of data subsegments that are processed to calculate

the blood oxygen saturation because data of the four previous pulses are repeatedly

processed to create an average pulse. APPLE-1003, ¶77; see, e.g., APPLE-1005,


                                         35
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6:42-46, 8:53-56, 9:56-10:28, 11:45-48, FIG. 11 (steps 230, 240). Accordingly,

Edgar teaches that processing less data when the noise level is low includes

reducing an overlap (e.g., no overlap) of data blocks being processed as compared

with the overlap of data blocks (e.g., 4 data subsegments) processed when the

noise level is high. APPLE-1005, 6:42-46, 8:48-62, 9:56-10:28, 11:42-48, FIG. 11

(steps 230, 240, 250); APPLE-1003, ¶77.

      A POSITA would have recognized that the predictable modification of Diab

(as supplemented with Amano’s teachings) based on Edgar would include

calculating arterial oxygen saturation by processing data of only the latest pulse,

thereby processing less data as a result of no overlap in the data, when the noise

level is low and by combining the pulses for the time interval being evaluated to

create an average pulse, thereby processing more data as a result of overlapping

data subsegments, when the noise level is high. APPLE-1003, ¶78; APPLE-1005,

6:42-46, 8:48-62, 9:56-10:28, 11:42-48, FIG. 11 (steps 230, 240, 250). Thus, the

oximeter of the combination of Diab, Amano, and Edgar would process less data

while operating at the lower power consumption level when motion is not detected

by (1) performing “spectral estimation on the signals... directly without motion

artifact suppression,” which includes the signal processor processing less data

(only infrared samples) and “without motion artifact suppression,” to calculate

pulse rate, and (2) by using data from only the latest pulse to calculate blood


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oxygen saturation. Id.; APPLE-1007, 47:52-56, 48:6-33, 50:1-29.

                    5.    Claim 21

21. The monitor of claim 20, wherein said processors reduce an overlap in
data blocks being processed.

      Supra, Ground 1B, Claim 11; APPLE-1003, ¶¶74-78, 61-62, 46-50, 52-55,

58.

                    GROUND 1C: Claims 1-7 and 15-18 are obvious based on
                    Diab, Amano, and Turcott

                    1.    Overview of Turcott

      Similar to Diab, Turcott describes a pulse oximeter having a light source,

including red and infrared LEDs, and a light detector, such as a photodetector.

APPLE-1006, 11:15-41; yAPPLE-1003, ¶79. The light source is driven with a

pulse train. APPLE-1006, 11:51-61. Turcott describes that “[t]he optical power

generated by the [light] source is adjusted to optimize the signal to noise ratio and

to minimize power consumption” by adjusting “the drive current” or “the duty

cycle of the pulse train,” and “[t]o conserve energy, the [light] source is preferably

driven with a low duty cycle pulse train.” APPLE-1006, 11:51-59.

                    2.    The Combination of Diab, Amano, and Turcott

      Diab describes that the “signal processing system 334 also provides control

for driving the light emitters 301, 302 with an emitter current control signal on the



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emitter current control output 337” and that “the current could be adjusted for

changes in the ambient room light and other changes which would [a]ffect the

voltage input to the front end analog signal conditioning circuitry 330.” APPLE-

1007, 35:50-53, 36:2-6. In the combination, the modification of Diab’s oximeter

(as supplemented with Amano’s teachings) would include implementing the signal

processor 334 to reduce the duty cycle of the light emitters to further minimize

power consumption of the combined device based on Turcott’s teaching of

reducing the duty cycle to lower power consumption. APPLE-1003, ¶80; APPLE-

1006, 11:54-59.

                   3.     Reasons to Combine Diab, Amano, and Turcott

      A POSITA would have been motivated and would have found it obvious and

straightforward to combine Diab, Amano, and Turcott to achieve a patient monitor

that further increases the signal-to-noise ratio and further reduces power

consumption. APPLE-1003, ¶81; APPLE-1004, 21:50-53, 22:4-6, 35:54-64;

APPLE-1006, 11:54-59. Diab, Amano, and Turcott are in the same field of art and

relate to devices that provide pulse waveforms. APPLE-1004, 21:3-8, 29:23-25,

31:2-8, 33:50-54, 34:3-14, 35:17-21, 36:23-27, 38:26-27, 40:23-27; APPLE-1006,

11:15-41; APPLE-1007, 34:27-28, 35:44-47, 49:25-32. Both Amano and Turcott

disclose a need to optimize the signal-to-noise ratio and minimize power

consumption. APPLE-1004, 21:50-53, 22:4-6, 35:54-64; APPLE-1006, 11:54-59.


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Turcott teaches that reducing the duty cycle of the light source optimizes the

signal-to-noise ratio and minimizes power consumption. APPLE-1006, 11:54-59.

A POSITA would have been motivated to implement Turcott’s teaching of

reducing the duty cycle to lower power consumption in a pulse oximeter in Diab’s

oximeter (as supplemented with Amano’s teachings) to further minimize power

consumption of the combined device. APPLE-1003, ¶81; APPLE-1006, 11:54-59.

A POSITA would have understood further minimizing power consumption in the

combined device to be desirable because further minimization would lead to longer

battery life. Id.

       Further, a POSITA would have found it obvious to modify Diab (as

supplemented with Amano’s teachings) with Turcott because doing so entails the

use of known techniques and solutions to improve similar systems and methods in

the same way. APPLE-1003, ¶82; KSR, 550 U.S. at 417. A POSITA would have

recognized that applying Turcott’s teachings to Diab (as supplemented with

Amano’s teachings) would have led to predictable results without significantly

altering or hindering the functions performed by the oximeter. APPLE-1003, ¶82.

In fact, a POSITA would have been motivated to provide the well-known

technique of reducing the duty cycle to lower power consumption to cause the

combined device to include such features to achieve the predictable benefits

offered by Turcott’s description of the same. Id.; APPLE-1006, 11:54-59.


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                                       Appx107
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      Indeed, a POSITA would have had a reasonable expectation of success in

making this modification (e.g., because Turcott describes a device operating in the

proposed manner), and would have reasonably expected to reap benefits of

reducing the duty cycle to lower power consumption. Id.; APPLE-1003, ¶83.

Diab, Amano, and Turcott describe types of devices that provide pulse waveforms

and, in combination, Turcott’s features is implemented in Diab’s oximeter (as

supplemented with Amano’s teachings) just as it is in Turcott’s oximeter. Id.

Accordingly, implementing Turcott’s teaching of reducing the duty cycle of light

sources to minimize power consumption, to operate a device as taught by Diab (as

supplemented with Amano’s teachings), would have been routine and

straightforward to a POSITA, and it would have been clear that such a combination

would predictably work and provide the expected functionality. Id.

                   4.    Claim 1

1[p]: “A method of managing power consumption during continuous patient
monitoring by adjusting behavior of a patient monitor, the method
comprising:”

      Supra, Ground 1A, 9[p]; APPLE-1003, ¶¶46-50.

1[a]: “driving one or more light sources configured to emit light into tissue of
a monitored patient;”
1[b]: “receiving one or more signals from one or more detectors configured to
detect said light after attenuation by said tissue;”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.


                                        40
                                       Appx108
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1[c]: “continuously operating a patient monitor at a lower power consumption
level to determine measurement values for one or more physiological
parameters of a patient;”

      Supra, Ground 1A, 9[c]; APPLE-1003, ¶52-55.

1[d]: “comparing processing characteristics to a predetermined threshold;
and”

      Supra, Ground 1A, 9[d]; APPLE-1003, ¶¶56-57.

1[e]: “when said processing characteristics pass said threshold, transitioning
to continuously operating said patient monitor at a higher power consumption
level,”

      Supra, Ground 1A, 9[e]; APPLE-1003, ¶¶46-50, 52-55, 58.

1[f]: “wherein said continuously operating at said lower power consumption
level comprises reducing activation of an attached sensor,”

      In the combination, Diab describes that the “signal processing system 334

also provides control for driving the light emitters 301, 302 with an emitter current

control signal on the emitter current control output 337.” APPLE-1007, 35:50-53.

Diab also teaches that “the current could be adjusted for changes in the ambient

room light and other changes which would [a]ffect the voltage input to the front

end analog signal conditioning circuitry 330.” APPLE-1007, 36:2-6; APPLE-

1003, ¶84.

      Also in the combination, Turcott describes a pulse oximeter where “[t]he

optical power generated by the [light] source is adjusted to optimize the signal to

noise ratio and to minimize power consumption” by adjusting “the drive current,

                                        41
                                       Appx109
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the frequency of the pulse train, the pulse duration, or the duty cycle of the pulse

train,” and “[t]o conserve energy, the [light] source is preferably driven with a low

duty cycle pulse train.” APPLE-1006, 11:51-59; APPLE-1003, ¶85. A POSITA

would have recognized that the predictable modification of Diab (as supplemented

with Amano’s teachings) as suggested by Turcott would include implementing the

oximeter’s signal processor to reduce the drive current or the duty cycle of the

pulse train of the LEDs when the oximeter is operating at the lower power

consumption level, further minimizing power consumption. Id.; APPLE-1006,

11:51-59.

      In the combination, operating the LEDs of Diab with a reduced duty cycle

reduces the activation of the LEDs under the proper construction of “reducing

activation.” APPLE-1003, ¶86; APPLE-1006, 11:51-59. For example, a reduced

duty cycle means that the power signal spends more time in each cycle in the “off”

state, leading to a reduction in the portion of each cycle during which the LEDs are

“activated.” Id. Additionally, under a broader construction of “reducing

activation,” a reduced drive current means that the amount of current used to

activate the LEDs is reduced, leading to reduced activation of the LEDs. Id.

Accordingly, the combination of Diab, Amano, and Turcott teaches that

continuously operating at the lower power consumption state includes the signal

processor reducing activation of an attached sensor by reducing the duty cycle


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(under the proper construction) or drive current (under a broader construction) of

the LEDs. Id.

1[g]: “said sensor positioning said light sources and said detectors proximate
said tissue.”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.

                   5.     Claim 2

2. The method of claim 1, wherein said reducing activation comprises
reducing a duty cycle of said sensor.

      Supra, Ground 1C, 1[f]; APPLE-1003, ¶¶84-86.

                   6.     Claim 3

3. The method of claim 1, wherein during said operating at said higher power
consumption level, monitoring when said processing characteristics recedes
from said threshold; and when receded, transitioning to continuously
operating said patient monitor at said lower power consumption level.

      Based on Diab’s and Amano’s teachings as previously discussed (supra,

Ground 1A, 9[p] and 9[c]), a POSITA would have found obvious that, during

operation at the higher power consumption level “using the motion artifact

suppression module 580,” when motion is not detected based on processing

characteristics (“average peak width value”) passing the threshold (a value

corresponding to “wider peaks indicating motion”), the signal processor 334

transitions to the lower power consumption level where “spectral estimation on the

signals is carried out directly without motion artifact suppression.” APPLE-


                                        43
                                       Appx111
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1007, 47:52-56; APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1003, ¶¶87, 46-50,

52-55. In the combination, Diab’s oximeter continuously operates by

“comput[ing] the arterial and venous blood oxygen saturations of a physiological

system on a continuous or nearly continuous time basis... regardless of whether or

not the physiological system undergoes voluntary motion.” APPLE-1007, 34:10-

12, 63:38-41, FIG. 11.

                     7.   Claim 4

4. The method of claim 1, wherein said processing characteristics comprise
signal characteristics from one or more light sensitive detectors.

      As previously discussed, the processing characteristics of Diab (the “average

peak width value” of the power curve of the photodetector signal) are signal

characteristics from one or more light sensitive detectors that indicate the presence

of motion-induced noise in the detector signal. Supra, Ground 1A, 9[d]; APPLE-

1003, ¶¶88, 56-57.

                     8.   Claim 5

5. The method of claim 4, wherein said signal characteristics comprise signal
strength.

      In the combination, Diab’s signal processor 334 calculates “peak width of a

power curve” where “[t]he width of the peaks provides some indication of motion

by the patient—wider peaks indicating motion.” APPLE-1007, 46:13-20, 46:53-

55. Accordingly, the “average peak width value” (processing characteristics)

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obtained from a signal provided by a photodetector indicates a strength of motion-

induced noise in the photodetector signal. APPLE-1003, ¶89.

      Also in the combination, Turcott teaches that “[t]he optical power to the

source is adjusted to optimize the signal to noise ratio.” APPLE-1006, 11:51-61.

Accordingly, signal to noise ratio indicates strength of the signal as well as the

noise. APPLE-1003, ¶90.

                    9.    Claim 6

6. The method of claim 4, wherein said signal characteristics comprise a
presence of noise.

      Supra, Ground 1C, Claim 4; APPLE-1003, ¶¶88, 56-57.

                    10.   Claim 7

7. The method of claim 4, wherein said signal characteristics comprise a
presence of motion induced noise.

      Supra, Ground 1C, Claim 4; APPLE-1003, ¶¶88, 56-57.

                    11.   Claim 15

15[p]: “A patient monitor configured to manage power consumption during
continuous patient monitoring, the monitor comprising:”

      Supra, Ground 1A, 9[p]; APPLE-1003, ¶¶46-50.

15[a]: “an input configured to receive at least one signal responsive to light
detected after attenuation by body tissue of a patient by a noninvasive sensor;
and”

      Supra, Ground 1A, 9[a]-9[b]; APPLE-1003, ¶51.


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15[b]: “one or more processors continuously operating at a lower power
consumption level to determine measurement values for one or more
physiological parameters of said patient,”

      Supra, Ground 1A, 9[c]; APPLE-1003, ¶¶52-55.

15[c]: “said processors comparing processing characteristics to a
predetermined threshold, and”

      Supra, Ground 1A, 9[d]; APPLE-1003, ¶¶56-57.

15[d]: “when said processing characteristics pass said threshold, said
processors transitioning to continuously operating at a higher power
consumption level,”

      Supra, Ground 1A, 9[e]; APPLE-1003, ¶¶46-50, 52-55, 58.

15[e]: “wherein processors reduce activation of an attached sensor.”

      Supra, Ground 1C, 1[f]; APPLE-1003, ¶¶84-86.

                  12.   Claim 16

16. The monitor of claim 15, wherein said processors reduce a duty cycle of
said sensor.

      Supra, Ground 1C, 1[f]; APPLE-1003, ¶¶84-86.

                  13.   Claim 17

17. The monitor of claim 15, wherein during said operating at said higher
power consumption level, said processors monitors when said processing
characteristics recedes from said threshold; and when receded, said
processors transition to continuously operating at said lower power
consumption level.

      Supra, Ground 1C, Claim 3; APPLE-1003, ¶¶87, 46-50, 52-55.



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                  14.    Claim 18

18. The monitor of claim 15, wherein said processing characteristics comprise
signal characteristics from one or more light sensitive detectors.

      Supra, Ground 1C, Claim 4; APPLE-1003, ¶¶88, 56-57.

                  GROUND 2A: Claims 9-10, 12-14, 20, and 22-24 are
                  obvious based on Diab and the GK-POSITA;
                  GROUND 2B: Claims 11 and 21 are obvious based on Diab,
                  the GK-POSITA, and Edgar;
                  GROUND 2C: Claims 1-7 and 15-18 are obvious based on
                  Diab, the GK-POSITA, and Turcott

      As articulated in Ground 1A, in light of Amano’s teaching of reducing

power consumption by suspending unnecessary processing operations, a POSITA

would have found it obvious that Diab’s oximeter likewise reduces power

consumption by not performing motion artifact suppression when no motion is

detected. APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007, 47:52-56, 48:34-

49:38; APPLE-1003, ¶91. Diab and Amano is a combination in which Amano is

offered to demonstrate a broader concept that is well understood by a POSITA,

namely that reducing the amount of processing by suspending operations reduces

power consumption.

      This concept is well known to a POSITA, and thus, for Grounds 2A-2C, the

application of Diab alone reveals to a POSITA, based on their general knowledge

and ordinary level of skill, that changes in power consumption were obvious from

changes in the amount of processing that are contemplated by Diab. APPLE-1003,

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¶92. This is corroborated by a number of references, such as U.S. Patent No.

5,027,410 (APPLE-1015, 10:62-65); U.S. Publication No. 2003/000442 (APPLE-

1016, [0103]); U.S. Publication No. 2002/003238 (APPLE-1017, [0098]); U.S.

Patent Application Publication No. 2003/0163287 (APPLE-1018, [0241]); U.S.

Patent No. 6,163,721 (APPLE-1019, 2:25-27); U.S. Patent No. 5,058,203 (APPLE-

1020, 1:10-12 and 2:23-25); U.S. Patent No. 6,711,691 (APPLE-1021, 1:59-61);

and Amano. Id.

      A POSITA would have further understood that Diab’s oximeter reduces the

amount of processing by the signal processor when motion is not detected by

processing less data (only infrared samples) and “without motion artifact

suppression,” thereby reducing the power consumed by the processor. APPLE-

1007, 47:52-56, 48:6-33, 50:1-29; APPLE-1003, ¶93. Conversely, a POSITA also

would have understood that Diab’s oximeter increases the amount of processing by

the signal processor when motion is detected by processing more data (infrared

samples, red samples, and saturation value) and “using the motion artifact

suppression module 580.” Id. As such, a POSITA would have recognized that

reducing unnecessary processing reduces power consumption of the oximeter and

increasing the amount of processing increases power consumption of the oximeter.

Id. Accordingly, Diab’s oximeter, by adjusting the amount of processing based on

the presence or absence of motion, manages power consumption during continuous


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patient monitoring. Id.

                   GROUND 3A: Claims 9-10, 12-14, 20, and 22-24 are
                   obvious based on Amano

                   1.     Overview of Amano

      Amano describes a “pulse wave examination apparatus” that allows a

subject to “detect his pulse condition continuously in his daily life.” APPLE-1004,

36:23-27, 38:26-27; APPLE-1003, ¶_94 The pulse wave examination apparatus

includes a “pulse wave detecting section 10” that detects the pulse waveform of the

periphery of a subject. APPLE-1004, 21:3-8, 29:23-25, 31:2-8, 33:50-54, 34:3-14,

35:17-21, 40:23-27. Amano further describes that “body movement causes the

blood flow of the subject to fluctuate,” and “a component due to the body

movement is superimposed on the pulse waveform” output from the pulse wave

detecting section 10, which can cause “difficulty in making an exact judgment of

the pulse condition.” APPLE-1004, 33:54-63. Hence, the pulse wave examination

apparatus also includes a judging section 22 that determines whether body

movement is present by comparing the body movement detected by the body

movement detecting section 20 with a threshold value. APPLE-1004, 21:57-65,

34:3-15, 35:54-59; APPLE-1003, ¶¶95-96. When the judging section 22 detects

that no body movement is present, the operations of a waveform treating section 21

and a body movement eliminating section 30 are suspended and the pulse



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waveform from the pulse wave detecting section 10 is output directly from the

body movement eliminating section 30. APPLE-1004, 21:65-22:4, 35:54-64.

Amano discloses that suspending the operations of sections 21 and 30 when there

is no body movement reduces power consumption of the apparatus. APPLE-1004,

21:50-53, 22:4-6, 35:54-64; APPLE-1003, ¶_96.

      As articulated in Ground 1A, the combination of Diab and Amano renders

obvious limitations 9[d], 12[d], 15[c], 20[c], and 22[c] based, e.g., on Diab’s

detection of motion from a signal provided by a photodetector corresponding to the

attenuated visible and infrared light energy signals and determining whether

motion is present by comparing the “average peak width value” with a value

corresponding to “wider peaks indicating motion.” APPLE-1007, 34:10-20, 35:23-

27, 44:38-46:55, 46:53-55, 47:51-56. In Ground 1A, these limitations are rendered

obvious even under a limiting interpretation requiring “processing characteristics”

to be obtained from a signal provided by a photodetector. APPLE-1003, ¶97.

      For Grounds 3A-3B, these limitations are rendered obvious by Amano’s

disclosure of “an acceleration sensor [that] detects the body movement of a subject

to output the detected signal as a signal TH” and a “judging section 22 [that]

determines whether body movement is present or not, based on the body

movement waveform TH, to yield a control signal C... by comparing a threshold

value with the body movement waveform TH.” APPLE-1004, 21:57-65, 34:3-15,


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35:54-59. Amano renders obvious these limitations based on the plain meaning of

“processing characteristics.” APPLE-1003, ¶98. Indeed, the plain meaning of

“processing characteristics” includes characteristics or features obtained from or

used for processing information, including Amano’s acceleration sensor output,

which is used by Amano to provide a body movement waveform that used for

processing of the pulse waveform. Id.; APPLE-1004, 21:9-49. Accordingly,

Grounds 3A-3B rely on Amano’s teachings alone to satisfy the “processing

characteristics” limitations.

                      2.     Claim 93

Limitation 9[p]

         Amano teaches a method for operating a “pulse wave examination

apparatus” that allows a subject to “detect his pulse condition continuously in his

daily life.” APPLE-1004, 36:23-27, 38:26-27; APPLE-1003, ¶¶99-100. A portion

of the functional diagram of the apparatus is shown below:




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    For the sake of brevity, the remaining analysis will refer to the claim limitations

by the identifiers listed in Grounds 1A-1C.


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               APPLE-1004, Detail of FIG. 1 (see also FIGS. 3, 24)

      The pulse wave examination apparatus of Amano manages power

consumption during continuous patient pulse monitoring by also including a

“judging section 22 [that] determines whether body movement is present or not,

based on the body movement waveform TH, to yield a control signal C... by

comparing a threshold value with the body movement waveform TH.” APPLE-

1004, 21:57-65, 34:3-15, 35:54-59; APPLE-1003, ¶101. “[W]hen the control

signal C indicates that no body movement is present, the operations of the

waveform treating section 21 and body movement component eliminating section

30 are suspended” and “the pulse waveform MH is output directly from the body

movement component eliminating section 30.” APPLE-1004, 21:65-22:4, 35:54-

64. Amano describes that suspending the operations of sections 21 and 30 when

there is no body movement “can improve the SN ratio of the output signal from the



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                                      Appx120
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body movement component eliminating section 30 and reduce power consumption

in the apparatus,” “thereby reducing calculation time and power consumption and

improving the SN ratio.” Id., 21:50-22:6, 35:54-64.

Limitations 9[a]-9[b]

        In the combination, Amano’s pulse wave detecting section 10 is “mounted

on the root of a finger,” as shown in FIG. 37B reproduced below, and “can monitor

the monitor parameters signifying blood pressure noninvasively.” APPLE-1004,

40:44-46, 2:46-50, 3:24-28; APPLE-1003, ¶102.




                          APPLE-1004, Detail of FIG. 37B

        The pulse wave detecting section 10 includes an LED (a light source) and a

phototransistor (a light detector). APPLE-1004, 41:12-13, FIG. 38; APPLE-1003,

¶103. When the pulse wave examination apparatus is powered on, light is emitted

from the LED. APPLE-1004, 41:14-15. “The emitted light is reflected” (and then

attenuated) “by the blood vessel and tissues of the subject and is then received by

the phototransistor.” Id., 41:15-17, 54:13-30.4 “A combination of such a blue


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    All emphasis added unless otherwise indicated.


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LED and a phototransistor ensures that a pulse wave is detected.” APPLE-1004.

41:17-39; APPLE-1003, ¶103.

Limitation 9[c]

      Amano’s pulse wave examination apparatus allows a subject to “detect his

pulse condition continuously in his daily life.” APPLE-1004, 36:23-27, 38:26-27.

“[W]hen... no body movement is present, the operations of the waveform treating

section 21 and body movement component eliminating section 30 are suspended”

and “the pulse waveform MH is output directly from the body movement

component eliminating section 30” to, for example, “an FFT treating section 40

[that] provides the signal MHj, showing a pulse wave component, with FFT

treatment” shown in FIG. 1 below. APPLE-1004, 21:57-22:9, 34:3-15, 35:54-64,

FIG. 1, see also FIGS. 3, 24. Amano describes that suspending the operations of

sections 21 and 30 when there is no body movement “reduce[s] power

consumption in the apparatus.” APPLE-1004, 21:50-22:6, 35:54-64; APPLE-

1003, ¶104.

      A functional diagram of the apparatus from FIG. 1 of Amano, with the

suspended operations of sections 21 and 30 annotated and with the pulse waveform

MH output directly from the body movement component eliminating section 30 to

the FFT treating section 40 annotated, is shown below. A POSITA would have

understood that the sections other than sections 21 and 30 are continuously


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operating to determine a pulse waveform and a pulse condition while sections 21

and 30 are suspended. APPLE-1003, ¶105; see, e.g., APPLE-1004, 21:57-22:9,

34:3-15, 35:54-64, 36:23-27, 38:26-27, FIGS. 1, 3, 24.




                                                     suspended
                                                     operations




                    APPLE-1004, Detail of FIG. 1 (annotated)

Limitation 9[d]

      Amano’s pulse wave examination apparatus includes “an acceleration sensor



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[that] detects the body movement of a subject to output the detected signal as a

signal TH” and a “judging section 22 [that] determines whether body movement is

present or not, based on the body movement waveform TH, to yield a control

signal C... by comparing a threshold value with the body movement waveform

TH.” APPLE-1004, 21:57-65, 34:3-15, 35:54-59. Accordingly, Amano teaches

comparing processing characteristics (body movement waveform) to a

predetermined threshold (threshold value). Id.; APPLE-1003, ¶106.

Limitation 9[e]

      Amano teaches that “when... no body movement is present, the operations of

the waveform treating section 21 and body movement component eliminating

section 30 are suspended” and “the pulse waveform MH is output directly from the

body movement component eliminating section 30.” APPLE-1004, 21:65-22:4,

35:54-64. Amano describes that suspending the operations of sections 21 and 30

when there is no body movement “reduce[s] power consumption in the apparatus.”

APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1003, ¶107.

      A POSITA would have understood that when body movement is detected

(based on processing characteristics passing a predetermined threshold), the

apparatus continuously operates and performs the operations of the “waveform

treating section 21 [that] comprises, for instance, a low-pass filter, and performs

waveform-shaping treatment of the signal TH output from the body movement


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detecting section 20 to output a signal MHt showing a body movement

component,” and the “body movement eliminating section 30 [that] subtracts the

signal MHt showing a body movement component from the signal MH output

from the pulse wave detecting section 10 to output a signal MHj showing a pulse

wave component.” APPLE-1004, 21:9-20, 21:37-46, 33:63-67, 36:23-27, 38:23-

27; APPLE-1003, ¶108. Performing the operations of sections 21 and 30 would

lead to higher power consumption relative to the reduced power consumption when

the operations of sections 21 and 30 are suspended. Id.; APPLE-1004, 21:50-22:6,

35:54-64.

Limitation 9[f]

      As previously discussed (supra Ground 3A, 9[p] and 9[c]), Amano’s

apparatus continuously operates at the lower power consumption level by

suspending the operations of sections 21 and 30 when no body movement is

detected. APPLE-1004, 21:50-22:4, 22:4-6, 34:3-15, 35:54-64, 36:23-27, 38:26-

27; APPLE-1003, ¶¶99-101, 104-105. The “waveform treating section 21

comprises, for instance, a low-pass filter, and performs waveform-shaping

treatment of the signal TH output from the body movement detecting section 20 to

output a signal MHt showing a body movement component,” and the “body

movement eliminating section 30 subtracts the signal MHt showing a body

movement component from the signal MH output from the pulse wave detecting


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section 10 to output a signal MHj showing a pulse wave component.” APPLE-

1004, 21:9-20. As such, the operations of sections 21 and 30 perform processing

on and output signals, including signal TH, signal MHt, signal MH, and signal

MHj. APPLE-1003, ¶109; APPLE-1004, 21:9-20. Accordingly, suspending the

operations of sections 21 and 30 would reduce the amount of processing

performed, and power consumed, by Amano’s apparatus. Id.

      Additionally, Amano’s pulse wave examination apparatus allows a subject

to “detect his pulse condition continuously in his daily life.” APPLE-1004, 36:23-

27, 38:26-27. A POSITA would have recognized that signal processors are

commonly and advantageously used in physiological monitors to process and

extract information from data signals continuously in real-time. Id.; APPLE-1003,

¶110 (citing APPLE-1005, 1:45-48; APPLE-1007, 1:31-35; APPLE-1014, 4:40-

41). Thus, a POSITA would have found obvious that the operations of sections 21

and 30 are performed by a signal processor in order to allow the subject to “detect

his pulse condition continuously in his daily life.” Id.; APPLE-1004, 36:23-27,

38:26-27. Accordingly, a POSITA would have found obvious that suspending the

operations of sections 21 and 30 reduces an amount of processing by the signal

processor performing the operations of sections 21 and 30. Id.; APPLE-1004,

21:9-20.




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                   3.     Claim 10

      As previously discussed (supra Ground 3A, 9[f]), Amano’s apparatus

reduces the amount of processing while the operations of sections 21 and 30 are

suspended. APPLE-1003, ¶¶99-101, 104-105, 109-110; APPLE-1004, 21:50-22:4,

22:4-6, 34:3-15, 35:54-64, 36:23-27, 38:26-27. The “waveform treating section 21

comprises, for instance, a low-pass filter, and performs waveform-shaping

treatment of the signal TH output from the body movement detecting section 20 to

output a signal MHt showing a body movement component,” and the “body

movement eliminating section 30 subtracts the signal MHt showing a body

movement component from the signal MH output from the pulse wave detecting

section 10 to output a signal MHj showing a pulse wave component.” APPLE-

1004, 21:9-20. While the operations of sections 21 and 30 are suspended, the pulse

wave signal is not filtered or treated by removing the body movement component,

resulting in less data being processed. APPLE-1004, 21:50-22:4, 22:4-6, 34:3-15,

35:54-64, 36:23-27, 38:26-27; APPLE-1003, ¶114.

                   4.     Claim 12

Limitations 12[p]-12[e]

      Supra, Ground 3A, 9[p]-9[e]; APPLE-1003, ¶¶99-108.

Limitation 12[f]

      As previously discussed (supra Ground 3A, 9[d]), Amano teaches

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comparing processing characteristics to a predetermined threshold to determine

whether body movement is present in the waveform. APPLE-1004, 21:57-65,

34:3-15, 35:54-59; APPLE-1003, ¶106. In Amano, “when... no body movement is

present, the operations of the waveform treating section 21 and body movement

component eliminating section 30 are suspended” and “the pulse waveform MH is

output directly from the body movement component eliminating section 30.”

APPLE-1004, 21:65-22:4, 35:54-64. Amano teaches that suspending the

operations of sections 21 and 30 when there is no body movement “reduce[s]

power consumption in the apparatus.” APPLE-1004, 21:50-22:6, 35:54-64;

APPLE-1003, ¶111.

       A POSITA would have understood that when body movement is present, the

detected condition overrides the reduced power consumption state, causing the

apparatus to continuously operate at a higher power consumption state and perform

the operations of sections 21 and 30. APPLE-1004, 21:9-20, 21:37-46, 33:63-67,

36:23-27, 38:23-27; APPLE-1003, ¶112. Accordingly, the processing

characteristic passing a predetermined threshold, indicating that body movement is

present, is an override condition that overrides the reduced power consumption

state. Id.

                    5.   Claim 13

       Amano teaches that “various types of medical information can be obtained


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by the detection of pulse wave and analysis of the detected pulse wave... making a

diagnosis possible on the basis of these types of information.” APPLE-1004, 1:19-

27. Amano’s apparatus “can judge the pulse condition objectively and accurately.”

APPLE-1004, 3:20-23; APPLE-1003, ¶115.

      A POSITA would have found obvious that Amano’s apparatus could be used

to obtain various types of medical information, e.g., the pulse condition,

“objectively and accurately” during critical care of a patient in a critical care

environment. APPLE-1003, ¶116 (citing APPLE-1005, 1:67-2:10; APPLE-1014,

2:11-18). In its description of the prior art in the background section, the ’703

patent itself admits that using pulse oximetry devices to obtain measurements

during a critical care environment were well known. APPLE-1001, 1:18-23.

Obtaining the pulse condition during critical care would include obtaining

measurements indicating whether the override condition, e.g., the processing

characteristic passing a predetermined threshold indicating motion is present,

exists to control the operation of the apparatus in either the reduced power

consumption state or the higher power consumption state. Id.; APPLE-1004, 1:19-

27, 3:20-23; APPLE-1003, ¶116.

                    6.     Claim 14

      As previously discussed (supra Ground 3A, 12[f]), the processing

characteristic passing a predetermined threshold, indicating that body movement or


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motion is present, is an override condition that overrides the reduced power

consumption state. APPLE-1003, ¶¶106, 111-112; APPLE-1004, 21:9-20, 21:37-

46, 33:63-67, 36:23-27, 38:23-27. As such, the override condition includes a

monitored parameter exhibiting a predefined behavior, e.g., the processing

characteristic (e.g., the accelerometer signal of Amano or the average peak width

of Diab) passing a predetermined threshold indicating that body movement or

motion is present. Id.; APPLE-1003, ¶117

                   7.    Claim 20

Limitation 20[p]

      Supra, Ground 3A, 9[p]; APPLE-1003, ¶¶99-101.

Limitation 20[a]

      Supra, Ground 3A, 9[a]-9[b]); APPLE-1003, ¶¶102-103.

Limitation 20[b]

      In addition to Amano’s teachings previously discussed (supra, Ground 3A,

[9c]; APPLE-1003, ¶¶104-105), Amano teaches that the pulse wave examination

apparatus includes “CPUs, memories and the like” and “the CPU undergoes

various calculating processes and comparing processes on the basis of control

programs stored in part of the memories.” APPLE-1004, 30:60-67, 41:4-6 (“a

CPU controlling various calculations and transformations”). A POSITA would

have understood that the “CPUs” (one or more processors) of Amano perform the

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operations of the sections of the apparatus. APPLE-1003, ¶113; APPLE-1004,

30:60-67, 41:4-6.

Limitation 20[c]

       Supra, Ground 3A, 9[d], 20[b]; APPLE-1003, ¶¶104-106, 113.

Limitation 20[d]

       Supra, Ground 3A, 9[e], 20[b]; APPLE-1003, ¶¶107-108, 104-105, 113.

Limitation 20[e]

       Supra, Ground 3A, 9[f], 20[b]; APPLE-1003, ¶¶99-101, 104-105, 109-110,

113.

                    8.    Claim 22

Limitation 22[p]-22[d]

       Supra, Ground 3A, 20[p]-20[d]; APPLE-1003, ¶¶99-105, 107-108, 113.

Limitation 22[e]

       Supra, Ground 3A, 12[f]; APPLE-1003, ¶¶106, 111-112.

                    9.    Claim 23

       Supra, Ground 3A, Claim 13; APPLE-1003, ¶¶115-116.

                    10.   Claim 24

       Supra, Ground 3A, Claim 14; APPLE-1003, ¶¶106, 111-112, 117.




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                   GROUND 3B: Claims 1-3 and 15-17 are obvious based on
                   Amano and Turcott

                   1.     The Combination of Amano and Turcott

      In the combination, the modification of Amano’s apparatus would include

implementing the apparatus to reduce the duty cycle of the light emitter to further

minimize power consumption of the combined device based on Turcott’s teaching

of reducing the duty cycle to lower power consumption. APPLE-1003, ¶118;

APPLE-1006, 11:54-59.

                   2.     Reasons to Combine Amano and Turcott

      A POSITA would have been motivated and would have found it obvious and

straightforward to combine Amano and Turcott to achieve a pulse wave

examination apparatus that optimizes the signal-to-noise ratio and minimizes

power consumption. APPLE-1003, ¶119; APPLE-1004, 21:50-53, 22:4-6, 35:54-

64; APPLE-1006, 11:54-59. Both Amano and Turcott are in the same field of art

and relate to pulse wave examination devices. APPLE-1004, 21:3-8, 29:23-25,

31:2-8, 33:50-54, 34:3-14, 35:17-21, 36:23-27, 38:26-27, 40:23-27; APPLE-1006,

11:15-41. Both Amano and Turcott disclose a need to optimize the signal-to-noise

ratio and minimize power consumption. APPLE-1004, 21:50-53, 22:4-6, 35:54-

64; APPLE-1006, 11:54-59. Turcott teaches that reducing the duty cycle of the

light source optimizes the signal-to-noise ratio and minimizes power consumption.


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APPLE-1006, 11:54-59. A POSITA would have been motivated to implement

Turcott’s teaching of reducing the duty cycle to lower power consumption in a

pulse oximeter in combination with Amano’s pulse wave examination apparatus to

further minimize power consumption. APPLE-1003, ¶119; APPLE-1006, 11:54-

59. A POSITA would have understood further minimizing power consumption in

Amano’s device to be desirable because further minimization would lead to longer

battery life. Id.

       Further, a POSITA would have found it obvious to modify Amano with

Turcott because doing so entails the use of known solutions to improve similar

systems and methods in the same way. APPLE-1003, ¶120; KSR, 550 U.S. at 417.

A POSITA would have recognized that applying Turcott’s teachings to Amano’s

pulse wave examination apparatus would have led to predictable results without

significantly altering or hindering the functions performed by the pulse wave

examination apparatus. APPLE-1003, ¶120. In fact, a POSITA would have been

motivated to provide the well-known technique of reducing the duty cycle to lower

power consumption to cause Amano’s pulse wave examination apparatus to

include such features to achieve the predictable benefits offered by Turcott’s

description of the same. Id.; APPLE-1006, 11:54-59.

       Indeed, a POSITA would have had a reasonable expectation of success in

making this modification, and would have reasonably expected to reap benefits of


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reducing the duty cycle to lower power consumption. Id.; APPLE-1003, ¶121.

Amano and Turcott describe the same types of pulse waveform examination

devices and, in combination, Turcott’s features is implemented in Amano’s pulse

waveform examination apparatus just as it is in Turcott’s pulse oximeter. Id.

Accordingly, implementing Turcott’s teaching of reducing the duty cycle of light

sources to minimize power consumption, to operate a pulse detector as taught by

Amano, would have been routine and straightforward to a POSITA, and it would

have been clear that such a combination would predictably work and provide the

expected functionality. Id.

                    3.    Claim 1

Limitations 1[p]-1[e]

      Supra, Ground 3A, 9[p]-9[e]; APPLE-1003, ¶¶99-108.

Limitation 1[f]

      In the combination, Turcott describes a pulse oximeter where “[t]he optical

power generated by the [light] source is adjusted to optimize the signal to noise

ratio and to minimize power consumption” by adjusting “the drive current, the

frequency of the pulse train, the pulse duration, or the duty cycle of the pulse

train,” and “[t]o conserve energy, the [light] source is preferably driven with a low

duty cycle pulse train.” APPLE-1006, 11:51-59; APPLE-1003, ¶122.

      A POSITA would have recognized that the predictable modification of

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Amano as suggested by Turcott would include implementing the apparatus to

reduce the drive current or the duty cycle of the pulse train of the LED, further

minimizing power consumption. APPLE-1003, ¶123; APPLE-1006, 11:51-59.

When the apparatus is operating in the lower power consumption state, the

apparatus also reduces the drive current or the duty cycle of the pulse train of the

LED to further minimize power consumption. Id.

      Operating the LED of Amano with a reduced drive current or duty cycle

reduces the activation of the LED. APPLE-1003, ¶124. For example, a reduced

duty cycle means that the power signal spends more time in each cycle in the “off”

state, leading to a reduction in the portion of each cycle during which the LED is

“activated.” Id. Additionally, a reduced drive current means that the amount of

current used to activate the LED is reduced, leading to reduced activation of the

LED. Id. Accordingly, the combination of Amano and Turcott teaches that

continuously operating at the lower power consumption state includes reducing

activation of an attached sensor by reducing the drive current or the duty cycle of

the LED. Id.

Limitation 1[g]

      Supra, Ground 3A, 9[a]-9[b]; APPLE-1003, ¶¶102-103.

                    4.    Claim 2

      Supra, Ground 3B, 1[f]; APPLE-1003, ¶¶122-124.

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                   5.    Claim 3

      In the combination, Amano’s pulse wave examination apparatus allows a

subject to “detect his pulse condition continuously in his daily life.” APPLE-1004,

36:23-27, 38:26-27; APPLE-1003, ¶125. As previously discussed (supra Ground

3A, 9[d]), Amano teaches comparing processing characteristics to a predetermined

value to determine whether body movement is present in the waveform. APPLE-

1004, 21:57-65, 34:3-15, 35:54-59; APPLE-1003, ¶106. When the apparatus of

Amano is continuously operating in the higher power consumption state, the

apparatus compares processing characteristics to a predetermined value to

determine whether motion is present in the waveform. APPLE-1004, 21:57-65,

34:3-15, 35:54-59; APPLE-1003, ¶125.

      Through Amano, the combination provides that “when... no body movement

is present, the operations of the waveform treating section 21 and body movement

component eliminating section 30 are suspended” and “the pulse waveform MH is

output directly from the body movement component eliminating section 30.”

APPLE-1004, 21:65-22:4, 35:54-64. Amano teaches that suspending the

operations of sections 21 and 30 when there is no body movement “reduce[s]

power consumption in the apparatus.” APPLE-1004, 21:50-22:6, 35:54-64;

APPLE-1003, ¶126. Accordingly, Amano teaches that during operating at the

higher power consumption level where the operations of sections 21 and 30 are


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performed, the apparatus monitors when the processing characteristics recedes

from the threshold, indicating that no body movement or motion is present, and

when receded, transitioning to continuously operating the patient monitor at the

lower power consumption level where the operations of sections 21 and 30 are

suspended. APPLE-1003, ¶126; APPLE-1004, 21:57-22:4, 34:3-15, 35:54-59.

                   6.    Claim 15

Limitation 15[p]

      Supra, Ground 3A, 9[p]; APPLE-1003, ¶¶99-101.

Limitation 15[a]

      Supra, Ground 3A, 9[a]-9[b]; APPLE-1003, ¶¶102-103.

Limitation 15[b]

      Supra, Ground 3A, 20[b]; APPLE-1003, ¶¶104-105, 113.

Limitation 15[c]

      Supra, Ground 3A, 20[c]; APPLE-1003, ¶¶104-106, 113.

Limitation 15[d]

      Supra, Ground 3A, 20[d]; APPLE-1003, ¶¶107-108, 104-105, 113.

Limitation 15[e]

      Supra, Ground 3A, 20[b]; Ground 3B, 1[f]; APPLE-1003, ¶¶104-105, 113,

122-124.



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                      7.    Claim 16

        Supra, Ground 3A, 20[b]; Ground 3B, 1[f]; APPLE-1003, ¶¶104-105, 113,

122-124.

                      8.    Claim 17

        Supra, Ground 3B, Claim 3; APPLE-1003, ¶¶125-126, 106.

               PTAB DISCRETION SHOULD NOT PRECLUDE
               INSTITUTION

        Consistent with Congressional intent and goals of NHK/Fintiv,5 Apple asks

the Board alone to consider challenges raised in this Petition. Apple Inc. v. Fintiv,

Inc., IPR2020-00019, Paper 11, 6 (PTAB 2020). As explained below, Fintiv

favors institution.

        A.     Factor 1: Institution will increase the likelihood of stay

        Institution will enable the Board to resolve the issue of validity, and a



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    The NHK-Fintiv rule should not be applied because it violates the AIA, which

allows IPR to proceed in tandem with infringement litigation so long as the petition

is filed within one year of service of a complaint of infringement. See 35 U.S.C. §

315(b). The rule also is arbitrary and capricious because its vague factors lead to

speculative, unpredictable, and unfair outcomes. Further, the rule is procedurally

invalid because it was not adopted through notice-and-comment rulemaking.


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finding of invalidity will relieve the Central District of California (the “District

Court”) of the need to continue with the companion litigation. Apple intends to

move to stay the District Court case, and the opportunity for such simplification

increases the likelihood that the court will grant a stay in view of IPR institution.

Uniloc USA, Inc. v. Samsung Elecs. Am., Inc., Case No. 2:16-cv-642-JRG, 2-3

(E.D. Tex. 2017); NFC Techs. LLC v. HTC Am., Inc., Case No. 13-CV-1058, 2015

WL 1069111 (E.D. Tex. 2015).

       B.     Factor 2: District Court schedule

       Trial in the District Court case is scheduled for April 5, 2022. APPLE-1031,

1. Based on the 18-month IPR schedule, a Final Written Decision (“FWD”) in an

IPR arising from the present Petition would issue in early March of 2022, prior to

the District Court trial date.

       In addition, as in NHK, district court trial dates shift, even in normal times.

Mylan Pharma. Inc. v. Sanofi-Aventis Deutschland GMBH, IPR2018-01680, Pap.

22, 17 (PTAB 2019). The District Court is one of the country’s busiest patent

courts, and the trial date of another case in the District Court has recently been

postponed by approximately ten months. APPLE-1036, 2. Scheduling issues

cannot be ruled out, as experts have professed that additional COVID-19 outbreaks

are likely to arise and California is facing new outbreaks. APPLE-1034, 1 (“Fauci

says second wave of coronavirus is ‘inevitable’”); APPLE-1035, 4 (“Los Angeles


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County is currently” at “275 [cases] per 100,000 [residents],” which is higher than

the recommended level (100 per 100,000) for reopening).

      C.     Factor 3: Apple’s investment in IPR outweighs forced investment
             in litigation to date

      District court proceedings are still at an early phase. The parties have yet to

file claim construction briefs, no claim construction orders have issued, and the

Markman hearing is not scheduled until February 8, 2021. APPLE-1031, 1. In

addition, discovery is not scheduled to close until July 5, 2021. Id.

      Apple’s substantial investment in these IPR proceedings should

counterbalance—if not outweigh—the resources invested in the co-pending

litigation given the speed with which Apple is filing IPR petitions on over 150

claims across seven patents. It would be unjust to consider resources expended in

District Court (equally by both parties), without considering Apple resources

expended to prepare nine IPR petitions that would be irretrievably lost without

consideration on the merits, in addition to the extensive expenses that may be

foregone through institution of Apple’s petitions and that will otherwise certainly

follow in co-pending litigation for which significant milestones exist. See, e.g.,

Apple v. Seven Networks, IPR2020-00255, Paper 13 at 12-15 (PTAB July 28,

2020) (declining to exercise 314(a) discretion on petitions filed 9 months after the

commencement of co-pending litigation where a large number of patents were



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included in the litigation, and a large number of claims from each patent were

challenged in the petitions).

      D.     Factor 4: The Petition raises unique issues

      Consistent with Fintiv, Apple asks the Board to consider the unique

challenges raised in the Petition. Apple has voluntarily stipulated to counsel for

Patent Owner that, if the Board institutes the present Petition, Apple will not assert

that the challenged claims are invalid on the pending Petition’s asserted grounds in

Masimo Corporation et al. v. Apple Inc., Case No. 8:20-cv-00048 (C.D. Cal.).

APPLE-1032, 1; see, e.g., Apple v. Seven at 15-17 (finding that such a stipulation

by a petitioner “mitigates, at least to some degree, the concerns of duplicative

efforts between the district court and the Board, as well as concerns of potentially

conflicting decisions”).

      In addition, the Petition addresses claims that will not be addressed in

District Court. Although Patent Owner has not yet narrowed the asserted claims,

the District Court recently ordered the parties to submit “a joint proposal for an

initial reduction of infringement contentions” by September 21, 2020. APPLE-

1033, 1. Thus, based on this ordered reduction in the asserted claims, the District

Court will necessarily address fewer claims than are challenged in this Petition

(which challenges all claims of the patent), even assuming the District Court

addresses validity at all, which is presently unknowable. See, e.g., Apple v. Seven


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at 18.

         In short, grounds in this Petition are unique, and will not be addressed in

District Court. See, e.g., Apple v. Seven at 15-20 (weighing this factor against

exercising 314(a) discretion where a petitioner challenged several unasserted

claims and stipulated that it would not pursue the IPR grounds in the co-pending

litigation).

         E.    Factor 5: Institution would provide the Board an opportunity to
               invalidate claims that could later be reasserted against others

         Apple’s Petition is potentially helpful to future defendants. For at least this

reason, Apple’s status as both Petitioner and defendant is, at worst, a neutral factor.

Taking the relevant circumstances into account, institution would serve overall

efficiency and integrity, enabling the Board to determine invalidity of claims that

Patent Owner might otherwise later assert against others.

         F.    Factor 6: Other circumstances support institution

         As Fintiv noted, “the factors ... are part of a balanced assessment of all the

relevant circumstances in the case,” and, “if the merits of a ground raised in the

petition seem particularly strong … the institution of a trial may serve the interest

of overall system efficiency and integrity ….” Fintiv, 14-15. As explained in the

Petition (and Dr. Anthony’s testimony), institution would result in invalidation of

the Challenged Claims.



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                                                 Attorney Docket No. 50095-0002IP1
                                                    IPR of U.S. Patent No. 8,457,703

             PAYMENT OF FEES

      Apple authorizes the Patent and Trademark Office to charge Deposit

Account No. 06-1050 for the fee set in 37 C.F.R. § 42.15(a) for this Petition and

further authorizes payment for any additional fees to be charged to this Deposit

Account.

             CONCLUSION

      Apple respectfully requests institution of an IPR for the Challenged Claims.

             MANDATORY NOTICES UNDER 37 C.F.R § 42.8(a)(1)

                     Real Party-In-Interest Under 37 C.F.R. § 42.8(b)(1)

      Petitioner, Apple Inc., is the real party-in-interest.

                     Related Matters Under 37 C.F.R. § 42.8(b)(2)

      Apple is not aware of any disclaimers, reexamination certificates, or

petitions for Inter Partes Revew for the ’703 Patent. The ’703 patent is the subject

of the civil action Masimo Corporation et al. v. Apple Inc., Case No. 8:20-cv-

00048 (C.D. Cal.).

      The ’703 Patent is in the same family as U.S. Patent No. 10,433,776 (“the

’776 Patent”). Apple has petitioned for Inter Partes Review of the ’776 Patent.

      U.S. Patent Application No. 15/820,082 filed on November 21, 2017 and

U.S. Patent Application No. 16/174,130 filed on October 29, 2018 claim the



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                                               Attorney Docket No. 50095-0002IP1
                                                  IPR of U.S. Patent No. 8,457,703

benefit of the ’703 Patent and are currently pending before the Patent Office.

                    Lead And Back-Up Counsel Under 37 C.F.R. § 42.8(b)(3)

      Apple provides the following designation of counsel.

             Lead Counsel                              Backup counsel
  W. Karl Renner, Reg. No. 41,265        Dan Smith, Reg. No. 71,278
  Fish & Richardson P.C.                 Kim Leung, Reg. No. 64,399
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                   Service Information

      Please address all correspondence and service to the address listed above.

Petitioner consents to electronic service by email at IPR50095-0002IP1@fr.com

(referencing No. 50095-0002IP1 and cc’ing PTABInbound@fr.com, axf-

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                                       Respectfully submitted,



Dated: September 9, 2020                /W. Karl Renner/
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                                             Attorney Docket No. 50095-0002IP1
                                                IPR of U.S. Patent No. 8,457,703

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                                      Appx145
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                                              Attorney Docket No. 50095-0002IP1
                                                 IPR of U.S. Patent No. 8,457,703


                  CERTIFICATION UNDER 37 CFR § 42.24

      Under the provisions of 37 CFR § 42.24(d), the undersigned hereby certifies

that the word count for the foregoing Petition for Inter partes Review totals 13,956

words, which is less than the 14,000 allowed under 37 CFR § 42.24.



Dated: September 9, 2020                /W. Karl Renner/
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                                               Attorney Docket No. 50095-0002IP1
                                                  IPR of U.S. Patent No. 8,457,703



                         CERTIFICATE OF SERVICE

      Pursuant to 37 CFR §§ 42.6(e)(4)(i) et seq. and 42.105(b), the undersigned

certifies that on September 9, 2020, a complete and entire copy of this Petition for

Inter partes Review and all supporting exhibits were provided via Federal Express,

to the Patent Owner by serving the correspondence address of record as follows:



                 KNOBBE, MARTENS, OLSON & BEAR, LLP
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     IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent of:     Al-Ali
U.S. Patent No.:     8,457,703         Attorney Docket No.: 50095-0002IP1
Issue Date:          June 4, 2013
Appl. Serial No.:    11/939,519
Filing Date:         November 13, 2007
Title:               LOW POWER PULSE OXIMETER

               DECLARATION OF DR. BRIAN W. ANTHONY

I, Brian W. Anthony, of Cambridge, MA, declare that:

            QUALIFICATIONS AND BACKGROUND INFORMATION

      1.    My name is Dr. Brian W. Anthony. I am an Associate Principal

Research Scientist at the Institute of Medical Engineering & Science at

Massachusetts Institute of Technology (MIT). I am also a Principal Research

Scientist at MIT’s Mechanical Engineering department, Director of the Master of

Engineering in Advanced Manufacturing and Design Program at MIT, a Co-

Director of the Medical Electronic Device Realization Center of the Institute of

Medical Engineering & Science, and Associate Director of MIT.nano. My current

curriculum vitae is attached and some highlights follow.

      2.    I earned my B.S. in Engineering (1994) from Carnegie Mellon

University. I earned my M.S. (1998) and Ph.D. (2006) in Engineering from MIT.

My research focused on high-performance computation, signal processing, and

electro-mechanical system design.



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                                                                          APPLE 1003

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to operate for the elimination of the body movement component [from the detected

pulse wave] even if there is no body movement,... power is consumed by the body

movement eliminating operation.” APPLE-1004, 21:3-57. Amano provides a

solution where “when no body movement is present, the operations of the

waveform treating section 21 and body movement component eliminating section

30 are suspended,” which “reduce[s] power consumption in the apparatus.”

APPLE-1004, 21:65-22:6, 35:54-64. Thus, Amano teaches reducing power

consumption by suspending unnecessary processing operations. Id.

                     The Combination of Diab and Amano

        43.    In light of Amano’s teaching that “power is consumed by the body

movement eliminating operation,” a POSITA would have found obvious that

operating Diab’s “motion artifact suppression module 580” likewise consumes

power. APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007, 47:52-56, 48:34-49:38.

Additionally, in light of Amano’s teaching that suspending “the operations of...

body movement component eliminating section” reduces power consumption, a

POSITA would have found obvious that performing Diab’s “spectral estimation on

the signals... directly without motion artifact suppression” 1 similarly reduces

power consumption. Id. In light of Amano’s teaching of reducing power



1
    All emphasis added unless otherwise indicated.


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                                        Appx364
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consumption by suspending unnecessary processing operations, a POSITA would

have found obvious that Diab’s oximeter likewise reduces power consumption by

performing “spectral estimation on the signals... directly without motion artifact

suppression.” Id.

                    Reasons to Combine Diab and Amano

      44.    A POSITA would have been motivated to and would have found it

obvious and straightforward to supplement Diab’s teachings with the teachings of

Amano as described above. Both Diab and Amano are in the same field of art and

relate to devices that provide pulse waveforms. APPLE-1004, 21:3-8, 29:23-25,

31:2-8, 33:50-54, 34:3-14, 35:17-21, 36:23-27, 38:26-27, 40:23-27; APPLE-1007,

34:27-28, 35:44-47, 49:25-32. Both Amano and Diab teach a need to eliminate

motion-induced noise from a pulse waveform. APPLE-1004, 33:54-67; APPLE-

1007, 2:23-26, 2:53-3:9, 34:1-9.

      45.    Amano demonstrates that reducing the amount of processing, by

suspending operations, reduces power consumption. APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 47:52-56, 48:34-49:38. A POSITA faced with Diab’s

disclosure would look to similar systems, such as Amano, to obtain more

information on the effect of Diab’s reduction in processing. Id. Amano’s

teachings explain that changes in power consumption were obvious from changes

in the amount of processing that are contemplated by Diab. Id. A POSITA would


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artifact suppression,” and “[i]n the case of motion, motion artifacts are suppressed

using the motion artifact suppression module 580.” APPLE-1007, 47:52-56.

Thus, Diab adjusts the behavior of the oximeter by (1) not performing motion

artifact suppression when motion is not detected and (2) by performing motion

artifact suppression when motion is detected. APPLE-1007, 47:52-56.

      49.    Also in the combination, Amano teaches that “when the body

movement component eliminating section... is made to operate... power is

consumed by the body movement eliminating operation” and “when no body

movement is present, the operations of... body movement component eliminating

section... are suspended,” “thereby reducing calculation time and power

consumption.” APPLE-1004, 21:50-22:6, 35:54-64. A POSITA would have

found obvious that operating Diab’s “motion artifact suppression module 580”

consumes power based on Amano’s teaching that “power is consumed by the body

movement eliminating operation” to Diab’s oximeter. APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 48:34-49:38.

      50.    Additionally, a POSITA would have found obvious that performing

“spectral estimation on the signals... directly without motion artifact suppression”

reduces power consumption based on Amano’s teaching that suspending “the

operations of... body movement component eliminating section” reduces power

consumption. Id. A POSITA would have been motivated and would have found it



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obvious and straightforward to combine Diab with Amano to manage power

consumption by “reducing calculation time and power consumption,” as suggested

by Amano, “[i]f motion is not detected” by performing “spectral estimation on the

signals... directly without motion artifact suppression,” as taught by Diab. Id.

      51.    In the combination, Diab teaches that a “pulse oximeter is a type of

blood gas monitor which non-invasively measures the arterial saturation of oxygen

in the blood.” APPLE-1007, 2:66-3:1. Diab’s oximeter 299 includes “red and

infrared light emitters 301, 302 [that] each emits energy which is absorbed by the

finger 310 and received by the photodetector 320” that “produces an electrical

signal which corresponds to the intensity of the light energy striking the

photodetector” after attenuation by the finger. APPLE-1007, 35:23-27, 4:51-57,

33:51-60, 34:12-19. “The finger comprises skin, tissue, muscle, both arterial blood

and venous blood, fat, etc., each of which absorbs light energy differently due to

different absorption coefficients, different concentrations, different thicknesses,

and changing optical pathlengths.” APPLE-1007, 33:60-64. A portion of the

functional diagram of the oximeter 299 showing the sensor is below:




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using the motion artifact suppression module 580.” APPLE-1007, 47:52-56. In

this way, Diab’s oximeter continuously operates by “comput[ing] the arterial and

venous blood oxygen saturations of a physiological system on a continuous or

nearly continuous time basis... regardless of whether or not the physiological

system undergoes voluntary motion.” APPLE-1007, 34:10-12, 63:38-41, FIG. 11.

The “output filter 594” of the pulse rate module 410 provides “the pulse of the

patient, which is advantageously provided to the display.” APPPLE-1007, 48:3-5,

50:27-29.

      53.    A functional diagram of the pulse rate module 410 is shown below,

with annotations showing the signals (only infrared samples) and the modules 578,

586, 590, 592, and 594 used to determine the pulse rate “without motion artifact

suppression” (green line) when motion is not detected by the motion status module

584. APPLE-1007, 48:6-33, 50:1-29. As a comparison, the functional diagram is

also annotated to show the signals (infrared samples, red samples, saturation value)

and the motion artifact suppression module 580 (purple box) and modules 588,

590, 592, and 594 used to determine the pulse rate (purple line) when motion is

detected by the motion status module 584. APPLE-1007, 47:47-49, 47:55-50:29




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                                             Heart rate determination without
                                             motion artifact suppression




        Additional processing for
        motion artifact suppression

                   APPLE-1007, Detail of FIG. 20 (annotated)

      54.   A functional diagram of the motion artifact suppression module 580 is

shown below, with the additional processing for motion artifact suppression

annotated. APPLE-1007, 48:34-49:32.




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                                                      Additional processing for
                                                      motion artifact suppression

                      APPLE-1007, Detail of FIG. 21 (annotated)

While Diab’s explicit description that “[i]f motion is not detected, spectral

estimation on the signals is carried out directly without motion artifact

suppression” and “[i]n the case of motion, motion artifacts are suppressed using the

motion artifact suppression module 580” (APPLE-1007, 47:52-56) teaches not

executing the motion artifact suppression module 580 if motion is not detected, it

would have also been obvious to suspend and not execute the operations of Diab’s

motion artifact suppression module 580 if motion is not detected based on

Amano’s teaching of suspending “the operations of... body movement component

eliminating section” “when no body movement is present” (APPLE-1004, 21:65-

22:6).

         55.   Based at least on the teachings of Amano, a POSITA would have

understood that performing “spectral estimation on the signals... directly without


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motion artifact suppression” reduces power consumption based on Amano’s

teaching that suspending “the operations of... body movement component

eliminating section” reduces power consumption. APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 48:34-49:38. A POSITA would have been motivated and

would have found it obvious and straightforward to combine Diab with Amano to

“reduc[e] calculation time and power consumption,” as suggested by Amano, “[i]f

motion is not detected” by performing “spectral estimation on the signals... directly

without motion artifact suppression,” as taught by Diab. Id. Accordingly, the

combination of Diab and Amano renders obvious continuously operating the

oximeter at a lower power consumption level “[i]f motion is not detected” to

determine measurement values for one or more physiological parameters of a

patient. Id.

       56.     In the combination, the signal processor compares processing

characteristics to a predetermined threshold. For example, Diab’s oximeter

includes “red and infrared light emitters 301, 302 [that] each emits energy which is

absorbed by the finger 310 and received by the photodetector 320” that “produces

an electrical signal which corresponds to the intensity of the light energy striking

the photodetector.” APPLE-1007, 35:23-27, 34:12-19. The signal processor 334

performs “a saturation transform,” which is “an operation which converts the

sample data from time domain to saturation domain values,” to provide “saturation



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transform power curve[s].” APPLE-1007, 35:34-47, 45:6-10. The signal

processor 334 calculates “peak width of a power curve” where “[t]he width of the

peaks provides some indication of motion by the patient—wider peaks indicating

motion.” APPLE-1007, 46:13-20, 46:53-55. Accordingly, the red and infrared

samples obtained from the photodetector signal are used to calculate the “peak

width of a power curve.” APPLE-1007, 44:38-46:55.

      57.   Diab’s signal processor 334 also performs functions of a “pulse rate

module 410” that includes “a motion status module 584,” the output of which is

provided to “a motion artifact suppression module 580.” APPLE-1007, 38:61-63,

47:30-38, 47:47-49, FIGS. 14, 20. An “average peak width value” (processing

characteristics) is input to the “motion status module 584.” APPLE-1007, 47:50-

52, FIG. 20. Diab teaches that “[t]he width of the peaks provides some indication

of motion by the patient—wider peaks indicating motion” and “[i]f the peaks are

wide, this is taken as an indication of motion.” APPLE-1007, 46:53-55, 47:51-52.

As such, the motion status module 584 detects motion by determining “if the peaks

are wide.” APPLE-1007, 47:50-56. A POSITA would have understood that in

order to determine whether the peaks are “wide,” the width of the peaks would be

compared to a width value above which the peaks are considered “wide” (a

threshold). Id.. Accordingly, Diab teaches comparing processing characteristics




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(“average peak width value”) to a predetermined threshold (a value corresponding

to “wider peaks indicating motion”). Id.

      58.    In the combination, the signal processor transitions to continuously

operating the patient monitor at a higher consumption level when the processing

characteristics pass the threshold. As previously discussed, Diab teaches that “[i]f

motion is not detected, spectral estimation on the signals is carried out directly

without motion artifact suppression,” and “[i]n the case of motion, motion artifacts

are suppressed using the motion artifact suppression module 580.” APPLE-1007,

47:52-56. In the combination, Diab’s oximeter continuously operates by

“comput[ing] the arterial and venous blood oxygen saturations of a physiological

system on a continuous or nearly continuous time basis... regardless of whether or

not the physiological system undergoes voluntary motion.” APPLE-1007, 34:10-

12, 63:38-41, FIG. 11. Based on Diab’s and Amano’s teachings as previously

discussed, a POSITA would have found obvious that, during operation at the lower

power consumption level “without motion artifact suppression,” when motion is

detected based on processing characteristics (“average peak width value”) passing

the threshold (a value corresponding to “wider peaks indicating motion”), the

signal processor 334 transitions to the higher power consumption level where

“motion artifacts are suppressed using the motion artifact suppression module

580.” APPLE-1007, 47:52-56; APPLE-1004, 21:50-22:6, 35:54-64.



                                           35

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      59.    In the combination, the processing characteristics include an override

condition. Based on Diab’s and Amano’s teachings as previously discussed, a

POSITA also would have found obvious that, during operation at the lower power

consumption level “without motion artifact suppression,” when motion is detected

based on processing characteristics (“average peak width value”) passing the

threshold (a value corresponding to “wider peaks indicating motion”), the signal

processor 334 transitions to the higher power consumption level where “motion

artifacts are suppressed using the motion artifact suppression module 580.”

APPLE-1007, 47:52-56; APPLE-1004, 21:50-22:6, 35:54-64.

      60.    A POSITA would have understood that when motion is present, the

detected condition overrides the reduced power consumption state (where the

signal processor processes only infrared samples “without motion artifact

suppression”) causing the oximeter to continuously operate at a higher power

consumption level where the signal processor processes more data (red samples

and saturation value in addition to infrared samples) using the “motion artifact

suppression module 580.” Id. Accordingly, the processing characteristics

(“average peak width value”) passing the threshold (a value corresponding to

“wider peaks indicating motion”) is an override condition that overrides the

reduced power consumption state. Id.




                                         36

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      61.    In the combination, continuously operating at the lower power

consumption level includes reducing an amount of processing by the signal

processor. As previously discussed, a POSITA would have found obvious that

performing “spectral estimation on the signals... directly without motion artifact

suppression,” as taught by Diab, reduces power consumption based on Amano’s

teaching that suspending “the operations of... body movement component

eliminating section” “reduc[es]... power consumption.” APPLE-1004, 21:50-22:6,

35:54-64; APPLE-1007, 48:34-49:38. Also as previously discussed, a POSITA

would have understood that Diab’s oximeter reduces the amount of processing by

the signal processor when motion is not detected by processing less data (only

infrared samples) and “without motion artifact suppression.” APPLE-1007, 47:52-

56, 48:6-33, 50:1-29. Conversely, a POSITA also would have understood that

Diab’s oximeter increases the amount of processing by the signal processor when

motion is detected by processing more data (infrared samples, red samples, and

saturation value) and “using the motion artifact suppression module 580.”

APPLE-1007, 47:47-49, 47:55-50:29.

      62.    Also as previously discussed, the combination teaches that Diab’s

oximeter continuously operates by “comput[ing] the arterial and venous blood

oxygen saturations of a physiological system on a continuous or nearly continuous

time basis... regardless of whether or not the physiological system undergoes



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                                       Appx378
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voluntary motion.” APPLE-1007, 34:10-12, 63:38-41, FIG. 11. Accordingly, in

the combination, operating at the lower power consumption level by performing

“spectral estimation on the signals... directly without motion artifact suppression”

includes reducing an amount of processing because the signal processor processes

less data (only infrared samples) and “without motion artifact suppression.”

APPLE-1007, 47:52-56, 48:6-33, 50:1-29.

                    2.      Claim 10

      63.    In the combination, Diab teaches that reducing the amount of

processing by the signal processor includes processing less data. As previously

discussed, the combination of Diab and Amano teaches reducing an amount of

processing, including the signal processor processes less data (only infrared

samples) and “without motion artifact suppression.” APPLE-1007, 47:52-56,

48:6-33, 50:1-29.

                    3.      Claims 13 and 22

      64.    In the combination, Diab teaches that the override condition includes

measurements during a critical care environment. For example, Diab’s oximeter

“provides clean plethysmographic waveforms of the detected signals and provides

values for oxygen saturation and pulse rate to the display.” APPLE-1007, 35:34-

47, 34:24-28, FIGS. 13-14. A POSITA would have found it obvious to use Diab’s

oximeter to obtain “blood oxygen saturation, heart rate, and a clean


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motion by the patient—wider peaks indicating motion.” APPLE-1007, 46:13-20,

46:53-55. Accordingly, the “average peak width value” (processing

characteristics) obtained from a signal provided by a photodetector indicates a

strength of motion-induced noise in the photodetector signal.

         90.   Also in the combination, Turcott teaches that “[t]he optical power to

the source is adjusted to optimize the signal to noise ratio.” APPLE-1006, 11:51-

61. Accordingly, signal to noise ratio indicates strength of the signal as well as the

noise.

               THE COMBINATION OF DIAB AND THE GENERAL
               KNOWLEDGE OF A POSITA AND FURTHER IN VIEW OF
               EDGAR OR TURCOTT

         91.   As articulated in Ground 1A, in light of Amano’s teaching of reducing

power consumption by suspending unnecessary processing operations, a POSITA

would have found it obvious that Diab’s oximeter likewise reduces power

consumption by performing “spectral estimation on the signals... directly without

motion artifact suppression.” APPLE-1004, 21:50-22:6, 35:54-64; APPLE-1007,

47:52-56, 48:34-49:38. Diab and Amano is a combination in which Amano is

offered to demonstrate a broader concept that is well understood by a POSITA,

namely that reducing the amount of processing by suspending operations reduces

power consumption.




                                          57

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      92.    This concept is well known to a POSITA, and thus, for Grounds 4A-

4C, the application of Diab alone reveals to a POSITA that changes in power

consumption were obvious from changes in the amount of processing that are

contemplated by Diab. This is corroborated by a number of references, such as

U.S. Patent No. 5,027,410 (APPLE-1015, 10:62-65 (“reducing the number of

execution steps required and thus allowing either faster computation or lower

power consumption, or both”)); U.S. Publication No. 2003/000442 (APPLE-1016,

[0103] (“certain detection channels can be deactivated to save power or if

additional detection processing is deemed unnecessary in certain applications”));

U.S. Publication No. 2002/003238 (APPLE-1017, [0098] (“the various electronic

modules and sensors that are included in a monitoring apparatus... include power

management facilities that provide reduced power consumption whenever a

module or sensor is not in active use”)); U.S. Patent Application Publication No.

2003/0163287 (APPLE-1018, [0241] (“by reducing processing, battery power is

conserved”)); U.S. Patent No. 6,163,721 (APPLE-1019, 2:25-27 (“various device

designs have shut down analog blocks and/or shut-off clocks to logic blocks not

being used at particular times, thereby reducing power”)); U.S. Patent No.

5,058,203 (APPLE-1020, 1:10-12 and 2:23-25 (“reduce power consumption in

order to extend the life of the battery” where “the processor unit performs the first

control functions intermittently each time a function is needed to be performed”));



                                          58

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U.S. Patent No. 6,711,691 (APPLE-1021, 1:59-61 (“power consumption of the

computer system is dependent upon the amount of work placed on the processing

resources of the computer system”); and Amano. I refer to these other publications

here merely for purposes of corroborating this common background knowledge

recognizable to a POSITA at the time.

      93.   A POSITA would have understood that Diab’s oximeter reduces the

amount of processing by the signal processor when motion is not detected by

processing less data (only infrared samples) and “without motion artifact

suppression,” thereby reducing the power consumed by the processor. Id.;

APPLE-1007, 47:52-56, 48:6-33, 50:1-29. Conversely, a POSITA also would

have understood that Diab’s oximeter increases the amount of processing by the

signal processor when motion is detected by processing more data (infrared

samples, red samples, and saturation value) and “using the motion artifact

suppression module 580.” Id. As such, a POSITA would have recognized that

reducing unnecessary processing reduces power consumption of the oximeter and

increasing the amount of processing increases power consumption of the oximeter.

Id. Accordingly, Diab’s oximeter, by adjusting the amount of processing based on

the presence or absence of motion, manages power consumption during continuous

patient monitoring. Id.




                                         59

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apparatus also includes a body movement detecting section 20 that detects the

body movement of the subject, a waveform treating section 21 that provides a

signal of the body movement component, and a body movement eliminating

section 30 that subtracts the body movement component from the detected pulse

waveform to eliminate the influence of body movement on the pulse waveform.

APPLE-1004, 21:9-20, 21:37-46, 33:63-67, 34:3-15, 35:17-21, 38:23-26.

      96.    The pulse wave examination apparatus also includes a judging section

22 that determines whether body movement is present by comparing the body

movement detected by the body movement detecting section 20 with a threshold

value. APPLE-1004, 21:57-65, 34:3-15, 35:54-59. When the judging section 22

detects that no body movement is present, the operations of sections 21 and 30 are

suspended and the pulse waveform from the pulse wave detecting section 10 is

output directly from the body movement eliminating section 30. APPLE-1004,

21:65-22:4, 35:54-64. Amano discloses that suspending the operations of sections

21 and 30 when there is no body movement improves the signal to noise ratio of

the output signal, reduces calculation time, and reduces power consumption of the

apparatus. APPLE-1004, 21:50-53, 22:4-6, 35:54-64.

      97.    As previously discussed, the combination of Diab and Amano

provides the “processing characteristics” limitation of claims 9, 12, 15, 20, and 22

through Diab’s teaching of detecting motion from a signal provided by a



                                         61

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photodetector corresponding to the attenuated visible and infrared light energy

signals and determining whether motion is present by comparing the “average peak

width value” with a value corresponding to “wider peaks indicating motion.”

APPLE-1007, 34:10-20, 35:23-27, 44:38-46:55, 46:53-55, 47:51-56. In the

combination of Diab and Amano, Diab teaches these limitations under a limiting

interpretation requiring “processing characteristics” to be obtained from a signal

provided by a photodetector.

      98.    For Amano alone, these limitations are met by Amano’s teaching of

“an acceleration sensor [that] detects the body movement of a subject to output the

detected signal as a signal TH” and a “judging section 22 [that] determines whether

body movement is present or not, based on the body movement waveform TH, to

yield a control signal C... by comparing a threshold value with the body movement

waveform TH.” APPLE-1004, 21:57-65, 34:3-15, 35:54-59. Amano teaches these

limitations based on an alternative non-limiting interpretation of “processing

characteristics” that is met by Amano’s acceleration sensor output. The non-

limiting plain meaning of the phrase “processing characteristics” includes

characteristics or features obtained from or used for processing information. Id.

Amano’s acceleration sensor output provides a body movement waveform that is a

result of processing performed by the acceleration sensor and is used for

processing of the pulse waveform. APPLE-1004, 21:9-49. Therefore, Amano’s



                                         62

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(12)   United States Patent                                                    (10)Patent No.:                     US 6,293,915 Bl
       Amano et al.                                                            (45)Date of Patent:                       *Sep. 25, 2001


(54)   PULSE WWE EXAMINATION APRkRATUS,                                    (56)                     References Cited
       BLOOD PRESSURE MONITOR, PULSE
       W4VEFORM MONITOR, AND                                                                 U.S. PATENT DOCUMENTS
       PHARMACOLOGICAL ACTION MONITOR                                              5,623,933 *   4/1997 Amano et al                      600/500
                                                                                   5755,229 *    5/1998 Amano et al                      600/500
(75)   Inventors: Kazuhiko Amano; Kazuo Uebaba,
                  both of Yokohama; Hitoshi Ishiyama,                                    FOREIGN PATENT DOCUMENTS
                  Toride; Hiroshi Kasahara, Kashiwa, all                    〇 638 281 Al          2/1995   (EP).
                  of (JP)                                                     59-189830          10/1984   (JP).
                                                                               4-250132           9/1992   (JP).
(73)   Assignee: Seiko Epson Corporation, Tokyo (JP)                           8-257000          10/1996   (JP).
                                                                               8-289876          11/1996   (JP).
(*)    Notice:       This patent issued on a continned pros-                   9-135819           5/1997   (JP).
                     ecntion application filed nnder 37 CFR                      139440           8/1990   (TW)
                     1.53(d), and is snbject to the twenty year              WO96 35368          11/1996   (WO)
                     patent term provisions of 35 U.S.C.                                         OTHER PUBEICAFIONS
                     154(a)(2).
                                                                           “Medical Diagnostics, vol. 1 (in Japanese)", snpervised by
                     Subject to any disclaimer, the term of this           Akira Shibata, Mar., 10, 1995, Nishimnra Shoten,
                     patent is extended or adjnsted nnder 35               pp401-409.
                     U.S.C. 154(b) by 〇 days.                              ''Application of Wavelet Transformation to Wave Pulse of
                                                                           Living Body (in Japanese)^^, Preprint of 15'" Scientific
(21)   Appl. No.:          09/341,787                                      Lectures on Biomechanism, (Japan), (1994), ppl21-124.
(22)   PCT Filed:          Nov. 20, 1998                                    * cited by examiner
(86)   PCT No.:            PCT/JP98/05259                                  Primary Examiner—Cary O^ Connor
        § 371 Date:        Jul. 16, 1999                                   Assistant Examiner一Navin Natnithithadha

        § 102(e) Date: Jul. 16, 1999                                       (57)                       ABSTRACT

(87)   PCT Pub. No.: WO99/26529                                                      An EFT treating section (40) carries out the frequency
                                                                                     analysis of a pulse waveform MHj excluding a body move­
       PCT Pub. Date: Jun. 3, 1999                                                   ment component to yield pulse wave analysis data MKD and
                                                                                     then a tidal wave-character extracting section (50) and a
(30)         Foreign Appiication Priority Data
                                                                                     dicrotic wave-character extracting section (60) yield a tidal
 Nov. 20, 1997                                            .9-320149                  wave-character data (TWD) and a dicrotic wave-character
                                                 (JP)...................................................
 Nov. 21, 1997                                            .9-321768                  data (DWD) showing the characteristics of a tidal wave and
                                                 (JP)...................................................
  Jul. 12, 1998   (JP)                                     10-213494                 dicrotic wave respectively. Then, a pulse condition judging
                                                                                     section (70) yields pulse condition data (ZD) on the basis of
(51) Int. C1.7                 ......................... A6IB 5/02                   this data (TWD, DWD) and in succession a notifying section
(52) U.S. CI                    600/501; 600/500; 600/485                            (80) advises of the pulse condition of a subject.
(58) Field of Search                                 600/500, 501,
                                              600/485, 486, 502                                          61 Claims, 56 Drawing Sheets




                                                                               1                                                         APPLE 1004



                                                                      Appx454
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F I G.   1



            PULSE WAVE
         DETECTING SECTION




                   ノ/-MH


                                                        MH t

             3 〇
                    BODY MOVEMENT COMPONENT
                      타」NIINATING SECTION




                     TWD
                                                            DWD


                                                  7 〇
                         PULSE CONDITION
                         JUDGING SECTICN

                                         Z D
                                   V              8 〇

                        NOT I EYING SECTION




                                          2



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   F I G,   2




                                    3



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  F I G.   3




                                             8 〇

                      NOTIFYING SECTION




                                     4



                                 Appx457
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Appx458
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                                                                              으
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   F I G.   5
      MH




                                    6



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 F I G.   6




              MHj




              401
              out




              402
              out



              405
              out
              CK    hJVWWUL"
              cs




                                       7



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  FI       7
    s




                   WAVELET ANALYSIS RESULT




                                    8



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        F I G. 8




ELECTROCARDIOGRAM




                Q     S
 WAVEFORM OF         i
 BLOOD PRESSURE      |                       CLOSING OF AORTIC VALVE
 AT PROXIMAL PORTION!
 OF AORTA             I

     OPENING OF
     AORTIC VALVE(


                             EFFUSION I
                             WAVE     !

                                       ；TIDAL WAVE
                                      /1
                                           /gomwAVE




      WAVEFORM OF    I
      BLOOD PRESSURE ；         DIOROTIO NOTCH
      AT PERIPHERY



                          I ventricular!
                          J SYSTOLE    j         VENTRICULAR 미ASTOLE                ；
                                              ------------------------------------ 버




                                              9



                                           Appx462
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   FIG.   1 〇




                                   11



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  FIG


                            C
                            T
                            X
                            E
                            E
                            O
                            W




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      f4~ヽ/\/\/\/ヽ/\




                            HUA MAI



                                      12



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    FIG.      1 2




                                                       ORIGINAL
                                                       WAVEFORM
                                    0.4s
        f1



        へJヽJヽ
                                                          M2

        へ、W、                                              Wf3

        f5、-•ヽ
              ＜ハハハノヽ/ヽハノ                                  wf4

        f6
                                                          wf5

        f7
                                                          wf6

        f8
                                                          wf7

        19
                                                          wf8

       f10
                                                         -wf9


                                   PING MAI


                                      13



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                                              MBPt
                                               tABPd
                                                       ORIGINAL
                                                       WAVEFORM




                                                           wfl




                                                           wf3


                                                            wf4


                                                            wf5


                                                            wf6


                                                            wf7


                                                            wf8


                                                            wf9


                               XUAN MAI



                                      14



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 F I G.   1 4


                                   HUA MAI      PING MAI XUAN
                                                          MAI

    AMPLITUDE     OF     DICROTIC 7-3           10.6      2.9
    WAVE [mmHG]
    AMPLITUDE OF TIDAL             〇            〇         3.8

    WAVE [mmHG]




 F I G.   1 5


                                   HUA MAI      PING MAI XUAN
                                                          MAI

                  FUNDAMENTAL      100.0        100.0     100-0
                  WAVE
                  2                75.5         66.0      47.9

                  3                67.8         64.3      45.5
                  4                30.6         20.1      25.0

                  5                21.1         15.9       17.6

                  6                11.1         5.4        16.8

                  7                3.5          4.3       7.1

                  8                2.0          5.3       4.9
                  9                2.0          3.0       6.5

                   10              3.0          3.6       ■5.1




                                       15



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    F I G. 1 9




                                      19



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  F I G.     2 〇


                 START

                   卜
                   ■
                    1r                         S 1

    DETECTION OF A PULSE WAVEFORM


                                               S2

    YIELD OF AUTOCORRELATION DATA


                                               S3
       DETECTION OF THE MIN내배
     VALUE OF THE AUTOCORRELATION
    DATA CORRESPONDING TO A PERIOD
              OF ONE BEAT

                                           S4

       IS THE MINIMUM VALUE LESS          NO
               THAN 〇. 25?

                         YES                                                   S6
                                 MEASUR태ENT OF A TIME INTERVAL, IN
                                 WHICH THE AUTOCORRELATION DATA RD
                               EXCEEDS 0.5, IN A PERIOD CORRESPONDING
                                       TO A PERIOD OF ONE BEAT


                                                                         S7
                                    CALCULATION OF THE RAT［〇 OF
                                      THE MEASURED TIME TO THE
                                         PE미OD OF ONE BEAT

                                                                        S8

                                           THE RAT!〇 CALCULATED         NO
                                             EXCEED 47%?

                                                          YES
                     1   ,ノ 广     S5                 1   ,ノー S 9                1   財- S1(
           JUDGED TO BE A XUAN            JUDGED TO BE A PING           JUDGED TO BE A HUA
             MAI TO YIELD ZD1               MAI TO YIELD ZD2             MAI TO YIELD ZD3




                                                     20



                                              Appx473
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 F I G.   2 1




                                  21



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                                 Appx475
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  F I G.     2 3


                 START


                                               S 1

    DETECTION OF A PULSE WAVEFORM


                   V                           S2

    YIELD OF AUTOCORRELATION DATA


                                               S3
       DETECTION OF THE MIN내배
     VALUE OF THE AUTOCORRELATION
    DATA CORRESPONDING TO A PERIOD
              OF ONE BEAT

                                           S4

       IS THE MINIMUM VALUE LESS          NO
               THAN 〇. 25?

                       YES                                                     S 1 1

                                   DETECTION OF THE VARIATION RATE
                                       OF AUTOCORRELATION DATA


                                                                               S 1 2
                                 DETECTION OF THE MAXIMUM VALUE
                                   OF THE VARIATION RATE IN A
                                PERIOD CORRESPONDING TO A PERIOD
                                           OF ONE BEAT

                                                                          S 1 3

                                             MAXIMUM VALUE LESS           NO
                                             THAN 〇. 85?

                                                      YES
                                   S 5                            S 1 4

           JUD能D TO BE A XUAN            JUDGED TO BE A PING              JUDGED TO BE A HUA
             MAI TO YIELD ZD1              MAI TO Y世LD ZD2                 MAI TO YIELD ZD3




                                                     23



                                               Appx476
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 F I G. 2 4




                                      24



                                Appx477
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  F I G.   2 5




                                   25



                                Appx478
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 FIG. 2 6




    4.0 ~3.5Hz M18 M28        «••      ■*•       • •・             •«•       나 88
                                                                       ■     •
    3.5 〜3.0Hz   어 17                                             ■•         ■
                                                                             •
    3.0 〜2.5 너 z M16                                         ■•             어 86

    25、20너z M15                                      «

                                            ■
    2.0 へ서.5너z M14                     *•
                                   •
     1.5~1.0Hz   너 13         ••

    1.0 ~〇.5Hz M12 M22

    0.5~O.0Hz M11       M21 M31 M41 M51                    새61    M71 M81




                                                26



                                       Appx479
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 FIG. 2 7




    MH




    TH




   MHj




                                  27



                               Appx480
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  FIG. 2 8


        4.0~3,5Hz      8     4       6         〇      〇    〇     〇      〇

         3.5〜30Hz      5     2       3         1      〇    〇     〇      〇

         3.0〜2.5Hz     2     1       4         〇      〇    〇     〇      〇

        2.5~2.0Hz      1     1       3         〇       1   〇     〇       1

         2.0~1.5Hz     2     3       1         1       1   〇     〇       1

         1.5~1.0Hz     4     5       5         5       5   6     5       4

         1.0~〇.5 니 z   4     7       8         8       6   8     8       8

         0.5 ~〇.OHz    6     7       7         10     10   9     9       9




  FIG. 2 9



         4.0 ~3.5Hz    〇     〇       〇         〇       〇   〇      〇      〇

         3.5 ~3.0Hz    〇     〇       〇         〇       〇   〇      〇      〇

         3.〇〜2.5Hz     〇     〇       〇         〇       〇   〇      〇      〇

         2.5 ~2.0Hz    〇     〇       〇         〇       〇   〇      〇      〇

         2.0~1.5Hz     〇     〇       〇         〇       〇   1      〇      〇

         1.5~1.0Hz     〇         1    1        〇       〇   2      1      〇

         1.0 ~0.5Hz    4     5       7         7       5   6      6      7

         0.5~0.0Hz     5     6       6         6       7   6      6      6

                       t1    州
                             t2      t3        t4     t5   t6    t7     t8




                                          28



                                     Appx481
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FIG. 3 〇




      "、ノ 3.5Hz         8       4    6         〇       〇       〇      〇    〇


      3.5~3.OH2         5       2    3         1       〇       〇      〇    〇


      3.0~2.5 너 2       2       1    4         〇       〇       〇      〇    〇

      2.5 ~2.0Hz        1       1    3         〇       1       〇      〇    〇


      2.0，어.5H2         2       3    1         1       1       〇      〇     1

       1.5M.0HZ         4       4    4         5       5       4      4     4

       1.0 ~0.5 너 2     〇       2    1         1       1       2      2     1

      0.5~。.〇Hz         1       1    1         4       3       3      3     3

                      i t1    I 12   t3 I t4 I         十이 め t7 3이




                                          29



                                     Appx482
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    F I G.    3 1




         2 40




                                       30



                                    Appx483
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 F I G.     3 2




  F I G.      3 3



          나.〇 ~3.5Hz      8      4     6       〇      〇      〇    〇       〇

          3.5 〜 3.0 니 2   5      2     3        1     〇      〇    〇       〇

          3.0 ~2.5Hz      2      1     4       〇      〇      〇    〇       〇

          2.5 ~2.0Hz       1     1     3       〇      1      〇    〇       1

          2.0~1.5Hz       2      3     1        1     1      〇    〇       1

          1.5 〜1.0Hz      4      5     5        5     5      6    5       4

          1.O~O.5 니 z     〇      〇     〇        〇     〇      〇    〇       〇

          0.5~0.0Hz       〇      〇     〇        〇     〇      〇    〇       〇


                          t1     t2    t3      t4   ■ t5     t6   t7      t8




                                              31



                                        Appx484
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 F I G.    3 4




  F I G.   3 5




                                    32



                                 Appx485
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  F I G.   3 6




                                    33



                                 Appx486
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   F I G. 3 7 A




   F I G. 3




                                     34



                                  Appx487
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F I G. 3 8




                                   10: PULSE WAVE
                                    r     DETECTING SECTION




                                      MH




                                   35



                                Appx488
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   fig. 3 9 a




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                                       36



                                    Appx489
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                                   37



                                Appx490
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  fig. 4 1




                                   38



                                Appx491
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                                   39



                                Appx492
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 FIG. 4 3




                                  40



                                Appx493
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     FIG. 4 4 A

                      110




                                   41



                                 Appx494
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 FIG.      4 5 A
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                                                    Appx495
              Case: 22-1890     Document: 22    Page: 222   Filed: 02/15/2023




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                              HUA MAI      PING MAI         XUAN MAI




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                                         Appx496
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 fig. 4 7




                                                              588




                                    580




                                    44



                                 Appx497
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 FIG. 4 8




                  EFFUSION WAVE
                                            BLOOD PRESSURE BPgys
                             *
 BHUIU




                     TIDAL WAVE

                                   ABPP      DICROTIC NOTCH
    二




                   △ BP
 MufISS Id




                                                       DICROTIC WAVE
                                                 △BPd
     땅
                            BPtp                       MEAN           cr
     Q                                                 BLOOD PRESSURE BP^ean
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     O
     J
     m



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                                            Appx498
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   FIG         5
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                                           Appx499
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 FIG.   5 1




              90        100        110        120     130     140     150
                                   BPsys         [mmHg]




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                                    Appx500
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                          HUA MAI       PING MAI      XUAN MAI




                                           49



                                       Appx502
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         &




   F I       55
     6




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                                    Appx503
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              fig.   5 6
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                             Case: 22-1890   Document: 22   Page: 231   Filed: 02/15/2023




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Appx505
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                           Case: 22-1890   Document: 22   Page: 232   Filed: 02/15/2023




              FIG.   5 8                                                      ^1A

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                                                                        HI (Z)

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                                                     1A         1C      HO (Z)
                                                                                                     52




Appx506
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                                                                                                     56




                            IB                                          Hl (Z)

                       HI (Z)
                                                                             ‘引A

                                               H1 (Z)

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                                     Case: 22-1890       Document: 22       Page: 233   Filed: 02/15/2023




              fig.   5 9
                                            尹
                           /年
                 M*8       t 2   一      FO (Z)            2D   エ2C         一竺
                                                                                                                       U .S * P a f e n f




                           多                                   t 2   -     FO (Z)
                                           w翌                                       k2D       '9P
                 M*7—A t 2 -A           Fl CZ)                                                              づ2A
                                           ぎ                                                t 2      FO (Z)

                                                   _      2D
                                                                                                                       Sep・25-




                 M*6       t 2          FO (Z)                 づ2C                                                           2
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                           K                ノー2B   け           t 2. 一A     F1 (Z)   —

                 M*5       t 2   —・•너   Fl (Z)     _r
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          殴
                                                          2D     つc
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                 M*4—A                  FO (Z)                                                                               of




Appx507
                                                                           FO (Z)
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                                        ―容竺                    I 2 -A
                                                                                          )4C               ブ2B
                 M*3                    Fl (Z)

                           ■空               ノ2A                                             t 2      Fl (Z)

                 M*2                    FO (Z)            2D   ヂC             *브
                           *                丿2B      +         t 2   -*►   Fl (Z)

                 M*1                    Fl CZ)
                                                                                                                      US 692939915 B l
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 fig. 6 〇




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                               Appx508
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  FIG.   6 1




  FIG.   6 2




                                   56



                                Appx509
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 FIG. 6 3


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                                                     TIME       [min]




FIG. 6 4
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              H S I 段 mssm




                  브


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                             〇




                                                          TIME          [s]



                                                     57



                                                Appx510
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                                                     US 6,293,915 Bl
                                                                                                  2
    PULSE WWE EXAMINATION APRkRATUS,                              remains at a high pressure state for a fixed period of time
      BLOOD PRESSURE MONITOR, PULSE                               without an immediate drop. This “Xuan mai" is seen in
         WAVEEORM MONITOR, AND                                    diseases such as liver and gall ailments, dermatological
    PHARMACOLOGICAL ACTION MONITOR                                ailments, high blood pressure, and pain ailments. It is
                                                                5 believed that tension in the automatic nervous system causes
                     TECHNICAL FIELD                              the walls of the blood vessels to constrict, decreasing
                                                                  elasticity, so that the effect of the blood pulsation of the
   The present invention relates to a pulse wave examination      pumped blood is not readily expressed, causing this phe­
apparatus suitable for specifying the type of human pulse         nomenon.
wave, a blood pressure monitor using the mean blood                  The ordinate and the abscissa in the graphs of FIGS. 45A
                                                               10
pressure and pulse pressure as its parameters and a pulse         to 45C show blood pressure (mmHg) and time (second)
waveform monitor and a pharmacological action monitor             respectively.
which use a parameter related to a dicrotic notch part of an         The relationship between the pulse condition of the pulse
arterial pressure waveform.                                       waveform and its distortion rated is shown in FIG. 46. Here,
                                                               15 the distortion rate d of the pulse waveform is determined by
                     BACKGROUND ART
                                                                  the following equation (f):
   The pulse wave is usually defined as a wave of blood
which is output from the heart and propagates through a                       /电 + A3 + ■.. + A，
blood vessel. For this reason, it is known that various types
of medical information can be obtained by the detection of 20
pulse wave and an시ysis of the detected pulse wave. with the
progress of studies on the pulse wave, it has become clear        wherein Bゝ\ is the amplitude of a basic wave component in
that various types of information, not obtainable only from       the pulse wave and A?, A3, . . ., A死 are the amplitudes of the
the blood pressure and the pulse rate, can be obtained by         second, third, . . . and nth harmonic components respec­
analyzing the pulse wave, collected from the human body, 25 tively.
by various techniques, making a diagnosis possible on the            It is therefore possible to specify the pulse condition of the
basis of these types of information.                              pulse waveform quantitatively from the correlation shown in
   The inventors of the present invention remarked the            FIG. 46 if the pulse waveform of a subject is detected and
relation between the pulse waveform and its distortion rate       the detected waveform is subjected to FFT (Fourier
in PCT/JP96/0f254 (Title of the Invention: DIAGNOSTIC 30 transformation) treatment to find the amplitudes Bゝ\ to
APPARATUS FOR DETECTING CONDITION OF EIV-                         from which the distortion rate d is c시culated.
ING BODY AND CONTROLLER) and made it possible to                     As shown in FIG. 46, when the pulse condition of the
diagnose the living condition of a subject by detecting and       subject is judged to be a Hua mai, the distortion rate d is in
treating the pulse waveform of the subject, calculating the       a range between 0.98 and f.22. When the pulse condition is
distortion rate of the waveform and specifying the waveform 35 judged to be a Ping mai, the distortion rate d is in a range
from the distortion rate.                                         between 0.92 and 1.10. When the pulse condition is judged
   Here, the relationship between a pulse waveform and a          to be a Xuan mai, the distortion rate d is in a range between
distortion rate which are mentioned in the above application      0.73 and 0.94.
will be described briefly.                                           In this case, the pulse condition can be judged to be a Hua
                                                               40 mai or a Ping mai when the distortion rate d of the pulse
   First, there are various types of pulse waveforms and the
                                                                  waveform is in a range between 0.98 and 1.10. Also, the
forms are diversified. Here, typical forms of pulse wave­
                                                                  pulse condition can be judged to be a Ping mai or a Xuan mai
forms by the classification of Chinese medicine which is one
                                                                  when the distortion rate d of the pulse waveform is in a range
of a traditional oriental medicine will be described. FIGS.
                                                                  between 0.92 and 0.94. It is therefore difficult to judge the
45A to 45C are the charts showing representative pulse 45
                                                                  pulse condition precisely by a conventional pulse wave
waveforms by this classification.
                                                                  examination apparatus.
   The pulse waveform shown in FIG. 45A is called a “Ping            In the meantime, a blood pressure gauge measuring a
mai^^ which is the pulse condition of a normal man in good        maximum blood pressure and a minimum blood pressure
health. This “Ping mai^^ is characterized in that, as shown in    and displaying these pressures is used in noninvasive detec­
the figure, the pulse is relaxed, and exhibits a constant 50 tion of blood pressure.
rhythm without disruption.                                           Although the maximum blood pressures or minimum
   Secondly, the pulse waveform shown in FIG. 45B is              pressures of subjects are alike, there are various types of
called a “Hua mai^^ which is the pulse condition of a man         waveforms for blood pressure. Hence the characteristics of
who shows an abnormality in his blood stream condition.           the blood pressure of an mdividu시 expressed only by a
The waveform of a Hua mai exhibits a sharp, rapid rise, and 55 maximum blood pressure and a minimum blood pressure are
then falls oft immediately, the aortic dicrotic notch is deep     insufScient.
and at the same time the subsequent peak is considerably             The mean blood pressure is an important parameter for
higher than that of a Ping mai. It is considered that diseases    knowing the condition of the blood pressure of an indi­
such as a mammary tumor, liver or kidney ailment, respi­          vidual. The mean blood pressure cannot be obtained only by
ratory ailment, stomach or intestinal ailment or 60 measurements of a maximum blood pressure and minimum
inflammation, or some other illness cause the movement of         blood pressure.
the blood to be very fluent and smooth, which causes this            In sphygmic detection adopted in Chinese medicine or in
“Hua mai".                                                        Indian traditional medicine, a medical examination is carried
   Moreover, the pulse waveform shown in FIG. 45C is              out by examining the pulse waveform detected by the fingers
called a “Xuan mai" which is the pulse condition of a man 65 when a medical examiner presses with an optimum pressing
whose blood vessel wall tension has increased. The Xuan           force against a distal position of the forearm from the arteria
mai is characterized in that its waveform rises steeply and       radialis, that is, a medical examination is conducted by
                                                                      58



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detection of a variation with the pressing force, which                 a tidal wave-character extracting means for extracting the
variation is felt by the fingers of the medical examiner                   characteristics of a tidal wave from the result of the
corresponding to a variation in blood pressure.                            analysis of the frequency analyzing means to yield tidal
   In Chinese medicine, for instance, the pulse waveform felt              wave-character information;
when a proper pressing force is applied to the arteria radialis 5       a dicrotic wave-character extracting means for extracting
is roughly divided into three categories, which are desig­
                                                                           the characteristics of a dicrotic wave from the result of
nated as a “Ping mai", “Hua mai^^ and "Xuan mai^^ respec­
                                                                           the analysis of the frequency analyzing means to yield
tively as aforementioned. The Ping mai is deliberate and
                                                                           dicrotic wave-character information; and
mild and its rhythm is stable and reduced in turbulence. This
Ping mai is a pulse image for a man in good health. The Hua 10          a  pulse  condition judging means for judging the pulse
mai is the type in which the flow of the pulse is felt to be very          condition of the living body on the basis of the tidal
fluent and smooth, showing abnormality in the blood stream                 wave-character information and the dicrotic wave­
condition. The Xuan mai is felt to be a straight, tense and                character information.
long pulse and is regarded to be due to tension or aging of             (5) In the pulse wave examination apparatus according to
a blood vessel \\/11.                                                (4), preferably the tid시 wave-character information extract­
                                                                  15
   Such a medical examination method, however, is depen­             ing means specifies a period of the tidal wave in the pulse
dent upon the pulse waveform classified by the sense of the          waveform and extracts the characteristics of the tidal wave
medical examiner posing problems with regard to its objec­           from the tidal waveform on the basis of the result of the
tivity and reproducibility.                                          analysis of the frequency analyzing means in the period of
   The present invention has been conducted in the above 20 the tidal wave to yield tidal wave-character information, and
situation and has an object of providing a pulse wave                the dicrotic wave-character information extracting means
examination apparatus which can judge the pulse condition            specifies a period of the dicrotic wave in the pulse waveform
objectively and accurately.                                          and extracts the characteristics of the dicrotic wave from the
   Another object of the present invention is to provide a           tidal waveform on the basis of the result of the analysis of
blood pressure monitor which can indicate blood conditions 25 the frequency an시yzing means in the period of the dicrotic
in more detail than the information of a maximum and                 wave to yield dicrotic wave-character information.
minimum blood pressure and can monitor the monitor                      (6) In the pulse wave examination apparatus according to
parameters signifying blood pressure noninvasively.                  (4) or (5), preferably the frequency analyzing means per­
   A further object of the present invention is to provide a         forms EFT treatment of the pulse waveform.
pulse waveform monitor which can carry out an examination 30            (7) In the pulse wave examination apparatus according to
by the pulse waveform objectively and reproducibly.                  (4) or (5), preferably the frequency analyzing means per­
                                                                     forms wavelet transformation treatment of the pulse wave­
            DISCLOSURE OF THE INVENTION                              form.
   (f) A pulse wave examination apparatus according to the              (8) The pulse wave examination apparatus according to
present invention comprises:                                         any one of (f) to (7), preferably further comprises a notifi­
                                                                  35
   a pulse wave detecting means for detecting a pulse                cation means for communicating the pulse condition judged
      waveform from a living body;                                   by the pulse condition judging means.
   a tidal wave-character extracting means for extracting the           (9) A pulse wave examination apparatus according to the
      characteristics of a tidal wave from the pulse waveform        present invention comprises:
      to yield tidal wave-character information;                  40
                                                                        a pulse wave detecting means for detecting a pulse
   a dicrotic wave-character extracting means for extracting               waveform from the detecting position of a living body;
      the characteristics of a dicrotic wave from the pulse             a auto-correlation c시culatmg means for calculating auto­
      waveform to yield dicrotic wave-character information;               correlation data giving the auto-correlation of the pulse
      and                                                                  waveform detected by the pulse wave detecting means;
   a pulse condition judging means for judging the pulse 45                and
      condition of the living body on the basis of the tidal            a pulse condition-data yielding means for yielding pulse
      wave-character information and the dicrotic wave­                    condition data giving the type of pulse waveform based
      character information.                                               on the auto-correlation data.
   (2) In the pulse wave examination apparatus according to             (fO) In the pulse wave examination apparatus according
(f), preferably the tid시 wave-character extracting means 50 to (9), preferably the pulse condition-data yielding means
yields the tidal wave-character information on the basis of a        produces the pulse condition data by comparing the auto­
variation in the amplitude in the time-domain of the tidal           correlation data with a prescribed threshold value.
wave, and the dicrotic wave-character extracting means                  (ff) In the pulse wave examination apparatus according to
yields the dicrotic wave-character information on the basis          (fO), preferably the pulse condition-data yielding means
of a variation in the amplitude in the time-domain of the 55 comprises a minimum value detecting section for detecting
dicrotic wave.                                                       the minimum value of the auto-correlation data during a
   (3) In the pulse wave examination apparatus according to          period of one heart beat, and a comparing section for
(2), preferably the variations in the amplitude in the time­         comparing the minimum value, detected by the minimum
domain of the tidal wave and the dicrotic wave are calcu­            value detecting section, with the threshold value to yield the
lated from the primary or secondary time derivative of the 60 pulse condition data.
pulse waveform.                                                         (f2) In the pulse wave examination apparatus according
   (4) A pulse wave examination apparatus according to the           to (fO), preferably the pulse condition-data yielding means
present invention comprises:                                         comprises a minimum value detecting section for detecting
   a pulse wave detecting means for detecting a pulse                an average minimum v시ue by averaging each minimum
      waveform from a living body;                                65 value of the auto-correlation data detected in each of plural
   a frequency analyzing means for performing a frequency            heart beat periods, and a comparing section for comparing
      analysis of the pulse waveform;                                the average minimum value, detected by the minimum value
                                                                      59



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detecting section, with the threshold value to yield the pulse         a second comparing section for comparing the change
condition data.                                                           rate, calculated by the change rate calculating section,
   (13) In the pulse wave examination apparatus according                 with a prescribed threshold value to yield the pulse
to (9), preferably the pulse condition-data yielding means                condition data indicating a Ping mai or a Hua mai.
comprises: a time measuring section for comparing the 5                (f9) In the pulse wave examination apparatus according
auto-correlation data with a prescribed threshold value to          to (17) or (18), preferably the auto-correlation data is a
measure a time interval in which the auto-correlation data          coefficient of auto-correlation and the first threshold value
exceeds or is less than the threshold value; a calculating          used in the comparing operation performed in the first
section for c시culating the ratio of the time interval, mea­         comparing section is 0.25 approximately.
sured by the time measuring section, to a period of one heart
                                                                 10    (20) In the pulse wave examination apparatus according
beat; and a comparing section for comparing the result,
                                                                    to (17), preferably the auto-correlation data is a coefficient of
c시culated by the c시culating section, with a prescribed
threshold value to yield the pulse condition data.                  auto-correlation and the second threshold value used in the
   (f4) In the pulse wave examination apparatus according           comparing operation performed in the time measuring sec­
to (f3), preferably the calculating section calculates the ratio    tion is designed to be in a range between 0.4 and 0.8.
of the time interval, measured by the time measuring 15                (2f) The pulse wave examination apparatus according to
section, to a period of one heart beat and calculates the           any one of (9) to (20), preferably further comprises;
average of the calculated results.                                     a body movement detecting means for detecting the
   (f5) In the pulse wave examination apparatus according                 waveform of the body movement indicating the body
to (9), preferably the pulse condition-data yielding means                movement of the living body; and
comprises a change rate calculating section for detecting the 20       a body movement-component eliminating means for
change rate of the auto-correlation data on the basis of the              eliminating a body movement component from the
auto-correlation data, and a change rate comparing section                pulse waveform to yield a body movement-removed
for comparing the change rate, detected by the change rate                pulse waveform, said body movement component in
c시culating section, with a prescribed threshold value to                  the pulse waveform generated on the basis of the body
yield the pulse condition data.                                  25       movement waveform;
   (f6) In the pulse wave examination apparatus according
to (f5), preferably the change rate comparing section detects          wherein the auto-correlation calculating means calculates
a maximum value of the change rate and compares the                       auto-correlation data giving auto-correlation on the
maximum value of the change rate with the threshold value                 basis of the body movement-removed pulse waveform
to yield the pulse condition data.                                        in place of the pulse waveform.
                                                                 30
   (f7) In the pulse wave examination apparatus according              (22) The pulse wave examination apparatus according to
to (9), preferably the pulse condition data yielding means          (2f), preferably further comprises judging means for judg­
comprises:                                                          ing the presence of body movement of the living body on the
   a minimum value detecting section for detecting the              basis of the body movement waveform detected by the body
      minimum value of the auto-correlation data in a period        movement detecting means,
                                                                 35
      of one heart beat;                                               wherein the body movement-component eliminating
   a first comparing section for comparing the minimum                    means stops the body movement eliminating operation
      value, detected by the minimum value detecting                      when the judging means shows the absence of body
      section, with a prescribed first threshold value to yield           movement to output the pulse waveform in place of the
      pulse condition data indicating a Xuan mai when the                 body movement-removed pulse waveform.
      minimum value is less than the first threshold value; 40         (23) The pulse wave examination apparatus according to
   a time measuring section for comparing the auto­                 any one of (9) to (20), preferably further comprises:
      correlation data with a prescribed second threshold              a first wavelet transformation means for performing
      value to measure a time interval in which the auto­                 wavelet transformation of the pulse waveform to yield
      correlation data exceeds or is less than the second                 pulse wave analysis data for every frequency zone;
                                                                 45
      threshold value;                                                 a body movement detecting means for detecting the
   a c시culatmg section for c시culating the ratio of the time               movement of the living body to output the waveform of
      interval, measured by the time measuring section, to a              the body movement;
      period of one heart beat; and                                    a second wavelet transformation means for performing
   a second comparing section for comparing the result, 50                wavelet transformation of the waveform of the body
      c시culatea by the calculating section, with a prescribed             movement detected by the body movement detecting
      third threshold value to yield the pulse condition data             means to yield body movement analysis data for every
      indicating a Ping mai or a Hua mai.                                 frequency zone;
   (f8) In the pulse wave examination apparatus according              a body movement component eliminating means for sub­
to (9), preferably the pulse condition data yielding means 55             tracting the body movement an시ysis data from the
comprises:                                                                pulse wave analysis data to yield body movement-
   a minimum value detecting section for detecting the                    eliminated pulse wave analysis data; and
      minimum value of the auto-correlation data in a period           an inverse wavelet transformation means for performing
      of one heart beat;                                                  inverse wavelet transformation of the body movement-
   a first comparing section for comparing the minimum 60                 eliminated pulse wave analysis data to yield a body
      value, detected by the minimum value detecting                      movement-eliminated pulse waveform;
      section, with the first threshold value to yield pulse           wherein the auto-correlation calculating means calculates
      condition data indicating a Xuan mai when the mini­                 auto-correlation data giving auto-correlation on the
      mum value is less than the threshold value;                         basis of the body movement-eliminated pulse wave­
   a variation calculating section for detecting a change rate 65         form in place of the pulse waveform.
      of the auto-correlation data on the basis of the auto­           (24) The pulse wave examination apparatus according to
      correlation data; and                                         any one of (9) to (20), preferably further comprises:
                                                                       60



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   a wavelet transformation means for performing wavelet               pulse wave detecting means to yield pulse wave analy­
      transformation of the pulse waveform detected by the             sis data for every frequency zone;
      pulse waveform detecting means to yield pulse wave            a body movement component eliminating means for
      analysis data for every frequency zone;                          eliminating a prescribed frequency component corre­
   a body movement component eliminating means for 5                   sponding to a body movement to yield body
      eliminating a prescribed frequency component corre­              movement-eliminated pulse wave an시ysis data;
      sponding to a body movement among the pulse wave              an auto-correlation calculating means for calculating
      analysis data to yield body movement-eliminated pulse            auto-correlation data giving auto-correlation of the
      wave analysis data; and                                          body movement-eliminated pulse wave an시ysis data in
   an inverse wavelet transformation means for performing 10           a given frequency zone; and
      inverse wavelet transformation of the body movement-          a pulse condition data yielding means for yielding a pulse
      eliminated pulse wave an시ysis data to yield a body               condition data giving the type of pulse waveform on the
      movement-eliminated pulse waveform;                              basis of the auto-correlation data.
  wherein the auto-correlation calculating means calculates 15      (28) The pulse wave examination apparatus according to
      auto-correlation data giving auto-correlation on the       any one of (9) to (27), preferably further comprise a noti­
      basis of the body movement-eliminated pulse wave           fication means for communicating the pulse condition data
      analysis data in place of the pulse waveform.              yielded by the pulse condition data yielding means.
  (25) A pulse wave examination apparatus according to the          (29) A blood pressure monitor according to the present
present invention comprises:                                     invention comprises:
                                                              20
   a pulse wave detecting means for detecting a pulse               an arterial pressure waveform detecting section for mea­
      waveform from the detecting position of a living body;           suring blood pressure in an artery continuously to
   a wavelet transformation means for performing wavelet               detect a waveform of arterial pressure; and
      transformation of the pulse waveform detected by the          a mean blood pressure calculating section for calculating
      pulse wave detecting means to yield pulse wave analy­ 25         the mean blood pressure on the basis of the waveform
      sis data for every frequency zone;                               of arterial pressure.
                                                                    The blood pressure monitor of the present invention
   an auto-correlation calculating means for calculating
                                                                 comprises the mean blood pressure calculating section for
      auto-correlation data giving auto-correlation of the
                                                                 calculating the mean blood pressure on the basis of the
      pulse wave analysis data in a given frequency zone; and
                                                              30 waveform of arteri시 pressure detected by the arterial pres­
   a pulse condition data yielding means for yielding a pulse    sure waveform detecting section. Therefore the mean blood
      condition data giving the type of pulse waveform on the    pressure can be monitored using the waveform of arterial
      basis of the auto-correlation data.                        pressure detected by the arterial pressure waveform detect­
  (26) A pulse wave examination apparatus according to the       ing section.
present invention comprises:                                        (30) The blood pressure monitor according to (29), pref­
                                                              35
   a pulse wave detecting means for detecting a pulse            erably further comprises a pulse pressure calculating section
      waveform from the detecting position of a living body;     for calculating pulse pressure which is a pressure difference
   a first wavelet transformation means for performing           between a maximum blood pressure and a minimum blood
      wavelet transformation of the pulse waveform detected      pressure on the basis of the waveform of arterial pressure.
      by the pulse wave detecting means to yield pulse wave 40      According to the invention, the pulse pressure can be
      analysis data for every frequency zone;                    monitored using the waveform of arterial pressure detected
   a body movement detecting means for detecting the             by the arterial pressure waveform detecting section.
      movement of the living body to output the waveform of         (3f) The blood pressure monitor according to (30), pref­
      the body movement;                                         erably further comprises a blood pressure conversion section
                                                                 for converting the waveform of arterial pressure detected by
   a second wavelet transformation means for performing 45
                                                                 the arterial pressure waveform detecting section into the
      wavelet transformation of the waveform of the body
                                                                 waveform of cardiac-position arterial pressure which is a
      movement detected by the body movement detecting
                                                                 waveform of arterial pressure at a position corresponding to
      means to yield body movement analysis data for every
                                                                 the altitude of a heart;
      frequency zone;
                                                              50    wherein the mean blood pressure calculating section
   a body movement component eliminating means for sub­
                                                                       calculates the mean blood pressure on the basis of the
      tracting the body movement analysis data from the
                                                                       waveform of cardiac-position arterial pressure; and
      pulse wave analysis data to yield body movement-
      eliminated pulse wave analysis data; and                      wherein the pulse pressure calculating section calculates
                                                                       the pulse pressure on the basis of the waveform of
   an auto-correlation calculating means for calculating
                                                              55       cardiac-position arterial pressure.
      auto-correlation data giving auto-correlation of the
                                                                    According to the invention, the waveform of arterial
      body movement-eliminated pulse wave an시ysis data in
                                                                 pressure detected by the arterial pressure waveform detect­
      a given frequency zone; and
                                                                 ing section is converted into the waveform of cardiac­
   a pulse condition data yielding means for yielding pulse      position arterial pressure, which is a waveform of arterial
      condition data giving the type of pulse waveform on the 60 pressure at a position corresponding to the altitude of an
      basis of the auto-correlation data.                        artery, by the blood pressure conversion section. Then,based
  (27) A pulse wave examination apparatus according to the       on the waveform of cardiac-position arterial pressure, the
present invention comprises:                                     mean blood pressure calculating section calculates the mean
   a pulse wave detecting means for detecting a pulse            blood pressure and the pulse pressure calculating section
      waveform from the detecting position of a living body; 65 calculates the pulse pressure. At least either one of the mean
   a wavelet transformation means for performing wavelet         blood pressure and the pulse pressure in an artery at a
      transformation of the pulse waveform detected by the       position corresponding to the altitude of an artery can be
                                                                   61



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monitored using the waveform of arterial pressure detected             According to the invention, the pulse waveform monitor
by the arterial pressure waveform detecting section.                can calculate a dicrotic wave height on the basis of the
   (32) The blood pressure monitor according to (30) or (3f),       waveform of arterial pressure obtained by continuously
preferably further comprises:                                       measuring blood pressure in an artery by using the arterial
   a blood pressure-judging information storing section for 5 pressure waveform detecting section.
      storing blood pressure-judging information in advance;           (37) The pulse waveform monitor according to (36),
                                                                    preferably further comprises a dicrotic pressure difference
      and
                                                                    ratio calculating section for calculating, based on the wave­
   a blood pressure judging section for judging blood pres­         form of arteri시 pressure, the ratio of a dicrotic pressure
      sure on the basis of at least either one of the mean blood    difference, which is a pressure difference between blood
     pressure and the pulse pressure and on the blood 10 pressure at a dicrotic notch and a minimum blood pressure,
     pressure-judging information.                                  to a pulse pressure which is a pressure difference between a
   According to the invention, the blood pressure monitor           maximum blood pressure and a minimum blood pressure.
can determine whether the blood pressure is high, low, or              According to the invention, the pulse waveform monitor
normal on the basis of at least either one of the resulting         can c시culate a dicrotic wave height and the ratio of a
                                                                 15
mean blood pressure and pulse pressure and on the blood             dicrotic pressure difference on the basis of the waveform of
pressure-judging information stored in advance.                     arterial pressure obtained by continuously measuring blood
   (33) The blood pressure monitor according to any one of          pressure in an artery by using the arterial pressure waveform
(30) and (32), preferably further comprises an output section       detecting section.
for outputting at least one piece of information correspond­           (38) The pulse waveform monitor according to (37),
                                                                 20
ing to the mean blood pressure, to the pulse pressure and to        preferably further comprises a mean blood pressure-pulse
the blood pressure judgment.                                        pressure ratio calculating section for calculating, based on
   According to the invention, at least one piece of infor­         the waveform of arterial pressure, the ratio of the mean
mation corresponding to the mean blood pressure, to the             blood pressure to pulse pressure which is a pressure differ­
pulse pressure and to the blood pressure judgment can be            ence between a maximum blood pressure and a minimum
output by the output section in the form of, for instance, 25 blood pressure.
numerals, graphs or voltages.                                          According to the invention, the pulse waveform monitor
   (34) A blood pressure monitor according to the present           can calculate a dicrotic wave height, the ratio of a dicrotic
invention comprises:                                                pressure difference, and the mean blood pressure-pulse
   an arterial pressure waveform detecting section for con­         pressure ratio on the basis of the waveform of arterial
                                                                 30
      tinuously measuring blood pressure in an artery to            pressure obtained by continuously measuring blood pressure
      detect a waveform of arterial pressure; and                   in an artery by using the arterial pressure waveform detect­
   a pulse pressure calculating section for c시culatmg pulse         ing section.
     pressure, which is a pressure difference between a                (39) The pulse waveform monitor according to (38),
      maximum blood pressure and a minimum blood 35 preferably further comprises a blood pressure conversion
     pressure, on the basis of the waveform of arterial             section for converting the waveform of arterial pressure
     pressure.                                                      detected by the arteri시 pressure waveform detecting section
   According to the invention, the pulse pressure can be            into the waveform of cardiac-position arterial pressure
monitored using the waveform of arterial pressure detected          which is a waveform of arterial pressure at a position
by the arterial pressure waveform detecting section.             40
                                                                    corresponding to the altitude of a heart;
   (35) The blood pressure monitor according to (34), pref­            wherein the dicrotic wave height calculating section
erably further comprises:                                                 calculates, based on the waveform of cardiac-position
   a maximum blood pressure calculating section for calcu­                arteri시 pressure, a dicrotic wave height which is a
      lating a maximum blood pressure on the basis of the                 pressure difference in blood pressure between a dicrotic
     pulse pressure; and                                         45       notch and a peak of a dicrotic wave;
   a minimum blood pressure calculating section for calcu­             wherein the dicrotic pressure difference ratio c시culating
      lating a minimum blood pressure on the basis of the                 section calculates, based on the cardiac-position arterial
     pulse pressure and the maximum blood pressure.                       pressure, the ratio of a dicrotic pressure difference,
   According to the invention, the maximum blood pressure                 which is a pressure difference between blood pressure
c시culating section determines a maximum blood pressure 50                 at a dicrotic notch and a minimum blood pressure, to a
by making use of the fact that the maximum blood pressure                 pulse pressure which is a pressure difference between a
can be given by a linear function of pulse pressure. Also,                maximum blood pressure and a minimum blood pres­
since the pulse pressure is a pressure difference between a               sure; and
maximum pressure and a minimum pressure, the minimum                   wherein the mean blood pressure-pulse pressure ratio
blood pressure calculating section can determine a minimum 55             calculating section calculates, based on the waveform
blood pressure if a maximum blood pressure and pulse                      of arterial pressure, the ratio of the mean blood pressure
pressure are clarified.                                                   to a pulse pressure which is a pressure difference
   (36) A pulse waveform monitor according to the present                 between a maximum blood pressure and a minimum
invention comprises:                                                      blood pressure.
   an arterial pressure waveform detecting section for con­ 60         According to the invention, the waveform of arterial
      tinuously measuring blood pressure in an artery to            pressure detected by the arterial pressure waveform detect­
      detect a waveform of arterial pressure; and                   ing section is converted into the waveform of cardiac­
   a dicrotic wave height calculating section for c시culatmg         position arterial pressure, which is a waveform of arterial
      a dicrotic wave height which is a difference in blood         pressure at a position corresponding to the altitude of an
     pressure between a dicrotic notch and a peak of a 65 artery, by the blood pressure conversion section. Then, based
      dicrotic wave which are obtained from the waveform of         on the cardiac-position arteri시 pressure, the dicrotic wave
      arteri시 pressure.                                             height calculating section calculates a dicrotic wave height,
                                                                      62



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the dicrotic pressure difference ratio c시culatmg section           ratio, and to the pulse waveform from the output section in
c시culates the dicrotic pressure difference ratio, and the          the form of, for instance, numerals, graphs or voltages.
mean blood pressure-pulse pressure ratio calculating section          (45) The pulse waveform monitor according to (38),
c시culates the mean blood pressure-pulse pressure ratio.            preferably further comprises an output section for outputting
Hence, using the waveform of arterial pressure detected by 5 at least one piece of information corresponding to the
the arterial pressure waveform detecting section, at least one     dicrotic wave height, to the dicrotic pressure difference ratio,
of the dicrotic wave height, dicrotic pressure difference ratio    to the mean blood pressure-pulse pressure ratio and to the
and mean blood pressure-pulse pressure ratio can be moni­          pulse waveform.
tored.                                                                According to the invention, the pulse waveform monitor
   (40) The pulse waveform monitor according to (36), 10 can output at least one piece of information corresponding to
preferably further comprises:                                      the dicrotic wave height, to the dicrotic pressure difference
   a pulse waveform-judging information storing section for        ratio, to the mean blood pressure-pulse wave ratio, and to the
      storing pulse waveform-judging information in                pulse waveform from the output section in the form of, for
      advance; and                                                 instance, numerals, graphs or voltages.
   a pulse waveform judging section for judging the wave­ 15          (46) A pulse waveform monitor according to the present
      form of a pulse wave on the basis of the dicrotic wave       invention comprises:
      height and the pulse waveform-judging information.              a pulse waveform detecting section for detecting the pulse
   According to the invention, the pulse wave judging sec­               waveform from a living body; and
tion can judge the pulse waveform on the basis of the                 a dicrotic pressure difference ratio calculating section for
dicrotic wave height and the pulse waveform-judging infor­ 20            calculating, based on the pulse waveform, the dicrotic
mation.                                                                  pressure difference ratio, which is a pressure difference
   (4f) The pulse waveform monitor according to (37),                    between a dicrotic pressure and a minimum pressure, to
preferably further comprises:                                            a pulse pressure which is a pressure difference between
   a pulse waveform-judging information storing section for              a maximum pressure and a minimum pressure.
                                                                25
      storing pulse waveform-judging information in                   This aspect differs from the aspect according to (36) in
      advance; and                                                 that the dicrotic pressure difference ratio calculating section
   a pulse waveform judging section for judging the pulse          does not need an absolute value of blood pressure to
      waveform on the basis of the dicrotic wave height, the       c시culate the ratio. In the aspect, therefore, the arterial
      dicrotic pressure difference ratio and the pulse 30 pressure waveform detecting section used in (36) may be
      waveform-judging information.                                replaced by a pulse wave detecting section for detecting only
   According to the invention, the pulse wave judging sec­         a pulse wave which is a waveform corresponding to that in
tion can judge the pulse waveform on the basis of the              (36).
dicrotic wave height, the dicrotic pressure difference ratio          (47) A pulse waveform monitor according to the present
and the pulse waveform-judging information.                        invention   comprises:
                                                                35
   (42) The pulse waveform monitor according to (38),                 a pulse waveform detecting section for detecting a pulse
preferably further comprises:                                            waveform from a living body; and
   a pulse waveform-judging information storing section for           a mean pressure-pulse pressure ratio c시culating section
      storing pulse waveform-judging information in                      for calculating, based on the pulse waveform, the ratio
      advance; and                                              40
                                                                         of the mean pressure to pulse pressure which is a
   a pulse waveform judging section for judging the pulse                pressure difference between a maximum pressure and a
      waveform on the basis of the dicrotic wave height, the             minimum pressure.
      dicrotic pressure difference ratio, the mean blood              This aspect differs from the aspect according to (f6) in
      pressure-pulse pressure ratio, and the pulse waveform­       that the mean blood pressure-pulse pressure ratio c시culating
     judging information.                                       45
                                                                   section does not need an absolute value of blood pressure to
   According to the invention, the pulse wave judging sec­         c시culate the ratio. In this aspect, therefore, the arterial
tion can judge the pulse waveform on the basis of the              pressure waveform detecting section used in (f6) may be
dicrotic wave height, the dicrotic pressure difference ratio,      replaced by a pulse wave detecting section for detecting only
the mean blood pressure-pulse wave ratio, and the pulse            a pulse wave which is a waveform corresponding to that in
waveform-judging information.                                   50
                                                                   (16).
   (43) The pulse waveform monitor according to (36),                 (48) A blood pressure monitor according to the present
preferably further comprises an output section for outputting      invention comprises:
at least one piece of information corresponding to the                an arterial pressure waveform detecting section for mea­
dicrotic wave height and to the pulse waveform.                          suring blood pressure in an artery continuously to
   According to the invention, at least one piece of infor­ 55           detect a waveform of arterial pressure;
mation corresponding to the information corresponding to              a mean blood pressure calculating section for calculating
the dicrotic wave height, and to the pulse waveform can be               the mean blood pressure on the basis of the waveform
output by the output section in the form of, for instance,               of arterial pressure; and
numerals, graphs or voltages.                                         a dicrotic wave height calculating section for calculating,
   (44) The pulse waveform monitor according to (37), 60                 based on the waveform of arterial pressure, the dicrotic
preferably further comprises an output section for outputting            wave height which is a difference in blood pressure
at least one piece of information corresponding to the                   between a dicrotic notch and a peak of a dicrotic wave.
dicrotic wave height, to the dicrotic pressure difference ratio       (49) A blood pressure monitor according to the present
and to the pulse waveform.                                         invention comprises:
   According to the invention, the pulse waveform monitor 65          an arterial pressure waveform detecting section for con­
can output at least one piece of information corresponding to            tinuously measuring blood pressure in an artery to
the dicrotic wave height, to the dicrotic pressure difference            detect a waveform of arterial pressure;
                                                                      63



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                              13                                                                  14
   a mean blood pressure calculating section for c시culatmg             a mean blood pressure-pulse pressure ratio c시culating
      the mean blood pressure on the basis of the waveform                section for calculating, based on the waveform of
      of arterial pressure; and                                           arterial pressure, the ratio of the mean blood pressure to
   a dicrotic pressure difference ratio calculating section for           a pulse pressure which is a pressure difference between
      calculating, based on the waveform of arterial pressure, 5          a maximum blood pressure and a minimum blood
      the dicrotic pressure difference ratio which is the ratio           pressure.
      of a dicrotic pressure difference, which is a pressure           (54) A pulse waveform monitor according to the present
      difference between blood pressure at a dicrotic notch         invention comprises:
      and a minimum blood pressure, to a pulse pressure
                                                                       an arterial pressure waveform detecting section for con­
      which is a pressure difference between a maximum 10
      blood pressure and a minimum blood pressure.                        tinuously measuring blood pressure in an artery to
  (50) A blood pressure monitor according to the present                  detect a waveform of arterial pressure; and
invention comprises:                                                   an ejection diastolic pressure calculating section for
   an arterial pressure waveform detecting section for con­               calculating, based on the waveform of arterial pressure,
      tinuously measuring blood pressure in an artery to                  ejection diastolic pressure which is a pressure differ­
                                                                 15
      detect a waveform of arterial pressure;                             ence between a systolic blood pressure and a dicrotic
   a mean blood pressure calculating section for c시culatmg                blood pressure.
      the mean blood pressure on the basis of the waveform             (55) The pulse waveform monitor according to (54),
      of arterial pressure; and                                     preferably further comprises:
   a mean blood pressure-pulse pressure ratio c시culatmg                a pulse waveform-judging information storing section for
      section for calculating, based on the waveform of 20                storing pulse waveform-judging information in
      arterial pressure, the ratio of the mean blood pressure to          advance; and
      a pulse pressure which is a pressure difference between
                                                                       a pulse waveform judging section for judging the pulse
      a maximum blood pressure and a minimum blood
      pressure.                                                           waveform on the basis of the ejection diastolic pressure
  (5f) A blood pressure monitor according to the present 25               and the pulse waveform-judging information.
invention comprises:                                                   (56) A pulse waveform monitor according to the present
                                                                    invention comprises:
   an arterial pressure waveform detecting section for mea­
      suring blood pressure in an artery continuously to               a pulse wave detecting section for detecting a pulse
      detect a waveform of arterial pressure;                             waveform from a living body; and
   a pulse pressure calculating section for c시culatmg pulse 30         an ejection diastolic pressure ratio calculating section for
      pressure, which is the pressure difference between the              calculating, based on the pulse waveform, the ratio of
      maximum blood pressure and the minimum blood                        ejection diastolic pressure, which is a pressure differ­
      pressure, on the basis of the waveform of arterial                  ence between systolic pressure and dicrotic pressure, to
      pressure; and                                                       pulse pressure which is a pressure difference between
                                                                 35       systolic pressure and diastolic pressure.
   a dicrotic wave height calculating section for calculating,
      based on the waveform of arterial pressure, the dicrotic         (57)   The pulse waveform monitor according to (56),
      wave height which is a difference in blood pressure           preferably further comprises:
      between a dicrotic notch and a peak of a dicrotic wave.          a pulse waveform-judging information storing section for
  (52) A blood pressure monitor according to the present                  storing pulse waveform-judging information in
                                                                 40       advance; and
invention comprises:
   an arterial pressure waveform detecting section for mea­            a pulse waveform judging section for judging the pulse
      suring blood pressure in an artery continuously to                  waveform on the basis of the ejection diastolic pressure
      detect a waveform of arterial pressure;                             ratio and the pulse waveform judging information.
   a pulse pressure calculating section for c시culatmg pulse 45         (58) A pharmacological action monitor according to the
      pressure, which is the pressure difference between the        present invention comprises:
      maximum blood pressure and the minimum blood                     an arterial pressure waveform detecting section for mea­
      pressure, on the basis of the waveform of arterial                  suring blood pressure in an artery continuously to
      pressure; and                                                       detect a waveform of arterial pressure; and and the
   a dicrotic pressure difference ratio calculating section for 50        pulse waveform judging information.
      calculating, based on the waveform of arterial pressure,         an ejection diastolic pressure calculating section for
      the dicrotic pressure difference ratio which is the ratio           calculating, based on the waveform of arterial pressure,
      of a dicrotic pressure difference, which is a pressure              ejection diastolic pressure which is a pressure differ­
      difference between a dicrotic blood pressure and a                  ence between systolic blood pressure and dicrotic blood
      minimum blood pressure, to a pulse pressure which is 55             pressure.
      a pressure difference between a maximum blood pres­              (59) The pharmacological action monitor according to
      sure and a minimum blood pressure.                            (58), preferably further comprises a dicrotic wave height
  (53) A blood pressure monitor according to the present            calculating section for calculating, based on the waveform of
invention comprises:                                                arterial pressure, a dicrotic wave height which is the blood
   an arterial pressure waveform detecting section for mea­ 60 pressure difference between a dicrotic notch and a peak of a
      suring blood pressure in an artery continuously to            dicrotic wave.
      detect a waveform of arterial pressure;                          (60) A pharmacological action monitor according to the
   a pulse pressure calculating section for c시culatmg pulse         present invention comprises:
      pressure, which is the pressure difference between the           a pulse wave detecting section for detecting a pulse
      maximum blood pressure and the minimum blood 65                     waveform from a living body; and
      pressure, on the basis of the waveform of arterial               an ejection diastolic pressure ratio calculating section for
      pressure; and                                                       calculating the ejection diastolic pressure ratio which is
                                                                      64



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      the ratio of the ejection diastolic pressure, which is a         FIG. 23 is a flow chart showing the action of a pulse wave
      pressure difference between systolic pressure and             examination apparatus of the fourth embodiment.
      dicrotic pressure, to a pulse pressure which is a pressure       FIG. 24 is a block diagram showing the electrical struc­
      difference between the diastolic pressure and the sys­        ture of a pulse wave examination apparatus of a fifth
      tolic pressure.                                            5 embodiment.
   (61) The pharmacological action monitor according to                FIG. 25 is a block diagram showing the electrical struc­
(60), preferably further comprises a dicrotic wave height           ture of a pulse wave examination apparatus of a sixth
calculating section for calculating, based on the pulse             embodiment.
waveform, a dicrotic wave height ratio which is the ratio of           FIG. 26 is a view showing pulse wave analysis data
a dicrotic wave height, which is the difference in pressure lo during a partial period in a pulse waveform.
between a dicrotic notch and a peak of a dicrotic wave, to             FIG. 27 is a timing chart for describing the action of a
pulse pressure which is a pressure difference between sys­          body movement eliminating section according to the sixth
tolic pressure and diastolic pressure.                              embodiment.
                                                                       FIG. 28 is a view showing amended data MKDa of a pulse
       BRIEF DESCRIPTION OF THE DRAWINGS                         任
                                                                    wave during the period Tc in the sixth embodiment.
   FIG. 1 is a block diagram showing the structure of a pulse          FIG. 29 is a view showing body movement-amended data
wave examination apparatus of a first embodiment.                   TKDa during the period Tc in the sixth embodiment.
   FIG. 2 is a flow chart for describing the action of the pulse       FIG. 30 is a view showing body movement-eliminating
wave examination apparatus of the first embodiment.                 pulse wave data MKDaj excluding a body movement com­
   FIG. 3 is a block diagram showing the 마ructure of a pulse        ponent in the sixth embodiment.
wave examination apparatus of a second embodiment.                     FIG. 31 is a block diagram showing the electrical struc­
   FIG. 4 is a block diagram showing an example of the              ture of a pulse wave examination apparatus of a seventh
structure of a wavelet transformation section of the second         embodiment.
embodiment.                                                       -    FIG. 32 is a block diagram of a body movement elimi­
                                                                 25
   FIG. 5 is a block diagram showing the structure of a             nating section of the seventh embodiment.
waveform shaping section of the second embodiment.                     FIG. 33 is a view showing an example of body
   FIG. 6 is a timing chart showing the action of the               movement-eliminated pulse wave data of the seventh
waveform shaping section of the second embodiment.                  embodiment.
   FIG. 7 is a view for describing the action of a tidal 30            FIG. 34 is a block diagram showing the electrical struc­
wave/dicrotic wave detecting section of the second embodi­          ture of a pulse wave examination apparatus of an eighth
ment.                                                               embodiment.
   FIG. 8 is a view showing an electrocardiographic                    FIG. 35 is a block diagram of a first wavelet conversion
waveform, a waveform of arterial pressure and a waveform            section of the eighth embodiment.
of blood pressure at a peripheral part in correspondence to 35         FIG. 36 is a block diagram showing the electrical struc­
each other.                                                         ture of a pulse wave examination apparatus of a ninth
   FIG. 9 is a view for describing the relationship between         embodiment.
pulse waveform and waveform parameters.                                FIG. 37A is a view showing the condition of a wrist
   FIG. 10 is a view showing the relationship between a             watch-type pulse wave examination apparatus which is
difference in blood pressures (75-74) and a distortion rate d.      installed.
   FIG. 11 is a view showing the result of frequency analysis          FIG. 37B is a view showing a pulse wave detecting
of a Hua mai.                                                       section of a wrist watch-type pulse wave examination appa­
                                                                    ratus.
   FIG. 12 is a view showing the result of frequency analysis
                                                                       FIG. 37C is a view showing a connector section
of a Ping mai.
                                                                    assembled in the body section of a wrist watch-type pulse
   FIG. 13 is a view showing the result of frequency analysis       wave examination apparatus.
of a Xuan mai.
                                                                       FIG. 38 is a view showing an example of the structure of
   FIG. 14 is a table showing the amplitudes of a tidal wave        a pulse wave detecting section.
and dicrotic wave for each pulse condition.
                                                                       FIG. 39A is a view showing the outward appearance of a
   FIG. 15 is a table showing a harmonic component of each 50 pulse wave examination apparatus when it is made into
pulse condition.                                                    another wrist watch type.
   FIG. 16 is a view showing a coefficient of autocorrelation          FIG. 39B is a view showing the condition of the installed
of a Xuan mai.                                                      pulse wave examination apparatus shown in FIG. 39A.
   FIG. 17 is a view showing a coefficient of autocorrelation          FIG. 40 is a view showing the outward appearance of the
of a Ping mai.                                                      structure of the pulse wave examination apparatus when it is
   FIG. 18 is a view showing a coefficient of autocorrelation       made into a necklace type.
of a Hua mai.                                                          FIG. 41 is a view showing the condition in which a pulse
   FIG. 19 is a block diagram showing the electrical struc­         wave detecting section of the pulse wave examination
ture of a pulse wave examination apparatus of a third 间 apparatus shown in FIG. 40 is attached around the carotid
embodiment.                                                         arteries.
   FIG. 20 is a flow chart showing the action of the pulse             FIG. 42 is a view showing the outward appearance of the
wave apparatus of the third embodiment.                             structure of a pulse wave examination apparatus when it is
   FIG. 21 is a block diagram of a pulse condition data             made into a eyeglass type.
yielding section according to a fourth embodiment.               65    FIG. 43 is a view showing the outward appearance of the
   FIG. 22 is a view showing the rate of variation in               structure of a pulse wave examination apparatus when it is
autocorrelation data of a typical pulse waveform.                   made into a card type.
                                                                     65



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   EIG. 44A is a view showing the ontward appearance of                    BEST MODE EOR CARRYING OUT THE
the structure of a pulse wave examination apparatus when it                                 INVENTION
is made into a passometer type.
                                                                                        1. First Embodiment
   FIG. 44B is a view showing the condition of the inst시led
pulse wave examination apparatus shown in FIG. 44A.            5     A pulse wave examination apparatus according to a first
   FIG. 45A is a view showing the pulse waveform of a             embodiment of the present invention will be described
typical Ping mai.                                                 below.
                                                                  f .f Theoretical Basis for the First Embodiment
   FIG. 45B is a view showing the pulse waveform of a
                                                                     Needless to say, the heart ejects blood by repeated con-
typical Hua mai.
                                                               10 tractions and dilatations. Here, the time of causing blood to
   FIG. 45C is a view showing the pulse waveform of a             flow from the heart by a contraction/dilatation in one cycle
typical Xuan mai.                                                 is called ''ejection time^^. When the pulse rate, which is the
   FIG. 46 is a view showing the relationship between             number of contractions of the heart per unit time, is
distortion rate and the pulse waveform.                           increased by, for instance, exercise, a catecholamine, e.g.,
   FIG. 47 is an explanatory view showing a structure used 15 adrenaline, is liberated, with the result that the ejection time
to record a waveform of arterial pressure in the arteria          tends to be short. This implies an increase in the contraction
radialis to show a theoretical basis for a tenth embodiment.      force of the heart muscle.
   FIG. 48 is a graph showing a typic시 waveform of arterial          With increased ejection time, the output of blood by the
pressure.                                                         contraction/dilatation in one cycle tends to increase.
   FIG. 49 is a graph of experimental results obtained using 20      Meanwhile, when a person exercises, it is necessary to
the structure shown in FIG. 47, showing the relationship          supply much oxygen to the heart muscle, the skeletal muscle
between the mean blood pressure and diastolic blood pres­         and the like, hence the product of the pulse rate and the
sure.                                                             output, that is, the flow rate of blood (per unit time) ejected
   FIG. 50 is a graph of experimental results obtained using      from the heart increases. As a result of the increased pulse
the structure shown in FIG. 47, showing the relationship 弟 rate, the ejection time is short and the output is small.
between the mean blood pressure and systolic blood pres­          However, since the rate of increase in the pulse rate exceeds
sure.                                                             the rate of decrease in the output, the product of the pulse
                                                                  rate and the output increases on the whole.
   FIG. 51 is a graph of experimental results obtained using
                                                                     Next, description of the relationship between the move­
the structure shown in FIG. 47, showing the relation아up
                                                                  ment of the heart and the waveform of the blood pressure
between pulse pressure and systolic blood pressure.
                                                                  will be given. In the electrocardiogram shown in FIG. 8,
   FIG. 52 is a block diagram showing a blood pressure            generally the period from the R point to the terminal point
monitor of a tenth embodiment.                                    U of the T wave is said to be "a ventricular systole^^, which
   FIG. 53 is a graph showing the distribution of the dicrotic    corresponds to the foregoing ejection time. The period from
wave height ABP^^ for each pulse waveform to show a 35 the U point to the next R point is said to be "a ventricular
theoretical basis for an eleventh embodiment.                     diastole^^. In the ventricular systole, a ventricular contraction
   FIG. 54 is a graph showing the relationship between a          does not take place uniformly but proceeds at a slow pace as
dicrotic pressure difference ratio BP^^yABP and a dicrotic        it spreads from the outside to the inside. Because of this, the
wave height ABP^^ to show a theoretical basis for the             waveform of the blood pressure at the proximal portion of an
eleventh embodiment.                                           40 aorta has an upwardly convex form as shown in FIG. 8 in the

   FIG. 55 is a graph showing the relationship between an         ventricular systole ranging from the opening to the closing
ejection diastolic pressure ABPp and a dicrotic wave height       of the aortic valve.
△BIら to show a theoretical basis for the eleventh embodi­            The waveform of the blood pressure at the periphery
ment.                                                             (arteria radialis) corresponding to such a blood waveform at
   FIG. 56 is a block diagram showing the structure of a 45 the proximal portion of an aorta, that is, the pulse waveform
pulse waveform monitor of the eleventh embodiment.                at the periphery is as shown in FIG. 8. The reason why such
   FIG. 57 is a block diagram showing the structure of a          a waveform is formed is considered that a first wave called
pharmacological action monitor of the twelfth embodiment.         an "ejection wave^^ occurs by the ejection of blood from the
   FIG. 58 is a block diagram showing a modification in           heart, a second wave called a "tidal wave^^ successively
which a wavelet transformation section comprises a filter " occurs due to a reflex at furcations of the blood vessel close
bank.                                                             to the heart, and a third wave c시led a "dicrotic wave^^ then
                                                                  occurs due to the occurrence of a dicrotic notch concomitant
   FIG. 59 is a block diagram showing a modification in
                                                                  with the closing of the aortic valve.
which an inverse wavelet transformation section comprises
                                                                     In the pulse waveform, therefore, the range from the point
a filter bank.
                                                                  at which the blood pressure reach a minimum to the dicrotic
   FIG. 60 is a face chart showing a modification of notifi­      notch corresponds to the ventricular systole, and the range
cation.                                                           from the dicrotic notch to the point at which the blood
   FIG. 61 is a view showing an example of a transmission­        pressure reaches a minimum in the next cycle corresponds to
type photoelectric pulse wave sensor in a modification.           the ventricular diastole.
   FIG. 62 is a view showing a modification in which a g〇            Here, the point corresponding to the opening of the aortic
photoelectric pulse wave sensor is applied to a pair of           V시ve in the pulse waveform is the minimum minim시 point
eyeglasses.                                                       of blood pressure. Also, the point, specifically, the dicrotic
   FIG. 63 is a graph showing a variation in the pressure of      notch, corresponding to the closing of the aortic valve is the
each portion in arterial pressure waveform with administra­       third minim시 point from the minimum minimal point view-
tion of an antihypertensive agent.                             65 ing from time series and the second minimal point from the
   FIG. 64 is a view showing arterial waveforms before and        minimum mnum시 point viewing from the magnitude of the
after administration of an antihypertensive agent.                blood pressure.
                                                                      66



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   Incidentally, the waveform of the peripheral blood pres­       harmonic component to a fundamental wave component.
sure shown in FIG. 8, namely, the pnlse waveform actually         FIGS. 11, 12 and 13 show the results of analysis of a Hua
exhibits time delay with respect to the waveform of aortic        mai, Ping mai and Xuan mai respectively.
blood pressure. However, in the figure, this time delay is           In FIGS. 11 to 13, fl, f2, f3,, flO indicate the amplitudes
neglected for the sake of simplicity and these phases are 5 and phases of a fundamental wave, second harmonic, third
made to be uniform.                                               harmonic, . . . , tenth harmonic respectively. The waveform
   Next, the waveform of peripheral blood pressure, namely,       wfl is the sum of the fundamental wave fl and the second
the pulse waveform will be discussed. The pulse wave form         harmonic f2, waveform wf2 is the sum of the fundamental
detected at the peripheries of a subject is the so-called         wave fl to the third harmonic, . . . , and the waveform wf9
pattern of the pressure wave of blood which propagates ］〇 is the sum of the fundamental wave fl to the tenth harmonic
through a closed system consisting of the heart as a pulsatile    flO.
pump and the blood circulatory system as a conduit. Hence,           Here, comparing the original waveform shown in FIG. 11,
first, the pulse wave form is regulated by the pumping            whose pulse condition was judged to be a Hua mai by the
function of the heart, namely, by the condition of a cardiac      speci시ist, with the original waveform shown in FIG. 12,
function. Second, the pulse wave form is affected, for 任 whose pulse condition was judged to be a Ping mai by the
example, by the diameter of a blood vessel, contraction/          specialists, it is understood that both closely resemble one
dilatation of a blood vessel, and viscous resistance of blood.    another but the height of the dicrotic notch is lower in a Hua
It is considered that if the pulse waveform is detected to        mai than in a Ping mai and the amplitude of the dicrotic
analyze it, the condition of the cardiac function of the          wave is larger in a Ping mai than in a Hua mai. When
subject as well as the aortic condition of the subject can be     attention is given to the synthesized waveform, it is under­
evaluated. It may be understood that specialists in Oriental      stood that each original waveform of the dicrotic waves of
medicine diagnose a living condition by the features of           a Hua mai and Ping mai is almost reproduced by the
pulsation.                                                        waveform wf3 which is the sum of the fundamental wave fl
   Now, a discussion will follow in which a portion is            to the third harmonic f4.
analyzed in the pulse waveform.                                25     On the other hand, in a Xuan mai as shown in FIG. 13, it
   First the inventors of the present invention selected the      is understood that the original waveform of the tidal wave is
parameters shown in FIG. 9 as those which determine the           almost reproduced by the waveform wf6 which is the sum of
features of the pulse waveform. Specifically, the selected        the fundamental wave fl to the seventh harmonic f7.
parameters are as follows:                                           FIG. 14 shows the amplitudes of the dicrotic wave and the
   (f) a time tg between a peak point PO (the minimum 为 tidal wave in the pulse waveform representing the pulse
      minimal point) of the ascending slope of one beat, at       condition which is described in FIGS. 11 to 13. The ampli­
      which point the value of the blood pressure in the pulse    tudes of the dicrotic waves are relatively as high as 7.3
      waveform reaches a minimum, and a peak point P6 of          mmHg and fO.6 mmHg in a Hua mai and in a Ping mai
      the ascending slope of the next pulse;                      respectively whereas the amplitude of the dicrotic wave in a
   (2) the values of the blood pressure (difference)も to y§ 35 Xuan mai is as sm시1 as 2.9 mmHg. The amplitudes of the
      at a peak points (maximal points and minim시 points)         tidal waves in a Hua mai and in a Ping mai are 〇 whereas the
      which appear sequentially in the pulse wave form; and       amplitude of the tidal wave in a Xuan mai is 3.8 mmHg.
   (3) time passages し to tg from the peak point PO (the             From these facts, in a Hua mai and Ping mai, each dicrotic
      minimum minimal point) at the pulse wave starting           wave has specific characteristics which are observed in the
      point to the point at which each of peak points Pl to P5 40 fundamental wave fl to the fourth harmonic f4. In a Xuan
      appear respectively.                                        mai, the tidal wave has specific characteristics which are
   In this case, each of y^ to yg denotes a relative value of     observed in high frequency components, e.g., the fifth
blood pressure by setting the value of the blood pressure at      harmonic f5 to the seventh harmonic f7.
a peak point PO as a datum.                                          Next, FIG. 15 shows the percentage ratio of the amplitude
   The inventors of the present invention actually detected 45 of each harmonic to the amplitude of the fundamental wave
the pulse waves of'74 healthy adults between the ages of 22       for every pulse condition. Here, when attention is given to
and 46. The waveform parameters of these pulse waves were         the ratio of the sum of the second harmonic f2, the third
c시culated while each pulse waveform was subjected to FFT          harmonic f3, and the fourth harmonic f4 to the fundamental
treatment as in the aforementioned PCT/JP96/0f254 to              wave fl in terms of amplitude, namely, (f2+f3+f4)/fl, this is
c시culate the distortion rate d of the pulse waveform by using 50 f .74 in a Hua mai and f .5 in a Ping mai. It is therefore
the foregoing equation (f).                                       possible to discriminate between a Hua mai and a Ping mai
   Then the inventors of the present invention investigated       on the basis of these values. When attention is given to the
the correlation between the calculated distortion rate d and      ratio of the sum of the fifth harmonic f5, sixth harmonic f6,
each waveform parameter or the differences between these          and seventh harmonic f7 to the fundamental wave fl in
parameters separately. As a result, it was clarified that the 55 terms of amplitude, namely, (f5+f6+f7)/fl, this is 0.36 in a
distortion rate d had a high correlation with the pressure        Hua mai, 0.26 in a Ping mai and 0.42 in a Xuan mai. It is
differences (yg-y4)in the values of blood pressure, which         therefore possible to discriminate between a Xuan mai and
difference was the amplitude of a dicrotic wave from the          other pulses on the basis of these values.
dicrotic notch, with the coefficient of correlation (R^) being    f .2 Structure of the Pulse Wave Examination Apparatus
0.77. This correlation is shown in FIG. 10.                    60    The pulse wave examination apparatus according to this
   From this fact, the inventors of the present invention made    embodiment is structured based on the theoretical basis as
the following an시ysis on the hypothesis that specialists in       described above. In the pulse wave examination apparatus,
Oriental medicine sensed the features of the dicrotic wave        the pulse wave forms detected from subjects are treated by
and tidal wave to diagnose the pulse condition.                   frequency analysis to extract a tidal wave component and a
   In this analysis, each pulse waveform which was judged 65 dicrotic wave component thereby judging the pulse condi­
for the pulse condition by speci시ists in Oriental medicine        tion on the basis of the results of the extraction. Incidentally,
was subjected to FFT treatment to c시culate the ratio of each      the external structure of the pulse wave examination appa­
                                                                      67



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ratus will be described later in the section "10. External        and body movement component eliminating section 30 are
strnctnres of aforementioned embodiments^^.                       suspended. In this case, the pulse waveform MH is output
   FIG. 1 is a block diagram showing the functional structure     directly from the body movement component eliminating
of the pulse wave examination apparatus according to this         section 3〇. This can improve the SN ratio of the output
embodiment. In this figure, a pulse wave detecting section 5 signal from the body movement component eliminating
10 detects the pulse waveform of, for instance, the periphery     section 30 and reduce power consumption in the apparatus.
(e.g., arteria radialis) of a subject, to output the detected         Next, an FFT treating section 40 provides the signal MHj,
signal as MH to a body movement eliminating section 3〇.           showing a pulse wave component, with FFT treatment to
   A body movement detecting section 20 comprises, for            carry out frequency analysis of the pulse wave component.
instance, an acceleration sensor and detects the body move­ 10 The result of the frequency analysis can be obtained in the
ment of a subject to output the detected signal as a signal TH    form of a plurality of line spectrums. Then the frequency and
to a waveform treating section 21. The waveform treating          the energy level of every line spectrum are calculated. Fhe
section 21 comprises, for instance, a low-pass filter, and        FFT treating section 40 compares this spectrum data and
performs waveform-shaping treatment of the signal TH              specifies one having the highest energy level as the funda-
output from the body movement detecting section 20 to 15 ment시 wave fl of the pulse wave component. The FFT
output a signal MHt showing a body movement component.            treating section 40 also multiplies the frequency of the
The body movement eliminating section 30 subtracts the            fundamental wave fl integral-fold to specify each harmonic,
signal MHt showing a body movement component from the             and outputs pulse wave an시ysis data MKD showing each
signal MH output from the pulse wave detecting section 10         energy level of the fundamental wave fl and of the second
to output a signal MHj showing a pulse wave component. 20 harmonic f2 to the tenth harmonic flO .
   The pulse wave examination apparatus according to this             In succession, a tidal wave-character extracting section 50
embodiment is a type treating the pulse waveform detected         yield a tidal wave-character data TWD showing the char­
from a subject. In general, when the subject itself carries       acteristics of the tidal wave on the basis of the pulse wave
some movement, in addition to the signal MHj showing a            analysis data MKD. As outlined above, the characteristics of
pulse wave component, the signal MHt showing a body 25 the tidal wave can be expressed by the ratio of the sum of the
movement component is superimposed on the signal MH               fifth harmonic f5, the sixth harmonic f6, and the seventh
detected by the pulse wave detecting section 10. For this,        harmonic f7 to the fundamental wave fl in the pulse
MH=MHt+MHj and hence the signal MH output from the                waveform. Hence the tidal wave-character extracting section
pulse wave detecting section 10 does not show the exact           50 yields the tidal wave-character data TWD according to
pulse waveform of the subject.                                 30 the following equation:
   Meanwhile, since the blood flow is affected by, for
instance, blood vessels and organizations, the body move­                 TWD=(f5+f6+f7)/fl
ment component MHt included in the signal MH is not
                                                                      Then, a dicrotic wave-character extracting section 60
considered to be just the signal TH showing the body
                                                                  yields dicrotic wave-character data DWD showing the char­
movement of the subject but is considered to be somewhat 35
                                                                  acteristics of the dicrotic wave. As outlined above, the
dulled.
                                                                  characteristics of the dicrotic wave can be expressed by the
   Because of this, the body movement eliminating section
                                                                  ratio of the sum of the second harmonic f2, the third
30 uses, as the signal MHt, a signal produced by shaping the
                                                                  harmonic f3, and the fourth harmonic f4 to the fundamental
waveform of the signal TH in the waveform treating section
                                                                  wave fl in the pulse waveform. Hence the tidal wave­
2丄.rhe signal TH shows the body movement of the subject 40
                                                                  character extracting section 60 yields the dicrotic wave­
directly and is output from the body movement detecting
                                                                  character data DWD according to the following equation:
section 2〇. The body movement eliminating section 30
subtracts the signal MHt from the signal MH output from the                DWD=(f2+f3+f4)/fl
pulse wave detecting section 10 to eliminate the influence of
the body movement, thereby outputting the signal MHj 45               Then, a pulse condition judging section 70 judges the
showing the pulse component. The type, number of stages,          pulse condition on the basis of the tidal wave-character data
constant, and the like of the low-pass filter used in the         TWD and the dicrotic waveYharacter data DWD to yield
waveform treating section 21 are determined based on the          pulse condition data ZD showing the type of pulse condition
data measured in practice.                                        of the subject. In more detail, first, the pulse condition
   In the meantime, when the body movement component 50 judging section 70 compares the tidal wave-character data
eliminating section 30 is made to operate for the elimination     TWD with a first threshold value to yield pulse condition
of the body movement component even if there is no body           data ZDl showing that the pulse condition is a Xuan mai if
movement, the noise of the body movement detecting sec­           the tidal wave-character data TWD exceeds the first thresh­
tion 20 causes a deterioration of the S/N ratio of the signal     old value. The first threshold value is prescribed in advance
output from the body movement component eliminating 55 so as to determine whether the tidal wave-character data
section 30, and power is consumed by the body movement            TWD shows a Xuan mai or not. In this instance, the first
eliminating operation. Hence, in this embodiment, a judging       threshold value is designed to be 0.4f.
section 22 is provided. The judging section 22 determines            When the tidal wave-character data TWD is less than the
whether body movement is present or not, based on the body        first threshold value, on the contrary, the dicrotic wave­
movement waveform TH, to yield a control signal C. 60 character data DWD is compared with a second threshold
Specifically, the judging section 22 makes a judgment by          value. If the dicrotic wave-character data DWD is less than
comparing a threshold value with the body movement                the second threshold value, pulse condition data ZD2 show­
waveform TH. The threshold value is prescribed in advance,        ing that the pulse condition is a Ping mai is yielded, whereas,
taking a noise level into consideration, so that whether the      if the dicrotic wave-character data DWD exceeds the second
body movement is present or not can be determined. Then, 65 threshold value, pulse condition data ZD3 showing that the
when the control signal C indicates that no body movement         pulse condition is a Hua mai is yielded. Here, the second
is present, the operations of the waveform treating section 21    threshold value is prescribed in advance so as to determine
                                                                     68



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whether the dicrotic wave-character data DWD shows a                 dicrotic wave. Thus the pulse condition can be judged
Ping mai or a Xuan mai. In this instance, the second                 objectively and accurately.
threshold value is designed to be 1.62.
    A notifying section 80 is a type which outputs pulse                                  2. Second Embodiment
condition data ZD by display or voice. For instance, the 5
                                                                        Next, a pulse wave examination apparatus according to a
notifying section 80 displays the characters “Hua mai, Ping
                                                                     second embodiment of the present invention will be
mai, Xuan mai^^ or symbols, e.g., icons. This allows the
                                                                     described.
subject and a third party, e.g., a doctor to recognize the pulse
condition.                                                              In the foregoing first embodiment, attention is paid to the
f .3 Action of the Pulse Wave Examination Apparatus.              lo
                                                                     fact that the Hua mai and the Ping mai are characterized by
    Next, the action of the pulse wave examination apparatus         the dicrotic wave, the Xuan mai is characterized by the tidal
of the first embodiment will be described with reference to          wave, and the pulse waveform is subjected to FFT treatment.
FIG. 2.                                                              Based on the result of the analysis, frequency components
    First, although a body movement component due to the             corresponding to the dicrotic wave and to the tidal wave are
movement of the subject is superimposed on the signal MH 15 respectively extracted to make a judgment on the basis of the
output from the pulse condition detecting section 10, the            extraction.
body movement component is eliminated by the body move­                 Now, in the frequency analysis by FFT treatment, if there
ment component eliminating section 30 and the signal MHj             is no data over a somewhat extended period, no analysis
showing only a pulse wave component is supplied to the               result can be obtained. In general FFT treatment, therefore,
FFT treating section 40 (Step SI and Step S2).                   20 the treatment is performed on a pulse waveform over several
    Next, in the FFT treating section 40, the signal MHj is          cycles.
subjected to FFT treatment to yield the fundamental wave fl             However, the dicrotic wave and the tidal wave appear in
of the pulse wave component and each of harmonics f2 to              a partial period in the pulse waveform. Accordingly, if the
flO as the pulse wave analysis data MKD, which is then               frequency analysis is carried out only in the periods corre­
supplied to the tidal wave-character extracting section 50 25 sponding to the dicrotic wave and tidal wave, the judgment
and the dicrotic-character extracting section 60 (Step S3).          accuracy for the pulse condition can be further improved.
    After this step, the tidal wave-character extracting section        As a consequence, in the second embodiment, the pulse
50 calculates the ratio of the sum of the fifth harmonic f5, the     waveform is treated using wavelet transformation perform­
sixth harmonic f6, and the seventh harmonic f7 to the                ing frequency an시ysis and time analysis simultaneously to
fundamental wave fl of the pulse waveform, which ratio 30 specify the pulse condition.
expresses the characteristics of the tidal wave, to yield the        2. f Whole Structure of the Pulse Wave Apparatus
tidal wave-character data TWD. The dicrotic wave-character              Next, the structure of the pulse wave examination appa­
extracting section 60 calculates the ratio of the sum of the         ratus according to the second embodiment is shown in FIG.
second harmonic f2, the third harmonic Ö, and the fourth             3. The pulse wave examination apparatus shown in FIG. 3
harmonic f4 to the fundamental wave fl of the pulse 35 is the same as the pulse wave examination apparatus shown
waveform, which ratio expresses the characteristics of the           in FIG. 1 except that a wavelet transformation section 41 is
dicrotic wave, to yield the dicrotic wave-character data             used in place of the FFT treating section 40, a tidal wave/
DWD (Step S4).                                                       dicrotic wave detecting section 42 which specifies the time
    After the characteristics of the tidal wave and dicrotic         positions of the tidal wave and dicrotic wave is installed, and
wave of the pulse waveform are extracted in this manner, the 40 the inner structures of a tidal wave-character extracting
pulse condition judging section 70, first compares the tidal         section 50, dicrotic wave-character extracting section 60 and
wave-character data TWD with a first threshold value (Step           pulse condition judging section 70 differ from those used in
S5). If the tidal wave-character data TWD exceeds the first          the first embodiment. The second embodiment will be
threshold value (0.4f), pulse condition data ZDl showing             hereinafter described mainly with respect to the different
that the pulse condition is a Xuan mai is yielded in Step S6. 45 points between the two embodiments.
    On the other hand, if the tidal wave-character data TWD          2.2 Wavelet Transformation Section
is less than the first threshold value (0.4f), the result of the        First, the structure of the wavelet transformation section
judgment in the Step 5 is "No" and a judgment on the pulse           41 will be described in detail with reference to the drawings.
condition will be made based on the dicrotic wave-character              Generally, in time/frequency analysis which picks up
data DWD in Step S6. In this case, the pulse condition 50 signals in terms of both time and frequency, a wavelet is a
judging section 70 determines whether the dicrotic wave­             unit which cuts out a part of the signal. The wavelet
character data DWD is less than a second threshold value             transformation signifies the magnitude of each part of the
(f.62) or not, and yields pulse condition data ZD2 showing           signal cut out by this unit. As a basic function to define the
that the pulse condition is a Ping mai if the dicrotic wave­         wavelet transformation, a function Tp(x) localized in terms of
character data DWD is less than the second threshold value 55 time and frequency is introduced as a mother wavelet. Here,
in Step S8. On the other hand, if the dicrotic wave-character        the wavelet transformation by the mother wavelet Tp(x) of a
data DWD exceeds the second threshold value (f.62), the              function f(x) is defined as follows:
result of the judgment in Step S7 is "NO" and pulse
condition data ZD3 showing that the pulse condition is a                                   广8 1   (x-b\                           (2)
Hua mai is yielded in Step S9.                                   60         (v勺/')(わ, の = J  ~コ= 어--- J/\*) 세X
    In the first embodiment, in this manner, attention is given
to the fact that specialists skilled in sphygmopalpation judge
the pulse condition on the basis of the tidal wave and dicrotic      where "b" is a parameter used when the mother wavelet Tp(x)
wave of the pulse waveform, and that the characteristics of          is translated and "a" is a parameter when the mother wavelet
the tidal wave and dicrotic wave appear on specific high 65 q)(x) is scaled (expansion). In the equation (2), the wavelet
harmonics and the pulse waveform is subjected to frequency           q)((x-b)/a) is formed when the mother wavelet q)(x) is
analysis to extract the characteristics of the tidal wave and        translated by "b" and expanded "a" times. In this case, the
                                                                       69



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width of the mother wavelet q)(x) is extended in relation to          Next, the basic function developing section W has a
the scale parameter “a". 1/a therefore corresponds to the          structure enabling the calculation of the foregoing equation
frequency. The wavelet transformation section 41 is strnc-         (2). The aforementioned clock sign시 CK is supplied to the
tnred so as to c시culate the equation (2). The detail of the        basic function developing section W and a calculation
structure is as shown in FIG. 4.                                 5 process is carried out at intervals of the period. The basic
    In FIG. 4, a signal MHj output from a body movement            function developing section W comprises a basic function
component eliminating section 30 is supplied to a waveform         storing section W1 for storing the mother wavelet q)(x), a
shaping section 400 and an A/D converter 41〇. The wave­            scale conversion section W2 for converting the scale param­
form shaping section 400 yields a control signal CS and a          eter a, a buffer memory W3, a translating section W4 for
clock CK which are synchronized with the pulse waveform
                                                                10 carrying out parallel translation, and a multiplication section
MHj.
                                                                   W5. It is noted that, as the mother wavelet q)(x) stored in the
    Here, a block diagram of the waveform shaping section
400 is 아lown in FIG. 5. In FIG. 5, a ringing filter 401 is a       basic function storing section Wl, a Gabor wavelet, Mexi­
filter with a high Q value with the center frequency being 2.2     can hut, Haar wavelet, Meyer wavelet. Shannon wavelet or
Hz and the passing band being 0.8 Hz to 3.5 Hz. Since the          the like may be applied and, in this embodiment, a mother
fundamental wave component of the pulse waveform is 15 wavelet called symlets 5 is used to advantageously extract
generally in a range between 0.8 Hz and 3.5 Hz, the                the characteristics of the pulse waveform.
fundamental wave component is extracted when the pulse                First, when the mother wavelet q)(x) is read out from the
waveform MHj passes through the ringing filter 401. For            basic function storing section Wl, the scale conversion
instance, as shown in FIG. 6, when the pulse waveform MHj          section W2 carries out the conversion of the scale parameter
is input to the ringing filter 401, its output is that shown as 20 “a". Here, the scale parameter "a" corresponds to the period.
401 out in FIG. 6.                                                 Hence when "a" is increased, the mother wavelet Tp(x) is
    Next, a zero-cross detecting circuit 402 comprises a           expanded on the time axis. In this case, because the data
comparator and the like and compares an output signal from         volume of the mother wavelet q)(x) which is stored in the
the ringing filter 401 with the ground level to yield a            basic function storing section W1 is fixed, the data volume
rectangular wave. The rectangular wave is synchronized 25 is reduced if "a" is increased. Fhe scale conversion section
with the pulsation. For instance, if the signal from the           W2 performs compensation treatment to compensate the
ringing filter 401 is that 아lown as "401 out^^ in FIG. 6, an       reduction in data and carries out curtailed treatment when
output signal from a zero-cross detecting circuit 402 is that      “a" is small to yield a function q)(x/a). This data is stored in
shown as "402 out^^ in the same figure.                            the buffer memory W3 once.
    Next, a comparing section 403, a loop filter 404, a voltage 30    Next, the translating section W4 reads out the function
control oscillation circuit 405, and a frequency divider 406       q)(x/a) from the buffer memory W3 with timing correspond­
comprise a phase lock loop. When an output signal from the         ing to the translate parameter b to translate the function
zero-cross detecting circuit 402 and an output signal from         q)(x/a) thereby yielding a function q)((x-b)/a).
the frequency divider 406 are supplied to one input port and          Then, a multiplication section W5 multiplies a variable
another input port of the comparing section 403 respectively, 35 l/a"2, by the function q)(x-b/a) and by the pulse wave data
the comparing section 403 outputs an error signal corre­           MD to undergo wavelet transformation at each beat to yield
sponding to a phase difference between the two output              the pulse wave analysis data MKD. In this embodiment, the
signals. When the error signal is supplied to the voltage          pulse wave analysis data MKD is divided into frequency
control oscillation circuit 405 via the loop filter 404, the       zones, for example, 〇 Hz-0.5 Hz, 0.5 Hz-1.0 Hz, 1.0 Hz-1.5
voltage control oscillation circuit 405 outputs a clock signal 40 Hz, 1.5 Hz-2.0 Hz, 2.0 Hz-2.5 Hz, 2.5 Hz-3.0 Hz, 3.0
CK. The clock signal CK is divided in f/N by the frequency         Hz-3.5 Hz, and 3.5 Hz-4.0 Hz and output.
divider 406 and is fed back to the other input port of the         2.3 Tidal Wave/dicrotic Wave Detecting Section
comparing section 403. For instance, if the dividing ratio is         Next, a tidal wave/dicrotic wave detecting section 42
f/8, the frequency of the clock signal CK becomes 8 times          compares the pulse wave analysis data MKD in a certain
the frequency of the output signal from the zero-cross 45 frequency zone with a threshold value to yield control
detecting circuit 402 as shown by "405 out CK^^ in FIG. 6.         signals ct and cd which specify the time positions of the tidal
The clock signal CK is then divided in half in a frequency         wave and dicrotic wave respectively.
divider 407 and output as a control signal CS as shown in             For instance, in the pulse waveform MHj shown in FIG.
FIG. 6.                                                            7, the tidal wave and the dicrotic wave are shown by tw and
    The pulse waveform MHj is also converted into a digital 50 dw respectively. When the wavelet transformation of this
signal by an A/D converter 410 shown in FIG. 4 and the             pulse waveform MHj is carried out, the result of wavelet
digit시 signal is then stored in a first memory 420 and a           analysis as shown in the same figure is obtained. In the result
second memory 43〇. Here, the control signal CS is supplied         of the analysis, the values of the pulse wave analysis data
directly to a write-enable termm시 of the first memory 42〇.         MKD is expressed by shading. The darker the color of the
The control signal CS is reversed by an inverter 440 and the 55 parts, the larger the values of the pulse wave analysis data
reversed signal is supplied to a write-enable terminal of the      MKD, whereas the lighter the color of the parts, the smaller
second memory 43〇. Hence, the fist and second memories             the values of the pulse wave analysis data MKD.
420, 430 store the pulse waveform MH alternately at inter-            It is seen from the figure that the zones A and B sur­
V시s of the period.                                                 rounded by the parts (white) with a small value for the pulse
    The symbol 450 represents a multiplexer which selects 60 wave analysis data MKD are located in a time-domain
the pulse wave data MD read out alternately from the first         corresponding to the tidal wave. The part having a small
and second memories 420, 430 to output the selected data to        value in terms of the pulse wave analysis data in the
a basic function developing section W. In this manner, the         direction of the Y or frequency axis shows that the energy of
pulse wave data MD is read out from the second memory              the pulse waveform MHj in its period is at a low level. In this
430 during the writing time of the first memory 420 and the 65 part, the pulse waveform MHj is flat. For instance, the
pulse wave data MD is written in the second memory 430             boundary between the zones A and B corresponds to a peak
during the reading time of the first memory 42〇.                   of the tidal wave tw.
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   If attention is paid to a certain freqnency zone, the time   transformation of the pulse waveform detected from the
position of the tidal wave tw can be detected based on its      subject. As a result, the characteristics of the tidal wave and
change. In this embodiment, a comparison of the value of the    dicrotic wave can be extracted with accuracy to thereby
pulse wave analysis data MKD in a frequency zone X with         make an exact judgment of the pulse condition.
a threshold value yields a control signal ct specifying the 5
time positions between tf and t2 of the tidal wave tw as                             3. Third embodiment
shown in FIG. 7. On the other hand, a comparison of the         3.f Principle of the Third Embodiment
value of the pulse wave an시ysis data MKD in a frequency            The pulse waveform expresses pulsation when the flow of
zone Y with a threshold value yields a control signal dw        blood pumped out to an aorta by the contraction of the heart
specifying the time positions between t3 and t4 of the tidal 10 is propagated through an artery and hence has a certain
wave tw as shown in FIG. 7.                                     period synchronized with the beat of the heart. Analyzing
2.4 Tidal Wave-character Extracting Section and Dicrotic        technics for analyzing a periodic waveform to extract its
Wave-character Extracting Section                               characteristics include a spectrum analysis represented by
   First, the tidal wave-character extracting section 50 speci­ EFT (Fast Fourier Transformation). The inventors of the
fies the time position of the tidal wave on the basis of the 15 present invention, however, remarked an autocorrelation
control signal ct and adds data in a specific frequency zone    function which can be dealt with by a simple calculation.
among the pulse wave analysis data MKD in the specified            If an irregular variation is represented by x(t) and x(t) has
period.                                                         a periodic variation on a period T, x(t) is given by the
   The wavelet transformation section 41 is, for instance,      following equation:
designed to be formed of a filter bank in which the charac­ 20              x(t)=x(t±nT)
teristics of a high frequency filter lA and low frequency
filter IB are varied by the clock signal CK synchronized             where n=〇, f, 2,....
with the pulse waveform MHj as will be mentioned later in               A waveform represented by the above equation overlaps
the section "14 Other embodiments^^ (6) with reference to            the origm시 waveform when it is shifted by an integral
FIG. 58. In this case, if the pulse wave analysis data 25 multiple of the period. If the irregular variation x(t) is
corresponding to the fundamental wave fl of the pulse                strongly periodical, the wave form becomes similar to the
waveform MHj is M*l, the parts showing the characteristics           original waveform when it is shifted on the time axis by
of the tidal wave appear on the fifth harmonic f5 to the             integral multiple of the period. The similarity of a waveform,
seventh harmonic f7 and hence the wavelet transformation             shifted by a certain time t, to the original waveform is
section 41 adds M*5, M*6 and M*7 to calculate the tidal 30 investigated and the correlation between x(t) and x(t+T)is
wave-character extracting data TWD.                                  desirably calculated to discriminate a periodic component in
    Next, the dicrotic wave-character extracting section 60          the variations. When the irregular variation as a function of
specifies the time position of the dicrotic wave on the basis        time is expressed by x(t), the autocorrelation function is
of the control signal cd and adds data in a specific frequency       defined as the average value of the product of two variations
zone among the pulse wave analysis data MKD in this 35 which are separated from each other by an interval of t
period.                                                              (time) and is given by the following equation:
    If the wavelet transformation section 41 is formed in such              C(T)=E[x(t)x(t+T)]
a structure, for instance, as in the description of the tidal
wave-character extracting section 50, and the pulse wave             where E is an ensemble average but may be replaced by the
analysis data corresponding to the fundamental wave fl of 40 time average in a stationary stochastic process. Thus, the
the pulse waveform MHj is M*l, the parts showing the                 autocorrelation function C(Tr) can be expressed as:
characteristics of the dicrotic wave appear on the second
harmonic f2 to the fourth harmonic f4 and hence the wavelet                             1 た/2                                    (3)
                                                                            C(r) = lim — I     x(r)x(r + r)Jr
transformation section 41 adds M*2, M*3and M*4 to cal­                             T* T J-TI2
culate the dicrotic wave-character extracting data DWD.           45
    In this manner, the tidal wave-character extracting section
50 and the dicrotic wave-character extracting section 60                Also, a value normalized by dividing the autocorrelation
extract the characteristics of the tidal wave and dicrotic           function C(t) by its value calculated when t=0 is c시led an
wave from the aspect of the time-domain as well as the               autocorrelation function coefficient R(t) which is given by
frequency zone by making clever use of the character of the 50 the following equation:
wavelet transformation which can divide the waveform into                   R(T)=C(T)/C(0)=E[x(t)x(t+T)]ZE[x2(t)]
a frequency zone and a time-domain to carry out waveform
analysis. The characteristics can be thereby extracted with             FIGS. 16 to 18 show the autocorrelation function coeffi­
high accuracy.                                                       cients of a Xuan mai shown in FIG. 45C, a Ping mai shown
2.5 Pulse Condition Judging Section and Notifying Section 55 in FIG. 45A, and a Hua mai shown in FIG. 45B respectively.
    Next, a pulse condition judging section 70 compares the          Comparing these figures, a waviness becomes visible in the
tidal wave-character extracting data TWD and the dicrotic            waveform of the autocorrelation coefficient R(t) as the pulse
wave-character extracting data DWD with each threshold               condition changes from a Xuan mai to a Hua mai via a Ping
value to judge the pulse condition, such as a Ping mai, Hua          mai. This corresponds to the fact that a Xuan mai has a
mai, or Xuan mai, to yield a pulse condition data ZD. A 60 smooth waveform, a Ping mai includes three peaks but these
notifying section 80 notifies the subject or a third party, e.g.,    peaks are small in size and a Hua mai include two large
a doctor, of the pulse condition data ZD by a display, voice         peaks. Stated in another way, the characteristics of each
or the like in the same way as in the first embodiment.              waveform are reflected in the autocorrelation coefficient
   According to the pulse wave examination apparatus of the          R(t). Moreover, the waveform of the autocorrelation coef­
second embodiment, as outlined above, the frequency com­ 65 ficient R(t) is obtained based on a pulse waveform formed
ponent can be analyzed in a limited period in which the tidal        over a relatively long period and hence the characteristics of
wave and the dicrotic wave appear by undergoing wavelet              the pulse waveform can be extracted with accuracy.
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    The instantaneous magnitude of the autocorrelation coef­      mai. On the other hand, as shown in FIGS. 17 and 18, the
ficient R(t) is, nnlike the instantaneons magnitude of the        minimum values of the autocorrelation coefScient R(t) are
pulse waveform, given as the time average. Therefore even         0.32 and 0.3 in a Ping mai and in a Hua mai respectively. The
if the SN ratio of the pulse waveform detected from a living      pulse condition is therefore judged to be a Xuan mai when
body is somewhat impaired, noises are averaged with the 5 the minimum value of the autocorrelation coefScient is less
result that the SN ratio is improved. Furthermore, the            than 0.25.
autocorrelation coefScient R(t) is formed by normalizing the         Next, the ratio of a period, in which the autocorrelation
autocorrelation function C(t) and is hence convenient for         R(t) is greater than 0.5, to a period of one beat is 60% or
analysis by comparing pulse waveforms having different            more in a Ping mai (see FIG. 17) and 34% in a Hua mai (see
amplitudes.                                                    10 FIG. 18). Therefore, the pulse condition may be judged to be
    From the aforementioned reason, the inventors of the          a Ping mai when this ratio exceeds 47% and to be a Hua mai
present invention determined a criteria specifying the pulse      when the ratio is less than 47%.
condition by making clever use of the character of the               The pulse condition data yielding section 220 judges the
autocorrelation coefScient R(t) and have found a pulse wave       pulse condition on the basis of the above judging criteria.
examination apparatus which judges the pulse condition of 15 The pulse condition data yielding section 220 comprises a
the living body according to the criteria.                        minimum value detecting section 221 and a first comparing
3.2 Electrical Structure of the Pulse Wave Examination            section 222 for detecting a pulse condition of a Xuan mai,
Apparatus                                                         a time measuring section 223, a calculating section 224 and
    Next, the electrical structure of the pulse wave examina­     a second comparing section 225 for detecting a pulse
tion apparatus will be described with reference to FIG. 19. 20 condition of a Ping mai or Hua mai and a data yielding
EIG. 19 is a block diagram showing the electrical structure       section 226 for yielding the pulse condition data ZD.
of the pulse wave examination apparatus.                             First, the minimum value detecting section 221 detects the
    The pulse wave examination apparatus 1 comprises the          minimum value of the autocorrelation data RD in a period
pulse wave detecting section 10 for detecting the pulse           corresponding to a period of one beat. The first comparing
waveform MH, an autocorrelation calculating section 210 25 section 222 determines whether the detected minimum value
for calculating autocorrelation data RD on the basis of the       is less than 0.25 or not and outputs the result of the judgment
pulse waveform MH, a pulse condition data yielding section        to the data yielding section 226.
220 for yielding the pulse condition data ZD on the basis of
                                                                     Then, the time measuring section 223 compares the
the autocorrelation RD and a display section 23〇.
                                                                  autocorrelation data RD with a prescribed threshold value
    First, the autocorrelation calculating section 210 com­ 30
                                                                  (0.5) and measures a time interval in which the autocorre­
prises a waveform treating section 211, a memory 212, a
                                                                  lation data RD exceeds the threshold value (0.5). The
multiplication section 213, an average value c시culatmg
                                                                  c시culating section 224 calculates the ratio of the measured
section 214 and a normalization calculating section 215. The
                                                                  time interval to a period of one beat. Incidentally, the period
memory 212 stores the pulse waveform MH in a period of
                                                                  of one beat is designed to be supplied from the aforemen­
at least one beat. Meanwhile, when it is intended to calculate 35
                                                                  tioned waveform treating section 211. The second compar­
the autocorrelation function C(t) according to the equation
                                                                  ing section 225 determines whether the calculated result
(3), it is necessary to integrate x(t)x(t+T)from -T/2 to T/2
                                                                  exceeds a prescribed threshold value (47%).
(T is infinite). But, considering the fact that x(t) in this
embodiment is the pulse waveform MH synchronized with                Next, the data yielding section 226 yields the pulse
the beat period, the calculation may be made based on the 40 condition data ZD on the basis of each result determined in
pulse waveform MH in a period of at least one beat. In this       the first and second comparing sections 222 and 225. First,
embodiment, therefore, the waveform shaping of the pulse          when the minimum value is judged to be less than 0.25 in the
waveform MH is carried out by the waveform treating               first comparing section 222, the pulse condition data ZDl
section 211, the shaped waveform is converted into a rect­        showing a Xuan mai is yielded. When the period in which
angular wave synchronized with the pulse wave period, and 45 the autocorrelation data RD exceeds 0.5 is judged to exceed
a write control signal WE for controlling the write action of     47% in the second comparing section 225, the pulse condi­
the memory 212 is yielded based on the rectangular wave.          tion data ZD2 showing a Ping mai results whereas when its
For instance, the pulse waveform MH in four periods is            period is judged to be less than 47%, the pulse condition data
written in the memory 212 by the write control signal WE.         ZD3 showing a Hua mai is obtained.
    Next, the multiplication section 213 read out a pulse 50         Next, the display section 230 comprises a ROM, a control
waveform MHl corresponding to x(t) and a pulse waveform           circuit, a liquid crystal display device and the like. When the
MH2 corresponding to x(t+T), multiplies the two and outputs       pulse condition data ZD is supplied to the display section
the result of the multiplication. The average value calculat­     230, the control circuit detects this, reads out characters
ing section 214 calculates the ensemble average of                stored in the ROM and displays these characters on the
MH1MH2 corresponding to the ensemble average of x(t)x 55 liquid crystal display. As the characters, specific symbols or
(t+T)and outputs the result of the calculation.                   icon as well as the characters “Ping mai", “Xuan mai" and
    Next, the normalization calculating section 215 normal­       “Hua mai" may be used. Fhe display section 230 makes it
izes the result, c시culated by the average value c시culatmg         possible to notify the user or a doctor of the physical
section 214, by the autocorrelation function C(0) to yield the    condition.
autocorrelation data RD. More specifically, the normaliza­ 60        The function of the pulse wave examination apparatus 1
tion is made by the ensemble average of X^(t), namely,            can be described in this manner. In the apparatus used in
MHl二 As a result, the autocorrelation data RD shows the           practice, the autocorrelation calculating section 210 and the
autocorrelation coefficient R(t) of the pulse waveform MH.        pulse condition data yielding section 220 are constituted of
    Here, the autocorrelation coefScient RD is examined for       CPUs, memories and the like. In this case, the CPU under­
the pulse waveform MH of each pulse condition shown in 65 goes various calculating processes and comparing processes
FIGS. 45A to 45C. First, as shown in FIG. 16, the minimum         on the basis of control programs stored in part of the
value of the autocorrelation coefficient R(t) is 0.2 in a Xuan    memories to yield the pulse condition data ZD.
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3.3 Action of the Pulse Wave Examination Apparatus                    (2) In the third embodiment mentioned above, although
   Next, the action of the pulse wave examination apparatus        the c시culatmg section 224 calculates the ratio of the mea­
according to the third embodiment of the present invention         sured time to the period of one heartbeat, it may calculate the
will be described with reference to the drawings. FIG. 20 is       average of the ratios detected in each of plural heartbeat
a flow chart showing the action of the pulse wave exami­ 5 periods to output the average ratio. This can improve the
nation apparatus.                                                  accuracy in determining whether the pulse condition is a
   First, the pulse wave detecting section 10 detects the pulse    Ping mai or Hua mai because the ratios are averaged to
waveform MH (Step SI).                                             thereby restrain variations caused by noise.
   When the pulse waveform MH is supplied to the auto­                (3) Comparing the autocorrelation coefficients R(t) of a
correlation calculating section 210, the pulse waveform MH 10 typical Ping mai and Hua mai (see FIGS. 17 and 18), a
is written in the memory 212 and read out in a fixed period        difference can be observed in width between the autocorre­
later. An autocorrelation function is calculated based on the      lation coefficients R(t) within the range between 0.4 and 0.8.
read pulse waveform MH and the calculated result is nor­           Because of this, the time measuring section 223 may mea­
malized to yield the autocorrelation data RD showing the           sure a time interv시 in which the autocorrelation coefficient
autocorrelation coefficient R(t) (Step S2).                     15 exceeds a threshold value prescribed within a range between
   After that, the pulse condition yielding section 220 yields     0.4 and 0.8, and the second comparing section 225 may
the pulse condition data ZD on the basis of the autocorre­         determine whether the pulse condition is a Ping mai or a Hua
lation data RD in the manner described below. First, when          mai on the basis of the time interval corresponding to this
the minimum value of the autocorrelation data RD corre­            threshold value.
sponding to a period of one heartbeat is detected in the 20
minimum value detecting section 221 (Step S3), the first                               4. Fourth Embodiment
comparing section 222 determines whether the minimum                 Next, a pulse wave examination apparatus of a fourth
value is less than 0.25 or not (Step S4). When the minimum        embodiment of the present invention will be described.
value is less than 0.25, the result of the determination is       f Electrical Structure of the Pulse Wave Examination
                                                                  4.
expressed as YES and the stage is forwarded to the next step 25 Apparatus
(Step S5) in which the pulse condition is judged to be a Xuan        The electrical structure of the pulse wave examination
mai to yield the pulse condition data ZDl in the data             apparatus of the fourth embodiment is the same as that of the
yielding section 226.                                             third embodiment except for the structure of a pulse condi­
   When the minimum value is 0.25 or more on the contrary,        tion data yielding section 22〇.
the result of the determination is expressed as NO and a 30          The electrical structure of the pulse condition data yield­
judgment on whether the pulse condition is a Ping mai or a        ing section 220 according to the fourth embodiment will be
Hua mai is made. In this case, the time measuring section         described as follows. FIG. 21 is a block diagram of the pulse
223 measures a time interval in which the autocorrelation         condition data yielding section 220 according to the fourth
data RD exceeds 0.5, in a period corresponding to a period        embodiment.
of one heartbeat (Step S6) and the calculating section 224 35        The pulse condition data yielding section 220 in this
calculates the ratio of the measured time to the period of one    embodiment comprises a minimum value detecting section
beat.                                                             221 and a first comparing section 222 for determining
   Then, the second comparing section 225 determines              whether the pulse condition is a Xuan mai or not, a change
whether the result calculated in the c시culating section 224       rate c시culatmg section 227, a maximum value detecting
exceeds 47% or not (Step S8). When this result exceeds 40 section 228 and a second comparing section 225 for deter­
47%, the stage is forwarded to the next step (Step S9) in         mining whether the pulse condition is a Ping mai or a Hua
which the pulse condition is judged to be a Ping mai which        mai, and a data yielding section 226 for yielding a pulse
allows the data yielding section 226 to yield the pulse           condition data ZD on the basis of these determined results.
condition data ZD2. On the other hand, when the result               First, the first comparing section 222 determines whether
calculated in the calculating section 224 does not exceed 45 the pulse condition is a Xuan mai or not based on whether
47%, the stage is forwarded to the next step (Step SIO) in        the minimum value of the autocorrelation data RD detected
which the pulse condition is judged to be a Hua mai to yield      by the minimum value detecting section 221 exceeds 0.25 or
the pulse condition data ZD3 in the data yielding section         not as in the third embodiment.
226.                                                                 Next, the change rate calculating section 227 calculates
   As stated above, the pulse wave examination apparatus 1 50 the change rate RDd of the autocorrelation data RD. If the
according to the third embodiment judges the pulse condi­         autocorrelation data RD is as shown in FIGS. 16 to 18, each
tion on the basis of the autocorrelation data RD of the pulse     change rate RDd of a Xuan mai, Ping mai and Hua mai is
waveform MH and hence the subject and a doctor can know           as shown in FIG. 22. It is seen from this figure that the
the living condition from the detected result of the pulse        maximum value of the change rate RDd is about O.f in a Hua
wave.                                                          55 mai whereas it is 0.072 in a Ping mai. Fhis corresponds to
3.4 Modification of the Third Embodiment                          the fact that the waviness of the pulse waveform MH of a
   (f) In the forgoing third embodiment, the minimum value        Ping mai is greater than that of the pulse waveform of a Hua
detecting section 221 calculates the autocorrelation data RD      mai. It is therefore possible to determine whether the pulse
in a period of one heartbeat. However, the minimum value          condition is a Ping mai or a Hua mai by the maximum value
detecting section 221 can be arranged so that the minimum 60 of the change rate RDd. When the maximum value of the
values of the autocorrelation data RD detected in each of         change rate RDd exceeds 0.085, the pulse condition may be
plural heartbeat periods are averaged to determine the aver­      judged to be a Hua mai whereas, when it does not exceeds
age of the minimum values. In this case, because the              0.085, the pulse condition may be judged to be a Ping mai
minimum v시ues are averaged, variations in the minimum             accordingly.
values caused by noise can be restrained. This can improve 65        Then, the maximum value detecting section 228 detects
the accuracy in making a determination as to whether or not       the maximum of the change rate RDd within a prescribed
the pulse condition is a Hua mai.                                 period of time longer than a period of one beat. The second
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comparing section 225 compares the maximum valne of the          5. f Electric시 Structure of the Pulse Wave Examination
change rate with a prescribed threshold value (0.85) to          Apparatus
determine whether the maximum value of the change rate               EIG. 24 is a block diagram showing the electrical struc­
RDd exceeds the threshold value or not.                          ture of the pulse wave examination apparatus according to
   The data yielding section 226 yields a pulse condition 5 the fifth embodiment of the present invention. Each structure
data ZD on the basis of each result determined by the first      of the autocorrelation calculating section 210, pulse condi­
and second comparing sections 222 and 225. First, when the       tion data yielding section 220 and display section 230 in this
minimum value is judged to be less than 0.25 in the first        embodiment is the same as described in the third and fourth
comparing section 222, a pulse condition ZDl showing a           embodiments, therefore further description of these sections
Hua mai is obtained. Then, when the maximum value of the
                                                              10 is omitted. Also, a body movement eliminating section 30
change rate RDd is judged to be less than 0.85 in the second
                                                                 and sections prior to this section, namely, a pulse wave
comparing section 225, pulse condition data ZD2 showing a
Ping mai is obtained whereas, when it is judged to exceed        detecting section 10, a body movement detecting section 20,
0.85, a pulse condition data ZD3 showing a Hua mai results.      a judging section 22, and a waveform treating section 21 are
4.2 Action of the Pulse Wave Examination Apparatus               the same as those described in the first embodiment.
   Next, the action of the pulse wave examination apparatus 15 Therefore, further description of these sections is omitted.
of the fourth embodiment will be described. FIG. 23 is a             The pulse wave examination apparatus of this embodi­
flow chart showing the action of the pulse wave examination      ment provides a body movement-eliminated pulse wave­
apparatus. The actions from Step SI to Step S5 are the same      form MHj owing to the above structure. The autocorrelation
as those of the pulse wave examination apparatus of the third    calculating section 210 can yield the autocorrelation data
embodiment described with reference to FIG. 20 and hence 20 RD on the basis of the body movement-eliminated pulse
description of these steps is omitted.                           waveform MHj. According to the pulse wave examination
   In Step Sil, when the change rate calculating section 227     apparatus 1 of this embodiment, the pulse condition can be
detects the change rate RDd of the autocorrelation data RD,      specified in a condition free of the influence of body
the maximum value detecting section 228 detects the maxi­        movement.
mum value of the change rate RDd in a period corresponding 25                        6. Sixth Embodiment
to a period of one beat (Step S12). For instance, if the
c시culated change rate RDd is that of a Hua mai shown in              Next, a pulse wave  examination apparatus 1 according to
FIG. 22, a value of about O.f is detected as the maximum         a sixth embodiment of the present invention wifi be
value.                                                           described.
   Then, the second comparing section 225 determines 30              FIG. 25 is a block diagram of a pulse wave examination
whether or not the maximum value exceeds 0.85. When the          apparatus 1 according to the sixth embodiment. In the sixth
maximum value is found to be less than 0.85, the stage is        embodiment, though a body movement component TH is
forwarded to Step S14 in which the pulse condition is judged     detected using a body movement detecting section 20 and a
to be a Ping mai and the data yielding section 226 yields        waveform treating section 21, as in the fifth embodiment, the
pulse condition data ZD2. On the other hand, when the 35 sixth embodiment differs from the fifth embodiment in that
maximum value is found to exceed 0.85, the stage is              the elimination of body movement mentioned in the fifth
forwarded to Step S15 in which the pulse condition is judged     embodiment is made using wavelet transformation.
to be a Hua mai and the data yielding section 226 produces       6. f First and Second Wavelet Transformation Sections and
pulse condition data ZD3.                                        First and Second Frequency Correcting Section
   In the fourth embodiment, as stated above, attention is 40        In FIG. 25, a first wavelet transformation section 243
given to the point that there is a difference between a Ping     undergoes a well-known wavelet transformation of a pulse
mai and a Hua mai in the maximum value of the change rate        waveform MH output from the pulse wave detecting section
RDd of the autocorrelation data RD. The maximum value of         10 to yield a pulse wave analysis data MKD. Then, the
the change rate RDd is compared with the threshold value to      second wavelet transformation section 245 undergoes a
determine whether the pulse condition is a Ping mai or a Hua 45 well-known wavelet transformation of a body movement
mai. Thus, even a person having no knowledge of pulse            waveform TH output from the body movement detecting
detection can find the exact pulse condition.                    section 20 to yield a body movement analysis data TKD.
                                                                 These first and second wavelet transformation sections 243
                     5. Fifth Embodiment                         and 245 have the same structures as those described in the
   In the pulse wave examination apparatus 1 according to 50 second embodiment.
the third and fourth embodiments, the autocorrelation data           FIG. 26 shows the pulse wave analysis data MKD in part
RD is obtained based on the pulse waveform MH output             of the period of the pulse waveform MH. In the figure, a
from the pulse wave detecting section 10 to judge the pulse      period T is close to a peak P4 and the pulse wave analysis
condition. However, when a subject walks and goes about          data MKD is obtained at time intervals set by dividing the
daily life, the body movement causes the blood flow of the 55 period i into 8 parts. Meanwhile, in the wavelet
subject to fluctuate. Because of this, a component due to the    transformation, the frequency resolution and the time reso­
body movement is superimposed on the pulse waveform              lution is in tradeoff relation. Hence, if the frequency reso­
MH output from the pulse wave detecting section 10. The          lution is sacrificed, the pulse wave analysis data can be
magnitude of the body movement component depends on              obtained at more reduced intervals.
the degree of movement. When the quantity of the move­ 60            The first frequency correcting section 244 makes fre­
ment is large, the body movement component superimposed          quency corrections of the pulse analysis data MKD. In the
on the pulse waveform MH increases, causing difficulty in        aforementioned equation (2), the termT/a"2" correspond­
making an exact judgment of the pulse condition. Hence, in       ing to the frequency is present. The effect of this term must
the fifth embodiment of the present invention, the body          be corrected when data is compared between different
movement component is eliminated from the pulse wave­ 65 frequency zones. A first frequency correcting section 244 is
form MH and the pulse condition is judged based on the           therefore provided and multiplies a wavelet data WD by a
resulting pulse waveform.                                        factor a"2 to yield pulse wave-corrected data MKDa. This
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enables a correction on the basis of each corresponding           movement-eliminated pulse wave data MKDaj to yield a
freqnency so as to obtain a constant power density per            body movement-eliminated pulse waveform MHj. In this
freqnency. Moreover, the second freqnency correcting sec­         case, the inverse wavelet transformation section 247 under­
tion 246 makes the freqnency correction of the body move­         goes the inverse wavelet transformation based on the equa­
ment analysis data TKD in the same manner as in the case 5 tion (4) to reconstruct the waveform.
of the first frequency correcting section 244 to produce a
body movement-corrected data TKDa from the body move­                            1   r r          1   fx-b\dadb             ⑷
ment analysis data TKD.                                                  /3 = Q J 厶ゆ必 F 4 w)—
6.2 Body Movement Component Eliminating Section
   Next, a body movement component eliminating section 10
240 subtracts the body movement-corrected data TKDa                  Then, as in the fifth embodiment, the autocorrelation
from the pulse wave-corrected data MKDa to yield a body           calculating section 210 produces autocorrelation data RD on
movement-eliminated pnlse wave data MKDaj. This will be           the basis of the body movement-eliminated pulse waveform
described in detail. Incidentally, in the following               MHj.
description, the body movement is analyzed on the assump­ 15         After that, the pulse condition data yielding section 220
tion that the subject lifts a cup with his hand and then puts     yields pulse condition data ZD on the basis of the autocor­
it back in the origin시 location. In this case, the pulse          relation RD and the display section 230 then displays such
waveform MH shown in FIG. 27 is detected by the pulse             characters as “Ping mai", “Xuan mai^^ and "Hua mai^^
wave detecting section 10 and, at the same time, the body         indicated by the pulse condition data ZD, or characters
waveform TH is detected by the the body movement detect­ 20 corresponding to each pulse condition. The display section
ing section 2〇.                                                   230 ensures that the subject or a doctor can find the pulse
   Here, the body waveform TH starts to increase from time        condition.
Tf, reaches a positive peak at time T2, decreases gradually,         As stated above, the sixth embodiment is designed so that
passes a level 〇 at time T3, reaches a negative peak at time      the autocorrelation data RD is yielded based on the body
T4 and returns to a level 〇 at time T5. The body movement 25 movement-eliminated pulse waveform MHj excluding a
waveform TH is detected by the body movement detecting            body movement component, hence the subject can detect his
section 20 using an acceleration sensor. The time T3 corre­       pulse condition continuously in his daily life.
sponds to the time at which the subject has lifted the cup to                         7. Seventh Embodiment
the maximum height, the time Tf corresponds to the time at
which the lifting starts, and the time T4 corresponds to the 30      In the fifth  and sixth embodiments, the body movement
time at which the lifting has finished. Accordingly the period    waveform TH is detected by the body movement detecting
between the time Tf and the time T4 is the period in which        section 20, the pulse waveform MH is compared with the
body movement is present. The pulse waveform MHj shown            body movement waveform TH, a body movement compo­
in FIG. 27 is a pulse waveform formed on the assumption           nent included in the frequency component of the pulse
that no body movement is present. In this embodiment also, 35 waveform MH is eliminated to c시culate the autocorrelation
the frequency of the fundamental wave of the pulse wave­          data RD thereby specifying the pulse condition. The above
form MH is f .3 Hz.                                               structure, however, requires the body movement section 20
   FIG. 28 shows the pulse wave-corrected data MKDa in a          and the waveform treating section 21, causing the structure
period Tc (see FIG. 27) and FIG. 29 아lows the body                to be complicated. A seventh embodiment of the present
movement-corrected data TKDa in the period Tc. It is seen 40 invention is developed in view of this situation and provides
from this figure that frequency components with a relatively      a pulse wave examination apparatus which has a simple
large level are present in a frequency zone between 0.0 Hz        structure and can detect a pulse condition exactly even if
and f .0 Hz in the body movement waveform TH. When the            body movement exists.
pulse wave-corrected data MKDa and the body movement-                FIG. 31 is a block diagram of the pulse wave examination
corrected data TKDa are supplied to the body movement 45 apparatus according to the seventh embodiment, which is
eliminating section 240, the body movement eliminating            the same as the pulse wave examination apparatus according
section 240 subtracts the body movement-corrected data            to the sixth embodiment shown in FIG. 25 except that the
TKDa from the pulse wave-corrected data MKDa to yield a           body movement detecting section 20, the waveform treating
body movement-eliminated pulse wave data MKDaj exclud­            section 21, the second wavelet transformation section 245
ing the body movement component as shown in FIG. 3〇. 50 and the second frequency correcting section 246 are omitted
This makes it possible to eliminate the effect of body            and except for the inner structure of the body movement
movement even if body movement is present.                        component eliminating section 24〇. The following is a
6.3 Judging Section                                               description of the difference between the two embodiments.
   Next, the judging section 22 compares the body move­              A body movement component eliminating section 240
ment waveform TH with a prescribed threshold value to 55 separates and removes a body movement component from
yield a control signal C showing the presence or absence of       the pulse wave-corrected data MKDa to yield body
body movement, and supplies this signal to the waveform           movement-eliminated pulse wave data MKDaj. Here, the
treating section 21, the second wavelet converting section        body movement component eliminating section 240 makes
245, and the second frequency correcting section 246. This        use of the property of body movement as will be mentioned
ensures that each operation of the waveform treating section 60 below.
21, the second wavelet converting section 245, and the               The body movement is caused by the up-and-down
second frequency correcting section 246 is suspended when         motion of an arm or the swing of an arm. However, there are
there is no body movement, thereby reducing c시culation            few chances of experiencing instant motion of the living
time and power consumption and improving the SN ratio.            body in daily life. The frequency component of the body
6.4 Inverse Wavelet Transformation Section                     65 movement waveform TH is not very high and is usually in
   Next, an inverse wavelet transformation section 247            a range between 〇 Hz and 1 Hz in daily life. In this case,
undergoes the inverse wavelet transformation of the body          most of the frequency of the fundamental wave of the pulse
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waveform is in a range between 1 Hz and 2 Hz. In daily life,       In this case, the frequency zone specified by the substi­
therefore, the frequency component of the body movement         tution circuit 304 is in a range between f.O Hz and f.5 Hz
waveform TH is in a frequency zone lower than the funda­        and hence the frequency zone subjected to the substitution is
mental frequency of the pulse waveform MH.                      in ranges between 0.5 Hz and f.O Hz and between 〇 Hz and
   On the other hand, while engaging in a sport, e.g., 5 0.5 Hz. Data in a frequency range between 〇 and 1 Hz in the
jogging, the frequency component of the body movement           pulse wave-corrected data MKDa is replaced with 〇 and the
waveform TH is slightly increased by the effect of the swing    body movement-eliminated pulse wave data MKDaj shown
of an arm and the like. However, the number of beats            in FIG. 33 is obtained.
increases in relation to the quantity of movement and the
                                                                   When the body movement-eliminated pulse wave data
frequency of the fundamental wave of the pulse waveform 10
MH is thereby increased at the same time. Therefore, even       MKDaj obtained in this manner is transformed into the body
during a sport, the frequency component of the body move­       movement-eliminated waveform MHj by the inverse wave­
ment waveform TH is in a frequency zone lower than the          let transformation section 247, the autocorrelation calculat­
fundamental frequency of the pulse waveform MH, in              ing section 210 yields autocorrelation data RD on the basis
general.                                                        of the body movement-eliminated pulse wave form MHj as
                                                             15 in the fifth embodiment. Then, based on the autocorrelation
   The body movement component eliminating section 240
                                                                data RD, the pulse condition data yielding section 220 yields
separates a body movement component taking the above fact
                                                                pulse condition data ZD and the display section 230 then
into consideration. specifically, it is structured so as to
                                                                displays such characters as “Ping mai", 37 Xuan mai^^ and
neglect a frequency zone lower than that of the fundamental
                                                                “Hua mai^^ indicated by the pulse condition data ZD, or
wave component of the pulse waveform MH. In this case, if 20
                                                                characters corresponding to each pulse condition. The dis­
the body movement component is present in a frequency
                                                                play section 230 ensures that the subject or a third party, e.g.,
zone higher than that of the fundamental wave component of
                                                                a doctor can find the pulse condition.
the pulse waveform MH, the accuracy in the detection of a
cardiac function is reduced. However, as aforementioned,           As described above, the seventh embodiment is designed
the probability that the body movement component is in a 25 to yield the autocorrelation data RD on the basis of the body
frequency zone lower than that of the component of the          movement-eliminated pulse wave MHj excluding a body
fundamental wave of the pulse waveform MH is high. The          movement component. So the subject can find his pulse
pulse condition can be diagnosed with high accuracy accord-     condition continuously in his daily life.
in이y.                                                              The seventh embodiment also makes clever use of the
   FIG. 32 is a block diagram of the body movement 30 characteristics of a body movement in which the possibility
eliminating section 24〇. A waveform shaping section 301         that a component of body movement exists in a frequency
provides the pulse waveform MH with waveform shaping            zone less than that of the frequency component of the
and yields a reset pulse synchronized with the pulse wave­      fundamental wave of the pulse waveform MH is high, to
form MH. A counter 302 measures the number of clock             thereby remove the body movement component. In this
pulses though not shown. The count number of the counter 35 embodiment, therefore, components such as the body move­
302 is reset by the above reset pulse. An average value         ment detecting section 20 and the waveform treating section
calculating circuit 303 calculates the average value of the     21 that are required in the third and fourth embodiments may
count number of the counter 302. In this case, the average      be omitted and the pulse condition can be exactly detected
value calculated by the average value c시culatmg circuit 303     even if a body movement exists.
corresponds to the mean period of the pulse waveform MH. 40
                                                                                    8. Eighth Embodiment
The frequency of the fundamental wave of the pulse wave­
form MH can be detected with reference to the average              The autocorrelation data RD is obtained based on the
value.                                                          pulse waveform MH in the third and fourth embodiments
   Next, a substitution circuit 304 specifies a frequency       and on the body movement-eliminated pulse waveform MHj
region including the frequency of the fundamental wave of 45 in the fifth to seventh embodiments. In the aforementioned
the pulse waveform MH on the basis of the aforementioned        wavelet transformation, analysis data can be obtained at
average value. For instance, when the average value shows       each frequency zone which is periodically divided. Here, the
0.7f seconds, the frequency of the fundamental wave             characteristic portions of the pulse waveform MH and body
becomes f .4 Hz. The frequency region to be specified           movement-eliminated pulse waveform MHj are in the posi­
becomes 1 Hz to f .5 Hz. Then, the substitution circuit 304 50 tive or negative peak. Also, when these peaks appear, the
replaces the pulse wave-corrected data MKDa with 0 in a         value of the analysis data resulting from wavelet transfor­
frequency region less than a specified frequency region to      mation increases in a relatively high frequency zone. If
yield the body movement-eliminated pulse wave data              attention is focused on a certain frequency zone and auto­
MKDaj. A component of a frequency region less than the          correlation data RD with respect to the analysis data in the
frequency of the fundamental wave of the pulse waveform 55 focused frequency zone is obtained, it is therefore possible
MH is thereby neglected. In this case, a pulse wave com­        to specify the pulse condition on the basis of the autocor­
ponent as well as a body movement component are replaced        relation data RD. The eighth embodiment of the present
with 〇. However, because the characteristic portion of the      invention is developed in the light of the above point.
pulse waveform MH exists in a frequency zone higher than           FIG. 34 shows a block diagram of the pulse wave exami­
the frequency of the fundamental wave of the pulse wave­ 60 nation apparatus according to the eighth embodiment. In the
form MH, the replacement of the pulse wave component            figure, when a pulse waveform MH is detected by a pulse
with 〇 has almost no effect on the pulse waveform.              wave detecting section 10, a first wavelet transformation
   If, for instance, the pulse waveform MH (the frequency of    section 243 undergoes the wavelet transformation of the
its fundamental wave: f .3 Hz) shown in FIG. 27 is detected     pulse waveform MH to yield a pulse wave analysis data
by the pulse wave detecting section 10, the pulse wave- 65 MKDf corresponding to a specific frequency zone. For
corrected data MKDa in the period Tc is as shown in FIG.        instance, as shown in FIG. 26, if, in the wavelet
28.                                                             transformation, the frequency zone is divided into eight
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zones and the focnsed freqnency zone is in a range between           As stated above, in the ninth embodiment, attention is
3.0 Hz and 2.5 Hz, M16 to M86 are output as the pulse wave       focused on a certain frequency zone and wavelet transfor­
analysis data MKDf.                                              mation is carried out to eliminate a body movement com­
   In this case, the first wavelet transformation section 243    ponent. It is therefore unnecessary to compare the results of
is structured as shown in FIG. 35. Comparing FIG. 35 with 5 wavelet transformation between different frequency zones.
FIG. 4, it is seen that the scale conversion section W2 is       Therefore, the first and second frequency correcting sections
omitted. The reason is that the scale conversion section W2      244 and 246 may be omitted. Furthermore, the autocorre­
is a type converting the scale parameter "a" corresponding       lation data RD is yielded directly from the body movement-
to the period, hence this function may be attained only by       eliminated analysis data MKDfaj so that the inverse wavelet
storing a mother wavelet corresponding to the focused 10 transformation section 247 may be omitted.
frequency zone in the basic function storing section Wl.                  fO. External Structure of the Aforementioned
   The pulse wave analysis data MKDf obtained in this                                     Embodiments
manner shows a variation of the characteristic portion of the
pulse waveform MH with time. Hence the pulse waveform                Next, some instances of the external structures of pulse
MH can be analyzed efficiently by calculating the autocor­ 15 wave examination apparatuses according to the aforemen­
relation coefficient of the pulse wave analysis data MKDf.       tioned first to ninth embodiments of the present invention
So an autocorrelation calculating section 210 in this embodi­    will be described.
ment provides autocorrelation data RD showing the auto­          fO.f Wri마 Watch Type A
correlation coefficient of the pulse wave analysis data              First, an instance of the structure of a wrist watch-type
                                                              20 pulse wave examination apparatus 1 according to the above
MKDf.
                                                                 embodiments will be described with reference to FIGS. 37A
   Next, a pulse condition data yielding section 220 pro­        to 37C.
duces pulse condition data ZD on the basis of the autocor­           As shown in FIGS. 37A and 37B, the pulse wave exami­
relation data RD. In this case, the pulse condition data         nation apparatus 1 comprises mainly a device body 100
yielding section 220 treats the autocorrelation data RD 25 having a wrist watch structure, a cable 101 connected to the
arithmetic시ly and compares the c시culated result with a           device body 100, and a pulse wave detecting section 10
threshold value designed to identify the pulse condition to      arranged on the side of the end of the cable 101.
yield the pulse condition data ZD. When the pulse condition          A wrist band 102 is attached to the device body 100
data ZD is supplied to a display section 230, the display        among these parts. Specifically, the wrist band 102 is wound
section 230 displays the characters “Xuan mai", “Ping mai", 30 around the left arm of a subject from the direction of f2
and “Hua mai^^ and the like. This ensures that the subject or    o^clock of the device body 100 and the other end is secured
a third party , e.g., a doctor, can find the pulse condition.    to a position in the direction of 6 o^clock of the device body
                     9. Ninth Embodiment                         100.
                                                                     Also, a connector section 103 is arranged at a position in
   A ninth embodiment of the present invention is structured 35 the direction of 6 o^clock of the device body 100. A
by applying a technique using wavelets for removing a body       connector piece 104 which forms the end of the cable 101 is
movement component to the pulse wave examination appa­           attached in an unrestricted manner to the connector section
ratus 1 of the eight embodiment.                                 103.
   FIG. 36 is a block diagram of a pulse wave examination            When the connector piece 104 is removed, it is seen that
apparatus 1 according to the ninth embodiment. In this 40 the connector section 103 is provided with an LED 113 for
embodiment, a first wavelet transformation section 243 and       transferring data, and a phototransistor 114, as well as
a second wavelet transformation section 245 are structured       contact pins 111, 112 for connection with the cable 101 as
as shown in FIG. 35, as in the aforementioned eighth             아lown in FIG. 37C.
embodiment. The first and second wavelet transformation              On the other hand, the pulse wave detecting section 10 is,
243 and 245 provide pulse wave analysis data MKDf and 45 as shown in FIG. 37B, mounted on the root of a finger so that
body movement analysis data TKDf respectively, corre­            it is shielded from light by a sensor securing band 11. When
sponding to a focused frequency zone. A body movement            the pulse wave detecting section 10 is mounted on the root
component eliminating section 240 subtracts the body             of a finger in this manner, the cable 101 can be short, hence
movement analysis data TKDf from the pulse wave analysis         the pulse detecting section 10 causes no obstruction even if
data MKDf to yield a body movement-eliminated analysis 50 it is mounted. Also, when the distribution of body tempera­
data MKDfaj.                                                     ture from the p시m to the root of a finger is measured, the
   When the body movement-eliminated analysis data               temperature of the fingertip is significantly reduced on a cold
MKDfaj is produced, an autocorrelation c시culatmg section         day whereas the temperature at the root of the finger is not
210 provides autocorrelation data RD showing the autocor­        relatively reduced as the result of a stable blood flow rate.
relation coefficient on the basis of the body movement- 55 Hence, if the pulse wave detecting section 10 is mounted on
eliminated an시ysis data MKDfaj, as in the eighth embodi­         the root of a finger, a pulse waveform can be detected with
ment. Next, a pulse condition data yielding section 220          accuracy even when the subject goes out on a cold day.
produces pulse condition data ZD on the basis of the                 On the side of the surface of the device body 100, a
autocorrelation data RD. In this case, the pulse condition       display section 110 formed of a liquid crystal panel is
data yielding section 220 treats the autocorrelation data RD 60 arranged. The display section 110 has a segment display
arithmetic시ly and compares the c시culated result with a           zone, a dot display zone and the like and displays the current
threshold value designed to identify the pulse condition to      time, the content of diagnosis, and the like: the display
yield pulse condition data ZD. When the pulse condition          section 110 corresponds to the notifying section 80 or the
data ZD is supplied to a display section 230, the display        display section 230 in each embodiment.
section 230 displays the characters “Xuan mai", “Ping mai", 65       On the inside of the device body 100, an acceleration
and “Hua mai^^ and the like. This ensures that the subject or    sensor, though not shown, is incorporated and detects body
a third party , e.g., a doctor can find the pulse condition.     movement caused by the swing of an arm and the up-and-
                                                                    77



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down motion of the body. The acceleration sensor corre­             with reference to FIGS. 39A and 39B. In this structure, the
sponds to the body movement detecting section 20 in each            pulse waveform of a subject is not detected photoelectrically
embodiment.                                                         using an LED or a phototransistor but detected using a
   Fnrthermore, on the inside of the device body 100, a CPU         pressure sensor.
controlling varions calcnlations and transformations is 5              As shown in FIG. 39A, the pulse wave examination
arranged (not shown) and bntton switches SWl and SW2 for            apparatus 1 is provided with a pair of bands 102 and a
various manipnlation and indication are disposed on the             projecting elastic rubber 131 of a pressure sensor 130 is
periphery of the device body 100.                                   formed at the fastening side of a fastener 120 of one of the
10.1.1 Detailed Structure of the Pulse Wave Detecting               bands. The band 102 provided with the fastener 120 has a
Section
                                                                 10 structure (though its detail is not shown) in which a FPC
   Next, the structure of the pulse wave detecting section 10
                                                                    (Flexible Printed Circuit) substrate is coated with a soft
will be described with reference to FIG. 38.
   As shown in FIG. 38, the pulse wave detecting section 10         plastic so as to supply a signal detected by the pressure
comprises an LED 12, a phototransistor 13 and the like.             sensor 13〇.
When a switch SW is ON and power voltage is applied, light             Upon use, as shown in FIG. 39B, the pulse wave exami­
is emitted from the LED 丄2. Hie emitted light is reflected by 15 nation apparatus 1 with a wrist watch-type structure is
the blood vessel and tissues of the subject and is then             wound around the left arm 150 of the subject so that the
received by the phototransistor 13. The voltage converted           elastic rubber 131 of the fastener 120 is positioned in the
from the photocurrent of the phototransistor is output as a         vicinity of a radial artery 14〇. It is therefore possible to
signal MH from the pulse wave detecting section 10.                 detect the pulse wave constantly. Incidentally, this wound
   Here, as the emission wavelength of the LED 12, a 20 condition is no different from that in the case of using a usual
wavelength in the vicinity of an absorption peak of hemo­           wrist watch.
globin contained in blood is selected. Fhe acceptance level            When the elastic rubber 131 is pushed to the vicinity of
varies depending on the blood flow rate. A pulse waveform           the radius artery 140 of the subject, a variation in blood flow
is therefore detected by measuring the acceptance level.            (namely pulse wave) is transferred to the pressure sensor
   As the LED 12, an InGaN-type (indium-gallium-nitrogen- 25 130 via the elastic rubber 131 and is detected as the blood
type) blue LED is preferably used. The emission spectrum of         pressure by the pressure sensor 13〇.
the blue LED has its emission peak, for instance, at 450 nm,           In addition, to mention a further instance of the pulse
and its emission wavelength zone is in a range between 350          wave detecting section 10, a cuff band is attached to a
nm and 600 nm. As the phototransistor 13 corresponding to           fingertip and the harmonic component of the pulse wave is
the LED having such an emission properties, a GaAsP-type 30 detected while pressure is applied to the cuff band whereby
(gallium-arsenic-phosphoms-type) is used in this embodi­            the characteristics of the tidal wave and dicrotic wave may
ment. As to the acceptance wavelength zone of the pho­              be extracted as described in Japanese Patent Application
totransistor 13, for instance, the major sensitive zone is in a     Laid-Open No. H5-f9262〇.
range between 300 nm and 600 nm. The phototransistor 13             fO.3 Necklace-type
also has a sensitive zone lower than 300 nm.                     35    It has been suggested that the pulse wave examination
   A combination of such a blue LED and a phototransistor           apparatus 1 according to each embodiment be made into a
ensures that a pulse wave is detected in a wavelength zone          necklace-type as shown in FIG. 4〇.
of 300 nm to 600 nm which are the overlapped wavelengths               In this figure, a pressure sensor 130 is arranged at the end
of both with the following advantages.                              of a cable 101 and is attached to the vicinity of the carotid
   First, among light included in extraneous light, the light 40 artery by using an adhesive tape 170 as shown in FIG. 41.
with a wavelength of 700 nm or less tends to transmit               In FIG. 40, the major parts of the apparatus are incorporated
through finger tissue with difficulty. Hence if part of a finger    into a device body 100 having a brooch-like form and a
which is not covered with the sensor fixing band is irradiated      hollow portion and, on the front surface of the device body,
with the extraneous light, the light cannot reach the pho­          a display section 110 and switches SWl and SW2 are
totransistor via the finger tissue, and only the light with a 45 formed. The cable 101 is partially buried in a chain 160 and
wavelength having no effect on the detection reaches the            is used to supply a sign시 MH output from the pressure
phototransistor 13. On the other hand, light with a wave­           sensor 130 to the device body 100.
length longer than 300 nm is almost absorbed on the surface         10.4 Eyeglass-type
of the skin and hence a substantial acceptance wavelength              An eyeglass-type has been considered as an embodiment
zone is in a range between 300 nm and 700 nm even if the 50 of the pulse wave examination apparatus 1 according to each
acceptance wavelength zone is less than 700 nm. Therefore,          embodiment as shown in FIG. 42.
the effect of the extraneous light can be restrained even if the       As shown in this figure, a device body is divided into a
finger is not completely covered. Hemoglobin in blood has           casing 100。and a casing lOOZ? which are separately attached
a large absorption coefficient for fight with a wavelength          to a bow 181 of the eyeglasses. The casings 100。and lOOZ?
ranging from 300 nm to 700 nm. This absorption coefficient 55 are electrically connected via a lead wire embedded in the
is several to about fOO times larger than that for light with       bow 181. A liquid crystal panel 183 is attached to the side
a wavelength of 800 nm. Therefore, when light with a                surface of the casing 100。on the side of a lens 182 and a
wavelength (300 nm to 700 nm), at which a large absorption          mirror 184 is secured to one end of its side surface at a
coefficient is obtained, is used as the light for detection         prescribed angle. The casing 100。includes a driving circuit
according to the absorption coefficient of hemoglobin, the 60 for the liquid crystal panel 183 including a power source (not
detected value varies with high sensitivity corresponding to        shown) and a circuit for providing display data which
variation in blood rate. This makes it possible to improve the      circuits constitute a display portion 110. The light emitted
SN ratio of the pulse waveform MH based on a variation in           from the power source is reflected by the mirror 184 via the
blood rate.                                                         liquid crystal panel 183 and is applied to the lens 182. The
fO.2 Wrist Watch-type B                                          65 major parts of the device are incorporated into the casing
   Next, another instance of the structure of a wrist watch­        lOOZ? and switches SWl and SW2 are formed on the casing
type pulse wave examination apparatus 1 will be described           lOOZ? as in the above embodiment.
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                             43                                                                 44
   A pressure sensor 130 is electrically connected to the            Using the continuous blood pressure monitor 580, the
casing lOOZ? via a cable 101 and applied to the vicinity of the   inventors of the present invention measured the waveform of
carotid artery as in the case of the necklace. It is noted that   the blood pressure in each radial artery of 74 healthy adults
the lead wire connecting the casing 100。with the casing           between the ages of 22 and 46 years at a time when they
lOOZ? may be trained along the bow 181. Also, although in 5 were hungry (09:30-f3:30) in a condition where they were
this instance, the device body is divided into the casings        seated after resting for 15 minutes.
100a and lOOb, these casings may be formed into a united             FIGS. 49 to 51 are graphs showing the results plotted for
casing. Moreover, the mirror 184 may be a mobile type to          data obtained by such a measurement. FIG. 49 shows that
adjust the angle with the liquid crystal panel 183.               there is a strong linear relationship between the mean blood
10.5 Card-type
                                                                  pressure            and the diastolic blood pressure BP』か,
   A card-type is considered as another embodiment of the
                                                                  having a strong correlation with a correlation coefficient r of
pulse wave examination apparatus 1 according to each
                                                                  0.95. FIG. 50 shows that there is also a strong linear
embodiment as shown in FIG. 43. A card-type device body
                                                                  relationship between the mean blood pressure BPgm and
100 is stored in, for instance, the left breast pocket of a
                                                                  the systolic blood pressure BP$» (correlation coefficient
subject. A pressure sensor 130 is electrically connected to 任
                                                                  r=0.87). Furthermore, FIG. 51 shows that there is also a
the device body 100 via a cable 101 and is applied to the
                                                                  strong linear relationship between the pulse pressure ABP,
vicinity of the carotid artery as in the cases of the necklace
                                                                  which is the pressure difference between the systolic blood
and eyeglasses.
                                                                  pressure BPs» and the dia마olic blood pressure BP』か, and
fO.6 Pedometer-type
                                                                  the systolic blood pressure BP$» (correlation coefScient
   A pedometer type as shown in FIG. 44A is considered as
                                                                  r=0.76). It is therefore understood that the blood pressure
a further embodiment of the pulse wave examination appa­
                                                                  can be expressed by the mean blood pressure 日匕次 이' the
ratus 1 according to each embodiment. As shown in FIG.
                                                                  pulse pressure ABP.
44B, a device body 100 of the pedometer type is attached to
                                                                  ff .2 Structure of the Blood Pressure Monitor
a waist belt 191. A pressure sensor 130 is electrically
                                                                     FIG. 52 is a block diagram showing the structure of a
connected to the device body 100 via a cable 101, is applied
                                                                  blood pressure monitor 500 of this embodiment. As shown
to the vicinity of the femoral artery in the hip joint of a
                                                                  in this figure, the blood pressure monitor 500 comprises an
subject by using an adhesive tape, and is protected by a
                                                                  arterial pressure waveform detecting section 504, a blood
supporter 192. In this case, measures so that the cable 101
                                                                  pressure converting section 516, a mean blood pressure
is sewed into clothes are desirably taken so that the cable
                                                                  calculating section 508, a pulse pressure calculating section
101 not be a hindrance to the daily life of the subject.        如
                                                                  512, a blood pressure-judging information storing section
                    ff. Tenth Embodiment                          520, a blood pressure judging section 524, and an output
ff .f Theoretical Basis of the Tenth Embodiment                   section 528.
   FIG. 47 shows a structure which the inventors of the              The arteri시 pressure waveform detecting section 504
present invention use to record a waveform of arterial            measures blood pressure in an artery continuously to detect
pressure in the radi시 artery. A continuous blood pressure 35 a waveform of arterial pressure. The arterial pressure wave­
monitor 580 (CBM-2000 manufactured by COLIN COR­                  form detecting section 504 may be formed including, for
PORATION as 아lown in FIG. 47 comprises an arm band                instance, a radial arterial sensor section 584 shown in FIG.
blood pressure measuring section 582, a radius artery sensor      47, a pulse wave detecting section 10 shown in FIG. 37B and
section 584, a control section 586 for controlling these          a pressure sensor 130 아lown in FIGS. 39A, 40, 41, 42, 43
sections, and a personal computer 588 connected to the 40 and 44A.
control section 586.                                                 The blood pressure converting section 516 converts the
   FIG. 48 is a graph showing a typic시 waveform of arterial       waveform of arterial pressure, detected by the arteri시 pres­
pressure, namely, a waveform of blood pressure in the radial      sure waveform detecting section 504, into the waveform of
artery, which is measured by such a device as given above.        cardiac-position arterial pressure at a position corresponding
The waveform of blood pressure in the artery is, as shown 45 to the height of the heart. For instance, the blood pressure
in FIG. 48 and as mentioned above, generally provided with        converting section 516 comprises calibrating the waveform
an ejection wave having the highest peak, a tidal wave            of arterial pressure, detected by the arteri시 pressure wave­
having the next peak and a dicrotic wave having the third         form detecting section 504, by using a maximum blood
peak. The peak of the ejection wave corresponds to a systolic     pressure and minimum blood pressure which are detected by
blood pressure BPs»・ The dia마olic blood pressure BP』か 50 an arm band blood pressure gauge.
corresponds to the lowest blood pressure in the blood                The mean blood pressure c시culatmg section 508 calcu­
pressure waveform. A pressure difference between the sys­         lates the mean blood pressure BPgm based on the wave­
tolic blood pressure BP$» and the diastolic blood pressure        form of arterial pressure or the waveform of cardiac-position
BP』か is c시led a pulse pressure ABP. The mean blood                arterial pressure.
pressure BPm&« is obtained by integrating the waveform of 55         The pulse pressure c시culatmg section 512 calculates the
blood pressure and calculating the time average of the            pulse pressure ABP which is the pressure difference between
resulting value.                                                  a maximum pressure (the systolic blood pressure BPs”) and
   In the continuous blood pressure monitor 580 shown in          a minimum pressure (the diastolic blood pressure BPか)on
FIG. 47, the arm band blood pressure measuring section 582        the basis of the waveform of arterial pressure.
is used to measure the systolic blood pressure BP$» and the 60       The blood pressure-judging information storing section
diastolic blood pressure BP』沪 The radial artery sensor            520 stores blood pressure-judging information in advance.
section 584 detects a pulse waveform corresponding to the         This blood pressure-judging information includes, for
waveform of blood pressure in the radi시 artery. This pulse        instance, a threshold value of blood pressure, in terms of the
waveform is calibrated by the systolic blood pressure BP$»        mean blood pressure and the pulse pressure, which is a
and the diastolic blood pressure BP』か which are measured 65 boundary blood pressure between hypertension and normal,
by the arm band blood pressure measuring section 582 to           and a threshold value of blood pressure which is a boundary
obtain a waveform of arteri시 pressure.                            blood pressure between hypotension and normal blood pres­
                                                                     79



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                             45                                                                  46
sure. It is needless to say that the mean blood pressure and        and may output each piece of information in the form of, for
the pnlse pressure have high correlations with systolic blood       instance, numerals and graphs or as voltages or digital
pressure BPs” (maximum blood pressure) and the diastolic            information corresponding to each piece of information.
blood pressure BP』か(minimum blood pressure) and can                    In this manner, the blood pressure monitor 500 of this
become indexes showing the condition of blood pressure as 5 embodiment can calculate and monitor the mean blood
aforementioned with reference to FIGS. 49-51.                       pressure and the pulse pressure on the basis of the waveform
   The blood pressure judging section 524 judges the blood          of arterial pressure detected by the arterial pressure wave­
pressure on the basis of at least one of the mean blood             form detecting section 504. Fhe blood pressure monitor 500
pressure            and the pulse pressure ABP and the blood        can also make a determination as to whether it is
                                                                    hypertension, hypotension, or normal on the basis of at least
pressure-judging information stored in the blood pressure­ 10
                                                                    either one of the resulting mean blood pressure           and
judging information storing section 52〇. For instance, a
                                                                    the pulse pressure ABP, and the blood pressure-judging
judgment as to whether it is hypertension, hypotension, or
                                                                    information stored in advance.
normal is made based on at least one of the resulting mean
blood pressure BPgm and pulse pressure ABP and the blood                               12. Eleventh Embodiment
pressure judging information.                                    15 f2.f Theoretical Basis of the Eleventh Embodiment
   The output section 528 outputs at least one piece of                The inventors of the present invention further carried out
information corresponding to the mean blood pressure                the following experiment by using the data obtained in the
BPmea«，the pulse pressure ABP and the judgment of the               experiment described in the section ''Theoretical basis of the
blood pressure. The output section 528 outputs at least one         tenth embodimenf\
piece of information corresponding to the mean blood 20                In detail, the resulting waveforms of radial arterial pres­
pressure, information corresponding to the pulse pressure,          sure were classified into those of a Ping mai, Hua mai and
and information corresponding to the judgment of the blood          Xuan mai whose typical waveforms of arterial pressure are
pressure either to a liquid crystal display, a CRT, a printer,      아lown in FIGS. 45A, 45B and 45C with reference to the
or the like in the form of, for instance, numerals and graphs       form model of waveforms in Chinese medicine (Kobe
or as voltages or digital information corresponding to each 25 Research Institute of Chinese Medicine: Glossoscopy and
piece of information.                                               Sphygmopalpation in Chinese Medicine Diagnosis, Fei
ff .3 Action of the Blood Pressure Monitor                          Zhaofu (chief editor), Chinese pulse diagnosis research,
   The action of the blood pressure monitor 500 of this             Shanghai Chinese medical college publishing house (f99f)).
embodiment will be described with reference to FIG. 52.                As a result, it was confirmed that, as shown in FIG. 53, a
   First, the arterial pressure waveform detecting section 504 30 Hua mai, Ping mai and Xuan mai could be classified
measures blood pressure in the artery continuously by using         significantly by the dicrotic wave height ^BIら(see FIG. 48)
the aforementioned pressure sensor 130 or the like to detect        which is a difference in blood pressure between the dicrotic
a waveform of arterial pressure.                                    notch and a peak of a dicrotic wave. Specifically, the ABP^
   The waveform of arterial pressure which is detected by           of a Hua mai was ff±4 mmHg, the ABPD of a Ping mai was
the arteri시 pressure waveform detecting section 504 is 35 7±2 mmHg and the △BIら of a Xuan mai was 3±f mmHg,
converted by the blood pressure converting section 516 into         showing a significant difference between the three groups
the waveform of cardiac-position arterial pressure which is         with a significance level of f%.
a waveform of arterial pressure at a position corresponding            FIG. 54 shows that there is a linear relationship between
to the height of the heart.                                         the dicrotic pressure difference ratio BP^^yABP and the
   Next, the mean blood pressure calculating section 508 40 dicrotic wave height ABP^, the ratio BP^yABP being the
calculates the mean blood pressure BPm&«          the basis of      ratio of the dicrotic pressure difference      (see FIG. 48),
the waveform of arterial pressure or the waveform of the            which is the pressure difference between the blood pressure
cardiac-position arteri시 pressure which are output from the         at a dicrotic notch and the minimum blood pressure, to the
arterial pressure waveform detecting section 504 or the             pulse pressure ABP which is the pressure difference between
blood pressure converting section 516.                           45 the maximum blood pressure and the minimum blood pres­
   At the same time, the pulse pressure calculating section         sure. The correlation coefficient between the two is -0.86,
512 calculates the pulse pressure ABP, which is the pressure        which indicates a strong correlation. Therefore, it is under­
difference between a maximum blood pressure (systolic               stood that the dicrotic pressure difference ratio BP^^yABP
blood pressure BPs”) and a minimum pressure (diastolic              may be used as an index for the significant classifying of a
blood pressure BP』か)，on the basis of the waveform of 50 Hua mai, Ping mai and Xuan mai which are the typic시 pulse
arterial pressure or the waveform of the cardiac-position           waveforms in sphygmopalpation used in Chinese medicine.
arterial pressure which are output from the arterial pressure          FIG. 55 shows that there is a linear relationship between
waveform detecting section 504 or the blood pressure con­           the effusion diastolic pressure ABPp, which is the pressure
verting section 516.                                                difference between the blood pressure at a dicrotic notch and
   Then , at least one of the mean blood pressure 日玖函《 and 55 the maximum blood pressure, and the dicrotic wave height
the pulse pressure ABP is input into the blood pressure             △BIら.The correlation coefScient between them is 0.77
judging section 524. The blood pressure judging section 524         showing a strong correlation. The effusion diastolic pressure
determines whether it is, for instance, hypertension,               ABPp may also be used as an index for the significant
hypotension, or normal on the basis of the input data and the       classifying of a Hua mai, Ping mai and Xuan mai which are
blood pressure-judging information stored in the blood 60 the typical pulse waveforms in sphygmopalpation used in
pressure-judging information storing section 52〇.                   Chinese medicine.
   The output section 528 outputs at least one piece of                Moreover, as is clear from FIGS. 45A, 45B and 45C
information corresponding to the mean blood pressure                which show typic시 waveforms of arteri시 pressure in pulse
BPmea”，information corresponding to the pulse pressure              waveforms classified into a Ping mai, Hua mai and Xuan
ABP and information corresponding to the judgment of the 65 mai detected by sphygmopalpation used in Chinese
blood pressure. The output section is provided with, for            medicine, the ratio of the mean blood pressure          to the
example, a liquid crystal display, a CRT, a printer, or the like    pulse pressure ABP, namely the mean blood pressure-pulse
                                                                     80



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pressure ratio BP^^^^/ABP increases in the order of a Hua          The pulse waveform-judging information includes, for
mai, Ping mai and Xnan mai. It is therefore possible to            instance, threshold values for the dicrotic wave height
classify pulse waveforms, namely a Hua mai, Ping mai and           △BPd，the dicrotic pressure difference ratio BP^^yABP, the
Xnan mai by the mean blood pressure-pulse pressure ratio           mean blood pressure-pulse pressure ratio         ノ△BP, or the
                                                                 5 effusion diastolic pressure ABPp to classify pulse
12.2 Structure of Pulse Waveform Monitor                           waveforms, for instance, a Hua mai, Ping mai, and Xuanmai,
   FIG. 56 is a block diagram showing the structure of a           which are the typical pulse waveforms in sphygmopalpation
pulse waveform monitor 540 of this embodiment. As shown            used in Chinese medicine, from one another. These pulse
in FIG. 56, the pulse waveform monitor 540 comprises an            waveforms can be sorted by the dicrotic wave height ABP^^,
arterial pressure waveform detecting section 504, a dicrotic       the dicrotic pressure difference ratio BP^yABP, the mean
                                                                10
wave height calculating section 544, a dicrotic pressure           blood pressure-pulse pressure ratio BP^^^^/ABP, or the
difference ratio calculating section 548, a mean blood             effusion diastolic pressure ABPp as aforementioned with
pressure-pulse pressure ratio calculating section 552, an          reference to FIGS. 53, 54, 45A, 45B, 45C and 55.
effusion diastolic pressure calculating section 554, a pulse          The pulse waveform judging section 560 judges the pulse
waveform-judging information storing section 556, a pulse          waveform on the basis of the pulse waveform-judging
waveform judging section 560 and an output section 564. It 15 information and at least one of the dicrotic wave height
is noted that, though not shown in FIG. 56, a blood pressure       △BPd，the dicrotic pressure difference ratio BP^^yABP, the
converting section may be arranged subsequent to the arte­         mean blood pressure-pulse pressure ratio BPgノ△BP, and
rial pressure waveform detecting section 504 and preceding         the effusion diastolic pressure ABPp. It is therefore possible
the dicrotic wave height calculating section 544, the dicrotic     to judge, for instance, a Hua mai, Ping mai, and Xnan mai
pressure difference ratio c시culating section 548 and the 20 showing pulse waveforms in sphygmopalpation used in
mean blood pressure-pulse pressure ratio calculating section       Chinese medicine by the pulse waveform-judging informa­
552.                                                               tion stored in advance, and at least one of the dicrotic wave
   The arteri시 pressure waveform detecting section 504             height ABP^, the dicrotic pressure difference ratio
measures the blood pressure in the artery continuously to          ABP, the mean blood pressure-pulse pressure ratio
detect a waveform of arterial pressure. The arterial pressure 25 ABP, and the effusion diastolic pressure ABPp.
waveform detecting section 504 may be formed comprising               The output section 564 outputs at least one piece of
a radial artery sensor section 584 as shown in FIG. 47, a          information corresponding to the dicrotic wave height
pulse wave detecting section 10 as shown in FIG. 37B, and          ABP^, the dicrotic pressure difference ratio BP^yABP, the
a pressure sensor 130 as shown in FIGS. 39A, 40, 41, 42, 43        mean blood pressure-pulse pressure ratio BP^^^^/ABP, the
and 44A.                                                        30 effusion diastolic pressure ABPp and the pulse waveform-
   The blood pressure converting section converts the wave­        judged information. This information may be output either
form of arterial pressure, detected by the arterial pressure       to a liquid crystal display, a CRT or a printer in the form of
waveform detecting section, into the waveform of cardinal­         numerals or graphs, or as voltage or digital information
position arterial pressure at a height corresponding to that of    corresponding to the information.
the heart.                                                      35 f2.3 Action of Pulse Waveform Monitor
   The dicrotic wave height calculating section 544 calcu­            The action of the pulse waveform monitor 540 of this
lates the dicrotic wave height △BP^ (see FIG. 48) which is         embodiment will be described with reference to FIG. 56.
the difference in blood pressure between the dicrotic notch           First, the arterial pressure waveform detecting section 504
and the peak of a dicrotic wave based on the waveform of           measures blood pressure in the artery continuously by the
arterial pressure or the waveform of cardin시-position arte­ 40 aforementioned pressure sensor 130 or the like to detect a
rial pressure.                                                     waveform of arterial pressure.
   The dicrotic pressure difference ratio calculating section         Then, the blood pressure converting section converts the
548 calculates the dicrotic pressure difference ratio BP^/         waveform of arteri시 pressure detected by the arterial pres­
ABP which is the ratio of the dicrotic pressure difference         sure waveform detecting section 504 into the waveform of
BP_w，which is the pressure difference between the blood 45 cardinal-position arterial pressure at a position correspond­
pressure at a dicrotic notch and the minimum blood pressure        ing to the height of the heart. It is noted that this step may
(the diastolic blood pressure BP°五尸)，to the pulse pressure         be omitted in the case where the waveform of arterial
ABP which is the pressure difference between the maximum           pressure is used in the succeeding steps.
blood pressure and the minimum blood pressure, based on               Next, the dicrotic wave height calculating section 544
the waveform of arteri시 pressure or the waveform of 50 c시culates the dicrotic wave height △BP^ (FIG. 48), which
cardinal-position arterial pressure.                               is the difference in blood pressure between the dicrotic notch
   The mean blood pressure-pulse pressure ratio c시culatmg          and the peak of a dicrotic wave, based on the waveform of
section 552 calculates the mean blood pressure-pulse pres­         arterial pressure or the waveform of the cardinal-position
sure ratio       ノ△BP which is the ratio of the mean blood         arterial pressure.
pressure           to the pulse pressure ABP, which is the 55         In parallel with the c시dilations of the dicrotic wave
pressure difference between the maximum blood pressure             height ABP^ the dicrotic pressure difference ratio calculat­
and the minimum blood pressure, based on the waveform of           ing section 548 calculates the dicrotic pressure difference
arterial pressure or the waveform of cardin시-position arte­        ratio BPw/^BP which is the ratio of the dicrotic pressure
rial pressure.                                                     difference BP^“，which is the pressure difference between
   The effusion diastolic pressure ABPp calculating section 60 the blood pressure at a dicrotic notch and the minimum
554 calculates the effusion diastolic pressure ABPp (see FIG.      blood pressure (the diastolic blood pressure BP』か)，to the
48) which is the difference between the blood pressure at a        pulse pressure ABP which is a pressure difference between
dicrotic notch and sy마olic blood pressure BP$» which are           a maximum blood pressure and a minimum blood pressure,
obtained from the pulse wave of arterial pressure or the           based on the waveform of arterial pressure or the waveform
waveform of cardinal-position arteri시 pressure.                 65 of cardinal-position arteri시 pressure.
   The pulse waveform-judging information storing section             At the same time, the mean blood pressure-pulse pressure
556 stores pulse waveform-judging information in advance.          ratio calculating section 552 calculates the mean blood
                                                                     81



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pressure-pulse pressure ratio BP^^^^/ABP which is the ratio       between the blood pressure at a dicrotic notch and the
of the mean blood pressure              to the pulse pressure     minimum blood pressure and dicrotic wave height △BI匕,
ABP, which is the pressure difference between the maximum         which is the difference in blood pressure between the
blood pressure and the minimum blood pressure, based on           dicrotic notch and the peak of the dicrotic wave during a
the waveform of arterial pressure or the waveform of 5 period between 60 minutes before the administration and 60
cardinal-position arterial pressure.                              minutes after the administration when nifezipine is admin­
   Also, in parallel with the above calculations, the effusion    istered as a hypotensive at time 〇 (minute). In FIG. 64, the
diastolic pressure c시culating section 554 c시culates the           waveform named as “Control" is a waveform of arterial
effusion diastolic pressure ABPp (see FIG. 48) which is the       pressure of one beat as an average for 60 minutes before the
difference between the blood pressure at a dicrotic notch and
                                                               10 administration of the hypotensive and the waveform named
the sy마olic blood pressure BP$» which are obtained from
                                                                  as “Nf" is a waveform of arterial pressure of one beat as an
the pulse wave of arteri시 pressure or the waveform of
                                                                  average for fO seconds from f5 minutes after the adminis­
cardinal-position arterial pressure.
                                                                  tration of the hypotensive. It is seen clearly from these
   Next, the pulse waveform judging section 560 judges the
                                                                  figures that the administration of the hypotensive leads to a
pulse waveform such as a Hua mai, Ping mai and Xuan mai
                                                               15 fall in the mean blood pressure           a rise in the effusion
showing pulse waveforms in sphygmopalpation used in
                                                                  diastolic pressure ABPp and an increase in the dicrotic wave
Chinese medicine on the basis of the pulse waveform­
                                                                  height ABP25. This embodiment relates to a pharmacological
judging information and at least one of the dicrotic wave
                                                                  action monitor structured on the basis of the result of the
height ABP^, the dicrotic pressure difference ratio BP^/
                                                                  observation of such a pharmacological action.
ABP, the mean blood pressure-pulse pressure ratio
                                                               20 13.2 Structure and Action of the Pharmacological Action
ABP, and the effusion diastolic pressure ABPp.
                                                                  Monitor
   The output section 564 outputs at least one piece of
                                                                     A pharmacological action monitor 570, as shown in FIG.
information corresponding to the dicrotic wave height
                                                                  57, is not provided with the dicrotic pressure difference ratio
ABP^, the dicrotic pressure difference ratio BP^yABP, the
                                                                  calculating section 548 and the mean blood pressure-pulse
mean blood pressure-pulse pressure ratio BP^^^^ABP, the
                                                               25 pressure ratio c시culating section 552 which are provided in
effusion diastolic pressure ABPp and the pulse waveform-
                                                                  the pulse waveform monitor 540 shown in the eleventh
judged information. This information may be output either
                                                                  embodiment. In the pharmacological action monitor 570, a
to a liquid crystal display, a CRT or a printer in the form of
                                                                  pharmacological action judging section 574 is used in place
numerals or graphs, or as voltage or digital information
                                                                  of the pulse waveform judging section and a pharmacologi­
corresponding to the information.
                                                               30 cal action-judging information storing section 572 is used in
   In this manner, according to the pulse waveform monitor
                                                                  place of the pulse waveform-judging information storing
540 of this embodiment, at least one of the dicrotic wave
                                                                  section. The pharmacological action monitor 570 has the
height ABP^, the dicrotic pressure difference ratio BP^/
                                                                  same structure as the pulse waveform monitor 540 of the
ABP, the mean blood pressure-pulse pressure ratio
                                                                  eleventh embodiment except for the above sections.
ABP, and the effusion diastolic pressureABPp can be calcu­ 35
                                                                     In the pharmacological action monitor 570 with such a
lated based on the waveform of arterial pressure detected by
                                                                  structure, when the arteri시 pressure waveform detecting
the pulse waveform detecting section 504. Fhe pulse wave­
                                                                  section 504 detects a waveform of arterial pressure, the
form monitor 540 can also judge the pulse waveform on the
                                                                  information from the waveform is input to an effusion
basis of at least one of the dicrotic wave heightABP^^, the
                                                                  diastolic pressure calculating section 554 and a dicrotic
dicrotic pressure difference ratio BP^^yABP, the mean blood
                                                               40 wave height calculating section 544. The effusion diastolic
pressure-pulse pressure ratio BP^^^^/ABP, and the effusion
                                                                  pressure calculating section 554 calculates effusion diastolic
diastolic pressureABPp and on the pulse waveform-judging
                                                                  pressure which is the difference between the systolic blood
information. The pulse waveform monitor 540 can further
                                                                  pressure (maximum blood pressure) and the dicrotic blood
output one piece of information corresponding to the
                                                                  pressure and outputs the effusion diastolic pressure to the
dicrotic wave height ABP^, the dicrotic pressure difference
                                                               45 pharmacological action judging section 574 and to an output
ratio BPw/^BP, the mean blood pressure-pulse pressure
                                                                  section 564. The dicrotic wave height calculating section
ratio BPmeaJ^BP, the effusion diastolic pressureABPp and          544 calculates a dicrotic wave height which is the difference
information relating to the pulse waveform in the form of,
                                                                  in blood pressure between the dicrotic notch and the peak of
for example, numerals, graphs or voltages.
                                                                  a dicrotic wave and outputs the c시culated data to the
                   f3. Twelfth Embodiment                      50 pharmacological action judging section 574 and to the
f3.f Principle                                                    output section 564.
   The inventors of the present invention monitored the              The pharmacological action judging section 574 judges
aforementioned effusion diastolic pressure ABPp, namely,          the pharmacological action from the input data of the
the difference between the blood pressure at a dicrotic notch     effusion diastolic pressure and of the dicrotic wave height
and the systolic blood pressure which were obtained from 55 based on the pharmacological action judging information
the waveform of arterial pressure and the dicrotic wave           stored in the pharmacological action-judging information
height ABP25, namely, the difference in blood pressure            storing section 572 and outputs the result to the output
between the dicrotic notch and the peak of the dicrotic wave      section 564. The output section 564 outputs the values of the
by using a pulse waveform monitor having the same struc­          effusion diastolic pressure and dicrotic wave height and the
ture as that of the pulse waveform monitor used in the 60 result judged by the pharmacological action judging section
eleventh embodiment. As a consequence, it was confirmed           in, for instance, image information via an LCD, sound
that administration of some types of medication, for              information from a speaker and in the form of voltage.
example, a hypotensive, leads to a change in the effusion            In the pharmacological action monitor 570, a pulse wave
diastolic pressure as shown in the following.                     detecting section for detecting a pulse waveform which is a
   FIG. 63 is a graph showing the results of the mean blood 65 wave of blood which is output from the heart and propagates
pressure           effusion diastolic pressure ABPp, dicrotic     through a blood vessel may be used in place of the arterial
pressure difference BP^ which is the pressure difference          pressure waveform detecting section 504. In this case, the
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effusion diastolic pressure calculating section 554 and the           (6) The wavelet transformation and the inverse wavelet
dicrotic wave height calculating section 544 cannot calculate      transformation described in the above embodiments may be
absolute blood pressure. Hence they can be replaced by             carried out using a filter bank. FIG. 58 shows an instance of
effusion diastolic pressure ratio calculating section and          the structure of a filter bank used in the wavelet transfor-
dicrotic wave height ratio c시culatmg section to calculate an 5 mation. In the figure, the filter bank is structured in three
effusion diastolic pressure ratio and a dicrotic wave height       stages and its basic unit consists of a high frequency filter lA
ratio which are normalized by pulse pressure, namely, the          and a decimation filter IC and a low frequency filter IB and
difference between systolic pressure and diastolic pressure        a decimation filter IC. The high frequency filter lA and the
respectively so that a comparison of data can be made              low frequency filter IB divide a given frequency zone to
exactly.                                                        10 output a high frequency component and a low frequency
   In this embodiment, the pharmacological action monitor          component respectively. Since it is assumed that the fre­
570 is provided with the effusion dia마olic pressure calcu­         quency zone of the pulse wave data MD is in the range
lating section 554 and the dicrotic wave height calculating        between 〇 Hz and 4 Hz in this embodiment, the pass band
section 544. However, a pharmacological action monitor             of the high frequency filter lA of the first stage is designed
may have a structure in which at least one of the effusion 15 to be in the range between 2 Hz and 4 Hz whereas the pass
diastolic pressure c시culating section 554 and the dicrotic         band of the low frequency filter IB of the first stage is
wave height calculating section 544 is used.                       designed to be in the range between 〇 Hz and 2 Hz. The
                    14. Other Modifications                        decimation filter IC thins out data every one sample.
                                                                      When the data yielded in this manner is supplied to the
   Having described embodiments of the present invention,
                                                                20 next stage, the division of the frequency zone and the
the present invention is not limited to the aforementioned
                                                                   data-thinning operation are repeated to divide the frequency
embodiments but various modifications may be made within
                                                                   zone between 〇 Hz and 4 Hz into eight zones thereby
the scope of the spirit of the invention and within an
                                                                   yielding data M1-M8.
equivalent scope of the appended claims.
                                                                      The high frequency filter lA and the low frequency filter
   (f) In the foregoing first embodiment, the tidal wave­
                                                                25 IB may be constituted of a transversal filter including a
character extracting section 50 yields the tidal wave-
                                                                   delay element (D flip-flop) in the inside thereof. Meanwhile,
아laracter data TWD by (f2+f3+f4)/fl and the dicrotic wave­
                                                                   the human pulse rate is in the range between 40 and 200 and
character extracting section 60 yields the dicrotic wave-
                                                                   the frequency of the fundamental wave of the pulse wave­
아laracter data DWD by (f5+f6+f7)/fl. The present invention
                                                                   form MH varies every moment corresponding to the condi-
is not limited to the above and these sections may extract the
                                                                30 tion of a living body. In this case, if the divided frequency
characteristics of a tidal wave and dicrotic wave on the basis
                                                                   zone is caused to be variable synchronously with the fre­
of any harmonic component as far as the harmonic compo­
                                                                   quency of the fundamental wave, information following the
nent makes it possible to extract the characteristics of the
                                                                   condition of a dynamic living body can be obtained. For this,
tidal wave and dicrotic wave.
                                                                   the divided frequency zone may be varied correspondingly
   (2) In the aforementioned second embodiment, the time
                                                                35 by giving the pules waveform MH as a clock signal supplied
positions of the tidal wave and dicrotic wave are specified
                                                                   to the transversal filter.
based on the pulse wave analysis data MKD. However, the
                                                                      Among the pulse wave analysis data MKD, typical fre­
present invention is not limited to the above but any method
                                                                   quency components showing the characteristics of the pulse
may be adopted as far as it can specify each time position.
                                                                   waveform MH are each frequency component of the fim-
For instance, the signal MHj is differentiated to calculate its
                                                                40 damental wave, second harmonic wave and third harmonic
zero-cross point thereby determining the peak point of the
                                                                   wave. The pulse condition may be determined using part of
signal MHj by which the time positions of the tidal wave and
                                                                   the data M*1 -M*8 output from the filter bank. In this case,
dicrotic wave are specified.
                                                                   if the filter bank is structured so as to synchronize with the
   (3) In the above second embodiment, the frequency
                                                                   pulse waveform MH as above-mentioned, part of the high
analysis of the signal MHj is made by undergoing wavelet
                                                                45 frequency filter lA, low. frequency filter IB and decimation
transformation. A method may be adopted in which a
                                                                   filter IC may be omitted so that the structure can be
window function is used to extract a tidal wave and a
                                                                   simplified.
dicrotic wave from the signal MHj and the extracted tidal
                                                                      Next, FIG. 59 shows an instance of the structure of an
wave and dicrotic wave are each subjected to FFT treatment.
                                                                   inverse filter bank used to carry out the inverse wavelet
   (4) In the first and second embodiments as 5° transformation. In the figure, the filter bank has a three-stage
aforementioned, a frequency analysis by FFT treatment (first
                                                                   structure with the basic unit consisting of a high frequency
embodiment) and a time frequency analysis by wavelet
                                                                   filter 2A and an interpolating filter 2C, a low frequency filter
transformation (second embodiment) are made to extract the
                                                                   2B and an interpolating filter 2C, and an adder 2D. The high
characteristics of a tidal wave and dicrotic wave. However,
                                                                   frequency filter 2A and the low frequency filter 2B respec-
the present invention is not limited to the above but any 55 tively divide a prescribed frequency zone to output a high
measures may be used as far as these characteristics can be
                                                                   frequency component and a low frequency component
extracted based on the amplitudes of a tidal wave and
                                                                   respectively. The interpolating filter 2C interpolates one
dicrotic wave. For instance, a method may be adopted in
                                                                   sample for every two samples.
which the signal MHj is subjected to two-step differentiation
                                                                      Here, in order to reproduce a waveform, it is necessary to
to intensify the peak of the signal MHj and the amplitudes
                                                                   use a totally reproducible filter bank in the filter bank shown
of the tidal wave and dicrotic wave are calculated based on
                                                                   in FIG. 58 and in the filter bank 아lown in FIG. 59. In this
the resulting signal thereby extracting each of the amplitudes
                                                                   case, the following relationship must be established between
as the characteristics of each wave.
                                                                   the characteristics of the high frequency filters lA, 2A and
   (5) In the sixth and seventh embodiments mentioned
                                                                   the low frequency filters IB, 2B.
above, the first frequency correcting section and the second 65
frequency correcting section are used. However, these struc­               H0(-Z)F0(Z)+Hl(-Z)Fl(Z)=0
tures may be omitted.                                                      H0(Z)F0(Z)+Hl(-Z)Fl(Z)=2Z-^

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   The high frequency filter 2A and the low frequency filter      the vibration of a device body (for instance, the device body
2B may be constituted of a transversal filter inclnding a         100) of a wrist watch.
delay element (D flip-flop) in the inside thereof. In the case       In addition, notifying means which appeal to the sense of
where a clock signal to be supplied is synchronized with the      smell may have a structure in which a mechanism for jetting
pulse waveform MH to make the divided zone variable 5 a perfume or the like is provided in the apparatus so that the
synchronously with the frequency of the fundamental wave          content of the notification corresponds to the fragrance of
of the pulse waveform MH in the filter bank used in the           the perfume, to discharge a perfume corresponding to the
wavelet transformation section 10, the clock signal may be        content of the notification. incidentally, a micro-pump or the
supplied to the high frequency filter 2A and to the low           like is most suitable as the mechanism for jetting a perfnme
frequency filter 2B.                                           10 or the like.
   (7) In the aforementioned embodiments, the display sec­           These notifying means may be, of course, used either
tion 30 is described as an example of a measure for output­       singly or in combinations of means.
ting information. Alternatively, as examples of measures for         (8) In the aforementioned embodiments, description is
informing persons from an apparatus, those described in the       given using the pulse wave detecting section 10 as an
following may be given. It is considered to be proper that 15 example of the pulse wave detecting means. The present
these measures be classified according to a standard based        invention is not limited to the pulse wave detecting section
on the five senses. These measures may be, of course, used        10 and any section may be adopted as far as it can detect
not only singly but also in combinations of a plur시ity of         pulsation.
measures. Additionally, the use of measures which appeal to          For instance, those utilizing transmitted light may be
the five senses other than the sense of sight enables even 20 adopted although the pulse wave detecting section 10 uti­
visually handicapped persons to understand the information.       lizes reflected light. In the meantime, light having a wave­
Likewise, the measures which appeal to the five senses other      length range less than 700 nm tends to transmit through a
than the sense of hearing make it possible to notify persons      finger tissue with difficulty. In the case of using transmitted
with a hearing impairment. Thus an apparatus which is             light, the light having a wavelength ranging from 600 nm to
user-friendly even to handicapped persons can be provided. 25 fOOO nm is emitted from an emission section and is 시lowed
   First, notifying means which appeal to the sense of            to transmit through tissue, blood vessel, and tissue in this
hearing include those intended either to inform the results of    order to detect a variation in the quantity of the transmitted
the analysis and diagnosis of a cardiac function or for the       light. Since the transmitted light is absorbed in hemoglobin
purpose of warning. For instance, these means are repre­          in blood, the pulse waveform can be detected by detecting
sented by piezoelectric elements and speakers as well as 30 the change in quantity of the transmitted light.
buzzers. To mention a specific example, one idea is that a           In this case, in the emission section, a laser emitting diode
person who is the subject of notification keeps a portable        of an InGaAs type (mdium/g시lium/arsemc) or GaAs type
radio receiver close by and this receiver is accessed from the    (gallium/arsenic) is preferably used. The extraneous light
side of the apparatus when notification is intended.              having wavelengths ranging from 600 nm to 1000 nm tends
Moreover, in the notification using these devices, there are 35 to transmit through tissue and hence the S/N ratio of the
many cases where not only simple notification is made but         pulse signals is impaired when the extraneous light is
also some further information is communicated. In this case,      introduced into a light receiving section. So a method may
the level of informationsuchas mentionedbelow, for                be adopted in which polarized laser light is emitted from an
example, soundvolume, may be changed. These types of              emission section and the transmitted light is accepted by a
information include sound pitch, sound volume, sound tone, 40 light receiving section through a polarizing filter. This
voice, types of music (programs).                                 enables detection of pulse signals free from the effect of
   Second, the use of the notifying means which appeals to        extraneous light at a high S/N ratio.
the sense of sight is for the purpose of communicating               In this case, as shown in FIG. 61, an emission section 146
various messages and the results of measurement or for the        is arranged on the side of a fastener 145 and a light receiving
purpose of warning from an apparatus. The following 45 section 147 is arranged on the side of the body of a wrist
devices are considered suitable for attaining the above           watch. The light emitted from the emission section 146
purposes. Specifically, displaying devices, CRTs (cathode         transmits through blood vessel 143, then passes through an
ray tube displays), LCDs (liquid crystal displays), printers,     area between a radius 148 and a cubitus 142 and reaches the
X-Y plotters, and lamps are exemplified. A eyeglass-type          light receiving section 147. In the case of using the trans­
projector is exemplified as a specific display device. In the 50 mitted light, it is necessary for the emitted light to transmit
notification, the variations mentioned below are considered.      through tissue and hence its wavelength is preferably in a
These variations include, for instance, display distinction       range between 600 nm and 1000 nm taking the absorption of
between a digital display and an analog display in the            the tissue into consideration.
notification of numerals, an indication by graphs, the con­          FIG. 62 shows an instance using an ear lobe as a detecting
centration of a display color, and an indication by a bar 55 position. A clamping member 190 and a clamping member
graph, circular graph or a f ace chart in the case of trans­      191 are activated by a spring 192 and can rotate around the
mitting numerals as is or as graded numerals. As an example       center of an axis 193. The clamping members 190 and 191
of the face chart, that shown in FIG. 60 is given.                are provided with a light emission section 194 and a light
   Then the use of notifying means which appeal to the sense      receiving section 195. When this pulse wave detecting
of touch is considered, possibly for the purpose of warning. 60 section is used, a ear lobe is clamped with the clamping
The following measures are adopted to achieve the above           members 190 and 191 to detect a pulse wave.
purpose: electrical stimulation produced by energizing a             (9) In the ninth embodiment, the body movement wave­
shape memory alloy projecting from the backface of a              form TH is detected by the body movement detecting section
portable device such as a wrist watch , and mechanical            20 and the pulse wave analysis data MKDf is compared with
stimulation produced by a projection formed in a portable 65 the body movement analysis data TKDf to eliminate a body
device such as a wrist watch in such a manner that it can be      movement component and to thereby calculate the autocor­
freely run in and out from the backface of the device or by       relation data RD based on which the pulse condition is
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determined. However, the body movement component tends               a frequency analyzing means for performing a frequency
to appear in a freqnency zone lower than the freqnency of               analysis of the pulse waveform;
the fundamental wave of the pulse waveform MH.                       a tidal wave-character extracting means for extracting the
Therefore, if a frequency zone higher than the frequency                characteristics of a tidal wave from the result of the
zone of the fundamental wave of the pulse waveform MH is 5              analysis of the frequency analyzing means to yield tidal
selected as the focused frequency zone, the body movement
                                                                        wave-character information;
detecting section 20, the waveform treating section 21, the
judging section 22, the second wavelet transformation sec­           a dicrotic wave-character extracting means for extracting
tion 45 and the body movement component eliminating                     the characteristics of a dicrotic wave from the result of
section 240 may be omitted. Specifically, in the pulse wave             the analysis of the frequency analyzing means to yield
                                                               10
examination apparatus 1 as shown in FIG. 34, if a frequency             dicrotic wave-character information; and
zone higher than the frequency zone of the fundamental               a pulse condition judging means for judging the pulse
wave of the pulse waveform MH is selected as the focused                condition of the living body on the basis of the tidal
frequency zone, an exact pulse condition can be determined              wave-character information and the dicrotic wave­
even if body movement exists.                                           character information.
   (fO) The tenth and eleventh embodiments show instances 15         6. The pulse wave examination apparatus as defined in
in which a blood pressure monitor and a pulse waveform            claim 5,
monitor are formed as apparatuses separated from each
other. However, a structure may be adopted in which the              wherein the tidal wave-character information extracting
blood pressure monitor shown in the tenth embodiment                    means specifies a period of the tidal wave in the pulse
includes the pulse waveform monitor shown in the eleventh      20       waveform    and extracts the characteristics of the tidal
embodiment.                                                             wave from the tidal waveform on the basis of the result
   (ff) The eleventh embodiment shows an instance in                    of the analysis of the frequency analyzing means in the
which the dicrotic wave height c시culating section 544, the              period of the tidal wave to yield tidal wave-character
dicrotic pressure difference ratio c시culatmg section 548, the           information; and
mean blood pressure-pulse pressure ratio calculating section 25      wherein the dicrotic wave-character information extract­
and the effusion diastolic pressure calculating section are             ing means specifies a period of the dicrotic wave in the
provided in the pulse waveform monitor. However, at least               pulse waveform and extracts the characteristics of the
one of these calculating sections may be provided.                      dicrotic wave from the dicrotic waveform on the basis
   What is claimed is:                                                  of the result of the analysis of the frequency analyzing
   1. A pulse wave examination apparatus comprising:           30       means in the period of the dicrotic wave to yield
   a pulse wave detecting means for detecting a pulse                   dicrotic wave-character information.
      waveform from a living body;                                   7. The pulse wave examination apparatus as defined in
   a tidal wave-character extracting means for extracting the     claim 5, wherein the frequency analyzing means performs
      characteristics of a tidal wave from the pulse waveform     FFT treatment of the pulse waveform.
      to yield tidal wave-character information;               35    8. The pulse wave examination apparatus as defined in
                                                                  claim 5, wherein the frequency analyzing means performs
   a dicrotic wave-character extracting means for extracting
                                                                  wavelet transformation treatment of the pulse waveform.
      the characteristics of a dicrotic wave from the pulse
                                                                     9. A pulse wave examination apparatus comprising:
      waveform to yield dicrotic wave-character information;
      and                                                            a pulse wave detecting means for detecting a pulse
                                                               40       waveform from the detecting position of a living body;
   a pulse condition judging means for judging the pulse
      condition of the living body on the basis of the tidal         an auto-correlation calculating means for calculating
      wave-character information and the dicrotic wave­                 auto-correlation data giving the auto-correlation of the
      character information.                                            pulse waveform detected by the pulse wave detecting
   2. The pulse wave examination apparatus as defined in 45             means; and
claim 1,                                                             a pulse condition-data yielding means for yielding pulse
   wherein the tidal wave-character extracting means yields             condition data giving the type of pulse waveform based
      the tidal wave-character information on the basis of a            on the auto-correlation data.
      variation in the amplitude in the time-domain of the           10. The pulse wave examination apparatus as defined in
      tidal wave; and                                             claim 9,
                                                               50
   wherein the dicrotic wave-character extracting means              wherein the pulse condition-data yielding means produces
      yields the dicrotic wave-character information on the             the pulse condition data by comparing the auto­
      basis of a variation in the amplitude in the time-domain          correlation data with a prescribed threshold value.
      of the dicrotic wave.                                          Il Fhe pulse wave examination apparatus as defined in
   3. The pulse wave examination apparatus as defined in 55 claim 10,
claim 2,                                                             wherein the pulse condition-data yielding means com­
   wherein the variations in the amplitude in the time­                 prises a minimum value detecting section for detecting
      domain of the tidal wave and the dicrotic wave are                the minimum value of the auto-correlation data during
      c시culated from the primary or secondary time deriva­              a period of one heart beat, and a comparing section for
      tive of the pulse waveform.                              60       comparing the minimum v시ue, detected by the mini­
   4. The pulse wave examination apparatus as defined in                mum value detecting section, with the threshold value
claim 1, further comprising a notification means for com­               to yield the pulse condition data.
municating the pulse condition judged by the pulse condi­            12. The pulse wave examination apparatus as defined in
tion judging means.                                               claim 10,
   5. A pulse wave examination apparatus comprising:           65    wherein the pulse condition-data yielding means com­
   a pulse wave detecting means for detecting a pulse                   prises a minimum value detecting section for detecting
      waveform from a living body;                                      an average minimum value by averaging each mini-
                                                                    85



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     mum value of the auto-correlation data detected in each         comparing operation performed in the first comparing sec­
     of plural heart beat periods, and a comparing section for       tion is 0.25 approximately.
     comparing the average minimum value, detected by the               19. The pulse wave examination apparatus as defined in
     minimum v시ue detecting section, with the threshold              claim 17,
     value to yield the pulse condition data.                      5    wherein the auto-correlation data is a coefficient of auto­
   13. The pulse wave examination apparatus as defined in                  correlation, and the second threshold value used in the
claim 9,                                                                   comparing operation performed in the time measuring
   wherein the pulse condition-data yielding means com­                    section is designed to be in a range between 0.4 and 0.8.
     prises:                                                            2〇. The pulse wave examination apparatus as defined in
      a time measuring section for comparing the auto- 1。 claim 9, wherein the pulse condition data yielding means
         correlation data with a prescribed threshold value to       comprises:
         measure a time mterv시 in which the auto-correlation            a minimum value detecting section for detecting the
         data exceeds or is less than the threshold value;                 minimum value of the auto-correlation data in a period
      a calculating section for calculating the ratio of the time          of one heart beat;
         interval, measured by the time measuring section, to 技
                                                                        a first comparing section for comparing the minimum
         a period of one heart beat; and
                                                                           value, detected by the minimum value detecting
      a comparing section for comparing the result, calcu­
                                                                           section, with the first threshold value to yield pulse
         lated by the c시culating section, with a prescribed
                                                                           condition data indicating a Xuan mai when the mini­
         threshold value to yield the pulse condition data.
                                                                           mum value is less than the first threshold value;
   14. rhe pulse wave examination apparatus as defined in 20
claim 13,                                                               a variation  calculating section for detecting a change rate
                                                                           of the auto-correlation data on the basis of the auto­
   wherein the c시culatmg section calculates the ratio of the
                                                                           correlation data; and
     time interval, measured by the time measuring section,
     to a period of one heart beat and calculates the average           a second comparing section for comparing the change
     of the calculated results.                                 25         rate, calculated by the change rate calculating section,
   15. The pulse wave examination apparatus as defined in                  with  a prescribed threshold value to yield the pulse
claim 9,                                                                   condition data indicating a Ping mai or a Hua mai.
                                                                        21. The pulse wave examination apparatus as defined in
   wherein the pulse condition-data yielding means com­
                                                                     claim 9, further comprising;
     prises a change rate calculating section for detecting the
     change rate of the auto-correlation data on the basis of %         a body movement detecting means for detecting the
     the auto-correlation data, and a change rate comparing                waveform of the body movement indicating the body
     section for comparing the change rate, detected by the                movement of the living body; and
     change rate calculating section, with a prescribed                 a body movement-component eliminating means for
     threshold value to yield the pulse condition data.                    eliminating a body movement component from the
   16. The pulse wave examination apparatus as defined in 薬                pulse waveform to yield a body movement-eliminated
claim 15,                                                                  pulse waveform, said body movement component in
   wherein the change rate comparing section detects a                     the pulse waveform generated on the basis of the body
     maximum value of the change rate and compares the                     movement waveform;
     maximum value of the change rate with the threshold                wherein the auto-correlation calculating means calculates
     value to yield the pulse condition data.                              auto-correlation data giving auto-correlation on the
   17. The pulse wave examination apparatus as defined in                  basis of the body movement-eliminated pulse wave­
claim 9, wherein the pulse condition data yielding means                   form in place of the pulse waveform.
comprises:                                                              22. The pulse wave examination apparatus as defined in
   a minimum value detecting section for detecting the               claim 21, further comprising judging means for judging the
     minimum value of the auto-correlation data in a period          presence of body movement of the living body on the basis
     of one heart beat;                                              of the body movement waveform detected by the body
   a first comparing section for comparing the minimum               movement detecting means,
     value, detected by the minimum value detecting                     wherein the body movement-component eliminating
     section, with a prescribed first threshold value to yield 閃           means stops the body movement eliminating operation
     pulse condition data indicating a Xuan mai when the                   when the judging means shows the absence of body
     minimum value is less than the first threshold value;                 movement to output the pulse waveform in place of the
   a time measuring section for comparing the auto­                        body movement-eliminated pulse waveform.
     correlation data with a prescribed second threshold                23. The pulse wave examination apparatus as defined in
     value to measure a time interval in which the auto- 55 claim 9, further comprising:
     correlation data exceeds or is less than the second                a first wavelet transformation means for performing
     threshold value;                                                      wavelet transformation of the pulse waveform detected
   a c시culatmg section for c시culating the ratio of the time                by the pulse wave detecting means to yield pulse wave
     interval, measured by the time measuring section, to a                analysis data for every frequency zone;
     period of one heart beat; and                              60      a body movement detecting means for detecting the
   a second comparing section for comparing the result,                    movement of the living body to output the waveform of
     c시culated by the calculating section, with a prescribed               the body movement;
     third threshold value to yield the pulse condition data            a second wavelet transformation means for performing
     indicating a Ping mai or a Hua mai.                                   wavelet transformation of the waveform of the body
   18. The pulse wave examination apparatus as defined in 65               movement detected by the body movement detecting
claim 17, wherein the auto-correlation data is a coefficient of            means to yield body movement analysis data for every
auto-correlation, and the first threshold value used in the                frequency zone;
                                                                      86



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                            59                                                                60
   a body movement component eliminating means for sub­                pulse wave analysis data to yield body movement-
      tracting the body movement analysis data from the                eliminated pulse wave analysis data;
      pulse wave analysis data to yield body movement-              an auto-correlation calculating means for calculating
      eliminated pulse wave analysis data; and                         auto-correlation data giving auto-correlation of the
   an inverse wavelet transformation means for performing 5            body movement-eliminated pulse wave an시ysis data in
      inverse wavelet transformation of the body movement-             a given frequency zone; and
      eliminated pulse wave an시ysis data to yield a body            a pulse condition data yielding means for yielding pulse
      movement-eliminated pulse waveform;                              condition data giving the type of pulse waveform on the
                                                                       basis of the auto-correlation data.
   wherein the auto-correlation calculating means calculates
                                                                    28. A pulse wave examination apparatus comprising:
      auto-correlation data giving auto-correlation on the 10
                                                                    a pulse wave detecting means for detecting a pulse
      basis of the body movement-eliminated pulse wave­
                                                                       waveform from a detection position of a living body;
      form in place of the pulse waveform.
                                                                    a wavelet transformation means for performing wavelet
   24. rhe pulse wave examination apparatus as defined in
                                                                       transformation of the pulse waveform detected by the
claim 9, further comprising:                                           pulse wave detecting means to yield pulse wave analy­
                                                              15
   a wavelet transformation means for performing wavelet               sis data for every frequency zone;
      transformation of the pulse waveform detected by the          a body movement component eliminating means for
      pulse waveform detecting means to yield pulse wave               eliminating a prescribed frequency component corre­
      analysis data for every frequency zone;                          sponding to a body movement to yield body
   a body movement component eliminating means for 20                  movement-eliminated pulse wave an시ysis data;
      eliminating a prescribed frequency component corre­           an auto-correlation calculating means for calculating
      sponding to a body movement among the pulse wave                 auto-correlation data giving auto-correlation of the
      analysis data to yield body movement-eliminated pulse            body movement-eliminated pulse wave an시ysis data in
      wave analysis data; and                                          a given frequency zone; and
   an inverse wavelet transformation means for performing 25        a pulse condition data yielding means for yielding a pulse
      inverse wavelet transformation of the body movement-             condition data giving the type of pulse waveform on the
      eliminated pulse wave an시ysis data to yield a body               basis of the auto-correlation data.
      movement-eliminated pulse waveform;                           29. A blood pressure monitor comprising:
   wherein the auto-correlation calculating means calculates        an arterial pressure waveform detecting section for mea­
      auto-correlation data giving auto-correlation on the 30          suring blood pressure in an artery continuously to
      basis of the body movement-eliminated pulse wave­                detect a waveform of arterial pressure; and
      form in place of the pulse waveform.                          a mean blood pressure calculating section for calculating
   25. The pulse wave examination apparatus as defined in              the mean blood pressure on the basis of the waveform
claim 9, further comprising a notification means for com­              of arterial pressure.
municating the pulse condition data yielded by the pulse 35         3〇. The blood pressure monitor as defined in claim 29,
condition data yielding means.                                   further comprising a pulse pressure calculating section for
   26. A pulse wave examination apparatus comprising:            c시culating pulse pressure which is the pressure difference
                                                                 between the maximum blood pressure and the minimum
   a pulse wave detecting means for detecting a pulse
                                                                 blood pressure on the basis of the waveform of arterial
      waveform from the detecting position of a living body;
                                                                 pressure.
   a wavelet transformation means for performing wavelet 40         31. The blood pressure monitor as defined in claim 30,
      transformation of the pulse waveform detected by the       further comprising a blood pressure conversion section for
      pulse wave detecting means to yield pulse wave analy­      converting the waveform of arterial pressure detected by the
      sis data for every frequency zone;                         arterial pressure waveform detecting section into the wave­
   an auto-correlation calculating means for calculating         form of cardiac-position arteri시 pressure which is a wave­
                                                              45
      auto-correlation data giving auto-correlation of the       form of arterial pressure at a position corresponding to the
      pulse wave analysis data in a given frequency zone; and    height of a heart;
   a pulse condition data yielding means for yielding a pulse       wherein the mean blood pressure calculating section
      condition data giving the type of pulse waveform on the          calculates the mean blood pressure on the basis of the
      basis of the auto-correlation data.                              waveform of cardiac-position arterial pressure; and
                                                              50
   27. A pulse wave examination apparatus comprising:               wherein the pulse pressure calculating section c시culating
   a pulse wave detecting means for detecting a pulse                  the pulse pressure on the basis of the waveform of
      waveform from the detecting position of a living body;           cardiac-position arterial pressure.
   a first wavelet transformation means for performing              32. The blood pressure monitor as defined in claim 30,
      wavelet transformation of the pulse waveform detected 55 further comprising:
      by the pulse wave detecting means to yield pulse wave         a blood pressure-judging information storing section for
      analysis data for every frequency zone;                          storing blood pressure-judging information in advance;
   a body movement detecting means for detecting the                   and
      movement of the living body to output the waveform of         a blood pressure judging section for judging blood pres­
      the body movement;                                      60       sure on the basis of at least one of the mean blood
   a second wavelet transformation means for performing                pressure and the pulse pressure and on the blood
      wavelet transformation of the waveform of the body               pressure-judging information.
      movement detected by the body movement detecting              33. The blood pressure monitor as defined in claim 30,
      means to yield body movement analysis data for every       further comprising an output section for outputting at least
      frequency zone;                                         65 one piece of information corresponding to the mean blood
   a body movement component eliminating means for sub­          pressure, to the pulse pressure and to the blood pressure
      tracting the body movement analysis data from the          judgment.
                                                                   87



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                              61                                                                   62
   34. A blood pressure monitor comprising:                              pressure difference in blood pressure between a dicrotic
   an arterial pressure waveform detecting section for mea­              notch and the peak of a dicrotic wave;
      suring blood pressure in an artery continuously to              wherein the dicrotic pressure difference ratio calculating
      detect a waveform of arterial pressure; and                        section calculates, based on the wave form of cardiac­
   a pulse pressure calculating section for c시culatmg pulse 5            position arterial pressure, the ratio of a dicrotic pressure
                                                                         difference, which is the pressure difference between the
      pressure, which is the pressure difference between the
                                                                         blood pressure at a dicrotic notch and the minimum
      maximum blood pressure and the minimum blood
                                                                         blood pressure, to a pulse pressure which is the pressure
      pressure, on the basis of the waveform of arterial                 difference between the maximum blood pressure and
      pressure.                                                          the minimum blood pressure; and
   35. The blood pressure monitor as defined in claim 34, 10          wherein the mean blood pressure-pulse pressure ratio
further comprising:                                                      calculating section calculates, based on the waveform
   a maximum blood pressure calculating section for calcu­               of cardiac-position arterial pressure, the mean blood
      lating the maximum blood pressure on the basis of the              pressure-pulse pressure ratio which is the ratio of the
      pulse pressure; and                                                mean blood pressure to a pulse pressure which is the
                                                                15
   a minimum blood pressure calculating section for calcu­               pressure difference between the maximum blood pres­
      lating the minimum blood pressure on the basis of the              sure and the minimum blood pressure.
      pulse pressure and the maximum blood pressure.                  42. The pulse waveform monitor as defined in claim 38,
   36. A pulse waveform monitor comprising:                        further comprising:
   an arterial pressure waveform detecting section for mea­ 20        a pulse waveform-judging information storing section for
      suring blood pressure in an artery continuously to                 storing pulse waveform-judging information in
      detect a waveform of arterial pressure; and                        advance; and
   a dicrotic wave height calculating section for c시culatmg           a pulse waveform judging section for judging the pulse
      a dicrotic wave height which is the difference in blood            waveform on the basis of the dicrotic wave height, the
      pressure between a dicrotic notch and the peak of a 25             dicrotic pressure difference ratio, the mean blood
      dicrotic wave which are obtained from the waveform of              pressure-pulse pressure ratio, and the pulse waveform­
      arteri시 pressure.                                                  judging information.
   37. The pulse waveform monitor as defined in claim 36,             43. The pulse waveform monitor as defined in claim 38,
further comprising a dicrotic pressure difference ratio cal­       further comprising an output section for outputting at least
culating section for calculating, based on the waveform of 30 one piece of information corresponding to the dicrotic wave
arterial pressure, the ratio of a dicrotic pressure difference,    height, to the dicrotic pressure difference ratio, to the mean
which is the pressure difference between blood pressure at a       blood pressure-pulse pressure ratio, and to the pulse wave­
dicrotic notch and the minimum blood pressure, to a pulse          form.
pressure which is the pressure difference between the maxi­           44. The pulse waveform monitor as defined in claim 36,
mum blood pressure and the minimum blood pressure.                 further  comprising:
                                                                35
   38. The pulse waveform monitor as defined in claim 37,             a pulse waveform-judging information storing section for
further comprising a mean blood pressure-pulse pressure                  storing pulse waveform-judging information in
ratio calculating section for calculating, based on the wave­            advance; and
form of arterial pressure, the mean blood pressure-pulse              a pulse waveform judging section for judging the wave­
pressure ratio which is the ratio of the mean blood pressure 40          form of a pulse wave on the basis of the dicrotic wave
to pulse pressure which is the pressure difference between               height and the pulse waveform-judging information.
the maximum blood pressure and the minimum blood pres­                45. The pulse waveform monitor as defined in claim 36,
sure.                                                              further comprising an output section for outputting at least
   39. The pulse waveform monitor as defined in claim 37,          one piece of information corresponding to the dicrotic wave
further comprising:                                                height and to the pulse waveform.
                                                                45
   a pulse waveform-judging information storing section for           46. A pulse waveform monitor comprising:
      storing pulse waveform-judging information in                   a pulse waveform detecting section for detecting the pulse
      advance; and                                                       waveform from a living body; and
   a pulse waveform judging section for judging the pulse             a dicrotic pressure difference ratio calculating section for
      waveform on the basis of the dicrotic wave height, the 50          calculating, based on the pulse waveform, the dicrotic
      dicrotic pressure difference ratio and the pulse                   pressure difference ratio which is the ratio of the
      waveform-judging information.                                      pressure difference between a dicrotic pressure and the
   4〇. The pulse waveform monitor as defined in claim 37,                minimum pressure, to a pulse pressure which is a
further comprising an output section for outputting at least             pressure difference between the maximum pressure and
one piece of information corresponding to the dicrotic wave 55           the minimum pressure.
height, to the dicrotic pressure difference ratio, and to the         47. A pulse waveform monitor comprising:
pulse waveform.                                                       a pulse waveform detecting section for detecting a pulse
   4丄.rhe pulse waveform monitor as defined in claim 38,                 waveform from a living body; and
further comprising a blood pressure conversion section for            a mean pressure-pulse pressure ratio c시culating section
converting the waveform of arterial pressure detected by the 60          for calculating, based on the pulse waveform, the ratio
arterial pressure waveform detecting section into the wave­              of the mean pressure to pulse pressure which is a
form of cardiac-position arteri시 pressure which is a wave­               pressure difference between a maximum pressure and a
form of arterial pressure at a position corresponding to the             minimum pressure.
height of a heart;                                                    48. A blood pressure monitor comprising:
   wherein the dicrotic wave height calculating section 65            an arterial pressure waveform detecting section for mea­
      calculates, based on the waveform of cardiac-position              suring blood pressure in an artery continuously to
      arteri시 pressure, a dicrotic wave height which is the              detect a waveform of arterial pressure;
                                                                       88



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a mean blood pressure calculating section for c시culatmg               difference between the blood pressure at a dicrotic
   the mean blood pressure on the basis of the waveform               notch and the minimum blood pressure, to a pulse
   of arterial pressure; and                                          pressure which is the pressure difference between the
a dicrotic wave height calculating section for calculating,           maximum blood pressure and the minimum blood
   based on the waveform of arterial pressure, a dicrotic 5           pressure.
   wave height which is the difference in blood pressure          53. A blood pressure monitor comprising:
   between a dicrotic notch and the peak of a dicrotic             an arterial pressure waveform detecting section for mea­
   wave.                                                              suring blood pressure in an artery continuously to
49. A blood pressure monitor comprising:                              detect a waveform of arterial pressure;
an arterial pressure waveform detecting section for mea­ 10        a pulse pressure calculating section for c시culating pulse
   suring blood pressure in an artery continuously to                 pressure, which is the pressure difference between the
   detect a waveform of arterial pressure;                            maximum blood pressure and the minimum blood
a mean blood pressure calculating section for c시culating              pressure, on the basis of the waveform of arterial
   the mean blood pressure on the basis of the waveform               pressure; and
                                                             15
   of arterial pressure; and                                       a mean blood pressure-pulse pressure ratio c시culating
a dicrotic pressure difference ratio calculating section for          section for calculating, based on the waveform of
   calculating, based on the waveform of arterial pressure,           arterial pressure, the mean blood pressure-pulse pres­
   the dicrotic pressure difference ratio which is the ratio          sure ratio which is the ratio of the mean blood pressure
   of a dicrotic pressure difference, which is the pressure 20        to a pulse pressure which is the pressure difference
   difference between the blood pressure at a dicrotic                between the maximum blood pressure and the mini­
   notch and the minimum blood pressure, to a pulse                   mum blood pressure.
   pressure which is the pressure difference between the          54. A pulse waveform monitor comprising:
   maximum blood pressure and the minimum blood                    an arterial pressure waveform detecting section for mea­
   pressure.                                                 25
                                                                      suring blood pressure in an artery continuously to
5〇. A blood pressure monitor comprising:                              detect a waveform of arterial pressure; and
an arterial pressure waveform detecting section for mea­           an ejection diastolic pressure calculating section for
   suring blood pressure in an artery continuously to                 calculating, based on the waveform of arterial pressure,
   detect a waveform of arterial pressure;                            ejection diastolic pressure which is the pressure differ­
a mean blood pressure calculating section for c시culatmg 30            ence between systolic blood pressure and the blood
   the mean blood pressure on the basis of the waveform               pressure at a dicrotic notch.
   of arterial pressure; and                                      55. The pulse waveform monitor as defined in claim 54,
a mean blood pressure-pulse pressure ratio c시culatmg            further comprising:
   section for calculating, based on the waveform of               a pulse waveform-judging information storing section for
   arteri시 pressure, the mean blood pressure-pulse pres­ 35           storing pulse waveform-judging information in
   sure ratio which is the ratio of the mean blood pressure           advance; and
   to a pulse pressure which is the pressure difference            a pulse waveform judging section for judging the pulse
   between the maximum blood pressure and the mini­                   waveform on the basis of the ejection diastolic pressure
   mum blood pressure.                                                and the pulse waveform-judging information.
51. A blood pressure monitor comprising:                     40   56. A pulse waveform monitor comprising:
an arterial pressure waveform detecting section for mea­           a pulse wave detecting section for detecting a pulse
   suring blood pressure in an artery continuously to                 waveform from a living body; and
   detect a waveform of arterial pressure;                         an ejection diastolic pressure ratio calculating section for
a pulse pressure calculating section for c시culatmg pulse              calculating, based on the pulse waveform, the ejection
   pressure, which is the pressure difference between the 45          diastolic pressure ratio which is the ratio of ejection
   maximum blood pressure and the minimum blood                       diastolic pressure, which is the pressure difference
   pressure, on the basis of the waveform of arterial                 between systolic pressure and dicrotic pressure, to
   pressure; and                                                      pulse pressure which is the pressure difference between
a dicrotic wave height calculating section for calculating,           systolic pressure and diastolic pressure.
                                                             50
   based on the waveform of arterial pressure, the dicrotic       57. The pulse waveform monitor as defined in claim 56,
   wave height which is the difference in blood pressure        further comprising:
   between a dicrotic notch and the peak of a dicrotic             a pulse waveform-judging information storing section for
   wave.                                                              storing pulse waveform-judging information in
52. A blood pressure monitor comprising:                     55
                                                                      advance; and
an arterial pressure waveform detecting section for mea­           a pulse waveform judging section for judging the pulse
   suring blood pressure in an artery continuously to                 waveform on the basis of the ejection diastolic pressure
   detect a waveform of arterial pressure;                            ratio and the pulse waveform-judging information.
a pulse pressure calculating section for c시culatmg pulse          58. A pharmacological action monitor comprising:
   pressure, which is the pressure difference between the 60       an arterial pressure waveform detecting section for mea­
   maximum blood pressure and the minimum blood                       suring blood pressure in an artery continuously to
   pressure, on the basis of the waveform of arterial                 detect a waveform of arterial pressure; and
   pressure; and                                                   an ejection diastolic pressure calculating section for
a dicrotic pressure difference ratio calculating section for          calculating, based on the waveform of arterial pressure,
   calculating, based on the waveform of arterial pressure, 65        ejection diastolic pressure which is the pressure differ­
   the dicrotic pressure difference ratio which is the ratio          ence between systolic blood pressure and blood pres­
   of a dicrotic pressure difference, which is the pressure           sure at a dicrotic notch.
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   59. The pharmacological action monitor as defined in                 dicrotic pressure, to a pulse pressure which is the
claim 58, further comprising a dicrotic wave height calcu­              pressure difference between the diastolic pressure and
lating section for calculating, based on the waveform of                the systolic pressure.
arterial pressure, a dicrotic wave height which is the blood          61. The pharmacological action monitor as defined in
pressure difference between a dicrotic notch and the peak of 5     claim 60, further comprising a dicrotic wave height calcu­
a dicrotic wave.                                                   lating section for calculating, based on the pulse waveform,
   6〇. A pharmacological action monitor comprising:                a dicrotic wave height ratio which is the ratio of a dicrotic
   a pulse wave detecting section for detecting a pulse            wave height, which is the difference in pressure between a
     waveform from a living body; and                              dicrotic notch and the peak of a dicrotic wave, to pulse
   an ejection dia마olic pressure ratio calculating section for     pressure which is the pressure difference between systolic
      c시culating the ejection diastolic pressure ratio which is    pressure and diastolic pressure.
      the ratio of the ejection diastolic pressure, which is the
     pressure difference between systolic pressure and




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              UNITED STATES PATENT AND TRADEMARK OFHCE
                    CERTIFICATE OF CORRECTION

PATENT NO.     : 6,293,915 Bl                                                                    Page 1 of 1
DATED          : September 25, 2001
INVENTOR(S)    : Kazuhiko Amano et al.


      It is certified that error appears in the abov우-identified patent and that said Letters Patent is
      hereby corrected as shown below;


      Title page.
      Item [30], "Foreign Application Priority Data" change "July 12, 1998" to — July 13,
      1998 -




                                                                   Signed and Sealed this

                                                                Seventh Day of May, 2002


                        Attest：




                                                                            JAMES E. ROGAN
                      Attesting Officer                  Director of the United States Patent and Trademark Office




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                                                   Appx544
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                                                                                                                       US005632272A
United States Patent [19J                                                                          [lll      Patent Number:                                 5,632,272
Diab et al.                                                                                        [45]      Date of Patent:                          May 27, 1997

[54]     SIGNAL PROCESSING APPARATUS                                                                  4,869,254     9/1989 Stone et al ..
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[75]    Inventors: Mohamed K. Diab; Esmaiel                                                           4,892,101     1/1990 Cheung et al ..
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[22]     Filed:              Oct. 7, 1994                                                     Rabiner, Lawrence et al. Theory and Application of Digital
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[63]     Continuation-in-part of Ser. No. 132,812, Oct. 6, 1993, Pat.                          137-153. 1987.
         No. 5,490,505, and a continuation-in-part of Ser. No. 249,                           Harris, Fred et al., "Digital Signal Processing with Efficient
         690, May 26, 1994, Pat. No. 5,482,036, which is a continu-                           Polyphase Recursive All-Pass Filters", Presented at Inter-
         ation of Ser. No. 666,060, Mar. 7, 1991, abandoned.
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[51]     Int. Cl. 6 ........................................................ A61B 5/00        Sep. 4--6, 1991, 6 pages.
[52]     U.S. Cl. ............................................. 128/633; 128/666
                                                                                                                  (List continued on next page.)
[58]     Field of Search ..................................... 128/633-634.
                 128/664--667, 672. 687-688. 716; 356/39-41                                   Pri111Llry Examiner-Angela D. Sykes
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[56]                           References Cited                                               LLP.
                    U.S. PATENT DOCUMENfS                                                      [57]                          ABSTRACT
       3,647,299 3/1972 Lavallee.                                                             The present invention involves method and apparatus for
       3,704,706 12/1972 Herczfeld et al ..                                                   analyzing two measured signals that are modeled as con-
       4,063,551 12/1977 Sweeney.                                                             taining primary and secondary portions. Coefficients relate
       4,086,915 5/1978 Kofsky et al. .                                                       the two signals according to a model defined in accordance
       4,095,117 6/1978 Nagy.
                                                                                              with the present invention. In one embodiment, the present
       4,407,290 10/1983 Wtlber.
       4,537,200 8/1985 Widrow.                                                               invention involves utilizing a transformation which evalu-
       4,649,505 3/1987 Zinser, Jr. et al ..                                                  ates a plurality of possible signal coefficients in order to find
       4,773,422 9/1988 Isaacson et al ..                                                     appropriate coefficients. Alternatively. the present invention
       4,799,493 1/1989 DeFault.                                                              involves using statistical functions or Fourier transform and
       4,800,495 1/1989 Smith.                                                                windowing techniques to detennine the coefficients relating
       4,824,242 4/1989 Frick et al ..                                                        to two measured signals. Use of this invention is described
       4,848,901 7/1989 Hood, Jr..                                                            in particular detail with respect to blood oximetry measure-
       4,8(,(),759 8/1989 Kahn et al ..
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  I             FIG. I




             BONE
             MUSCLE
             TISSUE
             ARTERIAL BLOOD
             VENOUS BLOOD

                                                     FIG. 2



  I             FIG. 3

                                                            /S=s+n

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                                                       22b         24b
                                         SIGNAL
                                                               A/D
                                       CONDITIONER

                                          220           240
                               SIGNAL
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                    n' (t) = nAa(t) - ranAb(t)
                                                                       28
                                        27
                         CORRELATION                         DISPLAY
                          CANCELER
                                                              s~a(t)



       FIG. 4a




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                    s' (t) = s :>i.8't) - r vs:>i.b(t)
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       FIG. 4b




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 SAJt)= s Adt)+ nAa(t)
     OR
 SAt)=sA~t)+ nAb(t)


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             n'{t)

                                              FIG. 5a




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 SAJt)=s AJt> + nAa(t)
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 SA~t)=s AJt)+ nAb(t)


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                                              FIG. 5b




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   FIG. 6c              DI
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          R r 2 ,t) = sAa(t)-r2 sAb(t) + nAa(t)- r 2 nAb(t)
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                    INITIALIZE NOISE
                       CANCELLER
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          SIGNAL      :   AMPLIFIER                                                            PASS
                                                                       AMPLIFIER
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                              FIG        14                                             CALCULATION     PULSE             --.:a
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          DATA                                                                                                             RED AT 625 Hz
          AT 20f<Hz
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          RED CHANNEL        FIR LOWPASS FILTER    H   DECIMATION       H   OUTPUT BUFFER rRED SNAPSHOT
             (625Hz)            (519 SAMPLES)            BY 10              (570 SAMPLES)     (62,5 Hz)     --~
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          INFRARED CHANNEL       FIR LOWPASS FILTER    DECIMATION       OUTPUT BUFFER rFRARED SNAPSHOT      N
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               (625Hz)              (519 SAMPLES)
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                                                                        (570 SAMPLES)      (62,5 Hz)
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           (62,5 Hz, 570 SAM PLES)               LOG                                                              SAMPLES
                                                                                       FILTER
                                                                REMOVAL
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                                                                   RED                  RED                   PICK UP THE
           RED SNAPSHOT                         RED                                           FILTERED AC RED
                                                                    DC           i-- BANDPASS                   LAST -120
                                                                                                                                                                     Case: 22-1890




                                ES)             LOG                                           (270 SAMPLES)
           (62.5 Hz, 570 SAM                             -       REMOVAL               FILTER                   SAMPLES
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          TO SATURATION     C   1RELATION    CORRELATION                                                                                                     ~
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          FIG       /7      C       :RELATION  CORRELATION                                                                                                   'N
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          62,5 Hz)                                                      1...------,,-11 40 _/                                                         -554                  ~
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          RED
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          (570 SAMPLES,                                                                                                                                                     ~




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                            REMOVAL AND                               -
          SNAPSHOT                                       ESTIMATION
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                             BANDPASS
          (570 SAMP LES,
                               FILTER
          62.5 Hz)
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          SNAPSHOT                    SUPRESSION                                            LIMITING
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          (570 SAMP LES,
          62.5 Hz)                                                                                                          rJ'J.
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          SATURTION                    i                                             596---~                                ~
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          AVERAGE          : MOTION STATUS:
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          (570 SAMPLES,                              REMOVAL                                                                                                     ....;J
          62.5 Hz)                                                                                                                               I
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          62.5 HZ)                                                                                                                                               a~
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                       DEMODULATION           DECIMATION                               -          -....J
                                                                   TRANSFORM/   PLETHYSM OGRAPH
          (FROM ADC)
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                                                                  PULSE RATE




     34
                                                                  CALCULATION
                                                                                PULSE




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                                              FIG 25A

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          INFRARED SNAPSHOT                                        INFRARED
                                                                                                         WINDOW    H     COMPLEX
                                                                       HP                                                  FFT                             PULSE
          (62.5 Hz, 562 SAMPLES)                                                                        FUNCTION
                                                                     FILTER                                                          ~-+----rlrn        CALCULATION
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                                    642
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                                                  RED                RED       FILTERED AC RED                           COMPLEX
          RED SNAPSHOT                    RED                                                            WINDOW                           SELECT I -----------653
                                                  DC                  HP       (512 SAMPLES)
          (62.5 Hz. 562 SAMPLES)          LOG                                                           FUNCTION           FFT
                                                REMOVAL             FILTER
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                                                                                    THRESHOLD             MAGNITUDE                                                    "
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Appx640
            ARTERIAL          ARTERIAL HSATURATION                      RED                                                                                           ~
            SATURATION       SATURATION     EQUATION                 INFRARED.                                                                                        ~
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                                                                                                                                                                                 Page: 305




                                                                                    THRESHOLD             MAGNITUDE                                                   a:
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                                                                      PHASE                     PHASE
                                                                    THRESHOLD                    DIFF ---------1

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                                                      FIG 25B                                                                                                          ~
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 FIG.26




 FIG.27


   I   280             28b                   28c         n' (t)
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 FIG.28



                                  37
                             Appx642
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 FIG. 29




         L--------------t
 FIG. 30




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         SIGNAL PROCESSING APPARATUS                               corresponding primary or secondary signal portions, they
                                                                   have a frequency spectrum which is similar to that of the
     Reference to Prior Related Application                        primary or secondary signal portions.
    This is a continuation-in-part application of U.S. patent         In many cases, nothing or very little is known about the
application Ser. No. 08/132,812 filed Oct. 6, 1993, and            secondary and/or primary signal portions. One area where
entitled "Signal Processing Apparatus" now U.S. Pat. No.           measured signals comprising a primary signal portion and a
5,490,505 and a continuation-in-part application of U.S.           secondary signal portion about which no information can
patent application Ser. No. 08/249,690 filed May 26, 1994          easily be determined is physiological monitoring. Physi-
entitled "Signal Processing Apparatus and Method", now U.          ological monitoring generally involves measured signals
S. Pat. No. 5.482,036 which is a continuation of U.S. patent 10 derived from a physiological system, such as the human
                                                                   body. Measurements which are typically taken with physi-
application Ser. No. 07/666,060 filed Mar. 7, 1991, now
                                                                   ological monitoring systems include electrocardiographs,
abandoned.
                                                                   blood pressure, blood gas saturation (such as oxygen
           BACKGROUND OF THE INVENTION                             saturation), capnographs, other blood constituent
                                                                   monitoring, heart rate, respiration rate, electro-
    1. Field of the Invention                                   15
                                                                   encephalograph (EEG) and depth of anesthesia, for example.
   The present invention relates to the field of signal pro-       Other types of measurements include those which measure
cessing. More specifically, the present invention relates to       the pressure and quantity of a substance within the body
the processing of measured signals, containing a primary           such as cardiac output, venous oxygen saturation, arterial
signal portion and a secondary signal portion, for the             oxygen saturation, bilirubin, total hemoglobin, breathalyzer
removal or derivation of either the primary or secondary 20 testing. drug testing, cholesterol testing, glucose testing,
signal portion when little is known about either of these          extra vasation, and carbon dioxide testing, protein testing,
components. More particularly, the present invention relates       carbon monoxide testing, and other in-vivo measurements,
to modeling the measured signals in a novel way which              for example. Complications arising in these measurements
facilitates minimizing the correlation between the primary         are often due to motion of the patient. both external and
signal portion and the secondary signal portion in order to 25 internal (muscle movement, vessel movement, and probe
produce a primary and/or secondary signal. The present             movement, for example), during the measurement process.
invention is especially useful for physiological monitoring           Many types of physiological measurements can be made
systems including blood oxygen saturation systems.                 by using the known properties of energy attenuation as a
   2. Description of the Related Art                               selected form of energy passes through a medium.
                                                                30
   Signal processors are typically employed to remove or              A blood gas monitor is one example of a physiological
derive either the primary or secondary signal portion from a       monitoring system which is based upon the measurement of
composite measured signal including a primary signal por-          energy attenuated by biological tissues or substances. Blood
tion and a secondary signal portion. For example, a com-           gas monitors transmit light into the test medium and mea-
posite signal may contain noise and desirable portions. If the 35 sure the attenuation of the light as a function of time. The
secondary signal portion occupies a different frequency            output signal of a blood gas monitor which is sensitive to the
spectrum than the primary signal portion, then conventional        arterial blood fl.ow contains a component which is a wave-
filtering techniques such as low pass, band pass, and high         form representative of the patient's arterial pulse. This type
pass filtering are available to remove or derive either the        of signal, which contains a component related to the
primary or the secondary signal portion from the total signal. 40 patient's pulse, is called a plethysmographic wave, and is
Fixed single or multiple notch filters could also be employed      shown in FIG. 1 as curve s. Plethysmographic waveforms
if the primary and/or secondary signal portion(s) exist at a       are used in blood gas saturation measurements. As the heart
fixed frequency(s).                                                beats, the amount of blood in the arteries increases and
   It is often the case that an overlap in frequency spectrum      decreases, causing increases and decreases in energy
between the primary and secondary signal portions exists. 45 attenuation, illustrated by the cyclic wave s in FIG. 1.
Complicating matters further, the statistical properties of one       Typically, a digit such as a finger, an ear lobe, or other
or both of the primary and secondary signal portions change        portion of the body where blood flows close to the skin, is
with time. In such cases, conventional filtering techniques        employed as the medium through which light energy is
are ineffective in extracting either the primary or secondary      transmitted for blood gas attenuation measurements. The
signal. If, however, a description of either the primary or 50 finger comprises skin, fat, bone, muscle, etc., shown sche-
secondary signal portion can be derived, correlation               matically in FIG. 2, each of which attenuates energy incident
canceling, such as adaptive noise canceling, can be                on the finger in a generally predictable and constant manner.
employed to remove either the primary or secondary signal          However, when fleshy portions of the finger are compressed
portion of the signal isolating the other portion. In other        erratically, for example by motion of the finger, energy
words, given sufficient information about one of the signal 55 attenuation becomes erratic.
portions.that signal portion can be extracted.                        An example of a more realistic measured waveform S is
    Conventional correlation cancelers, such as adaptive           shown in FIG. 3, illustrating the effect of motion. The
noise cancelers, dynamically change their transfer function        primary plethysmographic waveform portion of the signal s
to adapt to and remove portions of a composite signal.             is the waveform representative of the pulse, corresponding
However, correlation cancelers require either a secondary 60 to the sawtooth-like pattern wave in FIG. 1. The large,
reference or a primary reference which correlates to either        secondary motion-induced excursions in signal amplitude
the secondary signal portion only or the primary signal            obscure the primary plethysmographic signal s. Even small
portion only. For instance, for a measured signal containing       variations in amplitude make it difficult to distinguish the
noise and desirable signal, the noise can be removed with a        primary signal component s in the presence of a secondary
correlation canceler if a noise reference is available. This is 65 signal component n.
often the case. Although the amplitude of the reference               A pulse oximeter is a type of blood gas monitor which
 signals are not necessarily the same as the amplitude of the       non-invasively measures the arterial saturation of oxygen in




                                                               40
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                              3                                                                   4
the blood. The pumping of the heart forces freshly oxygen-          together with either the first or second measured signals for
ated blood into the arteries causing greater energy attenua-        computation of, respectively, either the first or second pri-
tion. As well understood in the art. the arterial saturation of     mary signal portions.
oxygenated blood may be determined from the depth of the               Physiological monitors can benefit from signal processors
valleys relative to the peaks of two plethysmographic wave- 5 of the present invention. Often in physiological measure-
forms measured at separate wavelengths. Patient movement            ments a first signal comprising a first primary portion and a
introduces motion artifacts to the composite signal as illus-       first secondary portion and a second signal comprising a
trated in the plethysmographic waveform illustrated in FIG.         second primary portion and a second secondary portion are
3. These motion artifacts distort the measured signal.              acquired. The signals may be acquired by propagating
                                                                 10
                                                                    energy through a patient's body (or a material which is
              SUMMARY OF THE INVENTION                              derived from the body, such as breath, blood, or tissue, for
                                                                    example) or inside a vessel and measuring an attenuated
    This invention provides improvements upon the methods           signal after transmission or reflection. Alternatively, the
and apparatus disclosed in U.S. patent application Ser. No.         signal may be acquired by measuring energy generated by a
08/132.812. filed Oct. 6. 1993, entitled Signal Processing
                                                                 15 patient's body, such as in electrocardiography. The signals
Apparatus. which earlier application has been assigned to           are processed via the signal processor of the present inven-
the assignee of the instant application. The present invention      tion to acquire either a secondary reference or a primary
involves several different embodiments using the novel              reference which is input to a correlation canceler, such as an
signal model in accordance with the present invention to

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                                                                    adaptive noise canceler.
                                    O                                   One physiological monitoring apparatus which benefits
                                                                 20
~i!~~en                                       i:~~~e:~              from the present invention is a monitoring system which
a signal processor acquires a first measured signal and a           determines a signal which is representative of the arterial
 second measured signal that is correlated to the first mea-        pulse, called a plethysmographic wave. This signal can be
 sured signal. The first signal comprises a first primary signal    used in blood pressure calculations, blood constituent
portion and a first secondary signal portion. The second
                                                                 25 measurements. etc. A specific example of such a use is in
 signal comprises a second primary signal portion and a             pulse oximetry. Pulse oximetry involves determining the
 second secondary signal portion. The signals may be                saturation of oxygen in the blood. In this configuration. the
 acquired by propagating energy through a medium and                primary portion of the signal is the arterial blood contribu-
 measuring an attenuated signal after transmission or reflec-       tion to attenuation of energy as it passes through a portion
 tion. Alternatively. the signals may be acquired by measur-
                                                                 30 of the body where blood flows close to the skin. The
ing energy generated by the medium.                                 pumping of the heart causes blood flow to increase and
    In one embodiment. the first and second measured signals        decrease in the arteries in a periodic fashion. causing peri-
 are processed to generate a secondary reference which does          odic attenuation wherein the periodic waveform is the
 not contain the primary signal portions from either of the         plethysmographic waveform representative of the arterial
 first or second measured signals. This secondary reference is 35 pulse. The secondary portion is noise. In accordance with the
 correlated to the secondary signal portion of each of the first    present invention, the measured signals are modeled such
 and second measured signals. The secondary reference is            that this secondary portion of the signal is related to the
 used to remove the secondary portion of each of the first and      venous blood contribution to attenuation of energy as it
 second measured signals via a correlation canceler. such as        passes through the body. The secondary portion also
 an adaptive noise canceler. The correlation canceler is a 40 includes artifacts due to patient movement which causes the
 device which takes a first and second input and removes             venous blood to flow in an unpredictable manner. causing
 from the first input all signal components which are corre-         unpredictable attenuation and corrupting the otherwise peri-
 lated to the second input. Any unit which performs or nearly        odic plethysmographic waveform. Respiration also causes
 performs this function is herein considered to be a correla-        the secondary or noise portion to vary. although typically at
 tion canceler.                                                  45 a lower frequency than the patients pulse rate. Accordingly.
    An adaptive correlation canceler can be described by             the measured signal which forms a plethysmographic wave-
 analogy to a dynamic multiple notch filter which dynami-            form is modeled in accordance with the present invention
 cally changes its transfer function in response to a reference      such that the primary portion of the signal is representative
 signal and the measured signals to remove frequencies from          of arterial blood contribution to attenuation and the second-
 the measured signals that are also present in the reference 50 ary portion is due to several other parameters.
 signal. Thus. a typical adaptive correlation canceler receives         A physiological monitor particularly adapted to pulse
 the signal from which it is desired to remove a component           oximetry oxygen saturation measurement comprises two
 and receives a reference signal of the undesired portion. The       light emitting diodes (LED's) which emit light at different
 output of the correlation canceler is a good approximation to       wavelengths to produce first and second signals. A detector
 the desired signal with the undesired component removed. 55 registers the attenuation of the two different energy signals
     Alternatively. the first and second measured signals may        after each passes through an absorptive media, for example
 be processed to generate a primary reference which does not         a digit such as a finger. or an earlobe. The attenuated signals
  contain the secondary signal portions from either of the first     generally comprise both primary (arterial attenuator) and
  or second measured signals. The primary reference may then         secondary (noise) signal portions. A static filtering system.
 be used to remove the primary portion of each of the first and 60 such as a bandpass filter. removes a portion of the secondary
  second measured signals via a correlation canceler. The            signal which is outside of a known bandwidth of interest.
  output of the correlation canceler is a good approximation to      leaving an erratic or random secondary signal portion, often
 the secondary signal with the primary signal removed and            caused by motion and often difficult to remove. along with
  may be used for subsequent processing in the same instru-          the primary signal portion.
  ment or an auxiliary instrument. In this capacity, the 65             A processor in accordance with one embodiment of the
  approximation to the secondary signal may be used as a             present invention removes the primary signal portions from
 reference signal for input to a second correlation canceler         the measured signals yielding a secondary reference which




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is a combination of the remaining secondary signal portions.          plethysmograph, the method further comprises the step of
The secondary reference is correlated to both of the second-          calculating the pulse rate.
ary signal portions. The secondary reference and at least one              Another aspect of the present invention involves a physi-
of the measured signals are input to a correlation canceler,          ological monitor. The monitor has a first input configured to
such as an adaptive noise canceler, which removes the                 receive a first measured signal S 1 having a primary portion,
random or erratic portion of the secondary signal. This               s 1 , and a secondary portion n 1 • The monitor also has a
yields a good approximation to a primary plethysmographic             second input configured to receive a second measured signal
signal as measured at one of the measured signal wave-                S 2 having a primary portion s2 and a secondary portion n 2.
lengths. As is known in the art, quantitative measurements of         Advantageously, the first and the second measured signals
the amount of oxygenated arterial blood in the body can be 10 S 1 and S 2 are in accordance with the following relationship:
determined from the plethysmographic signal in a variety of
ways.
    The processor of the present invention may also remove                      S,=s,+n,
the secondary signal portions from the measured signals
yielding a primary reference which is a combination of the 15 where s 1 and s2, and n 1 and n2 are related by:
remaining primary signal portions. The primary reference is                s1=ras 2 and n 1=r,,n2
 correlated to both of the primary signal portions. The               and where ra and rv are coefficients.
primary reference and at least one of the measured signals                 The monitor further has a scan reference processor, the
 are input to a correlation canceler which removes the pri-           scan reference processor responds to a plurality of possible
mary portions of the measured signals. This yields a good 20 values for ra to multiply the second measured signal by each
 approximation to the secondary signal at one of the mea-             of the possible values for ra and for each of the resulting
 sured signal wavelengths. This signal may be useful for              values, to subtract the resulting values from the first mea-
removing secondary signals from an auxiliary instrument as            sured signal to provide a plurality of output signals. A
 well as determining venous blood oxygen saturation.                  correlation canceler having a first input configured to receive
    In accordance with the signal model of the present 25 the first measured signal, and having a second input con-
 invention, the two measured signals each having primary              figured to receive the plurality of output signals from the
 and secondary signal portions can be related by coefficients.        saturation scan reference processor, provides a plurality of
 By relating the two equations with respect to coefficients           output vectors corresponding to the correlation cancellation
 defined in accordance with the present invention, the coef-          between the plurality of output signals and the first measured
                                                                                                                 configured to receive
 ficients provide information about the arterial oxygen satu- 30 signal. An integrator having an input
                                                                      the    plurality of output  vectors from the correlation canceler
 ration and about the noise (the venous oxygen saturation and
 other parameters). In accordance with this aspect of the             is responsive to the plurality of output vectors to determine
 present invention, the coefficients can be determined by              a corresponding power for each output vector. An extremum
 minimizing the correlation between the primary and sec-               detector is coupled at its input to the output of the integrator.
                                                                   35 The extremum detector is responsive to the corresponding
 ondary signal   portions    as defined in the model. Accordingly,
 the signal model of the present invention can be utilized in          power for each output vector to detect a selected power.
 many ways in order to obtain information about the mea-                   In one embodiment, the plurality of possible values cor-
 sured signals as will be further apparent in the detailed             respond to a plurality of possible values for a selected blood
 description of the preferred embodiments.                             constituent. In one embodiment the, the selected blood
                                                                   40 constituent is arterial blood oxygen saturation. In another
     One aspect of the present invention is a method for use in        embodiment, the selected blood constituent is venous blood
 a signal processor for processing at least two measured               oxygen saturation. In yet another embodiment, the selected
  signals S 1 and S 2 each containing a primary signal portion         blood constituent is carbon monoxide.
  s and a secondary signal portion n, the signals S1 and S 2
                                                                           Another aspect of the present invention involves a physi-
  being in accordance with the following relationship:             45 ological monitor. The monitor has a first input configured to
                                                                       receive a first measured signal S 1 having a primary portion,
                                                                       s 1, and a secondary portion, n1. The monitor also has a
                                                                       second input configured to received a second measured
                                                                       signal S 2 having a primary portion s2 and a secondary
  where s 1 and s 2, and n 1 and n2 are related by:                50 portion n2. The first and the second measured signals S 1 and
     S 1=ras 2 and n 1=r,,n 2                                          S2 are in accordance with the following relationship:
  and where ra and rv are coefficients.
     The method comprises a number of steps. A value of
  coefficient ra is determined which minimize correlation
  between s 1 and n 1• Then, at least one of the first and second 55
  signals is processed using the determined value for ra to            where s 1 and s2, and n1 and n2 are related by:
  significantly reduce n from at least one of the first or second           S1 =ras2 and n1 =rvn2
  measured signal to form a clean signal.                              and where ra and rv are coefficients.
     In one embodiment, the clean signal is displayed on a                  A transform module is responsive to the first and the
  display. In another embodiment, wherein the first and second 60 second measured signals and responsive to a plurality of
  signals are physiological signals, the method further com-           possible values for ra to provide at least one power curve as
  prises the step of processing the clean signal to determine a         an output. An extremum calculation module is responsive to
  physiological parameter from the first or second measured            the at least one power curve to select a value for ra which
  signals. In one embodiment, the parameter is arterial oxygen         minimizes the correlation between s and n, and to calculate
  saturation. In another embodiment, the parameter is an ECG 65 from the value for ra a corresponding saturation value as an
  signal. In yet another embodiment, wherein the first portion          output. A display module is responsive to the output of
  of the measured signals is indicative of a heart                      saturation calculation to display the saturation value.




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      BRIEF DESCRIPTION OF TIIE DRAWINGS                                   FIG. 14 illustrates additional detail of the operations
    FIG. 1 illustrates an ideal plethysmographic waveform.             performed by the digital signal processing circuitry of FIG.
                                                                       11.
    FIG. 2 schematically illustrates a typical finger.
                                                                          FIG. 15 illustrates additional detail regarding the demodu-
    FIG. 3 illustrates a plethysmographic waveform which               lation module of FIG. 14.
includes a motion-induced erratic signal portion.
                                                                          FIG. 16 illustrates additional detail regarding the decima-
    FIG. 4a illustrates a schematic diagram of a physiological
                                                                       tion module of FIG. 14.
monitor to compute primary physiological signals.
                                                                          FIG. 17 represents a more detailed block diagram of the
    FIG. 4b illustrates a schematic diagram of a physiological
                                                                       operations of the statistics module of FIG. 14.
monitor to compute secondary signals.                               10
    FIG. Sa illustrates an example of an adaptive noise                   FIG. 18 illustrates a block diagram of the operations of
                                                                       one embodiment of the saturation transform module of FIG.
canceler which could be employed in a physiological
monitor. to compute primary physiological signals.                     14.
    FIG. Sb illustrates an example of an adaptive noise                   FIG. 19 illustrates a block diagram of the operation of the
canceler which could be employed in a physiological 15 saturation calculation module of FIG. 14.
monitor. to compute secondary motion artifact signals.                    FIG. 20 illustrates a block diagram of the operations of the
    FIG. Sc illustrates the transfer function of a multiple notch      pulse rate calculation module of FIG. 14.
filter.                                                                   FIG. 21 illustrates a block diagram of the operations of the
    FIG. 6a illustrates a schematic of absorbing material 20 motion artifact suppression module of FIG. 20.
comprising N constituents within the absorbing material.                  FIG. 21a illustrates an alternative block diagram for the
    FIG. 6b illustrates another schematic of absorbing mate-           operations of the motion artifact suppression module of FIG.
rial comprising N constituents. including one mixed layer.             20.
within the absorbing material.                                            FIG. 22 illustrates a saturation transform curve in accor-
    FIG. 6c illustrates another schematic of absorbing mate- 25 dance with the principles of the present invention.
rial comprising N constituents. including two mixed layers.               FIG. 23 illustrates a block diagram of an alternative
within the absorbing material.                                         embodiment to the saturation transform in order to obtain a
    FIG. 7a illustrates a schematic diagram of a monitor. to           saturation value.
compute primary and secondary signals in accordance with                  FIG. 24 illustrates a histogram saturation transform in
one aspect of the present invention.                                30 accordance with the alternative embodiment of FIG. 23.
    FIG. 7b illustrates the ideal correlation canceler energy or          FIGS. 25A. 25B and 25C illustrate yet another alternative
power output as a function of the signal coefficients r 1 • r 2 ••     embodiment in order to obtain the saturation .
. . rn. In this particular example. r 3 =ra and r7 =rv.                   FIG. 26 illustrates a signal measured at a red wavelength
    FIG. 7c illustrates the non-ideal correlation canceler             A.a=A.Ied=660 nm for use in a processor of the present
                                                                    35
energy or power output as a function of the signal coeffi-             invention for determining the secondary reference n'(t) or
cients r i- r 2 •••• rn. In this particular example. r 3=ra andr~v•    the primary reference s'(t) and for use in a correlation
    FIG. 8 is a schematic model of a joint process estimator           canceler. The measured signal comprises a primary portion
comprising a least-squares lattice predictor and a regression          sM(t) and a secondary portion nM(t).
filter.                                                                   FIG. 27 illustrates a signal measured at an infrared
                                                                    40
    FIG. Sa is a schematic model of a joint process estimator          wavelength Ah=AI.R=910 nm for use in a processor of the
comprising a QRD least-squares lattice (LSL) predictor and             present invention for determining the secondary reference
a regression filter.                                                   n'(t) or the primary reference s'(t) and for use in a correlation
    FIG. 9 is a flowchart representing a subroutine for imple-         canceler. The measured signal comprises a primary portion
menting in software a joint process estimator as modeled in 45 sAh(t) and a secondary portion nAh(t).
FIG. 8.                                                                   FIG. 28 illustrates the secondary reference n'(t) deter-
    FIG. 9a is a flowchart representing a subroutine for               mined by a processor of the present invention.
implementing in software a joint process estimator as mod-                FIG. 29 illustrates a good approximation s"Aa(t) to the
eled in FIG. Sa.                                                       primary portion s,.,,(t) of the signal SM(t) measured at
    FIG. 10 is a schematic model of a joint process estimator 50 A.a=A.Ied=660 nm estimated by correlation cancellation with
with a least-squares lattice predictor and two regression              a secondary reference n'(t).
filters.                                                                  FIG. 30 illustrates a good approximation s"Ah(t) to the
    FIG. 10a is a schematic model of a joint process estimator         primary portion sAh(t) of the signal SAh(t) measured at
with a QRD least-squares lattice predictor and two regres-             Ab=A.lR.=910 nm estimated by correlation cancellation with
sion filters.                                                       55
                                                                       a secondary reference n'(t).
    FIG. 11 is an example of a physiological monitor in                   FIG. 31 depicts a set of 3 concentric electrodes. i.e.• a
accordance with the teachings of one aspect of the present             tripolar electrode sensor. to derive electrocardiography
invention.                                                             (ECG) signals. denoted as S 1 • S 2 and S 3 • for use with the
    FIG. lla illustrates an example of a low noise emitter 60 present invention. Each of the ECG signals contains a
current driver with accompanying digital to analog con-                primary portion and a secondary portion.
verter.
    FIG. 12 illustrates the front end analog signal condition-                      DETAILED DESCRIPTION OF THE
ing circuitry and the analog to digital conversion circuitry of                                 INVENTION
the physiological monitor of FIG. 11.                               65    The present invention involves a system which utilizes
    FIG. 13 illustrates further detail of the digital signal           first and second measured signals that each contain a pri-
processing circuitry of FIG. 11.                                       mary signal portion and a secondary signal portion. In other




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words, given a first and second composite signals S 1(t)=s 1            A block diagram of a generic monitor incorporating a
(t)+ni(t) and Sz(t)=sz(t)+nz(t), the system of the present          signal processor according to the present invention, and a
invention can be used to isolate either the primary signal          correlation canceler is shown in FIGS. 4a and 4b. 1\vo
portion s(t) or the secondary signal portion n(t). Following        measured signals, S;,.,,(t) and S,1,(t), are acquired by a
processing, the output of the system provides a good 5 detector 20. One skilled in the art will realize that for some
approximation n"(t) to the secondary signal portion n(t) or a       physiological measurements, more than one detector may be
good approximation s"(t) to the primary signal portion s(t).        advantageous. Each signal is conditioned by a signal con-
    The system of the present invention is particularly useful      ditioner 22a and 22b. Conditioning includes, but is not
where the primary and/or secondary signal portion n(t) may          limited to, such procedures as filtering the signals to remove
contain one or more of a constant portion, a predictable 10 constant portions and amplifying the signals for ease of
portion, an erratic portion, a random portion, etc. The             manipulation. The signals are then converted to digital data
primary signal approximation s"(t) or secondary signal              by an analog-to-digital converter 24a and 24b. The first
approximation n"(t) is derived by removing as many of the           measured signal S;,.,,(t) comprises a first primary signal
secondary signal portions n(t) or primary signal portions s(t)      portion, labeled herein s;,.,,(t), and a first secondary signal
from the composite signal S(t) as possible. The remaining           portion, labeled herein n;,.,,(t). The second measured signal
signal forms either the primary signal approximation s "(t) or 15 S,1,(t) is at least partially correlated to the first measured
secondary signal approximation n "(t), respectively. The con-       signal S;,.,,(t) and comprises a second primary signal portion,
stant portion and predictable portion of the secondary signal       labeled herein s,1,(t), and a second secondary signal portion,
n(t) are easily removed with traditional filtering techniques,      labeled herein n,1,(t). Typically the first and second second-
such as simple subtraction, low pass, band pass, and high           ary signal portions, n;,.,,(t) and n,1,(t), are uncorrelated and/or
pass filtering. The erratic portion is more difficult to remove 20 erratic with respect to the primary signal portions s;,.,,(t) and
due to its unpredictable nature. If something is known about        s,1,(t). The secondary signal portions n;,.,,(t) and n,1,(t) are
the erratic signal, even statistically, it could be removed, at     often caused by motion of a patient in physiological mea-
least partially, from the measured signal via traditional           surements.
filtering techniques. However, often no information is                  The signals S;,.,,(t) and S,1,(t) are input to a reference
known about the erratic portion of the secondary signal n(t). 25 processor 26. The reference processor 26 multiplies the
In this case, traditional filtering techniques are usually          second measured signal S,1,(t) by either a factor ra=s;,.,,(t)/
insufficient.                                                       S,1,(t) or a factor rv=n;,.,,(t)/n,1,(t) and then subtracts the
    In order to remove the secondary signal n(t), a signal          second measured signal S,1,(t) from the first measured signal
model in accordance with the present invention is defined as        S;,.,,(t). The signal coefficient factors ra and rv are determined
follows for the first and second measured signals S 1 and S 2 : 30 to cause either the primary signal portions s;,.,,(t) and s,1,(t)
                                                                    or the secondary signal portions n;,.,,(t) and n,1,(t) to cancel,
              S1=s1+n1                                              respectively, when the two signals S;,.,,(t) and S,1,(t) are
              S2=si+n2                                               subtracted. Thus, the output of the reference processor 26 is
                                                                     either a secondary reference signal n'(t)=n;,.,,(t)-ran,1,(t), in
       with s1 = r.sz and n1 = rv nz
                                                                 35 FIG. 4a, which is correlated to both of the secondary signal

       or
                                                                    portions n;,.,,(t) and n,1,(t) or a primary reference signal
                                                                     s'(t)=s;,.,,(t)-rvs,1,(t), in FIG. 4b, which is correlated to both
                                                                     of the primary signal portions s;,.,,(t) and s,1,(t). A reference
 where s1 and n 1 are at least somewhat (preferably                  signal n'(t) or s'(t) is input, along with one of the measured
 substantially) uncorrelated and s2 and n2 are at least some- 40 signals S;,.,,(t) or S,1,(t), to a correlation canceler 27 which
 what (preferably substantially) uncorrelated. The first and         uses the reference signal n'(t) or s'(t) to remove either the
 second measured signals S 1 and S 2 are related by correlation      secondary signal portions n;,.,,(t) or n,1,(t) or the primary
 coefficients ra and rv as defined above. The use and selection      signal portions s;,.,,(t) or s,1,(t) from the measured signal
 of these coefficients is described in further detail below.         S;,.,,(t) or S,1,(t). The output of the correlation canceler 27 is
    In accordance with one aspect of the present invention, 45 a good primary signal approximation s"(t) or secondary
 this signal model is used in combination with a correlation         signal approximation n"(t). In one embodiment, the approxi-
 canceler, such as an adaptive noise canceler, to remove or          mation s"(t) or n"(t) is displayed on a display 28.
 derive the erratic portion of the measured signals.                     In one embodiment, an adaptive noise canceler 30, an
    Generally, a correlation canceler has two signal inputs and      example of which is shown in block diagram form in FIG.
 one output. One of the inputs is either the secondary 50 Sa, is employed as the correlation canceler 27, to remove
 reference n'(t) or the primary reference s'(t) which are            either one of the erratic, secondary signal portions n;,.,,(t) and
 correlated, respectively, to the secondary signal portions n(t)     n,1,(t) from the first and second signals S;,.,,(t) and S,1,(t). The
 and the primary signal portions s(t) present in the composite       adaptive noise canceler 30 in FIG. Sa has as one input a
 signal S(t). The other input is for the composite signal S(t).      sample of the secondary reference n'(t) which is correlated
 Ideally, the output of the correlation canceler s"(t) or n"(t) 55 to the secondary signal portions n;,.,,(t) and n,1,(t). The
 corresponds, respectively, to the primary signal s(t) or the        secondary reference n'(t) is determined from the two mea-
 secondary signal n(t) portions only. Often, the most difficult      sured signals S;,.,,(t) and S,1,(t) by the processor 26 of the
 task in the application of correlation cancelers is determin-       present invention as described herein. A second input to the
 ing the reference signals n'(t) and s'(t) which are correlated      adaptive noise canceler, is a sample of either the first or
 to the secondary n(t) and primary s(t) portions, respectively, 60 second composite measured signals S;,.,,(t)=s;,.,,(t)+n;,.,,(t) or
 of the measured signal S(t) since, as discussed above, these        S,1,(t)=s,1,(t)+n,1,(t).
 portions are quite difficult to isolate from the measured               The adaptive noise canceler 30, in FIG. Sb, may also be
 signal S(t). In the signal processor of the present invention,      employed to remove either one of primary signal portions
 either a secondary reference n'(t) or a primary reference s'(t)     s;,.,,(t) and s,1,(t) from the first and second measured signals
 is determined from two composite signals measured 65 S;,.,,(t) and S,1,(t). The adaptive noise canceler 30 has as one
  simultaneously, or nearly simultaneously, at two different         input a sample of the primary reference s'(t) which is
 wavelengths, A.a and Ab.                                             correlated to the primary signal portions s;,.,,(t) and s,1,(t).



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                                11                                                                         12
The primary reference s'(t) is determined from the two                             GENERALIZED DEIBRMINATION OF
measured signals S1.,,(t) and SAh(t) by the processor 26 of the               PRIMARY AND SECONDARY REFERENCE
present invention as described herein. A second input to the                                                SIGNALS
adaptive noise canceler 30 is a sample of either the first or
second measured signals S""(t)=s""(t)+n""(t) or SAh(t)=sAh                An  explanation          which    describes how the reference signals
(t)+nAb(t).                                                            n'(t) and s'(t) may be determined follows. A first signal is
   The adaptive noise canceler 30 functions to remove                  measured at, for example, a wavelength NI. by a detector
frequencies common to both the reference n'(t) or s'(t) and            yielding a signal S""(t):
the measured signal S""(t) or SAh(t). Since the reference
                                                                               S,.,,(t)=s,.,,( t}+n1,a(t)                                    (1)
signals are correlated to either the secondary signal portions 10
n""(t) and nAh(t) or the primary signal portions s""(t) and            where s""(t) is the primary signal portion and n""(t) is the
sAh(t). the reference signals will be correspondingly erratic          secondary signal portion.
or well behaved. The adaptive noise canceler 30 acts in a                 A similar measurement is taken simultaneously, or nearly
manner which may be analogized to a dynamic multiple                   simultaneously. at a different wavelength, lb, yielding:
notch filter based on the spectral distribution of the reference 15
signal n'(t) or s'(t).                                                         S;,,(t)=sJ.J,(t}+n).J,(t).                                    (2)
    F1G. Sc illustrates an exemplary transfer function of a
multiple notch filter. The notches. or dips in the amplitude of        Note that as long as the measurements, S""(t) and SAh(t), are
the transfer function. indicate frequencies which are attenu-          taken substantially simultaneously, the secondary signal
ated or removed when a signal passes through the notch 20 components, n""(t) and nAh(t), are correlated because any
filter. The output of the notch filter is the composite signal         random or erratic functions affect each measurement in
having frequencies at which a notch is present removed. In             nearly the same fashion. The substantially predictable pri-
the analogy to an adaptive noise canceler 30. the frequencies          mary signal components, s""(t) and sAh(t), are also correlated
at which notches are present change continuously based                 to one another.
upon the inputs to the adaptive noise canceler 30.                  25    To obtain the reference signals n'(t) and s'(t), the measured
    The adaptive noise canceler 30 (F1GS. Sa and Sb) pro-              signals S""(t) and SAh(t) are transformed to eliminate,
duces an output signal. labeled herein as s"""(t). s"Ah(t),            respectively, the primary or secondary signal components. In
n"""(t) or n"Ah(t) which is fed back to an internal processor          accordance with the present invention one way of doing this
32 within the adaptive noise canceler 30. The internal                 is to find proportionality constants, ra and rv, between the
processor 32 automatically adjusts its own transfer function 30 primary signal portions s""(t) and sAh(t) and the secondary
according to a predetermined algorithm such that the output            signal portions n""(t) and nAh(t) such that the signals can be
of the internal processor 32 labeled b,.,(t) in F1G. Sa and c,.,(t)    modeled as follows:
in F1G. Sb. closely resembles either the secondary signal
portion n""(t) or nAh(t) or the primary signal portion s""(t) or
sAh(t). The output b,.,(t) of the internal processor 32 in F1G. 35                                                                           (3)
Sa is subtracted from the measured signal. S""(t) or SAh(t).
yielding a signal output s"""(t)=s""(t)+n""(t)-b""(t) or a             In accordance         with    the  inventive signal model of the present
signal output s"Ah(t)=sAh(t)+nAh(t)-bAh(t). The internal pro-          invention. these proportionality relationships can be satisfied
cessor optimizes s"""(t) or s"Ah(t) such that s"""(t) or s"Ah(t)       in many measurements. including but not limited to absorp-
is approximately equal to the primary signal s""(t) or sAh(t). 40 tion measurements and physiological measurements.
respectively. The output c,.,(t) of the internal processor 32 in       Additionally, in accordance with the signal model of the
F1G. Sb is subtracted from the measured signal. S""(t) or              present invention, in most measurements, the proportional-
SAh(t). yielding a signal output given by n"""(t)=s""(t)+n""           ity constants ra and rv can be determined such that:
(t)-c""(t) or a signal output given by n"Ah(t)=sAh(t)+nAh(t)-
cAh(t) The internal processor optimizes n"""(t) or n"Ah(t) 45
such that n"""(t) or n"Ah(t) is approximately equal to the                                                                                   (4)
secondary signal portion n""(t) or nAh(t), respectively.
    One algorithm which may be used for the adjustment of                 Multiplying equation (2) by ra and then subtracting equa-
the transfer function of the internal processor 32 is a                tion (2) from equation (1) results in a single equation
least-squares algorithm. as described in Chapter 6 and 50 wherein the primary signal terms s""(t) and sAh(t) cancel:
Chapter 12 of the book Adaptive Signal Processing by
Bernard Widrow and Samuel Steams. published by Prentice                                                                                     (5a)
Hall, copyright 1985. This entire book, including Chapters 6
and 12, is hereby incorporated herein by reference.                    a non-zero signal which is correlated to each secondary
    Adaptive processors 30 in F1GS. Sa and Sb have been 55 signal portion n""(t) and nAh(t) and can be used as the
successfully applied to a number of problems including                 secondary reference n'(t) in a correlation canceler such as an
antenna sidelobe canceling, pattern recognition, the elimi-            adaptive noise canceler.
nation of periodic interference in general, and the elimina-              Multiplying equation (2) by rv and then subtracting equa-
tion of echoes on long distance telephone transmission lines.          tion (2) from equation (1) results in a single equation
However. considerable ingenuity is often required to find a 60 wherein the secondary signal terms n""(t) and nAh(t) cancel,
suitable reference signal n'(t) or s'(t) since the portions            leaving:
n""(t). nAh(t), s""(t) and sAh(t) cannot easily be separated                                                                                (5b)
from the measured composite signals S""(t) and SAh(t). If
either the actual secondary portion n""(t) or nAh(t) or the            a non-zero signal which is correlated to each of the primary
primary signal portion s""(t) or sAh(t) were a priori available, 65 signal portions s""(t) and sAh(t) and can be used as the signal
techniques such as correlation cancellation would not be               reference s'(t) in a correlation canceler such as an adaptive
necessary.                                                             noise canceler.




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   EXAMPLE OF DETERMINATION OF PR1MARY                                 subject to forces, each layer of constituents may be affected
    AND SECONDARY REFERENCE SIGNALS IN                                 by the perturbation differently than other layers. Some
           AN ABSORPTIVE SYSTEM                                        perturbations of the optical path lengths of each layer X;(t)
   Correlation canceling is particularly useful in a large             may result in excursions in the measured signal which
number of measurements generally described as absorption 5 represent desired or primary information. Other perturba-
measurements. An example of an absorption type monitor                 tions of the optical path length of each layer x;(t) cause
which can advantageously employ correlation canceling,                 undesired or secondary excursions which mask primary
such as adaptive noise canceling, based upon a reference               information in the measured signal. Secondary signal com-
n'(t) or s'(t) determined by a processor of the present                ponents associated with secondary excursions must also be
invention is one which determines the concentration of an 10 removed to obtain primary information from the measured
energy absorbing constituent within an absorbing material              signal. Similarly, the ability to compute secondary signal
when the material is subject to change. Such changes can be            components caused by secondary excursions directly allows
                                                                       one to obtain primary signal components from the measured
caused by forces about which information is desired or
                                                                       signal via simple subtraction, or correlation cancellation
primary, or alternatively, by random or erratic secondary
                                                                       techniques.
forces such as a mechanical force on the material. Random 15              The correlation canceler may selectively remove from the
or erratic interference, such as motion, generates secondary           composite signal, measured after being transmitted through
components in the measured signal. These secondary com-                or reflected from the absorbing material, either the second-
ponents can be removed or derived by the correlation                   ary or the primary signal components caused by forces
canceler if a suitable secondary reference n'(t) or primary            which perturb or change the material differently from the
reference s'(t) is known.                                           20 forces which perturbed or changed the material to cause
   A schematic N constituent absorbing material comprising             respectively, either the primary or secondary signal compo-
a container 42 having N different absorbing constituents,              nent. For the purposes of illustration, it will be assumed that
labeled A 1 , A 2 , A 3 , • • • AN, is shown in FIG. 6a. The           the portion of the measured signal which is deemed to be the
constituents A 1 through AN in FIG. 6a are arranged in a               primary signal sAQ(t) is the attenuation term €sCsXs(t) asso-
generally orderly, layered fashion within the container 42. 25 ciated with a constituent of interest, namely As, and that the
An example of a particular type of absorptive system is one            layer of constituent As is affected by perturbations different
in which light energy passes through the container 42 and is           than each of the layers of other constituents A 1 through A 4
absorbed according to the generalized Beer-Lambert Law of              and A 6 through AN. An example of such a situation is when
light absorption. For light of wavelength Aa, this attenuation         layer As is subject to forces about which information is
may be approximated by:                                             30 deemed to be primary and, additionally, the entire material
                                                                       is subject to forces which affect each of the layers. In this
                                                                (6)    case, since the total force affecting the layer of constituent
                                                                       As is different than the total forces affecting each of the other
                                                                       layers and information is deemed to be primary about the
Initially transforming the signal by taking the natural loga-
                                                                    35 forces and resultant perturbation of the layer of constituent
rithm of both sides and manipulating terms, the signal is
                                                                       As, attenuation terms due to constituents A 1 through A 4 and
transformed such that the signal components are combined
by addition rather than multiplication, i.e.:                          A 6 through AN make up the secondary signal portion nAQ(t).
                                                                       Even if the additional forces which affect the entire material
                         N                                      (7)    cause the same perturbation in each layer, including the layer
       Si.a= ln(lofl) = . L E;;..,,c;,c;                            40 of As, the total forces on the layer of constituent As cause it
                       z=l
                                                                       to have different total perturbation than each of the other
where Io is the incident light energy intensity; I is the              layers of constituents A 1 through A 4 and A 6 through AN"
transmitted light energy intensity; €;,AO is the absorption               It is often the case that the total perturbation affecting the
 coefficient of the i'h constituent at the wavelength Aa; x;(t) is     layers associated with the secondary signal components is
the optical path length of ith layer, i.e., the thickness of 45 caused by random or erratic forces. This causes the thickness
 material of the ith layer through which optical energy passes;         of layers to change erratically and the optical path length of
 and c;(t) is the concentration of the ith constituent in the           each layer, x;(t), to change erratically, thereby producing a
 volume associated with the thickness X;(t). The absorption            random or erratic secondary signal component nAQ(t).
 coefficients t: 1 through cN are known values which are                However, regardless of whether or not the secondary signal
 constant at each wavelength. Most concentrations ci(t) 50 portion nAQ(t) is erratic, the secondary signal component
 through cMt) are typically unknown, as are most of the                 nAQ(t) can be either removed or derived via a correlation
 optical path lengths x;(t) of each layer. The total optical path       canceler, such as an adaptive noise canceler, having as one
 length is the sum of each of the individual optical path               input, respectively, a secondary reference n'(t) or a primary
 lengths X;(t) of each layer.                                          reference s'(t) determined by a processor of the present
    When the material is not subject to any forces which cause 55 invention as long as the perturbation on layers other than the
 change in the thicknesses of the layers, the optical path              layer of constituent As is different than the perturbation on
 length of each layer, x;(t), is generally constant. This results       the layer of constituent As. The correlation canceler yields a
 in generally constant attenuation of the optical energy and            good approximation to either the primary signal sAQ(t) or the
 thus, a generally constant o:ffsc:t in the measured signal.            secondary signal nAQ(t). In the event that an approximation
 Typically, this offset portion of the signal is of little interest 60 to the primary signal is obtained, the concentration of the
 since knowledge about a force which perturbs the material              constituent of interest, Cs(t), can often be determined since
 is usually desired. Any signal portion outside of a known              in some physiological measurements, the thickness of the
 bandwidth of interest, including the constant undesired                primary signal component, Xs(t) in this example, is known or
 signal portion resulting from the generally constant absorp-           can be determined.
 tion of the constituents when not subject to change, is 65                The correlation canceler utilizes either the secondary
 removed. This is easily accomplished by traditional band               reference n'(t) or the primary reference s'(t) determined from
 pass filtering techniques. However, when the material is               two substantially simultaneously measured signals SAQ(t)




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and SAh(t). S,.a(t) is determined as above in equation (7).    measured signal yielding a good approximation to either the
SAh(t) iS detennined similarly at a different wavelength Ab.   primary signals s",.a(t)""Es_,.acsxs(t) or s"Ah(t)zes.AbCsXs(t) or
To find either the secondary reference n'(t) or the primary    the secondary signals n",.a(t)""n""(t) or n"Ah(t)znAh(t). In the
reference s'(t). attenuated transmitted energy is measured at  event that the primary signals are obtained, the concentra-
the two different wavelengths A.a and Ab and transformed via 5 tion Cs(t) may then be determined from the approximation to
logarithmic conversion. The signals S,.a(t) and SAh(t) can     the primary signal s",.a(t) or s"Ah(t) according to:
then be written (logarithm converted) as:
                                                                                                                                          (17a)
                                  4               N                  (8)
      S,,,(t) = es.i..,csxs(t) + i~ Ej).,,C;JCj +;!/;
                                                    Ej).,,C;JCj
                                                                           10
                                                                                or
                                                                                                                                         (17b)
                                                                     (9)
                                                                   As discussed previously, the absorption coefficients are
                                4                N                  (10)
                                                                   constant at each wavelength A.a and Ab and the thickness of
      Slb(i) = €5.IJ,CSXS(I) + ~l E;),.l,C;JCi +;!/;
                                                   E,J,J,CP'i
                                                                   the primary signal component, Xs(t) in this example, is often
                                                                15
                                                           (11)    known or can be determined as a function of time, thereby
                                                                   allowing calculation of the concentration cs(t) of constituent
   Further transformations of the signals are the proportion-      As.
ality relationships in accordance with the signal model of the
present invention defining ra and rv, similar to equation (3),          DEfERMlNATION OF CONCENTRATION OR
which allows determination of a noise reference n'(t) and a 20           SATURATION IN A VOLUME CONTAINING
primary reference s'(t). These are:                                           MORE THAN ONE CONSTITIJENT
                                                                                   Referring to FIG. 6b, another material having N different
       Es;;..a=raEs,'Ab                                            (12a)
                                                                                constituents arranged in layers is shown. In this material,
        n.,,=r,n')J,                                                   (12b) 25 two constituents As and A 6 are found within one layer
                                                                                having thickness Xs_ 6(t)=Xs(t)+xit), located generally ran-
where                                                                           domly within the layer. This is analogous to combining the
                                                                                layers of constituents As and A 6 in FIG. 6a. A combination
        nAD#an'Ab                                                      (13a)    of layers, such as the combination of layers of constituents
        Es, NJ'#.TvEs, Ab·                                             (13b) 30 As and A 6 , is feasible when the two layers are under the
                                                                                same total forces which result in the same change of the
It is often the case that both equations (12) and (13) can be                   optical path lengths Xs(t) and xit) of the layers.
simultaneously satisfied. Multiplying equation (11) by ra and                      Often it is desirable to find the concentration or the
subtracting the result from equation (9) yields a non-zero                      saturation, i.e., a percent concentration, of one constituent
secondary reference which is a linear sum of secondary 35 within a given thickness which contains more than one
signal components:                                                              constituent and is subject to unique forces. A determination
                                                                                of the concentration or the saturation of a constituent within
       n'(t)          S,,,(t) - raS'>J,(t) = n,,,(t)- ranlb(t)   (14a)          a given volume may be made with any number of constitu-
                          4                   N                                 ents in the volume subject to the same total forces and
                       . :E E;).,,C;x,{ t) + . L E;).,,C;x,{I) -
                      1=1                    ,=6                             40 therefore under the same perturbation or change. To deter-
                          4                     N                               mine the saturation of one constituent in a volume compris-
                       ~ r aE,»c;x.{ t) + ;!/; r aEi).bc;x,( t)                 ing many constituents, as many measured signals as there
                                                                                are constituents which absorb incident light energy are
                          4
                       ~ c;x;(t)[E;).,, - r Ei).b] +
                                           0                     (16a)          necessary. It will be understood that constituents which do
                                                                             45 not absorb light energy are not consequential in the deter-

                       ;!/;N c;x,{t)[Ei).,, - r Ei).b]
                                           0
                                                                                mination of saturation. To detennine the concentration, as
                                                                                many signals as there are constituents which absorb incident
                                                                                light energy are necessary as well as information about the
   Multiplying equation (11) by rv and subtracting the result                   sum of concentrations.
from equation (9) yields a primary reference which is a 50                         It is often the case that a thickness under unique motion
linear sum of primary signal components:                                        contains only two constituents. For example, it may be
                                                                                desirable to know the concentration or saturation of As
                                                                       (14b)    within a given volume which contains As and A 6 • In this
                                                                                case, the primary signals s,.a(t) and sAh(t) comprise terms
                                                                       (l5b) 55 related to both As and A so that a determination of the
                                                                                                                     6
                                                                       (16b)    concentration or saturation of As or A 6 in the volume may
                                                                                be made. A detennination of saturation is discussed herein.
   A sample of either the secondary reference n'(t) or the                      It will be understood that the concentration of As in a
primary reference s'(t), and a sample of either measured                        volume containing both As and~ could also be determined
signal S,.a(t) or SAh(t), are input to a correlation canceler 27, 60 if it is known that As+~=l. i.e., that there are no constitu-
such as an adaptive noise canceler 30, an example of which                      ents in the volume which do not absorb incident light energy
is shown in FIGS. Sa and Sb and a preferred example of                          at the particular measurement wavelengths chosen. The
which is discussed herein under the heading PREFERRED                           measured signals S""(t) and SAh(t) can be written (logarithm
CORRELATION CANCELER USING A JOINT PROCESS                                      converted) as:
ESTIMATOR IMPLEMENTATION. The correlation can- 65
celer 27 removes either the secondary portion n,.a(t) or                                S.,,(t)=es,.,,CsXs.6(t)+e6;.,h;Xs,6(t)+n.,,( t)   (18a)
nAh(t), or the primary portions, s,.a(t) or sAh(t), of the                              =s.,,(t)+n.,,(t)                                  (18b)




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        S;v,( t}=E5 ,W:s-'s,6( t)+E6,w'&"s,6C t)+n;v,(t)       equations (18) and (19), or alternatively equations (20) and
                                                                                    (19a)
        =s;v,(t)+n;v,(t).                                (19b) (21), by a correlation canceler. The correlation canceler,
   It is also often the case that there may be two or more     again, requires a sample of either the primary reference s'(t)
thicknesses within a medium each containing the same two       or the secondary reference n'(t) and a sample of either of the
constituents but each experiencing a separate motion as in s composite signals SM(t) or SM(t) of equations (18) and (19).
FIG. 6c. For example, it may be desirable to know the                    DETERMINATION OF PRWARY AND
concentration or saturation of As within a given volume               SECONDARY REFERENCE SIGNALS FOR
which contains As and A 6 as well as the concentration or                  S.-'ITURATION MEASUREMENTS
saturation of A 3 within a given volume which contains A 3
and A4, A3 and A4 having the same constituency as As and 10       One method for determining reference signals s'(t) or n'(t)
A 6 respectively. In this case, the primary signals sM(t) and  from the measured signals SM(t) and SM(t) in accordance
sM(t) again comprise terms related to both As and A 6 and      with one aspect of the invention is what will be referred to
portions of the secondary signals nM(t) and nM(t) comprise     as the constant saturation approach. In this approach, it is
terms related to both A 3 and A4. The layers, A 3 and A 4, do  assumed that the saturation of As in the volume containing
not enter into the primary equation because they are 15 As and A 6 and the saturation of A 3 in the volume containing
assumed to be perturbed by a different frequency, or random    A3 and A 4 remains relatively constant over some period of
or erratic secondary forces which are uncorrelated with the    time, i.e.:
primary force. Since constituents 3 and 5 as well as con-
                                                                                                   Saturation(A5 ( t))=cs(t)/[c5(t)+c6(t)]      (22a)

:~::~o~~!~~:~:ei.:~,b:3t~~::; ~:::::e~~eE::! 20                         Saturation(A3 (t))=cs(t)/[cs(t)+c4 (t)]         (22b)
Ei;,Aa and E4,Al,=E6.Ab• Generally speaking, however, A3 'and
                                                                        Saturation(A5 (t))={l+[c6(t)/c5 (t)l}-1         (23a)
A4 will have different concentrations than As and A 6 and
will therefore have a different saturation. Consequently a              Saturation(As(t))={l+[c.(t)/cs(t)]}-    1
                                                                                                                        (23b)
single constituent within a medium may have one or more
                                                               25 are substantially constant over many samples of the mea-
saturations associated with it. The primary and secondary
signals according to this model may be written as:                sured signals SM and SM. This assumption is accurate over
                                                                  many samples since saturation generally changes relatively
                                                         (20a)    slowly in physiological systems.
                                                                     The constant saturation assumption is equivalent to
                                                         (20b) 30 assuming that:

                                                                                                   c5 (t)/c6(t)=constant1                       (24a)
                                                                                    (20c)
                                                                                                   c3(t)/c4(t)=constant,                        (24b)
                                                                                    (21a)
                                                                since the only other term in equations (23a) and (23b) is a
                                                                                            35
                                             2                   N                  (21b)
                                                                constant, namely the numeral 1.
  n).b(t) = [E5)J,C3 + E6,IJ,C4] x3,4(t) +. L E;,).b cpc;(t) + . L Ei)J,C;JC,{t).
                                          z=l                  z=7 Using this assumption, the proportionality constants ra
                                                          (21c) and r v which allow determination of the secondary reference
                                                                signal n'(t) and the primary reference signal s'(t) in the
where signals nM(t) and nM(t) are similar to the secondary 40 constant saturation method are:
signals nM(t) and nM(t) except for the omission of the 3, 4
layer.                                                                          ES.).., cs XS,6(t) + E6.1", C6 xs,6(t)
                                                                       ra =                                            (25a)
   Any signal portions whether primary or secondary, out-                       Es)J, cs xs,6(t) + E6u, C6 xs.6(t)
side of a known bandwidth of interest, including the constant                 s,,,( t)Is;v,( t)                        (26a)
undesired secondary signal portion resulting from the gen- 45
                                                                               E5,).a CS + E6.).oC6
erally constant absorption of the constituents when not under                                                          (27a)
                                                                               ES,).bCS + E6)J,C6
perturbation, should be removed to determine an approxi-
mation to either the primary signal or the secondary signal                   ES,l.a (cs/c6) + E6,i..,
                                                                                                                       (28a)
within the bandwidth of interest. This is easily accomplished                  Es,'Ab (cslc6) + E6U,
by traditional band pass filtering techniques. As in the so                   s",,,(t)/s"'Ab(t) = constant3; where     (29a)
previous example, it is often the case that the total pertur-                 n,,,(t) sc r (t)n'Ab(t)                 0(30a)
bation or change affecting the layers associated with the
secondary signal components is caused by random or erratic             and
forces, causing the thickness of each layer, or the optical
                                                                                E5,).a CJ XJ.4(t) + E6.1", C4 X3,4(t)
path length of each layer, x/t), to change erratically, pro- ss        r,. =
                                                                                 E5)J,CJX3,4(t) + E6,IJ,C4XJ,4 (t))
                                                                                                                        (25b)
ducing a random or erratic secondary signal component
                                                                              n,,,(t)ln).b(t)                           (26b)
nM(t). Regardless of whether or not the secondary signal
portion nM(t) is erratic, the secondary signal component                        E5,).aCJ +E6.1",C4
                                                                                                                        (27b)
nM(t) can be removed or derived via a correlation canceler,                     E5,IJ,C3 +E6,1J,C4
such as an adaptive noise canceler, having as one input a 60                   es.l.a (CJ/c4) + E6,i..,
secondary reference n'(t) or a primary reference s'(t) deter-                                                           (28b)
                                                                               E5,).b (CJ/C4) + E6U,
mined by a processor of the present invention as long as the                                                            (29b)
                                                                              n",,,(t)ln"'Ab(t) = constan4; where
perturbation in layers other than the layer of constituents As
and A 6 is different than the perturbation in the layer of                    s,,,( t) sc rv( t)S'Ab( t).               (30b)
constituents As and ~- Either the erratic secondary signal 65
components nM(t) and nM(t) or the primary components               In accordance with the present invention, it is often the
sM(t) and sM(t) may advantageously be removed from              case that both equations (26) and (30) can be simultaneously




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satisfied to detennine the proportionality constants ra and rv.               In other words, coefficients ra and rv are selected at values
Additionally. the absorption coefficients at each wavelength               which reflect the minimum of correlation between the pri-
e:5 _,.,,. e: 6 _,.,,. e:5 .;v,, and C6,Ah are constant and the central    mary signal portions and the secondary signal portions. In
assumption of the constant saturation method is that c 5 (t)/              practice, one does not usually have significant prior infor-
c6 (t) and cit)/cit) are constant over many sample periods. 5 mation about either the primary signal portions s,.,,(t) and
Thus, new proportionality constants ra and rv may be deter-                s;v,(t) or the secondary signal portions n,.,,(t) and n;v,(t) of the
mined every few samples from new approximations to either                  measured signals S,.,,(t) and S;v,(t). The lack of this infor-
the primary or secondary signal as output from the correla-                mation makes it difficult to determine which of the plurality
tion canceler. Thus, the approximations to either the primary              of coefficients r 1 , r 2 , • • • rn correspond to the signal
signals s,.,,(t) and s;v,(t) or the secondary signals n,.,,(t) and 10 coefficients ra=s,.,,(t)/s;v,(t) and rv=n,.,,(t)/n;v,(t).
n;v,(t). found by the correlation canceler for a substantially                One approach to determine the signal coefficients ra and
immediately preceding set of samples of the measured                       rv from the plurality of coefficients r 1 • r 2 •••• rn employs the
signals S,.,,(t) and S;v,(t) are used in a processor of the                use of a correlation canceler 27, such as an adaptive noise
present invention for calculating the proportionality                      canceler, which takes a first input which corresponds to one
constants. ra and rv• for the next set of samples of the 15 of the measured signals S,.,,(t) or S;v,(t) and takes a second
measured signals S,.,,(t) and S;v,(t).                                     input which corresponds to successively each one of the
    Multiplying equation (19) by ra and subtracting the result-            plurality ofreference signals R'(r 1 , t), R'(r2 , t), ...• R'(rn• t)
ing equation from equation ( 18) yields a non-zero secondary               as shown in FIG. 7a. For each of the reference signals R'(r 1 •
reference signal:                                                          t). R'(r2 • t) •...• R'(rn• t) the corresponding output of the
                                                                        20 correlation canceler 27 is input to a "squares" operation 28
           n'(tp=S,.,,(t)-r.,SAh(t,=n,.,,(t)-r,/!';.1,(t).        (31a)    which squares the output of the correlation canceler 27. The
                                                                           output of the squares operation 28 is provided to an inte-
    Multiplying equation ( 19) by rv and subtracting the result-
                                                                           grator 29 for fonning a cumulative output signal (a summa-
ing equation from equation (18) yields a non-zero primary
                                                                           tion of the squares). The cumulative output signal is subse-
reference signal:
                                                                        25 quently input to an extremum detector 31. The purpose of
           s'( tp=S,.,,( t)-r.SAh( t)=s,.,,( t)-r,,1),.1,(t).     (31b)    the extremum detector 31 is to chose signal coefficients ra
                                                                           and rv from the set r 1 , r 2 •••• rn by observing which provide
     When using the constant saturation method in patient                  a maximum in the cumulative output signal as in FIGS. 7b
monitoring, initial proportionality coefficients can be deter-             and 7c. In other words. coefficients which provide a maxi-
mined as further explained below. It is not necessary for the 30 mum integrated output. such as energy or power, from the
patient to remain motionless even for an initialization                    correlation canceler 27 correspond to the signal coefficients
period. With values for the proportionality coefficients ra and            ra and rv which relate to a minimum correlation between the
rv determined. a correlation canceler may be utilized with a               primary signal portions and the secondary signal portions in
secondary reference n'(t) or a primary reference s'(t).                    accordance with the signal model of the present invention.
                                                                        35 One could also configure a system geometry which would
       DEfERMINATION OF SIGNAL COEFFICIENTS                                require one to locate the coefficients from the set r 1 • r 2 , •••
                    FOR PRIMARY AND SECONDARY                              rn which provide a minimum or inflection in the cumulative
                   REFERENCE SIGNALS USING THE                             output signal to identify the signal coeffid.ents ra and rv.
                  CONSTANT SJITURATION METHOD                                  Use of a plurality of coefficients in the processor of the
     In accordance with one aspect of the present invention, 40 present invention in conjunction with a correlation canceler
the reference processor 26 of FIGS. 4a and FIG. 4b of the                  27 to determine the signal coefficients ra and rv may be
present invention may be configured to multiply the second                 demonstrated by using the properties of correlation cancel-
measured assumed signal S;v,(t)=s;v,(t)+n;v,(t) by each of a               lation. If x, y and z are taken to be any collection of three
plurality of signal coefficients r 1 • r 2 •••• rn and then subtract       time varying signals. then the properties of some correlation
each result from the first measured signal S,.,,(t)=s,.,,(t)+n,.,, 45 cancelers C(x, y) may be defined as follows:
(t) to obtain a plurality of reference signals
                                                                                      Property (1) C(x, y)=O for x, y correlated           (34a)
        R'(r, t)=s,.,,(t)-r s,_,,(t}+n,.,,(t)-r n,_,,(t)             (32)
                                                                                      Property (2) C(x, y}=x for x, y WJCorrelated         (34b)
for r=r 1• r 2• . . . rn as shown in FIG. 7a. In other words, a                Property (3) C(x+)I z)=C(x, z)+C()I z)               (34c)
                                                                   50
plurality of signal coefficients are chosen to represent a cross
section of possible signal coefficients.                              With properties (1). (2) and (3) it is easy to demonstrate that
   In order to determine either the primary reference s'(t) or        the energy or power output of a correlation canceler with a
the secondary reference n'(t) from the above plurality of             first input which corresponds to one of the measured signals
reference signals of equation (32). signal coefficients ra and        S,.,,(t) or S;v,(t) and a second input which corresponds to
                                                                   55
rv are determined from the plurality of assumed signal                successively each one of a plurality of reference signals
coefficients r 1 • r 2 • • • • rn. The coefficients ra and rv are     R'(r 1 • t). R'(r2 • t) •...• R'(rn. t) can determine the signal
selected such that they cause either the primary signal               coefficients ra and rv needed to produce the primary refer-
portions s,.,,(t) and s;v,(t) or the secondary signal portions        ence s'(t) and secondary reference n'(t). If we take as a first
n,.,,(t) and n;v,(t) to cancel or nearly cancel when they are
                                                                   60 input to the correlation canceler the measured signal S,.,,(t)
substituted into the reference function R'(r. t), e.g.                and as a second input the plurality of reference signals R'(r 1 •
                                                                      t). R'(r2 • t), ...• R'(rn• t) then the outputs of the correlation
                                                             (33a)
                                                                      canceler C(S,.,,(t), R'(ri.t)) for j=L 2, ... , n may be written
         n,.,,(t}=r,n,.,,(t)                                 (33b)    as
                                                                            65
        n'(t}=l?(r0 , t)=n,.,,(t)-r,,n,_,,(t)                       (33c)                                                                   (35)

        s'(t}=R'(r., t)=s,.,,(t)-r,s,_,,(t).                        (33d)        where j=L 2•...• n and we have used the expressions




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       R'(r, t)=SAO(t}-rS'/.b(t)                                    (36)          The energy functions given above, and shown in FIG. 7b,
                                                                              indicate that the correlation canceler output is usually zero
       SAO(t'j=sAO(t)+nAO(t)                                          (37a)
                                                                              due to correlation between the measured signal SALZ(t) or
       S'/.b(t'j=s'/.b(t)+n'/.b(t).                                   (37b)   SAh(t) and many of the plurality ofreference signals R'(r 1 , t),
                                                                            5 R'(r2 , t), ... , R'(rm t). However, the energy functions are non
The use of property (3) allows one to expand equation (35)                    zero at values of rj which correspond to cancellation of either
into two terms                                                                the primary signal portions sALZ(t) and sAh(t) or the secondary
                                                                              signal portions nALZ(t) and nAh(t) in the reference signal R'(rj'
       C(SAO(t),R'(r,t)')c=C(sAO(t),sAO(t)-rs'/.b(t)+nAO(t}-m'/.b(t))         t). These values correspond to the signal coefficients ra and
       +C(nAO( t),sAO( t}-rs').b( t)+nAO( t)-rn').b( t))            (38) 10
                                                                                rv.
                                                                         It should be understood that there may be instances in
so that upon use of properties (1) and (2) the correlation            time when either the primary signal portions sALZ(t) and sAh(t)
canceler output is given by                                           or the secondary signal portions nALZ(t) and nAh(t) are iden-
                                                                      tically zero or nearly zero. In these cases, only one signal
      C(SAO( t),R'(r;,t) )=sAO(t)1i( r1 r )+nAO(t)1i(r1 r vl
                                            0                 (39) 15
                                                                      coefficient value will provide maximum energy or power
                                                                      output of the correlation canceler.
where o(x) is the unit impulse function                                  Since there may be more than one signal coefficient value
                                                                      which provides maximum correlation canceler energy or
                                                                      power output, an ambiguity may arise. It may not be
      1i(x)=O if x;tO                                                 Lmmediately obvious which signal coefficient together with
      1i(x)=l if x=O.                                         (40) 20 the reference function R'(r, t) provides either the primary or
                                                                      secondary reference. In such cases, it is necessary to con-
  The time variable, t, of the correlation canceler output            sider the constraints of the physical system at hand. For
C(SALZ(t), R'(rj, t)) may be eliminated by computing its              example, in pulse oximetry, it is known that arterial blood,
energy or power. The energy of the correlation canceler               whose signature is the primary plethysmographic wave, has
output is given by                                                 25 greater oxygen saturation than venous blood, whose signa-
                                                                      ture is the secondary erratic or random signal. Consequently,
      EAO(r;)=Jc2(SAO(t),R'(r;,t)dt                                   in pulse oximetry, the ratio of the primary signals due to
                                                                      arterial pulsation ra=sALZ(t)/sAh(t) is the smaller of the two
      =1i(r1 r )Js2AO( t)dt+1i(r1 r v)Jn2 AO( t)dt
                 0                                           (41a)    signal coefficient values while the ratio of the secondary is

                                                                                                         ;~~~;!! ~i!£J~~~u~~~~~:u~
                                                                                                        1
  It should be understood that one could, equally well, have 30
                                                                       (~ffs~ed:;~r ~fa~!y
chosen the measured signal SAh(t) as the first input to the
                                                                       Aa=660 nm and Ab=910 nm.
correlation canceler and the plurality of reference signals
                                                                          It should also be understood that in practical implemen-
R'(r 1 , t), R'(r 2 , t), ... , R'(rn, t) as the second input. In this tations of the plurality of reference signals and cross corr-
event, the correlation canceler energy output is                       elator technique, the ideal features listed as properties (1),
                                                                           35
                                                                 (2) and (3) above will not be precisely satisfied but will be
        E').b(1j)=Jc2(S'),J,(t),R'(r,t)dt
                                                                 approximations thereof. Therefore, in practical implemen-
                                                           (41b) tations of this embodiment of the present invention, the
                                                                 correlation canceler energy curves depicted in FIG. 7b will
   It should also be understood that in practical situations the
                                                                 not consist of infinitely narrow delta functions but will have
use of discrete time measurement signals may be employed 40
                                                                 finite width associated with them as depicted in FIG. 7c.
as well as continuous time measurement signals. A system
                                                                    It should also be understood that it is possible to have
which performs a discrete transform (e.g., a saturation
                                                                 more than two signal coefficient values which produce
transform in the present example) in accordance with the
                                                                 maximum energy or power output from a correlation can-
present invention is described with reference to FIGS.
                                                                 celer. This situation arises when the measured signals each
11-22. In the event that discrete time measurement signals 45
                                                                 contain more than two components each of which are related
are used, integration approximation methods such as the
                                                                 by a ratio as follows:
trapezoid rule, midpoint rule, Tick's rule, Simpson's
approximation or other techniques may be used to compute                                                                     (43)
the correlation canceler energy or power output. In the                 S,.,,(t) = Lfi.,,;(t)
                                                                                  i=O
discrete time measurement signal case, the energy output of 50
the correlation canceler may be written, using the trapezoid            S'/.b(t) = Lfu;(t)
rule, as                                                                          i=O

                                                                                      where

                                                                                      fi.,,;(t)   r;f,.1,;(t)    i = 1, ... , n
                                                                           55



                                                                                 Thus, reference signal techniques together with a corre-
                                                                              lation cancellation, such as an adaptive noise canceler, can
                                                                           60 be employed to decompose a signal into two or more signal
                                                                              components each of which is related by a ratio.
                                                                                        PREFERRED CORRELATION CANCELER
                                                                                         USING A JOINT PROCESS ESTIMATOR
where t; is the ith discrete time, t 0 is the initial time, tn is the 65                         IMPLEMENTATION
final time and .M is the time between discrete time measure-                Once either the secondary reference n'(t) or the prima.ry
ment samples.                                                            reference s'(t) is determined by the processor of the present




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invention, the correlation canceler can be implemented in           or n"u,(t) of the joint process estimator 60 is a very good
either hardware or software. The preferred implementation           approximation to either the primary signal sM(t) or the
of a correlation canceler is that of an adaptive noise canceler     secondary signal nM(t).
using a joint process estimator.                                        The joint process estimator 60 can be divided into stages,
   The least mean squares (LMS) implementation of the               beginning with a zero-stage and terminating in an m th-stage,
internal processor 32 described above in conjunction with           stage, as shown in FIG. 8. Each stage, except for the
the adaptive noise canceler of FIGS. Sa and FIG. Sb is              zero-stage, is identical to every other stage. The zero-stage
relatively easy to implement, but lacks the speed of adap-          is an input stage for the joint process estimator 60. The first
tation desirable for most physiological monitoring applica-         stage through the mth-stage work on the signal produced in
tions of the present invention. Thus, a faster approach for 10 the immediately previous stage, i.e., the (m-l)'h -stage, such
adaptive noise canceling, called a least-squares lattice joint      that a good primary signal approximation s"u,(t) or second-
process estimator model, is used in one embodiment. A joint         ary signal approximation n"u,(t) is produced as output from
process estimator 60 is shown diagrammatically in FIG. 8            the m'h -stage.
and is described in detail in Chapter 9 of Adaptive Filter              The least-squares lattice predictor 70 comprises registers
Theory by Simon Haykin, published by Prentice-Hall, copy- 15 90 and 92, summing elements 100 and 102, and delay
right 1986. This entire book, including Chapter 9, is hereby        elements 110. The registers 90 and 92 contain multiplicative
incorporated herein by reference.                                   values of a forward reflection coefficient rf.m(t) and a
   The function of the joint process estimator is to remove         backward reflection coefficient r b.m(t) which multiply the
either the secondary signal portions nu,(t) or nAh(t) or the        reference signal n'(t) or s'(t) and signals derived from the
primary signal portions su,(t) or SAh(t) from the measured 20 reference signal n'(t) or s'(t). Each stage of the least-squares
signals Su,(t) or SAh(t), yielding either a primary signal          lattice predictor outputs a forward prediction error fm(t) and
approximation s"1,.a{t) or sAh(t) or a secondary signal             a backward prediction error bm(t). The subscript mis indica-
approximation n"u,(t) or n"Ah(t). Thus, the joint process           tive of the stage.
estimator estimates either the value of the primary signals             For each set of samples, i.e. one sample of the reference
sM(t) or sAh(t) or the secondary signals nu,(t) or nAh(t). The 25 signal n'(t) or s'(t) derived substantially simultaneously with
inputs to the joint process estimator 60 are either the             one sample of the measured signal Su,(t), the sample of the
secondary reference n'(t) or the primary reference s'(t) and        reference signal n'(t) or s'(t) is input to the least-squares
the composite measured signal SM(t) or SAh(t). The output           lattice predictor 70. The zero-stage forward prediction error
is a good approximation to the signal SM(t) or SAh(t) with          fo(t) and the zero-stage backward prediction error b0 (t) are
either the secondary signal or the primary signal removed, 30 set equal to the reference signal n'(t) or s'(t). The backward
i.e. a good approximation to either sM(t), sAh(t), nM(t) or         prediction error b0 (t) is delayed by one sample period by the
nAh(t).                                                             delay element 110 in the first stage of the least-squares
   The joint process estimator 60 of FIG. 8 utilizes, in            lattice predictor 70. Thus, the immediately previous value of
conjunction, a least square lattice predictor 70 and a regres-      the reference n'(t) or s'(t) is used in calculations involving
sion filter 80. Either the secondary reference n'(t) or the 35 the first-stage delay element 110. The zero-stage forward
primary reference s'(t) is input to the least square lattice        prediction error is added to the delayed zero-stage backward
predictor 70 while the measured signal SM(t) or SAh(t) is           prediction error b0 (t-1) multiplied by the forward reflection
input to the regression filter 80. For simplicity in the            coefficient value r.f.l(t) register 92 value, to produce a
following description, Su,(t) will be the measured signal           first-stage forward prediction error f 1(t). Additionally, the
from which either the primary portion su,(t) or the secondary 40 zero-stage forward prediction error fo(t) is multiplied by the
portion nM(t) will be estimated by the joint process estima-        backward reflection coefficient r b.l (t) register 90 value and
tor 60. However, it will be noted that SAh(t) could also be         added to the delayed zero-stage backward prediction error
input to the regression filter 80 and the primary portion sAh(t)    bo(t-1) to produce a first-stage backward prediction error
or the secondary portion nAh(t) of this signal could be             b 1 (t). In each subsequent stage, m, of the least square lattice
estimated.                                                       45 predictor 70, the previous forward and backward prediction
   The joint process estimator 60 removes all frequencies           error values, fm_ 1(t) and bm_1(t-l), the backward prediction
that are present in both the reference n'(t) or s'(t), and the      error being delayed by one sample period, are used to
measured signal Su,(t). The secondary signal portion nM(t)          produce values of the forward and backward prediction
usually comprises frequencies unrelated to those of the             errors for the present stage, fm(t) and bm(t).
primary signal portion su,(t). It is improbable that the 50             The backward prediction error bm(t) is fed to the concur-
secondary signal portion nu,(t) would be of exactly the same        rent stage, m, of the regression filter 80. There it is input to
spectral content as the primary signal portion s1.a(t).             a register 96, which contains a multiplicative regression
However, in the unlikely event that the spectral content of         coefficient value Km.u,(t). For example, in the zero-stage of
sM(t) and nu,(t) are similar, this approach will not yield          the regression filter 80, the zero-stage backward prediction
accurate results. Functionally, the joint process estimator 60 55 error bo(t) is multiplied by the zero-stage regression coef-
compares the reference input signal n'(t) or s'(t), which is        ficient JCo.,_,,(t) register 96 value and subtracted from the
correlated to either the secondary signal portion nu,(t) or the     measured value of the signal Su,(t) at a summing element
primary signal portion su,(t), and input signal SM(t) and           106 to produce a first stage estimation error signal e 1.u,(t).
removes all frequencies which are identical. Thus, the joint        The first-stage estimation error signal e 1 .,_,,(t) is a first
process estimator 60 acts as a dynamic multiple notch filter 60 approximation to either the primary signal or the secondary
to remove those frequencies in the secondary signal com-            signal. This first-stage estimation error signal e 1.M(t) is input
ponent nu,(t) as they change erratically with the motion of         to the first-stage of the regression filter 80. The first-stage
the patient or those frequencies in the primary signal com-         backward prediction error b 1 (t), multiplied by the first-stage
ponent su,(t) as they change with the arterial pulsation of the     regression coefficient K1.,_,,(t) register 96 value is subtracted
patient. This yields a signal having substantially the same 65 from the first-stage estimation error signal e1 .u,(t) to produce
spectral content and amplitude as either the primary signal         the second-stage estimation error e 2 .u,(t). The second-stage
sM(t) or the secondary signal nu,(t). Thus, the output s"u,(t)      estimation error signal e 2.u,(t) is a second, somewhat better




                                                                51
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                                        25                                                                          26
approximation to either the primary signal sNZ(t) or the              ence n'(t) or the primary reference s'(t) are input to the joint
secondary signal nNZ(t).                                              process estimator 60, as shown in FIG. 8. The forward and
   The same processes are repeated in the least-squares               backward prediction error signals fo(t) and b 0 (t), and inter-
lattice predictor 70 and the regression filter 80 for each stage      mediate variables including the weighted sums of the for-
until a good approximation em NZ(t), to either the primary            ward and backward error signals 3 0 (t) and 15 0 (t), and the
signal sNZ(t) or the secondary signal nNZ(t) is determined.           conversion factor y0 (t) are calculated for the zero-stage
Each of the signals discussed above, including the forward            according to:
prediction error fm(t), the backward prediction error bm(t),
the estimation error signal em,NZ(t), is necessary to calculate                f 0 (t)=b0 (t)=n'(t)                                      (51a)
the forward reflection coefficient rf.m(t), the backward 10                    5o(t)=ls 0 (t)='},.,5o(t-l)+ln'(t)l2                      (52a)
reflection coefficient rb,m(t), and the regression coefficient
                                                                               'Yo(t-1)=1                                                (53a)
K,,.,NZ(t) register 90, 92, and 96 values in each stage, m. In
addition to the forward prediction error fm(t), the backward          if a secondary reference n'(t) is used or according to:
prediction error bm(t), and the estimation error em.NZ(t)
signals, a number of intermediate variables, not shown in 15                   f 0 (t)=b0 (t)=s'(t)                                      (51b)
FIG. 8 but based on the values labeled in FIG. 8, are required
                                                                                                                    2
to calculate the forward reflection coefficient r.f.m(t), the                   5o(t)=~0 (t)='},.,5 0 (t-l)+ls'(t)l                      (52b)
backward reflection coefficient rb.m(t), and the regression                     y0 (t-l)=l                                               (53b)
coefficient lCm.NZ(t) register 90,92, and 96 values.
                                                                   20
    Intermediate variables include a weighted sum of the              if a primary reference s'(t) is used where, again, 'A without a
forward prediction error squares 3m(t), a weighted sum of             wavelength identifier, a or b, is a constant multiplicative
the backward prediction error squares ls(t), a scalar param-          value unrelated to wavelength.
eter L\,(t), a conversion factor Ym(t), and another scalar               Forward reflection coefficient r.f.m(t), backward reflection
parameter Pm.NZ(t). The weighted sum of the forward pre- 25 coefficient r b.m(t), and regression coefficient Km.NZ(t) regis-
 diction errors 3m(t) is defined as:                                  ter 90, 92 and 96 values in each stage thereafter are set
                                                                      according to the output of the previous stage. The forward
                  t                                           (44)    reflection       coefficient I'.r. 1(t), backward reflection coefficient
        5m(t) = ; ] '),.,t-i .lf'm(i)l2;
                                                                      r b, 1(t), and regression coefficient K1 .NZ(t) register 90, 92 and
                                                                      96 values in the first stage are thus set according to the
 where 'A without a wavelength identifier, a or b, is a constant 30 algorithm using values in the zero-stage of the joint process
 multiplicative value unrelated to wavelength and is typically        estimator 60. In each stage, m~l. intermediate values and
 less than or equal to one, i.e., 'A~l. The weighted sum of the       register values including the parameter L\,_1 (t); the forward
 backward prediction errors lsm(t) is defined as:                     reflection coefficient rf.m(t) register 90 value; the backward
                                                                      reflection coefficient rb.m(t) register 92 value; the forward
                                                              (45) 35 and backward error signals fm(t) and bm(t); the weighted sum
                                                                      of squared forward prediction errors gf.m(t) as manipulated
 where, again, A without a wavelength identifier, a or b, is a        in §9.3 of the Haykin book; the weighted sum of squared
 constant multiplicative value unrelated to wavelength and is         backward prediction errors lsb_m(t), as manipulated in §9.3
 typically less than or equal to one, i.e., 'A~ 1. These weighted 40 of the Haykin book; the conversion factor Ym(t); the param-
 sum intermediate error signals can be manipulated such that           eter Pm.NZ(t); the regression coefficient Km.NZ(t) register 96
 they are more easily solved for, as described in Chapter 9,           value; and the estimation error em+lNZ(t) value are set
 §9.3 of the Haykin book referenced above and defined                  according to:
 hereinafter in equations (59) and (60).
                                                                                 t,m-i (t)=M,,,_ 1(t-1 )+{b,,,_1(t-l}f",,,_1(t)/y,,,_ 1(t-1 )}   (54)
                                                                        45
        DESCRIPTION OF THE JOINT PROCESS                                         r1,it)=-{t.,,,_ 1(t)/f5,,,_i(t-l)}                              (55)
                                 ESTWXfOR
   The operation of the joint process estimator 60 is as                         r b 1n(t)=-{!,*m-1(t)/5m-l(t)}                                  (56)
follows. When the joint process estimator 60 is turned on,
                                                                                 fm(t)=fm-1 (t)+r*J.,,.(t)b,,,_, (t-1)                           (57)
the initial values of intermediate variables and signals 50
including the parameter ~m-i<t), the weighted sum of the                         bm(t)=bm-1 (t-1 )+r* b,n( tlfm-1 (t)                            (58)
forward prediction error signals gm_1 (t), the weighted sum                      5m(t)=5m-1Ct)-{lt.,,,_,(t)f'tls,,,_,(t-l)}                      (59)
of the backward prediction error signals lsm-i (t), the param-
eter Pm.NZ(t), and the zero-stage estimation error e0 .NZ(t) are                  lsm(t)=lsm-1(t-l)-{l~-1(t)l 2/5,,,_,(t)}                       (60)
initialized, some to zero and some to a small positive 55                        "fm(t-1 )="fm-1 (t-1 )-{ lb,,,_, (t-1 )12/Jsm-1 (t-1)}          (61)
number 8:
        t.m_.(O)=O;                                             (46)             Pmµ( t)=Apm,,..,( t-1 )+{ bm( t')e *m,M( t)/ym( t)}             (62)
                                                                                 K,,._,..,(t)={pm,,..,(t)/lsm(t)}                                (63)
        5m_1 (0)=o;                                             (47) 60
        E,m-1(0)=0;                                              (48)
                                                                                                                                                 (64)

        Pm,,..,(O)=O;                                            (49)
                                                                  where a (*) denotes a complex conjugate.
        e 0 :;,,(t)=S,..,(t) fur t~0.
                                                                     These equations cause the error signals fm(t), bm(t), em.NZ
                                                          (50) 65
                                                                  (t) to be squared or to be multiplied by one another, in effect
   After initialization, a simultaneous sample of the mea-        squaring the errors, and creating new intermediate error
 sured signal SNZ(t) or SAh(t) and either the secondary refer-    values, such as ~m_ 1(t). The error signals and the interme-




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                                                27                                                                                                  28
diate error values are recursively tied together, as shown in
the above equations (54) through (64). They interact to
minimize the error signals in the next stage.                                                                   ~m-1 (0)=0=10-6

   After a good approximation to either the primary signal
s""(t) or the secondary signal n""(t) has been determined by                                                    Yo(0)=l
the joint process estimator 60, a next set of samples, includ-
ing a sample of the measured signal S""(t) and a sample of                                                  2. At each instant t~ 1, generate the various zeroth-order
either the secondary reference n'(t) or the primary reference                                                  variables as follows:
s'(t), are input to the joint process estimator 60. The
re-initialization process does not re-occur, such that the 10                                                  Yo(t-1)= 1
forward and backward reflection coefficient rf.m(t) and rb.m                                                   Po(t) = AP0 (t- 1) + N2(r)
(t) register 90, 92 values and the regression coefficient
K,,,""(t) register 96 value reflect the multiplicative values                                                  bo(t) =fii(t) = __!!!!)_
required to estimate either the primary signal portion s""(t)                                                                   ~
or the secondary signal portion n""(t) of the sample of S""(t) 15
input previously. Thus, information from previous samples
is used to estimate either the primary or secondary signal                                                  3. For regression filtering, initialize the algorithm by
portion of a present set of samples in each stage.                                                             setting at time index t=O
   In a more numerically stable and preferred embodiment of
the above described joint process estimator, a normalized 20
                                                                                                                Pm(O)=O
joint process estimator is used. This version of the joint
process estimator normalizes several variables of the above-
described joint process estimator such that the normalized                                                  4. At each instant t ~ 1, generate the zeroth-order variable
variables fall between -1 and 1. The derivation of the
                                                                                                                Eo(t)=U(t).
normalized joint process estimator is motivated in the 25
Haykin text as problem 12 on page 640 by redefining the
                                                               Accordingly, a normalized joint process estimator can be
variables defined according to the following conditions:
                                                             used for a more stable system.
                                                               In yet another embodiment, the correlation cancellation is
                                                             performed with a QRD algorithm as shown diagrammati-
                                                         30 cally in FIG. Sa and as described in detail in Chapter 18 of
                                                             Adaptive Filter Theory by Simon Haykin, published by
      b(t)       b,,,(t)
                                                             Prentice-Hall, copyright 1986.
           \j p,,,( t)y,,,( t)
                                                               The following equations adapted from the Haykin book
                                                             correspond to the QRD-LSL diagram of FIG. Sa (also
                                                         3 5 adapted from the Haykin book).
                                                             Computations
                                                               a. Predictions: For time t=l. 2, ... , and prediction order
  This transformation allows the conversion of Equations
(54)-(64) to the following normalized equations:                  m=l, 2, ... , M, where Mis the final prediction order,
                                                         40
                                                                  compute:
X,,,_ 1(t) =X,,,_,(r- 1)[1- !f,,,_1(r)l2J 112 [1-
                                                                                                               p,,,_,(t- 1) = APm-1(t- 2) + IEb.m-l(t-1)12

                                                       lb,,,_,(t- 1)12]112 + -;;,,,_,(t- llfm--1(t)
                                                                                                                                  A112 13,!{:1(t-2)
                                                                                                               Cb.m-l(t+ 1)
                                                                                                      45                             13,!{:,(t-1)
                       [b,,,_,(t- l)-X,,,_,(tlfm--1(t)]
                    [1- 1X,,._,(r)l2J 112[1- !f,,,_,(r)f2J112                                                                    e;_,,,...i(t-1)
                                                                                                               Sb.m-l(t- 1)
                                                                                                                                   P!':,<r-1)
                        [f,,._1(t)-X,,,_,(t)b,,,...,(t- l)l
                   [1- 1X,,,_,(t)l2] 112 [1- lb,,,_,(t- 1)12] 112                                     50       EJ.rn(t) =Cb.m-1(t- l)EJ.m-1(t)- 'b,,,,_1(t- l)A112iy~i(t- 1)

         p,,,(r) = [1 - IX,,,...1(t)l2JP,,,...1<r-1)


         y,,,(t) ='Ym--1(t)[l - lb,,._,(t)l2]
                                                                                                      55

                                                                                                               5m--1(t) = J..5,,,...,(t- 1) + IEJ.m-1(t)l2
                                                       ]   1/2 p,,,(t-l)+b,,,(t)E,,,(t)



         Ern+1J,,:(t) = Ern.1.o(t)- p,,,(t)b,,,(t)                                                                          A1125,:,':1(t- 1)
                                                                                                               CJ.m-1(t)
                                                                                                      60                          5!':1(t)

Initialization of Normalized Joint Process Estimator                                                                        Ef~1(t)
   Let N(t) be defined as the reference noise input at time
                                                                                                               Sf.m--l(t)   =---
                                                                                                                            5,:,'=,(t)
index n and U(t) be defined as combined signal plus noise
input at time index t the following equations apply (see 65
Haykin, p. 619):
   1. To initialize the algorithm, at time t=O set




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                                29                                                                         30
                            -continued                                        for determining either the secondary reference n'(t) or the
       iy;,m--l(t) = CJ,m--J(t)A~.,...i(t- 1) + SJ.,...1(t)E b.,...1(t- 1)    primary reference s'(t). The flowchart for the joint process
                                                                              estimator is implemented in software.
       b. Filtering: For order m =0, 1, ... , M - 1; and time                     A one-time initialization is performed when the physi-
                                                                           5 ological monitor is powered-on, as indicated by an ''JNI-
       t= 1, 2, ... , compute                                                 TIALIZE NOISE CANCELER" action block 120. The
                                                                              initialization sets all registers 90, 92. and 96 and delay
                                                                              element variables 110 to the values described above in
                                                                              equations (46) through (50).
                                                                           10
                                                                                  Next, a set of simultaneous samples of the composite
                    ,._112p~2(t- l)                                           measured signals S""(t) and SAh(t) is input to the subroutine
       Cb,n(t)
                           P!,?Ct)                                            represented by the flowchart in FIG. 9. Then a time update
                                                                              of each of the delay element program variables occurs, as
                      e;,.(t)                                                 indicated in a "TIME UPDATE OF [Z-1 ] ELEMENTS"
       SbJn(t)=---
                       p:,?(t)                                             15 action block 130. The value stored in each of the delay
                                                                              element variables 110 is set to the value at the input of the
       Entt-J(t) =cb,m(t)Em(t)-,i',.(t)'A. 112 pm*(t- 1)
                                                                              delay element variable 110. Thus, the zero-stage backward
                                                                              prediction error b 0 (t) is stored as the first-stage delay ele-
                                                                              ment variable, and the first-stage backward prediction error
                                                                           20 b (t) is stored as the second-stage delay element variable,
                                                                                1
                                                                              and so on.
                                                                                  Then, using the set of measured signal samples S""(t) and
                                                                              SAh(t), the reference signal is obtained using the ratiometric
                                                                              or the constant saturation methods described above. This is
                                                                           25
                                                                              indicated by a "CALCULATE REFERENCE [n'(t) or s'(t)]
5. Initialization                                                             FOR TWO MEASURED SIGNAL SAMPLES" action
                                                                              block 140.
   a. Auxiliary parameter initialization: for order m=l, 2, ..
      . , M, set                                                                  A zero-stage order update is performed next as indicated
                                                                           30
                                                                              in   a "ZERO-STAGE UPDATE" action block 150. The
                                                                              zero-stage backward prediction error b0 (t), and the zero-
                                                                              stage forward prediction error f0 (t) are set equal to the value
                                                                              of the reference signal n'(t) or s'(t). Additionally, the
                                                                              weighted sum of the forward prediction errors 3m(t) and the
   b. Soft constraint initialization: For order m=0, 1, ... , M,              weighted sum of backward prediction errors ~m(t) are set
                                                                           35
      set                                                                     equal to the value defined in equations (47) and (48).
                                                                                  Next, a loop counter, m, is initialized as indicated in a
                                                                              "m=0" action block 160. A maximum value of m, defining
                                                                              the total number of stages to be used by the subroutine
                                                                           40 corresponding to the flowchart in FIG. 9, is also defined.
where ois a small positive constant.                                          Typically, the loop is constructed such that it stops iterating
   c. Data initialization: For t=l, 2, ... , compute                          once a criterion for convergence upon a best approximation
                                                                              to either the primary signal or the secondary signal has been
                                                                              met by the joint process estimator 60. Additionally, a maxi-
         E1, 0 (t)=e.,0 (t)=µ(t)                                           45 mum number of loop iterations may be chosen at which the
                                                                              loop stops iteration. In a preferred embodiment of a physi-
         Eo(t)=d(t)
                                                                              ological monitor of the present invention, a maximum
         'Yo(t)=l                                                             number of iterations, m=6 to m=lO, is advantageously
                                                                              chosen.
where µ(t) is the input and d(t) is the desired response at time                  Within the loop, the forward and backward reflection
                                                                           50
t.                                                                             coefficient r.f.m(t) and rb,m(t) register 90 and 92 values in the
                 FLOWCHART OF JOINT PROCESS                                   least-squares lattice filter are calculated first. as indicated by
                                   ESTIMATOR                                  the "ORDER UPDATE MTH CELL OF LSL-LATTICE"
                                                                               action block 170 in FIG. 9. This requires calculation of
   In a signal processor, such as a physiological monitor 55 intermediate variable and signal values used in determining
incorporating a reference processor of the present invention                  register 90, 92, and 96 values in the present stage, the next
to determine a reference n'(t) or s'(t) for input to a correlation             stage, and in the regression filter 80.
canceler, a joint process estimator 60 type adaptive noise                        The calculation of regression filter register 96 value
canceler is generally implemented via a software program                       Km.""(t) is performed next, indicated by the "ORDER
having an iterative loop. One iteration of the loop is analo- 60 UPDATE MTH STAGE OF REGRESSION FILTER(S)"
gous to a single stage of the joint process estimator as shown                 action block 180. The two order update action blocks 170
in FIG. 8. Thus, if a loop is iterated m times, it is equivalent               and 180 are performed in sequence m times, until m has
to an m stage joint process estimator 60.                                     reached its predetermined maximum (in the preferred
   A flow chart of a subroutine to estimate the primary signal                 embodiment, m=6 to m=lO) or a solution has been con-
portion s""(t) or the secondary signal portion n""(t) of a 65 verged upon, as indicated by a YES path from a "DONE"
measured composite signal, S""(t) is shown in FIG. 9. The                      decision block 190. In a computer subroutine, convergence
flow chart illustrates the function of a reference processor                   is determined by checking if the weighted sums of the




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forward and backward prediction errors 3m(t) and ~m(t) are                                                                       (67)
less than a small positive number. An output is calculated
                                                                                                                                 (68)
next, as indicated by a "CALCULATE OUTPUT" action
block 200. The output is a good approximation to either the         The second regression filter has a regression coefficient
primary signal or secondary signal, as determined by the            Km.;v,(t) register 98 value defined similarly to the first
reference processor 26 and joint process estimator 60 sub-          regression filter error signal values, i.e.:
routine corresponding to the flow chart of FlG. 9. This is
                                                                            K,,,.,.b(t)={pm.1-b(tY15m(t)}; or                    (69)
displayed (or used in a calculation in another subroutine), as
indicated by a ''TO DISPLAY'' action block 210.
    A new set of samples of the two measured signals S,.,,(t) 10 These values are used in conjunction with those intermediate
and S;v,(t) is input to the processor and joint process esti-       variable values, signal values. register and register values
mator 60 adaptive noise canceler subroutine corresponding           defined in equations (46) through (64). These signals are
to the flowchart of FlG. 9 and the process reiterates for these     calculated in an order defined by placing the additional
samples. Note, however, that the initialization process does        signals inlmediately adjacent a similar signal for the wave-
not re-occur. New sets of measured signal samples S,.,,(t) 15 length All.
and S;v,(t) are continuously input to the reference processor          For the constant saturation method, S;v,(t) is input to the
26 and joint process estimator adaptive noise canceler              second regression filter 80b. The output is then a good
subroutine. The output forms a chain of samples which is            approximation to the primary signal portion s";v,(t) or sec-
representative of a continuous wave. This waveform is a             ondary signal portion n ";v,(t).
good approximation to either the primary signal waveform 20            The addition of the second regression filter 80b does not
s,.,,(t) or the secondary waveform n,.,,(t) at wavelength M.        substantially change the computer program subroutine rep-
The waveform may also be a good approximation to either             resented by the flowchart of FlG. 9. Instead of an order
the primary signal waveform s;v,(t) or the secondary wave-          update of the m th stage of only one regression filter, an order
form n";v,(t) at wavelength Ab.                                     update of the mth stage of both regression filters 80a and 80b
    A corresponding flowchart for the QRD algorithm of FIG.      25 is performed. This is characterized by the plural designation
Sa is depicted in FIG. 9a, with reference numeral corre-            in the "ORDER UPDATE OF m'h STAGE OF REGRES-
sponding in number with an 'a' extension                            SION FILTER(S)" activity block 180 in FlG. 9. Since the
                                                                    regression filters 80a and 80b operate independently, inde-
          CALCULATION OF SJITURATION FROM                           pendent calculations can be performed in the reference
            CORRELPJION CANCELER OUTPUT                          30 processor and joint process estimator 60 adaptive noise

    Physiological monitors may use the approximation of the         canceler subroutine modeled by the flowchart of FlG. 9.
primary signals s ",.,,(t) or s ";v,(t) or the secondary signals       An alternative diagram for the joint process estimator of
n",.,,(t) or n";v,(t) to calculate another quantity, such as the    FlG. 10, using the QRD algorithm and having two regres-
saturation of one constituent in a volume containing that           sion filters is shown in FlG. 10a. This type of joint process
constituent plus one or more other constituents. Generally, 35 estimator would be used for correlation cancellation using
such calculations require information about either a primary        the QRD algorithm described in the Haykin book.
or secondary signal at two wavelengths. For example, the                             CALCULATION OF SJITURATION
constant saturation method requires a good approximation of
the primary signal portions s,.,,(t) and s;v,(t) of both mea-          Once good approximations to the primary signal portions
sured signals S,.,,(t) and S;v,(t). The arterial saturation is 40 s",.,,(t) and s";v,(t) or the secondary signal portion n",.,,(t) and
determined from the approximations to both signals, i.e.            n";v,(t), have been determined by the joint process estimator
s",.,,(t) and s";v,(t). The constant saturation method also         60, the saturation of As in a volume containing As and A 6 •
requires a good approximation of the secondary signal               for example, may be calculated according to various known
portions n,.,,(t) or n;v,(t). An estimate of the venous satura-     methods. Mathematically, the approximations to the primary
tion may be determined from the approximations to these 45 signals can be written in terms of Ni and Ab, as:
signals i.e. n",.,,(t) and n";v,(t).
                                                                            s"i.,,(tJ=es.i..,CsXs,6(t}+E6...,F6's,6(t); and        (70)
   Ajoint process estimator 60 having two regression filters
80a and 80b is shown in FlG. 10. A first regression filter 80a              s"Ab(tJ=es,AhCsXs,6(t~...,,c6's,6(t).                  (71)
accepts a measured signal S,.,,(t). A second regression filter
                                                                 50 Equations (70) and (71) are equivalent to two equations
80b accepts a measured signal S;v,(t) for a use of the constant
saturation method to determine the reference signal n'(t) or        having three unknowns, namely cs(t), c6 (t) and Xs.it). The
s'(t). The first and second regression filters 80a and 80b are      saturation can be determined by acquiring approximations to
independent. The backward prediction error bm(t) is input to        the primary or secondary signal portions at two different, yet
each regression filter 80a and 80b, the input for the second        proximate times t 1 and t 2 over which the saturation of As in
                                                                 55 the volume containing As and A 6 and the saturation of A 3 in
regression filter 80b bypassing the first regression filter 80a.
                                                                    the volume containing A 3 and A4 does not change substan-
   The second regression filter 80b comprises registers 98,
                                                                    tially. For example, for the primary signals estimated at
and summing elements 108 arranged similarly to those in the
                                                                    times t 1 and ~:
first regression filter 80a. The second regression filter 80b
operates via an additional intermediate variable in conjunc- 60             s"i.,,(t1)""'s,i..,CsXs,6(t1}+E6,i..,C6"s,6(t1)        (72)
tion with those defined by equations (54) through (64), i.e.:
                                                                             s"Ab(t1)=Es.;J,CsXs,6(t1~,;J,C,;Xs,6(t10              (73)
       Pm,Ab(t)=Apm.).b(t-l)+{bm(t)e*m»(t)/ym(t)}; and       (65)
                                                                             s"i.,,(t2)=Es)wFsXs,6('2~,i..,C6"s,6('2)              (74)
       Po.Ab(0)=O.                                           (66)
                                                                             s"Ah(t2)=Es,;J,CsXs,6('2}+E6,;J,C6"s,6('2)            (75)
The second regression filter 80b has an error signal value 65
defined similar to the first regression filter error signal   Then, difference signals may be determined which relate the
values, em+i,,_,,(t), i.e.:                                   signals of equations (72) through (75), i.e.:




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                                                                (76)            niques. When the patient moves, this causes perturbation
                                                                                such as changing optical pathlength due to movement of
                                                                       (77)
                                                                                background fluids (e.g., venous blood having a different
                                                                                saturation than the arterial blood). Therefore, the measured
where ~=x5 •6 (t1 )-x5 ,it2 ). The average saturation at time
                                                                                signal becomes erratic. Erratic motion induced noise typi-
t+(t1+t2 )/2 is:
                                                                                cally cannot be predetermined and/or subtracted from the
       Saturation( t)     cs(t)/[cs(t) + c6(t)]                   (78)          measured signal via traditional filtering techniques. Thus,
                                                                                determining the oxygen saturation of arterial blood and
                             E 6,M - E 6,lb(/',.s,,,//',.SIJ,)
                                                                  (79)          venous blood becomes more difficult.
                                   E6,i..,- E5,i..,-
                                                                            10     A schematic of a physiological monitor for pulse oximetry
                            (E6.1J, - ESJJ,)(/',.si..,/l'>s'!,J,)
                                                                                is shown in FIGS. 11-13. FIG. 11 depicts a general hardware
                                                                                block diagram of a pulse oximeter 299. A sensor 300 has two
It will be understood that the ~ term drops out from the                        light emitters 301 and 302 such as LED's. One LED 301
saturation calculation because of the division. Thus. knowl-                    emitting light of red wavelengths and another LED 302
edge of the thickness of the primary constituents is not 15 emitting light of infrared wavelengths are placed adjacent a
required to calculate saturation.                                               finger 310. Aphotodetector 320, which produces an electri-
                                                                                cal signal corresponding to the attenuated visible and infra-
          PULSE OXIMEIRY MEASUREMENTS
                                                                                red light energy signals is located opposite the LED's 301
    A specific example of a physiological monitor utilizing a                   and 302. The photodetector 320 is connected to front end
processor of the present invention to determine a secondary 20 analog signal conditioning circuity 330.
reference n'(t) for input to a correlation canceler that                           The front end analog signal conditioning circuitry 330 has
removes erratic motion-induced secondary signal portions is                     outputs coupled to analog to digital conversion circuit 332.
a pulse oximeter. Pulse oximetry may also be performed                          The analog to digital conversion circuitry 332 has outputs
utilizing a processor of the present invention to determine a                   coupled to a digital signal processing system 334. The
primary signal reference s'(t) which may be used for display 25 digital signal processing system 334 provides the desired
purposes or for input to a correlation canceler to derive                       parameters as outputs for a display 336. Outputs for display
information about patient movement and venous blood                             are, for example, blood oxygen saturation. heart rate, and a
 oxygen saturation.                                                             clean plethysmographic waveform.
    A pulse oximeter typically causes energy to propagate                          The signal processing system also provides an emitter
                                                                            30
 through a medium where blood flows close to the surface for                    current control output 337 to a digital-to-analog converter
 example, an ear lobe, or a digit such as a finger. a forehead                  circuit 338 which provides control information for light
 or a fetus' scalp. An attenuated signal is measured after                       emitter drivers 340. The light emitter drivers 340 couple to
 propagation through or reflected from the medium. The                          the light emitters 301, 302. The digital signal processing
 pulse oximeter estimates the saturation of oxygenated blood.                    system 334 also provides a gain control output 342 for the
                                                                            35
    Freshly oxygenated blood is pumped at high pressure                         front end analog signal conditioning circuitry 330.
 from the heart into the arteries for use by the body. The                          FIG. lla illustrates a preferred embodiment for the com-
 volume of blood in the arteries varies with the heartbeat,                     bination of the emitter drivers 340 and the digital to analog
 giving rise to a variation in absorption of energy at the rate                  conversion circuit 338. As depicted in FIG. lla, the driver
 of the heartbeat, or the pulse.                                            40 comprises first and second input latches 321. 322. a syn-
     Oxygen depleted, or deoxygenated, blood is returned to                      chronizing latch 323, a voltage reference 324. a digital to
 the heart by the veins along with unused oxygenated blood.                      analog conversion circuit 325, first and second switch banks
 The volume of blood in the veins varies with the rate of                        326. 327, first and second voltage to current converters 328,
 breathing. which is typically much slower than the heartbeat.                   329 and the LED emitters 301, 302 corresponding to the
 Thus, when there is no motion induced variation in the 45 LED emitters 301, 302 of FIG. 11.
 thickness of the veins, venous blood causes a low frequency                        The preferred driver depicted in FIG. lla is advantageous
 variation in absorption of energy. When there is motion                         in that the present inventors recognized that much of the
 induced variation in the thickness of the veins. the low                        noise in the oximeter 299 of FIG. 11 is caused by the LED
 frequency variation in absorption is coupled with the erratic                   emitters 301, 302. Therefore. the emitter driver circuit of
 variation in absorption due to motion artifact.                             50 FIG. lla is designed to minimize the noise from the emitters
     In absorption measurements using the transmission of                        301. 302. The first and second input latches 321. 324 are
  energy through a medium. two light emitting diodes (LED's)                     connected directly to the DSP bus. Therefore, these latches
  are positioned on one side of a portion of the body where                      significantly minimizes the bandwidth (resulting in noise)
  blood flows close to the surface, such as a finger, and a                      present on the DSP bus which passes through to the driver
 photodetector is positioned on the opposite side of the finger. 55 circuitry of FIG. lla. The output of the first and second input
 Typically. in pulse oximetry measurements, one LED emits                        latches only changes when these latched detect their address
  a visible wavelength, preferably red. and the other LED                        on the DSP bus. The first input latch receives the setting for
  emits an infrared wavelength. However, one skilled in the art                  the digital to analog converter circuit 325. The second input
  will realize that other wavelength combinations could be                       latch receives switching control data for the switch banks
  used. The finger comprises skin. tissue. muscle. both arterial 60 326,327. The synchronizing latch accepts the synchronizing
  blood and venous blood, fat, etc., each of which absorbs                       pulses which maintain synchronization between the activa-
  light energy differently due to different absorption                           tion of emitters 301, 302 and the analog to digital conversion
  coefficients, different concentrations. different thicknesses.                 circuit 332.
  and changing optical pathlengths. When the patient is not                         The voltage reference is also chosen as a low noise DC
  moving, absorption is substantially constant except for the 65 voltage reference for the digital to analog conversion circuit
  flow of blood. The constant attenuation can be determined                       325. In addition, in the present embodiment. the voltage
  and subtracted from the signal via traditional filtering tech-                 reference has an lowpass output filter with a very low corner




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frequency (e.g.• 1 Hz in the present embodiment). The             signal processing system 334. the current level for the red
digital to analog converter 325 also has a lowpass filter at its  and infrared emitters is maintained constant. It should be
output with a very low corner frequency (e.g., 1 Hz). The         understood, however. that the current could be adjusted for
digital to analog converter provides signals for each of the      changes in the ambient room light and other changes which
emitters 301. 302.                                                would effect the voltage input to the front end analog signal
   In the present embodiment. the output of the voltage to        conditioning circuitry 330. In the present invention. the red
current converters 328. 329 are switched such that with the       and infrared light emitters are modulated as follows: for one
emitters 301. 302 connected in back-to-back configuration,        complete 625 Hz red cycle, the red emitter 301 is activated
only one emitter is active an any given time. In addition, the    for the first quarter cycle, and off for the remaining three-
voltage to current converter for the inactive emitter is 10 quarters cycle; for one complete 625 Hz infrared cycle. the
switched off at its input as well, such that it is completely     infrared light emitter 302 is activated for one quarter cycle
deactivated. This reduces noise from the switching and            and is off for the remaining three-quarters cycle. In order to
voltage to current conversion circuitry. In the present           only receive one signal at a time, the emitters are cycled on
embodiment. low noise voltage to current converters are           and off alternatively. in sequence. with each only active for
selected (e.g .• Op 27 Op Amps). and the feedback loop is 15 a quarter cycle per 625 Hz cycle and a quarter cycle
configured to have a low pass filter to reduce noise. In the      separating the active times. The light signal is attenuated
present embodiment, the low pass filtering function of the        (amplitude modulated) by the pumping of blood through the
voltage to current converter 328. 329 has a corner frequency      finger 310 (or other sample medium). The attenuated
of just above 625 Hz. which is the switching speed for the        (amplitude modulated) signal is detected by the photodetec-
emitters. as further discussed below. Accordingly. the pre- 20 tor 320 at the 625 Hz carrier frequency for the red and
ferred driver circuit of FIG. lla, minimizes the noise of the     infrared light. Because only a single photodetector is used,
emitters 301. 302.                                                the photodetector 320 receives both the red and infrared
   In general. the red and infrared light emitters 301. 302       signals to form a composite time division signal.
each emits energy which is absorbed by the finger 310 and            The composite time division signal is provided to the
received by the photodetector 320. The photodetector 320 25 front analog signal conditioning circuitry 330. Additional
produces an electrical signal which corresponds to the            detail regarding the front end analog signal conditioning
intensity of the light energy striking the photodetector 320.     circuitry 330 and the analog to digital converter circuit 332
The front end analog signal conditioning circuitry 330            is illustrated in FIG. 12. As depicted in FIG. 12, the front end
receives the intensity signals and filters and conditions these   circuity 330 has a preamplifier 342. a high pass filter 344. an
signals as further described below for further processing. 30 amplifier 346, a programmable gain amplifier 348, and a low
The resultant signals are provided to the analog-to-digital       pass filter 350. The preamplifier 342 is a transirnpedance
conversion circuitry 332 which converts the analog signals        amplifier that converts the composite current signal from the
to digital signals for further processing by the digital signal   photodetector 320 to a corresponding voltage signal, and
processing system 334. The digital signal processing system       amplifies the signal. In the present embodiment. the pream-
334 utilizes the two signals in order to provide a what will 35 plifier has a predetermined gain to boost the signal ampli-
be called herein a "saturation transform." It should be           tude for ease of processing. In the present embodiment, the
understood, that for parameters other than blood saturation       source voltages for the preamplifier 342 are -15 VDC and
monitoring. the saturation transform could be better termed       +15 VDC. As will be understood, the attenuated signal
as a concentration transform. in-vivo transform, or the like,     contains a component representing ambient light as well as
depending on the desired parameter. The term saturation 40 the component representing the infrared or the red light as
transform is used to describe an operation which converts         the case may be in time. If there is light in the vicinity of the
the sample data from time domain to saturation domain             sensor 300 other than the red and infrared light. this ambient
values as will be apparent from the discussion below. In the      light is detected by the photodetector 320. Accordingly. the
present embodiment. the output of the digital signal pro-         gain of the preamplifier is selected in order to prevent the
cessing system 334 provides clean plethysmographic wave- 45 ambient light in the signal from saturating the preamplifier
forms of the detected signals and provides values for oxygen      under normal and reasonable operating conditions.
saturation and pulse rate to the display 336.                        In the present embodiment, the preamplifier 342 com-
   It should be understood that in different embodiments of       prises an Analog Devices AD743JR OpAmp. This transim-
the present invention. one or more of the outputs may be          pedance amplifier is particularly advantageous in that it
provided. The digital signal processing system 334 also 50 exhibits several desired features for the system described,
provides control for driving the light emitters 301. 302 with     such as: low equivalent input voltage noise. low equivalent
an emitter current control signal on the emitter current          input current noise. low input bias current, high gain band-
control output 337. This value is a digital value which is        width product. low total harmonic distortion. high common
converted by the digital-to-analog conversion circuit 338         mode rejection. high open loop gain. and a high power
which provides a control signal to the emitter current drivers 55 supply rejection ratio.
340. The emitter current drivers 340 provide the appropriate         The output of the preamplifier 342 couples as an input to
current drive for the red emitter 301 and the infrared emitter    the high pass filter 344. The output of the preamplifier also
302. Further detail of the operation of the physiological         provides a first input 346 to the analog to digital conversion
monitor for pulse oxirnetry is explained below.                   circuit 332. In the present embodiment. the high pass filter
   In the present embodiment. the light emitters are driven 60 is a single-pole filter with a corner frequency of about 1/2-1
via the emitter current driver 340 to provide light transmis-     Hz. However, the corner frequency is readily raised to about
sion with digital modulation at 625 Hz. In the present            90 Hz in one embodiment. As will be understood, the 625 Hz
embodiment. the light emitters 301. 302 are driven at a           carrier frequency of the red and infrared signals is well
power level which provides an acceptable intensity for            above a 90 Hz corner frequency. The high-pass filter 344 has
detection by the detector and for conditioning by the front 65 an output coupled as an input to an amplifier 346. In the
end analog signal conditioning circuitry 330. Once this           present embodiment. the amplifier 346 comprises a unity
energy level is determined for a given patient by the digital     gain amplifier. However, the gain of the amplifier 346 is




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adjustable by the variation of a single resistor. The gain of           to digital converter 356 comprises a single-channel, delta-
the amplifier 346 would be increased if the gain of the                 sigma converter. In the present embodiment, a Crystal
preamplifier 342 is decreased to compensate for the effects             Semiconductor CS5317-KS delta-sigma analog to digital
of ambient light.                                                       converter is used. Such a converter is advantageous in that
    The output of the amplifier 346 provides an input to a              it is low cost, and exhibits low noise characteristics. More
programmable gain amplifier 348. The programmable gain                  specifically, a delta-sigma converter consists of two major
amplifier 348 also accepts a programming input from the                 portions. a noise modulator and a decimation filter. The
digital signal processing system 334 on a gain control signal           selected converter uses a second order analog delta-sigma
line 343. The gain of the programmable gain amplifier 348               modulator to provide noise shaping. Noise shaping refers to
is digitally programmable. The gain is adjusted dynamically 10 changing the noise spectrum from a flat response to a
at initialization or sensor placement for changes in the                response where noise at the lower frequencies has been
medium under test from patient to patient. For example. the             reduced by increasing noise at higher frequencies. The
signal from different fingers differs somewhat. Therefore, a            decimation filter then cuts out the reshaped, higher fre-
dynamically adjustable amplifier is provided by the pro-                quency noise to provide 16-bit performance at a lower
grammable gain amplifier 348 in order to obtain a signal 15 frequency. The present converter samples the data 128 times
 suitable for processing.                                               for every 16 bit data word that it produces. In this manner.
     The programmable gain amplifier is also advantageous in            the converter provides excellent noise rejection. dynamic
an alternative embodiment in which the emitter drive current            range and low harmonic distortion, that help in critical
                                                                        measurement situations like low perfusion and electrocau-
is held constant. In the present embodiment, the emitter
                                                                     20 tery.
 drive current is adjusted for each patient    in order   to obtain
 the proper dynamic range at the input of the analog to digital             In addition, by using a single-channel converter, there is
 conversion circuit 332. However. changing the emitter drive             no need to tune two or more channels to each other. The
 current can alter the emitter wavelength, which in turn                 delta-sigma converter is also advantageous in that it exhibits
 affects the end result in oximetry calculations. Accordingly,           noise shaping, for improved noise control. An exemplary
 it would be advantageous to fix the emitter drive current for 25 analog to digital converter is a Crystal Semiconductor
 all patients. In an alternative embodiment of the present               CS5317, In the present embodiment. the second analog to
 invention, the programmable gain amplifier can be adjusted              digital converter 356 samples the signal at a 20 Khz sample
 by the DSP in order to obtain a signal at the input to the             rate. The output of the second analog to digital converter 356
 analog to digital conversion circuit which is properly within          provides data samples at 20 Khz to the digital signal
                                                                     30 processing system 334 (FIG. 11).
 the dynamic range (+3 v to-3 v in the present embodiment)
 of the analog to digital conversion circuit 332. In this                   The digital signal processing system 334 is illustrated in
 manner. the emitter drive current could be fixed for all                additional detail in FIG. 13. In the present embodiment, the
 patients, eliminating the wavelength shift due to emitter               digital signal processing system comprises a microcontroller
 current drive changes.                                                  360, a digital signal processor 362, a program memory 364,
                                                                     35
     The output of the programi-nable gain amplifier 348                 a sample buffer 366, a data memory 368, a read only
 couples as an input to a low-pass filter 350. Advantageously,           memory 370 and communication registers 372. In the
 the low pass filter 350 is a single-pole filter with a corner           present embodiment, the digital signal processor 362 is an
 frequency of approximately 10 Khz in the present embodi-                Analog Devices AD 21020. In the present embodiment. the
 ment. This low pass filter provides anti-aliasing in the 40 microcontroller 360 comprises a Motorola 68HC05. with
 present embodiment.                                                     built in program memory. In the present embodiment. the
     The output of the low-pass filter 350 provides a second             sample buffer 366 is a buffer which accepts the 20 Khz
 input 352 to the analog-to-digital conversion circuit 332.              sample data from the analog to digital conversion circuit 332
 FIG. 12 also depicts additional defect of the analog-to-                for storage in the data memory 368. In the present
  digital conversion circuit. In the present embodiment, the 45 embodiment, the data memory 368 comprises 32 KWords
  analog-to-digital conversion circuit 332 comprises a first             (words being 40 bits in the present embodiment) of static
  analog-to-digital converter 354 and a second analog-to-                random access memory.
  digital converter 356. Advantageously, the first analog-to-               The microcontroller 360 is connected to the DSP 362 via
  digital converter 354 accepts input from the first input 346           a conventional ITAG Tap line. The microcontroller 360
  to the analog-to-digital conversion circuit 332, and the 50 transmits the boot loader for the DSP 362 to the program
  second analog to digital converter 356 accepts input on the            memory 364 via the Tap line. and then allows the DSP 362
  second input 352 to the analog-to-digital conversion cir-              to boot from the program memory 364. The boot loader in
  cuitry 332.                                                            program memory 364 then causes the transfer of the oper-
     In one advantageous embodiment, the first analog-to-                ating instructions for the DSP 362 from the read only
  digital converter 354 is a diagnostic analog-to-digital con- 55 memory 370 to the program memory 364. Advantageously,
  verter. The diagnostic task (performed by the digital signal           the program memory 364 is a very high speed memory for
  processing system) is to read the output of the detector as            the DSP 362.
  amplified by the preamplifier 342 in order to determine if the             The microcontroller 360 provides the emitter current
  signal is saturating the input to the high-pass filter 344. In the     control and gain control signals via the communications
  present embodiment. if the input to the high pass filter 344 60 register 372.
  becomes saturated, the front end analog signal conditioning                FIGS. 14-20 depict functional block diagrams of the
  circuits 330 provides a '0' output. Alternatively, the first           operations of the pulse oximeter 299 carried out by the
   analog-to-digital converter 354 remains unused.                       digital signal processing system 334. The signal processing
     The second analog-to-digital converter 356 accepts the              functions described below are carried out by the DSP 362 in
   conditioned composite analog signal from the front end 65 the present embodiment with the microcontroller 360 pro-
   signal conditioning circuitry 330 and converts the signal to          viding system management. In the present embodiment, the
   digital form. In the present embodiment. the second analog             operation is software/firmware controlled. FIG. 14 depicts a




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generalized functional block diagram for the operations            which enhances noise immunity. The sum of the respective
performed on the 20 Khz sample data entering the digital           ambient light samples is then subtracted from the sum of the
signal processing system 334. As illustrated in FIG. 14. a         red and infrared samples, as represented in the subtraction
demodulation. as represented in a demodulation module              modules 438, 440. The subtraction operation provides some
400, is first performed. Decimation, as represented in a           attenuation of the ambient light signal present in the data. In
decimation module 402 is then performed on the resulting           the present embodiment, it has been found that approxi-
data. Certain statistics are calculated, as represented in a       mately 20 dB attenuation of the ambient light is provided by
statistics module 404 and a saturation transform is                the operations of the subtraction modules 438, 440. The
performed. as represented in a saturation transform module         resultant red and infrared sum values are divided by four, as
406. on the data resulting from the decimation operation.          represented in the divide by four modules 442, 444. Each
                                                                10
The data subjected to the statistics operations and the data       resultant value provides one sample each of the red and
subjected to the saturation transform operations are for-          infrared signals at 625 Hz.
warded to saturation operations. as represented by a satura-           It should be understood that the 625 Hz carrier frequency
tion calculation module 408 and pulse rate operations, as          has been removed by the demodulation operation 400. The
represented in a pulse rate calculation module 410.
                                                                15 625 Hz sample data at the output of the demodulation
   In general. the demodulation operation separates the red        operation 400 is sample data without the carrier frequency.
and infrared signals from the composite signal and removes         In order to satisfy Nyquist sampling requirements. less than
the 625 Hz carrier frequency, leaving raw data points. The         20 Hz is needed (understanding that the human pulse is
raw data points are provided at 625 Hz intervals to the            about 25 to 250 beats per minute, or about 0.4 Hz-4 Hz).
decimation operation which reduces the samples by an order 20 Accordingly. the 625 Hz resolution is reduced to 62.5 Hz in
of 10 to samples at 62.5 Hz. The decimation operation also         the decimation operation.
provides some filtering on the samples. The resulting data is          FIG. 16 illustrates the operations of the decimation mod-
subjected to statistics and to the saturation transform opera-     ule 402. The red and infrared sample data is provided at 625
tions in order to calculate a saturation value which is very       Hz to respective red and infrared buffer/filters 450, 452. In
tolerant to motion artifacts and other noise in the signal. The 25 the present embodiment. the red and infrared buffer/filters
saturation value is ascertained in the saturation calculation      are 519 samples deep. Advantageously. the buffer filters 450,
module 408. and a pulse rate and a clean plethysmographic          452 function as continuous first-in. first-out buffers. The 519
waveform is obtained through the pulse rate module 410.            samples are subjected to low-pass filtering. Preferably, the
Additional detail regarding the various operations is pro-         low-pass filtering has a cutoff frequency of approximately
vided in connection with FIGS. 15-21.                           30 7.5 Hz with attenuation of approximately -110 dB. The
   FIG. 15 illustrates the operation of the demodulation           buffer/filters 450, 452 form a Finite lnlpulse Response (FIR)
module 400. The modulated signal format is depicted in             filter with coefficients for 519 taps. In order to reduce the
FIG. 15. One full 625 Hz cycle of the composite signal is          sample frequency by ten, the low-pass filter calculation is
depicted in FIG. 15 with the first quarter cycle being the         performed every ten samples, as represented in respective
active red light plus ambient light signal, the second quarter 35 red and infrared decimation by 10 modules 454. 456. In
cycle being an ambient light signal, the third quarter cycle       other words, with the transfer of each new ten samples into
being the active infrared plus ambient light signal. and the       the buffer/filters 450. 452. a new low pass filter calculation
fourth quarter cycle being an ambient light signal. As             is performed by multiplying the impulse response
depicted in FIG. 15. with a 20 KHz sampling frequency, the         (coefficients) by the 519 filter taps. Each filter calculation
single full cycle at 625 Hz described above comprises 32 40 provides one output sample for respective red and infrared
samples of 20 KHz data. eight samples relating to red plus         output buffers 458, 460. In the present embodiment, the red
ambient light, eight samples relating to ambient light. eight      and infrared output buffers 458, 460 are also continuous
samples relating to infrared plus ambient light. and finally       FIFO buffers that hold 570 samples of data. The 570 samples
eight samples related to ambient light.                            provide respective infrared and red samples or packets (also
   Because the signal processing system 334 controls the 45 denoted "snapshot" herein) of samples. As depicted in FIG.
activation of the light emitters 300, 302. the entire system is    14. the output buffers provide sample data for the statistics
synchronous. The data is synchronously divided (and                operation module 404, saturation transform module 406. and
thereby demodulated) into four 8-sample packets. with a            the pulse rate module 410.
time division demultiplexing operation as represented in a            FIG. 17 illustrates additional functional operation details
demultiplexing module 421. One eight-sample packet 422 50 of the statistics module 404. In summary. the statistics
represents the red plus ambient light signal; a second eight-      module 404 provides first order oximetry calculations and
sample packet 424 represents an ambient light signal; a third      RMS signal values for the red and infrared channels. The
eight-sample packet 426 represents the attenuated infrared         statistics module also provides a cross-correlation output
light plus ambient light signal; and a fourth eight-sample         which indicates a cross-correlation between the red and
packet 428 represents the ambient light signal. A select 55 infrared signals.
signal synchronously controls the demultiplexing operation             As represented in FIG. 17. the statistics operation accepts
so as to divide the time-division multiplexed composite            two packets of samples (e.g.• 570 samples at 62.5 Hz in the
signal at the input of the demultiplexer 421 into its four         present embodiment) representing the attenuated infrared
subparts.                                                          and red signals. with the carrier frequency removed. The
   A sum of the last four samples from each packet is then 60 respective packets for infrared and red signals are normal-
calculated. as represented in the summing operations 430.          ized with a log function. as represented in the Log modules
432. 434. 436 of FIG. 15. In the present embodiment. the last      480. 482. The normalization is followed by removal of the
four samples are used because a low pass filter in the analog      DC portion of the signals. as represented in the DC Removal
to digital converter 356 of the present embodiment has a           modules 484,486. In the present embodiment, the DC
settling time. Thus, collecting the last four samples from 65 removal involves ascertaining the DC value of the first one
each 8-sample packet allows the previous signal to clear.          of the samples (or the mean of the first several or the mean
This summing operation provides an integration operation           of an entire snapshot) from each of the respective red and




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infrared snapshots, and removing this DC value from all               not qualify. Signals which satisfy the signal model will have
samples in the respective packets.                                    a correlation greater than the threshold.
    Once the DC signal is removed, the signals are subjected             The red and infrared 120-sample packets are also sub-
to bandpass filtering, as represented in red and infrared             jected to a second saturation operation and cross correlation
Bandpass Filter modules 488,490. In the present 5 in the same manner as described above, except the 120
embodiment, with 570 samples in each packet, the bandpass             samples are divided into 5 equal bins of samples (i.e., 5 bins
filters are configured with 301 taps to provide a FIR filter          of 24 samples each). The RMS, ratio, saturation, and cross
with a linear phase response and little or no distortion. In the      correlation operations are performed on a bin-by-bin basis.
present embodiment, the bandpass filter has a pass band               These operations are represented in the Divide Into Five
from 34 beats/minute to 250 beats/minute. The 301 taps 10 Equal Bins modules 510, 512. the second red and infrared
slide over the 570 samples in order to obtain 270 filtered            RMS modules 514, 516, the second RED-RMS/IR-RMS
samples representing the filtered red signal and 270 filtered         ratio module 518, the second saturation equation module
samples representing the filtered infrared signal. In an ideal        520 and the second cross correlation module 522 in FIG. 17.
case, the bandpass filters 488, 490 remove the DC in the                 FIG. 18 illustrates additional detail regarding the satura-
signal. However, the DC removal operations 484, 486 assist 15 tion transform module 406 depicted in FIG. 14. As illus-
in DC removal in the present embodiment.                              trated in FIG. 18, the saturation transform module 406
    After filtering, the last 120 samples from each packet (of        comprises a reference processor 530, a correlation canceler
now 270 samples in the present embodiment) are selected               531, a master power curve module 554, and a bin power
for further processing as represented in Select Last 120              curve module 533. The saturation transform module 406 can
Samples modules 492, 494. The last 120 samples are 20 be correlated to FIG. 7a which has a reference processor 26
selected because, in the present embodiment, the first 150            and a correlation canceler 27 and an integrator 29 to provide
 samples fall within the settling time for the Saturation             a power curve for separate signal coefficients as depicted in
Transfer module 406, which processes the same data                    FIG. 7c. The saturation transform module 406 obtains a
packets, as further discussed below.                                  saturation spectrum from the snapshots of data. In other
     Conventional saturation equation calculations are per- 25 words, the saturation transform 406 provides information of
formed on the red and infrared 120-sample packets. In the             the saturation values present in the snapshots.
present embodiment, the conventional saturation calcula-                  As depicted in FIG. 18, the reference processor 530 for
tions are performed in two different ways. For one                    the saturation transform module 406 has a saturation equa-
 calculation, the 120-sample packets are processed to obtain          tion module 532, a reference generator module 534, a DC
their overall RMS value, as represented in the first red and 30 removal module 536 and a bandpass filter module 538. The
infrared RMS modules 496, 498. The resultant RMS values               red and infrared 570-sample packets from the decimation
for red and infrared signals provide input values to a first           operation are provided to the reference processor 530. In
 RED_RMS/IR_RMS ratio operation 500, which provides                    addition, a plurality of possible saturation values (the "satu-
 the RMS red value to RMS infrared value ratio as an input            ration   axis scan" ) are provided as input to the saturation
 to a saturation equation module 502. As well understood in 35 reference processor 530. In the present embodiment, 117
 the art, the ratio of the intensity of red to infrared attenuated     saturation values are provided as the saturation axis scan. In
light as detected for known red and infrared wavelengths               a preferred embodiment, the 117 saturation values range
 (typically A,,,,r=650 nm and A.IR=910 nm) relates to the              uniformly from a blood oxygen saturation of 34.8 to 105.0.
 oxygen saturation of the patient. Accordingly, the saturation         Accordingly, in the present embodiment, the 117 saturation
 equation module 502 represents a conventional look-up 40 values provide an axis scan for the reference processor 530
 table or the like which, for predetermined ratios, provides           which generates a reference signal for use by the correlation
 known saturation values at its output 504. The red and                canceler 531. In other words, the reference processor is
 infrared RMS values are also provided as outputs of the               provided with each of the saturation values, and a resultant
 statistics operations module 404.                                     reference signal is generated corresponding to the saturation
     In addition to the conventional saturation operation 502, 45 value. The correlation canceler is formed by a joint process
 the 120-sample packets are subjected to a cross-correlation           estimator 550 and a low pass filter 552 in the present
 operation as represented in a first cross-correlation module          embodiment.
 506. The first cross-correlation module 506 determines if                It should be understood that the scan values could be
~~:     ~;::1:~;:1:ti:s ~e=~=:~~:~:~;dd::~~:t::f~~~ 50
                                                                       chosen to provide higher or lower resolution than 117 scan
                                                                       values. The scan values could also be non-uniformly spaced.
 tive or otherwise malfunctioning detectors. The cross cor-
                                                                          As illustrated in FIG. 18, the saturation equation module
 relation is also advantageous in detecting when the signal
 model (i.e., the model of Equations (1)-(3)) is satisfied. If         532 accepts the saturation axis scan values as an input and
                                                                       provides a ratio "rn" as an output. In comparison to the
 correlation becomes too low between the two channels, the
 signal model is not met. In order to determine this, the          55  general discussion of FIG. 7a-7c, this ratio "rn" corresponds
                                                                       to the plurality of scan value discussed above in general. The
  normalized cross correlation can be computed by the cross-
                                                                       saturation equation simply provides a known ratio "r" (red/
  correlation module 506 for each snapshot of data. One such
                                                                       infrared) corresponding to the saturation value received as
  correlation function is as follows:
                                                                       an input.
                                                                   60     The ratio "rn" is provided as an input to the reference
                                                                       generator 534, as are the red and infrared sample packets.
                                                                       The reference generator 534 multiplies either the red or
                                                                       infrared samples by the ratio "rn" and subtracts the value
     If the cross correlation is too low, the oxirneter 299            from the infrared or red samples, respectively. For instance,
 provides a warning (e.g., audible, visual, etc.) to the opera- 65 in the present embodiment, the reference generator 534
  tor. In the present embodiment, if a selected snapshot yields        multiplies the red samples by the ratio "rn" and subtracts this
  a normalized correlation of less than 0.75, the snapshot does        value from the infrared samples. The resulting values



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become the output of the reference generator 534. This            tions. The number of cells input 545 to the joint process
operation is completed for each of the saturation scan values     estimator 550 configures the number of cells for the joint
(e.g., 117 possible values in the present embodiment).            process estimator. In the present embodiment, the number of
Accordingly, the resultant data can be described as 117           cells for the saturation transform operation 406 is six. As
reference signal vectors of 570 data points each, hereinafter 5 well understood in the art, for each sine wave, the joint
referred to as the reference signal vectors. This data can be     process estimator requires two cells. If there are two sine
stored in an array or the like.                                   waves in the 35-250 beats/minute range, six cells allows for
   In other words, assuming that the red and infrared sample      the two heart beat sine waves and one noise sine wave.
packets represent the red S,.,,Jt) and infrared Sn/t) measured       The joint process estimator 550 subjects the first input
signals which have primary s(t) and secondary n(t) signal 10 vector on the first input 542 to a correlation cancellation
portions, the output of the reference generator becomes the       based upon each of the plurality of reference signal vectors
secondary reference signal n'(t), which complies with the         provided in the second input 540 to the correlation canceler
signal model defined above. as follows:                           531 (all 117 reference vectors in sequence in the present
                                                                  embodiment). The correlation cancellation results in a single
        n'(t)=S,,,(t)-r,.S,,.,1.,t)
                                                               15 output vector for each of the 117 reference vectors. Each
   In the present embodiment, the reference signal vectors        output vector represents the information that the first input
and the infrared signal are provided as input to the DC           vector and the corresponding reference signal vector do not
removal module 536 of the reference processor 530. The DC         have in common. The resulting output vectors are provided
removal module 536, like the DC removal modules 484,486           as an output to the joint process estimator, and subjected to
in the statistics module 404. ascertains the DC value of the 20 the low pass filter module 552. In the present embodiment,
first of the samples for the respective inputs (or mean of the    the low pass filter 552 comprises a FIR filter with 25 taps and
first several or all samples in a packet) and subtracts the       with a corner frequency of 10 Hz with the sampling fre-
respective DC baseline from the sample values. The result-        quency of 62.5 Hz (i.e., at the decimation frequency).
ing sample values are subjected to a bandpass filter 538.            The joint process estimator 550 of the present embodi-
   The bandpass filter 538 of the reference processor 530 25 ment has a settling time of 150 data points. Therefore, the
performs the same type of filtering as the bandpass filters       last 120 data points from each 270 point output vector are
488, 490 of the statistics module 404. Accordingly, each set      used for further processing. In the present embodiment, the
of 570 samples subjected to bandpass filtering results in 270     output vectors are further processed together as a whole, and
remaining samples. The resulting data at a first output 542 of    are divided into a plurality of bins of equal number of data
the bandpass filter 538 is one vector of 270 samples 30 points. As depicted in FIG. 18, the output vectors are
(representing the filtered infrared signal in the present         provided to a master power curve module 554 and to a
embodiment). The resulting data at a second output 540 of         Divide into five Equal Bins module 556. The Divide into
the bandpass filter 538, therefore. is 117 reference signal       Five Equal Bins module 556 divides each of the output
vectors of 270 data points each, corresponding to each of the     vectors into five bins of equal number of data points (e.g.,
saturation axis scan values provided to the saturation refer- 35 with 120 data points per vector, each bin has 24 data points).
ence processor 530.                                               Each bin is then provided to the Bin Power Curves module
   It should be understood that the red and infrared sample       558.
packets may be switched in their use in the reference                The Master Power Curve module 554 performs a satura-
processor 530. In addition, it should be understood that the      tion transform as follows: for each output vector, the sum of
DC removal module 536 and the bandpass filter module 538 40 the squares of the data points is ascertained. This provides a
can be executed prior to input of the data to the reference       sum of squares value corresponding to each output vector
processor 530 because the calculations performed in the           ( each output vector corresponding to one of the saturation
reference processor are linear. This results in a significant     scan values). These values provide the basis for a master
processing economy.                                               power curve 555, as further represented in FIG. 22. The
   The outputs of the reference processor 530 provide first 45 horizontal axis of the power curve represents the saturation
and second inputs to a joint process estimator 550 of the type    axis scan values and the vertical axis represents the sum of
described above with reference to FIG. 8. The first input to      squares value (or output energy) for each output vector. In
the joint process estimator 550 is the 270-sample packet          other words, as depicted in FIG. 22, each of the sum of
representing the infrared signal in the present embodiment.       squares could be plotted with the magnitude of the sum of
This signal contains primary and secondary signal portions. 50 squares value plotted on the vertical "energy output" axis at
The second input to the joint process estimator is the 117        the point on the horizontal axis of the corresponding satu-
reference signal vectors of 270 samples each.                     ration scan value which generated that output vector. This
   The joint process estimator also receives a lambda input       results in a master power curve 558, an example of which is
543, a minimum error input 544 and a number of cells              depicted in FIG. 22. This provides a saturation transform in
configuration input 545. These parameters are well under- 55 which the spectral content of the attenuated energy is
stood in the art. The lambda parameter is often called the        examined by looking at every possible saturation value and
"forgetting parameter" for a joint process estimator. The         examining the output value for the assumed saturation value.
lambda input 543 provides control for the rate of cancella-       As will be understood, where the first and second inputs to
tion for the joint process estimator. In the present              the correlation canceler 531 are mostly correlated, the sum
embodiment. lambda is set to a low value such as 0.8. 60 of squares for the corresponding output vector of the cor-
Because statistics of the signal are non-stationary, a low        relation canceler 531 will be very low. Conversely, where
value improves tracking. The minimum error input 544              the correlation between the first and second inputs to the
provides an initialization parameter ( conventionally known       correlation canceler 531 are not significantly correlated, the
as the "initialization value") for the joint process estimator    sum of squares of the output vector will be high.
550. In the present embodiment, the minimum error value is 65 Accordingly, where the spectral content of the reference
10-6. This initialization parameter prevents the joint process    signal and the first input to the correlation canceler are made
estimator 500 from dividing by zero upon initial calcula-         up mostly of physiological ( e.g., movement of venous blood




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due to respiration) and nonphysiological (e.g., motion                -0.20446827 6324813
induced) noise, the output energy will be low. Where the              -0.098294046682706
spectral content of the reference signal and the first input to       -0.014964670230367
the correlation canceler are not correlated, the output energy     This filter performs the differentiation and smoothing. Next,
will be much higher.                                            5 each point in the original power curve in question is evalu-
   A corresponding transform is completed by the Bin Power         ated and determined to be a possible peak if the following
Curves module 558, except a saturation transform power             conditions are met: (1) the point is at least 2% of the
curve is generated for each bin. The resulting power curves        maximum value in the power curve; (2) the value of the first
are provided as the outputs of the saturation transform            derivative changes from greater than zero to less than or
module 406.                                                     10 equal to zero. For each point that is found to be a possible
   In general, in accordance with the signal model of the          peak, the neighboring points are examined and the largest of
present invention, there will be two peaks in the power            the three points is considered to be the true peak.
curves, as depicted in FIG. 22. One peak corresponds to the           The peak width for these selected peaks is also calculated.
arterial oxygen saturation of the blood, and one peak cor-         The peak width of a power curve in question is computed by
responds to the venous oxygen concentration of the blood. 15 summing all the points in the power curve and subtracting
With reference to the signal model of the present invention,       the product of the minimum value in the power curve and the
the peak corresponding to the highest saturation value (not        number .of points in the power curve. In the present
necessarily the peak with the greatest magnitude) corre-           embodiment, the peak width calculation is applied to each of
sponds to the proportionality coefficient ra. In other words,      the bin power curves. The maximum value is selected as the
the proportionality coefficient ra corresponds to the red/ 20 peak width.
infrared ratio which will be measured for the arterial satu-          In addition, the infrared RMS value from the entire
ration. Similarly, peak that corresponds to the lowest satu-       snapshot, the red RMS value, the seed saturation value for
ration value (not necessarily the peak with the lowest             each bin, and the cross correlation between the red and
magnitude) will generally correspond to the venous oxygen          infrared signals from the statistics module 404 are also
saturation, which corresponds to the proportionality coeffi- 25 placed in the data bin. The attributes are then used to
cient rv in the signal model of the present invention.             determine whether the data bin consists of acceptable data,
Therefore, the proportionality coefficient r v will be a red/      as represented in a Bin Qualifying Logic module 562.
infrared ratio corresponding to the venous oxygen satura-             If the correlation between the red and infrared signals is
tion.                                                              too low, the bin is discarded. If the saturation value of the
   In order to obtain arterial oxygen saturation, the peak in 30 selected peak for a given bin is lower than the seed satura-
the power curves corresponding to the highest saturation           tion for the same bin, the peak is replaced with the seed
value could be selected. However, to improve confidence in         saturation value. If either red or infrared RMS value is below
the value, further processing is completed. FIG. 19 illus-         a very small threshold, the bins are all discarded, and no
trates the operation of the saturation calculation module 408      saturation value is provided, because the measured signals
based upon the output of the saturation transform module 35 are considered to be too small to obtain meaningful data. If
406 and the output of the statistics module 404. As depicted       no bins contain acceptable data, the exception handling
in FIG. 19, the bin power curves and the bin statistics are        module 563 provides a message to the display 336 that the
provided to the saturation calculation module 408. In the          data is erroneous.
present embodiment, the master power curves are not pro-              If some bins qualify, those bins that qualify as having
vided to the saturation module 408 but can be displayed for 40 acceptable data are selected, and those that do not qualify are
a visual check on system operation. The bin statistics contain     replaced with the average of the bins that are accepted. Each
the red and infrared RMS values, the seed saturation value,        bin is given a time stamp in order to maintain the time
and a value representing the cross-correlation between the         sequence. A voter operation 565 examines each of the bins
red and infrared signals from the statistics module 404.           and selects the three highest saturation values. These values
   The saturation calculation module 408 first determines a 45 are f01warded to a clip and smooth operation 566.
plurality of bin attributes as represented by the Compute Bin         The clip and smooth operation 566 basically performs
Attributes module 560. The Compute Bin Attributes module           averaging with a low pass filter. The low pass filter provides
560 collects a data bin from the information from the bin          adjustable smoothing as selected by a Select Smoothing
power curves and the information from the bin statistics. In       Filter module 568. The Select Smoothing Filter module 568
the present embodiment, this operation involves placing the 50 performs its operation based upon a confidence determina-
saturation value of the peak from each power curve corre-          tion performed by a High Confidence Test module 570. The
sponding to the highest saturation value in the data bin. In       high confidence test is an examination of the peak width for
the present embodiment, the selection of the highest peak is       the bin power curves. The width of the peaks provides some
performed by first computing the first derivative of the           indication of motion by the patient-wider peaks indicating
power curve in question by convolving the power curve with 55 motion. Therefore, if the peaks are wide, the smoothing filter
a smoothing differentiator filter function. In the present         is slowed down. If peaks are narrow, the smoothing filter
embodiment, the smoothing differentiator filter function           speed is increased. Accordingly, the smoothing filter 566 is
(using a FIR filter) has the following coefficients:               adjusted based on the confidence level. The output of the clip
   0.014964670230367                                               and smooth module 566 provides the oxygen saturation
   0.098294046682706                                            60 values in accordance with the present invention.
                                                                      In the presently preferred embodiment, the clip and
   0.204468276324813
                                                                   smooth filter 566 takes each new saturation value and
   2.717182664241813                                               compares it to the current saturation value. If the magnitude
   5.704485606695227                                               of the difference is less than 16 (percent oxygen saturation)
   0.000000000000000                                            65 then the value is pass. Otherwise, if the new saturation value
   -5. 704482606695227                                             is less than the filtered saturation value, the new saturation
   -2.717182664241813                                              value is changed to 16 less than the filtered saturation value.




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If the new saturation value is greater than the filtered             module 592. The slew rate limiting module 592 connects to
saturation value. then the new saturation value is changed to        the output filter 594. The output filter 594 also receives an
16 more than the filtered saturation value.                          input from the output filter coefficient module 596. The
    During high confidence (no motion). the smoothing filter         output filter 594 provides the filtered heart rate for the
is a simple one-pole or exponential smoothing filter which is 5 display 336 (FIG. 11).
computed as follows:                                                     In the case of no motion. one of the signals (the infrared
                                                                     signal in the present embodiment) is subjected to DC
        y(n )=0.6*x(n)-+-0.4*y(n-1)                                  removal and bandpass filtering as represented in the DC
                                                                     removal and bandpass filter module 578. The DC removal
where x(n) is the clipped new saturation value. and y(n) is 10 and bandpass filter module 578 provide the same filtering as
the filtered saturation value.                                       the DC removal and bandpass filter modules 5536, 538.
    During motion condition. a three-pole IIR (infinite              During no motion conditions. the filtered infrared signal is
impulse response) filter is used. Its characteristics are con-       provided to the first spectral estimation module 586.
trolled by three time constants ta• tb• and tc with values of            In the present embodiment. the spectral estimation com-
0.985. 0.900, and 0.94 respectively. The coefficients for a 15 prises a Chirp Z transform that provides a frequency spec-
direct form I, IIR filter are computed from these time               trum of heart rate information. The Chirp Z transform is used
constants using the following relationships:                         rather than a conventional Fourier Transform because a
                                                                     frequency range for the desired output can be designated in
                                                                     a Chirp Z transform. Accordingly. in the present
                                                                  20 embodiment. a frequency spectrum of the heart rate is
                                                                     provided between 30 and 250 beats/minute. In the present
        a,=(-tb)(tc)(ta+tb-l{tc)(ta))                                embodiment. the frequency spectrum is provided to a spec-
                2
        03=(tb) (tc}2(ta)
                                                                     trum analysis module 590 which selects the first harmonic
                                                                     from the spectrum as the pulse rate. Usually. the first
                                                                  25 harmonic is the peak in the frequency spectrum that has the
                                                                     greatest magnitude and represents the pulse rate. However.
                                                                     in certain conditions. the second or third harmonic can
                                                                     exhibit the greater magnitude. With this understanding, in
                                                                     order to select the first harmonic. the first peak that has an
    FIG. 20 and 21 illustrate the pulse rate module 410 (FIG. 30 amplitude of at least 1/20 th of the largest peak in the
 14) in greater detail. As illustrated in FIG. 20. the heart rate     spectrum is selected). This minimizes the possibility of
module 410 has a transient removal and bandpass filter                selecting as the heart rate a peak in the Chirp Z transform
module 578. a motion artifact suppression module 580. a              caused by noise.
 saturation equation module 582. a motion status module                  In the case of motion, a motion artifact suppression is
 584. first and second spectral estimation modules 586. 588. 35 completed on the snapshot with the motion artifact suppres-
 a spectrum analysis module 590. a slew rate limiting module          sion module 580. The motion artifact suppression module
 592. an output filter 594. and an output filter coefficient         580 is depicted in greater detail in FIG. 21. As can be seen
 module 596.                                                         in FIG. 21. the motion artifact suppression module 580 is
    As further depicted in FIG. 20. the heart rate module             nearly identical to the saturation transform module 406
 accepts the infrared and red 570-sample snapshots from the 40 (FIG. 18). Accordingly, the motion artifact suppression
 output of the decimation module 402. The heart rate module          module has a motion artifact reference processor 570 and a
 410 further accepts the saturation value which is output from       motion artifact correlation canceler 571.
 the saturation calculation module 408. In addition. the                 The motion artifact reference processor 570 is the same as
 maximum peak width as calculated by the confidence test             the reference processor 530 of the saturation transform
 module 570 (same as peak width calculation described 45 module 406. However. the reference processor 570 utilizes
 above) is also provided as an input to the heart rate module         the saturation value from the saturation module 408, rather
 410. The infrared and red sample packets. the saturation             than completing an entire saturation transform with the 117
 value and the output of the motion status module are                 saturation scan values. The reference processor 570,
 provided to the motion artifact suppression module 580.              therefore, has a saturation equation module 581, a reference
    The average peak width value provides an input to a 50 generator 582, a DC removal module 583, and a bandpass
 motion status module 584. In the present embodiment. if the          filter module 585. These modules are the same as corre-
 peaks are wide. this is taken as an indication of motion. If         sponding modules in the saturation transform reference
 motion is not detected. spectral estimation on the signals is        processor 530. In the present embodiment. the saturation
 carried out directly without motion artifact suppression.            equation module 581 receives the arterial saturation value
    In the case of motion. motion artifacts are suppressed 55 from the saturation calculation module 408 rather than doing
 using the motion artifact suppression module 580. The                a saturation axis scan as in the saturation transform module
 motion artifact suppression module 580 is nearly identical to        406. This is because the arterial saturation has been selected.
 the saturation transform module 406. The motion artifact             and there is no need to perform an axis scan. Accordingly.
 suppression module 580 provides an output which connects             the output of the saturation equation module 581 corre-
 as an input to the second spectral estimation module 588. 60 sponds to the proportionality constant ra (i.e .• the expected
 The first and second spectral estimation modules 586. 588            red to infrared ratio for the arterial saturation value).
 have outputs which provide inputs to the spectrum analysis           Otherwise, the reference processor 570 performs the same
 module 590. The spectrum analysis module 590 also                    function as the reference processor 530 of the saturation
 receives an input which is the output of the motion status           transform module 406.
 module 584. The output of the spectrum analysis module 65                The motion artifact correlation canceler 571 is also simi-
 590 is the initial heart rate determination of the heart rate        lar to the saturation transform correlation canceler 531 (FIG.
 module 410 and is provided as input to the slew rate limiting        18). However. the motion artifact suppression correlation




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canceler 571 uses a slightly different motion artifact joint          the first spectral estimation module 586. In the case of no
process estimator 572. Accordingly, the motion artifact               motion, the output from the first spectral estimation module
suppression correlation canceler 571 has a joint process              586 is provided to the spectrum analysis module 586; in the
estimator 572 and a low-pass filter 573. The motion artifact          case of motion, the output from the second spectral estima-
joint process estimator 572 differs from the saturation trans-        tion module 588 is provided to a spectrum analysis module
form joint process estimator 550 in that there are a different        590. The spectrum analysis module 590 examines the fre-
number of cells (between 6 and 10 in the present                      quency spectrum from the appropriate spectral estimation
embodiment), as selected by the Number of Cells input 574,            module to determine the pulse rate. In the case of motion, the
in that the forgetting parameter differs (0.98 in the present         spectrum analysis module 590 selects the peak in the spec-
embodiment), and in that the time delay due to adaptation 10 trum with the highest amplitude. because the motion artifact
differs. The low-pass filter 573 is the same as the low pass          suppression module 580 attenuates all other frequencies to a
filter 552 of the saturation transform correlation canceler           value below the actual heart rate peak. In the case of no
531.                                                                  motion, the spectrum analysis module selects the first har-
    Because only one saturation value is provided to the              monic in the spectrum as the heart rate as described above.
reference processor. only one output vector of 270 samples 15             The output of the spectrum analysis module 590 provides
results at the output of the motion artifact suppression              the raw heart rate as an input to the slew rate limiting module
correlation canceler 571 for each input packet of 570                 592, which provides an input to an output filter 594. In the
 samples. In the present embodiment. where the infrared               present embodiment, the slew rate limiting module 592
wavelength is provided as a first input to the correlation            prevents changes greater that 20 beats/minute per 2 second
 canceler, the output of the correlation canceler 571 provides 20 interval.
 a clean infrared waveform. It should be understood that, as              The output filter 594 comprises an exponential smoothing
 described above, the infrared and red wavelength signals             filter similar to the exponential smoothing filter described
 could be switched such that a clean red waveform is pro-             above with respect to the clip and smooth filter 566. The
 vided at the output of the motion artifact suppression cor-           output filter is controlled via an output filter coefficient
relation canceler 571. The output of the correlation canceler 25 module 596. If motion is large, this filter is slowed down, if
571 is a clean waveform because the actual saturation value           there is little or no motion, this filter can sample much faster
 of the patient is known which allows the reference processor          and still maintain a clean value. The output from the output
 570 to generate a noise reference for inputting to the               filter 594 is the pulse of the patient. which is advantageously
 correlation canceler 571 as the reference signal. The clean          provided to the display 336.
 waveform at the output of the motion artifact suppression 30 Alternative To Saturation Transform Module-Bank Of
 module 580 is a clean plethysmograph waveform which can              Filters
 be forwarded to the display 336.                                          An alternative to the saturation transform of the saturation
     As described above, an alternative joint process estimator        transform module 406 can be implemented with a bank of
 uses the QRD least squares lattice approach (FIG. Sa, 9a and          filters as depicted in FIG. 23. As seen in FIG. 23. two banks
 10a). Accordingly, the joint process estimator 573 (as well 35 of filters, a first filter bank 600 and a second filter bank 602
 as the joint process estimator 550) could be replaced with a          are provided. The first filter bank 600 receives a first
joint process estimator executing the QRD least squares                measured signal SAh(t) (the infrared signal samples in the
 lattice operation.                                                    present embodiment) on a corresponding first filter bank
     FIG. 21a depicts an alternative embodiment of the motion          input 604, and the second filter bank 602 receives a second
 artifact suppression module with a joint process estimator 40 measured signal S,.,,(t) (the red samples in the present
 572a replacing the joint process estimator 572. The joint             embodiment) on a corresponding second filter bank input
 process estimator 572a comprises a QRD least squares                  606. In a preferred embodiment. the first and second filter
 lattice system as in FIG. 10a. In accordance with this                banks utilize static recursive polyphase bandpass filters with
 embodiment. different initialization parameters are used as           fixed center frequencies and corner frequencies. Recursive
 necessary for the QRD algorithm.                                  45 polyphase filters are described in an article Harris. et. al.
     The initialization parameters are referenced in FIG. 21a as       "Digital Signal Processing With Efficient Polyphase Recur-
 "Number of Cells," "Lambda." "MinSumErr," "Gamslnit,"                 sive All-Pass filters" attached hereto as Appendix A.
 and "SumErrinit." Number of Cells and Lambda correspond               However, adaptive implementations are also possible. In the
 to like parameters in the joint process estimator 572. Gam-           present implementation, the recursire polyphase bandpass
 slnit corresponds to the y initialization variable for all stages 50 filter elements are each designed to include a specific center
 except the zero order stage, which as set forth in the QRD            frequency and bandwidth.
 equations above is initialized to 'l'. SummErrlnit provides               There are N filter elements in each filter bank. Each of the
 the oinitialization parameter referenced above in the QRD             filter elements in the first filter bank 600 have a matching
  equations. In order to avoid overflow. the larger of the actual       (i.e.• same center frequency and bandwidth) filter element in
  calculated denominator in each division in the QRD equa- 55 the second filter bank 602. The center frequencies and the
  tions and MinSumErr is used. In the present embodiment,               corner frequencies of N elements are each designed to
  the preferred initialization parameters are as follows:               occupy N frequency ranges. 0 to Fi, Fi-F2 , F 2-F3 , F3 -F4 ••
     Number of Cells=6                                                  . FN-CFN as shown in FIG. 23.
                                                                           It should be understood that the number of filter elements
     Lambda=0.8
                       20                                          60 can range from 1 to infinity. However. in the present
     MinSumErr=10-                                                      embodiment, there are approximately 120 separate filter
     Gamslnit=l0-2                                                      elements with center frequencies spread evenly across a
     SumErrlnit=l0-6 •                                                  frequency range of 25 beats/minute-250 beats/minute.
     The clean waveform output from the motion artifact                    The outputs of the filters contain information about the
  suppression module 580 also provides an input to the second 65 primary and secondary signals for the first and second
  spectral estimation module 588. The second spectral esti-             measured signals (red and infrared in the present example)
  mation module 588 performs the same Chirp Z transform as              at the specified frequencies. The outputs for each pair of




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                                51                                                                 52
matching filters (one in the first filter bank 600 and one in the                                                                (92)
second filter bank 602) are provided to saturation determi-
nation modules 610. FlG. 23 depicts only one saturation                 Note that S,.,a and SIR are used in the model of equations
determination module 610 for ease of illustration. However.          (89)-(92). This is because the discussion below is particu-
a saturation determination module can be provided for each           larly directed to blood oximetry. S,ed and S1R correspond to
matched pair of filter elements for parallel processing. Each        S 1 and S 2 in the preceding text. and the discussion that
saturation determination module has a ratio module 616 and           follows could be generalized for any measure signal S 1 and
a saturation equation module 618.                                    S2.
   The ratio module 616 forms a ratio of the second output
to the first output. For instance. in the present example, a 10         As explained above, determining ra and rv (which corre-
ratio of each red RMS value to each corresponding infrared           spond to arterial and venous blood oxygen saturation via a
RMS value (Red/IR) is completed in the ratio module 616.             saturation equation) can be accomplished using the satura-
The output of the ratio module 616 provides an input to the          tion transform described above doing a scan of many
saturation equation module 618 which references a corre-             possible coefficients. Another method to obtain ra and rv
sponding saturation value for the input ratio. The output of 15 based on red and infrared data is to look for ra and rv which
the saturation equation modules 618 are collected (as rep-           minimize the correlation between sk and nk' assuming sk is
resented in the histogram module 620) for each of the                at least somewhat (and preferably substantially) uncorre-
matched filter pairs. However. the data collected is initially       lated with nk (where k=l or 2). These values can be found
a function of frequency and saturation. In order to form a           by minimizing the following statistical calculation function
saturation transform curve similar to the curve depicted in 20 for k=2:
FlG. 22, a histogram or the like is generated as in FlG. 24.
The horizontal axis represents the saturation value, and the                                                                     (93)
vertical axis represents a summation of the number of points
(outputs from the saturation equation modules 618) col-
lected at each saturation value. In other words. if the output 25 where i represents time.
of the saturation equation module 618 for ten different                 It should be understood that other correlation functions
matched filter pairs indicates a saturation value of 98%, then       such as a normalized correlation could also be used.
a point in the histogram of FlG. 24 would reflect a value of
10 at 98% saturation. This results in a curve similar to the            Minimizing this quantity often provides a unique pair of
saturation transform curve of FlG. 22. This operation is 30 r a and r v if the noise component is uncorrelated to the desired
completed in the histogram module 620.                               signal component. Minimizing this quantity can be accom-
   The results of the histogram provide a power curve                plished by solving Equations (90) and (92) for s 2 and n2 • and
similar to the power curve of FlG. 22. Accordingly. the              finding the minimum of the correlation for possible values of
arterial saturation can be calculated from the histogram by          ra and rv. Solving for s2 and n2 provides the following:
selecting the peak (greatest number of occurrences in the 35
area of interest) corresponding to the highest saturation
                                                                               Sred ) = ( ra r, ) ( s2 )
value (e.g.• the peak 'c' in Figure peaks corresponding to the              ( SIR         1 1       n2
highest saturation value peak. Similarly. the venous or
background saturation can be determined from the histo-
gram by selecting the peak corresponding to the lowest 4 0 inverting the two-by-two matrix provides:
saturation value (e.g.. the peak 'd' in FlG. 24). in a manner
similar to the processing in the saturation calculation module          Thus.
408.
   It should be understood that as an alternative to the
histogram. the output saturation (not necessarily a peak in 45
the histogram) corresponding to the highest saturation value
could be selected as the arterial saturation with the corre-
                                                                            (:• :•· f r.-\ (_: -:: )
                                                                                          =

sponding ratio representing ra. Similarly. the output satura-
tion corresponding to the lowest saturation value could be                  (: )= r.-\ (_: -:: )(:;: )
selected as the venous or background saturation with the 50                 or:
corresponding ratio representing rv. For example. in this
embodiment. the entry 'a' in the histogram ofFlG. 24 would
be chosen as the arterial saturation and the entry in the
histogram 'b' with the lowest saturation value would be
chosen as the venous or background saturation.                    55

          ALTERNATIVE DETERMINATION OF
                COEFFlCIENTS fa AND fv                        Preferably, the correlation of equation (93) is enhanced with
   As explained above. in accordance with the present         a user specified window function as follows:
invention. primary and secondary signal portions, particu- 60
larly for pulse oximetry, can be modeled as follows:
       S,,,;=s1+n 1 (red)                                   (89)
       S1,FS2 +n 2 (infrared)                               (90)
                                                                        The Blackman Window is the presently preferred embodi-
                                                            (91) 65   ment. It should be understood that there are many additional
Substituting Equation (91) into Equation (89) provides the            functions which minimize the correlation between signal
following:                                                            and noise. The function above is simply one. Thus.




                                                              65
                                                       Appx670
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                              53                                                                          54

     Correlation(sz, n2)                                                          ENERGY(s2)                                                        (94)


                                                                                                          1           ~ (S2r,d1)                    (95)
                                                                                                    (ra - rv)2        i=l          -
                                                                                                          N
                                                                                                    2r,, ij (SredpIR) +


                                  L SIRpred,Wi+ N
                              rv) N
                                 i=l       '
                                                L (SJR.)2w;
                                               i=l    '
                                                              I      10
                                                                                                    rl ~ (SfR.)
                                                                                                        i=l       '



  In order to implement the minimization on a plurality of
discrete data points, the sum of the squares of the red sample
                                                               15 where R 1 is the energy of the red signal, R 2 is the energy of
points, the sum of the squares of the infrared sample points,     the infrared signal and R1.2 is the correlation between the red
and the sum of the product of the red times the infrared          and infrared signals.
sample points are first calculated (including the window
                                                                    The correlation between s2 and n 2 is given by
function, w;):
                                                                     20                                1          N                                      (<J7)
                                                                           Correlation(sz,r,2)   (ra _ rv)2      ij (Sred, - rvSir) (-S,.,J, + raSIR,)
                                                                                                 _ _l_ _ [-R1 + (ra + r,,)R1.2- r,,rcR2]
                                                                                                 (r.- rv)2

                                                                      25      As explained above, the constraint is that sk and nk (k =2
          N                                                                for the present example) are uncorrelated. This "decorrela-
      IRR=~ (SIR) (Sred) w;
                                                                           tion constraint" is obtained by setting the correlation of
                                                                           Equation (97) to zero as follows:
                                                                      30
                                                                                                                                                     (98)
  These values are used in the correlation equation (93b).
Thus, the correlation equation beco~es an equation in terms        In other words, the goal is to maximize equation (94) under
of two variables, ra and rv. To obtain ra and rv, an exhaustive    the constraint of equation (98).
scan is executed for a good cross-section of possible values          In order to obtain the goal, a cost function is defined (e.g.,
                                                                35
for ra and rv (e.g., 20-50 values each corresponding to            a Lagrangian optimization in the present embodiment) as
saturation values ranging from 30-105). The minimum of             follows:
the correlation function is then selected and the values of ra
and rv which resulted in the minimum are chosen as ra and
                                                                      40



    Once ra and rv have been obtained, arterial oxygen satu-
ration and venous oxygen saturation can be determined by            where µ is the Lagrange multiplier. Finding the value of ra,
provided ra and rv to a saturation equation, such as the 45 rv and µ that solve the cost function can be accomplished
saturation equation 502 of the statistics module 404 which          using a constrained optimization method such as described
                                                                    in Luenberger, Linear & Nonlinear Programming, Addison-
provides an oxygen saturation value corresponding to the
                                                                    Wesley, 2d Ed., 1984.
ratios ra and rv.
                                                                       Along the same lines, if we assume that the red and
                                                                 50 infrared signals S,,,d and SIR are non-static. the functions R 1 ,
    In a further implementation to obtain ra and rv, the same       R2 and R 12 defined above are time dependent. Accordingly,
signal model set forth above is again used. In order to             with two equations, two unknowns can be obtained by
determine ra and rv in accordance with this implementation,         expressing the decorrelation constraint set forth in equation
the energy in the signal s2 is maximized under the constraint       (98) at two different times. The decorrelation constraint can
                                                                    be expressed at two different times, t 1 and lz, as follows:
that s2 is uncorrelated with n 2 • Again, this implementation is 55
based upon minimizing the correlation between s and n and                                                                       (100)
on the signal model of the present invention where the signal
                                                                                                                                (101)
 s relates to the arterial pulse and the signal n is the noise
 (containing information on the venous blood, as well as 60
                                                                    Because equations (100) and (101) are non-linear in ra and
motion artifacts and other noise); ra is the ratio (RED/IR)         rv, a change of variables allows the use of linear techniques
related to arterial saturation and rv is the ratio (RED/IR)         to solve these two equations. Accordingly, with x=ra+rv;
related to venous saturation. Accordingly, in this implemen-        y=rafv equations (100) and (101) become
tation of the present invention, ra and rv are determined such
 that the energy of the signal s2 is maximized where s 2 and 65                                                                 (102)
 n 2 are uncorrelated. The energy of the signal s2 is given by
 the following equation:                                                                                                        (103)




                                                                     66
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These equation (102) and (103) can be solved for x and y.              filters comprise Chebychev filters with a side-lobe level
Then, solving for ra and rv from the changes of variables              parameter of 30 and a corner frequency of 0.5 Hz (i.e., 30
equations provides the following:                                      beats/minute). It will be understood that this filter could be
                                                                       varied for performance. With 562 sample points entering the
                                                             (104) 5 high-pass filters, and with 51 taps for coefficients, there are
                                                                       512 samples provided from these respective infrared and red
 Solving equation (104) results in two values for rv. In the           snapshots at the output of the high-pass filter modules. The
present embodiment. the rv value that results in x 2-rvY>0 is          output of the high-pass filter modules provides an input to
 selected. If both values of rv result in x 2-rvY>0, the rv that       the window function modules 648, 650 for each respective
 maximizes the energy of s2 (Energy(si)) at t 2 is selected, rv 10 channel.
 is then substituted into the equations above to obtain ra.               The window function modules 648, 650 perform a con-
                                                                       ventional windowing function. A Kaiser windowing func-
 Alternatively ra can be found directly in the same manner r v
                                                                       tion is used in the present embodiment. The functions
was determined.                                                        throughout FIG. 25B maintain a point-by-point analysis. In
 Alternative To Saturation Transform-Complex FFf                      the present embodiment, the time bandwidth product for the
    The blood oxygen saturation, pulse rate and a clean 15 Kaiser window function is 7. The output of the window
plethysmographic waveform of a patient can also be                    function modules provides an input to the respective com-
 obtained using the signal model of the present invention             plex Fast Fourier Transform (FFf) modules 652, 654.
 using a complex FFf, as explained further with reference to              The complex FFT modules 652,654 perform complex
FIGS. 25A-25C. In general, by utilizing the signal model of           FFfs on respective infrared and red channels on the data
 equations (89)-(92) with two measured signals, each with a 20 snapshots. The data from the complex FFfs is then analyzed
first portion and a second portion, where the first portion           in two paths, once which examines the magnitude and one
represents a desired portion of the signal and the second             which examines the phase from the complex FFf data
portion represents the undesired portion of the signal, and           points. However. prior to further processing, the data is
where the measured signals can be correlated with coeffi-             provided to respective infrared and red select modules 653,
cients ra andrv, a fast saturation transform on a discrete basis 25 655 because the output of the FFT operation will provide
can be used on the sample points from the output of the               repetitive information from 0-½ the sampling rate and from
decimation operation 402.                                             ½ the sampling rate to the sampling rate. The select modules
    FlG. 25A corresponds generally to FlG. 14. with the fast           select only samples from 0-½ the sampling rate (e.g.,
 saturation transform replacing the previously described satu-        0-31.25 Hz in the present embodiment) and then select from
ration transform. In other words, the operations of FIG. 25A 30 those samples to cover a frequency range of the heart rate
can replace the operations of FlG. 14. As depicted in FlG.            and one or more harmonics of the heart rate. In the present
25A. the fast saturation transform is represented in a fast           embodiment, samples which fall in the frequency range of
saturation transform/pulse rate calculation module 630. As            20 beats per minute to 500 beats per minute are selected.
in FlG. 14, the outputs are arterial oxygen saturation, a clean       This value can be varied in order to obtain harmonics of the
plethysmographic waveform. and pulse rate. FIG. 25B and 35 heart rate as desired. Accordingly, the output of the select
25C illustrate additional detail regarding the fast saturation        modules results in less than 256 samples. In the present
transform/pulse rate calculation module 630. As depicted in           embodiment, the sample points 2-68 of the outputs of the
FIG. 25B, the fast saturation transform module 630 has                FFfs are utilized for further processing.
infrared log and red log modules 640. 642 to perform a log                In the first path of processing, the output from the select
normalization as in the infrared and red log modules 480, 40 modules 653, 655 are provided to respective infrared and red
482 ofFlG. 17. Similarly, there are infrared DC removal and           magnitude modules 656, 658. The magnitude modules 656,
red DC removal modules 644, 646. In addition, there are               658 perform a magnitude function wherein the magnitude on
infrared and red high-pass filter modules 645, 647, window            a point-by-point basis of the complex FFf points is selected
function modules 648, 640. complex FFf modules 652. 654,              for each of the respective channels. The outputs of the
select modules 653, 655, magnitude modules 656, 658. 45 magnitude modules 656, 658 provide an input to infrared
threshold modules 660. 662, a point-by-point ratio module             and red threshold modules 660. 662.
670. a saturation equation module 672, and a select satura-               The threshold modules 660, 662 examine the sample
tion module 680. There are also phase modules 690, 692, a             points, on a point-by-point basis, to select those points
phase difference module 694, and a phase threshold module             where the magnitude of an individual point is above a
696. The output of the select saturation module 680 provides 50 particular threshold which is set at a percentage of the
the arterial saturation on an arterial saturation output line         maximum magnitude detected among all the remaining
682.                                                                  points in the snapshots. In the present embodiment, the
    In this alternative embodiment, the snapshot for red and          percentage for the threshold operation is selected as 1% of
infrared signals is 562 samples from the decimation module            the maximum magnitude.
402. The infrared DC removal module 644 and the red DC 55                 After thresholding, the data points are forwarded to a
removal module 646 are slightly different from the infrared           point-by-point ratio module 670. The point-by-point ratio
and red DC removal modules 484, 486 of FlG. 17. In the                module takes the red over infrared ratio of the values on a
infrared and red DC removal modules 644, 646 of FIG. 25B.             point-by-point basis. However, a further test is performed to
the mean of all 563 sample points for each respective                 qualify the points for which a ratio is taken. As seen in FlG.
channel is calculated. This mean is then removed from each 60 25B, the sample points output from the select modules 653,
individual sample point in the respective snapshot in order           655 are also provided to infrared and red phase modules 690,
to remove the baseline DC from each sample. The outputs of            692. The phase modules 690,692 select the phase value from
the infrared and red DC removal modules 644. 646 provide              the complex FFT points. The output of the phase modules
inputs to respective infrared high-pass filter module 645 and         690, 692 is then presented to a phase difference module 694.
red high-pass filter module 647.                                   65     The phase difference module 694 calculates the difference
   The high-pass filter modules 645. 647 comprise FIR                 in phase between the corresponding data points from the
filters with 51 taps for coefficients. Preferably, the high-pass      phase modules 690, 692. If the magnitude of the phase




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difference between any two corresponding points is less than         embodiment, the following windowing function is selected:
a particular threshold (e.g., 0.1 radians) in the present
embodiment), then the sample points qualify. If the phase of                                                 15                          (105)
two corresponding sample points is too far apart, then the
sample points are not used. The output of the phase threshold 5
                                                                            l - [
                                                                                      SATan - SAT.
                                                                                               100     ]
module 696 provides an enable input to the RED/IR rate               where SATn equals the saturation value corresponding to
module 670. Accordingly, in order for the ratio of a particu-        each particular frequency for the sample points and SATart
lar pair of sample points to be taken, the three tests are           represents the arterial saturation as chosen at the output of
executed:                                                            the select arterial saturation module 680. This window
    6. the red sample must pass the red threshold 660;            10 function is applied to the window function input represent-
    7. the infrared sample must pass the infrared threshold          ing the complex FFT of either the red or the infrared signal.
       662;and                                                       The output of the window function module 700 is a red or
    8. the phase between the two points must be less than the        infrared signal represented with a frequency spectrum as
       predefined threshold as determined in the phase thresh-       determined by the FFT, with motion artifacts removed by the
       old 696.                                                   15 windowing function. It should be understood that many
    For those sample points which qualify, a ratio is taken in       possible window functions can be provided. In addition,
the ratio module 670. For those points which do not qualify,         with the window function described above, it should be
the saturation is set to zero at the output of the saturation        understood that using a higher power will provide more
equation 672.                                                        noise suppression.
    The resulting ratios are provided to a saturation equation 20       In order to obtain pulse rate, the output points from the
module which is the same as the saturation equation mod-             window function module 700 are provided to a spectrum
ules 502, 520 in the statistics module 504. In other words,          analysis module 702. The spectrum analysis module 702 is
the saturation equation module 672 accepts the ratio on a            the same as the spectrum analysis module 590 of FIG. 20. In
point-by-point basis and provides as an output a correspond-         other words, the spectrum analysis module 702 determines
ing saturation value corresponding to the discrete ratio 25 the pulse rate by determining the first harmonic in the
points. The saturation points output from the saturation             frequency spectrum represented by the output points of the
 equation module 672 provide a series of saturation points           windowing function 700. The output of spectrum analysis
which could be plotted as saturation with respect to fre-            module 702 is the pulse rate.
 quency. The frequency reference was entered into the points             In order to obtain a clean plethysmographic waveform,
 at the complex FFT stage.                                        30 the output of the windowing function 700 is applied to an
    The arterial (and the venous) saturation can then be             inverse window function module 704. The inverse window
 selected, as represented in the select arterial saturation          function module 704 completes an inverse of the Kaiser
module 680, in one of two methods according to the present           window function of the window function module 648 or 650
 invention. According to one method, the arterial saturation         of FIG. 25B. In other words, the inverse window function
 value can be selected simply as the point corresponding to 35 704 does a point-by-point inverse of the Kaiser function for
 the largest saturation value for all points output from the         points that are still defined. The output is a clean plethys-
 saturation equation module 672 for a packet. Alternatively,         mographic waveform.
 a histogram similar to the histogram of FIG. 22 can be                  Accordingly, by using a complex FFT and windowing
 generated in which the number of saturation values at               functions, the noise can be suppressed from the plethysmo-
 different frequencies (points) are summed to form a histo- 40 graphic waveform in order to obtain the arterial saturation,
 gram of the number of occurrences for each particular                the pulse rate, and a clean plethysmographic waveform. It
 saturation value. In either method, the arterial saturation can      should be understood that although the above description
 be obtained and provided as an output to the select arterial        relates to operations primarily in the frequency domain.
 saturation module on the arterial saturation output line 682.        operations that obtain similar results could also be accom-
 In order to obtain the venous saturation, the minimum 45 plished in the time domain.
 arterial saturation value, of points that exhibit non-zero           Relation to Generalized Equations
 value, is selected rather than the maximum arterial saturation          The measurements described for pulse oximetry above are
 value. The saturation can be provided to the display 336.            now related back to the more generalized discussion above.
    The fast saturation transform information can also be used        The signals (logarithm converted) transmitted through the
 to provide the pulse rate and the clean plethysmographic 50 finger 310 at each wavelength ;\,a and Ab are:
 wave form as further illustrated in FIG. 25C. In order to
 obtain the pulse rate and a clean plethysmographic wave
 form, several additional functions are necessary. As seen in
  FIG. 25C, the pulse rate and clean plethysmographic wave
 form are determined using a window function module 700, 55
                                                                              s,.,,(tps,.,,(t)+n,.,,(t);                                (105c)
  a spectrum analysis module 702 and an inverse window
 function module 704.
     As depicted in FIG. 25C, the input to the window function
  module 700 is obtained from the output of the complex FFT
                                                                              S'Ab(tf=EHb02)J,d' HbO,,:'( t)+EHb,'Abd'Hl,x'(t)+n'Ab( t) (106b)
  modules 652 or 654. In the present embodiment, only one 60
  measured signal is necessary. Another input to the window                   S'Ah(tps'Ab(t)+n'Ab(t)                                    (106c)
  function module 700 is the arterial saturation obtained from
  the output of the select arterial saturation module 680.            The variables above are best understood as correlated to
     The window function module performs a windowing                  FIG. 6c as follows: assume the layer in FIG. 6c containing
  function selected to pass those frequencies that significantly 65 A 3 and A4 represents venous blood in the test medium, with
  correlate to the frequencies which exhibited saturation val-         A 3 representing deoxygenated hemoglobin (Hb) and A4
  ues very close to the arterial saturation value. In the present     representing oxygenated hemoglobin (HB02) in the venous



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blood. Similarly, assume that the layer in FIG. 6c containing         invention which employs the constant saturation method,
As and Ar, represents arterial blood in the test medium, with         i.e., the signals S,.,,(t)=S,.,..,jt) and SAI>(t)=S,.IR(t). A first
As representing deoxygenated hemoglobin (Hb) and Ar,                  segment 26a and 27a of each of the signals is relatively
representing oxygenated hemoglobin (HB02) in the arterial             undisturbed by motion artifact, i.e.• the patient did not move
blood. Accordingly, cvHb02 represents the concentration of 5 substantially during the time period in which these segments
oxygenated hemoglobin in the venous blood, c'1Ib repre-               were measured. These segments 26a and 27a are thus
sents the concentration of deoxygenated hemoglobin in the             generally representative of the primary plethysmographic
venous blood, xv represents the thickness of the venous               waveform at each of the measured wavelengths. A second
blood (e.g., the thickness the layer containing A 3 and A4 ).         segment 26b and 27b of each of the signals is affected by
Similarly, c'4HbO2 represents the concentration of oxygen- 10 motion artifact, i.e., the patient did move during the time
ated hemoglobin in the arterial blood, c'4Hb represents the           period in which these segments were measured. Each of
concentration of deoxygenated hemoglobin in the arterial              these segments 26b and 27b shows large motion induced
blood, and xA represents the thickness of the arterial blood          excursions in the measured signal. A third segment 26c and
(e.g .. the thickness of the layer containing As and A 6)             27 c of each of the signals is again relatively unaffected by
   The wavelengths chosen are typically one in the visible 15 motion artifact and is thus generally representative of the
red range, i.e., A.a, and one in the infrared range, i.e., Ab.        primary plethysmographic waveform at each of the mea-
Typical wavelength values chosen are A.a=660 nm and Ab                sured wavelengths.
=910 nm. In accordance with the constant saturation                       FIG. 28 shows the secondary reference signal n'(t)=n,.,,
method, it is assumed that c'4m,02(t)/C\10(t)=constant1 and           (t)-ranAI>(t). as determined by a reference processor of the
cvHboi<t)/c vHb(t) =constant2 • The oxygen saturation of arte- 20 present invention. Again, the secondary reference signal n'(t)
rial and venous blood changes slowly, if at all. with respect         is correlated to the secondary signal portions n,.,,and nAI>.
to the sample rate, making this a valid assumption. The               Thus. a first segment 28a of the secondary reference signal
proportionality coefficients for equations (105) and (106)            n'(t) is generally flat, corresponding to the fact that there is
can then be written as:                                               very little motion induced noise in the first segments 26a and
                                                                   25 27a of each signal. A second segment 28b of the secondary
                    EHb02_.4b02x(t) + EHb).aCHbx(t)          (107)    reference signal n'(t) exhibits large excursions, correspond-
        r,,(_t)
                    EHb02).bC[/b02x(t) + EHb).bC[/~t)
                                                                      ing to the large motion induced excursions in each of the
                                                                      measured signals. A third segment 28c of the noise reference
        s'/..a(t) = r (t)s;;,(t)
              0                                            (108a)     signal n'(t) is generally flat, again corresponding to the lack
                                                                   30 of motion artifact in the third segments 26c and 27c of each
                                                           (109a)
                                                                      measured signal.
        n'/..a(t) = r ,(t)n;;,(t)                          (108b)         It should also be understood that a reference processor
                                                                      could be utilized in order to obtain the primary reference
                                                           (109b)
                                                                      signal s'(t)=s,.,,-rv5:>,z,(t). The primary reference signal s'(t)
In pulse oxinletry. it is typically the case that both equations 35 would be generally indicative of the plethysmograph wave-
(108) and (109) can be satisfied sinlultaneously.                     form.
   Multiplying equation (106) by ra(t) and then subtracting               FIGS. 29 and 30 show the approximations s",.,,(t) and
equation (106) from equation (105). a non-zero secondary              S"AI>(t) to the primary signals s,.,,(t) and sAI>(t) as estimated
reference signal n'(t) is determined by:                              by a correlation canceler using a secondary reference signal
                                                                   40 n'(t). Note that the scale of FIGS. 26 through 30 is not the
                                                           (110a)     same for each figure to better illustrate changes in each
                                                                      signal. FIGS. 29 and 30 illustrate the effect of correlation
                                                                      cancellation using the secondary reference signal n'(t) as
                                                           (llla)     determined by the reference processor. Segments 29b and
                                                                   45 30b are not dominated by motion induced noise as were
   Multiplying equation (106) by rJt) and then subtracting            segments 26b and 27b of the measured signals. Additionally,
equation (106) from equation (105). a non-zero primary                segments 29a. 30a, 29c. and 30c have not been substantially
reference signal s'(t) is determined by:                              changed from the measured signal segments 26a, 27a, 26c,
                                                                      and 27c where there was no motion induced noise.
          s'(t)=S'/..a(t}-r,(t)S'/..a(t)                   (110b) 50      It should be understood that approximation n",.,,(t) and
          =s'/..a(t)-r,(t)s;;,(t) (lllb)                              n"AI>(t) to the secondary signals n,.,,(t) and nAI>(t) as estimated
                                                                      by a correlation canceler using a primary reference signal
   The constant saturation assumption does not cause the              s'(t) can also be determined in accordance with the present
venous contribution to the absorption to be canceled along            invention.
with the primary signal portions s,.,,(t) and SAI>(t). Thus. 55
frequencies associated with both the low frequency modu-                     MEfHOD FOR ES1Th1ATING PRIMARY AND
lated absorption due to venous absorption when the patient                       SECONDARY SIGNAL PORTIONS OF
is still and the modulated absorption due to venous absorp-                MEASURED SIGNALS IN A PULSE OXIMETER
tion when the patient is moving are represented in the                    Implementing the various embodiments of the correlation
secondary reference signal n'(t). Thus. the correlation can- 60 canceler described above in software is relatively straight-
celer or other methods described above remove or derive               forward given the equations set forth above, and the detailed
both erratically modulated absorption due to venous blood in          description above. However. a copy of a computer program
the finger under motion and the constant low frequency                subroutine, written in the C programming language. which
cyclic absorption of venous blood.                                    calculates a primary reference s'(t) using the constant satu-
   To illustrate the operation of the oxinleter of FIG. 11 to 65 ration method and. using a joint process estimator 572 which
obtain clean waveform, FIGS. 26 and 27 depict signals                 implements a joint process estimator using the equations
measured for input to a reference processor of the present            (54)-{64) is set forth in Appendix B. This joint process




                                                                69
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                             61                                                                     62
estimator estimates a good approximation to the primary
signal portions of two measured signals, each having a
                                                                         Satanerial(t)                                              (112a)
primary portion which is correlated to the primary reference                             <1ib02(t) + <1tit)
signal s'(t) and a secondary portion which is correlated to the
                                                                                             EHb).;, - EHb 1J,(l!.s.,/l!.SAJ,)
secondary reference signal n'(t). This subroutine is another 5
                                                                                                              0

                                                                                                                                    (112b)
                                                                                                 EHb.).;, - EHb02).;, -
way to implement the steps illustrated in the flowchart of                                (EHb.),.b- EHb02.),.b)(l!,s.,//!,SAJ,)
FIG. 9 for a monitor particularly adapted for pulse oximetry.
The two signals are measured at two different wavelengths                Satvenous(t)                                               (113a)
A.a and Ah, where A.a is typically in the visible region and Ah 10                       c};b02 (t) + c½it)

is typically in the infrared region. For example, in one                                    EHb.).;,- EHb.1J,(/;.n.,//;.n1J,)
                                                                                                                                    (113b)
embodiment of the present invention, tailored specifically to                                     E Hb,).;, - E Hb02).;, -

perform pulse oximetry using the constant saturation                                      (EHb.),.b - EHb02.),.b)(l!.n.,/l!.n1J,)

method, Aa=660 nm and Ah=940 nm.
                                                                15    A third portion of the subroutine calculates the primary
                                                                  reference or secondary reference, as in the "CALCULATE
                                                                  PRTh1ARY OR SECONDARY REFERENCE (s'(t) or n'(t))
   The correspondence of the program variables to the             FOR TWO MEASURED SIGNAL SAMPLES" action
variables defined in equations (54)-(64) in the discussion of     block 140 for the signals S""(t) and SAb(t) using the pro-
the joint process estimator is as follows:                    20 portionality constants ra(t) and rv (t) determined by the
                                                                  constant saturation method as in equation (3). The saturation
                                                                  is calculated in a separate subroutine and a value ofra(t) or
                                                                  rv(t) is imported to the present subroutine for estimating
   .l).m(t)=nc[m].Delta                                           either the primary portions s""(t) and sAb(t) or the secondary
   r.f.m (t)=nc[m].fref                                       25 portions n""(t) and nAb(t) of the composite measured signals
                                                                  S""(t) and SAb(t).
   r b.m(t)=nc[m].bref                                                A fourth portion of the program performs Z-stage update
                                                                  as in the "ZERO STAGE UPDATE" action block 150 where
   fm(t)=nc[m].ferr                                               the Z-stage forward prediction error F 0 (t) and Z-stage back-
   bm(t)=nc[m].berr                                           30 ward prediction error bo(t) are set equal to the value of the
                                                                  reference signal n'(t) or s'(t) just calculated. Additionally
   3 m(t)=nc[m] .Fswsqr                                           zero-stage values of intermediate variables 3 0 and µo(t)(nc
   ~m(t)=nc[m] .Bswsqr                                            [m].Fswsqr and nc[m].Bswsqr in the program) are calcu-
                                                                  lated for use in setting registers 90, 92, 96, and 98 values in
   Ym(t)=nc[m].Gamma                                              the least-squares lattice predictor 70 in the regression filters
                                                              35
   Pm.Aa(t)=nc[m].Roh_a                                           80a and 80b.
                                                                      A fifth portion of the program is an iterative loop wherein
   Pm.Ab(t)=nc[m].Roh_b                                           the loop counter, M, is reset to zero with a maximum of
   em.Aa(t)=nc[m].err_a                                           m=NC_CELLS, as in the "m=O" action block 160 in FIG.
                                                                  9. NC_CELLS is a predetermined maximum value of
   em.Ab(t)=nc[m].err_b                                       40
                                                                  iterations for the loop. A typical value for NC_CELLS is
   Km,Aa(t)=nc[m] .K_a                                            between 6 and 10, for example. The conditions of the loop
                                                                  are set such that the loop iterates a minimum of five times
   Km.Ab(t)=nc[m].K_b                                             and continues to iterate until a test for conversion is met or
   A first portion of the program performs the initialization 45 m -NC_CELLS. The test for conversion is whether or not
of the registers 90, 92, 96, and 98 and intermediate variable     the sum of the weighted sum of four prediction errors plus
values as in the "INITIALIZED CORRELATION CAN-                    the weighted sum of backward prediction errors is less than
CELER" action block 120. A second portion of the program           a small number, typically 0.00001 (i.e., 3m(t)+~m(t)
                                                                   ao.00001).
performs the time updates of the delay element variables 110
                                                                      A sixth portion of the program calculates the forward and
with the value at the input of each delay element variable 50
                                                                  back.ward reflection coefficient r m/t) and r m.b(t) register 90
 110 is stored in the delay element variable 110 as in the         and 92 values (nc[m].fref and nc[m].bref in the program) as
'TIME UPDATE OF LEFT [Z-1 ] ELEMENTS" action                       in the "ORDER UPDATE m th -STAGE OF LSL-
block 130. The calculation of saturation is performed in a        PREDICTOR" action block 170. Then forward and back-
 separate module. Various methods for calculation of the 55 ward prediction errors fm(t) and bm(t) (nc[m].ferr and nc[m]
 oxygen saturation are known to those skilled in the art. One      .berr in the program) are calculated. Additionally,
 such calculation is described in the articles by G. A. Mook,      intermediate variables 3m(t), ~m(t), and y(t) (nc[m].Fswsqr,
 et al, and Michael R. Neuman cited above. Once the                nc[m].Bswsqr, nc[m]. gamma in the program) are calcu-
 concentration of oxygenated hemoglobin and deoxygenated           lated. The first cycle of the loop uses the value for nc[O]
                                                                   .Fswsqr and nc[0].Bswsqr calculated in the ZERO STAGE
hemoglobin are determined, the value of the saturation is 60
                                                                   UPDATE portion of the program.
 determined similarly to equations (72) through (79) wherein
                                                                      A seventh portion of the program, still within the loop
measurements at times t 1 and t 2 are made at different, yet       begun in the fifth portion of the program, calculates the
proximate times over which the saturation is relatively            regression coefficient register 96 and 98 values Km.Aa(t) and
 constant. For pulse oximetry, the average saturation at time      Km_Ab(t) (nc[m].K_a and nc[m].K._b in the program) in both
                                                               65
 t=(t 1+t2 )/2 is then determined by:                              regression filters, as in the "ORDER UPDATE m th STAGE




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                                                        Appx675
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OF REGRESSION FILTER(S)" action block 180. Interme-                  pressure monitors, blood constituent monitors (other than
cliate error signals and variables em_,.,,(t), em.u.(t), Pm_,.,,(t), oxygen saturation) monitors, capnographs, heart rate
and Pm.u.(t) (nc[m].err_a and nc[m].err_b, nc[m]. roh_a,             monitors, respiration monitors, or depth of anesthesia moni-
and nc[m].roh_b in the subroutine) are also calculated.              tors. Additionally, monitors which measure the pressure and
   The loop iterates until the test for convergence is passed.       quantity of a substance within the body such as a
The test for convergence of the joint process estimator is           breathalizer, a drug monitor, a cholesterol monitor, a glucose
performed each time the loop iterates analogously to the             monitor, a carbon clioxide monitor, a glucose monitor, or a
"DONE" action block 190. If the sum of the weighted sums             carbon monoxide monitor may also employ the above
of the forward and backward prediction errors 3m(t)+~m(t)            described techniques.
is less than or equal to 0.00001. the loop terminates. 10               Furthermore. one skilled in the art will realize that the
Otherwise, sixth and seventh portions of the program repeat.         above described techniques of primary or secondary signal
   The output of the present subroutine is a good approxi-           removal or derivation from a composite signal including
mation to the primary signals s",.,,(t) and s"u,(t) or the           both primary and secondary components can also be per-
secondary signals n",.,,(t) and n"u,(t) for the set of samples       formed on electrocardiography (ECG) signals which are
S,.,,(t) and Su,(t) input to the program. After approximations 15 derived from positions on the body which are close and
to the primary signal portions or the secondary signals              highly correlated to each other. It should be understood that
portions of many sets of measured signal samples are                 a tripolar Laplacian electrode sensor such as that depicted in
estimated by the joint process estimator, a compilation of the       FIG. 31 which is a modification of a bipolar Laplacian
outputs provides waves which are good approximations to              electrode sensor cliscussed in the article "Body Surface
the plethysmographic wave or motion artifact at each 20 Laplacian ECG Mapping" by Bin He and Richard J. Cohen
wavelength, Ni and Ab.                                               contained in the journal IEEE Transactions on Biomedical
   It should be understood that the subroutine of Appendix B         Engineering, Vol. 39, No. 11, November 1992 could be used
is merely one embocliment which implements the equations             as an ECG sensor. It must also be understood that there are
(54)-(64). Although implementation of the normalized and             a myriad of possible ECG sensor geometry's that may be
QRD-LSL equations is also straightforward, a subroutine for 25 used to satisfy the requirements of the present invention. The
the normalized equations is attached as Appendix C. and a            same type of sensor could also be used for EEG and EMG
subroutine for the QRD-LSL algorithm is attached as                  measurements.
Appendix D.                                                             Furthermore, one skilled in the art will realize that the
    While one embocliment of a physiological monitor incor-          above described techniques can also be performed on signals
porating a processor of the present invention for determining 30 made up of reflected energy, rather than transmitted energy.
a reference signal for use in a correlation canceler, such as        One skilled in the art will also realize that a primary or
an adaptive noise canceler. to remove or derive primary and          secondary portion of a measured signal of any type of
secondary components from a physiological measurement                energy, including but not limited to sound energy, X-ray
has been described in the form of a pulse oximeter, it will be       energy. gamma ray energy, or light energy can be estimated
obvious to one skilled in the art that other types of physi- 35 by the techniques described above. Thus, one skilled in the
ological monitors may also employ the above described                art will realize that the techniques of the present invention
techniques.                                                          can be applied in such monitors as those using ultrasound
    Furthermore, the signal processing techniques described          where a signal is transmitted through a portion of the body
in the present invention may be used to compute the arterial         and reflected back from within the body back through this
and venous blood oxygen saturations of a physiological 40 portion of the body. Adclitionally, monitors such as echo
system on a continuous or nearly continuous time basis.              cardiographs may also utilize the techniques of the present
These calculations may be performed. regardless of whether           invention since they too rely on transmission and reflection.
or not the physiological system undergoes voluntary motion.             While the present invention has been described in terms
    Furthermore, it will be understood that transformations of       of a physiological monitor. one skilled in the art will realize
measured signals other than logarithmic conversion and 45 that the signal processing techniques of the present invention
determination of a proportionality factor which allows               can be applied in many areas, including but not limited to the
removal or derivation of the primary or secondary signal             processing of a physiological signal. The present invention
portions for determination of a reference signal are possible.       may be applied in any situation where a signal processor
Additionally. although the proportionality factor r has been         comprising a detector receives a first signal which includes
described herein as a ratio of a portion of a first signal to a 50 a first primary signal portion and a first secondary signal
portion of a second signal, a similar proportionality constant       portion and a second signal which includes a second primary
determined as a ratio of a portion of a second signal to a           signal portion and a second secondary signal portion. Thus,
portion of a first signal could equally well be utilized in the      the signal processor of the present invention is readily
processor of the present invention. In the latter case, a            applicable to numerous signal processing areas.
secondary reference signal would generally resemble n'(t)= 55           What is claimed is:
nu,(t)-rn,.,,(t).                                                       1. In a signal processor for processing at least two
    Furthermore. it will be understood that correlation can-         measured signals S 1 and S2 each containing a primary signal
cellation techniques other than joint process estimation may         portion s and a secondary signal portion n. said signals S 1
be used together with the reference signals of the present           and S2 being in accordance with the following relationship:
invention. These may include but are not limited to least 60
mean square algorithms, wavelet transforms, spectral esti-
mation techniques, neural networks, Weiner and Kalman
filters among others.
    One skilled in the art will realize that many different types    where s1 and s2, and n1 and n2 are related by:
of physiological monitors may employ the teachings of the 65            S1=IaS2 and n1=rvn2
present invention. Other types of physiological monitors             and where ra and rv are coefficients,
include, but are in not limited to, electro cardiographs, blood         a method comprising the steps of:




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                              65                                                                   66
      determining a value for the coefficient ra which mini-         9. In a signal processor for processing at least firs and
         mizes correlation between s1 and n 1;                    second measured signals, each containing a primary signal
      calculating the blood oxygen saturation from said value     portion and a secondary signal portion, said first and second
         ofra; and                                                signals substantially adhering to a predefined signal model,
      displaying the blood oxygen saturation on a display.        a method comprising the steps of:
   2. In a signal processor for processing at least first and        sampling said first and second signals over a period to
second measured signals S1 and S2 each containing a                     obtain a first series of data points representing said first
primary signal portion s and a secondary signal portion n,              signal over said period and a second series of data
said signals S1 and S2 being in accordance with the follow-             points representing said second signal over said period;
ing relationship:                                              10
                                                                     transforming said first series of data points into a first
        S1=s 1+n 1                                                      transformed series of points having at least a frequency
                                                                        component and a magnitude component and transform-
        Sz=s2+n2                                                        ing said second series of data points into a second
where s1 and s2, and n 1 and n 2 are related by:                        transformed series of points having at least a frequency
                                                               15
   S1=faS2 and n1=rvn2                                                  component and a magnitude component;
and where ra and rv are coefficients,                                comparing said first and second transformed series of
   a method comprising the steps of:                                    points to obtain a third series of comparison values
      determining a value for the coefficient ra which mini-            having a magnitude component and at least a frequency
         mizes correlation between s1 and n 1; and             20
                                                                        component;
      processing at least one of the first and second signals        selecting at least one of said comparison values that has
         using the determined value for ra to significantly             a magnitude within a selected threshold; and
         reduce n from at least one of the first or second           from said selected at least one comparison value, deter-
         measured signal to form a clean signal.                        mining a resulting value consistent with the predefined
   3. The method of claim 2, further comprising the step of 25           signal model.
displaying the resulting clean signal on a display.                  10. The method of claim 9, wherein said step of compar-
   4. The method of claim 2, wherein said first and second        ing comprises determining a series of ratios on a point-by
signals are physiological signals, said method further com-       point basis of the first transformed series of points to said
prising the step of processing said clean signal to determine     second transformed series of points, and wherein said step of
a physiological parameter from said first and second mea- 30 selecting at least one of said comparison values comprises
sured signals.                                                    the step of selecting the lower of the ratios.
   5. The method of claim 4, wherein said physiological              11. The method of claim 10, wherein said step of deter-
parameter is arterial oxygen saturation.                          mining a resulting value comprises calculating a blood
   6. The method of claim 4, wherein said physiological           oxygen saturation from the selected lower of the ratios.
parameter is an ECG signal.                                    35    12. The method of claim 9, wherein said resulting value
   7. The method of claim 2. wherein the primary signal           is blood oxygen saturation.
portion of said measured signals is indicative of a heart            13. The method of claim 9, wherein said resulting value
plethysmograph, said method further comprising the step of        is pulse rate.
calculating the pulse rate.                                          14. In a signal processor for processing at least first and
   8. A physiological monitor comprising:                      40 second measured signals, each containing a primary signal
   a first input configured to receive a first measured signal    portion and a secondary signal portion, said first and second
      S1 having a primary portion, s1, and a secondary            signals substantially adhering to a signal model for blood
      portion n 1;                                                constituent saturation, a method comprising the steps of:
   a second input configured to received a second measured            sampling said first and second signals over a period to
      signal S2 having a primary portion s2 and a secondary 45           obtain a first series of data points representing said first
      portion n2, said first and said second measured signals            signal over said period and a second series of data
      S 1 and S2 being in accordance with the following                  points representing said second signal over said period;
      relationship:                                                  transforming said first and second series of data points
                                                                         from time domain to frequency domain to obtain a first
        S1=s 1+n 1                                             50
                                                                         transformed series of points and a second transformed
        S2=s2+n2                                                         series of points, said first and second transformed series
where s1 and s2, and n 1 and n 2 are related by:                         of points having a magnitude component and at least a
   S1=faS2 and n1=rvfl2                                                  frequency component;
and where ra and rv are coefficients;                          55
                                                                      determining a series of ratios of magnitudes with respect
   a transform module responsive to said first and said                  to frequency of ones of said first transformed series of
      second measured signals and responsive to a plurality              points to ones of said second transformed series of
      of possible values for ra to provide at least one power            points;
      curve as an output;                                             selecting at least one of the ratios from said series of ratios
   an extremum calculation module responsive to said at 60               that has a magnitude within a selected threshold; and
      least one power curve to select a value for ra which            from said selected at least one of the ratios, determining
      minimizes the correlation between s and n, and to                  a resulting value consistent with the signal model.
      calculate from said value for ra a corresponding satu-          15. The method of claim 14, wherein said ratios corre-
      ration value as an output; and                              spond to blood oxygen saturation, said step of selecting at
   a display module responsive to the saturation value output 65 least one of said ratios comprises selecting at least one of the
      of said extremum calculation module to display said         ratios corresponding to the higher values of blood oxygen
      saturation value.                                            saturation.



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                              67                                                                   68
   16. The method of claim 15, wherein said step of deter-            sampling said first and second signals over a period to
mining a resulting value comprises calculating the blood                 obtain a first series of data points representing said first
oxygen saturation from the selected at least one of the ratios.          signal over said period and a second series of data
   17. The method of claim 16, further comprising the steps              points representing said second signal over said period;
of:
                                                                      performing a fast saturation transform with said first and
   combining with a window function at least one of said
      first transformed series of points or said second trans-           second series of data points to obtain a series of
      formed series of points with said resulting value; and             transformed data points in said frequency domain;
   performing a spectrum analysis on the combination to               determining a selected saturation value from said series of
                                                                10
      obtain the pulse rate.                                             transformed data points.
   18. The method of claim 16, wherein said resulting value           21. The method of claim 20. wherein said selected satu-
is blood oxygen saturation.                                        ration value is arterial blood oxygen saturation.
   19. The method of claim 16, further comprising the steps
                                                                      22. The method of claim 20, wherein said selected satu-
of:
                                                                15 ration value is venous blood oxygen saturation.
   using a window function, combining at least one of said
      first transformed series of points or said second trans-        23. The method of claim 20, wherein said step of per-
      formed series of points with said resulting value; and       forming said fast saturation transform comprises calculating
                                                                   first and second pluralities of intermediary transformed
   performing an inverse window function to obtain a
      plethysmographic waveform.                                   points from said first and second series of data points, said
                                                                20
    20. In a signal processor for processing at least first and    method further comprising the step of determining a pulse
second measured signals, each containing a primary signal          rate from said selected saturation value and from said first
portion and a secondary signal portion, said first and second      plurality of intermediary transformed points.
signals substantially adhering to a signal model. a method
comprising the steps of:                                                                     * * * * *




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                  UNITED STATES PATENT AND TRADEMARK OFFICE
                   CERTIFICATE OF CORRECTION
    PATENT NO. : 5,632,272
    DATED         : May 27, 1997
    INVENTOR($) : Diab et al.

      It is certified that error appears in the above-identified patent and that said Letters Patent is hereby
      corrected as shown below:
Column 66, Line 1,             11
                                    firs 11 should be deleted and --first--in serted.




                                                                    Signed and Sealed this
                                                             Twenty-nint h Day of May, 2001


                         Attest:


                                                                              NICHOLAS P. GODICI

                         Attesting Officer                Acting Director of the U11ited States Patent and Trademark Office




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United States Patent c19J                                                             [11]   Patent Number:                  5,027,410
Williamson et al.                                                                     [45]   Date of Patent:             Jun.25, 1991

[54]     ADAPTIVE, PROGRAMMABLE SIGNAL                                            Rabiner et al., "Terminology in Digital Signal Process-
         PROCESSING AND FILTERING FOR                                             ing," IEEE Trans. Audio Electro. Acoust., vol.
         HEARING AIDS                                                             AV-20, pp. 322-337, Dec. 1972.
                                                                                  Bader et al., "Programmgesteuertes Rauschfilter,"
[75]     Inventors: Malcolm J. Williamson; Kenneth L.
                                                                                  Fernseh und Kino Technik, 1974, No. 8, pp. 231-233 (in
                    Cummins; Kurt E. Hecox, all of
                    Madison, Wis.                                                 German). Accompanying English translation (A Pro-
                                                                                  gram Controlled Noise Filter).
[73]    Assignee:       Wisconsin Alumni Research                                 Barford, "Automatic Regulation Systems with Rele-
                        Foundation, Madison, Wis.                                 vance to Hearing Aids," Scandinavian Audiology Sup-
                                                                                  plement, (6/1978), pp. 335-378.
[21]    Appl. No.: 269,937
                                                                                  Mangold et al., "Programmerbart Filter Hjalper
[22]     Filed:         Nov. 10, 1988                                             Horselskade," Elteknik med Aktuell Elektronik, 1977,
                                                                                               (List continued on next page.)
[51]    Int. CV ............................................. H04R 25/00
[52]    U.S. Cl. ............................... 381/68.4; 364/724.01
                                                                                  Primary Examiner-Forester W. Isen
[58]    Field of Search ....................... 381/68.4, 68, 68.2,
                                                                                  Attorney, Agent, or Firm-Foley & Lardner
              381/71, 73.l, 94, 104, 106, 107, 99; 333/166,
            167, 168, 173, 14; 328/167; 364/724.01, 724.08,                       [57]                    ABSTRACT
                                                                  724.09          A hearing aid system utilizes digital signal processing to
[56]                     References Cited                                         correct for the hearing deficit of a particular user and to
                                                                                  maximize the intelligibility of the desired audio signal
               U.S. PATENT DOCUMENTS                                              relative to noise. An analog signal from a microphone is
       3,180,936 4/1965      Schroeder ............................. 381/94       converted to digital data which is operated on by a
       3,403,224 9/1968      Schroeder ............................. 381/98       digital signal processor, with the output of the digital
       3,509,558 4/1970      Cancro ........................ 340/349 AD           signal processor being converted back to an analog
       3,571,529 3/1971      Gharib et al .......................... 381/72       signal which is amplified and provided to the user. The
       3,784,749 3/1971      Shigeyama et al ................. 381/106            digital signal processor includes a time varying spectral
       3,803,357 4/1974      Sacks ................................... 330/279
       3,855,423 12/1974     Brendzel et al .................... 381/68.2         filter having filter coefficients which can be varied on a
       3,872,290 3/1975      Crooke et al ....................... 381/106         quasi-real time basis to spectrally shape the signal to
       3,894,195 7/1975      Kryter ................................... 369/48    match the hearing deficit of the user and to accommo-
                  (List continued on next page.)                                  date ambient signal and noise levels. The coefficients of
                                                                                  the spectral filter are determined by estimating the en-
          FOREIGN PATENT DOCUMENTS                                                ergy in several frequency bands within the frequency
                                                                                  range of the input signal, and using those energy esti-
        67671/87    7/1987   Australia .                                          mates to calculate desired gains for the frequency bands
          237203    9/1987   European Pat. Off..
         2407613    6/1979   France ............................ 364/724.19
                                                                                  and corresponding spectral filter coefficients. The spec-
        60-21612    2/1985   Japan ..................................... 381/94   tral energy analysis may be carried out using pairs of
       2184629A     6/1987   United Kingdom .                                     high pass and low pass digital filters in cascade relation,
                                                                                  with the output of each low pass filter being provided to
                   OTHER PUBLICATIONS                                             the next pair of high pass and low pass filters. The rate
Tavares, "Nature and Application of Digital Filters,"                             at which output data is provided from the filters in each
The Engineering Journal (The Engineering Institute of                             pair may be reduced from the sample rate of input data
Canada), vol. 50, No. 1, Jan. 1967, pp. 23-27.                                    by one half for succeeding pairs of filters in the cascade
Brochure entitled "The Heritage" by Zenith Hearing                                to thereby reduce the computation time required.
Aid Sales Corporation, (publication date unknowp.).                                            58 Claims, 10 Drawing Sheets




                                                                                                                                  APPLE 1015



                                                                           Appx865
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                                                               5,027,410
                                                                  Page 2


         U.S. PATENT DOCUME NTS                                           translation Programmable Filter Helps Hearing Im-
                                                                          paried People.
   3,927,279 12/1975 Nakamura et al.................... 381/68            Braida et al., "Hearing Aids-A Review of Past Re-
   3,989,897 11/1976 Carver .................................. 381/68     search," ASHA Monographs, No. 19, 1979, pp. 54-56,
   3,989,904 11/1976 Rohrer et al ....................... 381/68.4        section entitled Characteristics of Compression Ampli-
   4,025,721 5/1977 Graupe et al ......................... 381/47         fiers.
   4,051,331 9/1977 Strong et al ....................... 381/68.4
                                                                          Mangold et al., "Programmable Hearing Aid with Mul-
   4,061,875 12/1977 Freifeld et al ........................ 381/72
   4,071,695 1/1978 Flannigan et al ................... 381/106           tichannel Compression," Scandinavian Audiology 8,
   4,079,334 3/1978 Hamilton ............................ 330/279          1979, pp. 121-126.
   4,099,035 7/1978 Yanick ............................... 381/68.2       Mangold et al., "Multichannel Compression in a Porta-
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                                                           Appx866
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                                            20




                         30

                                                      F lG. I




                                                                 40        RECEIVER-
                                                                           SPEAKER
     30       31
                                                            39          POWER AMP
                                                                       AND VOLUME
                                                                         CONTROL
                   32                                       38
   PRE-EMPHASIS                                                         LOW PASS
                   33                                                     FILTER
  AGC AMPLIFIER
  AND LOW PASS                                              37         FILTER MPO
      FILTER       34                                                    CONTROLS
                                 EARPIECE
                   42            PROCESSOR                            58         36
   AC COUPLING
      2-POLE        43                                                       2-POLE
    LOW PASS                               USER MODES/                     LOW PASS
   FILTER/AMP       44                     TEST CONTROL                      FILTER

                                            1/0 CONTROL
                                            AND TIMING                             57
                                              LOGIC               55
                                                                          12 BIT
                           LINEAR                                        LINEAR
                         /0 CONVERT.                                  0/A CONVERT.
                                             48
                                     47      DIGITAL                             56
                                              SIGNAL                  50
                                            PROCESSOR
          FIG. 2                             AND PROM


                                  3
                              Appx867
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        30
                     MICROPHONE     I                        SELECTABLE             65
                           l                               PRE/DE- EMPHASIS /
                                                              FILTERING
                    PREAMPLIFICATION
 60 .........__           AND
                     PRE-EMPHASIS
                     (HIGH PASS)
                           l
                          SLOW                              TIME VARYING            66
   61 .........__       AUTOMATIC                              SPECTRAL         /
                          GAIN                                  SHAPING
                        CONTROL .                              FILTERING

                            l
                      ANTI-ALIASING
  62. '----.           (LOW PASS)                                       ,1,


                       FILTERING                              DIGITAL TO            68
                          AND                                      ANALOG       V
                     AMPLIFICATION                           CONVERSION
                            l
                         ANALOG                               ANTI-IMAGING          69
  63 '-.._,                TO                                  (LOW PASSI       V
                         DIGITAL                               FILTERING
                       CONVERSION
                                                                        1
                            l                                    DRIVER             70
  6 4 '--..            SELECTABLE                                               V
                                                              AMPLIFICATION
                        HIGH PASS
                        FILTERING
                               I                                   SPEAKER v40
                        FIG.· 3




                                                   4
                                              Appx868
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 Fo (dBi                               SLOPE




                                     K2                         Fi (dB)

                                              FIG. 4



   20 LOG G(T)

                                    SLOPE=O




                          Kl                   K2

                    SLOPE=R0-1
                    RO>I                       SLOPE= R2- I/"
                                               R2 <I


                        FIG. 5

                                5
                          Appx869
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 Fo(dB)




                                             I
                                             I
               1                                      11
          R0                             '       R0
                      I              I
                      '1
                   l
                     '1

                          P2    Pl               P3                 K2                   Fi(dBl


                                                           FIG. 6




                                                                                   --- ------
                                                                                          TIME

                                                           FIG. 7


                                                           6
                                                 Appx870
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                                                                                                  vl30
                                                                                              ,11


                                 l
                                                              l
  8 KHZ                    134
                             \
    -
  4 KHZ
             \
                             4 KHZ
                                  -
                                                       133\                                                    l          131
                             2 KHZ                        2 KHZ                     132
                 135
                                                                  -                     \                                I
                                                          I KHZ                             I KHZ                  500
                                                                                              -                    HZ
             8 KHZ                                                                          500                                     17
                                                                                             HZ                    0 HZ                  ~
                                            4 KHZ                                                                                        ,....._...A----,



                                                                         2 KHZ                      I KHZ               500 HZ             DELAY
                                  d,                              ,1,                         V                     '
    '

   ABS.                          ABS.                         ABS.                          ABS.                   ABS.
   VAL.                          VAL.                         VAL.                          VAL.                   VAL.
              \                                                           \                          \                    \
                  145                            144                          143                    142                      141
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    LPF                          LPF                          LPF                           LPF                    LPF
              \                              \                            \                              \                \
                  155                        154                              153                        152                  151
                                   ,,                                                         IV
        I,
                                                                    "
   GAIN                          GAIN                         GAIN                          GAIN                   GAIN
   CALC.                         CALC.                        CALC.                         CALC.                  CALC.
                 \                           \                            \                          \                    \
                     165                         164                          163                            162              161
                                     I I,                           I,                        Iii
        "
                                                    CALCULATE
                                                 COEFFICIENTS (16)                                                                  l7l          ,
                      I
                  167
                                                                    " - - - - - - - - - - - - ~ SPECTRAL
                                                                                               ' FILTER


                                                                                                                                                ,1,



                                                                         FIG. 8



                                                                                    7
                                                                         Appx871
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           INPUT (0 - 8 KHZ I

              I                      173
                                 I
    HIGH             LOW
    PASS            PASS
  4-8 KHZ          0-4 KHZ
   I
 172                           SECOND RANGE SIGNAL

                      HIGH
                     PASS
                    2-4 KHZ
                    I
                  174                             THIRD RANGE SIGNAL


                                             HIGH               LOW   Vl77
                                            PASS                PASS
                                           1-2 KHZ            0-1 KHZ
                                           I
                                       176                        FOURTH RANGE SIGNAL

                                                                HIGH          LOW
                                                                PASS          PASS
                                                              500 HZ       0- 500 HZ
                                                               -I KHZ
                                                          I                          \
                                                        178                              I79
       '                  ·~                     -~             ,.,            •I,


    4 KHZ                2 KHZ                 I KHZ          500 HZ       0-500 HZ
   -8 KHZ               -4 KHZ                 -2 KHZ          -I KHZ



                                               FIG. 9




                                                 8
                                           Appx872
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                     180       INITIALIZATION
                                    CODE

                     181           MAIN
                                  PROGRAM

                     182         INTERRUPT
                                                             FIG. IO
                                  ROUTINE




            185            dB ENERGY CALCULATIONS
                           FROM CHANNEL ENERGIES

            186               GAIN CALCULATION
                              FOR EACH BAND

               187           CONVERT GAINS FROM
                                dB TO LI NEAR

               188            CALCULATE FILTER
                                 COEFFICIENTS

               189             TRACK NOISE AND
                             PEAKS IN EACH BAND

               190            RECALCULATE KNEES
                                OF 1/0 CURVE

               191           CHECK MODE SWITCHES
                            AND RESET PARAMETERS

               192          WAIT UNTIL MILLISEC
                              COUNTER IS ZERO

               193              RESET MILLISEC
                                   COUNTER




          FIG. II
                                           9
                                   Appx873
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                                                       200
                             CONTEXT SAVE
                           FOR MAIN PROGRAM

                                                       201
                             SAMPLE OUTPUT
                               AND INPUT
                                                       202
                           GAIN RANGE CODE
                                                       203
                                DC FILTER
                                                      204
                            PRE/OE EMPHASIS
                                 FILTER

                              OCTAVE BAND
                                ANALYSIS
                 205

                                 RECTIFY
                 206
                            LOW PASS FILTER
                 207
                             STORE ENERGY
                              ESTIMATES
                 208       FOR MAIN PROGRAM

                                FIFO DELAY
                 209
                            SPECTRAL FILTER
                 210
                               DECREMENT
                 211      MILLISEC COUNTER

                           CONTEXT RESTORE
                          FOR MAIN PROGRAM
                 212
                           RETURN TO MAIN
                           PROGRAM UNTIL
                 213       NEXT INTERRUPT



                               FIG. 12
                                   10
                              Appx874
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                                                     Appx875
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                              Acoustic feedback


               ,------------- -----------7
               I                                .--------.                       I
 Speech     I Microphone                        Hearing           Receiver 1           Output
                                                                           1           signal
 signal+    :
 ~---+-H-...-i
                      x(t)            +    y(t)   aid                        1-1---...__ _

       +                                            signal                       I
                                                  processing           304       I
                               30 I              '-----.---'                     I
                                                                                 I
                                                     302                         I
                                                                                 I
                                                                                 I
                                                                                 I
                                                                                 I
                            Filter                                               I
                          estimator                                              I
               I         ~-r---'                                                 I
                                                                                 I
               L
               I       303
                 ______________ ___________ J                                    I




                               FIG. 14

                               Acoustic feedback

                   ,------------- -----------7
                                                                             I
   Speech                                                        Receiver I           Output
                                                                             I
   signal.                                              w(t)                 I
                                                                                      signal
           +                            signal
                       300            processing                 304
                                               302

                                           Filter                  308
                                          estimator
                   I
                               310                             z( t)
                   I
                   I
                   I                       Filter
                   I
                   I            309 __________ J
                   L ______________

                               FIG. 15

                                          12
                                 Appx876
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                                                      5,027,410
                            1                                                              2
                                                               the sound signal does not exceed the comfort level of
       ADAPTIVE, PROGRAMMABLE SIGNAL                           the wearer. The majority of normal sound signals, such
  PROCESSING AND FILTERING FOR HEARING                         as speech, are thereby provided to the user at levels
                           AIDS                                which will best fit the available dynamic range of the
                                                            5 user's ear. The audio signal provided to the user is also
            FIELD OF THE INVENTION                             spectrally shaped to match and compensation for the
   This invention pertains generally to the field of audio     specific spectral deficiency characteristics of the user's
signal processing and particularly to hearing aids.            ear. The signal processing hearing aid further has sev-
                                                               eral modes selectable at the user's choice which change
       BACKGROUND OF THE INVENTION                          10 the signal processing characteristics of the hearing aid
   The nature and severity of hearing loss among hear-         to best accomodate the sound environment, such as the
ing impaired individuals varies widely. Some individu-         ambient noise level or the volume of the speech or
als with linear impairments, such as that resulting from       music which the user wishes to listen to.
conductive hearing loss, can benefit from the linear              The signal processing hearing aid includes a micro-
amplification provided by conventional hearing aids 15 phone preferably located near or at the ear of the
using analog signal processing. Such aids may have the         wearer, associated analog filtering and amplifying cir-
capacity for limited spectral shaping of the amplified         cuits, an analog to digital converter for converting the
signal using fixed low pass or high pass filters to com-       analog signal to digital data, a digital signal processor
pensate for broad classes of spectrally related hearing        which operates on the digital data, a digital to analog
deficits. However, many types of hearing loss, particu- 20 converter for converting the processed data back to
larly those resulting from inner ear problems, can result      analog signal form, and analog filters and amplifiers
in non-linear changes in an individual's auditory system.      which drive a receiver or speaker in an ear piece worn
Individuals who suffer such problems may experience            by the user. The signal from the microphone preferably
limited dynamic range such that the difference between         receives pre-amplification and high pass filtering for
the threshold hearing level and the discomfort level is 25 pre-emphasis and is subjected to relatively slow auto-
relatively small. Individuals with loudness recruitment        matic gain control to adjust the gain level to accommo-
perceive a relatively small change in the intensity of         date slowly varying sound levels. Anti-aliasing low pass
sound above threshold as a relatively large change in          filtering of the analog signal is performed before analog
the apparent loudness of the signal. In addition, the          to digital conversion. In digital form, the signal data
hearing loss of such individuals at some frequencies may 30 may be subjected to selectable high pass filtering and
be much greater than the loss at other frequencies and         pre- and de-emphasis filtering if desired in combination
the spectral characteristics of this type of hearing loss
                                                               with time varying spectral shaping digital filtering. The
can differ significantly from individual to individual.
                                                               spectral shaping filtering is performed in accordance
   Conventional hearing aids which provide pure linear
                                                               with prescribed spectral characteristics matching the
amplification inevitably amplify the ambient noise as 35
                                                               hearing  deficit of the particular user for whom the hear-
well as the desired signal, such as speech or music, and
thus do not improve the signal to noise ratio. The ampli-      ing aid is prescribed. In addition, the parameters of the
fication may worsen the signal to noise ratio where an         spectral filter are variable to adjust the amplification so
individual's hearing has limited dynamic range because         that the signal level is best matched to the expressed
the noise will be amplified above the threshold level 40 preference of the individual user, preferably with ex-
while the desired speech signal may have to be clipped         pansion of low level signals, normal amplification of
or compressed to keep the signal within the most com-          intermediate level signals, and compression of high
fortable hearing range of the individual.                      level signals. The processed digital data is then con-
   Although hearing impaired individuals often have            verted back to analog form and anti-imaging low pass
unique and widely varying hearing problems, present 45 filtering is performed on the signal before it is amplified
hearing aids are limited in their ability to match the         and delivered to the speaker. The digital signal proces-
characteristics of the aid to the hearing deficit of the       sor preferably has a programmable read only memory
individual. Moreover, even if an aid is relatively well        which can be programmed with the desired spectral
matched to an individual's hearing deficit under certain       shaping characteristics and variable amplification char-
conditions, such as a low noise environment where 50 acteristics that fit the user.
speech is the desired signal, the aid may perform poorly          The spectral filter of the digital signal processor has
in other environments such as one in which there is high       filter parameters which can be varied to provide a non-
ambient noise level or relatively high signal intensity        linear input-output characteristic in several frequency
level.                                                         ranges. The input-output characteristics preferably in-
                                                            55 elude several piecewise linear sections. For example, a
          SUMMARY OF THE INVENTION                             first section may have a slope greater than one to pro-
   In accordance with the present invention, digital           vide expansion of low level signals. At a first knee point,
signal processing is utilized in a hearing aid system          the slope of the input-output characteristic changes to a
which is both programmable to fit the hearing deficit of       one to one or linear input-output relationship which is
a particular user and adaptive to the sound environment 60 maintained up to a second knee. The range of output
to maximize the intelligibility and quality of the audio       levels between the two knees preferably corresponds to
signal provided to the user. Background noise levels are       that chosen by the user, usually a best fit to the dynamic
reduced in either a fixed or an adaptive manner to en-         range of the user's hearing so that most of second knee,
hance the signal to noise ratio of the desired signal, such    the slope of the input-output characteristic is less than
as speech. The effective dynamic range of the user is 65 one to provide compression to reduce the effect of
expanded by maintaining high sensitivity for low inten-        over-range signals and minimize loudness discomfort to
sity sound while providing long term automatic gain            the user. An estimate of the level of background noise is
compression and output limiting control to insure that         preferably made from the energy envelope of the input




                                                       13
                                                Appx877
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signal in various frequency ranges. This estimate of the           of the spectral filter are updated in this manner to best
noise is used to adjust the position of the first knee up or       accommodate the filter to the incoming signal. Because
down and/or change the expansion ratio of the first                only estimation of the energy in the signal in each of the
section, with the calculated gain in the various fre-              frequency bands is carried out, less computation is nec-
quency ranges being used to reduce the noise compo- 5 essary than would be required for filtering the full signal
nent of the amplified signal being supplied to the user.           in each of the frequency bands. A particularly signifi-
The slopes of the input-output curve above and below               cant advantage of the present system is that the input
the knees may be changed and the initial position of the           signal data passes through only one processing block,
upper and lower knees may be changed in different                  the time-varying spectral filter. In such a system there is
modes of operation of the hearing aid to best accommo- 1O less opportunity for quantization noise to enter the sig-
date the preference of the user as to the desired charac-          nal than in prior systems which split the input signal
teristics of the perceived sound, such as intelligibility,         into several frequency bands which are operated on
loudness or quality. For example, one set of slopes and            separately and then recombined to form the output
knee values may be utilized in one mode while a second             signal, and the present system is less subject to distor-
set of slopes and knee values may be used in another 15 tion than such prior systems.
mode. 1                                                                The energy analysis in each of the frequency bands is
    The time constants of the non-linear gain functions            preferably carried out by operating on the input signal
over which the gain at various frequencies remains
                                                                   data and dividing it into two halves by a high-pass/low-
substantially unchanged is an important characteristic
                                                                   pass pair of filters. Each of these filters contains half the
which affects system performance. The longer the time 20
constant, the less compression of short term level                 band-width of the signal, so the rate at which the com-
changes is achieved. However, the shorter the time                 putations must be carried out can be reduced from the
constant, the more distortion is introduced for a given            rate for the computations required to analyze the entire
expansion or compression ratio. In the system of the               input signal frequency range. The high-pass half of the
present invention, different time constants may be used 25 signal, containing the higher frequencies, is one octave
for the energy analysis in the different frequency bands.          wide and the energy in it can be estimated by a simple
Preferred values for the time constants range from 4               rectify and low-pass filter operation. The low-pass half
milliseconds (ms) to 8 ms for the lowest frequency                 of the signal is again filtered by a high-pass/low-pass
bands to 0.5 ms to 1 ms for the highest frequency band.            pair of filters. Because the sampling rate has been
Time constants in these ranges allow compression up to 30 halved, the cut off points of the digital filters are halved
about 3.3 to 1 and expansion down to about 1 to 2 while            in frequency. The output from a high-pass filter can be
keeping distortion at an acceptable level. The accept-             rectified and low-pass filtered to estimate the energy in
able level of distortion depends upon the user, and more           the frequency band and the output of the low-pass filter
compression and/or expansion are acceptable to some                can again be filtered by a high-pass/low-pass pair of
users.                                                          35 filters. In this way, it is possible to successively calcu-
    In a preferred embodiment, the time varying spectral            late the energy in portions of the input signal in nar-
 filter is a digital filter having filter coefficients which        rower and narrower frequency bands, with lower and
 can be varied on a quasi-real time basis to accomplish             lower sampling rates. The high-pass and low-pass filters
nonlinear amplification within the spectrum of the hear-            can be implemented by simple digital filters having e.g.,
ing aid to best accommodate ambient signal levels and 40 coefficients -1, 2, -1 and 1, 2, 1. Such filters are fairly
 noise levels. A single spectral filter is utilized which           shallow with 12 dB per octave rolloff, but have only
 receives the digital data corresponding to the input               three simple integer taps each and the sum of the two
signal after a time delay sufficient to accommodate the             filters is flat _across the spectrum. More complicated
 time required to calculate the coefficients which match            filters also can be used. The number of operations
 the data being processed by the digital spectral filter. 45 needed in the energy analysis circuit is very small,
 The digital signal processor carries out the computation           mainly because so much of the filtering is done on
 of the spectral filter coefficients by first band pass filter-     streams of data which have been decimated to succes-
 ing the input signal digital data to provide several sets of       sively slower rates. Consequently, the computation time
 digital data corresponding to the portions of the signal           required to determine the coefficients is reduced and the
 lying within certain frequency ranges, e.g., 0 to 500 Hz, 50
                                                                    amount by which the input signal must be delayed to
 500 Hz to 1 kHz, 1 kHz to 2 kHz, 2 kHz to 4 kHz, and
                                                                    match the coefficients is also reduced, allowing the
 4 kHz to 8 kHz, assuming that the frequency content of
                                                                    processing system to function in a real time manner,
 the input signal is limited to approximately 8 kHz. The
 energy in each of the frequency range limited signals is           with a processing delay which is inperceptible to the
 then estimated, such as by taking the absolute value of 55 listener.
 the data and then low pass filtering it, and this energy              Further objects, features, and advantages of the in-
 estimate is then utilized as described above to determine          vention will be apparent from the following detailed
 an appropriate gain for the portion of the signal con-             description when taken in conjunction with the accom-
 tained within that frequency range. Each frequency                 panying drawings.
 band may also have a baseline gain which is set to shape 60                DESCRIPTION OF THE DRAWINGS
 the frequency response of the system to compensate for
 spectrally related hearing deficiences of a particular                 In the drawings:
 user. The calculated values for the gains are then used               FIG. 1 is an illustrative view showing the major com-
 by the system to calculate the filter coefficients, such as        ponents of the adaptive signal processing hearing aid of
 in a finite impulse response filter implementation, for 65 the present invention as worn by a user.
 the time varying spectral filter. The coefficients of the              FIG. 2 is a schematic block diagram of the hardware
 filter are then changed and the delayed input signal data          components of the adaptive signal processing hearing
 is then provided to the spectral filter. The coefficients          aid of the invention.



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                            5                                                              6
   FIG. 3 is a signal flow diagram showing the opera-              A hardware block diagram of the ear piece unit 20
tions performed on the signals from the microphone to           and pocket processor unit 21 is shown in FIG. 2. The
the speaker in the hearing aid of the invention.                ear piece includes a microphone 30 which can be of
   FIG. 4 is a graph showing the gain function charac-          conventional design (e.g., Knowles EK3027 or Lectret
teristics for determining the gains to be used in calculat- 5 SA-2110). The ear piece may also optionally include a
ing the digital spectral filter coefficients of the digital     telecoil 31 to allow direct coupling to audio equipment.
signal processor within the hearing aid.                        The output signal from the microphone 30 or telecoil is
   FIG. 5 is a graph showing the relationship between           provided to an analog pre-amplifier/pre-emphasis cir-
estimated energy within a frequency band in the input           cuit 32 which amplifies the output of the microphone
signal and the gain for that frequency band to be used in 10 (or telecoil) and provides some high pass filtering (e.g.,
calculating the coefficients of the digital spectral filter.    6 dB per octave) to provide a frequency spectrum flat-
   FIG. 6 is a graph similar to that of FIG. 4 showing          tening effect on the incoming speech signal which nor-
the effect of a change in the lower knee level as a result      mally has a 6 dB per octave amplitude roll off. This
of changes in the background noise level in the signal.         pre-emphasis serves to make the voiced and unvoiced
   FIG. 7 is a graph illustrating the changes in the ampli- 15 portions of speech more equal in amplitude, and thus
tude envelope (or signal energy) of a typical signal            better suited to subsequent signal processing. In particu-
within a specified frequency range and the manner in            lar, the pre-emphasis reduces the dynamic range of the
which the noise and peak levels of the signal are esti-         speech signal and so reduces the number of bits needed
mated.                                                          in the analog to digital converter. The output of the
   FIG. 8 is a schematic block diagram showing an 20 pre-amplifier/pre-emphasis circuit is provided to an
implementation for the time varying spectral filter func-       automatic gain control circuit and low pass filter 33.
tion in accordance with the present invention.                  The automatic gain control (AGC) circuit attempts to
   FIG. 9 is a schematic block diagram illustrating a           maintain the long-term root-mean-square (RMS) input
preferred implementation of the energy analysis func-           level at or below a specified value to minimize dynamic
tion of the time varying spectral filter.                    25
                                                                range requirements for the analog to digital converter
   FIG. 10 is a flow chart showing the program blocks
                                                                which is used to convert the analog signal to a digital
in the programming       of  the  digital signal  processor
                                                                signal. Preferably, RMS inputs below 70-75 dB SPL (at
which carry out the time varying filter processing of           4 kHz) are amplified linearly with about 40 dB gain,
FIG. 8.
                                                                resulting in a 45 mV RMS signal level (e.g., 0.125 V
   FIG. 11 is a flow chart showing the main program 30
                                              10.               peak to peak for a 4 kHz sine wave) which will be pro-
portion of the, processing system of FIG.
                                                                vided  to the analog to digital converter. Inputs between
   FIG. 12 is a flow chart showing the interrupt routine
program of the processing system of FIG. 10.                    75 dB and 95 dB are maintained at the 45 mV level for
   FIG. 13 is a schematic block diagram showing the             the long term average. Inputs above 95 dB preferably
hardware components of the ear piece portion of the 35 have a gain less than 15 dB, and will be hard-clipped at
hearing aid system of the present invention.                    the one volt peak to peak level. However, it is apparent
   FIG. 14 is a schematic block diagram showing one of          that the total gain received by the listener can be se-
adaptive suppression of acoustic feedback.                      lected either more or less than these values depending
   FIG. 15 is a schematic block diagram showing an-             on the subsequent digital signal processing and the ana-
other form of adaptive suppression of acoustic feed-         40 log  output stage.
back.                                                              To minimize the interaction between speech modula-
                                                                tion (syllabic) and the AGC circuit, the attack time is
       DESCRIPTION OF THE PREFERRED                             preferably approximately 300 milliseconds (msec) and
                     EMBODIMENT                                 the release time is approximately 2.5 seconds. This long
   An illustrative view of one style of an adaptive, pro- 45 term AGC function is desirable to allow the total gain
grammable signal processing hearing aid in accordance           to the user to be automatically adjusted to provide a
with the present invention is shown generally in FIG. 1,        comfortable listening level in situations where the user
composed of an ear piece 20 and a body aid or pocket            can control the signal level but not the noise level, for
processing unit 21 which are connected by a wiring set          example, in using the car radio, watching television in a
22. It is, of course, apparent that the hearing aid can be 50 noisy environment, and so forth. The time-constants are
incorporated in various standard one piece packages,            chosen long enough so that the AGC is not affected by
including behind-the-ear units and in-the-ear units, de-        syllabic changes in speech level.
pending on the packaging requirements for the various              The output of the automatic gain control circuit is
components of the aid and power requirements. As                provided on signal lines 34 (forming part of the connect-
explained further below, the pocket processing unit 21 55 ing line 22) to the main body or pocket processor unit
includes a power on~off button 24 and mode control              21. The ear piece also receives an output signal on lines
switches 27. The mode switches 27 can optionally pro-           36 from the pocket processor. This output signal is
vide selection by the user of various operating strategies      received by a maximum power output control circuit 37
for the system which suit 'the perceived preference of          which is adjusted by the fitter. The signal then is pro-
the user. The mode switches allow the user to select the 60 vided to a low pass filter 38 and a power amplifier and
mode which best suits his subjective perception of the          volume control circuit 39 and finally to the -receiver
sound from the aid. As explained further below, the             transducer or speaker 40 (e.g., Knowles Cl-1762) for
hearing aid system is programmable to adapt the signal          conversion to a corresponding sound. The analog out-
processing functions carried out in each of the modes to        put power amplifier 39 (e.g., an LTC 551 from LTI,
the hearing deficit of the user for whom the hearing aid 65 Inc.) determines the overall system gain and maximum
is prescribed. A volume control dial 28 is also provided        power output, each of which can be set by a single
on the ear piece 20 to allow user control of the overall        component change. The output of this amplifier is pref-
 volume level.                                                  erably hard limited to protect against malfunctions.




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    The signal on the line 34 from the ear piece is re-         to about one kHz and falls at 6 dB per octave above
ceived by the pocket processor through an AC coupler            that. A further option is no filtering at all. The choice
42 and is passed to a two pole low pass filter amplifier 43     between the filter options is made on the basis of the
and thence through an AC coupler 44 to a gain ranging           general shape of the patient's audiogram and subjective
amplifier 45 (e.g., Analog Devices AD 7118). The out- 5 decisions made by the user during the fitting process.
put of the gain ranging amplifier 45 is provided to a 30            The filtered data is then subjected to time varying
dB gain amplifier 46 which provides its output to a             spectral shaping filtering (block 66). The spectral filter
linear analog to digital converter 47 (e.g., Analog De-         provides shaping of the gain spectrum to match the
vices AD 7575). The A to D converter 47 is connected            individual who will be using the aid and to provide an
to provide its digital output to the data bus 48 of a digi- 10 acoustic equalization function for the entire system. The
tal signal processor 50 which may include a micro-              shaping filter allows, e.g., up to 12 dB per octave of gain
processor, a random access memory and a programma-              control with up to 36 dB of total shaping. It is possible
ble read only memory (PROM) for storing the program             to obtain the desired shaping to within 3 dB over the
and the prescribed parameters adapting the hearing aid          500 Hz to 6 kHz range.
to a particular patient. An example of a suitable signal 15         The filter coefficients which define the characteris-
processor is a TMS 320El5 from Texas Instruments.               tics of the spectral filter change over time to adapt to
The digital signal processor data bus is also connected         the magnitude and estimated noise content of the signal
to input/output control and timing logic 51 which is            being processed. In each of several frequency ranges of
connected to the user mode control switches 27 by               the input signal, a gain is determined, and the several
control lines 52, by control lines 53 to the gain ranging 20 gain values are used to determine the spectral filter
amplifier 45, and by a control line 54 to the analog to         coefficients. In general terms, the gain function can be
digital converter 47. The control logic is also connected       described as having a curve which is tailored to the
by a control line 55 to a 12 bit linear digital to analog       individual and which has regions of increasing gain
converter 56 which is also connected to the data bus 48         (expansion), constant gain (linear operation) and de-
of the digital signal processor. The analog output from 25 creasing gain (compression). By utilizing signal and
the D to A converter 56 (e.g., an Analog Devices AD              noise tracking functions, the entire curve or portions of
7545 and a current to voltage converter) is provided            it can change shape and position to best control noise,
through AC coupling 57 to a 2 pole low pass filter 58           maintain comfortable loudness of the signal, and pre-
which delivers the filtered output signal on the lines 36        vent uncomfortable loudness of intense sounds. The
to the ear piece. The amplifiers and filters may utilize, 30 characteristics of this function, and its interaction with
for example, TLC27M operational amplifiers and the               the spectral shaping in the prior filter sections, deter-
logic circuitry is preferably 74HC series for low power          mines how the input signal and noise levels are trans-
operation.                                                       formed to output signals and noise levels across the
     The spectral shaping of the sound signal to best com-       frequency range. The rapid response time of the time
 pensate for the user's hearing deficit and the desired 35 varying spectral filter helps to improve intelligibility of
 amplitude compression and noise reduction are carried           quiet sounds following loud transients. More particu-
 out in the digital signal processing components. A flow         larly, the system allows tracking of long term signal and
 diagram of a preferred embodiment for signal flow               noise levels and the use of estimates of these levels to
 through the hearing aid system is shown in FIG. 3. The          maintain the output speech sound at a level which will
 input signal from the microphone 30 is initially pream- 40 be comfortable to the user while simultaneously con-
 plified and provided with pre-emphasis, preferably at 6         trolling noise.
 dB per octave (block 60) which is carried out by the               After completion of the digital signal processing, the
 pre-emphasis circuit 32, and then has slow automatic            digital data is converted to an analog signal (block 68) in
 gain control performed on the amplified and pre-                the digital to analog converter 56 and the converted
 emphasized signal (block 61) which is performed in the 45 signal is subjected to anti-imaging low pass filtering
 AGC amplifier and filter section 33. The gain con-              (block 69) carried out by the filters 58 and 38, to mini-
 trolled signal is then passed through an anti-aliasing low      mize imaging introduced by the digital to analog con-
 pass filter (block 62) after which the analog signal is         version. Finally the filtered signal is subjected to power
 converted to digital data (block 63). The low pass anti-        amplification (block 70) in the power amplifier circuit
 aliasing filtering is performed both in the AGC ampli- 50 39 and is passed to the receiver or speaker 40.
 tier and low pass filter circuit 33 and in the 2 pole low          The noise suppression, loudness limiting and fre-
 pass filter and amplifier 43 to reduce the higher fre-          quency shaping are all accomplished by the combina-
 quency content of the signal to minimize aliasing. For          tion of an energy estimation algorithm and a time-vary-
 example, if the analog to digital conversion is per-            ing filter. The energy estimation algorithm calculates
 formed at 14,000 samples per second, the anti-aliasing 55 the energy in a number (preferably 5) of frequency
 filtering preferably substantially attenuates signal            bands. These estimates are used to decide on the current
 power above about 7,000 Hz.                                     gains or attenuations for each of the bands. The time-
     After analog to digital conversion, the processing of       varying filter then implements the gains or attentua-
 the signal is carried out digitally in the digital signal       tions.
 processor 50. The digital data is first subjected to a 60          The estimation of energy in each frequency band is
 selectable high pass filtering step (block 64) which, if         preferably done in a novel and highly efficient manner
  used, has a high pass frequency of about 100 Hz to filter       in accordance with present invention. One way which
 out DC components of the signal and thereby get rid of          could be used to estimate the energies in each band
  DC offsets that may exist in the data.                         would be to use a digital filter bank and then rectify and
     The data is then optionally subjected to selectable pre 65 low pass filter the outputs. For a number of filters equal
  or de-emphasis filtering (block 65). If pre-emphasis is         to N for example, the five filter blocks 131 to 135 in
  selected, the filtering is flat to about 1 kHz and then         FIG. 8), each with M taps (N = 5, M = 31 are reasonable
  rises at 6 dB per octave above that. De-emphasis is flat        numbers) this would require about N*(M+2) multipli-



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cations and the same number of additions for each input          combining band pass filtered portions of the signal. The
sample. In accordance with the present invention, the            computation of output values for the succeeding pairs
preferred algorithm utilizes 5 additions and 1 shift per         of high pass and low pass filters is performed at a rate
sample. To achieve this large saving in computation, a           which is a fraction of the sample rate equal to ½n+ I,
particular type of filter bank is required. If the sampling 5 where n is the number of prior filter pairs. For example,
frequency is F, the highest filter must be from F /2 to          for the fourth pair of filters 178 and 179 of FIG. 9, there
FI 4, the next from F / 4 to F /8 and so on. Each of the         are three prior pairs of filters (n=3), and the computa-
filters is l octave wide, except for the lowest filter           tion rate is ½4= l/16 times the sample rate.
which includes the range down to zero frequency. For                The analysis network is equivalent to a set of FIR
example, if the sampling frequency is 16 kHz, the filter 10 filters. Each stage contributes a 3-tap filter with coeffi-
network can have bands from 8 kHz to 4 kHz, 4 kHz to             cients 1, 2, 1 (for the low-pass filter) or - 1, 2, - 1 (for
2 kHz, 2 kHz to 1 kHz, 1 kHz to 500 Hz and 500 Hz to             the high-pass filter). The network cascades these simple
0 Hz.                                                            filters, and each cascade is equivalent to the convolu-
   The highly efficient computation is achieved by run-          tion of its component 3-tap filters. The coefficients of
ning different parts of the effective network at different 15 the resulting FIR filters are listed below. These are the
rates, as illustrated in FIG. 9. The first stage of filtering    coefficients used in both the analysis algorithm and the
divides the signal into 2 streams, one passed by a high          time-varying FIR filter, as described further below.
pass filter 172 containing the upper half of the spectrum                                    Filters
and the other passed by a low pass filter 173 containing
                                                                       tap      4 kHz-    2 kHz- I kHz-     500 Hz- 0 Hz-
the lower half of the spectrum. Each of the two streams 20           number      8 kHz     4kHz 2 kHz         I kHz 500 Hz
is at half the rate of the original data stream. Then the
                                                                         I                                       -1       1
lower of the two streams, constituting a second signal, is               2                                       -2       2
halved in the same way by a high pass filter 176 and low                 3                                       -3       3
pass filter 175, the output of which is a third signal with              4                                       -4       4
the output of the low pass constituting a fourth signal, 25              5                                       -5       5
                                                                         6                                       -6       6
and a high pass filter 178 and low pass filter 179, the                  7                                       -7       7
latter providing an output signal with frequency         con-            8                                       -8       8
tent down to zero .frequency. The process is repeated                    9                            -4         -5       9
for each of the other octave bands, using a high pass                   10                            -8         -2      10
                                                                        11                           -12           1     11
filter 176 and low pass filter 177. The sample rate is 30               12                           -16           4     12
reduced for each pair of filters, until the input frequency             13                   -16      -4           7     13
range is divided into the number of bands desired. Each                 14                   -30        8         10     14
filter in the low-pass and high-pass pair may be very                   15         -64         16      20         13     15
                                                                        16          128        64      32         16     16
simple, e.g., having coefficients 1, 2, 1 and -1, 2, -1,                17         -64         16      20         13     15
respectively. These are fairly shallow filters with 12 35               18                   -32        8         10     14
db/octave roll-off, but they have only three simple                     19                   -16      -4           7     13
integer taps each and the sum of the two filters is flat                20                           -16           4     12
                                                                        21                           -12           I     11
across the spectrum. More complicated filters may be                    22                            -8         -2      10
used but they would not have these useful properties.                  23                             -4         -5       9
   More generally, the energy analysis is performed 40                  24                                       -8       8
using N pairs of high pass and low pass digital filters,                25                                       -7       7
                                                                        26                                       -6       6
the high pass filter in each pair selected to pass the                  27                                       -5       5
highest half of the frequency range of the input signal to              28                                       -4       4
the pair and the low pass filter in the pair selected to                29                                       -3       3
pass the lowest half of the frequency range of the input 45             30                                       -2       2
                                                                        31                                       -I       1
signal to the pair. The number N of filter pairs is at least
two. The pairs of filters are cascaded, as illustrated in
FIG. 9, so that the input signal to each pair after the first       The energy estimation network gives energies for
pair is the output of the low pass filter of the prior pair      each of the bands. These are used together with the
of filters. Means are provided for estimating the energy 50 noise level estimates to calculate the desired gain in
in the output from the N high pass filters and from the          each band. The user specific spectral shaping is also
last low pass filter. These energy estimates correspond          added in this calculation. The gains are then used to
to the energy present in the input audio signal in the           calculate the coefficients of the filter. Preferably this
specific frequency bands which are defined by the cas-           digital filter is non-recursive and 31 long so that 16
caded pairs of filters. It is preferred, that these fre- 55 coefficients are needed (if the filter is symmetrical) and
quency bands correspond to octaves which cover the               the calculation is done at intervals of 1 millisecond. The
frequency range of the input signal. Other frequency             calculated filter acts on the incoming signal and is the
bands may be used, but generally will result in more             only operation on the audio signal in the path from
complex filters and greater computational time than              input to output. By conducting the processing in this
octave bands.                                                 60 manner, the chance of any clipping or quantization
   The computation of output values from the first pair          distortion at intermediate states of the system is elimi-
of high pass and low pass filters is preferably performed        nated to as great an extent as possible. It is also compu-
at half the sample rate for the input signal; e.g., if the       tationally very efficient, reducing the number of execu-
sampling rate is 16 kHZ, the output rate from the high           tion steps required and thus allowing either faster com-
and low pass filters would be 8 kHZ. This halved com- 65 putation or lower power consumption, or both.
putation rate is acceptable because the analysis network            The combination of the energy estimation algorithm
is estimating the energy in each frequency band in the           and time-varying filter is used to implement a non-linear
input signal, but is not reconstructing the signal by            amplifier in each of the frequency bands. There can be




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                            11                                                              12
a different shape of input-output function in each of the
bands.                                                                H(1) = G(1)*E(T)
    The operation of each non-linear gain function within
                                                                      and
the spectral filter can be most readily illustrated by
assuming it receives a single time varying input signal 5              20 log H(7) = 20 log G(7) + 20 log £(1)
X(t) and provides a time varying output signal Y(t),
with the internal operations being performed on the            The equations above for the input-output segments can
digital input X(T) and yielding the digital output Y(T).       thus be written as:
By denoting Fias the log magnitude envelope (in dB) of
the input signal X(t) and F 0 (in dB) as the log magnitude 10          20 log G(7) = A + (RO - 1)(20 log E(T) - Kl)
envelope of the output signal y(t), a preferred input-out-
put relationship between F; and F 0 is shown in FIG. 4.                20 log G(7) = A
At low input signal levels, the adaptive amplifier pro-
                                                                       and
vides increasing gain to the input signal, i.e., the slope
                                                            15
RO of the Fr-Fo curve is greater than one (expansion).                 20 log G(7) = A + (R2 - 1)(20 log £(7) - K2)
This allows low level background noise to be attenu-
ated relative to the speech signal. As the magnitude of             A plot of the gain function 20 log G(T) verses 20 log
the input signal goes above a selected level, denoted Kt        E(T) is shown in FIG. 5.
in FIG. 4, the slope of the next piecewise linear Fi-Fo 20          These equations can also be expressed in non-
curve segment is Rt, which is preferably one. This              logarithmic form as:
 gives a normal constant amplification for signals which
 have a magnitude, for example, in the normal speech                                                 (RO-I)
 range. Preferably, the gain function is selected for an
 individual user so that these input signals in the normal 25
                                                                                   [..BIL]
                                                                        G(7) = toA/20
                                                                                           JOkl/20

speech range will map to output signals from the hear-
                                                                       for £(7) less than JoKI/20;
ing aid which are within the preferred dynamic range of
 the user's hearing. For signals above a higher selected                G(7) = 1QA/20
 magnitude, denoted K2 in FIG. 4, the slope R2 of the
 piecewise linear segment of the gain curve is less than 30             for toKl/20 ;;; £(7) ;;; 1QK2120;
 one, resulting in compression of the out'put signal. The
                                                                        and
 level of K2 is preferably selected so that signals which
 will exceed the sound level at which the wearer is most                                             (R2-1)
 comfortable will be compressed. The three piecewise
 linear segments for the input-output curve of FIG. 4 35
                                                                                     ..filJ_]
                                                                        G( 7) = l o,4120 [
                                                                                           1QK2/20

 thus together serve to provide expansion of weak sig-
                                                                        for E(T) > toK2 120.
 nals, normal amplification of normal speech signals, and
 compression of strong signals. Additional piecewise
                                                                    These gain equations are implemented in the pro-
 linear segments may be used if desired, and the curve
                                                                 gramming for the digital signal processor, as described
 may also be implemented with nonlinear segments and 40 below.
 discontinuities. The three piecewise linear segment im-            To best adapt to changing noise and signal levels, the
  plementation is generally sufficient to provide adequate       positions of the knees Kt and K2 in FIG. 4, as well as
  adaptation to the entire range of signal levels.               the slopes of the piecewise linear segments, can be var-
     The gain function of FIG. 4 is implemented with the         ied as a function of the various estimates of signal and
 energy magnitude envelope E(T) serving as an estimate      45
                                                                 noise taken from the energy envelope estimate E(T).
  of the magnitude of the input signal X(T) at a time T          With reference to FIG. 6, the position of the first knee
  calculated over a sample period during which the actual        may be changed smoothly from positions Pt to P2 to P3
  magnitude of the signal is assumed to be relatively con-       depending on the level of noise to best suppress the
  stant. At the time T, the three piecewise linear segments
                                                             50 noise, on the assumption that the noise is lower than the
  of the curve of FIG. 4 can be represented by the follow-       speech level. The position of the lower expansion knee
  ing equations wherein L(T)=20 log E(T):                        changes with a noise estimate NX(T). Preferably, this
                                                                 noise estimate changes very slowly, so that it can be
        For L(1)<Kl:Fo=A+L(1)+(RO- l)[L(1)-KI]
                                                                 thought of as a fixed knee which changes as the back-
        For Kl ;!;L(1);!;K2:Fo=A +L(1)
                                                             55 ground noise level changes. In the preferred embodi-
                                                                 ment of the present invention, the knee Kt is placed at
        For K2<L(1)Fo=A+L(1)+(R2- l)[L(1)-K2]                    a fixed height (e.g., about 15 dB) above the noise esti-
                                                                 mate. Provided that the speech to noise ratio is better
  where A is a constant basic gain in dB.                        than 15 dB, the speech peaks will be unaffected and so
     IfH(T) is the magnitude envelope of the output signal 60 the perceived loudness of the speech is not changed.
  y(t) at the time T, then Fo=20 log H(T).                        However, as the position of the knee moves outwardly
     For each sample time T                                       from, for example, a nominal level of Pt to P3 as the
                                                                  noise level increases, the noise will be within the expan-
         Y(7)=G(7)*X(7).                                         sion portion of the piecewise linear curve which will
                                                             65 reduce the noise by up to 15 dB. As noise decreases, the
                                                                  knee may drop from the nominal level to a lower level
     Therefore, averaging values over a short time period:        P2 to enhance the lower level speech signals. Prefera-
                                                                  bly, the expansion knee level will be selected so that



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only a small amount of the speech signal falls in the            mates are also used to track a peak and a noise level
range below the expansion knee to minimize distortion            estimate for each of the channels. The user switches are
of the speech. The position of the knee with respect to          checked in the main program loop, and if they have
the noise level can be set individually for a user if he or      changed, the appropriate parameters are reset. The
she requires more noise suppression or can tolerate less 5 interrupt routine is executed once for each input sample.
speech distortion. The position of the second knee K2            It determines the energy estimates xal(l) through xal(5)
remains fixed, as do the slopes of the gain function seg-        and filters the signal with the 31-tap filter.
ments.                                                              The main program shown in FIG. 11 begins with dB
   Alternatively or in addition to changing the position         energy calculation (block 185) from channel energy
of the knee Kl, the slope of the expansion section below 10 estimates xal(l) through xal(5). This provides a conver-
Kl can be changed to minimize noise. For example, the            sion from a magnitude scale (the output of the octave
slope of this section (and thus the expansion ratio) can         band filter network in the interrupt code) to a logarith-
change in direct relation to the noise level estimate to         mic decibel scale. Preferably, the program computes
suppress the effective noise level, e.g., from RO to RO' to      the exponent and then uses a look-up table for the man-
RO".                                                          15 tissa for computational efficiency. The calculation for
   FIG. 7 illustrates the preferred manner in which the          the approximation of the logarithm is thus effectively
estimates NX(T) and PX(T) of noise and peak levels are           carried out as follows:
obtained for each one of the five frequency bands. The
log energy, L(t), in the band is calculated. Then, as                    logleY(,):= 16*log2(xal(1)), for i= I thru 5
shown in FIG. 7, L(t) is used to update running esti- 20
mates of the peak and noise levels. As the log energy
(graph 80 in FIG. 7) changes in level, the peak level               The foregoing expression and other expressions
estimator, indicated by the graph 81, and the noise level        herein that correspond to software operation and writ-
estimator, indicated by the graph 82, slowly change.             ten using conventional coding symbols. For example,
Preferably the noise estimate tracks about the eleventh 25 the symbol "*" implies multiplication of the two factors
percentile of the distribution of the (or, equivalently,         which it separates, and the symbol "**" implies that the
the distribution of the energy envelope) log spectrum            first factor separated by the symbol is raised to the
energy envelope values and the peak estimate tracks              power of the second factor. Log2 implies the logarithm
about the eighty-ninth percentile. The rates of change           to the base 2 of the factor that follows. Such symbols
are slow enough to track the noise level in pauses in 30 are convention and readily understood.
speech and the speech peaks, without significant modu-              The gain is then calculated for each band from the
lation caused by pauses in continuous speech.                    input/output function (block 186). The gain calculation
    A block diagram of the time varying filter implemen-         is replicated five times, once for each of the channels.
tation of the digital signal processing of the present           The gain function can have several possible forms. A
invention is shown in FIG. 8. The input signal (repre- 35 preferred form is an expansion with ratio rat0 below the
sented as samples coming in at 130 in FIG. 8) is directed        knee Kl, linear between knee Kl and a second knee Kl,
to a filter bank composed of octave filters 131-135              and compression with a ratio rat2 above knee Kl. The
which separate the signal into several frequency bands
                                                                 calculated gain thus is:
from, e.g., 0 to 500 Hz, 500 Hz to I kHz to 2 kHz, 2 kHz
to 4 kHz, and 4 kHz to 8 kHz. An absolute value is taken      40
of the output of each of these filters in absolute value         loggain(z): = (loglev(z) - knee2) • (rat2 - I) if K2 < loglev(z)
functions 141 to 145, respectively, and these absolute           loggain(l): = 0
value sequences are smoothed by low pass filters
 151-155, respectively. Gain calculations are made for           if Kl ;:a loglev(z) ;:a K2
each band in gain calculation functions 161 to 165, re- 45
                                                                 loggain(r): = (loglev(r) - Kl) • (ratO - I) if loglev(z) < Kl
spectively. Based on the gain calculations the filter
coefficients are calculated (e.g., 16 coefficients in total)
at 167. The input samples are also provided to a delay              Suitable preferred values for rat0 and rat2 are 2.0 and
circuit 170 which compensates for the delay going                0.3,  respectively, giving an expansion of 1:2 and a com-
through the filtering sections and provides an output 50 pression of 3.3:1. Other values are possible, providing a
signal to a (e.g., 31-long) filter 171, coefficients of which    tradeoff between the amount of distortion which is
have been calculated in the function 167.                        acceptable for the user and the degree of compression
    The noise suppression gain functions are calculated at       that would be suitable. The values of Kl and K2 can be
161 to 165 for each of several separate frequency bands.         fixed or either or both can depend upon the current
If the noise level varies across the frequency spectrum, 55 estimated signal and noise levels. When K2 is fj.xed, it is
then noise reduction can be used in only those bands             preferred to set it at a value corresponding to speech
where it is needed. Thus, bands which are relatively             peaks. When Kl is fixed it is based on the user prefer-
noise free need not be distorted.                                ence in the fitting procedure. Again, other forms of
    The algorithm for the tiine varying spectral filter has      input/output function are possible, including piecewise
three main program blocks, as shown in FIG. 10, an 60 linear functions having more knees to divide the range
initialization code (block 180), a main program (block           into a number of segments with different expansion or
 181) and an interrupt routine (block 182). The initializa-      compression ratios. In this way, any shape of input/out-
 tion code sets any constants which are needed in the            put curve can be approximated by a piecewise linear
other routines and does any initialization of input/out-         function.
 put ports which is needed. The main program uses en- 65            The gains are then converted from dB to linear (block
 ergy estimates xal(l) through xal(5) from the interrupt         187). First, the user prescription gains, fgain(i), are
 routine and calculates the time varying coefficients            added for each band and then the gains are converted
 coef(0) through coef(15) for the filter. The energy esti-       from a Jog scale to a linear scale by using a look-up table




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 and the results are stored as array gmul(i) for the calcu-        have both fixed or else just Kl variable. In the variable
 lation of coefficients:                                           case the formula is:
       gmu/(1):=2**((fgain(1)+loggain(1))/l6}for i= I                   Kl(1):=nois~1)+nsp/us
         through 5
                                                                        for i= I thru 5
    The filter coefficients are then calculated (block 188).
 The same coefficients may be used as in the octave band        with the value of Kl(i) limited to lie in a range Klmin
 filter network described further below. Because of the         to Klmax. The min and max are set by user preference
 simple form of the filters, the coefficients can be calcu- JO during the fitting procedure. nsplus is how high above
 lated efficiently as follows:                                  the noise level to place Kl(i). A value corresponding to
    gx(5):=(gmu /(5)-gmu/(4) )/256                              15 dB is preferred, based on testing in a variety of noise
    gx(4):=(gx(5 )+(gmu/(4)- gmul(3))!64                        environments.
    gx(3):=gx(4 )+(gmu/(3)- gmul(2))116                           Mode switches and reset parameters are then checked
    gx(2):=gx(3 )+(gmu/(2)- gmul(l))l4                       15 (block 191). The switches are checked to see whether
    gx(l):=gx(2 )+gmul(l)                                       they have been pressed and, if they have, the parameters
    coefl0):=gx(5)                                              corresponding to that switch are read and replace those
    coefll): =coeflO)+ gx(5)                                    parameters in the algorithm. Examples of parameters
    coefl2):=coe fl1)+gx(5)                                     which can be reset are:
   coefl3): =coefl2)+ gx(5)                                   20
   coe.1(4): =coe.1(3)+ gx(5)
                                                                        K2           higher knee of input/output curve
   coefl5):=coe fl4)+gx(5)                                              Klmin        min value for lower knee
   coefl 6): = coefl5) + gx( 5)                                         Klmax        max value for lower knee
   coefl1): =coefl 6) +gx( 5)                                           ratO         expansion/compression ratio below KI
   coefl8): = coefl7) + gx(4)                                           rat2         expansion/compression ratio above K2
                                                              25
                                                                        fgain(i)     gains for the 5 bands
   coefl9):=coe fl8)+gx(4)                                              nsplus       the level above noise to place K 1
   coefllO): =coefl9)+ gx(4)
   coeflll):=co efllO)+gx(4 )                                   The program then waits until the millisec counter is Jess
   coefl12):=co eflll)+gx(3)                                    than or equal to zero (block 192). The counter is decre-
   coefll3):=co efl12)+gx(3)                                30
                                                                mented in the interrupt routine. When the millisec
   coefl14):=coe.1(13)+gx(2)                                    counter is zero the counter is reset to a positive number
   coefl15):=co efl14)+gx(l)                                    (block 193). The number governs how often the main
    The apparent way to calculate such coefficients             program is executed. Preferably, the main program is
 would require 87 multiplies and accumulates whereas            executed about once every millisecond.
 the foregoing procedure requires only 23 additions. 35            A flow diagram for the interrupt routine is shown in
 Although the time saving achieved in the main program          FIG. 12. The routine begins with context save for the
 is not as important as in the interrupt code, because the      main program (block 200). The current program
 main program is executed only once during the time             counter, registers and processor status are stored, as is
 period when the interrupt is executed several times, a         usual in an interrupt routine. Next, a sample input and a
 worthwhile savings in computation time is still ob- 40 sample output are obtained and provided, respectively
 tained.                                                        (block 201); the output sample x5(t) is sent to the digital
    The program next tracks peak and noise levels (block        to analog converter and the input sample xO(t) is read
 189). Estimates of the peak and nosie level are made           from the analog to digital converter.                       .
 according to the formulas:                                        The Gain Ranging Code is then executed (block 202).
    peak(z):=peak(1)+pu if loglev(1)>peak(l)               45
                                                               The input level is adjusted, depending upon the current
    peak(1):=pe ak(1)-pd if loglev(1)<peak(1)                  setting of the attenuator (block 45 in FIG. 2). This is
    noise(_l):=noise(1)+nu if loglev(l)>noise(1)               done so that the original signal level is restored, as:
    noise(_l):=noise(._1)-nd if loglev(l)<noise(._1)                  xl(t):=xO(t)*rmul,                                  ·
   for i= I thru 5                                             where the attenuator has attenuated by a factor which is
 It does not matter which formula is performed when        50
                                                               the inverse of rmul. Also, the attenuator setting may be
Joglev(i)=peak(i) or Joglev(i)=noise(i). In a steady           adjusted. If the incoming sample xO(t) is greater than
state case, peak and noise will settle down to some            half full scale, then the attenuation for subsequent sam-
percentile of the distribution of the Joglev values.           pies is increased by 6 dB. If the samples have all been
Which percentile, and how fast the estimates will react        below quarter full scale for the last 32 samples, then the
to a change in level is determined by the values of pu,    55
                                                               attenuation is decreased by 6 dB. By these means, the
pd, nu, and nd. Preferred values are such that pu and nd       signal level is kept within the range of the AID con-
correspond to 80 dB/per sec and pd and nu correspond           verter, with sufficient resolution to give a low quantiza-
to 10 dB per sec. This makes the noise estimate track the      tion noise floor.
11th percentile of the Joglev values and the peak esti-           A high-pass filter operation is then optionally per-
mate track the 89th percentile. The rates are slow 60 formed to remove DC offsets (block 203). Output
                                                                                                                       x2(t)
enough to track the noise level in pauses in speech and        from the filter is a high-pass filtered version of the input
the speech peaks without much modulation caused by             xl(t). The filter is optional and has a preferred high-pass
pauses in continuous speech.                                   break point frequency of about 100 Hz. An exemplary
   The program then recalculates knees of the input- 65 formula for implementing this is:
/output curve (block 190). The knees, Kl and K2, can
                                                                      x2(1):=xl(1)-dc
be fixed or can depend upon the estimated peak and
noise levels. One preferred embodiment is either to                   dc:=dc+x2(r)/1 6




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                           17                                                             18
                                                                     (
                                                                     ve=sample;
   If the filter is, optionally, not implemented, then               vpe=ve+vo;
x2(t):=xl(t).                                                        wo=vpe+vpo;
   A pre/de emphasis filter is then optionally provided 5            wpo=we+wo;
(block 204). There are three options for the filter, which           temp=abs(wpo+wpe-4*we);
has input x2(t) and output x3(t). The options are pre-               wlp=wlp+(temp-wlp)/8;
emphasis, flat, and de-emphasis. Pre-emphasis is flat to          else if (clock & 4)
about 1 kHz and rises at 6 dB per octave above that.                 (
De-emphasis is flat to about 1 kHz and falls at 6 dB per 10          ve=sample;
octave above that. The choice between the filters is                 vpe=ve+vo;
made on the basis of the general shape of the user's                 we= vpe + vpo;
audiogram. The possible options can be implemented as:               wpe=we+wo;
                                                                     xo=wpe+wpo;
                                                            15       xpo=xe+xo;
       x3(t): = x3(t - !)•7/8 + x2(t)• 1/2 for de-emphasis
                                                                     temp=abs(xpo+xpe-4*xe);
                                                                     xlp=xlp+(temp-xlp)/8;
       x3(t): = x2(t) for flat                                    else if (clock & 8)
                                                                     (
       x3(t): = x2(t)*2 - x2(t - 1)*7/4 for pre-emphasis
                                                            20       ve=sample;
                                                                     vpe=ve+vo;
   The octave band analysis is then carried out (block               we=vpe+vpo;
205). This code implements 5 finite-impulse-response                 wpe=we+wo;
(FIR) bandpass filters which are spaced at octave                    xe=wpe+wpo;
bands. The filters can be thought of as being specified 25           xpe=xe+xo;
by a weighted sum of samples, but with the preferred                 yo=xpe+xpo;
way of implementing them saving a considerable                       ypo=ye+yo;
amount of computation. The simplest implementation                   temp=abs(ypo+ype-4*ye);
would need 87 multiplies and accumulates per input                   ylp=ylp+(temp-ylp/8;
sample, whereas the preferred implementation needs no 30             )
multiply and just 5 adds per input sample. The basic              else
procedure, as described generally above, is to separate              ve=sample;
the incoming signal into two channels by a simple pair               vpe=ve+vo;
oflow-pass and high-pass filters. Each one ofthis pair of            we= vpe + vpo;
channels has half the bandwidth of the original channel, 35          wpe=we+wo;
allowing the program to halve their sampling rates.                  xe=wpe+wpo;
Then the lower channel can be again halved in exactly                xpe=xe+xo;
the same way. This process can be repeated as many                   ye=xpe+xpo;
times as desired. For example, this can be done 4 times              ype=ye+yo;
to produce 5 filters (0-500 Hz, 500 Hz-1 kHz, 1 kHz-2 40             temp=abs(ypo+ype);
kHz, 2 kHz-4 kHz, 4 kHz-8 kHz). This filter break-                   zlp=zlp+(temp-zlp)8;
down matches reasonably well with the resolution                  The number of operations needed in the energy anal-
needed for a speech signal. In the present invention the       ysis network is very small because so much of the filter-
output of the bandpass filter network is only used to          ing is done on streams which have been decimated to
calculate the coefficients for a filter which acts directly 45 successively slower rates. Also, unlike the Fast Fourier
on the full bandwidth signal path. This avoids all the         Transform or most filter banks, the network needs only
channel aliasing problems encountered in multi-channel         additions and no multiplications. The low pass filter
filters and allows the use of very simple filters and a        (filters 151 to 155 in FIG. 8) in the subsequent rectify
slow output rate for each of the filters. This makes the       and low pass filter operation requires a division by a
algorithm very computationally efficient. For the lower 50 constant, but this can very easily be implemented by a
frequency channels, the full sampling rate is not needed.      shift, using either a hardware or a software implementa-
   The simple component filters lend themselves to a           tion.
simple implementation. Because of the multi-stage                 At each sample time there are two parts to the com-
down-sampling, different formulas must be executed             putation, the decimated filtering followed by the rectify
depending on the current sample number. The timing 55 and low-pass filter _operation. The second of these needs
all depends on powers of two, so the exemplary code            a constant amount of computation per sample: two
for the digital signal processor program set out below         adds, two subtracts, two shifts, and an absolute value
uses a variable called 'clock' which is incremented for        operation. The decimated filtering needs between 1 and
each incoming sample, and the bits of the variable are         2*N- l adds, where the filter bank goes through N
tested to check which formulas to execute.                  60 levels (e.g., N =5 for the filter of FIGS. 8 and 9). The
   clock=clock+ 1;                                             deeper levels of filtering are those which take more
      if (clock & 1)                                           computation, but they are also calculated Jess fre-
      (                                                        quently. On average, less than three adds are needed per
      vo=sample;                                               sample. Interestingly, this is independent of how many
      vpo=vo+ve;                                            65 octave bands are needed. As the number of bands be-
      temp=abs(vpo+vpe-4*ve);                                  comes large, the average number of adds approaches
      vlp=vlp+(temp-vlp)/8;                                    the limit of 3. With such small numbers of arithmetic
   else if (clock & 2)                                         operations, the control logic becomes significant. As the




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 code is written above, there are on average 2 bit-test              (hearing aid plus acoustic feedback path) is greater than
 and conditional branches per sample.                               or equal to unity and the phase is a multiple of 360° at
   The rectify stage (block 206) is an absolute value,              any frequency, then the output at that frequency will
 xa(i), of xf(i). There are 5 channels, but only one value          quickly rise in amplitude until it reaches the maximum
 of xa(i) is produced at each time, so this block and the 5         output level for the aid.
 low pass filter block are only executed for that output:              The simplest way to stop feedback in a hearing aid is
                                                                    to reduce the gain of the aid. If it is reduced sufficiently
        xa(1):=abs{xff.,))
                                                                    so that the gain around the loop is less than unity at all
                                                                    frequencies there will be no feedback instability. But the
                                                                10 main purpose of hearing aids is to provide gain, so re-
    A square could also be used for a slightly more accu-
 rate estimate of the root-mean-square signal level, if             ducing the gain may not be a good solution for many
 desired.                                                           people who have moderate to severe hearing losses.
                                                                    The other way to prevent feedback is to reduce the gain
    A low pass filter (block 207) then acts on xa(i) to give
 output xal(i). Several different low-pass filters are possi-       in the acoustic feedback path, between the receiver and
 ble, but a preferred embodiment uses a single-pole low 15 the microphone. This can be done physically by using a
 pass filter with a cut-off frequency of 1 kHz:                     tight fitting ear-mold without a vent-hole. The disad-
                                                                    vantage is that tight fitting ear-molds can be uncomfort-
        xa/(1)=xal(1)+( xa(1)-xa/(1))/tc                            able and the use of a vent-hole may be necessary to give
                                                                   a desired frequency shaping.
              . a tune
                   .
 w h ere tc 1s             constant, measured.m samp1es. p re- 20      Acoustic feedback in a digital hearing aid arises from
 ferred values for tc are in the range of 8 to 16.                 exactly the same causes as in a conventional analog aid
   The energy estimates xal(i) are then stored for use by          with the slight difference is that digital aids tend to
 the main program loop (block 208). The output of the              introduce a small delay to the signal. An analog aid will
pre/de-emphasis filter is provided in the main signal              have a delay of the order of 100 microseconds whereas
channel to a first-in-first-out delay (block 209). The 25 a digital aid may have a delay of perhaps 5 milliseconds.
signal x3(t) is delayed by a first-in-first-out queue to give      This causes no perceptual problems and it does not
output x4(t). The delay balances the delay in the low-             change whether or not feedback occurs, but it will
pass filter, so that changes in signal level do not happen         change the rate at which instability climbs to the maxi-
before the compression or expansion can occur.                     mum level. Longer delays will cause a slower climb,
                                                               30 although it may still be perceptually fairly fast. Pre-
       x4{t):=x3(t-4*t c)                                          ferred auxilliary digital signal processing which may be
                                                                   performed on the signal path in the digital signal proces-
Where tc is the same time constant used in the rectify-           sor to reduce feedback is described below.
low-pass-filter. The delay cannot be perfectly balanced                The feedback transfer function around a hearing aid
because there are different delays in the several bands. 35 comprises a gain and a phase at each frequency. The
Thus, an average delay corresponding to the middle                 feedback can be disrupted either by reducing the gain or
channel is chosen.                                                by changing the phase relationships. The phase relation-
   The delayed signal x4(t) is then provided to the spec-         ship can be changed by including a variable delay line in
tral filter, which may be implemented as a finite impulse         the main signal path. As the delay changes, so does the
response filter (block 210). The spectral filter provides 40 phase. An equation for implementing this delay function
both shaping of the gain spectrum and the non-linear              in the main signal processing path performed by the
amplifier gain for each channel. The coefficients are             digital signal processor 50 is as follows:
calculated in the main program and are used here.
                                                                       y(t):=x(t-ci)
     xS(t):=sum o-.er i(x4{t-1)*coe.1{1))                    45
                                                              where y(t) is the output signal of the delay function, x(t)
     fori=O . •• 31                                           is the input signal to the delay function, and d changes
                                                              slowly in time from O to D and back again periodically
The filter is symmetrical (coef(31-i)= coef(i)), so only      with a constant period. It increases by 1 every dn;th
 the sixteen coefficients calculated in the main program 50 sample until it reached D and then reverses direction
are needed here.                                             and decreases at the same rate until it reaches 0, where
   The millisecond counter is then decremented (block        it reverses direction again.
211): counter:=co unter-1 and context is restored for            The choice of D and dn is a trade-off between feed-
the main program (block 212), wherein registers and          back reduction and distortion of the signal. Large val-
processor status are restored for main program execu- 55 ues for the two constants give more
                                                                                                     reduction and more
tion. The program counter is restored to the value at the    distortion. The distortion sound has a warbling quality
start of the interrupt. The main program is then re-         to it. Reasonable values are D=8 and dn=32, which
started (block 213).                                         result in acceptable level of distortion.
   Feedback is a common and annoying phenomenon in               A second signal process for reducing feedback looks
hearing aids. The wearer usually hears it as a loud, high 60 at the incoming signal and checks
                                                                                                  whether there are any
frequency squeal when he moves close to a sound-             strong tonal components. Feedback usually occurs at
reflecting surface, such as a wall, or when he turns up      specific frequencies and is heard as a loud tone or whis-
the volume knob to a high setting. The feedback insta-       tle. If strong tones are present, they are attenuated in the
bility in a hearing aid has the same causes as feedback in   digital signal processor 50 by means of an inverse filter.
a public address system. A sound comes into the micro- 65 This is done by the technique
                                                                                                of linear prediction. As
phone of the hearing aid, is amplified and sent out by the   shown schematically in FIG. 14, the incoming signal
receiver. It then leaks back to the microphone and starts    x(t) from the microphone 300 may be filtered by a
around the loop again. If the loop gain of the system        slowly time-varying filter 301, and the filtered signal is




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subtracted from x(t) to yield an output signal y(t) which     acoustic feedback is modeled as a pure delay function
is provided to the remaining main signal processing           308 (to compensate for the time it takes for the acoustic
path 302. The output of the digital filter 301 is an opti-    signal to travel from the hearing aid output to the mi-
mal estimate of the current input sample based on past        crophone input) and a linear filter 309 (to compensate
input samples. Given speech input, the inverse filter will 5 for the frequency shaping imposed by the acoustic envi-
provide a mild high-frequency emphasis; however,              ronment), with both functions in a feedback path from
when feedback (tonal) components are in the input             the output to the input of the main signal processing
signal, the inverse filter, under control of a filter estima- path. A filter estimator 310 uses the input signal y(t) and
tor 303, will provide a notch filter centered at the fre-     the output signal w(t) for the delayed output signal z(t)
quency of the feedback signal. The inverse filter is 10 to determine the coefficients of the filter 309. The pre-
adaptive, being updated each sample as a function of the      ferred value of the delay is 12 samples, given a 14 kHz
input signal. It is understood that the signal processing     sampling rate. However, this value may be fit to each
blocks illustrated in FIG. 14 are carried out within the      individual situation if necessary. The filter transfer func-
digital signal processor SO of FIG. 2.                        tion estimate is updated each sample as per the follow-
   The program equations executed for these functions 15 ing equations:
are as follows:
                                                                    y(t): = x(t) - sum over n (c(n)•z(t - n + 1))
     y(t): = x(t) - sum over n (c(n)*x(t - n))
                                                                     for n = I thru N
     for n = I thru N
                                                            20
                                                                     c(n):   = c(n) + B • y(t) • z(t - n + 1)
     c(n): = c(n) + B • y(t) • x(t - n)
                                                                     for n = I thru N
     for n = I thru N
                                                                     B: = BT/(R0 + BC)
     B: = BT/(R0 + BC)
RO is an estimate of the mean square energy in the input 25
signal and BC and BT are constants. RO can be imple-        where BT and BC are constants and the energy estimate
mented as follows:                                          RO may be implemented as:
                                                                     R0:=R0+(x(t)•x(t)-R0)*RT
     R0:=R0+(x(t)•x(t)-R0)*RT
                                                            30
where RT is a constant.                                       where RT is a constant
   The first equation is a filter whose coefficients c(n)        The input signal to the digital signal processor from
vary slowly and are calculated by the other equations.        the microphone (after A to D conversion) is x(t). The
The constants BT and RT determine how fast the algo-          feedback function is executed to form y(t). Then further
rithm adapts to changing signals. The more important 35 processing in the main signal processing path 302, for
of these two is BT. A value of about 2- 12 is preferred,      example, frequency shaping or noise reduction as de-
giving a time constant of about 250 milliseconds. The         scribed above, produces the final output w(t). A de-
preferred value for RT is about 2- 11, for a time con-        layed version of the output, z(t) is filtered to yield the
stant of 150 milliseconds. This governs the length of         feedback signal estimate which is subtracted from the
time over which the short term energy estimate RO is 40 input, x(t).
made. The constant BC helps to slow down the adapta-             The first equation above is a filter whose coefficients
tion during periods of low signal and is set to a value of    c(n) vary slowly and are calculated by the other equa-
2 18 • The parameter B changes slowly. Thus, it is not        tions. The constants BT and RT determine how fast the
necessary to update B every sample. The preferred             algorithm adapts to changing signals. The more impor-
update rate which minimizes computation without com- 45 tant of these two is BT. A value of about 2-1 1 is pre-
promising performance is to compute B once every 512          ferred, giving a time constant of about 150 milliseconds.
samples.                                                      The preferred value for RT is about 2-s, for a time
   The number, N, of coefficients can have a value of 2       constant of about 2.5 milliseconds. This governs the
or more. The more coefficients there are, the greater is      length of time over which the short term energy esti-
the amount of computational power needed in the alga- 50 mate RO is made. The constant BC helps to slow down
rithm. A large number of coefficients would give the          the adaptation during periods of low signal and is set to
possibility of eliminating several tones from the signal.     a value of 225. To save computation, the variable B need
But a small number of coefficients gives less distortion.     not be recalculated at each sample interval. B changes
Values of 2 to 6 are preferred.                               slowly and it is sufficient to calculate it once every 512
   In a third process, the input and output signals of the 55 samples.
hearing aid are analyzed and the transfer function               The number, N, of coefficients can have any value.
around the acoustic feedback path is estimated. The           The more coefficients there are, the greater is the
transfer function is used ,to form an estimate of the         amount of computational power needed in the algo-
acoustic feedback signal which is then subtracted or          rithm. A large number of coefficients gives a better
cancelled from the input signal, as illustrated schemati- 60 possibility of modeling the feedback path accurately,
cally in FIG. 15. This method models the hearing aid          but a small number of coefficients has less effect on the
input from the microphone 300, x(t), as the sum of a          speech signal. Also, larger numbers of coefficients can
desired input signal (e.g. speech) and a noise signal, the    cause problems with numerical accuracy. Given these
acoustic feedback signal. The acoustic feedback signal        conflicting requirements, values of 6 to 12 for N are
estimate is obtained by filtering the main signal process- 65 preferable.
ing path output, w(t), (a delayed and processed version          In the digital processing of many types of signals, the
of the input) with the estimate of the acoustic feedback      dynamic range requirement is much greater than the
path transfer function. The transfer function of the          signal to (quantization) noise ratio requirement. Audio




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   signals, both speech and music, are examples of such           voltage adjustment 242 operated by the dial 28 which
   signals. An efficient, low power, low voltage data con-        controls the gain of an amplifier 243 which, in turn,
   version system is preferred which is applicable to sig-        supplies the power amplifier 244.
  nals having bandwidths below about 20 kHz, particu-                As noted above, the hearing aid preferably can be
  larly a digital signal processing system for the hearing 5 programmed to adapt to the hearing deficit of a particu-
  impaired where approximately a 72 dB input dynamic              lar user. The fitting procedure determines the values of
  range is required.                                              several parameters of the hearing aid algorithm. The
      A conversion system which requires significantly less       patient's hearing may first be tested by standard audio-
  circuit power and circuit complexity to implement than          logical methods to determine thresholds and other stan-
  traditional data converters with comparable dynamic 10 dard parameters. The individual being tested may then
  range is shown in FIG. 2 composed of the gain ranging           be supplied with a master hearing aid which is a com-
  amplifier 45, the 30 dB gain amplifier 46 and the 8 bit         puter based processor running the same algorithms as
  linear analog to digital converter 47. These units oper-        the hearing aid. The patient goes through a protocol in
  ate under the control of the digital signal processor 50        which speech (sometimes with noise added) is provided
  through the control and timing logic 51. In the process- 15 to him or her. The master hearing aid processor then
  ing of speech dominated audio signals the rate at which         executes the hearing aid algorithms and switches be-
  large signal changes take place is relatively slow, and         tween different sets of parameters. The patient then
  the gain ranging amplifier 45 can be utilized to extend         indicates his or her preference (or the subjective intelli-
  the dynamic range of the (e.g., 8 bit) analog to digital        gibility) of the signal by pressing buttons on the master
  converter 47. As long as the rate at which large signal 20 hearing aid. The information from the buttons is stored
 changes take place is below the rate of change for the           back into the computer. Several possible procedures
 gain of the gain ranging amplifier, such an approach can        may be utilized to take a set of parameters so deter-
 be utilized. In such speech audio applications, it is found     mined and reach an optimal set by making small
 that the gain change rates can be limited to 6 dB per 150       changes and paired comparisons. One such procedure is
  microseconds for gain decreases and 6 dB per 150 milli- 25 the simplicial method.
 seconds for gain increases and still provide the neces-             The fitting is preferably done in both quiet conditions
 sary dynamic range and signal to noise ratio. Generally         and with noise added to the speech. The patient may
  8 bits of linear analog to digital conversion capability       well require different parameter sets under these differ-
 are required for such an approach.                              ent conditions. The three positions of the selection
     The gain control algorithm used to control the gain 30 switch on the hearing aid allows up to three different
 ranging amplifier (or digital attenuator) 45 operates           sets of parameters to be provided for normal use. Dur-
 such that if the magnitude of the digital sample from the       ing execution of the code by the digital signal processor
 8-bit linear analog to digital converter 47 exceeds 26 (64)     in the hearing aid, the switches are checked to deter-
 for any sample, then the gain of the gain ranging ampli-        mine whether they have been pressed, and if they have,
 fier 45 will be reduced by a factor of 2 by the digital 35 the parameters corresponding to the switch that is
 signal processor SO. Conversely, if the sample magni-          pressed are read and replace those parameters previ-
 tude is less than 25 (32) for one millisecond, then the        ously in the algorithm. As noted above, among the
 gain of the amplifier 45 will be increased by a factor of      parameters which preferably can be read and changed
 two. This computation is carried out by the digital sig-       for each position of the mode switches are K2, the
 nal processor in the Gain Range Code block 112 in the 40 higher position of the higher knee of the input-output
 single band algorithm interrupt routine and in the Gain        curve; Klmin, the minimum value for the lower knee
 Range Code block 202 in the time varying filter algo-          position; Klmax, the maximum value for the lower·
 rithm interrupt routine.                                       knee; ratO, the expansion/compression ratio below the
     A somewhat more detailed block diagram of the ear          knee Kl; rat2, the expansion/compression ratio above
 piece circuit portion of the hearing aid is shown in FIG. 45 the knee K2; Wgains, the gains in the five bands which
 14. A switch 230 allows the input to be taken either           form the shaping filter; and nsplus, the level above the
from the microphone 30 through the pre-emphasis cir-            noise to place the knee Kl.
cuit 232 or from the telecoil 31. The input signal goes             It is understood that the invention is not confined. to
into the circuit 33 which includes an automatic gain            the particular embodiments set forth herein, but em-
control amplifier 231, the output of which is received 50 braces all such modified forms thereof as come within
by the low pass anti-aliasing filter 233. The output of the     the scope of the following claims.
filter 233 is passed through a filter amplifier 234 and is          What is claimed is:
provided on the line 34 to the digital signal processing            1. A digital signal processing hearing aid system com-
components in the processor unit. The output of the             prising:
filter 234 is also provided to a rectifier 235 which feeds 55       (a) input means for providing an electrical input sig-
back to the AGC amplifier 231 to control its output                    nal corresponding to a sound signal;
level. The AGC amplifier receives its power (as does                (b) analog to digital converter means for converting
the microphone 30) from a voltage regulator 237 which                  the input signal from the input means to input sig-
is supplied from a low voltage battery source 240 in the               nal digital data at a selected·sample rate;
ear piece.                                                   60     (c) digital signal processing means for receiving the
    The signal on the lines 36 from the pocket processor               input signal digital data from the analog to digital
portion of the hearing aid is received in the ear piece                converter means and providing processed output
and passed through an adjustable attenuator 37 which is                data, the digital signal processing means including:
adjusted by the hearing aid fitter, and thence the signal              (1) means for analyzing the input signal data and
passes through the anti-imaging filter 38 to the power 65                 estimating the energy coutained in a plurality of
amplifier section 39 which drives the receiver speaker                    selected frequency bands which cover the range
40. The power amplifier section 39 is supplied directly                  of frequency content of the input signal data,
with power from the voltage source 240 and includes a                    wherein the means for analyzing the input signal




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        data includes a first high pass digital filter for           6. The hearing aid system of claim 5 wherein the filter
        passing the higher half of the input signal fre-          coefficients of each high pass filter are -1, 2, -1 and
        quency range, a first low pass digital filter for         the filter coefficients of each low pass filter are 1, 2, 1.
        passing the lower half      of the  input  signal fre-       7. The hearing aid system of claim 1 wherein the
        quency range and providing a second frequency 5 computation of output values of the first high pass and
        range signal data, a second high pass digital filter      low pass filters is performed at half the sample rate, the
        selected to pass the higher half      of  the  second     computation     of output values for the second high pass
        frequency range signal and a second low pass              and low pass filters is performed at one quarter the
        digital filter selected to pass the lower half of the     sample rate, the computation of output values for the
        second frequency range signal to provide a third       10 third high pass and low pass filters is performed at one
                                                                  150 of the sample rate, and the computation of output
        frequency range signal, a third high pass digital
                                                                  values for the fourth high pass and low pass filters is
        filter selected to pass the higher half of the third
                                                                  performed at 1/16 of the sample rate.
        frequency range signal and a third low pass digi-
                                                                     8. The hearing aid system of claim 1 wherein the gain
        tal filer selected to pass the lower half of the 15 calculation means within the digital signal processing
        third frequency range signal to provide a fourth          means computes gains for each of the frequency bands
        frequency range signal, the fourth high pass filter       in accordance with a gain function of the estimated
        selected to pass the higher half of the fourth            energy including at least a section providing amplitude
        frequency range signal and a fourth low pass              expansion for selected low level input signals, a linear
        digital filter selected to pass the lower half of the 20 amplification section for providing constant amplifica-
         fourth frequency range signal, and wherein the           tion for intermediate level input signals, and a section
         means for analyzing further includes means for           providing amplitude compression for high level input
        estimating the energy in the data corresponding           signals.
         to the outputs of the first, second, third, and             9. The hearing aid system of claim 8 wherein the
         fourth high pass filters and the fourth low pass 25 digital signal processing means includes a programma-
         filter;                                                  ble memory selectably loaded with processing variables
      (2) gain calculation means for calculating a gain for       adapted to an individual user.
         each band which is a function of estimated en-              10. The hearing aid system of claim 9 wherein the
         ergy in each band;                                       processing variables in the programmable memory in-
      (3) digital spectral filter means, having a plurality 30 clude the slopes of the expansion section and the com-
         of filter coefficients which are changeable, for         pression section for each of the frequency bands in the
         receiving the input signal digital data and pro-         gain calculation means, and the digital signal data en-
         viding spectrally shaped output data for output          ergy envelope positions of the knees at which the ex-
         from the digital signal processing means;                pansion section joins the linear amplification section and
      (4) coefficient calculation means for calculating the 35 at which the linear amplification section joins the com-'
         coefficients of the digital spectral filter means        pression section.
         based on the gains for each band calculated by               11. The hearing aid system of claim 8 wherein the
         the gain calculation means, the coefficients of the       gain calculation means calculates the gains also as a
         digital spectral filter means being periodically         function of desired base line gains for each of the bands
         changed to the new coefficients calculated by 40 so as to cause the digital input signal passed through the
         the coefficient calculation means;                        spectral filter means to be spectrally shaped in a manner
   (d) digital to analog converter means for converting            selected to compensate for the spectral hearing deficit
      the processed output data from the digital signal           of  a user.
                                                                      12. The hearing aid system of claim 8 wherein the
      processing means to an analog signal; and
                                                                   gain calculation means of the digital signal processing
   (e) means for converting the analog signal to a corre- 45
                                                                   means estimates the level of noise as a function of the
      sponding sound.
                                                                   energy  in each of the bands and wherein a knee dividing
   2. The hearing aid system of claim 1 wherein the
                                                                   the expansion section of the nonlinear gain function
means for estimating the energy in the frequency bands
                                                                   from the linear section for each band is moved higher or
of the input signal data further comprises means for 50 lower as a function of the noise level estimate for that
taking the absolute values of the filter outputs and               band.
means for low pass filtering these absolute values.                   13. The hearing aid system of claim 9 wherein the
   3. The hearing aid system of claim     1  wherein  the gain     programmable memory in the digital signal processing
calculation means also includes means for selecting the            means is provided with parameters that define the mini-
spectral shaping of the digital spectral filter means to 55 mum and maximum values for the position of the knee
provide spectral shaping to the signal data passed                 dividing the expansion section of the gain function from
through the spectral filter to compensate for spectrally           the linear section for each band and wherein the digital
related deficiencies in the hearing of the user of the             signal processing means includes means for estimating
hearing aid.                   '                                   the level of noise as a function of the energy estimate of
   4. The hearing aid system of claim 1 including means 60 the digital input signal data for each frequency band,
for delaying the input signal data provided to the spec-           and wherein the digital signal processing means moves
tral filter means to allow time for the coefficients of the        the knee higher or lower as a function of the noise level
spectral filter to be changed in response to the charac-           estimate but within the limits set by the minimum and
teristic of the input signal at the time that the data is          maximum values.
provided to the spectral filter.                               65     14. The hearing aid system of claim 1 including auto-
   5. The hearing aid system of claim 1 wherein each               matic gain control means for controlling the magnitude
high pass filter and low pass filter is a three tap finite         of the analog signal passed from the input means to the
impulse response digital filter.                                   analog to digital converter means, the signal magnitude




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   controlled at a slow rate relative to speech to be within          26. A digital signal processing hearing aid system
   a desired range of magnitudes.                                  comprising:
       15. The hearing aid system of claim 8 wherein each of          (a) input means for providing an electrical signal
   the gain functions used in each of the frequency bands                 corresponding to a sound signal;
   by the gain calculation means has a piecewise linear 5             (b) analog to digital converter means for converting
   gain function in which the logarithm of the gain is a                  the signal from the input means to digital data at a
   linearly increasing function of the logarithm of the en-               selected sample rate;
   ergy estimate in each band up to a first knee, a constant          (c) digital signal processing means for receiving the
   between the first and a second knee, and a linearly de-                input signal digital data from the analog to digital
   creasing function above the second knee.                               converter means and providing processed output
      16. The hearing aid system of claim 15 wherein the                  data, the digital signal processing means including:
   positions of the first and the second knees are selected               ( l) N pairs of high pass and low pass digital filters,
   so that the constant gain between the first and second                     the high pass filter in each pair selected to pass
   knee lies over a preferred dynamic range for the hearing                   the highest half of the frequency range of the
   of the individual user in each of the frequency bands. 15                  input signal to the pair and the low pass filter in
      17. The hearing aid system of claim 15 wherein the                      each pair selected to pass the lowest half of the
   gain calculation means includes means for estimating                       frequency range of the input signal to the pair,
  the level of noise as a function of the energy estimate of                  the pairs of filters cascaded so that the input
  the digital input signal data in each frequency band and                    signal to each pair after the first pair is the output
  wherein the first knee in each gain function in each 20                     of the low pass filter of the prior pair of filters,
  frequency band is moved higher or lower as a function                       and means for estimating the energy in the fre-
  of the noise level estimate for that band while the posi-                   quency bands corresponding to the outputs of
  tion of the second knee and the slopes of the gain func-                    the N high pass filters and the last low pass filter,
  tion remain fixed in each band.                                             where N is at least two;
      18. The hearing aid system of claim 17 wherein the 25              (2) gain calculation means for calculating a gain for
  position of the first knee is set equal to the noise level                 each band which is a function of the estimated
  estimate plus a selected constant.                                         energy in each band;
      19. The hearing aid system of claim 17 wherein the                (3) digital spectral filter means, having a plurality
  first knee is moved higher or lower in direct relation to                  of filter coefficients which are changeable, for
  the noise level estimate but no higher than a selected 30                  receiving the input signal data and providing
  maximum value and no lower than a selected minimum                         spectrally shaped output data for output from
  value in determining the gain calculated by the gain                       the digital signal processing means;
  calculation means for each frequency band in the digital              (4) coefficient calculation means for calculating the
  signal processing means.                                   35              coefficients of the digital spectral filter means
     20. The hearing aid system of claim 19 wherein the                      based on the gains for each band calculated by
  digital signal processor has a programmable memory                         the gain calculation means, the coefficients of the
  and wherein the programmable memory is provided                            digital spectral filter means being periodically
  with parameters that define the minimum and maximum                        changed to the new coefficients calculated by
  values of the position of the first knee, the position of                  the coefficient calculation means;
 the second knee, and the slopes of the gain function. 40            (d) digital to analog converter means for converting
     21. The hearing aid system of claim 17 wherein the                 the processed output data from the digital signal
 means for estimating the level of noise in each fre-                   processing means to an analog signal; and
 quency band in the gain calculations means estimates                (e) means for converting the analog signal to a corre-
 the noise level by selecting a percentile of the distribu- 4           sponding sound.
 tion of the energy estimate for each of the frequency        5                                                                   ·
                                                                     27. The hearing aid system of claim 26 wherein N =4.
 bands.                                                              28. The hearing aid system of claim 26 wherein the
     22. The hearing aid system of claim 19 wherein the          means for estimating the energy of the output signal
 position of the first knee is set equal to the noise level      data of the N high pass filters and the last low pass filter
 estimate plus a selected constant.                          50 comprises means for taking the absolute values of the
    23. The hearing aid system of claim 1 including pre-         filter outputs and means for low pass filtering these
 emphasis filtering means for equalizing the frequency           absolute values.
 spectrum of the analog signal passed from the input                29. The hearing aid system of claim 26 wherein the
 means to the analog to digital converter means to mini-         gain calculation means also includes means for selecting
mize the required dynamic range of the analog to digital 55 the spectral shaping of the digital
                                                                                                           spectral filter means
converter means.                                                 to provide spectral shaping to the signal data passed
    24. The hearing aid system of claim 1 wherein the            through the spectral filter to compensate for spectrally
gain calculation means in the digital signal processing          related deficiencies in the hearing of the user of the
means determines the gain, function for each frequency           hearing aid.
band periodically, and the coefficient calculation means 60 30. The hearing aid system
                                                                                                         of claim 26 including
calculates new filter coefficients periodically based on        means for delaying the input signal data provided to the
the new gains, with a time constant in the range of about       spectral filter means to allow time for the coefficients of
l millisecond to about 2 milliseconds.                          the spectral filter to be changed in response to the char-
    25. The hearing aid system of claim 8 wherein for           acteristic of the input signal at the time that the data is
each band the section of the gain function up to the first 65 provided to the spectral
                                                                                                filter.
knee provides an expansion ratio of up to 1:2 and a                 31. The hearing aid system of claim 26 wherein each
section above the second knee provides a compression            high pass filter and low pass filter is a three tap finite
ratio ofup to 3.3:l.                                            impulse response digital filter.




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    32. The hearing aid system of claim 31 wherein the           the level of noise as a function of the energy estimate of
 filter coefficients of each high pass filter are -1, 2, -1      the digital input signal data for each frequency band,
 and the filter coefficients of each low pass filter are l, 2, _ and wherein the digital signal processing means moves
  1.                                                             the knee higher or lower as a function of the noise level
     33. The hearing aid system· of claim 26 wherein the 5 estimate but within the limits set by the minimum and
  computation of output values of the first pair of high         maximum values.
  pass and low pass filters is performed at half the sample         41. The hearing aid system of claim 26 including
  rate, and the computation of output values for the suc-        automatic gain control means for controlling the magni-
  ceeding pairs of high pass and low pass filters is per-        tude of the analog signal passed from the input means to
  formed at rate which is a fraction of the sample rate 10 the analog to digital converter means, the signal magni-
  equal to in+ I, where n is the number of prior filter pairs.   tude controlled at a slow rate relative to speech to be
     34. The hearing aid system of claim 26 wherein there        within a desired range of magnitudes.
  are four pairs of high pass and low pass filters, with the        42. The hearing aid system of claim 35 wherein each
  output of the first high pass filter passing the portion of    of the gain functions used in each of the frequency
  the input signal from approximately 4,000 Hz to 8,000 15 bands by the gain calculation means has a piecewise
  Hz, the second high pass filter passing the portion of the     linear gain function in which the logarithm of the gain
  input signal data in the range of 2,000 Hz to 4,000 Hz,        is a linearly increasing function of the logarithm of the
  the third high pass filter passing the portion of the signal   energy estimate in each band up to a first knee, a con-
  data in the range of 1,000 Hz to 2,000 Hz, the fourth          stant between the first and a second knee, and a linearly
  high pass filter passing the signal data in the range of 20 decreasing function above the second knee.
  500 Hz to 1000 Hz, and the fourth low pass filter passing         43. The hearing aid system of claim 42 wherein the
  the portion of the input signal data in the range from 0       positions of the first and the second knees are selected
  to 500 Hz.                                                     so that the constant gain between the first and second
     35. The hearing aid system of claim 26 wherein the          knee lies over a preferred dynamic range for the hearing
  gain calculation means within the digital signal process- 25 of the individual user in each of the frequency bands.
  ing means computes gains for each of the frequency                44. The hearing aid system of claim 42 wherein the
  bands in accordance with a gain function of the esti-          gain calculation means includes means for estimating
  mated energy including at least a section providing            the level of noise as a function of the energy estimate of
  amplitude expansion for selected low level input signals,      the digital input signal data in each frequency band and
  a linear amplification section for providing constant 30 wherein the first knee in each gain function in each
  amplification for intermediate level input signals, and a      frequency band is moved higher or lower as a function
  section providing amplitude compression for high level         of the noise level estimate for that band while the posi-
  input signals.                                                 tion of the second knee and the slopes of the gain func-
     36. The hearing aid system of claim 35 wherein the          tion remained fixed in each band.
  digital signal processing means includes a programma- 35          45. The hearing aid system of claim 44 wherein the
  ble memory selectably loaded with processing variables         position of the first knee is set equal to the noise level
  adapted to an individual user.                                 estimate plus a selected constant.
     37. The hearing aid system of claim 36 wherein the             46. The hearing aid system of claim 44 wherein the
  processing variables in the programmable memory in-            first knee is moved higher or lower in direct relation to
  clude the slopes of the expansion section and the com- 40 the noise level estimate but no higher than a selected
  pression section for each of the frequency bands in the        maximum value and no lower than a selected minimum
  gain calculation means, and the digital signal data en-        value in determining the gain calculated by the gain
  ergy envelope positions of the knees at which the ex-          calculation means for each frequency band in the digital
  pansion section joins the linear amplification section and     signal processing means.
  at which the linear amplification section joins the com- 45       47. The hearing aid system of claim 46 wherein the
  pression section.                                              digital signal processor has a programmable memory
     38. The hearing aid system of claim 35 wherein the          and wherein the programmable memory is provided
  gain calculation means calculates the gains also as a          with parameters that define the minimum and maximum
  function of desired base line gains for each of the bands      values of the position of the first knee, the position of
  so as to cause the digital input signal passed through the 50 the second knee, and the slopes of the gain function.
  spectral filter means to be spectrally shaped in a manner         48. The hearing aid system of claim 44 wherein the
  selected to compensate for the spectral hearing deficit        means for estimating the level of noise in each fre-
  of a user.                                                     quency band in the gain calculations means estimates
     39. The hearing aid system of claim 35 wherein the          the noise level by selecting a percentile of the distribu-
  gain calculation means of the digital signal processing 55 tion of the energy estimate for each of the frequency
  means estimates the level of noise as a function of the        bands.             ·
  energy in each of the bands and wherein a knee dividing           49. The hearing aid system of claim 46 wherein the
  the expansion section of the nonlinear gain function           position of the first knee is set equal to the noise level
  from the linear section for each band is moved higher or       estimate plus a selected constant.
  lower as a function of the noise level estimate for that 60       50. The hearing aid system of claim 26 including
· band.                                                          pre-emphasis filtering means for equalizing- the fre-
     40. The hearing aid system of claim 36 wherein the          quency spectrum of the analog signal passed from the
  programmable memory in the digital signal processing           input means to the analog to digital converter means to
  means is provided with parameters that define the mini-        minimize the required dynamic range of the analog to
  mum and maximum values for the position of the knee 65 digital converter means.
  dividing the expansion section of the gain function from          51. The hearing aid system of claim 26 wherein the
  the linear section for each band and wherein the digital       gain calculation means in the digital signal processing
  signal processing means includes means for estimating          means determines the gain function for each frequency




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band periodically, and the coefficient calculation means              which is a fraction of the sample rate equal to ½n+ I,
calculates new filter coefficients periodically based on              where n is the number of prior filter pairs.
the new gains, with a time constant in the range of about          54. The digital spectral analysis filter of claim 53
I millisecond to about 2 milliseconds.                         further including means for estimating the energy in the
  52. The hearing aid system of claim 35 wherein the 5 outputs of the N high pass filters and the last low
                                                                                                                       pass
section of the gain function up to the first knee provides      filter.
an expansion ratio of up to I :2 and a section above the           55. The digital spectral analysis filter of claim 53
second knee provides a compression ratio ofup to 3.3:1.        wherein each high pass filter and low pass filter is a
  53. A digital spectral analysis filter comprising:
                                                               three tap finite impulse response digital filter.
  (a) input means for providing an electrical signal 10
                                                                   56. The digital spectral analysis filter of claim 53
     corresponding to a sound signal;
                                                               wherein the filter coefficients of each high pass ilter are
  (b) analog to digital converter means for converting
     the signal from the input means to digital data at a       -1, 2, -1 and the filter coefficients of each low pass
     selected sample rate;                                     filter   I, 2, I.
  (c) digital signal processing means for receiving the 15         57. The digital spectral analysis filter of claim 53
     input signal digital data from the analog to digital      wherein the frequency range of interest is from 0 to
     converter means and providing processed output            8,000 Hz, N =4, and the first high pass filter passes the
     data, the digital signal processing means including       portion of the input signal from approximately 4,000 Hz
     N pairs of high pass and low pass digital filters, the    to 8,000 Hz, the second high pass filter passes the por-
     high pass filter in each pair selected to pass the 20 tion of the input signal data in the range of 2,000 Hz to
     highest half of the frequency range of the input          4,000 Hz, the third high pass filter passes the portion of
     signal to the pair and the low pass filter in each pair   the signal data in the range of 1000 to 2000 Hz, the
     selected to pass the lowest half of the frequency         fourth high pass filter passes the portion of the signal
     range of the input signal to the pair, the pairs of       data in the range of 500 Hz to 1,000 Hz, and the fourth
     filters cascaded so that the input signal to each pair 25 low pass filter passes the portion of the input signal data ·
     after the first pair is the output of the low pass filter in the range of 0 to 500 Hz.
     of the prior pair of filters, where N is at least two,        58. The digital spectral analysis filter of claim 53
     and wherein the computation of output values of           wherein the means for estimating the energy of the filter
     the first pair of high pass and low pass filters is       output signal data comprises means for taking the abso-
     performed at half the sample rate and the computa- 30 lute values of the filter outputs and means for low pass
     tion of output values for succeeding pairs of high        filtering these absolute values.
     pass and low pass filters is performed at a rate                                 * * * * *

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(19)United States
(12)Patent Application Pnblication (lo)Pub. n〇.： US 2003/0004428 Al
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        USING AN IMP1J\N IABLE DEVICE

(76)    Im也仙g; Benjamin D. Plcss, Aihenon, CA (US);         (52)   U.S. Cl............................................................ 600/544
               Stephen T. Archer, Sunnyvale, C?A
               (US); Craig Baysingcr, Livermore, C?A
               (US); Barham          Paio Alto, CA          (57)                         샤VmRSじF
               (US); Siiresh K. ¢lUrunathan, Santa
               Clara, CA (US); Bruce Kirkpatrick,
               Sanla Clara, CA (US); Thomas K.              A system and method for detecting and predicting neuro­
               T미】en옴, Pleasant Hill, CA (US)               logical ¢니¢iMs with an implantable derive uses a relatively
                                                            low-power central processing unit in connecnon with signal
       Ckifrespondenee Address;                             processing circuitry to identify features (including half
       NEUROMCK, INC.                                       waves) and cakti late window-based chariictensiics (includ­
       고55 SANTA ANA COUR ［'                                ing line lengths and areas under I he curve of I he waveform)
       SUNNY디ALE, CA 94085 (US)                             in an electrographic signal received from a parent's brain.
                                                            The features and window-based characterise ics are combin­
(21)    AppL N0.：    09/896,(192                            able in variD^s ways according to the invention to detect and
                                                            卩redid ncur。］。봄记al events in「ea］【imら じnablin횸「じspDn菴vc
(22)    Fifed;       Jun. 28, 고(册 1                         action by the implaniable device.


                                                  210




                                                        1                                                                   APPLE 1016




                                              Appx893
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                                       2




                                  Appx894
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                                  Appx895
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                                       4




                                  Appx896
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                410




                                   Fig. 4




                                       5




                                  Appx897
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                                                                   422




                                  Fig. 5




                                       6




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                                                    512




                                    Fig. 6




                                       7




                                  Appx899
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                                    Waveform Analyzer

                              712                                                     514




                                       Wave
                                     Morphology
                                       Analysis
                                         Unit




       710                                                                      716
                                                                 VHVIMF


                Channel                                        Event Detector
                Controller                                         Logic




                                       Window
                                       Analysis
                                         Unit




                     718
                                                         714
        516



                                         Memory




                                        Fig. 7


                                                8




                                       Appx900
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                    812
                         ヽ、   Event Detector                                824


      810
       X,

            [Channel 1 -
                                                                                  〇
                                                                                  832

  Fig. 8
                    貝。Event Deteclof
                                                                            836             838

                                p> Wave Morphology Analysis Unit
      814
                                    i      Window Analysis Unit         j
             Channel 2
                                    I I   Line Length Analysis Tool   J |
                                    I   ゝニニニニニニニニ;]
                                    I I   Area Analysis To히 \\




                                                         9




                                                  Appx901
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                                  Appx902
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                         1016




                                  Fig. 10




                                      11




                                  Appx903
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           Begin
                                    1110
                卄                                             .11
     Initialize WaveTime

                    <-

     Initialize WaveDur,                                                                              产 1132
    EndThreshold, Peak,               'ゝ 1112
                                                                      Initialize Wa\/eDur,
       Fh밍 Sample
                                                                     EndThreshold, Peak,
                                                                           F顽 Sample

          Wait for
        EEG Sampfe
                                                                           Wait for ヽ
                                                                         EEG Sample  \
                                                                                              M134
         Increment
         WaveTime,
                                 1116                                    Increment
         WaveDur
                                                                         WaveTime,
                                                                         WaveDur                   1136
                                 1118

          Sample>                                                                                  1138
                                                   1120
           Pe 근 k?
                                                                          Sample <                                1140
                                        Reset                              Peak?                                  ノ
                                     EndThreshoid,
                                                                                                          Reset
                                           Peak
                                                                                                     Endihreshold,
         Sample <                                                                                        Peak
        EndThresh?
                                                                          Sample >
                                 1122                                    EndThresh?
                                                                                                   1142

          Calc니ate
         Amplitude,
                                 1124                                      Calculate
          D 녀ration
                                                                          Ampiitude,          ヽ'、1144
                                                                           Duration
                                尸 1126
            Both
                                                       1128                                   尸1146
        Amp and Dur
                                Y                                           Both
          Qualify?                          T      /                                                                 1148
                                           Store                         Amp 하id Dur
                                                                                               Y
                                                                           Qualify?
            N                           Parameters
                                                                                                         Store
                         1130
                                                                             N                        Parameters
                                         Reset                                         1150   ヽ\
                                        WaveTime                                                \         Reset
                                                                                                      Wa가 eTime




                                                              12




                                                          Appx904
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                                        Begin

                                                         ，パ210
                                         Clear
                                       Halfwave
                                     Window Flag
  Fig. 12                                                z1212

                                     Identify New    ノ

                                       Qualified
                                      Halfwaves

                                                           ^1214

                                      Set Current
                                  Halfwave to Oldest
                                    New Halfwave



                                                            /서 216
                                 Test Interval Between
                                 Current Halfwave and
                                  Current Halfwave - x


                                                          1218

                                    hterva < H.W.-
                                       Window?                                            ^1220
                                                                                     ノ’
                                                                           Set
                                                                        Haltwave
                                                         1228
                                                                       Window Rag
                                      Increment
                                       Current                            A>
                                       Halfwave                            V          //1222

                                                                          Apply
                                                                                     ノ

                                                          1230             Logic
                                                                         Inversion
                                       More New
                                       Qualified                                      尸‘| 224
                                      Halfwaves?
                                                                           End




                                             13




                                       Appx905
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                                  (   Begin


                                                   1310
                                   Clear Sum;
                                     Initialize
                                  Window Pointer




                                      14




                                  Appx906
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                                  Fig. 14




                                      15




                                  Appx907
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            Fig. 15




                                      16




                                  Appx908
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                                                End




                                      17




                                  Appx909
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                           尸 1712
                           /
                        w




                    1724




                                      Fig. 17




                                         18




                                     Appx910
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             Fig. 18


                                       19




                                  Appx911
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                                  Appx912
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     Fig. 20



                                      21




                                  Appx913
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                                    Begin

                                                        广 2110
                                                    J
                                  Set Output
                                     Flag


                                                         2112


                              Start with First
                                 Analysis Tool




                                                        2114

                                        s
                            Analysis Tool Flag
                                                            N         V            2116
                                     Set?

                                                                 Clear Output
                                    Y
                                                                     Flag
                                                    2118

                                     More
                                   Analysis                         A
                                                        N
                                    Toos?                                        尸 2120
                                                                    Apply
                                    Y                               Logic
                                                                  Inversion



                                                                     End




                              Fig. 21


                                               22




                                        Appx914
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      Fig. 22


                                      23




                                  Appx915
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                                                                     1



 SEIZURE SENSING AND DETECTION USJNG AN                                  generally have a high risk of complications, and can often
           IMPIAN IABLE DEVICE                                           result in damage to 匚]。디u이n (Lc., functionally important)
                                                                         brain regions and the consequent long-term impairment of
               FIELD GF THE INDENTION                                    various cognitive and other neurological functions. Further­
                                                                         more, for a Vari리y of reasons, such sur융ical trcatmcnls arc
[0001] TEr invenlion relates lo syslems jnd methods for                  coniraindicatcJ in a substaniial number of paüenis. And
detec ling and predicting neurological ciysfunclion charac-              unforlunaleiy, even after radical brain surgery, many epi-
lerizecl by abnormal eleclrographic paUerns, and more par­               l미:旧y p가i하Its arc still not sei?iirc-free.
ticularly to a syslcm and m이hod for detecting and predicling
epileptic seizures and lheir onsels by analyzing electroen­              [00G9] Electrical st I mu I at ion is an emerging therapy for
cephalogram and ¢icctrocorticcgram signals with an                       ireaiing epilepsy. However^, currcnily approved and avail­
implaniable device.                                                      able electrical stimulation diwiccs apply continuous electri­
                                                                         cal siimulation to neural tissue surrounding or near
          BACkC/ROUND Ob' l llE INVENTION                                implanted electrodes, and do noi perform any detection一
                                                                         Ihey are not responsive i〇 relevant neurologic a I cond ilions.
[(MH^2] Epilepsy, a neurological disorder cliaraclerized by
lhe occurrence of seizures (specilically episodic impairment             [0010] The NcuroCyherneuc Proslbcsis (NCP) fre^m
                                                                         Cyberonics, for example, applies continuous eleclrical
or loss of consciousness, abnormal motor phenomena, psy­
chic or sensory dislurb a nces, or lhe pcrlurhalion of lhe               stimulation to ihc patient's va옹ys nerve. This approach has
aulonomic nervous system\ isdtbili[制ir닠 to a great number                been foil nd to reduce sciimres by about 50% in about 50%
of people, [t is believed ihai as many as two to four million            of patients. Unfortunaiely, a much 보rcamr rcduciion in lhe
Americans may sulivr from various forms of epilepsy,                     incidence of seizures is needed to provide clinical benefit
Research has found lhal its prevalence may be even greater                ITie Activa device from Medlrtinic is a peciorally implanted
worldwide, parlicularly in less economically developed                   conlinuous deep brain stimulator intended primarily to treat
nations, suggesting that lhe worldwide ligure for epilepsy               Parkinstm's disease. In operation, il supplies a conlinuous
suR'erers may be in excess of one hundred million.                       eleclrical pulse stream to a selected deep brain structure
                                                                         where an electrode has been implanted.
[0003] Because epilepsy is chafacicrizcd by seizures, its
sufferers arc treque tuly limited in ihe kinds of activities they        [0011] Continuous stimulation of deep brain struc lures for
may panic ip a ic in. Epilepsy can prt기eni people from driv­             lhe treatment of epilepsy has 1101 ni以 with eonsistcni .suc­
ing, working, or otherwise parhcipalin암 in much of what                  cess. lb be        부e in tormina ling seizures, ii is believed
society has lo offer. Some epilepsy suÈerers ha부e serious                lhal one efl'ective sile where slimulalion should be per-
seizures so I'requenlly lhal they are e flee lively incapacilaled,                蒔 nyar lhe focus of th¢ ypikplogt;nic region, The
                                                                         focus is oflen in lhe ncocoricx, where conlinuous slirnula-
[0004] Furthermore, epilepsy is often progressive and c놔n                lion may cause significanl neurological deficii with clinical
be associaletl with degener alive disorders and con dilions.             symploms including loss of speech, sensory disorders, or
Over time, epileplic seizures often become more frequent                 involuniary motion. Accordingly, research has be나n di reel cd
and more serious, and in particularly severe cases, are likely           toward aulomalic resptjnsive epilepsy Irealment based on a
lo lead to tlelericralicn of olher brain funclions (including            dcteciion of imminein seizure.
co음nilivc ftinct ion) as well as physical impairments.
                                                                         [0012] A lypical epilepsy patieni experiences episodic
[(MI05] The current state of ihc art in Ucaling ncumlo옹ical              allacks or seizures, which arc generally ciccirographically
disorders, parlicubrly epilepsy, typically invfH^cs dr^g                 cichncci as periods of abnormal neurological activity. As is
therapy and surgery. The first approach is usually d「嘤                   iradiiional in the art, such pcricxls shall be referred to herein
therapy.                                                                 as W"
[0006] A number of drugs are approved and available for                  [0013] Most prior work on Ihe^ deled ion and responsive
Ire a ling epilepsy, such as sodium valprcale, phene barbital/           ireaimeni of seizures 기ia eleclrical siimu lalion has focused
primidone, elhosuximide, gabapentin, phenyloin, and car・                 on analysis of eleclmencephalogram (EEG) and electroct>r-
bamazepine, as well as a number of ot hers. Unlorlunatcly,
                                                                         licogram (ECoG) waveforms, h】general, EEG signals rep­
ihosc drugs typically have serious side eft'ccts, especially             resent aggregate neuronal activity poicntials dciccublc via
loxicity* and it is cxircincly impomnt in most cases to                  elecirodcs applied loapatic^fsscafiL ECoG signals, deep­
mainiain a precise I her ape u lie serum level lo avoid break-           brain couiiicrpans to EEG signals, arc delectable 기ia dec­
ihreugh seizures (if ihc do;聲네e is 100 low) or toxic effects (if         irodes implanted on or under lhe dura maier, and usually
lhe dosage is loc high). Thじ need lor pa lien I discipline is            within lhe patient\ brain. Unless the context clearly and
high, especially when a patieni s drug regimen causes                    expressly indicates otherwise, lhe term ''EEG" shall be used
unpleasant side effects the palienl may wish lo avoid.
                                                                         옴ener记ally herein lo refer lo both EEG and ECoG signals.
[。0(}기 Moreover, while many palients respond well E
                                                                         [ÜÜ14] Much of lhe work on cleieclicn has focused on lhe
dni목 lhc「apy alone, a 薊giHfic뫼H number (at least 30-30%)
                                                                         use of lime-domain analysis of EEG signals. See, 〇釦 丄
do noi, I'or those patients, surgery is presently lhe best-
                                                                         Gotman, Auiomatic seizure detection： improvements and
esiablishcd and most viable alternative c。비r知 of ircalnient.
                                                                         ewlualioD, Eketroencephalogr, Clin. NeurophysioL 199Ü;
[(MIOS] Oirrently practiced surgical approaches include                  76(4): 3丄7-24. In a lypical lime-domain detection system^
radical surgical re seclion such as he m isphe re eitjmy, eorti-         EL¢} signals are received by one or more implanted elec­
ceclomy, lobectomy and partial lol?eclomy, anti less-radical             trodes and I hen processed by a ccnlrol module, which then
lesionectomy, tra nsection^ and stereotactic ablation. Besides           is capable of performing an action (inlervenlion, warning,
being less than fully successful, these syirgicaJ approaches             recording, etc.) when an abnormal event Is dctceied.



                                                                 24




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[(M)15] h is generally preferable lo be able to detea and              [0020] A more computationally demanding approach is to
   깨 a seizure at or near its bcgimim告 or even before ii               Iransform EEG signals into the frequency domain for rig­
begins, I'he beginning of a seizure is referred tc herein as an        orous sped rum analysis. Sec, e.g., U.S, Pat, No, 5,995 ^68
"onset/' However, it is important lo note that there arc two           to Dorfincisicr ct at, which analyzes the power spectral
general varieties of seizure onsels. A **clinical 011set" repre­       density of EEG signals in comparison to background char-
sents lhe beginning of a seizure as manifested through                 actcrisrics. A]나】ough this approach is 쏘栏nerally bthiR，니 to
obserxable clinical symptoms, such as invclunlary muscle               achieve 승。üd results, for Lhe most pari, its computational
movements or neurophysiological effects such as lack of                expense renders it less than optimal for use in k，n독-term
responsiveness. An "'eleclrographic onsef" refers to the               implanted epilepsy monitor and 村匕註拍吒미 devices. With
beginning of detectable electrographic activity indicative of          current technology, the battery life in an implantable device
a seizure. An eleclrographic onset will frequently occur               compulaticnally capable of performing lhe Dorfmeistcr
before lhe corresponding clinical onset, enabling interven­            method would be too shon for ii to he feasible.
lion before the parient suffers symptoms, but that is not
                                                                       [0021] Also rcpreseniing an ahürnau기，よ and more complex
always lhe case. In addition, there are changes in lhe EEG
                                                                       approach is U.S. Pal. No. 5,857,978 to Iliveiy el al., in which
that occur sect)nds er even minutes before lhe electrographic
                                                                       various non-Linear and statistical characteristics of EEG
onset lhal can be idenliüed and used to faeilitale inlervention
                                                                       signals are analyzed to itlenlify lhe cnsel of ictal aclivily.
before decirographic or clinical onsets occur This capabil­
                                                                       〇|ICC more, the calculation of siatistically relevant charac-
ity would be considered seizure prediction, in con Iras I 心 the
                                                                       Icristics is not believed to be feasible in an impbntahk
cicicction of a seizure or its onset,
                                                                       dwir¢,
[0016] In the Goiman system, EEG waveforms are filtered                [0022] US Pat No, 6,016,449 to Fischell, et al, (which is
and decomposed into '*features*' representing characteristics          hereby incorporated by reference as I hough s리 forth in full
of interest in the waveforms. One such L'ealu re is character・         herein), ¢kscribes an imphntabk seizure detection and treat­
ized by the regular occurrence (lじ.，density) of half-waves             ment system. In the E'ischell system, various detection
exceeding a threshold amplitude occurring in a specißcti               melhotJs are possible, all of which essentially rely upon lhe
frequency band between approximately 3 llz and 2()llz,                 analysis (either in the time domain or the frequency domain)
especially in cemparrson to hack옼「ロund (non-iclal) aelWHy.             of processed EEG signals,              controller is preferably
When such half-waves arc deiceied, it is believed that                 implanted iniracranially, hut other approaches are also p町
seizure activity is occurring For related approaches, see also         sibie, including lhe use of an external controller. When a
11. Qu and J. G미man, A seizure warning system for long                 seizure is detected, the FrschcU system applies responsive
lerm epilepsy monitoring. Neurology 1995; 45: 2흐5다-4; and              electrical slimiilaiion ic terminate lhe seizure, a capabiliiy
H. Qu and J. Goiman, A Palient-Specific Algorithm for the              lhal will be discusseti in furiher dclail below.
Detection of Seizure Onset in I.ong-Tcrm EEG Monitoring:
Possible Use as a Warning Device, iEEL fra ns. Biomed,                 [0023] All of these approaches provide useful infer ma lion,
Lng. 1997; 44(즈): 115我그.                                               and in some cases may provide sufficient information for
                                                                       accurale de led ion and prediction of mosl imminenl epileptic
[0017] The Gotman arlieks address half wave character-                 seizures.
islics in general, and inlFoduce a variety of measurement
erheria, including a ratio of currenl epoch amplilude to               [0(124] However, none of lhe various implementations of
background;            current epoch EEG frequency; average            lhe known approaches provide 100% seizure detection accu­
back형round EEG frequency; coelHcient of variation of wave              racy ip a clinicaJ cnvironmenL
duration; ratio of current epoch ampliiudc lo fEl^win오 time            [0025] Two types of dcteclion errors arc generally pQs-
period; average wave amplitude; average wave duration;                 sibie, A''false positive/' as the term is used herein, refers to
dominant frequency (peak frequency of the dominant peak);              a d&lecti다π of a seizure or iclal aclivily when no seizure or
and average power in a main energy zone. These criteria are            other abnormal trvじnl is actually 。じじurriti냥. Similarly, a
나]ifiou노ly mapped into an n-dimensional space, and whether             “false negative" herein refers to the failure to delect a seizure
a seizure isdelecled depends cn the veclor dis La nee belween          or i거al activity thal actually is occurring or shortly will
The parameters of a measured segment of EEG and a seizure              occur
template in that space.
                                                                       [0026] In most cases, with all known implementations of
[0018] It should be noted that ibe schemes set forih in 仕i心            lhe known approaches to detecting abnormal seizure activity
北口VC articles arc nci tailored for use in an implantable               solely by monitoring and analyzing EEG activity, when a
device^ anti hence typically require more computational                seizure delccliort algorithm is tuned to catch all seizures,
ability than would be available in such a device,                      there will be a significant number of false positives. While
                                                                       it is current ly believed that there are minimal or no side
[(MU 9] US Pat. No. 6,018,682 lo Rise describes an
                                                                       effects to limited amounts of over-siimulation (eg, provid­
inipbntahlc seizure warning sysicm that implements a form              ing stimulation suflicienl lo lerminale a seizure in response
of the Got man system. However, the system described
                                                                       lo a false positive), the possibility of accidentally initiating
therein uses only a single tieieclicn modality, namely a count         a seizure or increasing the paljeπt\ susceptjbiI ily lo seizures
of sharp spike and wave patterns within a limer period. This
                                                                       mu SI be conskkrc<L
is accomplished with re hi lively complex processing, includ­
ing 旳eraging over time and quantifying sharpness by way                [0027] As is well known, it has been s낦ggested th加 it is
of a second denvaike of lhe signal. The Rise patent ¢loes not          possible to I re al and lerm inate seizures by applying electri­
disclose how the signals are processed at a k)w level, nor             cal stimulation to lhe brain. See,じ.g., U.S. Pat. No. 6,016,
does }[ explain de ted ion crileria in any sulEciently speci lie       449 lo Fischじ] I 리 aL, and II. R, Wagner, el al., Suppression
level of dctaiL                                                        of cortical cpilcpiiform aclivity by gene 国 I 位c거 and localized



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                                                       Appx917
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ECoG desynchronization, Electroenccphalogr, Clin. Ncuro-                 and yci has adi御uatc baitcry life and the consequent accept­
이]ysioL 1975; 3%5)： 499-506. And as stated alxwc, h is                   ably low risk factors for use in human patients.
b니hwed to be beneficial to perform this sUmulaiion only
when a seizure (or ether undcsired ncu re logic al cveni) is                         SUMM/XRY OF 丁HE INVEN HON
occurring or aboul lo occur, as inappropriate slimiilation
may result in the iniliaiion of seizures,                                [0035] Atb「苗n낭ly, an implantable device aoxirdiri낭 to
                                                                         lhe invention for delecting and predicting epileptic seizures
[()028] Furthermore, it should be noted that a false nega­               includes a relaiively low-speed and low-power central pro-
tive (that is, a seizure thal occurs without any warning or              ccssin음 unit, as well as cusiomizcd electronic circuil mod­
treatment from the device) will often cause the patient                  ules in a deled ion subsyslem. As described herein, lhe
significanl cl i scorn fort and dclrimcnt. Clearly, false nega-
                                                                         dctcclicn subsystem also performs prediction, which in the
lives arc to be avoided.                                                 coniext of the preseni iipplication i& a form of detection that
[0029] h has been found lo be difficult to achieve an                    occurs before ideniifiabic clinical symptoms or even obvious
acceptably low level of false posili기es and false negatives              eleeirographic patterns are evident upon inspeclion. 'fhe
with the level of eompu blional ability available in an                  same m미血_乂氐, potenhally with different pa rammer& jre
impla미able device with reasonable battery life.                          adapted lo be used for both tleleclicn and pretiiclion. Gen・
[()030] Preferably, the battery in an implantable device,                erally, as described herein, an event (such as an epileptic
                                                                         sei河re) may be dele기ed, an electrographic “onset" of such
paniculariy one implanted intracranially, should Iasi al least
several years. There is a substantial risk of complications              an event (an electrographic indicalion of an event occurring
(such as infeciion, blood clots, and the ovcrgrowlli of scar             al the same lime as or before 由¢ clinical cvcni begins) may
tissue) and lead failure each lime an implanted <levice or its           be d미너 (and may be characterized by different wave­
baiiery is replace이, Rechargeable batteries have no I been               form obscB^aticiis than the weni itself), and a "prccurst^< ic
found lo provide any advantage in this regard, as they are not           an event (elecirographic activity regularly occurring some
as efficient as [「adilional cells, anti the adüJiional eleclronic        lime before ih나 clinical eveni) may be deiecied as predictive
circuitry required to support the recharging operation ccn-              of Lhe event.
Iribules Iti the device's size and complexity. Moreover, there           [0036] As descfibeci herein and as the terms are generally
is a need for patient discipline in recharging the device                understood, the preseni approach is generally noi sUlistical
batteries, which would require Ehe frcquenl transmission of              or siochaslic in naiure. lhe invention, and particularly lhe
a subslantial amo나ni of power over a wireless link and                   deicclicn suhsysicjTi ihereof, is specifically adapicd to per­
through the palicnfs 나]in and olher tissue.                              form much of the signal processing and aoalysis requisite for
[(Mßl] As slated above, the tie led ion and prediction of                accurate and efi'ectivc e기em detection, I he central process­
ielal activity has iradilionaJly required a significant amount           ing unit remains in a suspended "sleep” state characterized
of compu rational ability. Moreover, for an implantetl device            by rEalW崂 iniieiivity a substantial percentage of the lime,
to have significant real-world uiiliiy, it is also advantageous          and is ptiriodi#솨lly awakened by interrupts from ihc <ktcc-
lo include a number of other lea lures and capabilities.                 lion subsyslem lu perform certain I asks rdaltxi to the de tec・
Specifically, treatment (via electrical slimulation or drug              lion and predict ion schemes enabled by lhe device.
infusion) and/or warning (via an audio annunciator, lor                  [0037] Much of lhe processing performed by an impkn기*
example), recording of EEG signals for later consideration               able syslem according to the invention involves operations
anti analysis, and lelemetry providing a link lo exlernal                on digital data in the time domain. Preferably, to reduce the
equipment arc 疝 useful capabilities for an implanted device              amount of data processing required by the invention,
capable of dcteeling or prsdiEin빟 epileptiform signals. AU               samples at ten-bit resolution arc taken at a rate less tkin or
of these add 냐 lonal subsystems will consume further power,              equal lo approximately 50Ü llz (2 ms per sample).
[0032] Moreover, size is also a consideration. For various
                                                                         [Ü03S] As slated above, an implantable system according
reasons, inlracranial implanls are favored. A device
                                                                         lo lhe invention is capable of accurate and reliable seizure
implanied inlracranially (or ii nder lhe scalp) will lypieally
                                                                         detec lion and pre di cl ion. lb accomplish I his, lhe invention
have a lower risk of failure than a similar device implanted
pecloraily or elsewhere which require a lead ki be run from              employs a combination of si득ロal processing and analysis
                                                                         TTiodalilies, including data reduclion and feature extraclion
ihc devic¢, through the patient\ neck to ihc electrode
                                                                         lechniqucs, mosily implemented as customized digital elec­
implanialion siies in ih바 pahst's head. ITiis lead is also
                                                                         tronics modules, minimally reliant upon a central processing
prone lo receive additional eledrcmagnetic interference,
                                                                         unit
[0033] As is well known in lhe iirt, lhe ccmpulational
abilily of a processt^r-contro 1 led 묘ySiem is direclly related to       [0039] In particuhir, ii has been found to be advanlageous
both size and power eonsiimplion. In accordance with lhe                 lo utilize two dilTerentdala reduction methodologies, both of
above considerations, lhe re fore, il would be advantageous to           which coHecl data representative of EEG signals within a
have suffiejcnt detection and prediction capabilities to avoid           sequence of uniform time windows each having 교 speeiJied
a substantial number of false posilive and false negative                ciurahon,
ciciecticns, and ycl corLSumc iinie enough power (in con­                [004¢}] The first daia reduction methodology involves the
junction wiib the other subsystems) to enable long battery               calculation of a "liiiü lenglh function" for an ELG signal
life. Such an implaniable device would have a relaiively                 within a lime window, Speくこitically, the line Itロ힘ih function
low-power central processing unit lo reduce ihc ckclrical                of a digilal signal represents an accurnulation of lhe sample-
ptjwer ctinsumed by thal porlion.                                        lo-sample amplitude variation in lhe EEG signal within Ihc
[0034] Al lhe current lime, there is no known implantable                lime window. Stated an이her way, the line length function is
device 山꾀 is capable of detecting and prediciing seizures                Fcp「¢阪ntaH기<: of lhe variability of the input signal. A con-



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snni input signal will ha부¢ a line length of zero (rep rose il­           lime window is constrained somewhaT by the durauon of
lative of substantialJy no variation in the signal amplitud¢),            each hMf wa도。(i.Cf if the half 林'£w；s in a time window have
while an input signal ihai oscilbtes beiween extrema from                 particularly long d나r쵸lion& relatively fewer of them will fii
sample to sample will approach the maximum line length. It                into the time window),【h如 number is highest when a
should be n이ed ihaL while the line length funclion has a                  dominant waveform frequency mosl closely matches the
physical-world analogue in measuring the veclor distance                  frequency corresponding to the minimum duration criterion,
traveled in a graph of lhe inpul signal, the concept of line
                                                                          [0046] As stated above, Lhe half waves, line length lune­
length as treated herein disregards the hori^ionbl (X) axis in
                                                                          lion, and area function of various EEG sign 기s are calculated
such a situation. The horizontal axis herein is representative
                                                                          by customised electronics modules with minimal invQ]가c-
of time, which is not combinable in any meaningful way in
                                                                          mem by the central processing 기nil, and arc selectively
accordance with Lhe invention with information relalin몽 to
                                                                          combined by a system according to the invention to provide
lhe vertical (Y) axis, generally represent it tive of ampiimde,
                                                                          üelecliün and prediction of seizure acii기ily, so lhat appro­
and which in any event would CQnlrilNHc nothing of interest.
                                                                          priate action can ihen be taken,
[0041] rhe second data reduction met hodology involves
lhe caLulaiion of aロ "area         거 represenieJ by an EEG
                                                                          [0Ü47] Accordingly, in one emhodimenl of lhe invention,
                                                                          a sysiem according I<i the invention includes a central
signal within a Lime window. Specifically, the area function
                                                                          processing uni，a detection suhsystem located therein thai
is c이¢ulated as an agg regal ion of the EEG's signal total
                                                                          includes a wave term analyzer The waveform analyzer
deviation from zero over the time window, whether positive
                                                                          includes waveterm feature analysis capabilities (such as half
or nügai浦¢ fhe mathematical analogue for the area function
                                                                          wave characteristics) as well as window-based analysis
defined above is ihc mathematical inicgral of 比¢ absolute
                                                                          cap ahi lilies (such as line length and area under lhe curve),
나]山1¢ of the EEG fii net ion (as both pcsilivu and negative
                                                                          and both aspects are combined to provide enhanced neuro­
signals coniribuic io posHwe area). Once again, lhe hori-
                                                                          logical €니cni deieciion. A central prtjcessing unit is used to
zonlal axis (time) makes no conlribulion lo accumulated
                                                                          consol id ale lhe results from muiliple channels and ctxirdi-
energy as Ircated herein. Accordingly, an input signal that
                                                                          nate responsive a cl ion when necessary.
remains around zero will have a small area value, while an
input signal that remains around lhe mosh positive or mcsi-                     BRIEF DESCRIPTION OF THE DRAWK4GS
nc음a live values will have a high area value.
                                                                          [0048] These and other objects, features, and advantages
[0042] Bcih the area and line lengih fund io ns may                       of the irwtnlion will become apparent from lhe detailed
undergo linear or non-linear transfermat ions. An cxainple                description below and the agjmpanyiロ파 drawings, in
would be to square each amplilude before summing il in lhe                which:
area function. I his non-linear operation would provide an
output that would approximale the energy of the signal for                [0049] FKk I js a schematic iUustration of a patient's
lhe period t)f lime it was inlegraled. Likewise linear and                head showing lhe placcmcni cf an implaniablc ncurcstimu-
non-linear transform alio ns of the difierence beiween sample             la lor accordin옹 心 an embotlimenl of lhe inversion;
values are advantageous in cuslomizing the line length                    [U050] FIG. 2 is a schematic illustralion of a parent's
function lo increase the etVect iveness of the üeteclor for a             cranium showing lhe implaolablc neurosiimulator of FIG. 1
specific palienL                                                          as jniplanled, including leads extending lo the patient's
[。〇43]   The ceiilral processing unit receives Lhe line length            brain;
function 솨 nd area function measurements perfcrmctl by the                [0051] FTG 3 is a block diagram illusiratin홈 contest in
deicction .subsystem, and is capable of acting based on these             which an implaniabk neurostimulator according tc ihu
measurements or their trends,                                             invention is implanted and operated;
[0044] Feature extraction, specifically the idemification of              [0052] FIG, 4 is a block diagram illu引 ralin몸 i把 major
half waves in an EEG signal, also provides useful informa-                functional subsyslems of an implanlable neuroslimulator
lioir A half wave is an interval helwcen a local waveform                 according to the invention;
minimum and a local waveform maximum; each time a
                                                                          [0053] FItk 5 is a block diagram iUuslraling Lhe func­
signal "chan놈〔汚 dire기kins” (from increasing lo decreasing,
or vice versa), subject to limn al io ns that will be set forth in        tional components of the dciection subsystem of the
further detail below, a new half wave is idcnliflcd,                      impla기法k； ncvrosrimulator shewn in FIG* 4;
                                                                          [0(154] FIG 6 is a block diagram illustrating the func­
[0045] The identification of half waves having specific
                                                                          tional com pone nis of lhe sensing front end of the de lee lion
amplilude and duration c rile ria allows some frequency-
                                                                          subsyslem of FIG. 5;
driven 나｝ ar aciほ ri敏 iじ노 of the ELG signal lo be con side retl and
analyzed without the need for computationally intensive                   [0U55] FIG. 7 is a block diagram illuslraling lhe ccimpo-
iransformations of normally timc-demain EEG signals into                  iicntfi of lhe waveform analyzer of the detection subsyslem
the frequency domain. Specifically, lhe half wave feature                 of H(k 5;
extr紅Hon capability 아' the invention idcniifics those half
                                                                          [0056] FIG, S is a block diagram illu뇌raiing lhe 印ロレ
waves in the input signal having a duration that exceeds a
                                                                          üoimI arrangcmeni of components of lhe waveform analysis
minimum dura lion criterion and an amplilude that exceeds a
                                                                          of the d리e니icHi subsyslem of FIG, 5 in one possible
minimum amplitude criterion. The n기mber of half waves in
                                                                          programmed embodiment of lhe invention;
a lime w indew meeting those criteria is somewhai re pre-
senlative of Lhe amcunl of energy in a waveform at a                      [0057] Kitk 9 is a 농raph of an exemplary EEG signal,
frequency below lhe frequency corresponding to the mini­                  il lust rail ng decomposilion of the signal into lime windows
mum duration criteriaAnd the number of half waves in a                    and samples;



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        I KL 10 is a graph of the exemplary EEG signal of             neurological events) and providing electrical stimulation to
Fig 9, iUusirating the extraction of half waves from the              neural tissue in response to lhat activity, where the clecirical
signal,                                                               srimuialion is specifically iniended lo terminate the ictal
                                                                      activity, treat a neurological event, prevent an unwanted
[0059] FIG, 11 is a flow 나｝an illuslraiing the precess
                                                                      neuKjkigical event from occurring, or lessen the severiiy or
performed by hardware functional components of lhe wave­
                                                                      frequency of ccriain sympioms of a ocurological disorder.
form analyzer of FIG. 7 in exiracling half waves as illus-
                                                                      As tl isclosed herein, lhe responsive neurostimulator detects
Iraled in Fit；, 10;
                                                                      (cial activity by systems and methods according to the
[()060] FK；. 12 is a Hew chart iiluslrating the prcicess              invenlion.
performed by software in the central processing unit in               [0073] Preferably, an implantable device according i〇 Lhe
extracting and analyzing half waves from an EEG signal;               invcniicn is capable of detccling or predicting any kind of
[0061] FIG. 13 is d flow 나]m illustrating the process                 neurological event that has a representative clccirograpbic
perrormed by soflwarc in lhe ceniral processing unit in the           signaiure. While lhe disclosed embodiment is described
applies lion of an X of Y criterion lo half wave windows;             primarily as responsive to epileptic seizures, it should be
                                                                      recognized lhal it is also possible lo respond lo other types
[0062] FIG. 14 is a graph of lhe exemplary EEG signal of              of neurological disorders, such as movement disorders (eg
FIG. 9, iUuslraling the calculation of s line length funciion;        lhe tremors characterizing Parkinson's disease), migraine
[0063] FIG* 15 is a How chart 11 Just rati ng the process             headaches, chronic pain, and iicuropsychiatric disorders
performed by h 솨 rdwar¢ functional components of lhe wave­            such as depression. Preferably, neuro logical events repre­
form analyzer of FIG. 7 in calculating the line length                senting any or all of these afflictions can lx： detected when
function a苫 illustrated in FIG. 14;                                   ihey are actually occurring, in an onsel stage, or as a
                                                                      predictLve prccur：i〇r before clinical symptoms begin,
[0064] FIG. 16 is a flow chart illustrating the precess
performed by software in the central processing unit in               [0074] In the di#こk眦d embodimeni, lhe neurostimulator
cdcu lating and analyzing lhe line length funclion of an EEG          is implanted i가racfanially in a palie기's parietal bone 210,
signal;                                                               in a i oca lion anlericr lo lhe lainbJoitlal sulure 212 (sec F[む.
                                                                      2). Il should he noted, however, lhat lhe placement described
[(MI65] ドIt；・ 17 is a 독raph of lhe exemplary EEG signal of            and illustrated herein is merely exemplary, and other I oca*
FIG, 9, illustrating lhe calculation of an area function;             tioiis and c이折gurations arc also possible, in the cranium or
[0066] FIG. 18 is a flew chart illustrating the process               elsewhere, depending on lhe size and shape of the device
performed by hardware functional components of lhe wave­              and individual patient needs, among other factors, fhe
form analyzer of FIG, 7 in calculating lhe area function as           device 110 is preferably configured lo fil lhe contours of lhe
illustrated in FIG, 17;                                               patienfs cranium 214. In an allernalivu embodimeni, lhe
                                                                      device 110 is implanted under lhe paiicnfs scalp 11 고 but
[(MI67] FIG. 19 is a flow chart illusiraling the process              external lo lhe emniurn; il is expected, however, lhal Ihis
performed by software in the ceniral processing unil in               configu ration would generally cause an                    protru­
calculating and analyzing the area function of an EEG                 sion in lhe patient's scalp where lhe device is located. In yet
signal;                                                               anolher alternative embodimeni, when it is nol possible to
                                                                      impl기U the device intracfanially, Jt may he implanted pec-
[痢成]     FIG- 20 is a flow 나)沁 illustrating the process
pertornied by event-driven software in the central process­           lorally (not shown), with leads extending through the
                                                                      pal lent's neck and between the patient's cranium and scalp,
ing unit to analyze half wave, line length, and area infor­
                                                                      as necessary.
mation for detection according to the invcniion;
                                                                      [0075] It shot! Itl be rMOgロi加어 lhat the embodiment of the
[0069] FIG. 21. is a flew chart illuslraiing lhe combination          device ilO described iind illusiraied herein is preferably a
of analysis tools into deieetioo channels in an embodimeni            responsive neuroslimulator for delecting and treating epi­
of the invention; and                                                 lepsy by detecting seizures or their onsets or precurstirs, and
[()07이 FIG. 22 is a flow charl illuslraling lhe combinalion           preventing and/or terminating such epileptic seizures.
of detection channels into event detectors in an embodiment           [0076] In an alter native 댜꾀mdE預 nt of the invention, the
of the indent血L                                                       d¢부icü 110 is noi a responsive neurosiimu later, but is an
                                                                      apparatus capable of delecting neurological conditions and
           BE IAILED DESCRiPTlON OF HIE                               events and performing aeiicns in response lhereto. The
                     irWENTI이니                                        actions performed by such an eniboclimcni of the device 110
                                                                      need nol be therapeutic, but may involve data recording or
[0071] The invention is described below, with reference Io            Iransmisskin, providing warnings to ilic patient, or any of a
detailed U tustrative embodiments. It will be apparent that a         number of known aUernadve aclions. Such a device will
system a じcording to the in venlion may be embodied in a              typically act as a diagnostic <Icvicc when interfaced with
wide variciy of forms. Consequently, the s꽈wifi# structural           external cquipincnl, as will be discussed Jn further detail
and Éiinclional details disclosed herein arc represcnlalivc and       below,
cio nd limit the scope of the iiwcnlioiL
                                                                      [0077] I'he device 110, as implanted iniracranially, is
[0(172] FIG, I depicts an intracranially implanted device             iliu SI rated in greater detail in FIG. 2. The device 110 is
no according to the in ven I ion, which in one embodiment is          allixed in lhe palwnt's cranium 214 by way 나£' a ferrule 216.
a small self-contained responsive neurostimulator. As the             The tcrrulc 216 is a structural member adapted lo fil inio a
term is used herein, a responsive neuroslimulator is a device         cranial opening, aUach Ic the cranium 214, and retain Lhe
capable of d미cEin독 or prediclm목 ietM activity (or other               device 11(，.



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[聰78]     Tq implant the device 110, a craniotomy is per-              growth, so at cxplant, the device 110 can be replaced without
tormed in the parietal hone anterior lo the lambdoidal suture          removing any hone screws一only the fasteners retaining the
212 to delinc an epening 218 slightly larger than the device           device 110 in the ferrule 216 need be manipulaied.
110. The ferrule 216 is inserted into the opening 218 and
affixed lü the cranium 214, ensuring a tight and secure fit,           [0083] As stated above, and as illustrated in FIG, 3, n
The device 110 is then inserted into and affixed to ihe ferrule        neurostimulator according lo the invention operates in etin-
216.                                                                   j unci ion with exiernal equipment. fhe <levicc 110 is mostly
                                                                       ault)nt)mcus (particularly when performing its usual sensing,
[0079] As shown in VKk 2, the device 1H) inetucics a kaci              cicicction, and stimuJaiion capabilities), but preferably
connector 22。adapted to receive one or more electrical                 includes a select able part-time wireless link 310 to external
leads, such as a first lead 222, I'hc lead connecicr 220 acts          equipment such as a programmer 312, In the disclosed
to physically secure the lead 222 to the device IIG, and               embodiment of the invention, the wireless link 310 is
£acilitates electrical connection between a co nd net or in the        established by moving a wand (or other apparatus) having
Lead 222 coupling an electrode lo circuitry within lhe device          communication capabitilies and 8기p】©d to lhe programmer
110. The lead ecmneclor 220 accomplishes I his in a subsian-           312 ink) range of lhe device 110. The programmer 312 can
Ually ßuid-tight environmenl with biocompatible malerials.             ihcn be used to nianuaily control the operation of the device
                                                                        llU, as well as 心 transmil in form iU ion to or receive infor-
[(MISO] The lead 222, as illustraled, and other leads for use          maiion from the device ll(k Several specific capabilities and
in a system or method according to ihc in고enH皿 is a                    opera I io ns pe 하hrmed by lhe programmer 312 in co nj uncl ion
flexible e]〇n왐alcd member having one or more conductors.               with the device 11。will be describe ci in further detail below,
As 가]。wn, I he lead 2고2 is g남pkd lo lhe ds成龙 110 니ia the
Lead conneclor 220, and is generally situated on the outer             [。〇84]    J he prtjgrammer 312 is capable of performing a
surface of the cranium 214 (and under lhe paiienlS scalp               number of a너vaniagcm国 operations in connexion with the
112), extending between lhe device 110 and a burr h<ile 224            invention. [n particular, the program mer 312 is able to
or other cranial opening, where the lead 222 enters the                specify and set variable pararneiers m Lhe device 110 to
cranium 214 and is coupled 心 a depth electrode (see Fl(k               adapt the function of Lhe device 110 to meet lhe patient's
4) implanted in a desired location in lhe patient\brain, [f the        needs, download or receive dala (in니uding bul no I limiled
Is坦바1 oF The lead 그22 is substantially greater than the                lo stored EEG waveforms, parameters, or logs of actions
disiance between lhe device 110 and the burr hole 224, any             taken) from the de부ice 110 I。(hi; programmer 312, upload
excess may be urged into a coil configuration 기ロdcr the scalp          or transmit program cckIc and other information from the
112. As described in U.S. Pal. No. 6/)06,124 to I'ischell, et          programmer 312 lo lhe device 110, or command lhe device
al., which is hereby incorporated by reference as though sei           110 to perform specilic actions or change modes as desired
Forth in Full herein, the burr hole 224 is sealed after implan-        by a physician operaiing the programmer 312. lb facilitate
lalion 10 prevent furl her mcvcmcni of the lead 22고; in an             these functions, the programmer 31고 is adapted lo receive
embodiment of lhe inveotioo, a burr hole cover apparatus is            physician iロp기i 314 and provide physician output 316; data
affixed to lhe cranium 214 al least partially within lhe burr          Is transmiUed be Iween lhe programmer 312 and lhe device
hole 224 to provide this Lu nctitmality,                               110 over the wireless link 31〇.
[()081] The device 110 includes a durable ouler housing                [Ü0S5] The programmer 312 may be coupled via a com-
226 fabricated from a bi나compatible maleriaL Tilaniun\                 municalicn link       lo a network 32U such as lhe Inlernet
교'Inch is H맘hi, cxircmcly strong, and hiocompalibl¢, is used           This allows any information downloaded frotn lhe device
in             dü밈ices, such as cardiac pacemakers, and                110, as well as any program code or olher informalion !〇 be
would serve ad van la gmu sly in this context As the device            uploaded 10 the device 110, lo be stored in a database al one
11Ü issdl'-ccnlained^ the housing 226 encloses a baliery and           or more dal a reposilory locations (which may include vari­
any elccironic eireuilry necessary or desirable to provide lhe         ous servers and neiwork-connceied programmers like the
funclionalily described herein, as well as any olher features.         programmer 312). This wo나]d allow a padent (and lhe
As will be described in further detail below, a tekmetry coil          palie미's physician) to have access lo important data, includ­
may he provided outside 〇「lhe housing 226 (and potenlially             ing pasl Ireatmcnt information and st) flware updates, essen-
inicgratcd with ihc lead connector 22。) lo facililaic com­             ihliy anywhere in the world that there is a programmer (like
munication hctwccf] the device 110 and ¢xicrnal devices.               the programmer 312) ami a nciwcrk connect io il
[0082] The ncurostimulalor co nJigu ration 너第£:ril州 d                  [0086] An overall block diagram of lhe device 110 used
herein and illustrarcd in FIG, 2 provides several aWantages            for mcasuremeni, detcciicii, and trciiimem according lo lhe
over altemalive designs. I'irst, the self-conlained nature of          invention is illustrated in FIG. 4. Inside the housing 226 of
lhe neurosiimulaior subsianiially decreases lhe need for               lhe device 110 arc 卸니eral subsystems making up a conrrol
access tc Lhe device 110, al lowing the pa lien I to participate       module 41〇. The conlrol module 410 is capable of being
tn normal life activities. Its small size and Wilmwamal                coupled lo a plurality of electrodes 412, 414, 416, and 41S
placement causes a minimum of cosmetic disHguremenL                    (each of which may be connected lo lhe control module 410
The device 110 will fit in an opening in the padenfs                   via a lead lhat is analogous or idcnlical lo ihc lead 2고2 of
ennium, under the patienfs scalp, with little noticeable               Fi¢，2) for sensing and .마imiH기inn, Jn the illuslralcd
prolnision or bulge, llie ferrule 고 16 used for                        embodimeni, lhe じ。기pling is accomplished through lhe lead
allows the craniotomy io he performed and fit verified                 connector 220 (F[G 2). Although four electrodes are shown
without the possibilily of breaking lhe de고ice 110, and also           in FIG. 4, Lt should be recognized lhat any number is
provides protection against the device 11Ü being pushed into           possible, and in lhe emlxidimenl described in d이ail below,
lhe brain under external pressure or impact A further                  eight elemodes are used. In fact, il is possible to employ an
advantage is that the ferruk 216 receives any cranial bone             embodiment of lhe invention lhat uses a single lead with at



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Icasl two electrodes, or two leads each with a single elec­                [0091] Also provided in lhe control meJuk 410, and
trode (or with a second electrode provided by a conductive                 coupled to the memory subsystem 426 and th¢ CPU 냐고& is
exterior portion of the housing 고26 in one cmbodimeni),                    a communication subsystem 430, 4110 communication sub­
although bipebr sensing between two closely spaced eke-                    system 430 enables ecmmunicaiion between the device 110
irodes on a lead is preferred to minimize common meek                      (FIG, 1) and lhe outside world, pariicularly lhe exlernal
signals in(?l기ding noise.                                                  pm맘rammer 312 (FIG. 3), As set forth above, ihe disclosed
[(N眼기 The electrodes 412-418 are con Reeled to an elec­                    embodimenl of lhe ccmmunicalion subsystem 430 includes
trode inlerlace 42U. Preferably^ the electrode inlerlace is                a lekmetry coil (which may be situated outside of lhe
                                                                           housing 226) enabling Iransmissjcm and reception of signals,
capable qf s니eolin홈 each ckeiroäc as re디uked for sensing
and elimination; accordingly the ekclrocle inlerlace is                    lo or from an external apparatus, 가ia inductive coup 1 in
                                                                           Alternative cmlxidiments of the communication subsystem
coupled to a detection subsystem 422 and a stimulation
subsystem 424. The elect re de interface also may provide                  430 could use an ^nicnna for an RF link or an audio
any other features, capabiliiics, or aspecis, including but not            transducer for an audio link.
limiled lo amplification, 21atiüロ，and charge-balancing                     [0092] Rounding out lhe siibsystems in lhe control module
functions, that are required for a proper inierface with                   4L0 are a power supply 432 and a clock supply 434. Th¢
neurological tissue and not provided by any。I her subsystem                power supply 432 supplies the vollages and currenls neces­
of lhe device 110.                                                         sary for each of Ihc orher subsystems. The clock supply 434
[0088] 'Yhc detection subsysiem 422 includes an EEG                        supplies s반bstaniially all of the other subsystems whh any
analyser funciion. The EEG analyzer funciicn is adapted to                 clock and riming signals necessary for Iheir opera I ion,
receive EEG signals Erom lhe elcctrcxks 412-418, through                   [0093] 11 가xnild be 目Mered thiii while the memory sub­
lhe ckcirotic interface 420, and lo process ihose EEG sign솨Is              syslem 426 IS J1 lustra!ed in FIG. 4 as a separate fu ロclional
lo identify neurological aclivity indicative of a seizure, an              subsystem, the other subsyslem& may alsti require various
onset cf a seizure, or a precursor lo a seizure. One way to                amounts of memory tti perftirm the functions described
implement such EEG analysis funclionaUly is disclosed in                   above and others. Furthermore, while the control module
detail in U.S 一 PaL No. fi,016,449 to Fisc he II et 이 一, incerpf>-         41Ü is pr바'erably a single physical unh contained within a
r괴cd by reference above; additional inventive methods are                  single ロhvsic：솨 1 enclosure, namely lhe housing 226 (FIG. 2),
described in detail below. Th¢ clcicelion subsystem may                    it may comprise a plurality of spatially separate units ¢a가]
optionally also conlain further sensing and detection capa-                per terming a subset of the eapabiliiies described above.
bililics, including but not limited to                        from         Also, it should be noicci that ihc various trunciions and
other physiological co nd i I ions (such as e led rop h ysiolcgi cal       capabililies of lhe subsystems described above may be
pmiE이¢0 kmptratur¢, bk】。d pressure, eic.).                                 performed by elecrronic hardware, tximpuier st^ftware (or
[0089] The siimu 囱ion subsystem 4고4 is capable of apply­                   lirmware), or a combination ihereof Th¢ dwEskm of work
ing eleeirieal siimuklion lo neurological tissue through the               between Lhe ('PU 428 and the oiher functional subsyslems
electrodes 412-41S, This can be accomplished in any of a                   may also vary—    —furtciional dislinciicns illustrated in
number of tliÜ'erenl manners, I-or example^ il may be advan­               FlC；. 4 may not reJlect lhe integralion of functions in a
tageous in 앚)EC circumsiances to provide st imulaiion in the               real-world system or method atxürditi웅 to the invention.
form of a subslant (ally continuous stream of pulses, or on a              [0094] Htk 5 nil诚 EKS 小瀬ikmf lhe detection sul)$y미 cm
scheduled basis一 Preferably, therapeutic stimulation is pro­               42고 (FIG. 4). Inputs from Lhe elcclrodes 412-41N are on lhe
vided ill response Ic abnormal events detected hy ihe EEG                  left, 솨nd connections to other subsystems arc on the right,
analyzer funcijcn of the deicciicii s비bsy础¢m 422 As ilhis-
kated in FIG* 4, the stimubnon subsystem 424 and the EEG                   [0095] Signals received from the electrodes 412-418 (as
analyzer function of ihc detection 노uh^ysiじm 422 are in                    routed I h rough lhe e led rock interface 4고Ö) are          in
communication; this facilitates lhe ability t)f st i mu 1 at ion           an electrode selector 510, fhe eleetrodc selccior 510 allows
subsystem 424 to provide responsive siimihlion as well as                  lhe device to select which eke I redes (。1 lhe eleclrtxles
an abilily of lhe deled ion subsystem 422 to blank Lhe                     412-418) 나lould be muled lo which individual sensing
ampliiiers while stimulation is being performed lo minimize                channels of lhe de teclion subsyslem 422, based on com­
stimulation artifacts. Il is cmH이n며ated that ihc parameters                mands received through a control interface 518 from the
of lhe stiniulation signal (e.g., frequency^ duration, wave­               memory subsystem 426 or the CPU 42村(LIG* 4). Prefer­
form) provided by the stimulation subsystem 424 would be                   ably, c：솨uh 翎Hsin흠 channel of the dclcclioii subsystem 422
specified by clher subsystems in the control module 410, as                receives a bipolar signal representative of the difference in
will be described in funher d너aii be low,                                  electrical poleniial beiween two selectable electrodes.
                                                                           Accordingly, lhe eleclrotle selector 510 provides signals
[0090] Also in lhe conirol muduk 410 is a memory
                                                                           corresponding to each pair of selected ekclrodes (of lhe
subsyslem 426 and a ccnlral processing unii (CPU) 428,
                                                                           electrodes 412사 18) to a sensing front end 512, which
which can take ihc form of a microcon I roller. The memory                 performs ampUHcalion, analog lo digilal conversion, and
subsystem is ccupjed lo the cleleclicn subsystem 내22 (e.g.,
                                                                           mulliplcxiiig functions 011 ihc signals in lhe sensing chan-
for receiving and storing data represents live of sensed EEG               ncis. The sensing front end will be described further lie low
signaK and evoked responses), ihc stimulation subsystem
                                                                           in connection with FIG. 6.
424 (e,g., for provkling siimulaiion waveform paramelers to
ihc stijnulatiort subsysicni), and the CPU 42& which can                   [0096] A multiplexed inpul signal representative of all
conirol the operation of lhe memory subsystem 426. In                      aclive sensing channels is then fed from the sensing front
addition to the memory subsystem 426, the CPU 428 is also                  end 512 to a waveform analyzer 514. The waveform ana­
connected lo the deteclion subsystem 422 and the slimula-                  lyzer 51내 is preferably a speef al ・purpose dig] lai signal
lion subsystem 4고4 for direct control of those subsystems.                 processor (DSP) adapted for use with the irwcniinn, or in an



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alicrnative embodiment, may comprise a programmable                      from any pair cr combination of electrodes» as pre processed
낙cneraLpurpose DSR In the disclosed embodiment, ihc                      by a system according to the invention, in both ana*>릭 and
waveform analyzer has its own scratchpad memory area 516                 digiial forms. See, c.g,, U.S, patent application Scr. No,
used for local storage of data and program variables when                09/517,797 Ic D, FischcH ct a> filed on Mar, 2, 2( 1(KJ and
Ihe signal processing is being performed. In either ease, the            entitled "Neurological Event Detection Using Processed
signal processor performs suitable measurement and Jetec-                Display Channel Based Algorithms and Devices Incorpo­
lion methods described generally above and in 옹realt「dclai]              rating These Procedures," which is hereby inet)rporated by
below. Any results from such methods, as well as any                     reference as though sci forlh in full herein. Al limes (par­
diguized signals intended for storage transmission to exter­             ticularly after the mulliplexer 614), multiple sensing chan­
nal equipment, arc passed to various other subsystems of the             nels arc processed by the same physical and functional
coEitrol module 4H), Including the memory subsystem 426                  components cf the system; n가withsiandin섬 山가, it should be
and the CPU 4고8 (FIG, 4) Ihrough a data interface 520,                   recognized that unless the description herein indicates ic Ihe
Similarly, ihc control interface 51村 allows the waveform                 contrary, a system according to the invention processes,
analyzer 514 and the electrode selector 510 lo be in com-                handles, and ireats each sensing channel independenily.
municalicn wilh the CPU 428.
                                                                         [010이 J he inierleaved digiial data stream is passed from
[(MI97] Refernn솜 now to HC. 6, the sensing front 히]d 51 고                Ihe muldplexcr 614, out of Ihe sensing front end 51 고, and
        5) is illustrated in further del ail. As shown,【he sensing       into the waveform analyzer 514. The waveform analyzer
front end includes a pJ난rality of difterential amplifier chan­           514 is illustrated in detail in FKk 7.
nels 610, each of which receives a selected pair of inputs
                                                                         [0101] The inierleaved digital data stream representing
from th¢ ¢Icctrctlc selector 510. In a preferred cmbtxlimcnt
                                                                         informalion from all of the acu기c sensing channels is first
of Lhe inveniion, each of difTerential amplilier channels 610
                                                                         received by a channel controller 71 〇. fhe channel coni roller
is adapted lo receipt or to share inputs with one or more
                                                                         applies informadon from the active sen,sing channels g a
이her difTerential ampliüer channels 610 withcuH adversely
                                                                         number <if wave morphology analysis units 712 and window
afFectm윽 Ihc sensing and de lection capabililics of a system
                                                                         analysis units 714. Il is preferred to have as many wave
according to the invention. Speciücally, in an embodiment
                                                                         moqiholcgy analysis units 기코 and window analysis units
of The invention, ihcrc are at least eight electrodes, which can
                                                                         714 as possible, consisteiii wilh the goals of efijcicncy, size,
be mapped separately lo eight ditt'creniial amplifier channejs
                                                                         and low power consumpiion necessary for an imphntabk
610 representing cighl diffcrenl sensing channels and
                                                                         d바viie. In a presenily preferred embodimertl of the inveii'
capable of individualiy                  감 eight bipolar signals,
                                                                         lion, there arc sixteen wave morphology analysis units 712
each of which represcrtis an electrical poiential difference
                                                                         and eighl window analysis units 714, each of which can
between Iwo mo n<i polar i마)ul signals received from Lhe
                                                                         receive data from any of ihc sensing channels of the sensing
clccirodcs and applied to the sensing channels via ihc
                                                                         from end 512, and each of which can be operated with
e led rode selceior 51〇. For clariiy, only five channels are
                                                                         dillerenl and independenl paramelers, including dilTenn용
illustrated in FIG, & but it should be noted ihat any practical
                                                                         sample rales, as will be discussed in furibur 어니ail below,
Flu mber of sensing channels may be employed in a system
according to the in venlion.                                             [0102] Each of ih나 wave morphology analysis units 712
                                                                         operates to extract cerlain fealure info rm a I ion fmm an inp 냐 t
[예9S]         Each diflerenlial amplifier channel 61Ü feeds a
                                                                         waveform as described below in conjunction wiih FIGS.
corresponding analog to digital converter (ADC) 612. Pref­               9-11. Similarly, each of Ihc window analysis un its 714
erably, Ihc analog to digital converters 612 are separately
                                                                         performs certain data reduction and signal analysis within
programmable with respect to sampk rates—         —ihe dis­
                                                                         Ijm¢ windows in the manner described in conjunction with
closed embodiment, ihc ADCs 612 convert analog signals
                                                                         i IGS. 12-17. Ouipiit data from the various wave morphok
iriki 10-bil unsigned integer digital da la streams al a sample
                                                                         ogy analysis units 712 and window analysis unils 714 are
rate selectable beiween 250 Hz and 5CHJ Hz, in several of the
                                                                         combined 바ia tK^enl detector Io뜡it 716. The evenl de lector
il lustra I io ns described below where waveforms are shown,
                                                                         logic 716 and the channel conlroller 710 are controlled by
sample rales of 250 Hz are typically used for simplicity.                conlrol com mantis 718 received from Ihe control inlerface
However, Ihe invention shall noi be deemed to be s이imiled,
                                                                         518 애 IG 5).
and numerous sample rale and resolution oplions arc pos­
sible, wiih tradeoffs known to individuals of ordinary skill jn          [0103] A "detection channel/' as ihe term is used herein,
ihe art of electronic signal processing, J'he resulting digital          refers [〇 a dala skeam including the a<n浦心 翎nsiri쓰 fronl end
signals are received by a multiplexer 614 that creates a                 512 and the analysis units of the waveform analyzer 514
single inierleaved digiläl data si re am representative of the           processing ihal da la si ream, in both analog and digital forms.
data from all aclive sensing channels. As will be described              It should be noted lhal each de Iced on channel can receive
in further detail below, net all of the sensing channels need            data from a single sensing channel; each sensing channel
lo be used at one time, and il may in fact be advantageous               preferably can be applied to the input of any combinalion of
in ceriain circumstances lo deactivate certain sensing chan­             deteclicn channels. ITie latter 誕[じcli아n is accomplished by
nels to reduce the power consumed by a system according to               ihc channel controller 7H). As wilh the 明rising channels, not
Ihc invenlion.                                                           all dele기ion channels need lo be active; certain delcction
                                                                         chrinncls can be dcactivaiccl lo save power or if additional
[0099] K 나lould be noted lhai as ilh康irattd and 너<胃cxibsd
                                                                         deled ion peocessin옹 is tleemed unnecessary in certain appli・
herein, a "sensing channel” is not necessarily a single
                                                                         cations,
physical or funclional ilem that can be idenliiled in any
illuslralicn. Rai her, a sensing channel is formed from the              [DI04] In conjunction with the 이)craiion of the wave
funclional sequence of tiperations described herein, and                 morphckigy analysis units 712 and the window analysis
particularly represents a single electrical signal received              units 714, a scralchpad memory area 516 is provided for



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icmporary storage (가' processed data. ITic scratchpad                  unit S40, th¢ first line length <malysis tool 844^ and lhe lirst
memory area 516 may lie physically part of the memory                  area analysis tool S46 arc c이Tibhwd via a Btxilcan AND
subsystem 426, or aliernativcly may be pr匸for the                      operalion 858 into a flrsi detection channel output 860,
exclusive use of the waveform analyzer 514. Other sub­                 Similarly, in the second detection channel of analysis units
systems and comptmenls of a syslem according lo the                    848 and 850, oulp비s from the second wave morphology
invention may also be furnished wiih local scratchpad                  analysis unit 84& lhe second line length analysis 1001 8,2、
memory, it' such a conßguration is advanlagecus.                       anti the second area an헌]ysis 1001 854 are comhineci via a
[01G5] The operation of the event detector logic 716 is                Boolean AND operation 862 into a second dete기ion channel
illustrated in detail in the functional block di喝ram of FIG*           output 864. In the illustrated cmbodimcni of Ibc in부じ|hKhl
N, in which four exemplary sensing channels are analyzed by            ihc second detection channel oulput 864 is invertible wilh
ihrcc illustrative event detectors,                                    selectable Boolean logic inversion K66 before il is combined
[0106] Afirsi sen sing channel 810 prov ides inpu He a fi rsi          wilh Ihc fir引 deteclion channel ou (put 86〇. Subscquenily,
event detector 812. Wh ile Lhe JirsI じ"미 tie led or 812 is             ihc firsi detect ion channeJ output 860 and the stJOMKi Jctec-
iUuslraLtxl as a functional block in the block diagram ofFtG,          lion channel output 864 are combined wilh a Boolean AND
8, it should he recognized Lhat il is a functional block only          opera lion 868 lo provide a signal to lhe outpul 856. [π an
lor purposes of 由uslralion, and may not have any physical              a hern a live emhociimenU a Boolean OR operation is used to
counleqiarl in a device according to the invention. Similarly,         combine the first detection channel output             and the
a second sensing channel 814 provides inpui to a second                second detect ion channel output fi64.
SFsM detector 816, and a ihirci input channej 서 18 and a               [0112] In one embodiment of the invention, the second
fourth input channel 8고〇 b니h provide input lo a ihird event            血갸。디im channel (analysis unils S4M and 85。) represents a
dcicctor S22.                                                          "qualifying ehanner with respeei to the first deicciion
[01G7] Considering the processing perfcjrmtxl by the event             channel (analysis 가nits 840 and 84그). In general, a qualify­
detectors 812, SI6, and 822, lhe firsl inp니 channel 81() feeds         ing channel allows a cSetection to be made only when Ixith
a signal to both a wave morphology analysis unit 824 (one              channels are in concurrence with regard to detection ol an
of the wave m<irphoiogy analysis units 712 of Fit；. 7) and             evenl. For example, a qualifying channel can be used ki
a window analysis unit 8고6 (one of the window analysis                 inciicalc when a seizure has "generalized," Lc, spread
units 714 of HG, 7). The window analysis unit K26, tn turn,            through a significanl porlion oF a patient's brain. To do Uhs,
includes a line length analysis tool 828 and an area analysis          lhe third input channel 818 and the fourth input channel 82。
1001 S3〇. As will be discussed in detail below, Lhe line length        are conJigureJ to receive EECj waveforms from separate
analysis tool 828 and the area analysis 1001 830 analyze               amplider channels 心。upie거 to electrodes in separa to pitftsof
dilterenl aspects of lhe signal from the first inp기I channeJ           Ihc palienfs brain (¢.오., in oppesik hemispheres). Accord­
幻《                                                                     ingly, ihen, the Boolean AND operation 部치 will 山die끼¢; a
[010>i] Outputs from the wave morphology analysis unit                 del eelion only when Lhe first Jeieeiion output 860 anti the
824, lhe line length analysis loci 82& and the area analysis           second detection 0111pul 864 boih indicate Ihc presence of an
tool 83。are combined in a Boolean AND ope ration 83고 and               evenl (or, when Boolean logic inversion 866 is present,
sen I lo an culpul 834 for fur I her use by a syslem according         when the first delecticii output 86() indicates the presence of
to the invention. For example, if a combination of analysis            an evenl while lhe second deleclion culpul K64 does not). As
100Is in an eve미 deteclor identifies several simultaneous (or          will b¢ described in furlbcr detail below, ihc deletion
ncar-siinuäianecus) types of activity in an i叩u1 channel, a            outputs S60 and 864 can be providetl with selectable per*
system according to the invoniion may be programmed to                 sisiencc       the ability to remain triggcrc<l for seme time
perform an action in response ihcrcto, Dciailsof ihc analysis          after lhe event is detected), 疝Qwin목 the Boolean AND
100Is and lhe combination processes used in event detedors             combination 868 lo be satisfied even when there is not
according lo lhe inveniion will be sei forth in greaier detail         precise lempcral synchronization between detections cm the
below.                                                                 Iwo channels.
[01G9] In the second evenl de tec lor 816, only a wave                 [0113] Il should be appreciated that ihc concept of a
morphology analysis unit 836 is aclive. Accordingly, no                "qualifying channel" allows lhe llexible conJiguration of a
Boolean opcrauon needs lo lx： performed, and ihc wave                  device 110 according lo the invention to achieve a number
morphology analysis unit 836 di redly feeds an evenl <Idee-            of advantageous resulls. In atldilicn lo the detecnon of
lor DUl卩뱌I #38,                                                        뵠¢TU기■aHzaHon, as describc<l ab。나c, a qualifying channel can
[0110] The third event deiector 822 operates on Iwo input              be configured, for example, lo deled noise so a deleclion
channels 818 and K20, and includes Iwo separate de lection             outpul is valid only when noise is not present, to assist in
channels of analysis units; a first wave morphclogy analysis           device conliguralion in determining which of Iwti sets of
unit 840 and a firs I window analysis unil 842, Lhe I al ter           deleclion paramelers is preferable (by selling up the different
including a first line length analysis tool 시44 and a first area       parameters in the lirsl detection channel anti the second
analysis tool 846; and a second wave morphology analysis               detection channel ihcn replacing the Boolean AND combi­
unit 84^i and a second window analysis unit 850, the latter            nation with a Boolean OR combination), or to require a
including a second line length analysis tool M52 and a second          specific icmporai sequence of detections (which would be
area analysis tool 854, The two delect km channels of                  achieved in software by lhe CPU 428 after a Boolean OR
analysis units are combined tc provide a single c나cni ddcc-            com bin a I ion of detections). JTiere are nu me rolls olher pos-
lor output 856,                                                        sibililies,
[0111] In the first detection channel of analysis units H40            [Ü114] l he oulpuls 834, 83& and S56 of lhe event delec-
anti 842, ouiput.s from ibc first wave morphology analysis             lors are preferably represented by Boclca^i Hags, and as



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described below, provide information for the operation of a                extremum 1016 and a secon<l local exircmum IH고〇一 Again,
system ac8「din뫀 to ibc in부¢:nliQn.                                         a second pcrlurbatjon 1022 is ot insuflicient amplhude to be
                                                                           considered an exircmum. Likewise, a third half wave 1024
[0115] While FIG. S illusiraies four dillereni sensing
                                                                           extends between the second focal exlrem urn 1020 and a Ihird
channels providing input lo four separate dcleciion channels,
it should be noted lhal a maximally llexible embociimenl of                local extremum 1026; this may appear to be a small periur-
lhe present invention wou Id allow each sensing ch計ロロci to                 baliun, but is greater in amplitude lhan a selected hysteresis
be connecled I。one or more deteclion channels. It may be                   threshold. The reiNhiin빔 half waves H)2S, 1Ü30, HÖ2,
adv a ni a릭。<JUS to program the ciilicfcni detection channels              1.034, and 1036 are identiJied analogously. As will be
with different sellings (e.g., thresholds) to lacUitatc alternate          discussed in further detail below, each of ihe ideniifiecl half
'Piews” of lhe same stmsir窖 channel data si ream,                          waves 1012, Un& 1«24, 1028, 11)3«, 1032, 1034, and 1036
                                                                           has a corresponding duration 103& 104〇, 1042, 1044,104毎
[0116] FIG, 9 illustrates three fcpresenKuivi； waveforms                   104S, 1050, and 1052, respectively, and analogously, a
of the type expected lo be manipuLiietl by a system accord­                ¢。口rspondin 홈 amplitude det er mi net! from lhe rEalh墮: posi-
ing to the invention. It should be noted, however, that the                lions of each h겼If wave's starting point and ending point
waveforms illusLraled in KKi. 9 are illustrative only, and are             along lhe verlical axis, and a slope direction, increasing or
not intended to rcprescni any actual data. The firsl waveform              decreasing.
910 is representative of an unpre cessed e lee t rt)e nee ph a lo­
gram (EEG) or electrocorticogram (ECOG) waveform bav-                      [0121] In a method performed according to the in부¢nii。件,
in슴 a substantial amount of variabiHiy; the illustrated seg­               it is panic니arly advantageous to allow for a prロ독rainmaKle
ment has a duration of approximately 16Ü ms and a                          hysleresis setting in identifying the ends of half waves. In
dominant frequency (visible as the large-scale crests and                  other words, as explained above, lhe end of an increasing or
valleys) of approximaiely 12.5 IIz, It will be recognized lhal             decreasing half wave might be premainrely identitled as a
lhe first waveform is rather rough and peaky; I he re is a                 resull of quandzation (and other) noise, low-amplitude sig­
substantia] amcunl of high-frequency energy represented                    nal cximponenls, and other perturbing factors, unless a small
ihcrein.                                                                   hysleresis allowance is made before a reversal of waveform
                                                                           direct kin (and a corresponding half wave end) is idenlified.
[011 기 The second waveform 912 represents a filtered
                                                                           Hysteresis allows for insigniheant variaiions in signal level
부BsiDn of the original EEG waveform 910, As shown, most                    incoTisistenl wilh lhe signal's overall movement lo be
of the hmh-frequency じncr곡y has Ixjcn climmated from the                   ignored without the need for cxiensive t'urthcr signal pro­
signal, and the waveform 912 is signilicanily smcoiher. In                 cessing such as fillじring. Without hysleresis, such small and
the disclosed embodimenl of the invenlion, this Jiltering                  insigniücani variaiions mighl lead to subslaniial and gross
Optra I kin is p^rfonn^d in the sensing front end 512 btfor¢               changes in where half waves arc identified, leading to
lhe analog to digital converters 61고 (FIG, 6).                             unpredictable r啓비氐
[0H8] The filtered waveform 912 is then sampled by one
                                                                           [0122] J he processing sieps performed wilh regard to lhe
of the analog lo digilal converters 6i2; this tjperalion is
                                                                           wave hmm 1010 and half waves of FiG. 10 are set forth in
represenied graphically in the third waveform 914 of FIG.
                                                                           FIG. 11. The E미hod begins by idenlifying an increasing
9. As i Hu si rated, a sample rate used in an embcKiimenl of the
                                                                           half wave (with an ending amplitude higher than the starting
invenlion is 250 llz (4 ms sample duration), resulting in
                                                                           amplitude, as in the sectind half wave 1018 of F【(；. 10). lo
apprcximalely 40 samples over the illustrated 160 ms seg­
                                                                           do this, a variable corresponding to half wave time is first
ment. As is well known in lhe an of digib 1 signal processing,
                                                                           in hialized to zero (step 1110); I hen half wave dura Hon,
ihc ampHiudc rcsobnon of each sample is limited; in the
                                                                           ending threshold, peak ampliiudc, and first sample value arc
disefosed embodiment, each sample is measured with a
                                                                           all iniltaHなd (step 1112), Specifically, !he half wave dura-
resolution of 10 bits (or 1024 possible values). As is appar­
                                                                           lion 나alu¢ is sei lo zero, lhe peak ampliludc and ßrst sample
ent upon visual analysis of the third waveform, Lhe dominant
                                                                           values are set to lhe amplilude value of the Iasi observed
frequency conipcneni has a wave length of approxhn 외cly 20
                                                                           sample, which as described above is a value having 10-bit
samples, which corresponds lo lhe dcminanl frequency of
                                                                           precision; and lhe ending threshoicl is sei lo ihc last observed
12.5 Hz.
                                                                           sample minus a smalt preset hysteresis value. Afler waiting
[0119] Referring now lo FKh 10, the processjug of the                      for a measurement of the currcni EEG sample (引이) 1114),
wave morphology analysis uoiis 712 is described in con­                    ih略 half wave lime and half wave Juration 기ariahk治 are
junction with ft filtered and sampled waveform 1010 of the                 incremented (step 1116). [f lhe curreni EEG sample has an
lype illusLraleJ as lhe ihird waveform 914 of FEG. 9.                      amplitude greater than lhe peak amplitude (slep 1118)» then
                                                                           lhe amplitude of lhe hdlf wave is increasing (or continues to
[。12이     In a first half wave 101고, which is partially illu脆              increase). Accordingly, lhe ending Ihreshtikl is res리 lo be lhe
trated in FK；. 10 (the starling poi머 occurs before the                     currenl EEG sample's ampliluJe minus lhe hysleresis value,
illustrated waveform sc퐄me기 1010 iKgms)* the waveform                      and the peak is rescl to the current EEG sample "s amplitude
segment lOlG is esseniiaJ ly monotonically decreasing,                     (slep H괴))+ and the next sample is awaited (step 1114).
except for a small first pcriurbation 1014, Accordingly, the
first half wave       고 is rcprcscnlcd by a vector from the                [0123] If th¢ current EEG sample has an amplitude less
뇌aning point (not shown) to a firsi local exiwmum 1016,                    ihan the ending threshold ¢step 1122), lheロ Lhe hysteresis
where the waveform starts to in。기c in the opposite ciireetfon.             value has been exceeded, and a local exircmum has been
The linil perlurbalicn 1014 is oL jnsullieient ampliuide Io be             ide nil fled. Accordingly, the end of lhe increasing half wave
considered a local exlrcmum, and js disregarded by a                       h교s been reached, and the amplitude and duration of lhe hall'
hysleresis mechanism (discussed in furl her detail below). A               wave are calculated (slep 1124). Lhe amplitude is equal to
second half wave UMS extends bciwccn lhe first local                       lhe peak amplilud¢ minus the first sample value; the duration



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is equal to the currcnl half wave duration. Otherwise* the              formed in custom clccironic hardware; il should be clear that
next ample is awaited (slop H14).                                       Ihc opera I io ns of FIG. 11 arc performed in parallel for each
                                                                        active inslance of the wave morphology analysis units 712
[0124] If both I he amplitude 也너 the dura lion qualify by
                                                                        (FLG* 7). li should also be noted, however» lhat certain
exceeding corresponding pre.set ihresholds (step 1126), ihen
                                                                        software can also be used Io advantageous effect in Ihis
the amplilude, duration, half wave lime, half wave di reel ion
                                                                        conicxl.
(in匚:「easing) are sicred in a bulTer (step 1128), and the half
wave lime is reset to zero (si이i 1130).                                 [0131] This stored in format ion is used in Lhe scflwarc
[0125] Al I he conclusion of the increasing half wave, the              process U lust rated in FKL 12, which is performed on a
process continues by initializing wa기c duration, the ending             periodic basis, prefer이)ly once every processing window (a
threshold, the peak ampUiude, and the first sample value                recurring lime initf가al lhai is cither fixed or programmable)
(step 1132), Wが也 duration is set to zero. The üロdiロ남 Ihrcsh-            by a system according to the invention. Consistent with the
old is $니 to the bsi sample value plus the hysteresis value,            Olher analysis 100Is described herein, the duration of an
ihe peak amplilutlc and lhe lirsl sample value are set lo the           exemplary processing window is in one embcxliment of lhe
most recent sample value.                                               inveniion 1 으8 ms, which corresponds lo 32 samples at a 25()
                                                                        Hz sampling rate.
[0126] After wailing f(ir a measurement of the current
EEG sample (step 1134), the half wave time and half wave                [0132] Each time lhe software process of FIG. 12 is
duration variabjes arc incremented (step 1136). If the current          invoked, the half wave window flag is first cleared (step
LEG sample has an 솨mpliuid¢ lower than the peak ampliutdc               121()). Any qualified halfwaves idenlified by the process set
(step U3S), then the amplitude of the half wave is <Iccreas-            forth hl Fit；, IL that are newly identified since ihc last
ing (or continues to decrease). Accord ingly^ the ending                invocation of lhe procedure (i.e., allqualilieJ halfwaves that
ihrcsholtl is rcsci to be the currcni EEG sample's amplitude            ended wiihin lhe preceding processing window) are idend-
phis the hysleresis value, the peak is reset to lhe current EECj        Jietl (step 1212). A "currenl half wave" pointer is set I。point
sample's amplitude (step 1140), and lhe next sample is                  lo the oldest qualified half wave identified in lhe most recent
aw ailed (slep 1134).                                                   processing window (step 1214). The lime mierval between
                                                                        lhe currenl half wave and the prior x half waves is then
[0127] If the current LEG sample has an ampliiudc 홈rcaicr               measured (step 1216), where x is a spccifiixl minimum
than th¢ ending thrcshokl (slcp 1142), then Ihc hysteresis              mimber of half waves (preferably a programmable value) to
가alu¢ has been exceeded, and a lociil exiremum has been                 be identified within a selected haff wave lime window (the
identifted. Accordingly, the end of the decreasing half wave            tlurat ion of which is another programmable 부alue) lo result
has been reached^ and Ihü amplilude and dura I ion of the half          in the possible detection of a neurological wyhl If the time
wave are calcularetl (step 1144). Lhc amplitutle is 比q나al to            interval is less than the duration of Ihc half wave time
ibc first sample value minus the peak amplitude, anti the               window (st¢]> 1218), then ihc half wave window flag is set
dura lion is equal Io lhe currenl half wave duration. Other­            (slcp 1220), logic inversion is selectively applied (slep
wise, the next EEG .sample is awaited (slcp 1134),                      1222), and Lhe prtjcedure ends (step 1224). Iqgic inversion,
[0128] If boih lhe amplitude 恐너 the dura lion qualify by                a meehamsm for deiermining whether an analysis unit is
exceeding corresponding preset Ihresholds (slep 1146), then             triggered by the presence or absence of a co nd il ion, is
the amphiudc, duration, halfwave time, half wave direction              explained in greater detail below. Otherwise, the current half
(decreasing) are stored in a buffer (step 1148), and lhe half           wave pointer is incremented to point lo ihc next new half
wa기e time is reset to zero (sicp 1150). It should be noted【haし          wave (step 1228), and if there are no more new half waves
in Ih¢ context of this specification, the icrm “exceed” in              (slep 1230), logic inversion is applied if desired (step 1222)’
regard to a ihrcshokl value means to meet a specilkd                    and lhe proeedn re ends (slep 1224). Olherwise, lhe next time
criterion. Generally, Iti exceed a Ihreshold herein is lo have          iniじ『/al is tested (sicp 1216) and the process 凶nun기cs from
a numeric value greater than or equal to lhe threshold,                 there.
allhough olher inlerpretaiions (such as greater than, or less
                                                                        [0133] Lxjgic inversion allows lhe output flag for lhe wave
than, or less I han or equal to, depending on the coniexl) may
                                                                        TTiorphoicgy analysis unit (or any olher analyzer) lo be
be appHcahlc and are deemed to he within the scope of the
                                                                        航;[¢Cti디¢Iy invened. If logic inversion is conligurcd to be
invenlion.
                                                                        applied to an cuipui of a particular analysis unit, then the
[0129] Al lhe conclusion of the d况rw雨묘 half wave,                       corresponding flag will be clear when the deieciion criterion
further half wa부心s arc ihcn identified by repeating the                 (e.gr number of qualified half wa기cs) is met, and set when
process from step 1112. As half wa다e dekei ion is an ongoing            lhe detection criterion is noi mel. This capability prsrith浴
anti conlinuous process, this procedure preferably does not             some additional tlexibiliiy in configuration, fac가itaHng
exi，bul may be suspended from time lo time when cxindi-                 detection of lhe absence of ceria in signal characteristics
lions or device state call for il, c.g. when the device is              when, for example, ihc presence of those characteristics is
inaclive or when sLimubtion is being performed. Once                    lhe norm.
suspended in accordance wiih ihc mventien, the procedure
should recommence with ihc Ursl inHializalion step 1110.                [0134] In a preferred cmbodimcni of the invention, the
                                                                        half wave window flag (set in step 1220) indicans whether
[013이 Accordingly, lhe process depicled m FIG 11 stores                 a siifGcieni number of qualified half waves occur ü기er an
parameters corresponding lo qualified half wa부¢s, including             interval ending in the mcsl recent processing window, lb
Iheir directions, chi ralions, ampliludes, and lhe elapsed time         reduce lhe occurrence of spurious delect ions, an X of Y
between adj ace n I qualified half waves (i.e. lhe haff wave            criterion is applied, causing lhe wave morphology analysis
lime variable). In lhe disclosed embodiment tjf lhe inven­              unil to trigger only if a sufßcienl number of qualiJied half
lion, to reduce power consumption, this procedure is per­               waves occur in X of ihc Y most recent           남 windows.




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where X and Y arc parameters individually adjustable for                that window 1412, For example, lhe first contribution io the
each analysis toot This precess is illusirated in FKk 13.               line length within die window 1412 is a first ampHtudc
[0135] IniUMIy* a sum (representing recent pmc瞬sh昭                      difl'crencc 1414 between a previous sample 1416 occurring
windows having ihe half wave window ßag sei) is cleared to              immediately before the window 1412 and a first sample
zero and a currenl window pointer is inilial ized to poinl Io           1418 occurring wiihin lhe window 1412. The next ecnin-
lhe most recenl processing window (step 1310). 11' the half             but ion comes frt^m a second amphtucle diJTerence 14고〇
wave window tlag corresponding to the currenl window                    between lhe ftrst sample 1418 and a second sample 1422; a
pointer is sei (step 1312), I hen lhe sum is incremented (step          fur I her contribution 1424 comes from s third amplitude
1314). ir there are more processing windows to examine (for             tlillerence between lhe second sample 1422 and a Ihird
an X of Y crilericn, a total of Y processing windows,                   sample 1426; and so on. At the end of the window 1412* the
including the most rccem, should he consider快1) (step                   final contribulion to lhe Line length comes from a 】a§t
1316), Lhen the window pointer is decremented (step 1318)               amplitude difference 1430 between a seco nd-last sample
and Ibc tlag testing and sum incrcmeniing steps (steps                  1432 in the window 1412 LinJ a last sample 1434 in lhe
1312-1314) are repeated.                                                window 1412, N어む that all line lengths, whelhur increasing
                                                                        or decreasing in tlireclicn, are accu mulaled as positive
[0136] After Y windows have been considered, if the sum                 values by lhe invention; accordingly, a decreasing ampHluJe
of windows having .set half wav¢ window Hags meets the                  di Here nee 1414 and an increasing ampHiudc di fie re nee 1428
Ihreshcld X (step 13그。), then the half wave analysi.s Hag is            b더h conlributc to a greater line length,
SCI (step 1322)+ persistence (described 阮Is*) is applied
(slop 13고4), and lhe prccctlure is gmpkilc. Otherwise, ihc              [0141] As illustrated herein, and as discussed in detail
half wwc analysis flag is cleared (step 1326).                          above, there are thirty-two samples wiihin lhe window 1412,
                                                                        Th心 illusirated window 1412 has a duration of 128 ms, and
[0137] Persistence, another per-analysis-iool selling,
                                                                        accordingly, lhe illuslraled sample rale is 250 IIz. [I should
allows the efleet of an event tieteclion (a flag set) lo persist
                                                                        be noted, however, that alternate window duraiions and
beyond the end of lhe del cut ion window in which lhe event
                                                                        sample rates are possible and considered lo be within lhe
occurs. In the tlisclosed syslem according lo lhe invenlion,
                                                                        scope of the present invention.
persistence may be scl anywhere from one second lo fifteen
seconds (though other sellings arc possible), so if detecdons           [0142] The line lengths illusirated in           14 are calcu-
with multiple analysis look do not all occur simiilianeously            iaicd as 디】。wn by ihe tlow 나呻d of FIG, 15, which is
(lh。u몸h they should still occur wiihin a fairly shori lime              irwcikcd at th¢ beginning of a time window. Initially, a line
period), a Boolean combinat ion of flags will still yield               lengih total variable is initialized lo zero (step 1510). Thじ
posilive results, Persisiencc can also be used with a single            currenl sample is awaited (step 1512), and lhe absoiule value
analysis tool to smooth the results,                                    of lhe ampliiud¢ difference lx;tween lhe current sample anti
EK福] When the processed FIG, 13 is completed, the half                  lhe previous sample (which, when considering the lirsi
wa미e analysis flag (sei or cleared in steps 1322 and 1326,              sample in a window, may come from the Iasi sample in a
respectively) indicates whether an eveni has been dcteeied in           previous window) is measu red (slep 1514).
lhe corresponding channel of lhe w건vt mo甲holo옹y analysis                [Ü143] In various alicrnative emhtKlimenls of lhe inven­
units 712,0r stated another way, whether a sufikient ruHTiher           lion, eilher lhe measured tlillerence (as calculaleti in slep
of qualified half waves have appeared in X of lhe Y mast
                                                                        1514, described alxwe), or the sample values used 捻 cal-
rcccni processing windows. Although in the disclosed                    cubic lhe dilfcrence may be malhematicalJy Iransformed in
embodiment^ the steps of FIGS. 12 and 13 arc performed in               useful nonlinear ways. For example, it may be ad니antag^Q기s
soflware, ii should be 冀cogni家너【hat some or all of those                in certain circumstances to calculaic lhe difference lx：tween
stepscan be performed using custom electronics, if it proves            adj aceni samples using the squares of lhe sample values, or
advantageous in the 너esi「ed app Heal ion lo use such a eon-             lo calciikle the square of lhe difference between sample
liguralion.                                                             values, or bolh. 11 is cxintem plated lhal other transform a I ions
[0139] F'ltk 14 illustrates lhe waveform of         9, further          (such as square rcKil, exponenlialion, logarithm, and other
tlepicling line lengths idenlified wiihin a lime window. The            nonlinear fun cl ions) mighl also be advantageous in certain
lime window used with respect to FIGS. 14-16 may be                     circumslanccs. Whether or net lo perrorm such a transfor­
tlilTerenl from the half wave processing window described               ma lion and the nature of any Iransformalion lo be performed
above in ecnncciion with FIGS, 12-13, bin in a preferred                arc preferably programmable parameters of the device 110,
embedimentj refers lo the same lime iniervals, i-roTn an
im piementaiion standpoint, a single device inicrrupi upon              [0144] For use in lhe nexl il erat ion, the previous sample is
lhe conclusion ol each prt^cessing window allows all of Lhe             replaced with the value of lhe 以江wdi sample (sicp 1516),
analysis tools lo perlorm the necessary corresponding so fl­            and lhe calculaletl absolute value is added to lhe lolal (slep
ware processes; lhe line length analysis prcx?ess of Fltk 16            151.8). [f there are more samples remaining in lhe window
(described below) is one such example, A waveform 1410 is               1412 (si이1 1520), anolher current sample is aw a I led (slep
a flllered and otherwise pre-processed EEG signal as                    1512) and ihc process conlinvcs. Otherwise, the line length
received in one of the wintlow analysis units 714 from the              c씨culaH미) for the window 1412 is complete, and the total
sensing front end 512, As discussed Mxw& line lengths are               is stored (step 1522), lhe lolal is re-iniiialized to zero (step
considered within time windows. As lIIu si rated in FIG. 14,            1510), and rhe process eentinues.
lhe du ration of an exemplary window 1412 is 32 samples,                [0145] As with lhe half wave analysis melhtKl set forth
which is equivalent lo 128 ms al a 250 IIz sampling rale,               above, the line length calculalion docs nol need Ic terminate;
[0140] rhe total line length for lhe window 1412 is lhe                 it can be liee-runnin옹 yet inlerniptible. [f the line length
sum of lhe .§amplAio-s키ロ디£ amplitude dilfcronce.s witbin                calculation is rcstance! after having keen suspended, ii



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should be re initialized and restaried at the beginning of a           1628) indicating a I inc-length-based cvcni detection on the
window. This sync hr이】 めtimi can be aecompHshed through                currenl window analysis unit channel 714. As described
hardware interrupts,                                                   above, in ihc disclosed cmboJimeni of the invcniion, lhe
[0146] The line lengths calculated as shown in FIG. 15 are             ihreshold is dynamically calculated from a line length irend,
then processed as indicated in the flow chan of FIG. 16,               bill allematively, the threshold may be sialic, either lixed or
which is performed after each window 1412 is calculated                prog用mm材거 inio lhe device 11〇. If the aceumubied line
and stored (step 1522).                                                length Lol a I does not exceed the threshold, lhe Ha양 is cleared
                                                                       (step 1630). Once the line length Hag has been cither set or
[0147] The process rゆgins by calculating a running accu­               cleared, logic inversion is appljed (step 1632), persistence is
mulated line length total over a period of n time windows.
                                                                       applied (step 1634), and the procedure terminates,
Where n>l, ihc effcci is ihai of a sliding window; in an
allcrnativc ¢mbodiment an actual sliding window processing             [0152] The resuhing persistent line length flag indicates
meihotloiogy may be used, first, ihe a ecu mu lai ed total is          whether the threshold has been exceeded wilhin one or more
initialized io zero (step 161ft). A current window ]x>inicr is         windows over a time period correspond ing lo the line length
sei lo intlicaie The n'"-last window, i.e., I he window (n-1)          flag persistence. As will be discussed in furlher detail bekiw,
windows before the most recent window (step 1612). The                 line lenglh eveni detections can be combined with (he half
Line length of lhe currenl window is added to the lol al (st비)         wave even I detections, as well as any other applicable
1614), the current window pointer is incrcmcntcci (step                ciciccticn cntcria according to the invcniion.
1616), and if there are more windows b机ween lhe current
                                                                       [0153] FIG 17 illusiratcs ihc waveform of FIG* 9 with
window pointer and the most reccni (last) window (step                 area under the cu rve iJeniiQed wilhin a window. Area under
1618), th¢ adding and mcrcmcnling steps (1614-1616) arc                lhe curve, which in some circumstances is scmewhai rep-
repealed. Accordingly, by this process, the resulting total            rじ$enlali기e of a signal's energy (though energy of a wave­
includes the Line 値π양Ihs lor each of lhe n mt)sl recent                form is mere accurately represented by the area under the
windows.                                                               square of a waveform), is another detection criterion in
[0148] In lhe disclosed embodirnent of lhe inven Hon, the              accordance wilh the invenlion.
accumulated total line length is compared to a dynamic
threshold, which is based on a trend of recenlly observed              [0154] The total area under the curve represented by a
line kngihs. The trend is recalculated regularly and periodb           wavcf6히11 171U within the window 1712 is equal tc lhe sum
call% after each rccur「in녹 line length trend interval (which is        of ihc absolute values of lhe areas of each rectangular region
preferably a tixed or programmed time inierval), Lach lime             of unit width vertically bounded by the horizonial axis and
lhe Line length Ire nd inlerval passes ($Hep 1620), the line           lhe sample. For example, lhe first contribution to lhe area
kngih I re nd is cyleulated or updated (sUp 1622). In a                under the curve within the window 1712 comes from a Jirst
prescnlly preferred cmbodimcni of the invention, this is               region 1714 between a hr더 sam끼c 1716 and a baseline
accomplished by calculating a normalized moving average                1717, A second contribution to the area un너£r lhe curve
of several trend samples, each of which represenis several             within the window 1712 eoincs from a second region 1718,
consecutive windows of line lenglhs, A new trend sample is             including areas between a second sample 1720 and the
taken and the moving average is recalculated upon every                baseline 1717. Th^rじ are similar regions and contributions
line length trend interval. The number of trend samples used           lor a third sample 1722 and the baseline 1717, a fourth
in the normalized moving average and the number of                     sample 17고4 and lhe bfEseline 1717, and sc on. It should lx：
consecutive windows of line length measurements per trend              observed that lhe region widths are not important------ area
sample are preferably both fixed or program niabie values.             under each sample can be considered the prociucl of the
                                                                       sample's amplitude and a unit width* which can be di.sr¢-
[이49] After the line lengih trend has been ealcuhlcd, the
                                                                       garded. In a similar manner, each region is accumulaied an너
line length threshold Is calculated (step 1624) based on the           added to the I디al area under the curve wilhin lhe window
new line length trend. In lhe disclosed embodiment of the              1712, Although Lhe concept of separate re沮aロ상냐lar regions
invenlion, lhe Ihreshckl may be set as eilher a percentage of          is a useful construct for visualizing the idea of area under a
lhe line lenglh I rend (either below JOO% for a threshold lhai         curve, iL should be noted lhal a process for calculating area
Ls lower than the mend, or above 1()0% for a Ihreshold I hat           need not partition areas into regions as shown in Fl¢；. 17——
is hi옴h。r than the trend) or alternatively a fixed numeric             is only necessary ｛〇 accumulate the absolute value of lhe
offset from lhe line length trend (eilher negative for a
                                                                       waveform\ amplitude at each sample, as the 기nh width of
ihrcshcld that Ls lower ih^n the trend, or positive for a              each region can be disregiirJeJ. fhe process for doing this
ihrcshckl ihal is higher than ihe trend)一 】t should he observed        will be set forth in d이과il below in eonneciion with FIG, 18,
ihai other methods for deriving a numeric ihrcshoIJ from a
numeric trend are possible and deemed I« be wilhin the                 [0155] The areas under the curve illustraled in F!(；. 17 are
scope of lhe in venlion.                                               calcu laled as shown by the flow chart of FIG. 18, which is
[0150] 丁he tirsl lime lhe process of FiG. 16 is performed,             invoked al Ihc beginning 〇J a time window. Inilially, an area
there is 감じrKTaily no line Icnglh trend again.机 which to set a         Iola I variable is in 山지ized lo zero (미이)18 iO). 丁he current
threshold. Accordingly, for lhe hrsL several passes Ihrough            sample is awaiicd (step 1812), and the absolute value of the
lhe process (until a sufEcient amouni of EEG data has been             currenl sample is measured (slep 1814).
processed to establish a ire nd), the t hrじ이ぬ Id is essentially        [0156] As wilh lhe line Icnglh cakuldiion meihotl
undefined and lhe line length de rector should noi ruiyrn a            described 좌Smk (with reference to tlG, 15), in 기ario기s
positive detection. Some ''sellling time" is required Ic estab­        ailemalive embodimenlsof lhe invenlion, lhe currenl sample
lish (rends and thresholds before a detection can be made.             (as measured in step 1814, described above) may be math-
[0151] ir the accumulated line lenglh LoLal exceeds lhe                emalically Iransformetl in useful nonlinear ways. I'or
calculated ihreshold (step 1626), then a Hag is set (.step             example, ji may be advanUgcous in certain circumstances to



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calculate the 沖"¢ of ihc current sample rather than its                 ircnd. As with line length, discussed above, the threshold
absolute value. Tlie result of such a Uansformation by                  may be set as either a percentage of the area trend (cither
squaring each sample will generally be more representative              b이ow 1()0% for a ihreshold that is lower than the trend, or
of signal energy, though it is contemplated that oihcr trans­           above too% for a Thrc다2Id Ih기 is higher ihan the trend) or
form al io ns (such as square root, exponentiiition, logarithm,         a hern alive ly a fixed numeric offset from lhe area Irend
and olher nonlinear fund io ns) mi납hi also be advantageous              (eiihcr negative for a ihrcshold ihat is lower than ihc trend,
in certain circumslances. Whether or net [〇 perform such a              or posilive for a threshold That is higher I han the trend),
Iransforinaiion and the nature of any iransforniation lo be
pertbrmed arc preferably prmirammalMe paraimHew of the                  [0163] The fir敏 time the process of FIG 19 is performed,
                                                                        there is generally no area trend again네 wh ich Ic set a
d¢부hm 110,
                                                                        ihrcshold. Accordingly, for ihc first several passes thrtmgh
[田 5기     The calculated ahsoluic vaJuc is added to Ihc lotaJ           the process (unül a sufficicni amount of EEG ciaia has lx：cn
(step 1816). It there arc mere samples remaining in the                 processed to establish a trend), lhe threshold is esseniially
window 1712 (step 1818),                     sample is awaited          untiehnctl and ihc area detector should not return a positive
(step 1812) and lhe process continues. Olherwise, ihc area              tleteciion. Some "*scllling t iniじ'' is req나irじd lo eslablish
calculator| lor the window 1712 is complete, and the total              trends and ihrcshoMs before a detection can be made.
is slored (slep 182〇), lhe Id lai is reinilialized to zero (step
1시1。), and th¢ process coniinucs.                                       [0164] If lhe a ecu mu la led total exceeds lhe calculated
                                                                        thr曙hEd (step 1926), then a Hag issci (step 192!¢) indicating
[0158] As with the half wav¢ and Hoc Icnglh analysis                    an area-based event detection on the curreni window analy­
methods set forih above, the area calc기laiion <Iocs noi need            sis unit channel 714, Otherwise, lhe tlag is cleared (slep
to terminate; it can he frgrunniri뫃 yet ifircrrupiibl¢. If ihc          1930). Once the area flag has been either set orcicarcci, logic
area ealculalion is resiaried afier having been suspended, it           inversion is applied (step 1932), persisiencc is applied (slep
shou Id be re-inilialized and restarted al lhe beginning of a           1934), and lhe procedure terminates.
window. This synchronizalion can be accomplished Ihro냐gh
hardware interrupts.                                                    [0165] l he resuhing persislenl area flag indicates whelher
                                                                        lhe threshold has been exceeded within one or more win­
[0159] The line lengths calcujatecl as shown in FKL 18 are              dows over a time period cerresp이iding lo the area Hag
ihcn processed as indicated in the flow chan of FIG. 19,                persislcncc. As will be discussed in further detail below, area
which is performed after each window 1712 is c&]¢니ated                  event detections can he combined with lhe half wave event
and stored (시1820).                                                     deiccliorts, line length event de lectio ns, as well as any other
                                                                        applicable detection criteria according lo the inven lion.
[0160] The process 晩gins by ualc기kiiing a running accu­
mulated area total over a jjcdod of n lime windows. Where               [0166] In a jveferred cm hod i me nt of the in고enHon* each
n>l, the eâecl is that of a sliding window; in an aUernative            threshold for each channel and each analysis 1001 can bu
embodiment an auLial sliding window pro<?始sin홈 merbed-                  programmed separately, accordingly, a large number of
oiogy may be used. Fir$，the accumulated 心lai is initializetl            individ기 al thresholds may be used in a system according Io
lo zcRi (slep 1910). A じum미 window pointer is set lo                    lhe invenlion, Il should be noled thresholds can vary widely；
indicate Lhe n'"・lasl window, i.e., the window (n-1) windows            I hey can be updated by a physician via the external pro­
before the m<isl recenl window (slep 1912). The area tor the            grammer 312 (FIG 3), and some analysis 1001 Ihresholds
cur re n I window is added to lhe inlaL (step 1914), the current        (e.gr line length and area) can also be automatically varied
window pointer is incremented (slep 1916), 솨nd if ihcrc are             dtpendirt옴 on ob配r니¢d trends in the data. Fhis is jjrcfcrably
more windows between the current window and the most                    accomplished based on a mQvin목 average of a specified
rceeni (Iasi) window (slep 1918), the adding and increment­             number of window observations of line lengih or area,
ing steps (1914-1916) are repeated. Accordingly, by this                adjusted as desired via a ftxed offset or percentage offset, and
process, the resulting tulal includes lhe areas under the curve         may compensale lo some extent for diurnal and olher normal
for each of lhe n most recenl windows.                                  varialicns in brain electrophysioiegica 1 parameters.
[0161] In lhe discJcsed emhotliment of the in venlion, Lhe              [0167] With regard lo the tlcw charts of FIGS. 11-13,
accumulated total area is compared to a dynamic 山|¢야nld,                15-16, and 1819, il 마】。기 Id be noicd thai there can be a
which is base¢| on a trend of recently observed areas. The              variety of ways these processes arc implemented, For
ircnd is rccalculaied regularly and periodically, after each            example, slate machines, software, hardware (including
recurring arcii trend intcB^al (which is preferably a fixed or          ASICs, FPGAs, and other custom cleetroiucs), and varkms
programmed lime inierval). Each lime lhe area trend interval            combinalions of software and hardware, are all solulions
passes (step 1920), lhe area trend is calculated or updated             lhal would be possible to praclitioners of ordinary skill in lhe
(step 1922). In a presently preferred じmbodime미 of the                  arl of eleclronics and systems design. It sho미d further be
invention, this is accompHshed by calculating a normajized              noted Ihftt the steps per Erm cd in software need not be, as
moving average of several Ire nd samples, each of which                 some of lhem can be implemented in hardware, if desired, Iti
represents several consecutive windows of areas. A new                  further reduce computational lead cn the processor. In the
trend sample is taken and the moving average is「ecalc가latcd             contcxl of the inveniion, Ji is not believed to be advanta­
upon every area irend inicrvak '「he number of irend samples             geous to have lhe sofiware perform additional steps, as that
used in lhe normalized moving average and Iht number of                 would likely increase power ctinsumplion.
consecutive windows of area measuremenis per Irend
sample are preferably both fixed or programmable values.                [0168] In an embodimenl of lhe invention, one of lhe
                                                                        detection schemes sei forth above (e.g., half wave detection)
[0162] After lhe area trend has been calculated^ lhe area               is adapted to use an X of Y criterion to weed out spurious
ihrcshcld is calculated (step 1924) based on lhe new area               detections. This can be impkmented via a shift register, as



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usual, or by more efficicni £〇mp기tai仍[浦 mcihods. As                       [0174] If an event detccicr Ilag is set (step 202고)* then a
described above, half waves arc analyzed on a windew-by-                  cETCsimndin독 action is im【i기ed (step 거)그4) by the device.
window basis, and as describe¢! above (in connection wkh                  Aciions according lo lhe invention can include the presen­
FIG* 13), the window results arc update¢! on a separate                   taiion of a warning Ic lhe paticni, an application of thcra-
analysis window interval. If the detection criterion (Le., a              peulic electrical slimiilation, a delivery of a dose of a drug,
ccnain number of half wa기üs in less than a specified lime                 an initiation of a device mode change, or a recording of
period) is met for any oJ lhe half waves cccurring in I he mast           ceriain LECJ signals; il will be appreciiUed I hat there are
recent wjntiow, then detection is satisfied wilhin that win­              numerous other possibiülics. li is preferred, bui not neces­
dow. If thal occurs for al least X of the V most recent                   sary, for aciions initiated by a device according t<i the
windows, then the half wave analysis loo! triggers a detec­               invention to be performed in parallel with lhe scusing and
tion. If desired, other detection algorithms (such as line                cietectiGii operations dcscribcti in detail herein. Il shouId be
1¢略止| and area) may operaic in much the same way: if                      recognized ihat the application of elcarical srimulation to
Thresholds arc cxcccticd in at least X of the Y it泪si recent              rhe brain may require suspension of certain of the sensing
windows, then the corresponding analysis tool triggers a                  and 더e 住:価おロ operalions, as eiecirieal slim u I al ion signals
delect ion.                                                               may olherwise feed back into lhe de lection syslem 422
[0169] Als¢!, in the disclosed embodiment, each detection                 (FIG» 4), causing 나ndsHrab花 resulls and si농ロal arlifacl옼
Hag, after being set, remains sei for a selected amcunl of                [0175] Multiple even! dcicctor ftags arc possible, each one
lime, alkiwifi믹 them to be combined by Boolean logic (as                  representing a different combi naiion of detection channel
described h아cw) without necessarily being simultaneous.                   flags. If lherc arc further event dciccior fk电s to consider
[0170] As indicated above, each of lhe software precesses                 (step 2026), those event de枇가s flags arc also evaluated
s혜 tbrth above (FIGS, 12-13, 16, and 19) correspond to                    (step 2022) and may cause further actions by the <kvice (step
functions perk)rmed by the wave morphology analysis units                 2024), It should be noted thau in gene rah aciions performet!
712 and window analysis units 714. Each one is initialed                  by the device (as in step 2024) may be in part dependent on
periodically, typically once per de teclion window (1212,                 a device state—even if certain combinations of events eld
1512). The outputs frcim lhe half wave and window analysis                occur, no aciion may be taken if lhe device is in an inactive
units 712 and 714, namely the flags generated in response E               state, for exampk.
counted qualified half waves, accvmulaied line Icrtgihs, and              [0176] As described above, and as ill겨sirated in FIG, 2(l as
accumulated areas arc combincci lo identify event detections              step 2018, a corresponding set of analysis tool tlags is
as fund ionally illu니ehie€ in FIG» 8 and as described via                 coinbined inio a detection channel flag as shown in riG, 21
How chart in FIG, 2〇.                                                     (see also FKL 8). Initially the ouipiil detection channel flag
[0171] J'hü process begins wiih lhe receipt of a rimer                    is set (step 2110). Be붛inning with the Hrst analysis 1001 for
interrupt (step 2010), which is lypically 놈CHcramd on a                   a particular dciccuon channel (畝cp 고 112), if ihc correspond­
regular periodic basis to indicate lhe edges of successive                ing analysis 1001 fla앙 is nt)l sei (step 2114), then lhe output
lime windows. Accordingly, in a system or method accord十                  detcciion cbânncl flag is cleared (step 고 116).
ing lo the disclosed embodimenl of lhe invenlion, such a
                                                                          [0177] If the corresponding analysis 1001 Hag is sci (siep
limer inierrupl is received every 128 ms, er as otherwise
                                                                          2114), the oulput detection channel flag remains sei, and
programmed or designed. Then lhe half wave (step 2012,
                                                                          furlher analysis 100is tor the same channel, if any (.step
i-IGS. 12-13), line length (step 2014, FIG. 16), and area
                                                                          2118), are evaluated. Accordingly, this conibination proce・
(step 괴H6, FHk 19) 기mlysis tools arc evaluated with
                                                                          dure operaies as a Boolean AND operation一if any of the
respect lo the latest daui geocraicd ihereby, via the halfwave
                                                                          enabled wind aelhi, analysis 100Is for a particular detection
analysis flag, lhe line length flag, and the area flag for each
                                                                          channel does noi have a sei ouipul Hag, 나｝じn no dckclion
active channel, fhe steps of checking lhe analysis tools
                                                                          channel Hag is output by the procedure.
(steps 2012, 2014, and 2016) can be performed in any
desired order or in parallel, as I hey are generally not                  [0178] Aclear analysis 1001 flag indicates that no detection
inierdependent. 11 should be noted lhat lhe foregoing aniUy-              has been made within the flag persistence period, and for
sis loo Is should be checked Lor every aclive channel, and                those analysis tools that employ an X of Y criterion, that
may be skipped for inaclive dctccdon channels.                            such criterion has roi been met. In certain eircumstancest it
[0172] Flags, iiKlieating wheihcr particular 蚯늠nal charac-                may be advantageous to also provide delect ion channel flags
icristics have lx：cn icienTified in each active channel, for each         wiih logic inversion. Where a desired criterion (lj cem-
active analysis tools, are then combined into deleelion                   binaiion of analysis tools) is not met, the output flag is set
channels (step 2018) asill^slrahid in            In the disclosed         (rat her lhaロ ckared, which is lhe defauh action). This can be
embediment of the in ven lion, Lhis opera I ion is performed as           accomplished hy providing selectable Boolean logic inver­
described in detail below wilh reference to ド]¢;. 21. Each                sion (siep 2120) corresptmtling lo each evenl deleclor.
detec I ion channel is a Btx>lean AND combination of analysis             [0179] Als<i as desenhed abwe, and as illustrated in FIG*
tool fla옴s for a single channel, and as dificloscd above, there           2tt as step 2D20, multiple deiecticn channel Ha옹s are com­
arc preferably at least eight channels in a system according              bined into a single cvcni dctcelor flag as shown in FIG, 22
10 the invention.                                                         (see also FIG* A). Initially the ouipui event detector fia녹 is
[0173] rhe flags for multiple dcieciion channels are then                 SCI (step 2고 10), Beginning wiih lhe first detection channel
combined into event dctccior Hags (step 202〇), which 솨r¢                  for a parlicular cvcni detecior (step 2212), if lhe channel is
in die a live of k!enli!ied neurological events calling for action        not enabled (step 2214), lhen no check is made. If lhe
by the device. This process is described below, see F[(t. 2。,             channel is enabled and the corresponding detection channel
and is in general a Boolean com bin al ion of deteclion chan­             Ilag is not sei (step 2216)^ then the output event delector Jlag
nels, if there is more than one channel per event dcicctor.               ts cleared (step 2218) and tbe combination procedure exits.



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                                                         Appx930
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If ihc corresponding dcicciion channel fl<ig is set (step 2216),           4. The implantable device of claim 3, wherein the housing
the 。가tput ¢vent detector fla김 remains set, and further                 rs impbfikd intracranially in the patient.
dciccrion channels, if any (step 222〇), are e부ah丄aHzd alter                5. rhe implantable device of claim 1, wherein the ncu-
incrementing the channel biHn몸 considered (step 2222),                  fok旭ica] event comprises an epileptic seizure, an onsci of an
Accordingly, this combination procedure also operates as a              epileptic seizure, a precursor lo an cpileplic seizure, an
Boolean AND opcraiion—    —any of the enabled and active                episode of a movement disorder, an onset of an episode of
tleleclkin channels does not have a sei outpul flag, I hen no           a mcvemenl disorder, a precursor Lo an episode t)f a move・
event detector flag is output by the procedure. Ii should also          meni disorder, a migraine headache, an onset of a migraine
be observed that a 13 exile an OR combination of detection              headache, a precursor to a migraine headache, an episode of
channels may provide useful information in certain circum­              pain* an onset of an episode of p2日+ a precursor to an
stances; a software or hardware flew chart accomplish in임               episode of pain, an episode <4 depression, an onset of an
such a 心am bin at ion is noi illuslratcd, bui じdu Id easily be          episode of depression, or a precursor to an episode of
created by an individual of ordinary skill in digital electronic        depression,
design or <x^mputer programming,                                           6. l he implantable device of claim 1, wherein rhe neu­
                                                                        rological evenl comprises an even I prediclive of an episode
[018이 An impla III able version of a system according lo
                                                                        üt' clinical symploms selected from the group ctinsisli ng of
the invention advantageously has a long-term average cur­
                                                                        an epileptic seizure, an episode of a movemeni disorder, a
rent consumption on the order of 10 microamps, allowing
                                                                        migraine headache, an episode of pain, and an episode of
the implanted device l〇 operate on power provided by a coin
                                                                        cicprcssicdH
cell or similarly small battery for a period of years without
                                                                           7. ITie implantable device of claim 1, wherein lhe cletec-
need for replacement. It should be noted, however, that as
                                                                        lion subsystem comprises at least one ckcironics module,
ballery and power supply configurations vary, Ihe long-term
                                                                           S. The implanlable device of claim 1, wherein lhe feature­
average currciil consumpiion of a device according to the
                                                                        based analysis unil comprises a wave morphology analysis
invention may also vary and slill provide salisCaclory per­
                                                                        unil.
formance.
                                                                           9. rhe implantable device of claim 1, wherein Ihc win­
[0181] It 아】。비d be 이)sewed that while the foregoing                     dow-based analysis unit comprises a line length function
detailed description of various embodiments of ihc prcseni              analysis tool.
invention is set forth in some detail, the invention is not                      The imp]amab!c device of 미aim 9, wherein the
limiled lo Lhose d뱌aits and an implantable neiircslimulaior             window-based analysis unit further comprises an area func-
or ロc기rロlogical disorder detection device made according to             lion analysis took
the invent ion can cliller from the disclosed emboJimenls in                11. An implacable device for deleding a n이|봉ical
numerous ways. In particular, ii will be appreciated 山al                eveni by analyzing an electrical signal from a paiiertl\brain,
embodiments of ihc present invention may be ciripJoyed in               ihc device comprising:
many tliâerenl applications lo d비eel anomalous neurologi­
                                                                          an implantable control module;
cal charactensiles in al tea뵈 one portion of a paiienf s brain,
h will be apprecialed lhal the funciions disclosed herein as              a detection subsystem located wilhin lhe control module
being performed by hardware and software, respectively,                      and adapted to identify at leasl one fealure in lhe
may be performed clifferenlly in an alternative じmbedime마.                  eleclrical signal and cal cubic al least one window
El should be further noted lhal lune I ion al distinctions are              parameter in lhe eleclrical signal; and
made above for 卩urpロg of explanation and ebrity; struc­
                                                                           a じcntFal processing unil located within ihc conlrol mod­
tural distinctions in a system or method according to ihe
                                                                              ule and ad a pled to analyze the at least one feature and
invention may not be drawn along ihc same Iru 讪 ries.
                                                                              lhe at least one window parameter, and lo initiaie an
ilence, the appropriate sctipe hereof is deemed lo be in
                                                                              action in accordance Iherewilh.
accordance with the claims as set forth b니dw.
                                                                           12, An implantable device for deieciiti농 a neurological
What is claimed is:                                                     eveni by analyzing an electrical signal frvim a palienfs brain,
   1. An implant able device Icr delecting a neurological               lhe device comprising:
event by analyzing an electrical signal from a palienl's brain,           an implantable control module;
ihc device compnsjng：
                                                                          a central processing unit located within the conlrol mod-
  an implantahk control motlulc;                                             니e; 凯시
  a eenkal processing uni I located within the control mod­               a de teclion subsystem located within the conlrol motluk;
     ule; and
                                                                           wherein lhe delcclion subsystem performs al kasi a
   a deteclion subsyslem localed within the conlrol module                   portion of a delecdon task without the use of lhe central
      and comprising a waveform analyzer having a window­                    processing unil, thereby allowing the cenlral processing
      based analysis unit and a feature-ba.seci analysis unit.               unil to remain in a r이atively inactive mode at least part
   2. The implantable device of 기aim 1, wherein ihc detcc-                   of ihc lime.
lion sul>systCTTi performs a first portion of an event detection           13 An implantahl¢ device for detecting a neurologicaJ
procedure, and the ceniral processing unil performs a second            匕기¢Dl by analyzing an elecirieal signal from a paliertf s brain,
portion of ihc event dctecrion procedure,                               Ihc device eomprising:
   3. J he implanlabk device of claim 1, wherein the central
                                                                          an implanlable control module;
processing unit and the detection subsystem are enclosed
wilhin a housing, and wherein the housing is imp Ian led in               a plurality cf electrodes including at least one brain
ihc palicnl                                                                 electrode; and



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  a plurality of cvcm dcicctors each adapted to analyze a                16. The method for dctcciing a neurological event of
    signal from an electrode pair, wherein the electro de pair        claim 15, wherein lhe processing step comprises ihc steps of:
    comprises Iwo cleciro<les selected from ihe plurality of
    cle<?trodcs and including at least one brain cleet rode;            sampling the electrical signal to creatt： a sampled digital
                                                                          signal;
  wherein each event de lector of lhe plurality of event
    deleelors is programmable with respect lo al least one              identifying a feature in lhe sampled digital signal wilh a
    dele기ion param리er; 쵸nd                                                wave morphology analysis unit; and
   wherein each event detector of lhe plnra lity of event                calc비aling a window parameter in the sampled digital
     detectors is adapted lo be selectively coupled to receive              signal with a window analysis unit.
     a signal From a corresponding electrode pair                         17. The method for delect in익 a neurological event of
   14, An implantable device for detecting a neurological             claim 1& wherein the ca leu la Ung step comprises the step of
went by analyzing an clerical signal from a paiicnt's brain,          computing a line length fund ion,
lhe device comprising:                                                    18. I'hc me I hod for dcieciing a neurological event of
  a central precessing urtil;                                         claim 17, further comprising lhe si바) ot' Iran storming the
                                                                      sampled digital signal prior to computing lhe line length
  a detc기ion suhsysiem comprising 히 least one electronics             function.
     module and in이uding a waveform analyzer having a
                                                                          19. Th¢ method for delect in녹 a neurological event of
     window-hasctl analysis unit adapted to analyze a line            claim 16, wherein the calculating step comprises the step of
     length fun el ion and a ロ area function in lhe eleeirieal        computing a line length function.
     signal, and a feaiure-bascd analysis unit adapted【〇
                                                                         20. rhe method for detect ing a neuro logic al event of
     analyze half waves in Lhe eleclrical signal; and
                                                                      claim 19, further comprising lhe step of transforming the
  a power supply;                                                     sampled digital signal prior lo compuling lhe area fund ion.
  wherein the deteclion subsystem includes a pluralily of                21. rhe melhtid for delecting a neun> logic al event of
    inputs and a pluralily of detection channels;                     claim 16, wherein lhe identifying step comprises the steps
                                                                      of：
  wherein lhe wj nciow-based analysis unit includes a plu­
    rality of window analysis units and the fealurc-based               localing a half wa부¢ in lhe sampied digii이 signal;
    analysis unit includes a plurality of wave rF心「phok悟y
    analysis units;                                                     determining whether an amplitude of the half wave
                                                                          exceeds an ampliiude threshold and whether a duration
  wherein lhe deieclicn subsystem performs at least a                     of lhe half wave exceeds a duration Ihreshokl, and if
    portion of a detection task without lhe use of the eentral            both thresholds are met, labeling the half wave as a
    processing unit, thereby allowing lhe central processing              qu ah lied half wave.
    unit IO remain in a reblively inactive mode at least part
    of the time;                                                         if lhe half wa기c is a qualified half wave, storing a record
                                                                            representative oL' lhe qualified half wave.
  wherein the central processing unil, the delection s나b・
                                                                         22. The met he cl for delecting a neuro kigic al event of
    system, and the power supply arc enclosed within a
                                                                      claim 21, wherein lhe localing step comprises lhe steps of:
    housing and implanted in the patient; and
  wherein lhe neurological event comprises an epileptic                 finding a starting point for the half wa부¢, wherein the
     seizure, an onset of an epileptic seizure, a precursor to             starting point has a first sample value equal to an initial
     an epileptic seizure, an epistide of a move men I disor­              current EEG sample value;
     der, an onset of art episode of a movemeni disorder, a             calculating an ending threshold by combining lhe current
     precursor to an episode of a movemenL disorder, a                     EEG sample value and a hysteresis value;
     migraine headache, an onset of a migraine headache, a
     precursor to a migraine headache, an episode of pain,              measuring a current ELG sample value;
     an onset of an episode of pain, a precursor to an episode
     of pain, an episode of depression, an onset of an                  comparing the current EEG sample value to the ending
     episode of depression, or a precursor to an episode of               threshold;
     depression.
                                                                        repealing the calculating, measuring, and comparing steps
  15, A method for 〔1以心니血앙 a neurological event by
                                                                          unLil lhe currenl ELtj sample value exceeds the ending
analyzing an electrical signal from a palicnt*s brain with an
                                                                           Ihreshokl;
implanlable device^ lhe method comprising the steps of:
  receiving lhe ekclrical signal wilh an electrode pair;                establishing an ending point for lhe half wave, wherein
                                                                           the ending poim has an end in함 sample value equal to
  processing the ckeirical signal with a detection sub­                    lhe current EEG sample 기a!ue;
    system, wherein the detection subsystem is adapted to
    identify al least one feature in the electrical signal and          calculating a h;)lf wave amplitude equal to a dirfcrence
    calculale al least one window parameter in the electri­               between the first sample 도Mue and the current EEG
    cal signal; 샤nd                                                       sample value; and
  causing the implantable device to perform an action in                calculating a half wave duration equal lo a difference
    accordance with an indication from lhe detection sub­                 between a lime corresponding lo the ending point and
    system.                                                               a time g「的spondir电 lo the 긳aHhi몸 point.



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   23, The method for delecting a neuro logical event of               26. A method for detecting a neurological event by
claim 16, wherein the causing step comprises the 믻q>s of:            analyzing an electrical signal from a patient\ brain with an
                                                                     implantable device, the method compri&irtg Lhe steps of:
  processing ihe feaiurc and ihe window parameier lo
    determine whether to scl a detection flag;                         receiving the electrical signal with an electrode pair;
                                                                       processing the electrical signal;
  if Ihe delect ion flag is *し performing an action in
     accordance with lhe dcleclion flag.                               converting the electrical signal i마〇 a digital signal;
  그4一 A mclhod for d賦echロ림 a neurological eveni by                     performing a feature exlraclion operation on the digital
analyzing an electrical signal from a patient\ brain with an             signal;
implantable〔kwicら the mcihoc! comprising the steps of:                 performing a window calculation operation on the digital
                                                                         signal;
  receiving a first elccirical signal and a second electricaJ
    signal from a pluraliiy of electrodes,                             analyzing a result from lhe feaiure extraction opera I ion；
                                                                       analyzing a resull from the window calculation operation;
  processing the electrical signals with a detection sub­                 航니
    system 10 obtain a Jjrsl detection channel output and a
    second detection channel output;                                   performing an action in accordance with the result from
                                                                          lhe feaiure exlraclion operation and lhe rcsull from The
  combining ihc first detecnon channel output and the                     window caleublion opcralion,
    second detection channel output to obiain an event                 27. A method for dcKclin홈 a neurological event by
    detector output; and                                             analyzing an ulecirieal signal from a paiienfs brain wilh aロ
                                                                     implaniablc device, the device having a processor and a
  causing lhe implantable device to perform an action in             deleclion subsyslcm, lhe m el hod eomprisiDg lhe steps of:
     accordance with lhe event detector output.
                                                                       causing lhe processor lo enler a low-power mode;
  25. A method for detecting a neurological event of claim
고4, wherein the processing step comprises the steps of:                measuring a feaiure characteristic of the eleclrical signal
                                                                        with the detection subsystem;
  employing lhe detection subsystem to identify at least a
                                                                       measuring a window characteristic of the clccIrical signal
    firet feature in the first electrical signal and a second
                                                                        with the detection subsystem;
    feature in ihc second electrical signal;
                                                                       causing lhe processor lo exit lhe low-power mode;
  employing lhe detection subsystem to cdculate al !easi a
                                                                       analyzing lhe lea lure characlerisl ic and the window char­
    first window parameier in lhe firsi electrical signal and
                                                                         acteristic with the processor; and
    a second window parameter in the second electrical
    signal;                                                             performing an action in accordance with ihc feature
                                                                          charaeierisiic and the window characteristic.
  analyzing lhe first fcaiure and lhe drsl window parameter             28. The method for delecting a neurokigical event of
    to obtain a lirst deteclion channel output' and                  claim 27, wherein lhe low-power mtxle is characterized by
                                                                     r이ahve inactivity.
  analyzing the second feature and lb¢ second window
    parameter to obtain a second detection channel oulpuL                                  넝¢   *   *   *   *




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                                                     Appx933
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                                                                刪삐쎄|네네|쎄|쎄||
                                                                      US 2(X)20032386A1
                                                                                        Hili베
(19)United States
(12)Patent Application Publication ¢i〇)Pub. n〇.： US 2002/0032386 Al
       Sackner ct aL                                                        (43)Pub. Date:                  Mar. 14, 2002

(54)   SYSTEMS ANU METHODS FOR                                       (57)                     ARSTRSじ F
       AMBULAI ORY MONITORING OF
       PHYSIOLOGICAL SIGNS
                                                                     The preseni inveniion relates to lhe field of ambulalory and
(76)    Inventors: Marvin A* Sackner, Miami Beach, IL                non-invasivc moniloring of a plurality of physiological
                   (US); Dana Michnd Itiniim, Miami,                 paramelers of a moniloretl individual. The invention
                   FL (US)                                           includes a physiological moniloring apparatus with an
                                                                     improved moniloring apparel worn by a monitored indi­
       Correspondence Address;                                       vidual, ihe apparel having attached sensors tor monitoring
       PENN IE & EDMONDS LLP                                         parameters reflecting pulmonary function, or parameters
       COUNSELLORS AT lAW                                            reflecting cardiac function, or parameters reflecting the
       1155 Avenue of the Ameritus                                   fund ion of other organ sysiems, and the apparel being
       New York, NY 10036^2711 (US)                                  designed and laik)red to be comfortable during the individu-
                                                                     aVs normal daily Ml中Hie& The apparel is preferably also
(21)   AppL No.:          ü9/S36,3«4
                                                                     suitable for athletic activities. The sensors preferably
                                                                     include one or more ECG leads anti one of more induclive
(32)    Filed：           Apn 17, 2Ü01
                                                                     plethysmographic sensor with conductive loops positioned
                 Keliitcd U*S* Application Dutu                      closely 10 ihe individual ro preferably monitor at least basic
                                                                     cardiac parameters, basic pulmonary parameters, or bolb,
(63)    Non-provisional of provision^)! application                   ITie monitofing apparalus also includes a unit for receiving
        03197,589, filed on Apr 17, 20()〇.                           data from Ihc sensors, and for storing the data in a compuicr-
                                                                     readable medium. The invention also includes systems com -
                   Publication Classifies th in                      prising a central da La repository for receiving, storing, and
                                                                     processing data generated by a plurality of physiological
(51)    Int. Cl/                 5…A61B 5/0«; A6iB 5/02              iTioiijtorcd apparatus, and for making stored data available to
(52)    U.S, Cl.                 ..600/536; 600/4«4, 600/509         ihe individual and lo hcalih care providers.




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                                  12                                                                             16
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                                                                1                                                     APPLE 1017



                                                       Appx934
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                                   Appx935
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                                        F1G.2



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                                   Appx936
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                  23



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           25                         26       32


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28                                                               25
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                                      FIG.3
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                                      Appx937
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                                                              US 2002/0032386 Al




                       30a                FIG.4



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                                   Appx939
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Appx941
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                 Case: 22-1890   Document: 22   Page: 422   Filed: 02/15/2023




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                                                FIG.8A                                       f
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Appx942
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          OSC.   一 DEMOD 一 MICROPI 一     XMTR —Z             RCVR 一 MICROP2
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                                                                  FIG.8B
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                                   Appx944
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US 2002/0032386 Al                                                                                                        Man 14, 20)2
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  SYSTEMS AND METHODS FOR AMBULATORY                                           mclhocl for monitoring cardiopulmonary events by inductive
   MON口ORING or EHYSKM/XaCAL SIGNS                                             plethysmographic measurement of a cross-sectional area of
                                                                               lhe neck, and furihcr discloses a method for monitoring
               I. 미ELD OF THE INVENTION                                        mouih volume by inductive plcibysincgraphic measurement
                                                                               of a cross-scetionai area of lhe head in a plane which extends
[0001] Itie present invention rebles to the Jield of ambu-                     ihrough the mouth.
lakiry and non-invasive monitoring of an individual's physi­
ological param비em. In particular, the invention relates ttj a                  [Ü0G7] (4) The '015 pM히H: US PaL No. 4,456/115,
monitoring apparatus wilh an improved apparci worn by a                        issued Jun. 26, 1984 and lilted "Non-inva.sive Method for
moniloretl individual, the apparel having attached sensors                     Scmiquantilative Measurenicnl of Neck Volume Changes,"
for monitoring parameters「¢Heeling pulmonary function, or                      discloses a method of plethysmographic measurement of 솨
parameiers re lie cling cardiac function, or parameters reflect­               subject \ neck volume by providing an extensible conductor
ing the function of other(建a日 systems. The invention also                      closely circling lhe neck and, first, calibrated again圖 cross­
inch|des systems for receiving, storing, and processing                        sectional area so that neck 부otunic may be dcicrniincd from
p h ysio logicii i -p a ra met er tlaia, and for making it av^iilable 10       lhe        니。「's inductance, and also, second, calibrated
lhe individual and to health care providers.                                   against invasively-measured inirapleural pressure so that the
                                                                               intrapleural pressure may alst> be determined from the
         2. BACKGROUND OF TIIE INVENTION                                       conductor's inductance, and also so That intrapleural pres­
                                                                               sure may also be oblaincci from measured neck volume.
[0002] In th¢ tbflowing, ihc term **plethysmography'' (and                     [0008] (5) T油paieni; US Pat, No. 4,64B,4()7,
its dcr浦aiivc words) means measurement of a cross^scc-
                                                                               issued Mar, IÜ, J987 anti titled *'Mcihod for Detecting and
lional area of the body, such as a cross-sectional area of the                 Differentiating Cenlral and Obstructive Apneas in New­
chest or tif lhe abdomen, or a body par. such as ä cross­                      borns," dEi니。$in낭 melhüds for delecting lhe presence and
sectional area of lhe neck or of an arm, (fhis meaning is                      origin oF apnea in newborns by concurrently monitoring
somewhat more limited than is standard in lhe medical arts.)                   reb live move me nl of lhe cranial bones (which have been
Furl her, The phrase "inductive p k I h y sm ograph y"" means                  found to move wilh respiration as a function of intrapleural
herein pkWhysniD^Jraphic measurements which depend on
                                                                               pressure), preferably by a surface inductive plethysmo-
inciuclance determinations.
                                                                               닉ra卩hie transducer, and nasal ventilation, preferably by a
[0003] Measurcmeni of pulmonary and cardiac physi­                             nasal c<innula, ihcrmisior, ihermocouple or Cü^ sensor,
ological parameters by means of induE浦¢ plethysmography                        wherein absence of changes in both cranial bone movement
is known. For example, many measiiremeni methods and                           and respiratory air How al the nose indicates of the presence
apparaUis are disclose¢| in lhe following U.S, patents, ihc                    of central apnea, while absence of nasal air flow accompa­
cm ire disclosures of which arc incorporated herein, in their                  nied by ccniinuing cranial bone movements intlicaics of
e mire lies, by reference, Cor all purposes.                                   ubslruclive apnua.
[0004] (1) Th雄'872 palenl: US PaL No. 4,308,872,                               [0009] (6) T臨 Wö그 palenl: US Pal, Nt\ も777,96%
issued Jan. 5, 1982 and lilleci “Method and Apparatus for                      issued 〇니. 18, 1988 and titled **Method and Apparatus for
Moniloring Respiralicn," discloses a e리hod and apparatus                       Distingu ishing Central Obsiruclive and Mixed Apneas by
r〇f moniloring rcspiradon volumes by measuring variations                      Externa! Monitoring Devices Which Measure Rib Cage and
in the paticnl's chesl cross sectional area, or variations in                  Abdominal Ccmpartmental Excursions During Respira­
both ehest and abdomen cross sectional areas, each area                        tion/* discloses an apparatus and method for distinguishing
being measured by deiermining lhe inductance of an exten­                      beiwccn different types of apneic episodes. The mcth(xl
sible clccirical conductor closely loop¢ci around lhe body,                    includes measuring a new index, Ibtal Compartmcntal Dis-
and lhe measurements being calibraled by measuring the                         placemenl/ridal Volume (TCD/VT), and rnヒas기ring the
area varialions for a few breaths while dirccily measuring                     phase re Id lion belween lhe abdominal and rib cage contri­
corresponding volumes of brealh, preferably while lhe                          butions to t이M respiration volume, wherein an episode is
patient assu mes al least Iwo body p域Uions, for example                        classified as cenlra I, obstructive or mixtxl based on lhe value
silling and supine.                                                            □f T。D八1 and the phase relation.
[«〇(担]0)      The ’534 pmE: US PaL No. 4373,534,                               [Ml미 (7) The ^640 patent： US PaL No. 4,807/)4〇,
issued Feb, 15, 1983 and liiled "Method and Apparatus for                      issued Feb, 38, 1989 and tilled '*Sircichablc Band-type
Calibrating Respiration Monitoring System/' discloses                          Ttansd니£cr Particularly S기hed for Respiration Monitoring
methods and sy帥ごm노 in which respiration volume is deier^                       Apparatus,^^ discloses an improved, low-cost 顷r비나iable
mined by weighting signals represenling abdominal and                          banci incorporating a conduclor tor disposition aboul lhe
chesl crass-sectional areas, where the weigh ling factors are                  human lorst)or other Ihree dimensional objeel, and particu­
determined by a procedure involving measuring respiration                      larly intended for use with respiration moniloring by means
volume by an allernale measuring apparatus along with                          of indue live pl el hysmogr ap h y, a method for making lhe
unweighted chest anti abdomen si 녹日 a Is, the measurements                     band, which mcihod is suitable to mass production tech­
occurring for a first series of breaihs based with a first                     niques, and an improved enclosure housing circuitry「¢lea§*
f니aiWe chest and abdominal contribution and for a second                       ably connected to the conductor in the band when the band
series of breaths based on a second relalive chest and                         is incorporated in respiration moni心rin앙 apparatus.
abdominal contribution.
                                                                               [Ü011] (8) Ilie '473patent: U.S. Pal. No. 4,815,473Jssutd
[4HIÜ6] (3) rhe コ5고 patent: US Pat. No. 4,452,252,                             Mar. 28, 1989 and tilled "M랴hod and Apparatus for Moni­
issued Jun. 5, 1984 and titled "Nun・invasive Method Lbr                        toring RespiFaiion," discloses a method and apparatus for
Monitoring Cardiopulmonary ParariKtcrs/' discloses a                           monhoring respiration voJumes by inductive plethysmo­



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graphic measurement of va ria lions in a patient's chest cross             corresponding to movement of the lorso porlicn there
scciionaJ area, or prefer이}]y, varialions in both chesi anti               beneath which, in lurn, corresponds to ehan릭cs in thじ
abdomen areas during breathing, and a method for calibrat­                 volume of lhe inKlcrlyirtg lung, and also a method and
ing such an apparatus by measuring cross-scciional area                    apparatus for monitoring regional lung volume changes by
나 aria lions for a Lew breaths while directly measuring cor­               uiilizirtg transtliicers posilioned on the torso to encompass
responding volumes of breaih, preferably while the paiieni                 only a portion of the underlying lung,
assumes al least I wo body positions, f(ir example sitling and
supine.                                                                    [0017] ¢14) Jhe nSl p기U.S. P也 No. 5」7&め1,
                                                                           issued Jan. 12, 19り3 and titled "'System for Non-invasivc
[(Mn2] **气9) The ワ86 patent: US Pat. Na 4,860,766,                         Deled ion of Changes cf Cardiac ViJumcs and Aortic
issued Aug, 29, 1989 and lided “NcmirwasEc M더hod for                       Pulses/' discloses a method and an apparatus i here for for
Measuring and Monitoring Intrapleural Pressure in New-                     淄onitonn모 cardiac function in an animal or human subject
boms/^ discloses measuring iniraplcu ral pressure of ä new­                including the steps cf placing 쇼 Jirst move men 1 delecting
born subject by delecting relative movement beiwcen adj a 十                transtlucer on the lors¢>, said Iranstlucer overlying 시 least
cenlly-proximate cranial bones, preferably, using a surface                pari of two diam비「ically opposed borders of Jhe hearl or
1口^11니而心 piethysmographic Iransthicer:貝;£ure너 cn lhe sub­                  섬 re at vessels; general! ng a signal indicative of the movement
ject\ head across at least tw<i adj acen11 y-prciximate cranial            of the torso porlion sublended by lhe Iransducer, said signal
bones, and a method of calibrating such mcasurcmcms by                     including a cardiac component compi*겿ng at 】瞬믻 a seg­
temporarily manually occluding the subject\ nose or, if                    mental vcnlricular volume waveform or a segmcnlal aortic
intubated, the endcirachcal lube, to measure ihc airway                    pressure pulse wavefonn and assessing cardiac funciion by
pressure du「iロ몸 such occlusion as the subjcci makes an                     monitoring changes in sa허 veniriculär volume wavtlorm or
inspiratory effort and comparing the measured pressure lo                  said aortic pressure pulse waveform,
lhe measured signal,
                                                                           [ÜÜ1X] (15) rhe「678 p制히N: U.S. PaL No. 5,301,678,
[(Xn3] (10)】加 U09 patent: US Pat. No.も834,1〔)9,                            issued Apr. 12, 1994 and lit led '*Stretchable Banti-Type
issued May 30, 1989 and titled "Single Posilion Non-                       Transducer Partic니arly Sllj led for Use with Respiration
invasive Calibration Technique,*" discloses an improved                    Moniloring Apparatus," an improved, low-cosi sireIchable
metho¢| for calibrating inductive pleihysmographic measure­                band incorporating a ccnducior for disposition around the
ment of respiration volume by lotaling, dun ng 줘 period of                 human torso or other ihrte-dimcnsicnal object, and particu­
breaihing, a plurality of values of a parameter indicate of                larly inicndcd for 기驰 with plethysmographic respiration
ih¢ relative amplitude, for each breath, of uiicalibratcd rib              monilüR마; apparatus, is disclosed.
cage and abdomen signals, and by dividing the average
variability of the means of the loial of the values of one of              [0019] (16) rhe N68 paleni US Pal. No. 5,331*劉,
lhe rib cage anti abdomen signals by lhe average variability               issued Jul. 호C, 1994 and titled **InducTivc PkihysmogrfLphic
of the mean of Lhe lolal of the values of lhe olher signal, the            Transducers and Electronic Circuitry Therefor," discloses an
quolieni being so derived represcnls a signal weighting                    apparatus and meihod for improving lhe detection of lhe
faclor for delermining respiralicn volume.                                 induclance "signal" generated by an inclusive plelhysmo-
                                                                           graph by EodiEying lhe design of the indudive plelhysnio-
[(MU4] (11) The '277 patenl: U.S. Pal. No.も986,277,
                                                                           graph and also by improving the design of the associaled
issued JaiL 22, 1991 and tilled “M이hod and Apparatus for
                                                                           circuilry, bolh cf which permit the as.st)cjateJ circuilry may
Non-invasive Monitoring of Cenlral Venous Pressure," dis­
                                                                           b¢ locaicd remotely rather than 〇|} lhe iranscluccr, the
closes a method and apparatus for measuring cmiral venous
                                                                           improvement including seleciing lhe impedimee matching
pressure (CVP) and changes in LVP along with an improved
                                                                           iransfornier joining an inductivc picthysmograph to ancscil-
iransducer ¢50) for measuring CVP in infanis, wherein a
                                                                           lalor such lhal lhe inductance of its primary windin상 is
plelhy.smographic transducer is disposed on lhe neck of a
                                                                           greater than aboni ten limes the reflected iiidueianee of lhe
subjecl (or on lhe heatl in lhe case of irtfanls), the signal from
                                                                           in due live plethysm ograph and lhe cable joining il lo lhe
lhe Iransducer is processed t<i obtain a cardiac componenl,
                                                                           Iransformer, or circling the conductor of lhe induclive
and lhe vertical distance from lhe Iransducer Ig a reference
                                                                           pielhysmograph Lherein around the relevant body porlion a
1¢부el is adjusted until a position is located at winch the signal
                                                                           plurality of times, or sclcciing the cable connecting the
changes between a venous configuration and an arlenal or
                                                                           inciuciivc 卩kHhy뮈nロgraph to the transformer such that the
mixed vcncus-aricrial contigxiraticn, ai which position the
                                                                           ratio of lhe diameter of its screen lo the diameter of its center
          disiance approximaies CVR
                                                                           conductor is minimized for reducing lhe inductance per unit
[0015] (12) 111¢ '54Ü patent: US Pal. No. 5,040,540,                       length thereof,
issued Aug. 가\ 1991 and titled "M리hod and Appa[■치us For
                                                                           [0020] (17) lhe 425 pateoL U.S. Vdl. No. 5388,425,
Non-invasive Monitoring of Central Venous Pressure, and
                                                                           issued Dec. 31, 1996 and titled "Method and Apparatus for
Improved Transducer Therefor/" discloses an improved
                                                                           Discriminaling Between Valid and Artifactual Pulse Wave­
melhcd and apparatus I'cr measuring central venous pressure
                                                                           forms in Pulse Oximetry," discloses a meihod and apparatus
(〔WP), and changes in CWR along with an improved trans-
                                                                           for use in pulse oximetry for discriminating between 기alid
ciuccr for measuring CVP in Infants.
                                                                           pulse waveforms, determined whh a pholockctric plcthys-
[0016] ¢13) The '935 patent: US Pat No. 5,159,935,                         mograph, from which arterial oxygen saiuralion levels are
issued Nov, 3, 1992 anti litkd ''Non-invasive Estimation of                accepted, and 枝riifactual pulse waveforms, from which
[nüividiial Lung Lu net io n," tl i sclose s a non-invasive me I hod       sal Ural ion levels arc rejecied, according lo whether lhe
and apparatus for p le I h ysm ograph ic mo ni Ion ng individual           syslohc upslfoke time of each pu Ise waveform is wilhin a
lung funclicn by disposing a transducer on the lorsti above                predelermined range, il having been discovered that systolic
ihc lung lo be monitored» lhe transducer prixdiciロ릭 a signal               upstroke times for valid puke waveforms arc in a consistent.



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narrow range which varies only slightly from subjcci to                  preferred apparatus is a garment which, while 讪미낲ding
subject and which may be defined cmpiccally for each                     inductive plethysmographic anti other physiologic sensors,
subject or established by a de fa u 11 seuing applicable to all          is sufEcienily comfortable and unobirusive lo be worn for
subjects,                                                                mosi actwHics of daily life^
[0021] (18) The 388 patent: U.S. Pal. No. 6,015,388,                     [0026] In more de I ail、m a Jirsl embodiment, the present
issued Jan. 18, 조5用 and Htlcd '"Methtxl for Analyzing                    iimmii。ロ includes a moniloring apparalus for ロ。n-iiwa-
Breath Waveforms 처s lo Their Neuromuscular Respiratory                   sively moniloring physitj logical paramelers of an md is du a I
Implications," discloses a melhotl for measuring respiratory             comprising： a monitoring garmcni cDn】p「i血】독 a shirt for lhe
drive by determining a peak inspiratory How and a peak                   torso of the mdividu이 to be monitored, one or more induc­
inspiratory accclcraiion frciti a breath waveform 너£rivtd                tive plethysmographic (IP) sensors, each IP sensor ccnipris-
from rib cage motion and abdominal molion measured by                    山락 an ind낲ctanにc sensor including at least one conductive
cxiernal respiratory measuring devices, such as these based              loop arranged to closely encircle the lorso, wherein lhe
on inductive plethysmography, ihc measured respiratory                   inductance of the ccnductive loop is responsive tc lhe
drive being usable t« initial€ inspiralion by a mechanical               cross-sectional area of the torso enclosed by lhe kx?p, a
나eniil시。「and for determining an index describing a shape of              cardiac cycle sensor for generating signals responsive to
the waveform for conEiHim녹 a continuous positive air                     occurrence of cardiac venlricular contractions, a signal cable
pressure (CPAP) device.                                                  for carryhl오 signals from the sensors, and a microprocessor
[폐22]      (19) The つ。3 patent; US Hat, No. 6,047,203,                   unil comprising a microprocessor for receiving signals from
issued Apr. 4, 2tKK) and titled ^*Physiologic Sigas I'tedbaek            lhe signal cable and for recording digital da I a derived from
System/* discloses a non-invasH/t physiologic signs moni-                all received signals m a removable co m pu I er- re ad ab k
loring device which includes a garment, in a preferred                   memory media,
embcdimeni, a shirt, with elee iroca rd io gra m eleeirodes and          [ÜÜ27] In iirsl aspecls of lhe lirst embodimenl, the cardiac
various in due live plethysmographic sensors sewn, embroi-               cyck sensor comprises al least one elect roca rd iogram
tleretl, embedded, or otherwise al Lac heel to the garmenl with          (ECG) eleclrcide attached to lhe indiWdual lo be monitored;
an adhesive, signals generated by I he .sensors being Irans-             lhe cardiac cycle sensor comprises al least <me IP sensor
inittcd to a record in g,/a la rni device where they arc logged          closely fitting about the neck of the individual to he moni-
anti monitored for adverse or other preprogrammed cendi-                 lored, wherein signals lhe inductance of the IP sensor is
lions, which is signaled by When an adverse condition or                 responsive to cardiac 부。niricula矿 contractions because ihc
other prtprr喧国inmtd condition occ기rs, a message is com-                  cross-seelicnal area of the neck is fesponsi비e I()carotid
municaletl to lhe palient by eilher an audio message or a                artery pulsations generated by cardiac ventricular contrac-
display. rhe recording/ah rm unit is also conned able to a               lions and the inductance of tlic IP sensor is responsive lo the
remote receiving unit for monitoring by a health care                    cross-scctionaJ area of lhe neck; ihe computer-readable
professional or other machine.                                           medium comprises a magnetic disk; the compukr-readable
[0023] 110wever, nowhere in the arl of inductive plethys­                medium comprises a Hash memory module (64 MB or
mography arc found ruachings of praciicdl and effective                  more).
apparatus ftir non-invasive, ambulatory mortilcring, of pul­
                                                                         [0028] In second aspccls of lhe first eiiibodunent, lhe
monary and cardiac parameters. Such practical and effective              moniloring garment further comprises a band for Lhe neck of
monilorjng apparalus would he of great lx:nelit by assisting
                                                                         lhe individual to be monitored, and the JP sensors comprise
lhe transfer of health care from tradiiional hcspital-bascci
                                                                         a neck inducrivc plcihysmographic sensor operatively
car¢, which is adminisicrcd by Iraincd health care workers,
                                                                         arranged for gcneraling signals respond디心【〇 ju몸비aLvenous
10 homc-b^ised self care, which is administered by the
                                                                         pulse, carotid arleri^l pulse, respiralion-relaled inlra-pleural
individual patient during, if possible, lhe palienl's normal
                                                                         pressure changes, con traction of neck muscles, anti *#&卜
daily aclivilies, Illis iransfer in heaUh care has been found
                                                                         lowing de Heel io ns, and lhe signal cable further comprises an
socially desirable because it may reduce heahh care costs
                                                                         allachmenl U)lhe condueiive loop of lhe neck IP sensor; lhe
anti may increase palienl mvolvemcnl in and commitmenl Io
                                                                         IP sensors comprise at Icasi one abdominal IP sensor includ­
ihcir treatment plans. Non-invasivc and ambulatory moni-
                                                                         ing one cr more <：。[1〔1기匸^¥¢ loops and at Icasi one rib cage
lor I ng apparatus may assist this transfer, because Jl elimi­
                                                                         IP sensor including one or more gnchictive loops opera -
nates the risks associated wuh invasive sensors placed
                                                                         lively arranged for measuring breathing patterns of lhe
wilhin the body, such as inlravaseular ealhclers, risks which
                                                                         p끼i$ni; the IP sensors comprise at least cue Ihcracic IP
are considerably heighiened outside of lhe hospiial.
                                                                         sensor including a iwo or more conductive loops opera lively
[0024] Ciiaiion or idcniificaiion of any reference in this               arranged for measuring 기enh让ular stroke volume; the IP
Seel ion, including lhe pa Iじ n Is listed above, or in any section       sensors comprise at leasl one lower abdominal IP sensor
of this application shall not he construed that such reference           opera lively arranged for measuring inira-iowcr-abdominal
is available as prior arl lo lhe present invention.                      conlraclions and dilations; lhe IP sensors comprise al least
                                                                         one two hcmithoracjc IP sensors operatively arranged tor
           3. SUMMARY OF THE INVENTION                                   FHcasunn독 breathing and paradoxical moiion bciwccn two
                                                                         hcmithoratxs of the paüenl,
[0025] rhe pre sent invention has for its objects practical
and cffccl浦¢ apparatus for non-invasivc and ambulatory                   [0029] In third aspccis, the first embodiment further com­
muni 10「in샹 of key pulmonary and cardiac parameters along                prises one or mere further sensors atlacbed lu the signal
wilh a system that may be used for inleqirelation and use of             cable and selected from a group comprising a body position
moniloring da la lo improve heahh care outcomes and to                   sensor f(ir indicating a poslure of Lhe individual, a pulse
rcciuc¢ heal比 case costs. In preferred embodiments, the                  oximeier for indicating arterial oxygenation saluralicn, and



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a throat micro phone for iiidicoting laJking and snoring; or at        along lhe lorso, and a microprocessor unil comprising a
least two body jKisition sensors, a firsi body position sensor         microprocessor for receiving signals from ihe IPsensors and
mounicd on ihe garment and a second body posiiion sensor               for 冀心Ading 山몸nal data derived from all received signals in
mounted on a thigh cf the individual; and the IP induetivc             a removable computer-readable memory media,
plelhysmographic sensors are att ached to the garmenl as an
                                                                       [0033] In lirsl aspects of lhe second lirst emhotlimenl,
iniegral paH of ihc garmenl via a ロ attaehment consisting of
                                                                       lOTigilutlinal mol ion of each IP sensor is substanlially pre­
one of sewing, embroidering, embedding, weaving and
                                                                       ven led when lhe physiological paramelers indicated by lhe
printing the inductive plethysmographic sensor into the
                                                                       inductance of the co nd give 10op of the sensor de not
garmenl; the inicroprocessor unit further comprises an audio
                                                                       measurably change; the monitoring garmenl comprises
device for generating audio indications lo the individual
                                                                       excess fabric arranged to permit longitudinal stretching of
being monitored; the microprocessor unit further comprises
                                                                       lhe torso without applying force to the [P sensors suificient
a display unit for displaying viewable nNS渝혹es to ihc
                                                                       to cause subsiantial longiludinal motion; kmgiludinal
individual being monitored; the microprocessor unit further
                                                                       motion of each IP sensor is s기bs[aH【ial if physiological
comprises an input unit for the individual being moniloretl
                                                                       paramelers indie a led by the in clu dance of lhe conductive
lo input information or commands to the microprocessor
                                                                       loop of the sensor change as the moniloring garmenl is worn
unit.
                                                                       by the individual; lhe mon horing garmenl comprises la brie
[〔靴3비     In fourth aspects of the first embodiment, ihc               whh suificicni longitudinal elasticity to permit Iqr뫀itudiロal
microprocessor unit further comprises â memory accessible              slreiching of the torso without applying force lo the IP
10 the microprocessor, and wherein the memory comprises                sensors sufficient to cause subsiaiuial iロロgii기dinal motion,
encoded software instructions for causing the microproccs-
                                                                       [0034] In second aspects of the second embodiment, lhe
sor 10 read inpul data and lo write output data derived from
                                                                       lighlening device ¢x)mprises a cinch band and a gripping
lhe input data in theロ기able computer-readable memory
                                                                             心 for releasabiy gripping excess cinch band under
media; lhe memory further comprises encoded software
                                                                       tension; lhe lightening device comprises a drawsIring;
instructions fbr causing the micropKicesscr to determine
significant physiological events in lhe hidivid낦al being               [ÜU35] In third aspects, lhe second embociimenl, com­
monitored and to indicate audibly determined significant               prises a cardiac liming sensor for generating signals [◎기nmi-
events i〇 the individual; lhe niicroproccssor unit comprises           sive to cardiac vc가ricular contractions, and wherein lhe
components for wir미£$니y iransmii山】맘 Jetennined events                  nucrcproccssorunil further records digital data derived from
and lhe memory further comprises encoded software instruc­             signals received from the cardiac timing sensor; or a signal
tions for causing the microprocessor to dcierminc significant          cable for carrying signals from the sensors lo lhe microprO'
temporai physiological trends in lhe individual being moni-            仁essor unit.
lorcd and lo indicate audibly clcicrmincd signi ficant trends to
                                                                       [0036] In a third embodiment, the present iiwじnKon
lhe individ기al; lhe micmprocesst^r unit comprises eompo-
                                                                       includes a monitoring apparalus for non-invasively moni­
nenis for wirelessly iransnmnr电 determined significant
                                                                       loring physiological parameters of an individual comprising:
Irends; lhe memory furlher comprises encoded software
                                                                       a monitoring garmenl comprising a shirt for the lon>o of lhe
insirueiions for causing the microprocessor ic <x^mpress data
                                                                       individual lo be monilored and a longitudinal fasiener for
before writing lo the remt>vable com put er-read able memory
                                                                       opening and closing lhe shir，one or more inductive plelhys-
media.
                                                                       mographie (lP)scnsorsH.caeh IP sensor comprising an indue-
[()031] In fifth aspects of the first emlxidimcni, the mhmx            iaiKc sensor including ai ka^t one flexible conductive loop
processor unit furiher compriscs eireuiiry for deriving digital        arrang収1 め closely encircle lhe lorsc, wherein lhe incluc-
data from non-digital data receive¢! from lhe signal cable;            lancc of lhe conduenve loop is responsive to the cross­
the moniluring apparatus further eomprises eireu itry for              sectional area of lhe lorsc enclosed by the lotip, a cardidc
gümxaii ロ홈 a variable-frequency signal from each IP sensor,            liming sensor for gene rating signals responsive to 俄照기 卜
the genera led frequency being responsive lo lhe inductance            rence of cardiac ventricular con tract ions, a signal cable for
of the conduct (VC 10op cf the IP sensor, and wherein the              carrying signals from the sensors ewnprisin숨 al least one
micK3pr<x:essor unit further comprises circuilry for deriving          module, 우，herein the module is coupled lo and ekclrically
di뫃ilal data from the generated varbblc-frcqucncy signals,             completes the conductive loops of the IP sensors, wherein
lhe digital data comprising encoding of thじ variable fre­              termini of lhe conducive loops may be uncoupled from
quency of lhe signals wiih errors of iÜÜ ppm or less.                  module, and wherein the mochilc comprises eireuhry for
                                                                       generating signals responsive to the IP sensors, and a micro­
[0032] In a sccontl embodiment, lhe present invention
                                                                       processor unh comprising a microprocesstir for receiving
includes a monilorin승 apparalus for non-invasively moni-
                                                                       signals from lhe signal cable and for recording digilal dal a
loring physiological parameters of an individual comprising:
                                                                       derived from all received signals in a removable comjjuler-
a moniloring garmenl comprising a shirl for the torso of the
                                                                       rcadable memory media.
Mdwidual to be monitored, one or more inductive plcihys-
(Hographic (IP) sensors, each IP sensor comprising (i) a               [0037] In firsi aspects of the third embodiment ai least <me
longiludinal band of clastic inaierial attached to lhe garineni        [P sensor ftirlhcr comprises a lightenirtg device for adjusting
for closely cncirding the torso, (ii) an inductance sensor             circumferential tightness of the IP sensor to substantially
including at kasi one Hexible conducive 10op atiiichüd lo              prevcni lotigu나dinal movemeni of the IP sensor along lhe
lhe Icngiludinal band, wherein the inducrance of the con­              lorso* and wherein lhe n왐hicning device can be arr^ingecl not
ductive 10op is rじ spenshK to lhe cross-sect io nd area of the         lo impede unfastening of lhe shin； Lhe conductive loops of
torso enclosed by lhe loop, and (uj) a LighLcning device for           lhe IP sensors and the module furlher comprise mating
adjusting circumferenlial lightness of lhe IP senst)r lo sub­          conneclors so lhal the conducive loops may be connected
stantially prevent longitudinal movcmcni of the IP 河！！沁r               and diseonncclcd from the module; the si홈函$ gcncraicd by



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ihe module in response lo each IP sensor comprise digital             oscillator cycles by the count of lhe number of de ck periods;
data encoding the frequency of an oscillator responsive to            lhe memory further comprises software mslrn기ions For
lhe induciancc of ihe conduciivc loop of ihe iP sensor, the           causing rhe microprocessor lo del ermine an more accurate
frequency being encoded with errors of 100 (or 10) ppm or             frequency by combining the counts of a plurality of sam­
less;                                                                 pling periods.
[0038] In second aspects of the third embodiment, the                 [0042] In a fifth embodimerit, lhe preseni invention
signals genera led by lhe module in response lo each IP               includes a moniloring apparatus for non-invasively moni-
sensor comprise signals of variable frequency, the f「¢디i也nuy          loring physiological paramelersof an individual comprising:
being responsive to the intluclance of Lhe conductive 100p of         a iTionilonn혹 녹ann리M ctimprising a shirt for the torso of lhe
lhe [P sensor;加 microprocessor unii further comprises                 individual lo be monitored, a plurality of sensors, lhe sensors
circuitry for dcr浦ing digital data rrom the 니anahlt-fru-              comprising (i) one er more induclivc plethysmographic (IP)
tjucncy signals 농旧口 era ltd faim each IP sensor, lhe digital          sensors, each IP senst.>r comprising an inductance sensor
data comprising encoding of the variable frequency of the             including al least one Ilexiblc <xmducthw loop arranged to
signals wilh errors of lOU ppm or less； the microprocessor            closely encircle lhe torso, wherein lhe inductance of Lhe
unit Further comprises multiplex circuitry for permitting             じ〇ロduelr니せ loop is responsive to lhe cross-seclional area of
single deriving circuitry lo derive digital data Irom a plu­          lhe torso enclosed by lhe loop wherein at least one sensor
rality of variable-frequency 薊놓nak,                                   comprises a iransmiltcr for wirelessly じansmitiin읔 signals
                                                                      genera led by the sensor within lhe vicinity of lhe physi­
[예39]     In a fourth embodiment, lhe present invention               ological monitoring apparatus, a microprocessor unit com-
includes a monitoring apparatus for non-invasively moni-              pns顶곡 (i) a receiver for receiving signals wirelessly trans­
loring physiological parameters of an individual ct)mprising:         mined from the sensors, and (ii) a mieroprtKessor for
a moniloring garmenl eomprisi ng a shin for the lorso of the          acccpiing lhe received signals and for recording digiial data
individual lo be monitored, one or more inductive plethys­            derived from lhe received signals in a removable compiiler-
mographic (IP) sensors, each IP sensor comprising an in due-          readable memcry media.
tance sensor including al least <me flexible conductive loop
arranged to closely encircle the tors¢\ wherein lhe induc­            [0(143] In Jirsi aspects of lhe fifth cmlxidimcnt, al leasl one
tance of the conductive loop is responsive to the cross­              sensor generates outp비i signals in a digital form, and
sectional area of lhe torso enclosed by ihu loop, a cardiac           wherein the iransmiUer transmits the 득cncraNd digital sig“
liming sensor for generating signals responsive lo occur­             nals; lhe iransmilier and lhe ftcei니er conform lo lhe Blue'
rence of cardiac veniricukr contractions, a signal cable for          100ih standard; al Icasi one sensor generates variable-fre­
carrying signals directly from the conduciive loops。f ih나 1卩          quency analog ouipul signals, and wherein lhe Iransmilter
sensors md for carrying signals from the sensor, electronic           output is modulated by generated variable-frequency analog
circuitry comprising (i) a muUipIcxing switch 払rcQnロ¢가in림             signal; all sensors comprise a transmitter for wirelessly
lhe conduciive ioop of any one of the IP sensors lo an                Iransmilling signals generated by lhe sensor within lhe
oscillator, lhe oscillator having an oscillation frequency            viciniiy of lhe physiological moniicring apparatus.
responsive lo lhe inductance of the conduedve 10op etui-              [0044] In second aspects, lhe fifth embodimeni further
necled by lhe multiplexing switch, and (H) 쵸 demodulator              comprises a signal cable, wherein Lhe mH put of al leasl one
opera lively coupled lo Lhe oscillalor and outputting digital         sensor is carried to the mieroprocessor unit by a signal cable,
data responsive lo the oscillation frequency, and a micro-            and wherein the microprocessor records digital data derived
process¢)r unit comprising a microprocessor for receiving             from signals carried by lhe signal 灿1¢; the sensors further
signals from the signal cable and for receiving digital data          cotnpdsc a cardiac timing senwr for generating signals
from the eleeironic circuilry and for recording digital data          respEgi디e to occurrence of 心ar어iac ventricular eoniraciions.
from received i珥hj低 in a 冀compurer-rciklabk
memory media.                                                         [0045] In a sixth cmboclimcni, the prcseni invention
                                                                      includes a system fo「Ihe ncn-invisive physiological moni-
[004이 In ftrsl aspects of Lhe fou rlh embodiment, the                 lofing of physiological parameters of at least one individual
ciigilal data responsive to lhe oscilhlion frequency has errors       comprising: at leasl one physiological moni心rin옥 apparatus
of 100 (or 1 냐) ppm or less; the clecironic circuiiry is housed       comprising a monitoring 욤amwin worn on the torso of an
in the microprocessor 냠nit; the resistance of the data signal         individual being monitored, wherein the monitoring appa­
cables and lhe muliiplcxing switch from the conducii기せ 10op           ratus &lores in a 이]gUal form in a removable compuier-
of any iP sensor lo the oscillaTcr is less than 1 Q; the              rcadable memory media data, wherein the data is by sensors
mn llipiexing swiich is coni rolled sc lhal oscillator is peri­       comprising generated from (i) one or more inductive
odically connected lo lhe conduiWi기¢ 10op of each IP sensor           plethysmographic (IP) senst>rs flexibly attached Ic lhe moni­
ftsr Lhe duration of a sampling period (1 msec or less).              toring garment, and (ii) a cardiac liming sensor for gener-
                                                                      atin농 signals responsive to cardiac ventricular conUaclions,
[0041] In second aspects of jhc fourth embodiment, the
                                                                      and a data repository for reading data from lhe remtivable
ciigila! data ouipul by the demodulator comprises digital dala
                                                                      computcr^rcadabl¢ memory media tbai has been recorded by
encoding a 乂〇기nl of a number cycles of ihe oscillator                 the physiological m이Hl。ring apparatus and for storing read
occurring within a sampling period and digital damenc^dki놈
                                                                      data in a data archive, the data repository being remotely
a count of a number of periods of a clock occurring within
                                                                      localetl from the physiological monitoring apparatus.
lhe counlcd oscillator cycles; the microprocessor unit further
comprises a memory accessible lo the microprocessor, and              [0046] In first aspecls of the sixth embodiment, lhe physi-
wherein lhe memory comprises encoded software instruc­                010믐ical monitoring apparatus further Iransmils data wire­
tions for causing the microprocessor lo delemi ine lhe actual         lessly, and wherein lhe data reposil<iry further receives data
oscillator frequency by dividing ihe count of ibc numlx：r of          wirelessly that has been iransmittcd by the physkHo목icM



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moniloring apparatus, and then stores the rgみcd data; the             [0060] FIG 10 illustrates a system according to the
physiological HioHitunn홈 apparatus further comprises a                present invention.
microprtKcssor for processing ihe guncraied data for dcier-
mmm압 physiological <ヘ伐;nts and alarms, and wherein the                          土 DETAILED DESCRIPTION OF TH노
data wirelessly transmiued comprises the delerminud physi­                           PREl'ERRLJ? EMBODIMENT
ological events 교nd alarms.
                                                                      [0061] This 跳니iun begins with an intrtxJiiciory descrip­
[(MI47] In second a이)ects, I he sixth embodimenl furl her             tion of inductive plethysmography, its physiological appli-
comprises a local Jala repository co-k)caled with (he physi-          calions, and its measuremen I requiremenls. Aller Ihe inlm-
dIo독EM moniloring apparatus, wherein ibc local data rep口前-            ciiiciion are detailed descriptions of this inveniion's practical
tory receives data wirelessly iransmittcd by the physiologi­          and effective apparatus for norhirrvasiv¢, ambulatory mcni-
cal monHonn봄 apparatus and stores received data in a local            lofingn, of pubnonary and cardiac parameters, which in
data archive, and wherein the local data repository com­              preferred embodiments are various garmenis incorporating
prises display icrminals for m놔king 뵈。red data available lo           inchiciive plethysmographic sensors,
local health care prufessionals; the data reptjsilory further
comprises display lerminals for making stored dala available                         51. Inductive Pk나lysmoggph
lo healLh care professionals and Lo users monitoring the
                                                                      [〇。6고]    “Inductive plelhysmc^raphy" means herein mea­
operation of ihe system,
                                                                      surement of a cross-scciional area of the body by determin-
[0048] In third aspects, the sixth emhodimenb further                 in녹 the sclf-inducuncc of a flexible conductor closely encir­
comprises a plurality of physiological me ni to ring apparalus,       cling ihe area to be measured. Since ^he inductance of a
each apparatus for moniloring a different individual, and             suhsianlially planar cロnducthw loop is well known to vary
wherein I he data reposilory reads da la from removable               as, inter alia, the cross-seeiional area of the loop, a indue-
compuier-readabie memory media recorded by the pluraiüy               lance measurement may be con ver red into a plcihysmo-
of physiological moniloring apparatus.                                graphic area tie terminalion. Varying loop inductance may be
[0049] In 註 sevenlh embcxlimenl, the invention further                measured by techniques known in the art, such as, e g., by
                                                                      conRcclin믐 ihe loop as the inductance in a variable fre­
includes a computer readable medium er叩「⑸t电 data
recorded in digital form, wherein die recorded digital data           quency LC oscillaior, the frequency of ihc oscillator then
                                                                      varying with the cross-sectional area of the loop inductance
comprises data responsive wnh errors of 100 ppm or less to
ihc frequency of an oscillator connected to at least one              varies. Oscillator frequency is じon니erted into a digiial value,
conductive 10op of at least one inductive pleihysmographie            which is then further processed to yield the physiological
senstir; and also encoded 就由ware ftir causing microproces­            p盯am비盐5 of interest.
sors, dau repositories, and the like to perform the described         [0063] Specifically, a flexible conductor measuring a
methods,                                                              cross-sccticnal area of the body is closely looped around the
                                                                      area of (he body so lhat the inductance, and the changes in
      4. 1 せ시 hF [^ESCRIFJ ION OK T!1L HGURLS                         induelance, being measured results from magnetic fiux
                                                                      ihrtjugh the cross-sectional area being measured. The induc­
[0050] rhe present invent ion may be u nderslood more
                                                                      tance (hus depends directly t>n Ihe crtjss-sectional area being
fully by reference to the tbJlcwing detailed descriplion of the
                                                                      measured, and not indirectly on an area which changes as a
preferred embodimenl cf the present invention, ill기siraHvc
                                                                      result 况'the factors changing Ihe measured cross-sectional
examples of specific cmhodjmenls of (he invention and the
                                                                      area.
appended figures in which:
                                                                      [0064] Various physiQkjgisI parameters cf medical and
[0051] FIG, 1 illustrates a from view of a preferred
                                                                      research inlerest may be exiraeied from repetnive measure
moniloring apparatus txinslnjcled in accordance with lo the
                                                                      mcnis of the areas cf various cross-sections of the body. For
present inveniion;
                                                                      example, pulmonary function paramelers, such as respira-
[()052] FIG. 2 illuslrales a front view of another exem­              U〇ロ volumes and rates and apneas and iheir types, may be
plary monitoring garmenl conslnicletl in accordance wilh to           determined from measurements of, at least, a chest trans­
ihc present invention;                                                verse cross-sceti〇!ial area anti preferably also and an
                                                                      abciomina] transverse cro漆AsecU이lal area (and optionally
[0053] 1「1G 3 illustrates a rear view, partly in section, of
                                                                      further cross-sectional areas). Scら e,g,, The '872 and '473
ihe monitoring garment of FIG, 2;
                                                                      patents; sc€ 씨汎 c.g*,Thc '534, '252, *015,902, '109, '935,
[0054] FIG, 4 illusiraies a from view of a further exem­              and 388, which describe various eaHbraiion and proce또§ing
plary embeJiment of a monitoring gamienl;                             lechniques for respi ra Tory -re la led inductive pklhysmo-
                                                                      graphic signals as well as exlensions lo measuring intra­
[()055] FIG. 5 illustrates a further view of the mo nite ring
                                                                      pleural pressure and indjviduai lung ftinclion, and the
apparatus cf TIG* I;
                                                                      description following.
[(M)56] FIGS. 6A-C il lust rale alternative functional dlstri-
                                                                      [0065] Cardiac paramcicrs, s나ch central venous pressure,
biHioQS of induetive-pletbysmographic signal processing;
                                                                      left and ri녹hi ventricular volumes waveforms, and aorlic and
[0057]   FIG. 7 illustrates demodulator processing;                   carotid artery pressure waveforms, may be extracted from
                                                                      repel itivc measuremcnis of transverse cross-scctional areas
[005S] FIGS- SA"b illiisirate altcrnalivcs for wireless
                                                                      of ihe neck and of Ihe chじsi passing lh「。ugh the hear!. See,
transmission within an individual's moniloring apparatus;
                                                                      e.gr The 二277, '541丄 *151 p기e기§. Al leasl, Ihe cross-
[0059] FIG. 9 l1 lustra Les a particular Mibcdimピ미 of The             seclicnal of a plane al about the pt)siri<>n of the xiphoid
moniloring apparatus of ihc present invention; and                    process is measured. In order lo easily extract cardiac data



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from variations in these cross-sectional areas, it is helpful to        [0070] Sufficient measurement rates for respiratory and
have eoncurrcnl measurements of cardiac ehtiE곡, especially              cardiac ar가卩『Hies are generally known in the art and have
of the onset of left ventricular contraction. Timing me교surt-           been confirmed and refined by observation. Generally, res­
ments are preferably obtained from concurrent ECG mea-                  piratory activity is preferably measured at approximately 50
suremenls, and less preferably from the carolid pu Ise sign시            Hz or more； cardiac acliviiy (including cross-sectional areas
present in the neck. Note: tn more deiail, area measiircments           and any accompanying ECG) preferably ai approximately
of transverse cmss-sectional areas more inferiorly Ihro나gh              20() Hz or mor“ and vascular activity (such as a He rial or
ihc heart give sMin득cr iixlicaiions of left ventricular wave­           venous pulsation) jjrcfcrably ai 100 Hz or more.
forms, while measurements of areas more superiorly
                                                                        [0071] Of course, particular inoniioHn독 tasks may r¢디ui「c
Through ihc heart give stronger indications of right ventricu­
                                                                        h迪上心r accuracies or rales, or may pcrmii reduced accuracies
lar waveforms. These cardiac signals may be more posi­
                                                                        or rates. Appropriate accuracies and rates may be easily
tively identiücd by correlation with pulmonary signals. Left
                                                                        delerniined by one of skill in lhe ari in view of ihc moni-
부¢niricular waveforms typically have larger stroke volume
                                                                        lofing lask,
on expiradon than on inspiralion, while right ventricular
waveforms typically have I he opposite patlern.
                                                                                          5,2. Preferred Apparatus
[()066] Further re la led parameters may be ¢xlracled from
these and cl her signals. I'rtsm I he cardiac-re la let! signals,       [0072] In the following, various particular aspects of the
                                                                        present invent ion are illustrated Jn various combinaiit)ns.
indications of ischemia may be obtained independt;ロUy of
any ECG changes, Veniricular wall ischemia is known to                  l"h¢ illustrated combinations are intended tc be exemplary
result in paradoxical wall [nolion during venlrieukr con-               and not to be limiling. One of skill in the an will recognize
iraciion (rhe ischemic segment parado>deally "balloons”                 that these particular aspects, illustrated or not, may be
oulward instead of normally coniracting inward). Such para­             combined in dilTerent ctimbinaUons in order lo respond lo
doxical wall mot ion, and thus mdicalions of cardiac                    dillereni moniloring lasks, For a simple example, pulawnary
ischemia, may be exiracied frt)m cbesl Ira nsverse cross­               (or cardiac) senst>rs may be eliminated from a monitoring
sec I ion area measurement Left or right venlricular                    apparatus where only cardiac (or pulmonary) parameters are
                                                                        of interest. On lhe other hand, additional senwrs may
ischemia may be distinguished where paradoxic이 motion is
seen prcdominanily in left or ri녹hl ventricular waveforms,              added to the ilhjsiraUxl cinbodimeots where called for,
respectively. For iinoihcr example, obscr\^ations of the cn&ci
of contraction in the left and right ventricles separately may                    5.2,1. Mcniloring Garmcni and Sensors
be of use in providing feedback lo bi-ventrieuhr cardiac                [0073] FIG, 9 illusirates an embodiment of lhe monitoring
pacing dü니For a f기rihtr example, pulse oximetry                         apparatus presenl invention for monilcrin송 basic pulmonary
dcicrmincs hemoglobin saturation by measuring the change                anti cardiac paramclcrs in an ambulatory setting of daily
ing infrared optical proper lies of a ßnger. this signal may be         acliviiy with minimum cnc umbra nee to the individual being
disan치理izd and cembined with pulmonary cbia to yield                    monitored and in an eccnomical manner. This apparatus
improved informalion concerning lung funclion. See, e.g.,               inc hl des monüoring garment L, sensor cabling 2, and micro­
 rhe '4조5 patent.                                                       processor unit 3.
[(MI67] D다crnih如iロn of other physiolcgE이 parameters                     [0074] These components are next clescribecl in dclail,
by measurement of other cross-seclional are^s is discussed              beginning with FKJ, I. Monitoring garment 1 (FIG* 1) is
subsequently,                                                           임enerally in the form of a sleeveless shirt appropriate for a
[W68] Useful and effective determination cf physiological               male of a stout habiius. Modificalions of thisg^irnicnt so that
parameters generally re디uims inductance measurements of                 it will appropriate for a male with a trimmer habitus, or for
sullicieni accuracies al sufficieot rates, h'irsi, in order lo          females of various habiluses will be readily apparent g one
avoid interference using elec Ironies of reasonable cosl, il is         of skill in ihc an. Altcrniitivcly, the garmcni may be of a cut
preferable lo measure loop inductance al a frequency which              and material so Ih at, consistent wilh the requirements to be
is otherwise relatively unused, or al least not likely lo be            described, it will be appropriate for individuals of a range of
encounlered in most ambublory settings. The preferred                   body habiluses and possible alsD for both sexes. In a f바nher
frequency is from ahcui 20(! kHz to about 4f)〇 kHz which is             alternative, the garmcni may he made of an elastic material
assigned lo aeroロaulie쵸I and aeronautical marine navigation             so that a single garment cut and size is able to fit a wide
beacons and is below ihc standard AM broad c a si band.                 부arM呼 of Eowid기als.

[0069] Next, necessary mcasuremcni accuracies may be                    [0075] lb measure basic pulmonary parameters, garment
determined from known ek^lronic circuit laws combined                   1 is equipped with chest inductive pkthysmographic sensor
wilh measured bodily displace me ms resuliing from the                  band 4 and abdominal inductive plethysmographic sensor
physiological events being monilored. Measurement accu­                 band 6. Band 4 is preferably positioned just inferior tti the
racies may also be simply determined from absentation of                axilla, and band 5 is ]ireferably positioticd 1 lo 2 cm superior
parlicular rneasuremcni configuration. Using eit her                    lo I lie umbilicus. To measure basic cardiac parameters,
approach, it has been determined that respiratory activity              garment 1 is equipped with thoracic induclivc pleihysmo-
generally leads to frequency changes of 50ChlOOO ppm                    grapEiic sensor band 5 and optional neck inductive plcthys-
(parts per million). Cardiac activity generally leads lo fre­           mographic sensor band 7, which is separate from garmcni 1,
quency changes of 50-100 ppm, fhefcforc^ for monitoring                 Band 5 is preferably positioned ât the level of the xiphoid
both respiratory and cardiac aclivilies, it is most preferably          process, and band 7 is preferably positioned 1 1。오 cm
frequency measurements have an accuracy of less than 1-2                superior to the base of the neck. Preferably, the garment has
ppni, preferably less Ilian 5 ppm, and less preferably less             cutouts 12 for a Ha나ling LC?G e 比너 rod暗 and LC?G leads 10
lhan 10 ppm (and at least less than 100 ppm).                           (approximating π득ht arm signals) and 11 (apprcximaling left



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arm signals) and 12 (approximating Jeft leg signals), [π                           Next, in order lo remain in close circumtcrcntial
aUcrnalivc ¢mhodimcnts, sensor bands 4 and 6 or sensor                   contact lo the body, it is preferable thi^t the sensor bands also
band 5 may be eliminiUed, or optional sensor band 7 may not              include an elaslic material providing longiwdinal elasticity
be present or additional sensor bands may be present, or so              sufficient to fci과in ihc band against the body. For example,
forlh.                                                                   lhe bands may include a longiludinally arranged sirip of
[0076] In this embodimenl, signals from all the sensors                  elastic material similar to that in elastic bandages well
m OU med on or wilh lhe garmcnl, including any ECG signals,              known in Lhe art. The senstir contluclors may aHached by a
are conducted to external m icR>prt)cesstir unit 3 via signal            plurality of distrnci connccuons, which may be sewn loops
                                                                         of thread. More preferably, the bands may include a woven
cable 고. Signal cable 2 is extended by optional si릭nM cable
 13 tc conduct signals Irom optional neck band 7. Con nee-               or knitted ciasiic maicrial into which sinusoidally arranged
                                                                         copper wire is inte음「afly included during the weaving or
lions between signal cable 2 and lhe varimis sensors reside
ti nderneath openable Ilap 18, which both protects the con-              kniiiing process. See, e,g., U,S, paicnt application Scr. No,
neciions and any elec iron ie modules closely associated with            09/774,333, fikd Jan一 31,2fX)h and assignctl to The assignee
the sensors from disrupt ion or damage and als¢> presents a              of th匕 present application (incliAtkd by reference herein in its
more aesthetic surface appearance. In altemative cmbödi-                 entirely for all purposes). The sens<ir conductor may be
menls, the signal cable may be allached lo I he garment by               allached to underlying malerial of other ways known in lhe
several snaps posilitjned or lhe like, assticialed eleclrcmic            an, for example, by glue.
modules may be carried in pcckots of ihc garment, and                    [OOSl] In addition to simply remaining in close circum­
conneciicns Hrmly held in place by nieehanieal means.                    ferential contaci with ihc body, the bands should not move
Oilier manners for prcicctivcly securing the signal cable will           ii가'wiorly Dfsupenwly (gllcctM也 longitudinally) over ihc
be apparent lo one of skill in ih나 art and are within lhe scope          surface of the lorsc of body, in other words. Lx; longitudi­
of lhe present invention,                                                nally stable, during normai daily activities. I'his is advan­
[0077] Also underneath lhe flap is a zipper, preferably the              tageous so thal signals from each band are resptinsive only
lull length of the garment, lo assist in placing and removing            to the ORC intended cross-secticnal area. For a sufficiently
the garment. Alternatively, and less preferably, the garment             inm male engaging only in light aclivily, the elaslicily that
may be arranged for placement and removal over the head                  keeps bands in close circumferential ccniact may be suffi­
in one piece. In this case, ihcrc is no need for a zipper or             cient to achieve longitudinal stability. However, it has been
other fastening devices. Other similar garment fa;거:cnin솜                discovered thai centrally, and especially for normal or
devices may be used, for exanople, a pl기faliiy of bultons and            부i 릭。rDus activity, such as jogging or other athletic activities,
bu I Ion ho les, or a plurality of loops titling into grommets, or       or for individuals with a larger body habiius, this circum-
a plurality of ties, or a H다p効-lik¢ ckvie¢ with halves Htting            I'erenliai ebslicily may not be sullhこie미 Itjr longiludinal
together continuously instead of by a phiraliiy of leeth. More           stab r Hl y.
Than one zipper may also be used,                                        [〇0S2]    Therefore, in lhe embodimenl illusiraletl in FIG L
[007#i] Inductive pleihysmographic (IP) sensor bands * 5,                each b돠nd is also tquipp나d with an individual lightening
6, and 7 and the garmenl 1 ilself preferably in chide several            device 8, which permils individual adjustment of the lighl-
tunclional or slructura! elements lo meet several conditions             ness of each band as needed. One such lightening means,
atlvanlagecus for good signal qualily. First, lhe senstjr bands          schemalically illuslraieci by lightening device 8, is a grip­
include the sensors ihcmsdvcsj which are conductor loops                 ping device in which m以끼 or plastic teeth or paired rings
around lhe body in the subslanlially transverse planes whose             grip excess material 8 atiached lo ihe band. Pulling excess
cross-sect ion al area is to be measured. Sinじ£ lhe bands                malerial so that the gripping device holds the excess material
should remain in close circumfereiilial contacr to the lorso             under tension will tighten a band, while release of the
(of lhe body of lhe individual to be moniiored) in order lo              mechanism (e.g、 rings or leelh) of the gripping device
accurately sense cross-seclkin areas lhat change during                  loosens lhe bands tor untlressing. In ihis manner, after
aclivily, lhe cuロdi心or should be Icngiliidinally flexible Io             dressing in lhe Eonilorin용 garmenl, lhe bands can be indi­
accommodate normal physiological movemenls. Furl her, to                 vidually adjusled lo a tightness discovered lo be s비ficieni
achieve sullicienl measuremenl accuracy and rate, lhe [.C                after an inHial period of moniloring garment use. The hands
circuit containing ihc conductor loop must have a sulfi-                 may be loosened or released in prepararien for 니nckcssirig.
cienily high 〇 factor. Generally, al the preferred frequencies,          Preferably, lhe “excess" material and gripping device form
the conductors preferably have a resistance of less thw                  a cinch (also known as a girth) in ihai ihc **excess'* material
approx i mil I eiy 1 Q (Ohm). Any tlexible low-resistance con­           is part of a band of maicrial circling the patient included as
ductor may be used. In preferred cmbtxlimenls, the condiic-              pari of lhe inductive pleihysmographie sensor band assem­
lor is melallic wire^ siniistiidally arranged h)r expansion and          bly. AHcmalive lighlening means include bell-biickle-l ike
coni rad ion wilhoui hindrance of lhe cress seclicnal area lo            arrangements with a lot)lh for protniJing through one of
induclance relationship. F<ir example, lhe sinusoidal wire               plurality of holes in the excess material, or a slidable
arrangcmcni may have an "amplitude'' of I lo 2 cm with                   spring-loaded device thal grips the excess material against a
"wavelength" adequate to provide for Ion녹Hudinal flexibility             grommet as used in a drawstring, or simply a b(jw니ypc knot
sufficicni lo accommoJate amicipaied activity,                           used like a shoe lace, or other gripping means. Any cinch or
                                                                         girth maicrial mu이 of course also be clasli& but preferably
[0079] f or chest sensor band 4 and abdominal sensc^r band
                                                                         sliEer (less elastic) than exisli ng sensor band malerial.
6, which obtain respiratory signals, generally one loop of
ctjnduclor about the body achieves sufficient signal qualiiy.            [0083] One aspecl of longitudinal slabilüy is thal during
For thoracic sensor band 5, and also for neck sensor band 7,             activity lhe garment material itself may pull on the hands
several loops, generally Irom 2 lo 4 loops, achieve sufficient           causing mechanical coupling both of a band sensor to a mere
signal 디남a!ity.                                                          extended longitudinal region than intended and also between



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adjacent^ scparaic band sensors. This coupling may mix                 [加86]      Further, any iransdcrmal sensor may be incerpo-
decrease signal specificily, and may mix g굠elhc「signals                raied into the illustrated monitoring apparaius. Such sensors
from lhe so-coupled sensors leading lo decreased accuracy              may include pulse oximcicrs, which measure hemoglobin
of physiological parameter delermination, or even an inabil­           s기uranon in a finger, blood pressure sensors of various
ity 10 determine certain parameters, Iherefore, it may be              types, Iransdermal sensors iロdicah구e of blood chemistry, for
advanlagecus Lor I he garment malenal belween lhe sensor               example, blood glucose sensors or sweat elect relyte sensors,
bands noi lo be lighl, bill ralher have an excess su fficieni to       and st) fcrlh. Signals from these sensors may reach micro­
accommodate longitudinal strelching and clher kingUuclinaJ             processor module 17 over signal cable 16. Preferably, Ihcsc
motions that accompany activities of all cxpccied degrees of           senst>rs will present a standard interface to lhe micropro­
strenveusness. (For example, such excess material may be               cessor mociulct for example an RS-고32 or mere modem
present in regions 19 of garmcni 1 of FIG. 1.) Alternatively,          serial interface. Further^ it may he advanlagcous to obtain
ihe garment male rial may be sufficiency strcichablc in a              more complete ECG information, such as by receiving
longiindinal anti the ba nds sufficienily elastic lo be circum-        signals from 7 or 1 흐 leads placed in manners well known in
ferertiially tight, or synched to be sufficienily light, so that       lhe art, A further additional sensor may be a ihroal micro­
longiludinal motions are accommodated mainly by stretch-               phone, which is useful for cletecling snoring during sleep and
iロ왐 of ihe gannent wilh Ihlle or no longitudinal band                  talking during wakefulness, [[election of snoring during
movemenl wilh respecl to I he Icrs¢\ l"hese designs may be             sleep js a valu시       indicalion of incipient or aclu시 upper
combined so that the garnicni between the hands has soetic             airway t)bslrucli<>n useful in sleep apnea studies. In such an
excess of an 니&디 ic material hi par lieu la r, where the 곡 ar-         embodiment the microprocessor module may accumuUic
mem is made of an el솨shじ material lo accommodaie a range               inform al ion refleeiing a broad array of transdermally mea­
of body types, eare must be taken to prevent longitudinal              surable physiological parameters in a scandalized ???man-
mechanical coupling occurring, especially for individuals of           ner and in a slandardized formal.
larger body types relative lo the garmenl size and cuL
                                                                                  コ M.으. Microprocessor Unil and Cable
[0084] Where lhe garment is zippered, or otherwise simi­
larly fasiencci, at least some of lhe inducuve plethysmo­              [。(贈기     As dg：Fibcd previously, the monitoring apparatus
graphic (IP) sensor bands arc necessarily inlerrupted. llow-           of this invention may be provided with primary and sec­
c기Cl； the garmenl fasteners should be arranged such that,              ondary signal cables, FIG, I illustrates primary signal cable
when lhe garmenl is fastened, eircumrereniiiil band elaslicity         2 which carries signals from the primary sensor bands 4, 5,
is esiablished even ihcugb clastic in the sensor bands is              and 6, and secondary sensor band 7. This cable also has
necessarily inlerrupled al the garment division. Wiih zippers,         provision lor carrying tCG signals, providcd, for example,
ihis is easily athicv心d because of the suKstaniially ctintinu-         Qver ItKid$ 10 and U, anü pTwisiun for signals frvm u【h。r
OUS nai기re of a zipper t'asicner. Furiher any band lightening          sensors received al conneeior 15, Fun her, secondary signal
devices mil미 also cooperate with the garment I'astcncrSn               cable 16 may optionally carry signals frojii a number of
With a cinch (or girth) held by a gripping device, ihis is             디her sensors arranged on lhe body,
easily achieved by allowing excess cinch lo extend across
                                                                       [0088] Signals gathered by lhe moniloring apparatus arc
lhe division i교 the garment. 【一aslly, lhe conducive 10op is
                                                                       received by micrcjprocesst^r unil 3. Unil 3 performs al least
inicrrupted at lhe garment division, and may bridge this
                                                                       basic data enlry and storage I'unclions, and oplionally per­
tlivision by equipping ends of lhe loop with mating pair of
                                                                       forms alarm functions, communication lunctions, and power
a plug and a connector Alternatively, one or both ends of the
                                                                       management functions, J'hc unit may be built as an add-on
conductor bands may plug into connectors carried on the
                                                                       lo existi哩 personal digital assistants (PDAs), cell phones,
signal cable (see below), One of skill in lhe art will readily
                                                                       cell phone/PDA combinaiicns, bidirectional pagers, espe­
be able lo similarly arrange lhe IP sensor bands for c8p-
                                                                       cially those used for c-mail exchange, and other similar
eralion with other lypes of garment fasieners.
                                                                       handheld de가ices. Also lhe unit may be a custom design
[여)85]    In addition lo lhe sensors already described, adcli-         including at Icasl a microprocessor and associated conipo*
lional senstirs may be incorpcraled with monilcring appa­              nenls, and op lion ally signal processor circu ils. Preferably,
ratus of the prese nl inveniion. For correctly interpret ing           unit 3 has display screen 17 which is touch sensnive for data
physiological parameters obtained during ambulatory moni-              input by lhe monitored individual. Other user ini하face
loring, it is advama녹く;dur io have infDmiaii이】 from which              features may be provitlcd, such as 기oic¢ command rcecg-
lhe poslurc of the patient can be deiermined, Al 1 じ쵸s，il is           nilion, voice or audible alarm output, attachable keyboard,
useful to determine if lhe moniiorctl individual is lying,             and so forlh. This unil may also optionally include wireless
silling, or standing, and if slanding, whether slill, waIking,         communication circuils. AIs(i, although F【G. 1 ill낞staled
or running. In a pm 侶ロセ너 einbcdimeni, ihis in form al ion is           u nil 3 as possibly hand-held, il may also be carried on an
provided by acceleromelers that measure orient Mi다π with               individual normal clolhing, for example, on a bell, or may be
respect to gravity一 The apparatus illustraicd in FIG* 1                placed ill a pocket provided on garmenl L
preferably Includes an accelerometer attached lo garment 1,
                                                                       [山189]      A first data entry fim기is to receive and stere
optionally by being integrated into an electronic module               in for mat ion input by a m이 ihored individual. For ¢xampJc, a
associalcd with one of the hand sensors. Such a single sensor          monilorecl iiiclivklual may c가¢r major aciiviiics during the
can provide only lhe oricnialion of the torso. Further in Lor-         day along with any symptoms that mighi be observed,
malicn may be provide ci by optional accclcrc meters
뇌rapped to one or both thighs. Signals from lhesc additional           [0090] A second data entry and storage fund ion, to
acceleromelers may be conducted to signal cable 2 by means             receive anti store digitized signals generated by the sensors
of secondary cables 14, which attach to lhe signal cable at            of a monitoring appara lus of this invention, is closely linked
connector 15.                                                          with possible ecmmunicalion functions. Preferably, lhe



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prescnl invention conforms to well known standards for                            [0094] Thereforedepending on available wireless d좌ta
"'standard event rじcQfdin옥" by advanW^^Qusly and prefer­                          rales and access cost, on available apparatus battery power,
ably storing all raw signal daia, whether or noi it is used only                  and available removable memory capacities, ihe present
in summary fomi foe health じare personnel. Storing rawdala                        invention includes microprocessor unit &si목ns from wire­
in a central repository is encouraged by r朽음uMiory author^                        less transmission of all raw dala lo a central repository to
ties, and is imptirtanl in quality control of moniloring by the                   local siorage of all raw data with periodic transmission. lhe
presciil invention. Furlher, health care personnel may from                       latter embodiment is currently preferred for mt)sl locations.
ti me-lo-time wish to examine the raw data indicative of the                      [ÜÜ95] A furlher clala storage enibotlimenl includes local,
physiological events ロ¢¢u「nn목 in Ihc monitored individual,                        private wireless iransmission of data from a micmprccessor
which is possible by accessing Ihc central repository.                            unii of a monitoring garmcnl lo a local receiver wilhm a
                                                                                  shori distance, perhaps 10 to 1(K)〇 feel, of the individual
6_    - However, this raw data may be voluminous, even                            being monitored. l-rom lhe local reueh/ei, the data may be
Lor a basic moniloring garment, fable I presents the data                         stored al a local eompuier system, for example a HC~type
rates generated by the apparatus of FIG, 1 wherein operation                      compuler, for periodic Iransmission lo a central reposi〔。ry
is with preferred sample precision and data rale for each                         for access by heallh care providers. I hu periodic iransmis­
sensor                                                                            sion may be via removable media a few times daily, as
                                                                                  described above, or may be via si a nd a rd or high speed
                               TABLE [                                            access (DSl. or cable modern) perhaps hourly. Alternatively,
                                                                                  lhe central rcposiiory may be replaced by a local server
                         Exen】에jirv Data Rates
                                                                                  FC-type computer accessed by health care providers,
                                Bil& per    Samples        Data, rate             Althüu뇨h not changing iransmitter duty cycles, local wire­
Sensor                          sample     per second      ¢M 成hr)                less ira as mission wcukl eliminate access co니s lo public
Che밂 sensor band                  15           50             036
                                                                                  wireless facililie.s and may be oL higher speed, and therefore,
Abdominal sensor band             16           50             0.56                make wireless iransmission of raw data a more atiraciive
Thoracic cardiac sensor band      16          200             1.44                Iradeoff. The embed imenl would be appropriate for an
Neck sensor band                  16          200             0.72                individual ambuhtory yci confined to a residence, or hcaUh
Accelerometer                                  W              0,04
                                                                                  care facility, or relatively small workplace. It may not be
ECG                               1고          200             kOS
FllJsc cximcLcr                    S           50             OJS                 appropriate for imlividuals engaging in lheir normal daily
Jliroal Tnierophoite               온           10             으쓰                  aaivitics,
TOTAL                                                         4,22                [0096] In an ahernalive emlxKlirrient, the microprocessor
                                                        (■ 1.2 kbtis/sec)         may <^empress the signal data prior 心 storage, this im­
                                                                                  pression may be implemented in software encoding an
                                                                                  appropriate known compression technique. An exemplary
[0092] Thcrelbre, the present invention includes various                          leehnique is lo sublracl a base carrier frequency from each
tradetiifs for the sloragc ¢)r raw d기a, which depend primarily                    fiüQuencc dalum so Lhal recordctl frequency daia are offset
on available ballery power and accessible wireless lacilihes.                     lo have a subslantialiy zero average frequency. Furlher, each
For example, if high bandwidth wire less data iransfcF, tor                       offset frequency datum may be recorded as a difference with
example          kbits/sec or grealer, is available Ihroughoul an                 respecl [〇 one or more previous offset frequency da la.
individual's daily aNWitiじs’ currently (as of this applica-                       Periodically, the curreni carrier frequency and a offset fre-
li이I's JiHng dale) an unusual possibility, then wireless trans­                   quegy datum may be recorded lo synchronize decompres­
mission of all raw data would require an apparatus trans­                         sion software,
miller tluiy cycle of 2% or less, which may be acceptable in                      [0097] Ncxl, microprocessor unit 3 may optionally recog­
view of available device bancry power and ihc cosi of                             nize alarm co nd i I ions and generation alarm signals, which
wireless access. On lhe Eher hand, wireless access currently                      are in all casus audible but may also involve screen-display
available supporls data transmission rales al besl of 14.4                        of visual informal ion. Alarm conditions recognizable by a
kbHs/sec. Al these rates the apparatus IransmiHer would                           micrcprocesstjr unit of average capabililies are of two basic
have a virtual ly KK)% duty cycle, which is likely lo he an                       types. Th¢ first type is a discrete temporal event For
u 11 accept a bl¢ power and wireless acecss cost.                                 example, heart rate increases suddenly lo dangerous levels,
                                                                                  or paradoxical wall motion is observed^ or brcalhing slows
[0093] Alternatively, data may be stored locally in micro­
processor uaii 3 and iransmiticd periodically only in bulk.                       or ceases dangerously. The second type of alarm condilioo
For example, a commonly available Ö4 MB Hash memory                               is a trend progressing 敛効 one lo a few hours. For example,
module may easily &lore raw data for 12 or more hours. A                          in a ctingeslive heart failure pa lien し over I wo hours an
128 여R module could hold 24 hours of data. A full Hash                            increasing respiratory rale, perhaps etiupled with susiaiロcd
                                                                                  cardiac rale changes, may signal early lhe onsel of pulmo­
memory module may be replaced and sent by overnight mail
services to the cenlral repository. Ahernatively, the data may                    nary edema. Similar changes may be alarmed for individuals
be sent by high-speed wired digital connection (eg* DSL or                        al high aUiludc lo warn early of dan녹erw니s forms of moun­
cable modem to internet) directly to the central repository.                      tain sickness. Other discreie and ircnds that arc known to
Oiher removable memory technologies, for example, mi*卜                            ibose of skill in the art m과y also be alarmecL Altcrmlivcly,
hard-drives or micro ZIP drives, may also be used. In this                        more powerful microprocessor units may recognize more
embodimcnij unit 3 may communicale wirelessly only                                complex alarm conditions, perhaps by employing artificial
imporlanl cr significant physiological events、such as alarms                      techniques such as neural nelwcrks or rule-based systems.
recognized. This would be a much smaller amounl of data                           [0U9S] Finally, power man agemen I is an imporlant
easily transmitted currently in most locations.                                   opiionai fiincticn which may he performed in the micropro-



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ccssor unit. Preferably, th¢ various electronic modules and                [OlQl] In addiiion to a sound system ihat reproduces
sensors that arc included in a nionhoring apparatus accord­                audible messages, the output device 45 may be a display 냔nit
ing 10 the present inveniion include power management                      such as a monitor screen ihat displays lhe messages, 111 is
facilities that provide reduced power eonsumption whenever                 allemative may for example be used when lhe individual tc
a module or sensor is not in aeiive use. For example, reduced              be monitor顷 1 is deaf or hard of huanロ흠, or where the
power consu mplion may be com mantled by control signals                   message ccnlains a great deal of in form al ion which may be
generaled by Lhe microprocesst)r uniL. Addilionally, battery               diHimlilo comprehend or appreciate when merely listening
power may he physically a part of unh 3. Alternatively, a                  lo an audible message. Such a modißcalion also requires an
separate ballery unit could be arranged, for example, in a                 additional signal to lx： dire녀¢d lo the indivkluai hting
pocket of garment 1.                                                       monilored when a new message is present, since the in di・
                                                                           vidua 1 may nol be wiihin a line of sight of the monitor screen
     523一 Furiher Monitoring Garment Embediments                           of lhe microproee&sor unit 33. Ibr this purpewse, micropro­
[0099] Referring now i〇 FIGS. 2 and 3, further embodi-                     cessor unit 33 may include cr activate a signaling device
menrs of the n。n-invasi기心 physiologic moniloring garmeni                   such as a iHuminitablc bmp for informing the iロdividu 시
30 comprise inductive plethysmographie sensors 20-25                       being monitored lhal I he re is a new message. Since micro-
which are embroidered, sewn, cm bedded, woven, primed                      pRicesstir unit 33 is    미ed on lhe mon i to ring garment 30,
onio or otherwise Mixed to or carried on a garmenl 31 I hat                lhe signaling device may also when aclivaled elTcct a
is worn over and about the torso of an individual to be                    vibralion of lhe microprocessor unit 33 which will be felt by
monitored. As shown in                   2 Hnd 3, the garment may          lhe individual being monitorecL
comprise a turtle-neck long-sleeved garment 31 including
porlions covering lhe pelvic region anct upper I highs. Instead            [0102] Micrcprocessor unit 33 may be buih to include 솨
of the long-sleeved garment 31, the 낭annerit in a further                  Personal Digital Assistant (PDA) such as a HandSpnng or
embed I me nt may comprise sleeveless shir I 31 a shown in                 Palm Pilot or any mobile 부icc capable of wireless com-
FIG. 4, which does nd include the sensors 25. Hirlhermore,                 municaticn. In a prelerrtxl emboclimenl, electrodes 20-26 are
the garmeiil may also be made wilhonl the leg portions                     wired to an electronic module wh花h may be plu뇜곡cd into
shown ill FKk 2. Monitoring gamienl 3ft further includes                   the microprocessor unit 33. The mcciule uses the prciccssor
c led roe a r<l i ogr^iph ic electrode sensors 26 that may be sewn,        of the microprocessor unit to perform monitoring, alarming
embedded, or tixed with adhesive or the like to lhe inside of              and dab logging functions. Furthermore lhe monitored
lhe rear face of lhe garmcni 31, Alternatively, ihc electro­               signals may be compared to default values to ensure that
cardiographic electrotie sensors 26 may be directly allixetl Io            ihey are wilhin an aeeeplable range. If lhe monilored signal
lhe individual lo be muniErc어. The garmc미 31 may he                        exceeds or falls below the acccplahk range of 기aluüs, lhe
fastened snugly 0010 lhe body usin맘 fastening de기记cs 32                    alarm function alerts the individual
such, for example, as velcro strips or tics 16 (see FIGS* 2
and 3). Aliernatively, thじ garment may comprise a shin                     [01G3] rhe microprocessor urtil may further include input
wilhcul faslening devices as in FIG. 4. In th is embodiment,               capabililies s(j lhat lhe 沽 dividual can input in forma I ion such
lhe sensors 20-25 may include an elastic malerial porlion lor              as symploms, aclivides, medical io ns lhal have been Laken^
holding I hem in place on lhe individ나 al's torso.                         and moed. These input capabililies may be menu driven
                                                                           such that lhe individual merely selects from a lisl. Allema-
[01(H)] Microprocess¢)r unil 33 comprises, in one emhodi-                  livcly, the hiEVKh功]may input his sytyiptoms by typing on
ment, an cscillatopdcmcdulaior (see below) unit for the                    a keyboard or writ in님 on a touch sensitive screen.
inductive pleihysmographic 쏰txisors 20£5, and either has
mulliplcx spabililics or takes lhe form of a similarity of                 [0104] 丁he microprocessor unii 33 may also be C0nnc<;【(x1
separate oscillator modules lunecl lo respectively dilTerent               or linked lo a receiving unit 34 located at a separate or
frequencies for 笆liminaiin녾 cross-laLk beiween the various                 rcmoie site that is aHじndtxJ by health care providers for
sens<irs 20-25. Oscillator modules 2(初・2，物 may also be                     transmitting The dal a received ti이 m the monitoring garment
a 11 ached tlireclly to respeclive intluclive p^lhysmographic              30, and associated alarms and/or messages, lo receiving unit
sensors 2(1-24 (sec FIG. 4). AUernatively, the oscillator                  34 so lhat the healih care providers ai ihc remote site may
modules m솨y be local¢너 directly in lhe microprocessor unit                 view and analyze the 너新a. Hirihcrmorc, ihc indwidu솨i may
33一 The mieroprocessor unit is shown attached lo a side of                 then use the input capabilities ic inform the bcalih care
lhe garmeni al the waisi uf ih나 indi니idual ro lx나 monitored;               professional regarding lhe symptoms, aciivities, medica­
it may, hour¢기tr, alternately be anaehed or earried in any                 lion&, and mood. The transmission to the rcmoic site may be
com fori able posilion or local ion on or aboul Lhe body 나 f the           made via a modem, Inturnel connection, sale Hite hookup,
individual. As described above, mieroprocessor unii 33                     cable, cr any other ecmmunjoiion syslem or arrangement,
comprises a record ing/a la rm unil which ct? Heels Lhe moni­              such a standard wireless telephone networks. 'The ctjnnec-
tored signals From the sensors 20-26, Furthermor¢, miem-                   lion between micmpmccssor unit 33 and rix^civm^ unit 34
j>r〇cess〇r unit 33 includes a processor for, inter alia, cleicr-           may also allow health care providers al lhe rcmole site to
mmm복 alarm eondiiions and providing dala k박ging                            return in form a lion to ihc microprocessor 33. For example,
fu net io ns. Microprocessor unit 33 may also include an                   lhe health care providers may wish to provide specific
ouipui device 45 such, tor example, as a sound system                      insirtictions lo the individual being monilored. In iiddiiion,
optionally with â visual display, for providing alarms and                 lhe PDA may log lhe data received from lhe monitoring
aclion recommend a I ions lo the individual and/or healthcare              garmeni 30 lo a local or remote dalabase for tracking lhe
provider in a preferably area. In an enibodinien" lhe sounci               condition of the individual and for comparison lo other
syslem provides these alarms and aclion rec。Emendations                    individuals. This enables ct>nlinued               and re line-
as plainspckcn audible slalemcnts.                                         merit of lhe diagnosis algorithm in th¢ module or the



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micro])roccssor unii 33 and transmission of action recom­               [0109] Two hcmithcracic inductive plclhysmcgraphicsen­
mendations from the receiving 나nit 34 to the microprocessor             sors 23 are sewn, embroidered, or embedded, for example,
unit.                                                                   into garmcni 31 or3hi on the right and left sides of the upper
                                                                        ihoraXn These sensors 23 enable measurement of inequalities
[0105] The morHiorin몸 돸arrnW 30 or 거扣 may transmit                      in 陌방]나nal expansion wilh breathing and paradoxical motion
data Io lhe receiving unit al a rate ranging Crom approx J              beiwcen the iwo hemiihoraces. Such incqualiiics suggest
maicly 14ÜÜÜ pcints/sccond (depending on lhe available                  pleural elusion, diaphragmatic hemiparesis, or pneu mo tho­
senstirs). Optionally, a one minute trend mmerical value                rax and may aid in d诅딤nロsis of ceriain ¢IkikM circum-
reduced from data processed waveforms is transmitted every              s lances.
live to ten minutes Jn which case lhe monitoring ga디nent
may transmit data al lhe rate ranging from approsimaiely                [0110] Limb inductive pkihysmographic sensors 25 arc
l-KW poinis/sccond only when an adverse or pre pro­                     sewn, embroidered^ or cmbcdticcU for example, at lhe cllww
gram med event occurs ic thereby conserve the batteries                 and wn니 areas of the garmeni 31. Sensors 고5 陌じ미어
powering the micrtjpracessor unil 33 on the monitonn옹                   vascular pulses over lhe vessels of lhe limb or exlrcmity
garment                                                                 about which il is placed. Senst^rs 25 may be used to record
                                                                        peripheral blood fl<w using standard plelhysmographie
[Olttö] The struclufc and operative functionality of the                occlusion techniques, pulse LransiL time by usin옹 a pair of
individual sensors 20-26 wiH nt)w be explained in further               separated sensors 25 on the extremity, or pulse transii time
detail. A neck indveUve plcihysmographie sensor 24 is sewn,             from arterial pulse in the neck lo the extremity. Sensors 25
embroidered, or embedded, for example, to the area of                   may also provide wide-band external pulse recording of
garment 31 or 3 hr ^(;nsor24 monitors jugular venous pulse,             systematic blood pressure during cuff defiation.
carotid Lirtenal pu Ise, intrapleural pressure swings re bled to
respiration, <xm tract ion of neck muscles, and swallowing              [0111] l he preferred embodimenl of monilonng garment
de Heel io ns. Eslimations of the central venous pressure from          30 furl her includes elec tree ard io gra m (ECG) electrode sen'
lhe dala col lected by sensor 24 compares well Io values                sors 26 (FIG. 3). As stated above, the ECG electrode .sensor
si mu llaneous recorded usin 옹 intravasculaf cathelcrs. Since           may be mounted on the monitoring garment 30 or, alterna­
lhe jugular venous pulse depicts an *a' wave re la led lo alri이         tive iy, may be directly applied to the individuals body and
contraction, which is a substitute for the 'P’        다e of the         connected to the PDA 33 via a wire,
elect roc ard iogram, data from sensor 24 may aid in did'er-            [0112] The combination of RR intervals of the ECG
eniiaHn욥 arrythmias and supfEWOHUicular tachycardia with                measurements frt^m sensors 26 ami lhe tidal breath wave­
abenanl veniricular conduclion from veniricular tachycar­               form from the respiratory itiduじplethysmographic sen­
dia. lhe recording of lhe arterial pulse in conjunction with            sors 겨) and 21 as described above may be used to determine
an ckcuocardiograph 시lows computation of ibe systolic                   respiratory sinus arrhythmia which is a measure of auto­
lime intervals which may be used for 心이imaiing the                      nomic nervous system t'unction. High values of ihis measure
mechanical function of the lefi ventricle. Sensor 24 may also           signify predominam parasympathetic nervous system activ­
record swallowing de tied io ns as sharp, Iransienl waveforms           ity and low values pre do mi nan I sympathelic nervous system
superimposed upon &lower respiratory de Heel io ns and vas­             activity.
cular pulses.
                                                                        [0113] A body position sensor 27 may also be sewn,
[01Ü7] An abdominal pk나lysmographic sensor 20 anti a                    embroidered, or ¢n】hじddixl, for example, in garment 31 or
rib cage plethysmographic sensor 21 arc sewn, embroidered,              31" to indicale the individual's posture. Body posiLion
or embedded, for example, in the abdominal and rib cage                 sensor 27 may comprise one or more standard available
portions of garment 31 or 31 授 for monitoring the expansion             accelerometers.
and Ct) n trad ion of the abdomen and rib cage, respeclively.
Sensors 20 and 21, used logcihcr, are referred lo as a                  [Ü114] 1'in ally, pulse oxime ler sensor 28 (FIG. 3) may also
respiratory inductive plethysmograph and are employed for               be used in cenj unci ion with lhe monitoring garment 30 or
recording breathing palter ns.                                          3(h了. Pulse oximeter sensor 28 is generally placed at a distal
                                                                        Jingerlip of the individual or subjecl lu measure arlenal
[GIGS] A thoracic inductive plcthysmograph sensor 22 is                 oxygen saluration and body movemenls. Allhough pulse
sewn, embroidered, or embedded, forexample^ into garment                oximelcr 28 need nci be carried on or as a direct component
31 or 31^7 around the xiphoid process region. Sensor 22 may             of the monitoring garment 30, d다e기cd information from
be formed of one or more plcihysmographic coil-type sen­                oximelcr 28 may be treated in a manner similar to tlaia from
sors and operatively monitors the beat by beat ventricular              sensors 20-26 by microprocessor unit 33. frue values of
volume during brealh holding and during slow breathing.                 arterial oxygen 誼 I기 ra I ion are lhe reb y dislin^uishabfe frtim
Analysis of the resulting waveforms by the miercipfocessor              values afiecled by motion artifacts using appropriate soft­
unit record ing/a la rm unit 40 enables computation of changes          ware algorilhms.
in cardiac output and stroke volume and of parameters
related to systolic and diastolic Functions. Analysis of a              [0115] The rccorditig/alarm functions of the microproces­
d¢]・位alive： of the vcnidcubr waveforms yields parameters                sor unit 33 opcralivcly provides, by way of illustrative
HnalQ홐OUS to Echo-Doppler measuremenls of the mitral                    exitmple, the following functionaliiy:
나 alv¢. J'hc deed era lion time of lhe mitral flow velocity                  [0116] ⑴ messages assuring proper thneugh理 of
parameter can provide an estimate of pulmonary capillary                        the monitor, such for example, as "'sysiem operating
wedge pressure in individuals with compromised left ven­                        properly'";
tricular function. longer deceleration times are consistent
wilh normal and shcrler limes wilh elevated pulm。교ary                        [Oil / J (2) messa승es concerning actions to 1^ taken in
¢비Hilary wedge pressures^                                                      the event of malfunction, such, for example, as



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       ""system noi operaiing properly, make sure the disk is          [0126] As another specific example, if lhe individual has
       inserted properly'\ or 'System malfunction, contact             chronic heart failure, then the deceleration time from the
       the equipmeni manuraciuref (the name and address                derivative of the Icfl votitri*?기]놔r volume curve obtained with
       may also be supplied);                                          ibe Ihoracoca rdiegraph, the central venous pressure and
                                                                       respiratory sinus arrhythmia should be closely monitored,
     [0118] (3) messages etmccrriing correct or incerrect               fhe deceleration lime has been found lo be the most
       placement and detachmeni of sensors 20-26 and their             predictive parameler lhal hospital admission is needed for
       lead wires;                                                     treaimcnl of chronic heart failure, (n one study, values lie low
                                                                       125 msec were Lhe Ihreshold associated wilh required hos­
     [0119] (4) messages relating to vital signs in forma­
        lion^ significance, and actions lo be Laken by lhe             pital admission. Thresholds may be programmed into micro­
                                                                       processor unit 33 that instructions are delivered to the
        individual in response thcr니。;
                                                                       individual being monitored before rhe 125 msec level is
     [0120] (5) periodic messages concerning the si ability            reached. For example, if the baseline deceleration time of
       of vital signs at preselected iロicr^al$ or upon request         160 msec faH노 to 140 msec, ihen microprocessor unil 33
       of the individual or health care provider lor assur­            may slate, "lake an additional diureliじ labkl today at 5 PM."
       ance purposes, such for example, as "it is now 1                If the tleceleralion time falls lo 120 msec, the microproces­
       0 AM 2nd I here has been no change in the vital                 sor unit may slate, "call your physician immediately." Cen­
       signs'';                                                        tral venous pressure rejects Hu id balance in lhe body; low
                                                                       values indicaic hypovolemia as mighi lake place with ロ부er-
     [0121] (6) messages relating lo specialized physi­                dosing with diuretics, and high 바alut& wiih increasing sever­
       ologic parameters information, significance, and rec­           ity of heari failure. Thus, if CVP 011 one day is 8 cm【LO an<l
       ommended actions in rcspK^nsc Ihereio;                          lhe following day is 4 cm ILO, the microprocessor unit
                                                                       mighi siaie 나£all your dueior immediaiely for advice on your
     [0122] (7) directions including instructions entered
                                                                       medications^
       by an attending heallh care provider, and
                                                                       [Ü127] With regard to the monitoring of metiicinc taking
     [0123] (8) reminders directing the individual to take             compliance, the desired times of day for taking medical ions
       medications (The recording unit may log compliance              are programmed into microprocessor unit 33. Ai appropriate
       by monitoring when Lhe individual swallows if the               limes, the unii may state *'take one capsule of 井 1一or one
       medication is to be taken orally, or monitoring                 capsule of verapamid now^* Microprocessor unit 33 may
       brめ；Hhin샹 pallerns if the medicalion is To be taken is          also include input devices such as, for example, a bar code
       in aerosol form).                                               reader or other relief so that when the individual takes out
                                                                       a medication vial wiib a bar coclc, intbrmation tVoin the bar
[0124] hl acklkion lo providing such messages, the rccord-             code is passed lo the optional bar code reader. Alternately,
ing/alarm function may monitor Ihc individual for effective-           lhe indivi너u시 may enier information on the medications
rtess and proper fund io ni ng of assisted 니 tjniHalory anti           using a manual input device such as, for example, a key-
conlinuous positive air pressure (<?PAP) devices. The                  boarü or a simple array of builons as slated above. By
record ing/a la rm function a I노나 logs dala into a database as         clicking or pressing one of lhe buttons, lhe individual being
physiologic waveforms for onc-minule n나nicncaJ trends                  monilored manually updates lhe recording/aiarm device lo
which may be transmilted to the re mole receiving unit 34              inciicate comphance wilh lhe scheduled mctiicinc. As men-
automatically or upon receipt of a request for review by the           Honed above, when the individual lakes metlicalion, swal­
provider 사 lhe remote receiving unit 34.
                                                                       lows may be logged from the neck mciudivc plcihysmo-
[0125] Instead of concurrently collecting data from all of             graph waveform, thereby sug낭巳sling compliance. Afier lhe
lhe sensors and tleleclors of the monitoring garment 30 or             laking of mcdicaticn, lhe individual may pass lhe vial over
30" the          of physiologic parameters to be monitored             lhe optical reader or aclivate a swilch lo create window
may be limiled as a fund ion of Lhe specific condilion of the          liming marks in ibe data sire am ih 割 can be analyzed an너
individual. Lurlhermore, garment 31 may comprise 가ny                   slored in microprocessor unh 33 and/or receiving unit 34.
cofTihinalion of sleeves, turtle neck, and leggings as required        [0128] The physiologic parameters may also be pro­
by lhe speeiJk cün거iiion of the individual, For example, if            grammed for moniioring effectiveness based upon CPA卩 or
an individual has a引hn® pcnincni parameters such as                    BiPAP ventilatory requirements. Nocturnal 侦PAP and
respiralory drive/veniiblion (peak inspiratory tlowA^eniib-            liiPAP are oflen used for ireaimeni of the obsiructive sleep
lion and/or peak inspiratory auicebirauon/^eniikihon) should           apnea syndrome, which is marked by apneas and increases
be rnt)nilored closely as noR-invasive paramelersof increas­           in upper airway inspiratory resistance. The ratio of peak
ing bronchospasm 놔benz¢ a pretletermined ihreshckt *ITiis              inspiraiory flow lo mean inspiratory flow (Flf /MI 1〇, derived
measure will be ulilized lo provide dire기io ns レ) lhe moni-            from the tidal volume waveform of lhe respiratory indue live
lorcd individual 부ia ouiput device 45, such for example, as            plcthysmograph 거) and 21, provides a numerical value for
“you have signs of bronchospasm; please take your aerosol              lhe shape of the inspiratory ftow curve. An unobslructcd
medication now!** [f aerosol incdicalion is taken correctly            inspiratory flow conkxjr has a sinusoidal shape and the value
and the proper breath hQldin독 pattern is observed by the               of this paramcicr, PIF/MIF, is/2-157. As an inspiratory
microprocessor unit 33, then output device may state/*aer〇'            obslruclion develops, lhe inspiratory flow waveform
sol lakcn, goW If afier 30 minuteSnr there is no improve­              becomes tlattcncci and approaches a PIF/MIF value of kCL
ment or there is a worsening of speciftc measures and/or               SigniHcanl flaltcning begins wüh a ihreshokl value al or
vital signs, the microprocessor unit 33 may state, '*call your         below 1.3. In some instances, inspiratory obstruction Js
d(心。r immedialelyl" or "gel Iransporlalicn and go imme-                market! by a brief pR>minenl spike near beginning inspira­
dialcly to the emergency room/'                                        tion lhat gives P1F/M(F values of approximately L85 or



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greaicr Th¢ reforら optimum GPAP shoukl provide values                      circuitry for other sensors. For example, modules 42 and 43
mn녹ing from J 一3 to 1.&5. ff PIF/MF is found lobe 心니廿ivalcm                may contain ECG circuitry, perhaps simply analog pre-
10 1.2 for a predetermine¢| period of lime, ih^n the recording/'           ampliücaiion and filtering or perhaps also A/D conversion,
alarm unii may deliver a message to the individual or to the
personal health care provider, wilh increasing decibels of                 [0133] Preferably, these electronics modules arc perma-
sound until the problem is correcled, slating **increase CPAJ，             nenlly alt ached lo lhe signal cable lo minimize lhe number
3 cm water pressure new". Algorithms have been described                   of pans 10 be handled during wiring up. Alternatively, ihesü
                                                                           modules may be retained in pockets in the monitoring
for automatic adju니 mw比 of the level of CPAP pressure
based upon indices related lo the shape of the inspiratory                 garment, and jilugged and unplugged from ihc signal cable
How curve,                                                                 during wiring up.

[0129] Since CPAP is gen era Uy adminisicrcd using a nasal                 [0134] Ncxi, FIGS, 6 und 7 illusirate possible functional
mask, it is subject lo leaks, partieubrly at the mask순노in                  distributions of electronic circuitry for processing the
inicrfatx. Leaks can be discerned by ihc recording/a la rm                 plethysmographic M숑nals. With respect lo 1IGS. 6A-C, the
unit 34 by comparing the tidal volumes between lhe values                  funciions of ihc osc (oscillalor) bloek{s), the de mod
delivered from the CPAP apparatus and these received by                    (demodulalor) bkick(s) and lhe microp (microprticessor)
lhe individual. The 1 사ler is cblained wilh respiratory indue・             block arc subsianually the same anti will he described once
                                                                           with respecl to FHL 6A. I'irst illustrated are Ihree ctinduc-
live phHhy引no독ra卩hy using the sensors 고。and 21. For
example, if the inspiratory volume per breath from respira-                livc loops coupled to a single or to individual oscillators. The
                                                                           oscillalors are LC oscillalors with a frequency responsive to
lory inductive plethysmography sensors 20 and 고 1 was
found Hj lx： 2(k) ml and the volume delivered by the CPAP                  variations in the loop inductance, and may be of any type
                                                                           known in the art. They preferably arc of very low drift d기¢
device is 50Ü ml, ih나n a leak in rhe CPAJ^ system of 300 ml
is indicated and lhe rじcord in 응/alarm unit may state "wake up             10 lemperalure and other compensalions,
and adjust you r mask, it is leaking." Mask leaks are also a               [0135] Preferably, lhe loop,s arc coupled lo lhe oscillaior(,s)
problem in ad mini 引 er in놈 ventilatory support to Individuals             Ihfough an impedance step-up Iransfcrmer which sleps-up
wilh respirakjry failure or respiratory mus이e weakness.                    lhe loop impedance sc (hat reasonable values of capaehor C
Monitoring of volumes dclivercti versus volumes received is                (for ¢X 기Tiple, greater I han 1,000 pf) may be used leading to
efleetive in diagnosing such leaks.                                        stable oscillator tunc I ion, Tht impctiance step-up also m기1-
                                                                           lipkcs 100p-induvtance variations leading to a greater signal
          5,2.4, 1 urihcr Electronics Embodiments                          range, further, lhe transformer provides an uninicrruplcd
                                                                           10op circuit isukited from Lhe powered ele거ronic circuilry.
[0130] The present invention includes several possible
                                                                           This isoUlion improves individual safety. Lgp isolaUQn is
distributions of electronic circuitry between ckcironic mod­               also improved by slightly offsetting the rcst^nani frequency
ules carried on garment 1, which are associated wilh sensors               of each loop, for example, by 10 to 50 kHz, F-'in ally, it has
on this garmcim and unii 3, FIG. 5 illustrates options for the             been tbutKl imporlant that lhe lolal loop resistance by low,
physical distribution of circuitry, primarily circuitry for                no more than approximately 1 £2, to achieve a high Q facior,
processing inductive plethysmographic signals. Here, as
be ft) re garment 1 includes induct ive pic I h ysm ograp h ic sen・        [0136] 丁 he de mod blocks demtxlulale the variable fre­
st)r bands 4, 5, and 6 which are ct)nnecled Io microprtjcessor             quency cscillalor signal in the sense that they measure lhe
unit 3 by primary signal cable 2. Also presc미 al ECG leads                 frequency and provide dig!Lal ciaia to the microp block. Their
10 and 11 along with a ihird lead 47 arranged underneath                   funciion is further described wiih rctcrcncc to LIG, 7.
garment 1. Together these leads colled signals rcprcscnia-
live üt' a standard 3-lead ECG.                                            [0137] The microp block includes a microprocessor pro­
                                                                           grammed 10 perform, inter alia, lhe fbneiions described
[0131] FIG, 5 principally illuslrates 니grgic modules                       above inc hl din놉 the basic data entry, storage, and commu-
내2, 43, and 44 connected as at 45, to the flexible conductors              nicalion function. I'his block may be based on a commer­
in the sensor bands, iind physically close lo lhe scnst)rs.                cially iwail註blじ 143A-like device, or may be cusiom
When the garment is zippered, or olherwjse fastened, these                 designed. In eilher case, il will be understood to include a
modules may suppon connectors tbr bridging the conductive                  microprocessor and supporung compQncn[& typically
loops across the garment division. These modules are dis­                  including RAM and ROM memory, a display interface, user
posed undcrncaih flap IS, which is here illusiraicd as                     inpiibourput inrerfaecs, a communicaiicns interface or an
opened, for example when a monitored individual is tn the                  interface to removable media, and so forth, ]*hc memories
process of "winng-up” during dressing (or undressing). This                will be loaded wilh programs iranslaied from any convenient
flap may be held normally じlos나d by, for example, velcro                   programming language.
sirips. Also illustrated is faslener 41 (parlially hidden by the
                                                                           [U13S] In view t)f this 옹eneral description, FKk 6A illus-
extension of signal cable 2), such as a zipper, which facili-
tales dressing by opening lhe garmenL Also facililaling                    iraies an cmbociimcnt with a single insiancc of all functional
                                                                           blocks switched between and shared by the three inductive
dressing, ficxiblc inductive plethysmographic conductors
may plug and unplug into the local modules. A he; natively,                plethysmographic loops. Merc, local modules 42, 43, and 44
for simplicily, the ECG lca<ls may be permanenily ^lUachcd,                would include little more than connectors from the condve-
or I hey may also plug and unplug fmm lhe motlules.                        live loops for bridging any division in ihc garmenl and to
                                                                           signal leads to lhe cleciroiiic tiinciionai blocks housed in
[0132] rhe local eleclrcnics modules optionally con lain                   11 nil 3. As discussed, lhe ent ire path between and incl 나 ding
circuitry for initial processing of the inductive plethysmo­               Ihc conductive loops and lhe step-up transformer in the esc
graphic signals, while circuitry Lor final processing is carried           block preferably has a resis lance of less than 1 Q 171 ere fore,
in unit 3. Thg modules may also <〇nUin initial prggfn박                     Ihc switch SW is preferably a low rc航믻ante controllable



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switch for analog radi。-frix]uciKy signals. Such a swnch is               sampling interval (or $ampliri노 interval of cihcr length). The
cur「이iHy avaibhk from Dallas Semiconducror/Maxrm.                         components in oval 60 couni the oscillator periods in a
Where such a switch is available a low cosi, FIG, 6A is a                 sampling imervaL The OSC 匚NT block is an 8 bii digital
more prefe「red embodiment. Funher, the conductors from                    counter that counts the 그나0-400 kHz oscillator periods in the
Ihe conductive loops to unit 3 should have a siibslantially               sampling inierval, ibis count being latched mlo lhe OSC
small, fixed indiKHmce to avoid aciding ariifacts to the                  CNT LATCH and the counter rcsel every Ü.5 ms. lliis eight
in duel a nee signals t)f interest. Preferably, these co nd u dors        bil co니기 is supplied lo lhe micrc>prt)cesstir Ihrough lhe BUS
arc from small gauge cnasi 쵸I cable.                                      MUX BUFFER. Next, the componenis in q고2 61 count lhe
                                                                          number of 96 MHz 仁lock periods lhal occur in lhe ctiunled
[0139] Ncxi, FK；. 6B illusiraics an 이nbodiment in which
                                                                          number of osci lb tor periods, TMTmUiR CNT block is a 16
single ciemod an너 microp blocks arc shared beiween Ihrec
                                                                          bil digital counter that counts clock periods. Since this count
inductile plclhysmograpbic loops, each 10op having a dedi-
                                                                          is 回나】以| into the OMER CN l'ACCUM block only on the
ealeü oseillalor. Preferably, I he osciihilors have digilizetl
                                                                          occurrence of cscillaior pulses applied to This block by lead
부afiabhi frequency ロuip기 1 (e,g,, a variable frequency square
                                                                          62, this äccumu laior block only contains counts of clock
wave), and switch SW may be a sLandani conlrcHable digital
                                                                          pulses wilhiii completed oscillaior perkicls. Al lhe じnd of a
switch. Here, local modules include lhe 〇§c blocks. FIG 6B
                                                                          sampling period, the 16 bil counl is latched inlo the flMER
is a preferred embod imenl.
                                                                          LATCH» lhe counters are reset, and the ]6 bil counl is made
[0140] Finally, FIG. 6C il lustra Les a third emix^dimenl in              available lo I lie microprocessor through lhe BUS MUX
교」lich only the mierop block is shared and in which the local             BUFFER.
modules include bolh lhe osc and the de mod blocks. This is
                                                                          [0144] One of skill in the art will appreciate other cquiva-
lhe currenily less preferred cmbocljmcnr, but may be more
                                                                          leni cireu il ar range men is ihat are capable cf obiaining lhesc
advanlageons where lhe use and demod blocks can be
                                                                          counts. In paniciilar, net illusirateJ in FIG, 7 is hokl
implemented on a single mixed-iype integrated circu il (IC),
                                                                          circu iiry, which prevents any aclivily for the Jirsl few (으-4)
[0141] The operation of lhe democi blcx:k is not dcscrihcd                oscillator periods. This permits both accurate starting cf lhe
in mere tielail wilh reference l()FIG, 7, in which ptirlicns of           clock counl as well as provides ftir circuit stabilizalion.
lhe cmhodimcni of Fl<二 6B is illustrated m more detail.比
                                                                          [0145] Finally, lhe MICRO-PROC divides the 8 bit 〇.眦il-
general, lhe de mod block is a frequency counter which
                                                                          bior period count by the 16 hit clock period count to obtain
samples a digitized 기ariabl¢ fr■¢디uency hip기 1 of from 흐D〔) to
                                                                          a 24 bil measured oscillator        디녀m武y Note lhal il is
4(k) kg and produces a 也Hal frequency output accurate
                                                                          oscillator period (lhe inverse of frequency) which varies
10 al least 1Ü ppm (more preferably lo 5 ppm, and even more
                                                                          üirecliy with changes in cross seclional area as measu red by
preferably to 1 ppm). Thじ output is preferably 24 bits or
                                                                          lhe ind 成:L*e k心p,
more. While any such frequency counter may he used in lhe
prescni iiwe이ion, FIG* 7 illuslrates a particular such                    [0146] Thus lhe demod block of FIG. 7 has a random error
counter that can be economically implemented as a single                  of one-haIf of â 96 MHz clock period, or 5*2 ns, during every
p「。땅ram med logic array It?.                                              0.5 ms sampling inlerval. This is a less lhan 1() ppm error
                                                                          lhal may be reduced by averaging, for example, averaging
[0142] FIG 7 illusirales only iwo induciive plethysmo­
                                                                          for 고.5 ms results in a less Ehan approximately 2 ppm error.
graphic loops, each wHh a dedicated osじ block, OSC 1 and
                                                                          Thus the demed block of 1，((；・ 7 achieves the accuracy
OSC 2, respectively. The digitized cscilbior output is
                                                                          required for induct ive plelhysmography. Gii the other hand,
sampled by controllable switch SW and directed lo the
                                                                          if the demod merely counted lhe number of oscillaior cycles
domed block components. Also inpui to the demod block is
                                                                          within a 0.5 ms sa印plm눔 interval, then the random error
a 96 MHz clock signal, 〇나】¢口 preferably higher deck
                                                                          would be one-half of an approximaiely 300 kllz period, or
frequencies miiy be used, 96 MHz being merely a conve-
                                                                          1.67 ｛僞 every ().5 ms, of aboul 33()0 ppm. Such inaccuracies
nieni frequency less ihat lhe about 1 흐U MHz which ihc 8Ü ns
                                                                          would loially hide bcih respiratory anti cardiac inductive
logic in lhe current implemenlation is capable. The clock
                                                                          plethysniographjc signals, which at mcjst have an amplitude
signal is divided t<i a 호 kHz clock by FRt〇 DIV block,
                                                                          lo ICKKJ ppm.
which is Qrsl applied Ihmugh an twicillator select block (OSC
SEL) to control switch SW lo sequentially sample the                                       5.3. Systems and Methods
switched OSC blocks for〔).5 ms (7& kHz). The 2 kllz clock
provides for a nxwじnHxn sampling period, oiher sampling                   [0147] FIG, 10 jUustrales twwall methods of operation of
clock rates could be used* The microprocessor ¢MICRO­                     a system according to the present invention ineorporaiiiig a
EQ ROC) is also inierrupted ([RQ lead) at lhe 그 kf k clock rate           moniloring apparatus according lo the present invention.
lo accept lhe oulpul digilal data through a bus buffer and                Here, monitored individual 80 is illustrated as wearing a
mulliplexer (BUS MUX BUI FER), calculate lhe frequency                    monitoring garment and holding (for Jala enlry) a micro-
from lhe accepted data, and optionally average two or more                jirocessor uni I (collectively, mcnilcring apparatus) accord­
successive frequence measurements lo delermine frequen­                   ing lo preferred embcxlimenls t)f lhe present invenlion.
cies in sample periods that arc m니lipk龍 of 0.5 ms, such as
2.5 ms. Finally, lhe 2 kHz clock is applied lo counter,                   [0148] The microprocessor unit rmy generate information
                                                                          and alarms di「¢기ly to the monnored individual. Preferably,
accumulator, and lalch components (al the lalch and reset, R,
                                                                          all data coilccicd by lhe monitoring apparatus, inciu더iロg all
inpuls) of lhe demod hkick lo resei Ihis circuilry for lhe next
                                                                          raw data, is stored at a repository, Ccnlral repository 91’
period of frequency measurement,
                                                                          which is usually remote from the monitored individual, may
[0143] General ly, lhe circujl of FKL 7 ope rales by co uni­              slore ihc date from many monitored individuals in server­
ing lhe number of 96 MIIz cl。ck pulses thal occur in lhe                  type cempu ler syslems 86 equipped wilh dalaba* facililies.
number of oscillator periods thai occur in a particular〔)5 ms             Monitored individuals may iransmh data either by means of



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mmiwabk； storage media 81^ (such as a Hash memory                      Fifsi, the data gathered by existing sensors can he aug­
module) or by wireless transmission Klh, or by boih means              mented with additional sensors. For example, hy adding one
for diffcrcni 니uannHcs and types of data.                              or more thoracic sensor bands superior to the already
[0149] Alternatively or additionally, data may be stored al            described cardiac band positioned al lhe level of the xiphoid
local repository 92 afler Iransmission by local wireless               process f기Hれ皈 information about ciirdiac function may be
iransmission 82, RTimwable media may also be used locally.             obtained.
In this case, I he monitored individual's activides 쵸re usually
                                                                       [0156] Further, additional bands may provide new lypcs of
reslricted so that a substantial frac I ion of days are spent
                                                                       in form a I ion. A sensor of a lower-abdo m I n a 1 cross-sectional
within a Few hundred lo a few thousand feet of the local
repository. The local repository may be a PC-type computer             area may be used to det cel uterine contractions indicating
with adequalc storage, preferably hard disks of at least 10            lhe onsci of labor in a pregnani female. Also, such a lower
GB capacity. 1 u rther lhe local repository may iransmit 83            abdominal sensor may detect ihc present of imcstinal gas
stored data periodically ic central repository 91 (if present),        and llatus,

[0150] Users of this syslem include monitored individual               [0157] An inductive plethysmographic sensor of a mid-
80, who enters data on, eg., acli기nies and symptoms into the           abtlominal cross-seclion, may monitor general intestinal
micrcpnKcssor unit, and may receive medical reminders or               activity. For example, absence of crcss-secticinal area varia*
alarms warning of condilions needing atlenlion. Anol her               lions may indicate a "silent a 1x1 omen/' which is often a
lypc of user may be local hcabh care professionals 8，Flicsc            surgical emergency. Such moniloring may be advantageous
users may receive palicni in forma lion (anti transmit patient         in patients recovering from 死招。min al s기 r옴，よ ry.
informadon and insnnjuiions) through local reposiiory sys­
tem 84. Local professionals may also receive in form a I kin 93        [0158] Further, particular monitoring lasks may require
from central heahh earc professionals 90 by several means,             higher accuracies or rales, or may permit reduced accuracies
such as Lelephcne, e-mail, pager, and so forth. This in for­           or rates. Apprc>priale accuracies and rates may be easily
malion may provide palienl si a I us summaries or specilic             tieiermincd by one of skill in the art in view of ihe moni-
diagnostic and therapeulic guidance to lhe local profcssicri­          lor I ng task and Lhe associated circuilry may he mtxlilied. f'or
als System users associated with the central repository                example, higher accuracies may be achieved by a demodu-
include one or more central professionals 90, who advanta­             laior circuit with higher clock frequencies or longer sam­
geously access the system 由ro디gh local computers or ler-               pling intervals,
minals 89 in com muni cal ion with server system 86, The
ceniral professionals oversee lhe medical slalus of all moni-          [0159] Generally, a garmenl may be "prescribed" fur an
lorctl individuals whose data is stored al lhai central reposi-        individual according to his medical co nd i I ion. Such a pre­
lory. Ic assist these professionals the servers systems may be         scribed garment would have more or fewer sensors so that
provided with display programs designed to cmwenienlly                 only signals bearing on physiological paramciers of ioierest
survey lhe monitored population, and alsci wiih diagnostic or          are oblainetl and stored.
lherapeulic programs which provide specific medical guid­
ance perhaps by employing arliJicial intelligence techniques.               이    A MuHil簡ロd Gm氓미
[0151] Also, monitoring usors KS arc associated with                   [Ü161] A shin-Hke garmenl may be conslrucled wilh a
central repository 91, which lhey access by local computers            larger number of inductive plethysmographic sensor hands,
or terminals 87, These users oversee lhe lechnical operations          for example, 10, or 20, or 30, or niorc bands, which arc
of the nwnitoring ap갸 aralusuf the monitored population, the           subsianlially uniformly distributed long lhe vertical axis of
opcraiion of sysiem compuiers and commiinications, and                 lhe lorso. Signals from lhese bands may be multiplexed into
processing programs and resolve any prcblems. Monilonng                a smaller number of local eleeircnic modules, which com-
users may also pro미ide assislatice to other system users in            mu nicale with a microprc>cesst)r unit (or compuler system)
response to messages by telephone, e-mail, or 기her means.              sufEcienlly capable to handle lhe increased data rate.
E*urlher, monitoring users may perform impo「la미 quality
control functions by overseeing the substantive function of            [0162] This larger number of signals may have several
lhe system of Ihis invention. Qualily control may incl나de              uses. First they nuy he used for rじ晩ai■리i in developing
ensuring that ihc system correctly monitors physiological              sensor bands for delecting addilional physiologic pjmmi-
parameters, correctly displays anti interprets monitored               eiers, or for deteciing curreni paramciers wilh increased
paramciers lo lhe various system users, and is in compliance           reliability for individual difficult to moniior because of
wilh 如 regulalory requirements and guidance.                           aclivLly or body habilus. Second, the can be used in selecting
[0152] Finally, all system components incorporate secu­                a CUI and arrangement of a monitoring garment for panic廿lar
rity measures suHicjcni to meet mandated and preferable                individuals. An individual may wear a muhi-band garment
privacy re quire men Is. These measures may include user               for a short lime, and lhe associated proixssiri홐 unit may
                                                                       determine which bands are besi at detcclin님 eJesired physi­
auThcntication and data encryption as is known in the art
                                                                       ological parameters. A final garment may then be tailored
                54 Additional Embodiments                              with a cut, fit, and sensor hand location best suited for that
[0153] Miiny additional embodiments will be apparent to                individual. This may replace giirmcnis lit to be adequate for
one of skill in the arl; come of which are described here,             a range of indivkluals, Ihmi홐h ideal perhaps few or none.
                                                                       Third, a miilli-banJ garment may be worn for regular
[0154]   Additional indue live Pie I h y smograp h ic Sensors
                                                                       monitoring, lhe few actual bands t'rom wh ich dala is stored
[0155] Additional plethysmographic sensors may be                      and communicated being selecled in real lime by Lhe asso­
incoriicrakd in the monigrin밈 apparatus of this invention.             ciated microprocessor unit as those with the best si림nal$



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[0163] Wireless Transmission Within a Single Monitoring                  tion, Moreover, ii should be recognized that structures
Apparatus                                                                and/or dements and/or method steps shown and/or
                                                                         describee| in connection with any disclosed form or embodi'
[0164] With the advance of radio fretjiieney (RI-) circuitry
                                                                         iTicm of the invcniion may be incorporated in any other
and protocols, it may be advantageous lo replace al kasi the
                                                                         disclosed or tkscribetl or siiggesled form or embodiment as
primary signal cable by wireless Iransmissk^n between the
                                                                         a general mancr of 山冶谊n choice. It is ihc inienlion, there­
indue live plethysmographic sensors and lhe micro processor
                                                                         fore, t« be limited。이y as indicaled by the scope of the
unit. Oplionaliy, all ctala cables may he じlimin쵸ted. This is
                                                                         claims appended hereto.
adva미ageous lo simplify use of the monhorm옹 apparatus,
with ibc nimiiHMin놈 garment, for a monitored in山viduaL                   [0171] The invention described and chimed herein is not
                                                                         10 be limited irt scope by the preferred cmbodiinents herein
[0165] FIGS. SA-B illusirate two principal (and exem­
                                                                         disclosed, since these embodiincurs are imended as ilJustra-
plary) embodiments for such local wireless iransmission. In
                                                                         lions of several aspects of the inve rtlion. Arty equivalent
These figures. The osc, de mod, and mierop blocks have the
                                                                         embodiments are intended lo be within Ihc scope of this
similar meanings lo these blocks irt I'lGS, 6A-C. Ihe xmtr
                                                                         invention. Indeed, various mcdiJications of lhe inven lion in
block is a RF IransmiUer; I he revr block is an RF receiver;
                                                                         adtlilion to ihose shown and described herein will become
and arrows 70 represent wireless transmission between the
                                                                         apparenl Ic those skilled in lhe arl i'roni the     regoing
xnilr and ihc revr helwecn the monitoring garment and its
                                                                         description. Such modifications arc also intended to fall
microprocessor unit. Preferably, I he Iransmissions are of
                                                                         within lhe scope of the appended claims.
very Jow power in an un-Hcertsed band, for example, the
bands near 9Ü댜 MHz or 2.4 Ghz. For aciual impkmcnialion,                 [0172] A number of references are cried herein, lhe entire
it is preferable that the xmtr and revr locks be implemented             disclosures of which are incorpcraied herein, in their
at least of single ICs, if nol in a higher forrn of inlegration          entirely, by reference for all purposes. l urlher, n나nt: of these
embedded in other ICs.                                                   references, regardless of how characierized above, is admit­
                                                                         ted as prior lo the invention of lhe subject matter claimed
[0166] In the emtK서 ime가 of Kltk 8A, the ciigitized,
                                                                         herein.
2f(0-4()0 k11z t)utput of Ihe osci ilalors is IransmiUed from the
modules associated with the plcibysmographic sensors to the              What is cl商med is：
microprocessor unit. In order that varialions in frequency by              1. Amtmiionn옥 apparatus for non-invasivciy monitcring
adequately demodulated, it is ad기anMguous for a carrier-                 physiological parameters of an individual comprising：
lypc timing signal be transmitted so that the xmir and revr
may be in phase lock. Circuitry similar lo that used in                    a monitoring garment comprising a shin for lhe torso of
portable phones may be employed.                                             lhe individual to be moDiiorcd,

[0167] In th¢ embodiment of FIG, 8B, 8 and IG bii digital                  one or more inducn기c pleihysmographic (IP) sensors,
words are transmüleü from Ihc sensors. Such digital trans­                   each 11^ sensor ct^niprising an inductance sensor ineJuJ-
mission is advamageoiJsly by means oC evolving standards                     in흉 al leasl one conductive loop arranged 心 closely
and protlucls for local digital transmission, such as the                    encircle ihc lorso, wherein lhe induclance of lhe eon-
s la nd a rd being developed by Lhe 15111eltxjlh consordum. In               duclive 10op is responsive lo the cross-section al area of
Ih IS emhodi inenl, il may be advantageous to divide the                     Ihc tors¢! enclosed by the loop,
microprocessor fund ions be twee ロ a simple miertj processor,              a cardiac cycle sensor IPr 돔cnc rati ng signals responsive to
mkroph associated with each sensor, and a "ccnt「M” micro­                     occurrence of cardiac ventricular contractions,
processor, micropl, in ihe niicroprcccssor unit. Micropl
may losslcssly compress the digital data to reduce wireless                a signal cable for carrying signals from 做 id sensors, an너
dal a rates and power requiremenl; micropl then decom­                      a microprocessor unii comprising a microprocessor for
presses lhe received dal a. Compression may be as simple as                    receiving signals from said signal cable and for record­
subtraction of the oscillator 2(KM(K) kllz base frequency                      ing digital dala derived from all received signals in a
along with lhe transm ission of runs of successive diller-                     removable compu代コTtadablじ memory media.
ences. Other compression techniques may he used.
                                                                            2. The 机甲aralus of claim 1 wherein said cardiac cycle
[016S] Multiplexing of Lhe RF transmission may be by                     sensor comprises at leasl one c lec I roc a rd jogra m (ECG)
frequency division, time division, or oihcr multiplexing                 electrode attached to said individual to be monitored.
means known in the arl.                                                     3. The apparatus of claim i wberciii said cardiac cycle
                                                                         sensor comprises at leasl one IP sensor closely tilling about
[0169] Olher division of ibe electronic fund ion may be                  lhe neck of said individual lo be monitored, wherein signals
combined with local wireless Iransmission.                               lhe induclance of lhe 1 卩 sensor is responsive to cardiac
[017이 In summary, while there have shown and described                   vcnlficular ccn tract ions because lhe cross-sectional area of
anti poinicd out fundamental novel features of the invention             lhe neck is responsive lo carotid artery pulsations generated
as applied lo a preferred embodiment I hereof, il will be                by cardia¢ ventricular contractions and the inductance of the
undcrslocd that various omissions and sub引ihilicgs anti                  [P sensor is responsive lo the cross-sectional area of Ihc
changes in the form and details of the devices illustrated, and          neck,
in iheir operation, may be made by those skilled in Lhe 됴ri                 4. The apparatus of 미aim 1 wherein lhe ccmpuier-rtad-
without departing from lhe spirit of the invciuion. For                  able medium comprises a m迎n디记 disk,
example, il is expressly inienJed lhal all comb in al io ns of              5. The apparatus öf 니 aim 1 wherein lhe com pul er-read­
ihose elcmenls and/or method steps which perform subsLan-                able medium comprises a flash memory module.
lialiy lhe same fun cl km in subslanlially lhe same way to                  6. The apparatus of 아aiE 5 wherein the Hash memory
achieve ihc same results are within the scope of th¢ inven­              module has a capacity of Ö4 MB or mor¢.



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  7. The apparatus of claim I                                           ¢vents in lhe individual being monhored and to indicate
                                                                        audibly determined significant じ부じnts to the individual.
  wherein said men i to ring garment further comprises a
    band for the neck of ih나 individual to be monitored,                   20. Thi? apparatus of claim 19 wherein the microprcccssor
                                                                        unit comprises components for wir미c&Uy transmitting deter­
  wherein said IP sensors comprise a neck inductive                     mined
    p!니hy$mo납raphic sensor operatively arranged for gen­                   21. rhe apparatus of claim IS wherein the memory further
    erating signals respt)nsive lo jugular venous pulse,                comprises encoded software insiruclions for causing lhe
    car미id arterial pulsら respiration-related intra-picural             microprocessor to determine significant temporal physi­
    pressure changes, contraclion of neck muscles, anti                 ological trends in the individual lx：ing monitored and to
    swallowing dcflccTions* and                                         indicate audibly determined significant ire nds to lhe indj*
   wherein the signal cable further comprises an atlachmcnt             vidual.
       IO the cxin du Clive loop of (he neck I 卩 sen&or,                   22. The apparatus of claim 21 wherein lhe microprocessor
   8. ITie apparatus of claim 1 wherein said IP sensors                 tinil comprises eomponenisfor wirelessly transmilling deter­
comprise at least one abtlominal IP sensor including one or             mined signißcanl trends.
more conJticlive loops and al least one rib eage IP nsensor                23. The apparaiusof claim 18 wherein lhe memory further
including one or more ccnduclive loops operatively                      comprises encoded software inst niello ns for causing lhe
arranged for measuring breathing patterns of the patient,               microp rocesstjr lo compress data he fere writing Io Lhe
   9. The apparatus of claim 1 wherein said IP sensors                  removable computer-re ad able memory media*
comprise at least one thoracic IP sensor including one or                  24. The apparatus of claim 1 wherein the microprocessor
more gidg浦c loops 〇i)cratively arranged for measuring                   unit funhcf comprisescireuitry for derivin놈digital data from
부yniricular stroke volume.                                              non-digilal data received from lhe signal cable.
    10. The apparatus of claim 1 wherein said【1' sensors                   25. The apparatusclaim 1 wherein said monitoring
comprise at least one lower abdominal [ P sensor operalively            apparatus furl her comprises eircuilry for genめ ralin 상 a vari­
arranged for measuring intra-lower-abdominal contractions               able-frequency signal from each IP sensor, lhe generaled
and dilations.                                                          frequency being responsive lo lhe induclance of the con­
   IL Th¢ ajiparatus of 미&im 1 wherein said IP sensors                  ductive loop of the IP sensor, and wherein the microproccs-
comprise 이le or two he mi thoracic IP sens<irs operatively              sor unil further comprises circuitry for deriving digital data
arranged for muawring breathing and paradoxical motion                  from the generated 부ariable-frequency signals the digital
between two hcmiiboraccs of the patient,                                dal a comprising enetnUng of lhe variable frequency of lhe
   12. The apparatus of claim 1 further comprising one or               signals with errors of 1ÜÖ ppm or less,
more further senstirs aUached to lhe signal cable and                      26. A monitoring apparatus for non-invasively moniloring
selected from a group comprising a body position sensor for             physiological pariimeters of an individual comprising;
indicating a posiure of the individual, a pulse oximeter for
indicating anerial oxygcnalion saturation, and a throat                   a monitoring garment comprising a shirt for rhe lorsロ of
micrephene for indiealing Eking and snoring.                                lhe individual to be monikired,
   13. lhe apparatus of claim 12 further comprising ai least              one or more intluclive plelhysmographic (IP) sensors,
Iwo body position sensors, a Jirst body pc>sition sensor                    each IP sensor comprising
mounted on said garment and a second body position sensor
mounted elsewhere on the individual.                                         (i) a longitudinal band of elastic material attached to
   14. I'hc apparatus of claim 1 wherein said IP inductive                      said garment for closely encircling lhe torso,
plethysmographic sensors arc attached to said garment as an
inicgral part of said garmuni via an atlachmenl consisiing of                (ii) an inductance sensor including al least one flexible
one of sewing, embroidering, embedding, weaving anti                            conductive loop atiaehed to lhe lüo농iludiロal band,
priming said inductive pk t h y smograp hie sensor into said                    wherein the inductance of the eonduclive 10op is
garment.                                                                        responsive to the eross-seclional area of lhe lorso
    15. The apparatus of claim 1 wherein said microprocessor                    cnckwied by the loop, and
unit further comprises an audio device for 놓¢neraling audio                  (lii) a Ijghlening device for adjusting circumferential
indications t<i lhe individual being monitored.                                 tightness of lhe IP sensor to substannaliy prevent
   16. The apparatus of claim 1 wherein said microprocessor                      longitudinal movement of lhe (P sensor along the
unil fi(riher comprises a display unit for displaying viewable                  lorso, and
messages to the individual bein놈 monitored,
    17. The apparatus of claim 1 wherein said microprocessor              a microprocessor unil comprising a microprocessor for
iinil furl her comprises 가 n input unit for lhe individual being             receiving signals from said IP sensors a[서 for recording
monilored to input in form a I km or commands to said micro­                 di녕Ml data derived from all received signals Jn a
processor unit.                                                              re movable com pu ter-rea dab le memory media.
   18. The apparains of claim 1 wherein said microprocessor               27. The apparatus of claim 26 wherein Sn득HudinM
unii further comprises a memory accessible io the micro­                molion of each IP sensor is substantially prcvenled when lhe
processor, 지id wherein the memory comprises encoded                     physiological parameicrs indicaled by the indu겨ance of the
sofiware insiriiciions for causing lhe microprocessor to read           condiiciive loop of the sensor do no I measurably change.
input daia and to write oulpui data dcrivetl from the input               28. Th¢ apparatus of claim 26 wherein the monitoring
data in lhe removable com pule r-readab le memory mctlia.               garmeni (joinprises excess fabric arranged lo permit kuigi-
   19. The apparatus of claim IS wherein the memory further             ludinal stretching of the lorso without applying Force lo the
com prises enct>ded software instruclions for causing lhe               IP sensors sullicient to cause substantial longiludinal
microprocessor to determine si^niftcanl physiological                   motron.



                                                               29



                                                       Appx962
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   29, The apparaius of claim 28 wherein longitudinal                   siv¢ to ihc inductance of the cciiduclivc loop of the JP
motion of each IP sensor is substantial if physiological                sensor, the frequency bcin목 encoded with errors of 100 ppm
paramciers indicaied by ihe induciance of the conductive                or less,
loop of the sensor change as the monitoring garmcnl is worn                39. llic apparaesof 미aim 38 wherein errors of fr¢디ucncy
by lhe individual.                                                      encoding are ] 〇 ppm or less.
   3(L The apparatus of claim 26 wherein the mo ni Io ring                 40, 111¢ apparams of claim 35 wherein the signals gen­
garment comprises fabric with su Hi ci ent longitudinai das-            era led by Ihe module in response lo each IP sensor comprise
licity to permit longitudin사 stretching of the torso without            signals of variable frequency, ihe frequency          ロ릭 respon­
히)ply mg force to Ihe IP sensors su llicienl to cause subslan-          sive to the inductance of the cxinduclive loop of ihe IP
lial longitudinal moth가丄                                                sensor.
   3L Th心 apparatus of 미솨 im 26 wherein the lightening                           Yhc app a rat us of claim 40 wherein the microprocessor
device comprises a cinch band and a gripping device for                 unii fuft her comprises circuitry for deriving digital dau from
releasably gripping excess cinch band 나ndcr lension.                    The variable-frequency signals 옴cn心rated from each IP sen­
                                                                        sor, the digiial 어疝i comprising encoding of ihe variable
   32. The apparatus of 비aim 26 wherein the lightening
                                                                        frequency of the signals wilh errors of 100 ppm or less.
device comprises a dfawsiring.
                                                                           42, ' Ihe apparatus of claim 41 wherein Ihe microprocessor
   33. The apparatus of claim 26 further comprising a
                                                                        unit furl her comprises mulliplex circuilry for permiuing
cardiac timing sensor for 김¢mealing signals responsive to               single deriving circuilry Lo derive digital data from a plu­
cardiac ventricular coni radio ns, and wherein said mjer¢^ pro­
                                                                        rality of variahk-frcqucncy si놓naf&
cessor unit further records digital data derive¢! froiri signals
                                                                           43, A monitoring apparatus for non-invasively monilcring
received From said cardiac liming sensor.
                                                                        physiological parameters of an individual comprising;
   34,1'hc apparatus of claim 26 ftiriher comprising a signal
cable for carryin상 signals from said sensors lo said micro­               a moniloring garment comprising a shirt for Ihe lorso of
processor unit                                                              Ihe individual to be monilcred,
   35. A monitoring apparatus for non-invasiveIy monikiring               on¢ or mor¢ inductive plethysmographic (IP) sensors,
physiological parameters of an individual comprising;                       each IP sensor comprising an induclance senst>r includ­
  a m이litonng garment comprising a shirt for the torso of                   ing at least one fiexihk conductive loop arranged to
                                                                            closely encircle ihe torso, wherein the inductance of ihc
    the individual to be monitored and a Icngiiudinai
                                                                            conductive 10op is responsive lo ihc cross-sectional
    faslener for opening and closing the 나血,
                                                                            area of the torso enclosed by the k心p,
  one or more in더u以ivc plethysmographic (IP) sensors,
                                                                          a cardiac liming sensor for generaling signals responsive
    each IP sensor tomprising art induckmcc sensor includ­
                                                                             lo occurrence of cardiac 비eruricular coniraciiorts,
    ing at least one flexible conductive loop arranged to
    closely encirek ihe torso, wherein the inductiinee of the             a signal eabie for carrying signals dirtily frt)m the
    conductive 10op is responsi나¢ lo the cross-scctional                    conductive loops of said IP sensors and for carrying
    area of Ihe lorso enclosed by the loop,                                 signals from said senstir,
  a cardiac liming sensor for generating signals responsive               electronic circuilry comprising (i) a muliiplexing switch
     to occurrence of cardiac venlricular ctmlraclions,                      for connecting the conductive loop of any one of the IP
                                                                             sensors to an oscillator, the oscillator having an cscil-
  a signal cable for carrying signals from sakl sensors                      laticn frequency responsive to the inductance of the
    comprising at least one module, wherein the module js                    conductive loop connected by the muUiplexing swiieh,
    coup led IO and clcciricaUy completes the conductive                     and (ii) a ciemodulator operatively coupled tc the
    loops of Ihe IP sensors, wherein lermini of Ihe <x)ndue-                 oscillalor and 〇出puuiロ사 digital data responsive to the
    live 10ops may be uncoupled from module, anti                            oscillation frequency, and
   wherein the module comprises circuitry for general in엄                  a micrt)processt)r uniL comprising a microproces5K>r for
     signals responsive to Ihe IP sensors^ and a miertjpro­                  receiving signals from said signal cable and for receiv­
     cessor unit ¢て)mpri&m옥 a microprocessor for「cceivhi악                    ing di듴ilal d시a from said electronic circuitry and tor
     signals from said signal cable and for recording digital                rea기미i鸣 digital data from received inputs in a remov­
     data derived from all ①如村以| signals in a removable                      able ¢Qmp니£-readable memory media.
     ctimp liter-re ad able memory media.                                  44, fhe apparatus of claim 43 where in rhe digiial data
   36, I'll¢ apparatus of claim 35 wherein al least one IP              responsive I。Ihe oscillalion frequency has enors of 10¢)
sensor furl her comprises a lighlening device for adjusting             ppm or less.
circumferential tightness of the IP sensor to substantially                45, The apparatus of claim 43 wherein Lhe digital data
prevenl longiludinal movernenl of the IP sensor along the               responsive to the oscillation frequency has errors of 10 ppm
torso, and wherein ihe tightening device can be arranged not            or less.
to impede unfastening of the shirL                                         46, rhe apparatus of claim 와3 wherein said electronic
   37, The apparatus of claim 35 wherein the cciiductjvc                circuitry is housed in said inicrcprcccssor unit.
loops of Ihe IP sensors and the module further comprise                    47, The apparatus of claim 43 wherein the resisiaoce of
mating connectors so thar ihc conducrive loops may be                   lhe data signal cables and ihc muhiplexiiig switch from the
connecled and ciisconnecletl frt)m Ihe module.                          conduClive loop of any IP sensor to lhe oscillator is less than
   38. The apparatus ot claim 35 wherein the signals gen­               1 Q.
erated by Ihe module in response lo each IP sensor comprise                내& The apparatus of claim 43 wherein lhe muUiplexing
di박ilal data encoding the fre디ucロcy of an oscillator rcsjxjn-           switch is controlled so ibat oscillator is periodically con-



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nccied to the conductive 10op of each IP sensor for the                    59, The apparatus of claim 53 wherein said sensors further
till ration of a sampling period.                                       comprise a cardiac timing sensor for generating signals
     49, rhe apparatus of claim 48 wherein the $amplin보                 responsive to oeeurrence of cardiac 부eniri匚:ular eoiiiraciions.
period is 1 msec or less.                                                  60, A system for lhe non-invasivc physiological monikir-
     50, The apparatus of claim 48 wherein lhe digital data             ing <if physiological paramelers of al least one individual
oulpul by the demodu later comprises digital data encoding              comprising;
a cou 교 I of a number cycles of the oscillalor occurring within
a sampling period and digit이 data encoding a counl of a                   al least one physiological mon horing apparatus compris­
nu mber of periods of a clock occurring wilhin lhe counted                   ing a monitoring garment worn on lhe torso of an
oscillator cycles*                                                           individual being monitored, wherein (he monitoring
     51, l he apparatus of claim 50 wherein said microproces^                apparatus stores in a digital form in a removable
sor unit further comprises a memory accessible lo lhe                        comp u te r- re ad able memory media da la, wherein the
micr〇pr〇ces,sorj and wherein Lhe memory comprises                            dma is by sensors comprising generated from (i) one or
encoded software insiruciions for causing the microproces­                   more mduclive plelhysmographic (IP) sensors flexibly
sor S tlelermine lhe actual oscillator frequency by dividing                 aU쇼ched to the monitoring garment, and (ii) a cardiac
lhe count of the ma mber of oscillalor cycles by lhe count of
                                                                             timing senst>r for generating signals responsive to car・
lhe number of clock periods.
                                                                             diac ventricular eonlraciions, and
     52, The apparatus of claim 51 wherein the memory further
comprises software instruclions for causing lhe micropro­                  a daia repository for reading data from lhe removable
cessor to determine an more accurate frequency by combin­                     computer-read able memory media that has been
ing lhe counts of a plurality of sampling periods.                            recorded by said physiological monitoring apparatus
     53, A monitoring apparatu,s lor non-invasiveiy me nite ring              and tor storing read data in a da〔a archive, said da(a
physiological parameters of an individual comprising:                         repository being remotely localeti from said physi­
  a monikiring garment comprising a shirt for the torso of                    ological monitoring apparatus.
    the individual to he monitored,                                        61. The system of 기2m 60 wherein said phy^。k^jca]
                                                                        monilonng apparatus further Iransmits data wirelessly, anti
  a plurality of sensors, said sensors comprising
                                                                        wherein said data repository tiirthcr receives data wirelessly
     (i) one or more indue live pleihysmographie (IP) sen­              ihai has been triinsmiiied by said physiological mGniton四
        sors, each IP scnst)r comprising aロ induじlance sensor           apparatus» and then stores the received data.
        including al least one flexible conciuclive loop
                                                                           62, The system of claim 61 wherein said physiological
        arranged to closely encircle the it)rst), wherein the
                                                                        muniSrin홈 apparatus ftinhcr comprises a microprocessor
        induciance of lhe certduetive 10op is responsive to
                                                                        for precessing rhe gene rated dal a Ibr deicrmining physi­
        lhe cross-scctional area of the torso enclosed by lhe
        10叩，                                                            ological even IS and alarms, and wherein the daia wirelessly
                                                                        Iran sm it ted comprises lhe deterinmed physiological events
  wherein al leasi one sensor ecmpriscs a transmi tier for              and alarms
    wirelessly transmiUmg signals gen era led by lhe sensor                63. The system of claim 61 further t：omprisjng a local data
    wilhin the 부icmily of said physiological monitoring                 reposhory cci-localed with said physitjlogical monitoring
    apparatus,
                                                                        apparatus, wherein the local data repository receives data
   a microprocessor unit comprising (i) a receiver for receiv­          wiwk揪니y iransmitted by said ptiysiologieal monitoring
      ing signals wirek将디y transmitted from said sensers^               apparatus and stores received data in a local data archive,
      and (ii) a microprocessor for accepiing lhe reeeivetl             and wherein the 10cal data repository comprises display
      si몸ロ a Is and for recording digital data derived from the         lerminais for making stored data available tc local heaUh
      received signals in a removable ctimpuler-readable                care professionals.
      memory media.                                                        64. The syslem of daini 6() wherein said data repository
   54, The apparatus oi' claim 53 wherein al leasi one sensor           further comprises display terminals for making 더ort；d data
놈心nerates output signals in a digital (form, anti wherein lhe           available lo health care professionals and to users moni lor­
Ira nsm liter transmits ihe genera led digital signals.
                                                                        ing the operation of said sysTcni,
   55, The apparatus of cbijra 54 wherein the transmitlcr and
                                                                           65,1'hc system of claim 60 f낲Hhcr comprising a plurality
lhe rec旧iFer eonrorm to lhe Bluetodth standard.
                                                                        of physiological monitoring apparatus, each apparatus for
   5〇. rhe apparatus of claim 53 wherein al least one sensor
                                                                        monitoring a JilTcrent individual, and wherein said data
generates variab]e-frequency analog ouip기 I signals, and
wherein the Iransmilter culput is moclulalcd by generated               repository reads d기a from removable com put er-re ad able
variable-frequency analog signal.                                       memory media recorded by said plurality of physiological
                                                                        moniloring apparatus.
   57一 The apparaius of claim 53 wherein all sensors com­
prise a iransmilicr for wirckssly traosmiiting signals 나tn十                67. A compiler readable medium comprising data
crated by the sensor within the vicinity of said physiological          recorded in digital form, wherein the recorded digital data
moniloring apparatus.                                                   comprises dxla resptjnsive wilh errors of 1(R) ppm or less to
   58 一 The apparatus of claim 53 fun her comprising a signal           lhe frequency of an oscillator じonn略ck招 lo al least one
cable, wherein lhe ou Iput of at l&asl one senstjr is carried (o        conduclive 10op of al least one indue live pleihysmographie
said microprocessor unit by a signal cable, and wherein said            sensor.
microprocessor records digilal dala derived from signals
carried by said signal cable.                                                                  ホ***           爺




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(19)United States
(12)Patent Application Pnblication (i〇 Pub. n〇.： US 2003/0163287 Al   )

       Vock et al.                                                  (43)Pub. Date:                 Aug. 28,2003

(54)   MOVEMENT AND EVENT SYSTEMS AND                                      R이ated U.S. Application Data
       ASSOCIATED METHODS RELATED
       APPLICATIONS                                          (60)   Provisional application No. 60/256,069, filed on Dec.
                                                                    15, 200〇.
(76)    Inventors: Curtis A. Vock, Boulder, CO (US);
                   Adrian F. Earkin, Essex (GB); Robert                         Publication Ciassification
                   Muir H이me, Boulder, CO (US); Bu끼
                   W. Amsbury, Boulder, CO (US); Eric        (51)   Int. C1.7                                G06F 17/40
                   R. Edstrom, Colorado Springs, CO          (52)   U.S. Ci                                     702/187
                   (US); Perry Youngs, Longmont, CO
                   (US); Paul Jonjak, Lafayette, CO (US)
                                                             (57)                     ABSTRACT
        Correspondence Address:
        LATHROP & GAGE EC
        4845 PEARL EAST CIRCLE                              The invention provides a smart sensor (10) in the form of an
        SUITE 300                                           adhesive bandage (32). The sensor (12) sticks to people and
        BOUEDER, CO 80301 (US)                              objects and wirelessly commnnicates with remote receivers
                                                            (24). Internal detectors (12) sense conditions associated with
(21)   Appl. N0.:      10/297,270                           movement or the environment of the sensor. Typically,
                                                            sensors of the invention commnnicate by an RF transmitter
(22)    PCT Filed:     Dec. 17, 2001                        or transceiver (16). Groups of sensors may be combined
                                                            within a common canister that imparts date and time infor­
(86)    PCT N0.:       PCT/USOl/51620                       mation and “power on^^ when dispensed.


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                                                                                           ¥篁ヽ
                                                                RECEIVER
                                                                                             더쁴AY
                                                                                           -Wg仙




                                                               1                                                  APPLE 1018



                                                           Appx965
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                                 MONITOR DEVICE
                                          (---------------------- ;丁—
                                                                                               ヾゝ
                   *       DETECTOR       i             BATTERY                        [
                                                     J・         ■» —           r— J・
                                          1- - - - - - - - - - - - - - - - - - - - - - - 1
                   ヽ       PROCESSOR      !              MEMORY                          }

               ヽ& 、一 COMMUNICATIONS       1          CLOCK            [
                                          1_ _ _ _ _ _ _ _ _ _ _ _ _ _ 1



                       '   RECEIVER
                                       COMMUNICATIONS PORT J

                                                                           ヾ0x3




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                      RECONSTRUCTION COMPUTER AND RECEIVER




                                                              L、internet



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                                     RECEM
                 *忙                         J     BATTERY    ノ

                                                  MEMORY J
                                                                 7温
                       J     PROCESSOR

                           COMMUNICATIONS         CLOCK      J
                               PORT


                                                     We 丄QG




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            礦



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                                      Appx980
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                                                3200Hz 5 lOOHz
                                                                                            爾f\
                                                               Wヽ］㈱&■ゝ^擬〜、
                                                                                                                 P a fe n f A p p h c a U o n P u b h c a U o n




                                                                                             2 SIGNALS USED TO
                                                                1-POLE                      FINDPOTENTiALTAKE-
                                                                  LPF                        아FS AND LAN미NG$
                                                                 20 Hz
                                                             J LOW-PASS COMPARATORS          ‘燃广、g
                                                                                                STATE   —\L
                                                                                                                 Aum・ 28^ 2003




                                                                                                MACHINE I A爾施
          3   DIFFERENCE   RECTIFY     LIMIT   RESCALE i           焼•ヽ:や3 H卜こへ
                                                       I                                 -Wヽ
                                                                   1-P0LE                  3 SIGNALS USED TO
                                                       1




Appx981
                                                                     LPF        T          BUILD CONFIDENCE
                                                       1
                                                                     2 Hz                    IN AND CONFIRM
                                                                             COMPARATORS
                                                                                                                  Sheer 16 of




                                                                                              TAKEOFFSAND                              잉
                                                       I 12,5 Hz   麟                      LANDINGS. ALSO USED
                                                                                                FOR MOTION
                                                                                                DETECTION.
                                                                                                                 US




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                 (■JUMP* TOO SHORT                           FOUND
                    TO BE REAL)                LOOK FOR      MOTION
                                               TAKEOFF
                                                     FOUND
                                                     POTENTIAL          {*JUMP* TOO LONG
                                                     TAKEOFF                 TO BE REAL)

                                          PoS?&



                             FOUND POTENTIAL
             (SKI CLICK)   LANDING INSTEADZ

                                                                   既源‘
                       V CONFIRMATION>

            FOUND POTENTIAL       CONFIRMED       / FOUND                 TIMED OUT
            TAKEOFF INSTEAD       •LANDING'      / POTENTIAL
            —                                   f    LANDING

                                                               STORE TIME OF
                                                             POTENTIAL LANDING



                                                             嘴嬲K


                                                     se
                                         AIRTIME = (TIME OF POTENTIAL WNDINGl
                                                  -I TIME OF POTENTIAL TAKEOFF)




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                                        Appx983
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          REC 타VE
         MESSAGE
         HANDLER



              RTC




                                            22



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   FIG. 33




   FIG. 34




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      FIG. 37




      FIG. 38




                Process Data Illustration 翌〇




                       5001                                                           lime
                                               5002
                                                                             5004




                                                        32



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      FIG. 43




     FIG. 44




                                                                      62괘

                         Crowd data device 608b'


                           Display 621


                           Car Selector Button 630


                           Data Mode Button 632                       628




                                                     35



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        FIG. 48




        FIG. 49




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    FIG. 50




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       FIG. 53


                                          Movement Monitor Device S40




                           Receiver 850
                                           Communications Port 852



      FtG, 54




     866




                                                   40



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           FIG. 55




                                              41




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                              尽G.60




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                DATA MANIPULATION                     TELEVISION, SCOREBOARD,
                     SECTION                                  INTERNET
                                                                 'ヾg.63



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   FIG. 69




              Transceiver 1340a

             ! Bluetooth Microchip 1324a        ; ! Transmitter or Transponder 1324b ；




             ! GPS receiver 1322                :丨 Antenna 1326



              LED or LCD Data Interface 134Ob




             User interface 1340c          Real time clock 1330




             Cookie Memory 1340d




                                                48



                                           Appx1012
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    FIG. 70




                    1412




                                           1402




    FIG. 71




                                            49



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    FIG, 73

    1600




                           1602A

                                                                   usor




                                          1630




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     MOVEMENT AND EVENT SYSTEMS AND                                   [0006] It is, accordingly, one feature of the invention to
       ASSOCIATED METHODS RELATED                                     provide systems and methods addressing the afore-men­
              APPLICATIONS                                            tioned difficulties. A further feature of the invention is to
                                                                      provide methods and devices to quantify movement in a
                RELATED APPEICATIONS                                  number of applications. Another feature of the invention is
                                                                      to monitor and report meaningful environment information
[0001] This application claims priority to the following six
                                                                      such as temperature and humidity. These and other features
U.S. provisional applications, each of which is expressly
                                                                      will be apparent in the description that follows.
incorporated herein by reference: U.S. Provisional Applica­
tion No. 60/256,069, filed Dec. 15, 2000; U.S. Provisional                        SUMMARY OF THE INVENTION
Application No. 60/257,386, filed Dec. 22, 2000; U.S.
Provisional Application No. 60/259,271, filed Dec. 29,                [0007]   Movement Monitoring Devices
2000; U.S. Provisional Application No. 60/261,359, filed              [0008] In one aspect, the invention provides a movement
Jan. 13, 2001; U.S. Provisional Application No. 60/285,032,           monitor device ("MMD") including an adhesive strip, a
filed Apr. 19, 2001; and U.S. Application No. 60/323,601,             processor, a detector, and a communications port. In another
filed Sep. 20, 2001.                                                  aspect, two or more of the processor, port and detector are
                                                                      combined in a single application specific integrated circuit
               FIELD OE THE INVENTION                                 (“ASIC"). In one aspect the detector is an accelerometer, and
[0002] The invention relates to sensing systems monitor­              preferably an accelerometer embedded into silicon within
ing applications in sports, shipping, training, medicine,             the ASIC. In other aspects, the detector is one of a strain
fitness, wellness and indnstrial prodnction. The invention            gauge, force-sensing resistor, and piezoelectric strip. In still
specifically relates to sensing and reporting events associ­          another aspect, the MMD includes a battery. In the preferred
ated with movement, environmental factors such as tem­                aspect of the invention, the MMD and battery are packaged
perature, health functions, fitness effects, and changing             in a protective wrapper. Preferably, the battery is packaged
conditions.                                                           with the MMD in such a way that it does not “power" the
                                                                      MMD until the wrapper is removed. Preferably, the MMD
                      BACKGROUND                                      includes a real time clock so that the MMD tags “events" (as
                                                                      hereinafter defined) with time and/or date information.
[0003] The movement of objects and persons occurs con-
                                                                      [0009] In yet another aspect, the MMD with adhesive strip
tinnonsly bnt is hardly quantified. Rather, typically only the
                                                                      collectively take a form similar to an adhesive bandage.
result of the movement is known (i.e., object X moved from
                                                                      More particularly, the adhesive strip of the invention is
point A to point B; or, person Y ran to the store). Advances
                                                                      preferably like or similar to the adhesive of the adhesive
in technology have provided some quantification of move­
                                                                      bandage; and the processor (or protective wrapper) is
ment. For example, GPS products now assist in determining
                                                                      embedded with the strip much the way the cotton is with the
the location of golf carts, vehicles and persons.
                                                                      adhesive bandage. Preferably, a soft material (e.g., cotton or
[0004] However, the detail of movement, minnte to                     cloth) is included to surround the processor so as to (a)
minute, second to second, is still not generally determinable         soften contact of rigid MMD components with a person
in the prior art. For example, the movement of tangible               and/or (b) protect the processor (and/or other components of
objects typically involves (a) the shipment or carrying of            the MMD). In still another aspect, the battery is also coupled
goods and (b) electromechanical or motorized apparatus                with the soft material. In still another aspect, the processor
(e.g., planes, trains, automobiles, robots). The exact move­          and other elements of the MMD are combined into a single
ments of such objects, and the conditions that they are               system-on-chip integrated circuit. A protective cover may
subjected to, from point to point, are only qu시itatively              surround the chip to protect the MMD from breakage.
known. By way of example, a package is moved from
                                                                      [0010] In one aspect, one MMD of the invention takes a
location to location through delivery services like FED­
                                                                      form similar to a smart label, with an adhesive substantially
ERAL EXPRESS or UPS; however what occurred during
                                                                      disposed with the label, e.g., on one side of the label. The
transportation, and what transpired to the package, is any-
                                                                      adhesive strip of this MMD includes all or part of the back
one^s guess. Occasionally, an object within the package is
                                                                      of the label with adhesive or glue permitting attachment of
broken, indicating that the package experienced excessive
                                                                      the label to other objects (or to a person).
abuse; but whose fault it is, or how or when it happened, are
not known. What environments the package experienced is               [0011] In still another aspect, the MMD of the invention
also not readily known.                                               takes the form of a rigid monolithic that attaches to objects
                                                                      through one of known techniques. In this aspect, the device
[0005] The movement of persons, on the other hand,
                                                                      has a processor, communications port, and detector. A bat­
typically involves human-powered transportation, e.g.,
                                                                      tery is typically included with the MMD. The MMD is
facilitated by biking, a wheelchair, or a motorized vehicle,
                                                                      attached to objects or persons by one of several techniques,
e.g., a car. Body movement involved in transportation is
                                                                      including by glue or mechanical attachment (e.g., a pin or
subjected to many forces, some of which are dangerous. But
                                                                      clip). An MMD of this aspect can for example exist in the
the prior art does not provide for this knowledge; there is no
                                                                      form of a credit card, wherein the communications port is
effective way, currently, to efficiently quantify human move­
                                                                      either a contact transponder or a contactless transponder.
ment. In sports, physical fitness, and training, precise infor­
                                                                      The MMD of one aspect includes a magnetic element that
mation about movement would assist in many ways. By way
                                                                      facilitates easily attaching the MMD to metal objects.
of example, how effective a hand strike is in karate or boxing
is, today, only qualitatively known. Quantitative feedback            [0012] In operation, the MMD of the invention is typically
would be beneficial.                                                  interrogated by an interrogation device ("ID"). The MMD is
                                                                        52



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responsive to the ID to communicate information within the             to an IR when interrogated. In a third alternative, the MMD
MMD and, preferably, over secure communications proto­                 transmits stored data at set interv시s, e.g., once per % hour
cols. By way of example, one MMD of the invention                      or once per hour, to relay stored data to a RR. Other
releases internal data only to an ID with the correct pass­            transmission protocols can be used without departing from
words and/or data protocols. The ID can take many forms,               the scope of the invention.
including a cell phone or other electronic device (e.g., a MP3         [0018] In still another aspect, data from the MMD is
player, pager, watch, or PDA) providing communications                 relayed to an ID through "contact" communication between
with the MMD transmitter                                               the ID and the communications port. In one aspect, the
[0013] However, in another aspect, the MMD communi­                    MMD includes a small conductive plate (e.g., a gold plate)
cates externally to a remote receiver ("RR"). The RR listens           that contacts with the ID to facilitate data transfer. Smart
for data from the MMD and collects that data for subsequent            cards from the manufacturer GEMPLUS may be used in
relay or use. In one aspect, the MMD^s communications port             such aspects of the invention.
is a one-way transmitter. Preferably, the MMD communi­                 [0019] In one aspect, the MMD includes a printed circuit
cates data from the MMD to the RR either (a) upon the                  board "PCB"). Abattery一e.g., a 2032 or 1025 Lithium coin
occurrence of an “event" or (b) in repeated time intervals,                —also included, in another aspect of the invention. To
                                                                       cell—
e.g., once every ten minutes. Alternatively, the MMD^s                 make the device small, the PCB preferably has multilay­
communication port is a transceiver that handshakes with               ers一and two of the internal layers have a substantial area of
the RR to communicate data from the MMD to the RR.                     conducting material forming two termm시s for the battery.
Accordingly, the MMD responds to data requests from the                Specifically, the PCB is pried apart at one edge, between the
RR, in this aspect. In still another aspect, the RR radiates the       termm시s, and the battery is inserted within the PCB making
MMD with transponder frequencies; and the MMD                          contact and providing voltage to the device. This advanta­
“reflects" movement data to the RR.                                    geously removes then need for a separate and weighty
[0014] Accordingly, the communications port of one                     battery holder.
aspect is a transponder responsive to one or more frequen­             [0020] In another aspect, the PCB has first and second
cies to relay data back to an ID. By way of example, these             termm시s on either side of the PCB, and a first side of the
frequencies can be one of 125 kHz and f3.56 MHz, the                   battery couples to the first terminal, while a clip connects the
frequencies common with “contactless" RFID tags known in               second side of the battery to the second terminal, making the
the art. In other aspects, communications frequencies are              powered connection. This aspect advantageously removes
used with emission power and frequencies that fall within              the need for a separate and weighty battery holder.
the permissible ''unlicensed" emission spectrum of part f5
of FCC regulations. Title 47 of the Code of Federal Regu­              [0021] In still another aspect, a terminal is imprinted on
lations. In particular, one desirable feature of the invention         one side of the PCB, and a first side of the battery couples
is to emit low power, to conserve battery power and to                 to that terminal. A conductive force terminal connects to the
facilitate use of the MMD in various environments; and                 PCB and the second side of the battery, forming a circuit
therefore an ID is placed close to the MMD to read the data.           between the battery and the PCB.
In other words, in one aspect, wireless communications from            [0022] By way of background for transponder technology,
the MMD to the ID occurs over a short distance of a fraction           the following U.S. patents are incorporated herein by refer­
of an inch to no more than a few feet. By way of example,              ence: U.S. Pat. No. 6,09f,342 and U.S. Pat. No. 5,54f,604.
as described herein, one ID of the invention takes the form            [0023] By way of background for smart card and smart tag
of a cell phone, which communicates with the MMD via one               technology, the following U.S. patents are incorporated
or more secure communications techniques. Data acquired                herein by reference: U.S. Pat. No. 6,f5f,647; U.S. Pat. No.
from the MMD is then communicated through cellular                     5,90f,303. U.S. Pat. No. 5,767,503; U.S. Pat. No. 5,690,773;
networks, if desired, to relay MMD data to end-users.                  U.S. Pat. No. 5,671,525; U.S. Pat. No. 6,043,747; U.S. Pat.
[0015] Or, in another aspect, the ID has a larger antenna to           No. 5,977,877; and U.S. Pat. No. 5,745,037.
pick up weak transmission signals from a MMD at further                [0024] By way of background for adhesive bandages, the
distances separation.                                                  following U.S. patents are incorporated herein by reference:
[0016] In another aspect, the communications port is an                U.S. Pat. No. 5,045,035; U.S. Pat. No. 5,947,9f7; U.S. Pat.
infrared communications port. Such a port, in one aspect,              No. 5,633,070; U.S. Pat. No. 4,812,541; and U.S. Pat. No.
communicates with the cell phone in secure communication               3,612,265.
protocols. In other aspects, an ID communicates with the               [0025] By way of background for pressure and altitude
infrared port to obtain the data within the MMD.                       sensing, the following U.S. patents are incorporated herein
[0017] In yet another aspect, the communications port                  by reference: U.S. Pat. No. 5,f78,0f6; U.S. Pat. No. 4,3f7,
includes a transceiver. The MMD listens for interrogating              f26; U.S. Pat. No. 4,8f3,272; U.S. Pat. No. 4,9ff,0f6; U.S.
signals from the RR and, in turn, relays movement "event"              Pat. No. 4,694,694; U.S. Pat. No. 4,911,016; U.S. Pat. No.
data from the MMD to the RR. Alternatively, the MMD                    3,958,459.
relays movement "event" data at set time intervals or when             [0026] By way of background for rotation sensors, the
the MMD accumulates data close to an internal storage limit.           following U.S. Patents are incorporated herein by reference:
In one aspect, thereby, the MMD include inteni시 memory;                U.S. Pat. No. 5,442,22f; U.S. Pat. No. 6,089,098; and U.S.
and the MMD stores one or more "event" data, preferably                Pat. No. 5,339,699. Magnetorestrictive elements are further
with time-tag information, in the memory. When the                     discussed in the following patents, also incorporated herein
memory is nearly full, the MMD transmits the stored data               by reference: U.S. Pat. No. 5,983,724 and U.S. Pat. No.
wirelessly to a RR. Alternatively, stored data is transmitted          5,621,316.
                                                                         53



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[0027] In accord with one aspect of the invention, the                [0030] In one preferred aspect, the accelerometer has "free
commnnications port is one of a transponder (inclnding a              fall" capability (e g., with near zero hertz detection) to
smart tag or RFID tag), transceiver, or one-way transmitter.          determine drop distance (or other metrics described herein)
In other aspects, data from the MMD is communicated                   based, at least on part, on free fall physics. This aspect is for
off-board (i.e., away from the MMD) by one of several                 example useful in detecting dropping events of packages in
techniques, including: streaming the data continuously off-           shipment.
board to get a real-time signature of data experienced by the         [0031] In another aspect, the detector and processor of the
MMD; transmission triggered by the occurrence of an                   MMD collectively detect and determine spin. By way of
“event" as defined herein; transmission triggered by inter­           example, one detector is a magnetorestrictive element
rogation, such as interrogation by an ID with a transponder;          ("MRE"), and the processor analyzes data from the MRE to
transmission staggered in “bursts" or "batches," such as              determine spin (rotation per second, number of degrees,
when intern시 storage memory is full; and transmission at              and/or degrees per second) based upon the MME^s rotation
predetermined interv시s of time, such as every minute or               through the earth^s magnetic fields. By way of a further
hour.                                                                 example, another detector is a rotational accelerometer, and
                                                                      the processor analyzes data from the rotational accelerom­
[0028] In one preferred aspect of the invention, the above­           eter to determine spin. In another aspect, the detector and
described MMDs are packaged like an adhesive bandage.                 processor of the MMD collectively detect and determine
Specifically, in one aspect, one or more protective strips rest       jarring, power and/or impact. By way of example, one
over the adhesive portion of the device so as to protect the          detector is an accelerometer, and the processor analyzes data
adhesive until the protective strips are removed. The strips          from the accelerometer to determine the jarring, impact
are substantially stick-free so that they are easily removed          and/or power. As used herein, jarring is a function a higher
from the adhesive prior to use. In another aspect, a ''wrap­          power of velocity in a direction approximately perpendicular
per" is used to surround the MMD; the wrapper for example             to forward movement (typically in a direction perpendicular
similar to wrappers of adhesive bandages. In accord with              to ground, a road, or a floor). As used herein, power is an
one preferred aspect, the battery electric시ly couples with the        integral of filtered (and preferably rectified) acceleration
electronics of the MMD when the wrapper is opened and/or              over some preselected time interval, typically greater than
when the protective strips are removed. In this way, the              about % second. As used herein, impact is an integral of
MMD can be "single use" with the battery energizing the               filtered (and preferably rectified) acceleration over a time
electronics only when the MMD is opened and applied to an             interval less than about % second. Impact is often defined as
object or person; the battery power being conserved prior to          immediately following an "airtime" event (i.e., the "thump"
use by a decoupling element associated with the wrapper or            of a landing).
protective strips. Those skilled in the art should appreciate         [0032] In one aspect, the MMD continuously relays a
that other techniques can be used without departing from the          movement metric by continuous transmission of data from
scope of the invention.                                               the detector to a RR. In this way, a MMD attached to a
                                                                      person may beneficially track movement, in real time, of that
[0029] The MMDs of the invention are preferably used to               person by recombination of the movement metrics at a
detect movement "metrics," including one or more of air­              remote computer. In one aspect, multiple MMDs attached to
time, speed, power, impact, drop distance, j arring and spin.         a person quantify movement of a plurality of body parts or
WO985458fA2 is incorporated herein by reference as back­              movements, for example to assist in athletic training (e.g.,
ground to measuring speed, drop distance, jarring, impact             for boxing or karate). In another aspect, multiple MMDs
and airtime. U.S. Pat. Nos. 6,f57,898, 6,151,563, 6,148,271           attached to an object quantify movement of a plurality of
and 6,073,086, relating to spin and speed measurement, are            object parts or movements, for example to monitor or assess
incorporated herein by reference. In one aspect, the detector         different components or sensitive parts of an object. For
and processor of the MMD collectively detect and determine            example, multiple MMDs can be attached to an expensive
"airtime," such as set forth in U.S. Pat. No. 5,960,380,              medical device to monitor various critical components dur­
incorporated herein by reference. By way of example, one              ing shipment; when the device arrives at the customer, these
detector is an accelerometer, and the processor analyzes              MMDs are interrogated to determine whether any of the
acceleration data from the accelerometer as a spectrum of             critical components experienced undesirable conditions一
information and then detects the absence of acceleration data         e.g., a high impact or temperature or humidity.
(typically in one or more frequency bands of the spectrum of
information) to determine airtime. In another aspect, the             [0033] By way of background for moisture sensing, the
detector and processor of the MMD collectively detect and             following U.S. patents are incorporated herein by reference:
determine drop distance. By way of example, one drop                  U.S. Pat. No. 5,486,8f5; U.S. Pat. No. 5,546,974; and U.S.
distance detector is a pressure sensor, and the processor             Pat. No. 6,078,056.
analyzes data from the pressure sensor to determine changes
                                                                      [0034] By way of background for humidity sensing, the
in pressure indicating altitude variations (a) over a prese­
                                                                      following U.S. patents are incorporated herein by reference:
lected time interval, (b) between a maximum and minimum
                                                                      U.S. Pat. No. 5,608,374; U.S. Pat. No. 5,546,974; and U.S.
altitude to assess overall vertical travel, and/or (c) between
                                                                      Pat. No. 6,078,056.
loc시 minimums and maximums to determine jump distance.
By way of a further example, a drop distance detector is an           [0035] By way of background for temperature sensing, the
accelerometer, and the processor analyzes data from the               following U.S. patents are incorporated herein by reference:
accelerometer to determine distance, or changes in distance,          U.S. Pat. No. 6,074,089; U.S. Pat. No. 4,210,024; U.S. Pat.
in a direction perpendicular to ground, or perpendicular to           No. 4,516,865; U.S. Pat. No. 5,088,836; and U.S. Pat. No.
forward movement, to determine drop distance.                         4,955,98〇.
                                                                        54



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[0036] In accord with further aspects of the invention, the           the processor or ASIC. Event data is stored in the memory,
MMD measures one or more of the following environmental               in accord with one aspect, until transmitted off-board. In this
metrics: temperature, hnmidity, moistnre, altitude and pres­          way, the MMD monitors and stores event data (e.g., an
sure. These environmental metrics are combined into the               “event" occurrence where the MMD experiences fO' gs).
MMD with a detector that facilitates the monitoring of                Preferably, the event data is time tagged with data from a
movement metrics such as described above. For tempera­                real-time clock; and thus a real time clock is included with
ture, the detector of one aspect is a temperature sensor such         the MMD (or made integral with the processor or ASIC). A
as a thermocouple or thermister. For altitude, the detector of        crystal or other clocking mechanism may also be used.
one aspect is an altimeter. For pressure, the detector of one
aspect is a pressure sensor such as a surface mount semi­             [0042] In one aspect, the MMD is programmed with a time
conductor element made by SENSYM.                                     at the initial time of use (i.e., when the device is powered).
                                                                      In one other aspect, the MMD is packaged with power so
[0037] In accord with one aspect, a MMD monitors one or               that real time clock data is available when the product is
more movement metrics for “events," where data is acquired            used. In this aspect, therefore, a container of MMDs will
that exceeds some predetermined threshold or value. By way            typically have a “stale" date when the MMD^s battery power
of example, in one aspect the detector is a tri axial acceler­        is no longer usable. In one aspect, the MMD has a replace­
ometer and the processor coupled to the accelerometer seeks           able battery port so that a user can replace the battery.
to determine impact events that exceed a threshold, in any or
all of three axes. In another aspect, a single axis accelerom­        [0043] The invention has certain advantages. A MMD of
eter is used as the detector and a single axis is monitored for       the invention can practic시ly attach to 시most anything to
an impact event. In another example, the detector and                 obtain movement information. By way of example, a MMD
processor collectively monitor and detect spin events, where          of the invention can attach to furniture to monitor shipping
for example it is determined that the device rotated more             of furniture. If the furniture were dropped, an impact event
than 360 degrees in % second or less (an exemplary “event”            occurs and is recorded within the MMD, or transmitted
threshold). In still another aspect, the detector is a force          wirelessly, with an associated time tag. When the furniture
detector and the processor and detector collectively deter­           is damaged prior to delivery, a reader (e.g., an ID) reads the
mine a change of weight of an object resting on the MMD               MMD to determine when the damage occurred—        —to
over some preselected time period. In one specific object,            the responsible party who may then have to pay for the
the invention provides for a MMD to monitor human weight              damage. In a further example, if furniture is rated to “10
to report that weight, on demand, to mdividu시s. Preferably,           g^s", a MMD (programmed and enabled to detect fO g
such a MMD is in a shoe.                                              events) is attached to the furniture when leaving the factory,
                                                                      so that any fO g event before delivery is recorded and
[0038] In one aspect, the movement metric of rotation is              time-stamped, again leading to a responsible party. Simi­
measured by a MMD with a Hall effect detector. Specifi­               larly, in other aspects, devices of the invention are attached
cally, one aspect of the Hall effect detector with a MMD of           to packages (e.g., FED EX or UPS shipments) to monitor
the invention monitors when the MMD is inverted. In one               handling. By way of example, fragile objects may be rated
other aspect, the Hall effect detector is used with the               to 5 g; and an appropriately programmed MMD of the
processor to determine when an object is inverted or rotated          invention is attached to the shipment to record and time-tag
through about f80 degrees. An “event" detected by this                5 g events. In another aspect, fragile objects that should be
aspect can for example be one or more inversions of the               maintained at a particular orientation (i.e., packages shipped
MMD of about f80 degrees.                                             within “This Side Up" instructions) are monitored by a
[0039] In still another aspect, the MMD has a MRE as the              MMD detecting inversions of about f80 degrees, such as
detector, and the MMD measures spin or rotation experi­               through a Hall Effect detector.
enced by the MRE.
                                                                      [0044] In one aspect, the MMD includes a tamper proof
[0040] In one aspect, a plurality of MMDs are collated and            detector that ensures the MMD is not removed or tampered
packaged in a single container, preferably similar to the cans        with once applied to an object or person, until an authorized
or boxes containing adhesive bandages. Preferably, in                 person removes the MMD. In one aspect the tamper proof
another aspect, MMDs of the invention are similarly pro­              detector is a piezoelectric strip coupled into or with the
grammed within the container. By way of example, one                  adhesive strip. Once the MMD is powered and applied to an
container carries fOO MMDs that each respond to an event              object or person, a quiescent period ensues and the MMD
of "10 g^s." In another example, another container carries            continually monitors the tamper proof detector (in addition
200 MMDs that respond to an event of TOO g^s." Packages               to the event detector) to record tampering activity. In the
of MMDs can be in any suitable number N greater than or               case of the piezoelectric strip, removal of the MMD from a
equal to two; typically however MMDs are packaged                     person or object after the quiescent period provides a
together in groups of 50, fOO, f50, 200, 250, 500 or fOOO.            relatively large voltage spike, indicating removal. That spike
A variety pack of MMDs are also provided, in another                  is recorded and time stamped. If there are more than one
aspect, for example containing ten 5 g MMDs, ten fO g                 such records (i.e., one record represents the final removal),
MMDs, ten f5 g MMDs, ten 20 g MMDs, ten 25 g MMDs,                    then tampering may have occurred. Since date and time are
ten 30 g MMDs, ten 35 g MMDs, ten 40 g MMDs, ten 45                   tagged with the event data, the tamper time is determined,
g MMDs, and ten 50 g MMDs. Another variety package can                leading to identify the tampering person (i.e., the person
for example include groups of MMDs spaced at f g or f 0 g             responsible for the object when the tamper time was tagged).
intervals.
                                                                      [0045] In one aspect, the invention provides an ID in the
[0041] In one preferred aspect, the MMD of the invention              form of a cell phone. Nearly one in three Americans use a
includes intern시 memory. Preferably the memory is within              cell phone. According to the teachings of the invention, data
                                                                        55



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movement “metrics" are read from a MMD through the cell               [0059] The invention of one aspect provides a quantizing
phone. Preferably, data communicated from the MMD to the              accelerometer that detects one or more specific g-levels in a
cell phone is made only through secure communications                 manner particularly useful as a detector in a MMD of the
protocols so that only authorized cell phones can access the          invention.
MMD. In one specific aspect, MMD events are communi­
cated to a cell phone or cellular network, and from that point        [0060] There are thus several applications of the inven­
are relayed to persons or additional computer networks for            tion, including the monitoring of movement for people,
use at a remote location.                                             patients, packages, athletes, competitors, shipments, furni­
                                                                      ture, athletes in training (e.g., karate), and industrial robot­
[0046] Miniature tension or compression load cells are                ics. The benefits derived by such monitoring can be used by
used in certain aspects of the invention. By way of example,          insurance companies and manufacturers, which, for
a MMD incorporating such cells are used in measuring and              example, insure shipments and packages for safe delivery to
monitoring tension and/or compression between about fifty             purchasers. Media broadcasters, including Internet content
grams and fOOO lbs, depending upon the application. In one            providers, can also benefit by augmenting information asso­
aspect, the MMD generates a warning signal when the load              ciated with a sporting event (e.g., airtime of a snowboarder
cell exceeds a preselected threshold.                                 communicated in real time to the Internet, impact of a
[0047] In accord with the invention, several advantages               football or soccer ball during a game, boxing glove strike
are apparent. The following lists some of the non-limiting            force during a fight, tennis racquet strike force during a
movement events monitored and captured by select MMDs                 match). The MMD of the invention is sm시1, and may be
of the invention, in accord to varied aspects of the invention:       attached to practically any object一so ease of use is clearly
                                                                      another advantage. By way of example, an MMD can be
     [0048] impact or "g's" experienced by the MMD that               mounted to the helmet or body armor of each football player
       exceed a predetermined threshold, e.g., fO or 50 g^s           or motocross competitor to monitor movement and jerk of
     [0049] accumulated or integrated rectified accelera­             the athlete. In such applications, data from the MMD
       tion experienced by the MMD over a predetermined               preferably transmits event data in real time to a RR in the
       time interv 시                                                  form of a network, so that MMD data associated with each
                                                                      competitor is available for broadcast to a scoreboard, FV or
     [0050] rotations experienced by the MMD in incre­                the Internet. Other advantages should be apparent in the
       ments of 90 degrees, such as 90, 180, 270, 360                 description within.
       degrees, or multiples thereof
                                                                      [0061]   Event Monitoring Devices
     [0051] frequency-filtered, rectified, and low-pass fil­
       tered acceleration detecting impact events, by the             [0062] The invention also provides certain sensors and
       MMD, exceeding thresholds such as 5, fO, 20,25, 50             devices used to monitor and report temperature, humidity,
       and fOO g^s, preferably after an airtime event                 chemicals, heart rate, pulse, pressure, stress, weight, envi­
     [0052] rotation시 velocities experienced by the MMD               ronmental factors and hazardous conditions.
       exceeding some preselected “degrees per second" or             [0063] In one aspect, the invention provides a event moni­
       ''revolutions per minute" threshold                            tor device ("EMD") including an adhesive strip, a processor,
     [0053] airtime events experienced by the MMD                     a detector, and a communications port. In another aspect,
       exceeding %, VS, or % second, or multiples thereof             two or more of the processor, port and detector are combined
                                                                      in a single application specific integrated circuit ("ASIC").
     [0054] speed events experienced by the MMD                       In one aspect the detector is an humidity or temperature
       exceeding miles per hour thresholds of fO, 20, 30,             sensor, and preferably that detector is embedded into silicon
       40, 50, 60 mph (those skilled in the art should                within the ASIC. In other aspects, the detector is one of an
       appreciate that other "speed" units can be used, e.g.,         EKG sensing device, weight-sensing detector, and chemical
       km/hour, m/s or cm/s)                                          detector. In still another aspect, the EMD includes a battery.
     [0055] drop distance events experienced by the                   In the preferred aspect of the invention, the EMD and battery
       MMD exceeding set distances such as 1, 2, 3, 4, 5,             are packaged in a protective wrapper. Preferably, the battery
       10, 20, 50 and 100 feet (or inches, centimeters or             is packaged with the EMD in such a way that it does not
       meters)                                                        "power" the EMD until the wrapper is removed. Preferably,
                                                                      the EMD includes a real time clock so that the EMD tags
     [0056] altitude variation events between maximum                 "events" with time and/or date information.
       and minimum values over a daily time interval
                                                                      [0064] In yet another aspect, the EMD with adhesive strip
     [0057] jerk variations proportional to V" or âW/â%
                                                                      collectively take a form similar to an adhesive bandage.
       where V is velocity in a direction perpendicular to
                                                                      More particularly, the adhesive strip of the invention is
       movement along a surface (e.g., ground), where n is
                                                                      preferably like or similar to the adhesive of the adhesive
       some integer greater than or equal to 2, and where t
                                                                      bandage; and the processor is embedded with the strip much
       is time
                                                                      the way the cotton is with the adhesive bandage. Preferably,
[0058] The above movement events may be combined for                  a soft material (e.g., cotton or cloth) is included to surround
a variety of metrics useful to users of the invention. For            the processor so as to (a) soften contact of rigid EMD
example, in one aspect, altitude variations are used to               components with a person and/or (b) protect the processor
accurately gauge c시one burn through the variations. Such              (and/or other components of the EMD). In still another
information is particularly useful for mountain bikers and in         aspect, the battery is also coupled with the soft material. In
mountain sports.                                                      still another aspect, the processor and other elements of the
                                                                        56



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EMD are combined into a single system-on-chip integrated             or more secure communications techniques. Data acquired
circnit. A protective cover may surround the chip to protect         from the EMD is then communicated through cellular net­
the EMD from breakage.                                               works, if desired, to relay EMD data to end-users. Or, in
                                                                     another aspect, or sensitive or directional antenna is used to
[0065] In one aspect, one EMD of the invention takes a
                                                                     increase the distance to detect data of the EMD.
form similar to a smart label, with an adhesive substantially
disposed with the label, e.g., on one side of the label. The         [0070] In another aspect, the communications port is an
adhesive strip of this EMD includes all or part of the back          infrared communications port. Such a port, in one aspect,
of the label with adhesive or glue permitting attachment of          communicates with the cell phone in secure communication
the label to other objects (or to a person).                         protocols. In other aspects, an ID communicates with the
                                                                     infrared port to obtain the data within the EMD.
[0066] In still another aspect, the EMD of the invention
takes the form of a rigid monolithic that attaches to objects        [0071] In yet another aspect, the communications port
through one of known techniques. In this aspect, the device          includes a transceiver. The EMD listens for interrogating
has a processor, communications port, and detector. A bat­           signals from the RR and, in turn, relays "event" data from
tery is typically included with the EMD. The EMD is                  the EMD to the RR. Alternatively, the EMD relays "event"
attached to objects or persons by one of several techniques,         data at set time intervals or when the EMD accumulates data
including by glue or mechanical attachment (e.g., a pin or           close to an internal storage limit. In one aspect, thereby, the
clip). An EMD of this aspect can for example exist in the            EMD include internal memory; and the EMD stores one or
form of a credit card, wherein the communications port is            more "event" data, preferably with time-tag information, in
either a contact transponder or a contactless transponder.           the memory. When the memory is nearly full, the EMD
The EMD of one aspect includes a magnetic element that               transmits the stored data wirelessly to a RR. Alternatively,
facilitates easily attaching the EMD to met시 objects.                stored data is transmitted to an IR when interrogated. In a
                                                                     third alternative, the EMD transmits stored data at set
[0067] In operation, the EMD of the invention is typically
                                                                     intervals, e.g, once per % hour or once per hour, to relay
interrogated by an ID. The EMD is responsive to the ID to
                                                                     stored data to a RR. Other transmission protocols can be
communicate information within the EMD and, preferably,
                                                                     used without departing from the scope of the invention.
over secure communications protocols. By way of example,
one EMD of the invention releases internal data only to an           [0072] In still another aspect, data from the EMD is
ID with the correct passwords and/or data protocols. The ID          relayed to an ID through "contact" communication between
can take many forms, including a cell phone or other                 the ID and the communications port. In one aspect, the EMD
electronic device (e.g., a MP3 player, pager, watch, or PDA)         includes a sm시1 conductive plate (e.g., a gold plate) that
providing communications with the EMD transmitter                    contacts with the ID to facilitate data transfer. Smart cards
                                                                     from the manufacturer GEMPLUS may be used in such
[0068] However, in another aspect, the EMD communi­
                                                                     aspects of the invention.
cates externally to a RR. The RR listens for data from the
EMD and collects that data for subsequent relay or use. In           [0073] In one aspect, the EMD includes a printed circuit
one aspect, the EMD^s communications port is a one-way               board "PCB"). Abattery一e.g., a 2032 or f〇25 Lithium coin
transmitter. Preferably, the EMD communicates data from                  —also included, in another aspect of the invention. To
                                                                     cell—
the EMD to the RR either (a) upon the occurrence of an               make the device small, the PCB preferably has multilay­
“event" or (b) in repeated time intervals, e.g., once every          ers一and two of the internal layers have a substantial area of
minute or more. Alternatively, the EMD^s communication               conducting material forming two termm시s for the battery.
port is a transceiver that handshakes with the RR to com­            Specifically, the PCB is pried apart at one edge, between the
municate data from the EMD to the RR. Accordingly, the               termm시s, and the battery is inserted within the PCB making
EMD responds to data requests from the RR, in this aspect.           contact and providing voltage to the device. This advanta­
In still another aspect, the RR radiates the EMD with                geously removes then need for a separate and weighty
transponder frequencies; and the EMD “reflects" the data to          battery holder. Flex circuit boards may also be used.
the RR.
                                                                     [0074] In another aspect, the PCB has first and second
[0069] Accordingly, the communications port of one EMD               termm시s on either side of the PCB, and a first side of the
is a transponder responsive to one or more frequencies to            battery couples to the first terminal, while a clip connects the
relay data back to an ID. By way of example, these fre­              second side of the battery to the second terminal, making the
quencies can be one of 125 kHz and f3.56 MHz, the                    powered connection. This aspect advantageously removes
frequencies common with “contactless" RFID tags known in             then need for a separate and weighty battery holder.
the art. In other aspects, communications frequencies are
                                                                     [0075] In still another aspect, a terminal is imprinted on
used with emission power and frequencies that fall within
                                                                     one side of the PCB, and a first side of the battery couples
the permissible ''unlicensed" emission spectrum of part f5
                                                                     to that terminal. A conductive force terminal connects to the
of FCC regulations. Title 47 of the Code of Federal Regu­
                                                                     PCB and the second side of the batter, forming a circuit
lations. In particular, one desirable feature of the invention
                                                                     between the battery and the PCB.
is to emit low power, to conserve battery power and to
facilitate use of the EMD in various environments; and               [0076] In accord with one aspect of the invention, the
therefore an ID is placed close to the EMD to read the data.         communications port is one of a transponder (including a
In other words, in one aspect, wireless communications from          smart tag or RFID tag), transceiver, or one-way transmitter.
the EMD to the ID occurs over a short distance of a fraction         In other aspects, data from the EMD is communicated
of an inch to no more than a few feet. By way of example,            off-board (i.e., away from the EMD) by one of several
as described herein, one ID of the invention takes the form          techniques, including: streaming the data continuously off-
of a cell phone, which communicates with the EMD via one             board to get a real-time signature of data experienced by the
                                                                       57



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EMD; transmission triggered by the occnrrence of an                   [0081] In one aspect, a plur시ity of EMDs are collated and
“event" as defined herein; transmission triggered by inter­           packaged in a single container, preferably similar to the cans
rogation, snch as interrogation by an ID with a transponder;          or boxes containing adhesive bandages. Preferably, in
transmission staggered in “bursts" or "batches," such as              another aspect, EMDs of the invention are similarly pro­
when intern시 storage memory is full; and transmission at              grammed within the container. By way of example, one
predetermined interv시s of time, such as every minute or               container carries fOO EMDs that each respond to an event of
hour.                                                                 "5 degrees" variation from some reference temperature. In
                                                                      another example, another container carries 200 EMDs that
[0077] In one preferred aspect of the invention, the above­           respond to an event of "90 degrees^^ change absolute.
described EMDs are packaged like an adhesive bandage.                 Temperature sensors may be programmed to determine
Specifically, in one aspect, one or more protective strips rest       actual temperatures, e.g., 65 degrees, or changes in tempera­
over the adhesive portion of the device so as to protect the          ture from some reference point, e.g., fO degrees from
adhesive until the protective strips are removed. The strips          reference.
are substantially stick-free so that they are easily removed
from the adhesive prior to use. In another aspect, a ''wrap­          [0082] Packages of EMDs can be in any suitable number
per" is used to surround the EMD; the wrapper being similar           N greater than or equal to two; typically however EMDs are
to existing wrappers of adhesive bandages. In accord with             packaged together in groups of 50, fOO, f50, 200, 250, 500
one preferred aspect, the battery electric시ly couples with the        or fOOO.
electronics of the EMD when the wrapper is opened and/or              [0083] In one preferred aspect, the EMD of the invention
when the protective strips are removed. In this way, the              includes internal memory. Preferably the memory is within
EMD can be "single use" with the battery energizing the               the processor or ASIC. Event data is stored in the memory,
electronics only when the EMD is opened and applied to an             in accord with one aspect, until transmitted off-board. In this
object or person; the battery power being conserved prior to          way, the EMD monitors and stores event data (e.g., an
use by a decoupling element associated with the wrapper or            "event^^ occurrence where the EMD experiences fOO degree
protective strips. Those skilled in the art should appreciate         temperatures). Preferably, the event data is time tagged with
that other techniques can be used without departing from the          data from a real-time clock; and thus a real time clock is
scope of the invention.                                               included with the EMD (or made integral with the processor
[0078] In one aspect, the EMD continuously relays an                  or ASIC). In one aspect, the EMD is programmed with a
environmental metric (e.g,. temperature, humidity, or chemi­          time at the initial time of use (i.e., when the device is
cal content) by continuous transmission of data from the              powered). In one other aspect, the EMD is packaged with
detector to a RR. In this way, a EMD attached to a person             power so that re시 time clock data is available when the
or object may beneficially track conditions, in real time, of         product is used. In this aspect, therefore, a container of
that person or object by recombination of the environmental           EMDs will typically have a "stale^^ date when the EMD^s
metrics at a remote computer. In one aspect, multiple EMDs            battery power is no longer usable. In one aspect, the EMD
attached to a person or object quantify data for a plurality of       has a replaceable battery port so that a user can replace the
locations, for example to monitor sub-parts of an object or           battery.
person.                                                               [0084] The invention has certain advantages. An EMD of
                                                                      the invention can practic시ly attach to 시most anything to
[0079] In accord with further aspects of the invention, the
                                                                      obtain event information. By way of example, an EMD of
EMD measures one or more of the following environmental
                                                                      the invention can attach to patients to track he시th and
metrics: temperature, humidity, moisture, altitude and pres­
                                                                      conditions in re시 time and with remote monitoring capa­
sure. For temperature, the detector of one aspect is a
                                                                      bility.
temperature sensor such as a thermocouple or thermister.
For altitude, the detector of one aspect is an altimeter. For         [0085] In one aspect, the EMD includes a tamper proof
pressure, the detector of one aspect is a pressure sensor such        detector that ensures the EMD is not removed or tampered
as a surface mount semiconductor element made by SEN-                 with once applied to an object or person, until an authorized
SYM.                                                                  person removes the EMD. In one aspect, the tamper proof
                                                                      detector is a piezoelectric strip coupled into or with the
[0080] In accord with one aspect, an EMD monitors one or
                                                                      adhesive strip. Once the EMD is powered and applied to an
more metrics for "events," where data is acquired that
                                                                      object or person, a quiescent period ensues and the EMD
exceeds some predetermined threshold or value. By way of
                                                                      continually monitors the tamper proof detector (in addition
example, in one aspect the detector is a temperature sensor
                                                                      to the event detector) to record tampering activity. In the
and the processor coupled to the temperature sensor seeks to
                                                                      case of the piezoelectric strip, removal of the EMD from a
determine temperature events that exceed a threshold. In
                                                                      person or object after the quiescent period provides a
another aspect, a humidity sensor is used as the detector and
                                                                      relatively large voltage spike, indicating removal. That spike
this sensor is monitored for a humidity event (e.g., did the
                                                                      is recorded and time stamped. If there are more than one
EMD experience 98% humidity conditions). In another
                                                                      such records (i.e., one record represents the final removal),
example, the detector and processor collectively monitor
                                                                      then tampering may have occurred. Since date and time are
stress events, where for example it is determined that the
                                                                      tagged with the event data, the tamper time is determined,
EMD attached to a human senses increased heart rate of over
                                                                      leading to identify the tampering person (i.e., the person
f80 beats per minute (an exemplary "event" threshold). In
                                                                      responsible for the object when the tamper time was tagged).
still another aspect, the detector is a chemical (or pH)
detector and the processor and detector collectively deter­           [0086] In one aspect, the invention provides an ID in the
mine a change of chemical composition of an object con­               form of a cell phone. Nearly one in three Americans use a
nected with the EMD over some preselected time period.                cell phone. According to the teachings of the invention, data
                                                                        58



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event “metrics" are read from an EMD throngh the cell                  [0105] FIG. 3G shows a cross-sectional view (not to
phone. Preferably, data commnnicated from the EMD to the               scale) of one monitor device of the invention for integrating
cell phone is made only throngh secnre commnnications                  a battery with a printed circuit board;
protocols so that only anthorized cell phones can access the
                                                                       [0106] FIG. 3D shows an operational view of the monitor
EMD. In one specific aspect, EMD events are commnni­
                                                                       device of FIG. 3C, with a battery attached to sides of the
cated to a cell phone or cellular network, and from that point
                                                                       underlying printed circuit board;
are relayed to persons or additional computer networks for
use at a remote location.                                              [0107] FIG. 3F shows an operational view of another
                                                                       monitor device of the invention, with a battery attached to
[0087] In accord with the invention, several advantages
                                                                       one side of the underlying printed circuit board;
are apparent. The following lists some of the non-limiting
events monitored and captured by select EMDs of the                    [0108] FIG. 3F shows one battery attachment mechanism,
invention, in accord to varied aspects of the invention:               including batteries, for use with a monitor device of the
                                                                       invention;
     [0088]    absolute or relative temperatures
                                                                       [0109] FIG. 3G 아lows the mechanism of FIG. 3F without
     [0089]    heart rate or other fitness characteristics             the batteries;
     [0090]    stress characteristics                                  [0110] FIGS. 4 and 4A illustrate one te나mique for pow­
                                                                       ering a monitor device, in accord with the invention;
     [0091]    humidity or relative humidity
                                                                       [0111] FIGS. 5 and 5A illustrate one monitor device
     [0092]    fitness or patient health characteristics               integrated within a label, in accord with the invention;

[0093] The invention will next be described in connection              [0112] FIG. 6 shows a monolithic monitor device con­
with preferred embodiments. In addition to those described             structed according to the invention for attachment to an
above, certain advantages should be apparent in the descrip­           object by way of mechanical attachment;
tion which follows.                                                    [0113] FIG. 7 shows one monitor device of the invention
                                                                       used to monitor patient health characteristics;
      BRIEF DESCRIPTION OF THE DRAWINGS
                                                                       [0114] FIG. 7A shows a system of the invention used to
[0094] FIG. 1 아lows a monitor device (e.g., a "MMD'' or                monitor pulse characteristics for patient health, with the
“EMD") and receiver (ID or RR) constructed according to                device of FIG. 7;
the invention;
                                                                       [0115] FIG. 7B shows an alternative monitor device of the
[0095] FIG. lA 아lows an alternative monitor device of                  invention used to monitor respiratory behavior such as with
the invention, and in data communication with a receiver via           the system of FIG. 7A;
“contact" transponder technology;
                                                                       [0116] FIG. 8 illustrates application of a plurality of
[0096] FIG. 2 shows a front view of one monitor device                 MMDs, of the invention, to athletes to facilitate training
of the invention and formed with an adhesive strip and                 and/or to provide excitement in broadcast media;
padding to soften physical connection to persons or objects;
                                                                       [OU기 FIG. 8A illustrates real time data acquisition,
[0097] FIG. 2A shows a cross-sectional top view of the                 reconstruction and display for data wirelessly transmitted
monitor device and strip of FIG. 2;                                    from the MMDs of FIG. 8;
[0098] FIG. 2B 아lows a cross-sectional top view of one                 [0118] FIG. 8B illustrates a television display showing
monitor device of the invention integrated with (a) a battery          data generated in accord with the teachings of the invention;
and (b) protective non-stick strips over the adhesive strip, all
                                                                       [0119] FIG. 8G shows a one MMD applied to a human fist
enclosed within a protective wrapper;
                                                                       in accord with the invention;
[0099] FIG. 2G shows a front view of the monitor device
                                                                       [0120] FIG. 9 아lows a flow-chart illustrating ''event"
of FIG. 2B, without a protective wrapper;
                                                                       based and timed sequence data transmissions between a
[0100] FIG. 2D 아lows an alternative monitor device of                  monitor device and a receiver, in accord with the invention;
the invention and integrated directly with the adhesive strip
                                                                       [0121] FIG. 10 shows a sensor dispensing canister con­
to ensure detector contact;
                                                                       structed according to the invention;
[0101] FIG. 2F shows one monitor device of the inven­
                                                                       [0122] FIG. lOA shows an array of sensors arranged for
tion used to detect and/or track heart rate, in accord with the
                                                                       mounting within the canister of FIG. 10;
invention;
                                                                       [0123] FIG. lOB 아lows one sensor of the array of sensors
[0102] FIG. 3 shows a cross-section시 view (not to scale)
                                                                       of FIG. lOA;
of one monitor device of the invention for integrating a
battery with a printed circuit board;                                  [0124] FIG. lOG shows an interface between one sensor
                                                                       and a base assembly in the canister of FIG. 10;
[0103] FIG. 3A is a cross-sectional top view of part of the
monitor device of FIG. 3;                                              [0125] FIG. lOD shows an operational disconnect of one
                                                                       sensor from the base assembly in FIG. lOG;
[0104] FIG. 3B shows an operational view of the monitor
device of FIG. 3, with a battery inserted between layers of            [0126] FIG. lOF schematically illustrates canister elec­
the printed circuit board;                                             tronics and a sensor as part of the canister of FIG. 10;
                                                                         59



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[0127] FIG. lOF illustrates imparting time-tag informa­            [0149] FIG. 29 shows a perspective view of one monitor
tion to a sensor through a canister snch as in FIG. 10;            device constructed according to the invention for operational
                                                                   placement within the housing of FIG. 26;
[0128] FIG. lOG 아lows one receiver constructed accord­
ing to the invention;                                              [0150] FIG. 30 아lows a mounting plate for atta아ling
                                                                   monitor devices to flat surfaces in accord with one embodi­
[0129] FIG. lOH shows one receiver in the form of a ski            ment of the invention;
lift ticket constructed according to the invention;
                                                                   [0151] FIG. 31 shows a perspective view of the plate of
[0130] FIG. 101 아lows one ticket sensor constructed                FIG. 30 with a monitor device coupled thereto;
according to the invention;
                                                                   [0152] FIG. 32 shows an end view of the plate and device
[0131] FIG. 11 schematically shows an electrical logic             of FIG. 31;
and process flow chart for use with determining “airtime" in
                                                                   [0153] FIG. 33 shows, in a top view, a low-power, long
accord with the invention;
                                                                   life accelerometer sensor constructed according to the inven­
[0132] FIG. 12 schematically shows a state machine used            tion;
in association with determining airtime in association with        [0154] FIG. 34 shows a cross-sectional view of one por­
an algorithm such as in FIG. 11;                                   tion of the accelerometer sensor of FIG. 33, illustrating
[0133] FIG. 13 graphically shows accelerometer data and            operation of the moment arm quantifying g^s in accord with
corresponding process signals used to determine airtime in         the invention;
accord with preferred embodiments of the invention;                [0155] FIG. 35 shows a circuit illustrating operation of the
                                                                   accelerometer sensor of FIG. 33;
[0134] FIG. 14 and FIG. 14A 아lows a state diagram
illustrating one-way transmission protocols according to one       [0156] FIG. 36 illustrates a runner speedometer system
embodiment of the invention;                                       constructed according to the invention;
[0135] FIG. 15 schematically illustrates functional blocks         [0157] FIG. 37 illustrates an alternative runner speedom­
for one sensor of the invention;                                   eter system constructed according to the invention;

[0136] FIG. 16 schematically illustrates functional blocks         [0158] FIG. 38 illustrates data capture and analysis prin­
for one display unit of the invention;                             ciples for determining speed with the system of FIG. 37;
                                                                   [0159] FIG. 39 illustrates one sensor for operation with a
[0137] FIG. 17 shows a perspective view of one sensor
                                                                   shoe in a speedometer system such as described in FIG. 37;
housing constructed according to the invention, for use with
a sensor such as a monitor device;                                 [0160] FIG. 40 shows another runner speedometer system
                                                                   of the invention, including a GPS sensor;
[0138] FIG. 18 illustrates a sensor, such as a MMD, within
the housing of FIG. 17;                                            [0161] FIG. 41 shows a biking work function system
                                                                   constructed according to the invention;
[0139] FIG. 19 shows a top perspective view of another
housing constructed according to the invention, for use with       [0162] FIG. 42 shows one race-car monitoring system
a sensor such as a MMD and for mounting to a vehicle;              constructed according to the invention;

[0140] FIG. 20 shows one vehicle and vehicle attachment            [0163] FIG. 43 shows one data capture device for opera­
bracket to which the housing of FIG. 19 attaches;                  tion with a racecar in a race monitoring system such as
                                                                   shown in FIG. 42;
[0141] FIG. 21 shows another vehicle and vehicle attach­
                                                                   [0164] FIG. 44 shows one crowd data device for operation
ment bracket to which the housing of FIG. 19 attaches;
                                                                   with spectators in a race monitoring system such as shown
[0142] FIG. 22 shows a bottom perspective view of the              in FIG. 42;
housing of FIG. 19;                                                [0165] FIG. 45 shows one body-armor incorporating a
[0143] FIG. 23 shows a bracket constructed according to            monitor device in accord with the invention;
the invention and made for attachment between the housing          [0166] FIG. 46 shows one system for measuring rodeo
of FIG. 19 and a vehicle attachment bracket;                       and/or bull riders in accord with other embodiments of the
                                                                   invention;
[0144] FIG. 24 shows a top element of the housing of
FIG. 19;                                                           [0167] FIG. 47 shows a representative television display
                                                                   of a bull and rider configured with a system monitoring
[0145] FIG. 25 shows a bottom element of the housing of            characteristics of the bull and/or rider, in accord with the
FIG. 19;                                                           invention;
[0146] FIG. 26 shows a perspective view of one housing             [0168] FIG. 48 shows one EMD of the invention utilizing
constructed according to the invention;                            flex strip as the "PCB" in accord with the invention;
[0147] FIG. 27 아lows a perspective view of a top portion           [0169] FIG. 49 depicts one computerized gaming system
of the housing of FIG. 26;                                         of the invention;
[0148] FIG. 28 아lows a perspective view of a bottom                [0170] FIG. 50 schematically shows one flow chart
portion of the housing of FIG. 27;                                 implanting game algorithms in accord with the invention;
                                                                     60



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[0171] FIG. 51 shows one speed detection system for a ski            solid-state memory 2〇. Memory 20 can be integral with
resort in accord with the invention;                                 processor 14 (or other element of device 10, including port
                                                                     16), or a stand-alone element within device 10. As a MMD,
[0172] FIG. 52 shows one bar code reader suitable for use
                                                                     for example, detector 12 senses movement experienced by
in the system of FIG. 51;
                                                                     device 10 and generates signals indicative of that movement.
[0173] FIG. 53 shows one monitor device constructed                  Processor 12 then processes the signals to extract desired
according to the invention and incorporating a GPS receiver;         movement metrics, as described herein. Typically, when the
                                                                     movement metrics exceed a predetermined threshold, pro­
[0174] FIG. 54 shows a system suitable for use with the
                                                                     cessor 12 stores data as an “event" within memory 2〇.
device of FIG. 53;
                                                                     Events are also preferably tagged with time information,
[0175] FIG. 55 shows an infant monitoring system con­                typically date and time, as provided by clock 22.
structed according to the invention;
                                                                     [0194] As an EMD, for example, detector 12 senses tem­
[0176] FIG. 56 schematically shows a flow chart of opera­            perature experienced by device 10 and generates signals
tional steps used in the system of FIG. 55;                          indicative of temperature (either absolute, or relative). Pro­
[0177] FIG. 57 shows one MMD of the invention used to                cessor 12 then processes the signals to extract desired data.
gauge patient weight;                                                Preferably, data such as temperature are time tagged with
                                                                     date and/or time information so that a limited recording is
[0178] FIG. 58 아lows a weight monitoring system con­                 made of environmental conditions.
structed according to the invention;
                                                                     [0195] Communications port 16 communicates event data
[0179] FIG. 59 shows another weight monitoring system                from device 10 to a receiver 24 as wireless data 30q. Port 16
of the invention;                                                    typically performs such communications in response to
[0180] FIG. 60 shows a force-sensing resistor suitable for           commands from processor 14. Communications port 26
use in the weight monitoring systems of FIG. 58 and FIG.             receives wireless data 30。for use within receiver 24. If
59 and in the MMD of FIG. 57;                                        desired, communications port 26 can also communicate with
                                                                     port 16 to transmit wireless data 30Z? to device 10. In such
[0181] FIG. 61 shows one weight-sensing device in the                an embodiment, ports 16,26 are preferably radio-frequency,
form of a shoe or shoe insert, in accord with the invention;         infrared or magnetically-inductive transceivers. Alterna­
[0182] FIG. 62 illustrates fluid cavities suitable for use in        tively, port 26 is a transmitter that interrogates device 10;
a device of FIG. 61;                                                 and port 16 is a transponder that reflects event data to
                                                                     receiver 24. In one preferred embodiment, receiver 24 is part
[0183] FIG. 63 shows a wrestling performance monitor­                of the circuitry and packaging of a cell phone, which relays
ing system constructed according to the invention;                   events (e.g., a movement event) to a remote storage facility.
[0184] FIG. 64 shows a representative graphic output                 In other embodiments, receiver 24 is part of the circuitry and
from the system of FIG. 63;                                          packaging of a MP3 player, pager, watch, or electronic PDA.
                                                                     Receiver 24 may connect with headphones (not shown) to
[0185] FIG. 65 shows a surfing event system according to             provide information to a user and corresponding to “event"
the invention;                                                       data.
[0186] FIG. 66 아lows a Green Room surfing event system
                                                                     [0196] Data communication between device 10 and
according to the invention;
                                                                     receiver 24 is preferably “secure" so that only a receiver
[0187] FIG. 67 shows a personal item network con­                    with the correct identification codes can interrogate and
structed according to the invention;                                 access data from device 10. In such a mode, receiver 24 is
                                                                     an interrogation device ("ID"); and wireless communica­
[0188] FIG. 68 shows a communications interface                      tions 30¢, 30Z? between ports 16, 26 can be through one of
between a computer and one of items of FIG. 67;                      several electromagnetic communications spectrums, includ­
[0189] FIG. 69 illustrates electronics for one of the items          ing radio-frequencies, microwave frequencies, ultrasound or
within the network of FIG. 67;                                       infrared. However, communications between device 10 and
                                                                     receiver 24 can also be one way, e.g., wireless data 30。from
[0190] FIG. 70 and FIG. 71 show an electronic drink                  device 10 to receiver 24; and in such an embodiment
coaster constructed according to the invention;                      receiver 24 preferably understands the communications pro­
[0191] FIG. 72 shows a package management system of                  tocols of data 30(2 to correctly interpret the data from device
the invention; and                                                   10. Receiver 24 in this embodiment “listens" for data
                                                                     transmitted from device 10. Receiver 24 thus may function
[0192] FIG. 73 아lows a product integrity tracking system             as a remote receiver ("RR") stationed some distance (e.g.,
of the invention.                                                    tens or hundreds of feet or more) from device 10.

     DETAILED DESCRIPTION OF PREEERRED                               [0197] FIG. lA shows an alternative communication
               EMBODIMENTS                                           scheme between device 10' and receiver 24'. Like numbered
                                                                     items in FIG. lA have like functions as in FIG. 1; except
[0193] FIG. 1 shows a monitor device 10 constructed                  that in FIG. lA, ports 16', 26' function to transfer data from
according to the invention. Device 10 can for example                device 10' to receiver 24' as a “contact" transponder. Device
operate as a MMD or EMD described above. Device 10                   10' and receiver 24' are separate elements, though they
includes a detector 12, processor 14, communications port            appear immediately adjacent. A conductive pad 17 with port
16, and battery 18. Preferably, device 10 also includes              16' facilitates communication with port 26' via its conduc-
                                                                       61



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live pad 19. Accordingly, event data from device 10' trans­            strips 29 covering and protecting the underlying adhesive
fers data to receiver 24' without “wireless" data 30 (FIG. 1),         (e.g., adhesive 34, FIG. 2) on 마rip 32z.
bnt rather through the circuit formed between device 10' and           [0202] A device 10 can 시so integrate directly with the
receiver 24' when contact is made between pads 17, 19, as              adhesive strip, as shown in FIG. 2D. Specifically, device 10"
shown in FIG. lA.                                                      of FIG. 2D couples directly with adhesive strip 32'. In
[0198] A monitor device 10, 10' of the invention prefer­               addition, there is no padding with device 10"一as in certain
ably includes an adhesive strip that provides for convenient           circumstances it is desirable to have optima fixation
attachment of the device to an object or person. As shown in           between device 10" and strip 32'. A housing 11' preferably
FIG. 2, one such device 10" is shown coupled to adhesive               protects device 10" from breakage. In one example, when
strip 32 for just this purpose. Strip 32 is preferably flexible        the detector of device 10" is an accelerometer, direct cou­
so as to bend and attach device 10" to nearly any surface              pling between device 10" and strip 32' provides for more
shape. Strip 32 includes an adhesive 34 that bonds strip 32            accurate data capture of accelerations of the object to which
to a person or object, such that device 10" attaches to that           strip 32' is adhered. As such, adhesive 34' preferably extends
person or object in a substantially fixed location. FIG. 2 also        across the whole width of strip 32', as shown, such that
shows that device 10" preferably resides adjacent to padding           device 10" is tightly coupled to the object adhered to by strip
36, to protect device 10" from physical harm and to provide            32'.
a cushion interface between device 10" and a person or                 [0203] FIG. 2F shows one heart-rate monitor lOw con­
object. Padding 36 can for example be cotton or other soft             structed according to the invention. Like device 10, 10",
material; and padding 36 can be made from soft material                device lOw preferably couples directly with an adhesive
typically found with adhesive bandages of the prior art.               strip 32w with adhesive 34w. Monitor lOw includes a heart
Device 10" preferably includes a protective housing 11                 rate detector 12w that may for example detect EKG signals.
(FIG. 2A) surrounding integrated circuits to protect the               By way of background, the following heart rate monitoring
circuits from breakage.                                                patents are incorporated herein by reference: U.S. Pat. No.
                                                                       4,625,733; U.S. Pat. No. 5,243,993; U.S. Pat. No. 5,690,119;
[0199] FIG. 2A shows a top cross-sectional view of
                                                                       U.S. Pat. No. 5,738,104; U.S. Pat. No. 6,018,677; U.S. Pat.
monitor device 10" and strip 32. As illustrated, strip 32 is a
                                                                       No. 3,807,388; U.S. Pat. No. 4,195,642; and U.S. Pat. No.
flexible such that it can conform to a surface (e.g., curved
                                                                       4,248,244. Iwo electrodes 15 electrically coupled to detec­
surface 37) for attachment thereto. Adhesive 34 is shown
                                                                       tor 12w with monitor lOw via conductive paths 13. Elec­
covering substantially all of the back of strip 32 to provide
                                                                       trodes ^5 couple with human skin when adhesive strip 32w
for complete attachment to surface 37. Though padding 36
                                                                       is applied to the skin such that electromagnetic pulses from
is not required, it preferably encapsulates device 10" to
                                                                       the heart are detected by detector 12w. By way of example,
provide for optimum protection for device 10" when
                                                                       detector 12w of one embodiment detects potential differ­
attached to surface 37. Note that padding 36 also protects
                                                                       ences between electrodes 15 to determine heart rate. Once
surface 37 from scratching by any rigid elements of device
                                                                       heart rate is detected, information is passed to other sections
10" (e.g., battery 18, FIG. 1). Those skilled in the art should
                                                                       to process and/or retransmit the data as wireless data 17 to
appreciate that padding 36 can be formed partially about
                                                                       a remote receiver. For example, data from detector 12w may
device 10" to achieve similar goals and without departing
                                                                       be transmitted to processor and/or communications port
from the scope of the invention; for example, padding 36 can
                                                                       14比 16w; from there, data may be relayed off-board. In one
reside adj acent only one side of device 10".
                                                                       embodiment, wireless data 17 is a signal indicative of the
[0200] Those skilled in the art should appreciate that two             existence of heart rate一so that monitor low may be used in
or more of elements 14, 16, 18, 22 (FIG. 1) can be, and                patient safety to warn of patient heart failure (i.e., the
preferably are, integrated within an ASIC. Further, in one             absence of a heart rate may mean that a patient went into
preferred embodiment, the detector 12 is also integrated               cardiac arrest). In another embodiment, wireless data 17 is
within the ASIC as a solid-state accelerometer (e.g., using            a signal indicative of actual heart rate, e.g., fOO beats per
MEM technology). However, detector 12 can be a stand­                  minute, such that monitor lOw may be used in fitness
alone element such as a piezoelectric strip, strain gauge,             applications. Monitor low thus provides an alternative to
force-sensing resistor, weight sensor, temperature sensor,             “strap" heart rate monitors; users of the invention stick on
humidity sensor, chemical sensor, or heart rate detector.              monitor lOw via adhesive strip 32w to monitor heart rate in
                                                                       real time. Data 17 may be captured by a receiver such as a
[0201] FIG. 23B shows one monitor device 10ろ with                      watch to display the data to the wearing user. Monitor lOw
battery 18ろ coupled within a protective wrapper 27. Pro­               can also be used in patient monitoring applications, such as
tective non-stick strips 29 are also shown to cover adhesive           in hospitals, so that patient health is monitored remotely and
(e.g., adhesive 34, FIG. 2) on adhesive strips 32z until               efficiently. By way of example, a monitor lOw may be
device lOz is operatively used and applied to a person or              attached to each critical care patient so that a facility (e.g.,
object. Preferably, wrapper 27 and non-stick strips 29 are             a hospital) can monitor each patient at a single monitoring
similar in design to the wrapper and strips of a common                location (i.e., at the location receiving signals 17).
adhesive bandage. Accordingly, users of device lOz intu­
itively know how to open and attach device lOz to an object            [0204] As an alternative heart rate monitor, device 10 of
or surface (e.g., surface 37, FIG. 2A)——opening wrapper                FIG. 1 has a detector in the form of a microphone. Processor
27, removing device lOz by pulling adhesive strip 32z from             12 then processes microphone detector data to “listen" for
wrapper 27, and then removing non-stick strips 29 so that              breathing sounds to report breathing一or not breathing一as
adhesive strips 32z are exposed for application to the object          a health metric.
or surface. FIG. 2G illustrates device lOz in a back view              [0205] The invention also provides for efficiently integrat­
with wrapper 27 removed, showing fuller detail of non-stick            ing battery 18 with a monitor device. FIG. 3 illustrates one
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technique, wherein the monitor device (e.g., device 10)                packaging. Specifically, in FIG. 4, one monitor device 70,
includes a printed circnit board ("PCB") 40 that forms the             with adhesive strips 72, is shown with a protective wrapper
back-plane forming the electrical interconnectivity with               74 and non-stick strips 76. One non-stick strip 76a has an
elements 42 (elements 42 can for example be any of items               extension 77 that electrically separates device 70 and a
12,14,16,20,22, FIG. 1). PCB 40 of FIG. 3 is a multi-layer             battery 78 so as to prevent electrical contact therebetween.
board, as illustrated by layer line 44. Between two layers             Non-stick strip 76a is preferably thin, such as paper coated
460 46Z?, PCB 40 is manufactured with two opposing                     with non-stick material. Once strip 76a is removed by a user,
terminals 48¢, 48Z?. Terminals 48¢, 48b can for example be             connecting element 80 forces battery 78 to contact monitor
copper tracks in PCB 40, or copper with gold flash to                  device 70, thereby powering the device. In this way, battery
facilitate good electrical connection. FIG. 3A shows a top             power is conserved until monitor device 70 is used opera­
view of one terminal 48a with layer 46a, illustrating that             tionally. Element 80 can for example take the form of
termm시 48a is typically larger than other tracks 50 within             element 64, FIG. 3G. FIG. 4A shows monitor device 70
PCB 4〇. Accordingly, terminal 48a is large enough to form              with wrapper 74 and non-stick strips 76 removed; as such,
good electrical connection with a battery inserted between             element 80 forces battery 78 to device 70 to make electrical
layers 46, such as shown in FIG. 3B. Specifically, FIG. 3B             contact therewith, powering device 7〇. Those skilled in the
shows PCB 40 separated between layers 46, and a battery 52             art should appreciate that changes can be made within the
inserted therebetween, to make powered connection to PCB               above description without departing from the scope of the
40 and its elements 42. For purposes of clarity, only part of          invention, including a monitor device with a single non-stick
PCB 40 is 아lown in FIG. 3B, and none of elements 42 are                strip (instead of two) that has an extension to decouple the
shown. Layers 46a, 46b may separated by prying layers 46               battery from device 70 until the strip is removed. Alterna­
apart. Battery 52 can for example be a Li coin cell battery            tively, the wrapper can couple with the extension to provide
known in the art.                                                      the same feature; so that when the wrapper is removed, the
                                                                       monitor device is powered.
[0206] FIG. 3G shows another PCB 40' for use with a
monitor device of the invention; except, in FIG. 3C, termi-            [0211] FIG. 5 shows a monitor device 82 formed within a
n시s 48a', 48b' are on opposing sides of PCB 40', as shown.             label 84. Instead of adhesive strips, device 82 is disposed
PCB 40' can be a single layer board, or multi-layer board.             within label 84 for attachment, as above, to objects and
Batteries 52' are coupled to PCB 40' as shown in FIG. 3D;              persons. Label 84 has an adhesive 86 over one side, and
and held to PCB 40' by end clip 54. FIG. 3D illustrates clip           preferably a non-stick strip 88 covering adhesive 86 until
54 as a stand-alone element 54-A; and alternatively as                 removed. For purposes of illustration, strip 88 is not shown
element 54-B holding batteries 52' in place to PCB 40'. End            in contact with adhesive 86, though in fact adhesive 86 is
clip 54 slides over PCB 40' and batteries 52' as illustrated by        sandwiched in contact between strip 88 and label 84. Device
arrow 56. End clip 54 is preferably conductive to complete             82 and label 84 provide an alternative to the monitor devices
the circuit to power PCB 40' (at a contact point with PCB              with adhesive strips described above, though with many of
40') and its elements 42 for use as monitor device.                    the advantages. FIG. 5A shows a front view of device 82,
                                                                       with adhesive 86 covering the one side of label 84, and with
[0207] Battery attachment to PCB 40" can also be made as
                                                                       strip 88 shown transparently in covering adhesive 86 until
in FIG. 3E, where battery (or batteries) 52" is attached to
                                                                       removed.
one side of PCB 40". To make overall circuit connectivity,
battery 52" connects to terminal 48a'', and end clip 54'               [0212] FIG. 6 shows a monolithic monitor device 90
makes connection with terminal 48b'', as shown. A contact              constructed according to the invention. A rigid outer housing
point with PCB 40" can be made to complete desired circuit             92 surrounds PCB 94 and internal elements 96 (e.g., ele­
functions. End clip 54 is thus preferably conductive to                ments 10-22, FIG. 1), which provide functionality for
complete the circuit to power PCB 40" and its elements 42              device 90. A magnetic element 98 couples with device 90 so
for use as a monitor device.                                           that device 90 is easily attached to metal objects 100.
                                                                       Accordingly, device 90 is easily attached to, or removed
[0208] The battery integrations with PCBs of FIGS. 3D
                                                                       from, object 100. Those skilled in the art should appreciate
and 3E provide for simple and secure ways to mount
                                                                       that alternative mechanical attachments are possible to
batteries 52 within a package. Specifically, a housing 56
                                                                       couple device 90 to object 100, including a mechanical pin
made to surround PCB 40 abuts end clip 54 and PCB 40, as
                                                                       or clip.
shown, to secure the monitor device for use in varied
environments, and as a small package. Housing configura­               [0213] The MMDs of the invention operates to detect
tions are shown and described in greater detail below.                 movement “metrics." These metrics include, for example,
                                                                       airtime, speed, power, impact, drop distance, jarring and
[0209] FIG. 3F 아lows another PCB 60 for use with a
                                                                       spin; typically one MMD detects one movement metric,
monitor device of the invention. Abattery 62 couples to PCB
                                                                       though more than one metric can be simultaneously detected
60, as shown, and a connecting element 64 completes the
                                                                       by a given MMD, if desired (potentially employing multiple
circuit between battery 62 and PCB 60 to power the monitor
                                                                       detectors). The MMD detector is chosen to provide signals
device. Preferably, element 64 is tensioned to help secure
                                                                       from which the processor can interpret and determine the
battery 62 to PCB 6〇. FIG. 3G 아lows PCB 60 and element
                                                                       desired metric. For example, to detect airtime, the detector
64 coupled together and without battery 62. A terminal 66
                                                                       is typically one of an accelerometer or piezoelectric strip
(similar to terminus 48) is also shown in FIG. 3G to contact
                                                                       that detects vibration of an object to which the MMD is
with one side of battery 62.
                                                                       attached. Furthermore, the MMD of the invention preferably
[0210] FIG. 4 illustrates a preferred embodiment of the                monitors the desired metric until the metric passes some
invention, not to scale, where packaging associated with a             threshold, at which time that metric is tagged with time and
monitor device “powers" the device upon removal of the                 date information, and stored or transmitted off-board. If the
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MMD operates within a single day, only time information is             transmits very low impact events; when awake, the MMD
typically tagged to the metric.                                        transmits relatively high impact events (e.g., indicating that
                                                                       the patient is waking around).
[0214] By way of example, if the detector is an acceler­
ometer and the MMD is designed to monitor “impact" (e.g.,              [0218] FIG. 7 아lows one monitor device 120 constructed
acceleration events that are less than abont % second)一and             according to the invention. Similar to device 10" of FIG. 2
yet impact data is not considered interesting nnless the               with regard to the adhesive bandage features of the device,
MMD experiences an impact exceeding 50 g^s—         —pre­              device 120 has a detector in the form of a piezoelectric strip
ferred MMD nsed to accomplish this task would continn-                 122 disposed with the adhesive strip 124 (and, preferably,
onsly monitor impact and tag only those impact events that             padding 121). Strip 124 has adhesive 125 such as described
exceed 50 g^s. The “event" in this example is thus a “50 g             above so that device 120 is easily attached to a human, e.g.,
event." Snch a MMD is for example useful when attached to              to human arm 13〇. In operation, as shown by schematic 130
furniture, or a package, in monitoring shipments for rough             of FIG. 7A, bending of strip 124 also bends piezoelectric
treatment. The MMD might for example record a 50 g event               strip 122, generating voltage spikes 123 detected by device
associated with furniture shipped on Oct. f, 2000, from a              processor 126. Device 120 may thus operate to detect the
manufacturer in California, and delivered on Oct. fO, 2000             heart pulse of a person: the tiny physical perturbation of
to a store in Massachusetts. If an event stored in MMD                 piezoelectric strip 122 caused by arterial pressure changes is
memory indicates that on Oct. 5, 2000, at 2:30 pm, the                 detected and processed by device 120 as movement metric
furniture was clearly dropped, responsibility for any dam­             127, which is then transmitted by port 129 to remote
ages can be assessed to the party responsible for the furniture        receiver(s) 132 as wireless data 133. The pulse data 127,
at that time. Accuracy of the time tag information can be              over time, is usefully reconstructed for analytical purposes,
days, hours, minutes and even seconds, depending on                    e.g., as data 134 on display 136, and may indicate stress or
desired resolution and other practicalities.                           other patient condition that should be known immediately.
                                                                       By way of example, an “event" determined by device 120
[0215] Accordingly, data from such a MMD is preferably                 based on movement metric 127 can be the absence or
stored in intern시 memory (e.g., memory 20, FIG. 1) until               variation of a pulse, perhaps indicating that the patient died
the data are retrieved by receiver 24. In the example above,           or went into cardiac arrest. It is clear that if arm 130 moves,
the interrogation to read MMD data occurs at the end of                the voltage signal generated by piezoelectric detector 122
travel of the MMD from point A to point B. Multiple events             may swamp any signal from the patienf s pulse; however,
may in fact occur for a MMD during travel; and multiple                since pulse data is detected at approximately 50 to 250 times
events are usually stored. Alternatively, a MMD may com­               per second, the underlying signal can be recovered, particu­
municate the event at the time of occurrence so long as a              larly after arm 130 ceases movement. Device 120 can
receiver 24 is nearby to capture the data. By way of example,          include an A/D converter and/or voltage-limiting device 121
if each FEDEX truck contained a receiver integrated with               to facilitate measurement of voltage signals 123 from piezo­
the truck, then any MMD contained with parcels in the truck            electric strip detector 122. A battery 138 such as a Lithium
can transmit events to the receiver at the occurrence of the           coin cell can be used to power device 12〇.
event.
                                                                       [0219] Device 120 may alternatively detect patient move­
[0216] In another application, one or more monitor                     ment to provide real time detection of movement of a person
devices are attached to patients in a hospital, and one or             or of part of that person. For example, such a device 120 may
more receivers are integrated with existing electronics at the         be used to monitor movement of an infant (instead of arm
hospital (e.g., with closed circuit television, phone systems,         150) or other patient.
etc.). In operation, these device arc for example used to
detect “events" that indicate useful information about the             [0220] Note that the application of a monitor device 120 as
patients——that should be known. If for example                         described in FIG. 7 and FIG. 7A can be expanded to detect
the monitor device has a Hall Effect detector that detects             respiratory behavior of a patient. FIG. 7B shows a simpli­
when the device is inverted, then a device attached to the             fied schematic of one device 120' with a longer piezoelectric
collar bone (or clothing) of a patient would generate an               strip detector 122'. Detector 122' circumferentially extends,
“event" when the patient falls or lays down. An impact                 at least part way, around the chest 150 of a patent; and
detector may also be used advantageously, to detect for                movement of chest 150 during breathing generates voltage
example a fO g event associated with a patient who may                 variations (e.g., similar to variations 133, FIG. 7) in
have fallen. Accordingly, monitor devices applied to patients          response to physical perturbations of detector 122'. Similar
in hospitals typically transmit event data at occurrence, so           to pulse rate and pulse strength, therefore, device 120'
that in real time a receiver relays important medical infor­           detects respiratory rate and/or strength. Pulse rate is deter­
mation to appropriate personnel.                                       mined by signal frequencies associated with movement
                                                                       metric 127; and pulse strength is determined by magnitudes
[0217] Movement devices of the invention can also trans­               associated with movement metric 127. Note that strip detec­
mit movement or other metrics at select interv시s. If for               tor 122' may be attached about chest 150 by one of several
example “impact" data is monitored by a MMD, then the                  techniques, including by an adhesive strip (not shown) such
MMD can transmit the maximum impact data for a selected                as described above. A strap or elastic member 152 may be
interval一e.g., once per minute or once per five minutes, or            used to surround chest 150 to closely couple detector 122' to
other time interval. In this way, a MMD applied to a patient           나le 마 15〇.
monitors movement; and any change in movement patterns
are detected in the appropriate time mterv시 and relayed to             [0221] Devices such as device 120 or 120' have additional
the receiver. A MMD may thus be used to inform a hospital              application such as for infant monitoring. Attaching such a
when a patient is awake or asleep: when asleep, the MMD                device to the chest (instead of arm 150) of an infant to
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monitor respiration, pnlse and/or movement provides a                  the invention remove some or all of the subjectivity of
remote monitoring tool and may prevent death by warning                impact events: a blow to an opponent is no longer qualitative
the infanf s parents. A monitor device 10坞 FIG. 2E, may                but quantitative. By way of example, the magnitude of
alternatively be used in snch an application. Specifically, if         strikes 166 and blows 168 are preferably provided in the data
for example a monitor device of the invention is attached to           streamed from MMDs 150, indicating magnitude or force of
chest 150 of a child, processor 126 searches for “events" in           the blow or strike. Data 154, 156 thus represents real time
the form of the absence of pulse, respiration and/or move­             movement metric data, such as acceleration associated with
ment data. The device may thus track pulse or respiratory              body parts of persons A, B. Data 154,156 may thereafter be
rate to synch up to the approximate frequency of the rate.             analyzed, at receiver 152, to determine “events", such as
When the device detects an absence in the repetitive signals           when data 154,156 indicates an impact exceeding 50 g^s (or
of the pulse or respiratory rate, the device sends a warning           other appropriate or desired measure).
message to an 시arm for the parents. A system suitable for
application with such an application is discussed in more              [0226] FIG. 8B illustrates a representative display on
detail in FIGS. 55 and 56.                                             television 157, including appropriate event "data"159 gen­
                                                                       erated by a MMD system of the invention. Data 159 can for
[0222] Data transmissions from a monitor device of the                 example derive from receiver 152, which communicates the
invention, to a receiver, typically occur in one of three              appropriate event data 159 to the broadcaster for TV 157.
forms: continuous transmissions, “event" transmissions,                Such event data 159 can include magnitude or power
timed sequence transmissions, and interrogated transmis­               spectral density of acceleration data generated by MMDs
sions. In continuous transmissions, a monitor device trans­            15〇. Data 159 is preferably displayed in an easy to under­
mits detector signals (or possibly processed detector signals)         stand format, such as through bar graphs 161, each impact
in substantially real time from the monitor device to the              detected by one or more MMDs 150 (in certain instances,
receiver. Data reconstruction at the receiver, or at a computer        combining one or more MMDs as data 159 can be useful).
arranged in network with, or in communication with, the                Bar graphs 161 preferably indicate magnitude of the impact
receiver, then proceeds to analyze the data for desired                shown by data 159 by peak bar graph element 161。on TV
characteristics. By way of example, by attaching multiple              157.
monitor devices to a person, all transmitting real-time data
signals to the receiver, a reconstruction of that person^s             [0227] Those skilled in the art should appreciate that any
activity is determined.                                                number of MMDs 150 may be used for applications such as
                                                                       shown in FIG. 8. In boxing, for example, it may be
[0223] Consider for example FIG. 8. In FIG. 8, a plurality             appropriate to attach one MMD 150 per fist. One useful
of MMDs 150 are attached to person "A" and person "B".                 MMD in this application is for example monitor device 10
As shown, person A is engaged in karate training with                  of FIGS. 2, 2D. That is, such a device is easily attached to
person B. Data from MMDs 150"stream" to a remote                       the boxer^s fist 158。or wrist 158b and, if desired, prior to
receiver, such as to the reconstruction computer and receiver          applying gloves and wrapping 158ら as shown in FIG. 8G.
152 of FIG. 8A. Each MMD 150 preferably has a unique                   The device can alternatively be placed with wrapping
identifier so that receiver 152 can decode data from any               158c— — the device practic시ly unnoticeable to the
given MMD 15〇. MMDs are placed on persons A, B at                      boxer. Preferably, MMD 10'" of FIG. 8G includes an
appropriate locations, e.g., on each foot and hand, head,              accelerometer (as the MMD detector) oriented with a sen­
knee, and chest; and receiver 152 associates data from each            sitivity axis 158d as shown; axis 158d being substantially
MMD 150 with the particular location. As data streams from             aligned with the strike axis 158e of fist 158a. Data from the
MMD 150 to receiver 152, data is reconstructed such as                 MMD wirelessly transmits through the gloves and wrapping
shown in plots 154 and 156. Data plot 154 shows exemplary              to receiver 152. Alternatives are also suitable, for example
data from MMD 150。on the fist 160 of person A, and data                applying the MMDs to the boxer^s wrapping or glove. A
plot 156 shows exemplary data from MMD 150Z? on the head               MMD can also be integrated within the boxing glove, if
162 of person B. Each plot 154, 156 are shown in FIG. 8A               desired. In the event that the detector of the MMD is an
as a function of time 164. Other data plots for other sensors          accelerometer, then the sensitive axis of the accelerometer is
150 (e.g., for illustrative sensors 2, 3, 4) are not shown, for        preferably arranged along a strike axis of the boxer.
purposes of clarity.
                                                                       [0228] Data acquired from MMDs in sports like boxing
[0224] Data plots 154, 156 have obvious advantages real­               and karate are also preferably collated and analyzed for
ized by use of the MMDs of the invention. For example, plot            statistical purposes. Data 154, 156 can be analyzed for
154 illustrates several fist “strikes"16b generated by person          statistical detail such as: impacts per minute; average strike
A on person B, and data plot 156 illustrates corresponding             force per boxer; average punch power received to the head;
blows 168 to the head of person B. Data 154, 156 may for               average body blow power; and peak striking impact. Rota­
example be used in training, where person B learns to                  tional information may also be derived with the appropriate
anticipate person A more effectively to soften or eliminate            detector, including typical wrist rotation at impact, a move­
blows 168.                                                             ment metric that may be determined with a spin sensor.
[0225] Data plots 154, 156 have further advantages for                 [0229] Other than continuous transmissions, such as illus­
broadcast media; specifically, data 154, 156 may be simul­             trated in FIG. 8, data from monitor devices of the invention
taneously relayed to the Internet or television 170 to display         also occur via one of “event" transmissions, timed sequence
impact speed and intensity for blows given or received by              transmissions, and/or interrogated transmissions. FIG. 1
persons A, B, and in real time, to enhance the pleasure and            illustrates how interrogated transmissions preferably func­
understanding of the viewing audience (i.e., viewers of                tion: e.g., receiver 24 interrogates device 10 to obtain
television, and users of the Internet). Moreover, MMDs of              metrics. Event transmissions according to preferred embodi­
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ments are illustrated as a flow chart 170 of FIG. 9. Timed             sensors 202, a larger or smaller number of sensors may be
sequence transmissions according to preferred embodiments              contained within its cavity 200«. As described in more detail
are also illustrated within flow chart 170 of FIG. 9. In FIG.          below, canister 200 preferably contains one or both of (a)
9, flow chart 170 begins in step 172 by powering the monitor           canister electronics and (b) a base assembly. Lid 204 pref­
device一either by inserting the battery, turning the device             erably functions as a switch, to power the canister electron­
on, or removing a wrapper (or by similar mechanism) to                 ics when lid 204 is open, and to cause canister electronics to
power the device at the appropriate time. Once powered, the            sleep when lid 204 is closed.
monitor device monitors detector signals, in step 174, for             [0232] FIG. lOA 아lows sensors 202 with base assembly
metrics such as movement, temperature and/or g^s. By way               206, and, for purposes of clarity, without the rest of canister
of example, to measure airtime or impact, the device pro­              200. Each of sensors 202 is shown with a monitor device
cessor monitors an accelerometer for the movement metric               202。and an adhesive strip 202Z?; however, canister 200 may
of acceleration. Step 176 assesses the metric for “events"             be used with other sensors (i.e., sensors that are not MMDs
such as airtime or “impact" (or, for example, for an event             or EMDs) without departing from the scope of the invention.
such as when temperature exceeds a certain threshold, or an            FIG. lOB illustrates one sensor 202 in the preferred embodi­
event such as when humidity decreases below a certain                  ment, and also illustrates a Mylar battery insulator strip 208
threshold). Typically, though not required, all events are not         that keeps the sensor battery from touching its contact or
reported, stored or transmitted. Rather, as shown in step 178,         termm시 (not shown) within monitor device 202«. Strip 208
events that meet or pass a preselected threshold are reported.         can for example serve as the "non-stick^^ strip or extension
By way of example, is an airtime event greater than %                  77 discussed above in connection with FIG. 4. Strip 208
second一a magnitude deemed interesting by snowboarders?                 preferably couples to base assembly 206 such as shown in
If so, such an event may be reported. If not, an airtime event         FIG. lOG. Accordingly, when a user removes a sensor 202
of less than % second is not reported, and decision "No"               from canister 200, strip 208 remains with base assembly
from 178 is taken. If the event exceeds some threshold,                206一and is no longer in contact with sensor 202一and the
decision tree "Yes" from 178 sends the event data to the               monitor device^s internal battery powers the device for use
communications port (e.g., communications port 26, FIG. 1)             with its intended application, as shown in FIG. lOD.
in step 18〇. The communications port then transmits the
event to a receiver (e.g., receiver 24, FIG. 1) in step 182. As        [0233] In one preferred embodiment of the invention, a
an alternative, decision tree Yes2 sends the event data to             canister 200' (e.g., similar to canister 200 but with internal
memory such that it is stored for later transmission, in step          electronics) has its own battery 210, micro-controller 212,
184. The Yes^ decision tree is used for example when a                 sensor time tag interface 2140 and real time clock 216
receiver is not presently available (e.g., when no receiving           (collectively the "canister electronics^^), as shown in FIG.
device is available to listen to and capture data transmitted          lOF. With such an embodiment, a sensor 202' for use with
from the monitor device). Eventually, however, event data is           canister 200' has a mating time tab interface 214Z?. In
transmitted off-board, in step 186, such as when memory is             addition to time tag interface 214Z?, sensor 202' has a clock
full (a receiver should be available to capture the event data         218, processor 220, battery 222, detector 224 and commu­
before memory becomes full) or when the monitor device is              nications port 226. In operation, sensor 202' is generally not
scheduled to transmit the data at a preselected time interval          powered by battery 222 until removed from canister 200', as
(i.e., a timed sequence transmission). For example, event              described above. Accordingly, real time clock information
data stored in memory may be transmitted off board every               (e.g., the exact date and time) cannot be maintained within
five minutes or every hour; data captured within that time             sensor 202' while un-powered (i.e., so long as insulator strip
interval is preferably stored in memory until transmission at          208' prevents battery 222 from powering sensor 202') since
steps 180 and 182.                                                     clock 218 and other electronics require power to operate.
                                                                       However, in FIG. lOE, the advantage provided by the
[0230] Note that timed sequence transmission of event                  canister electronics is that time tag information from real
data approaches ''continuous" transmission of movement                 time clock 216 is imported to sensor 202' through interfaces
metric data for smaller and smaller timed sequence trans­              214¢, 214Z? after battery 222 powers device 202。' but before
missions. For example, if data from the monitor device is              interfaces 214¢, 214Z? disconnect so that sensor 202' can be
communicated off-board each second (or less, such as each              used operationally. As such, in the preferred embodiment
one tenth of a second), then that data becomes more and                shown in FIG. lOF, interface 214。takes the form of flex
more similar to continuously transmitted data from the                 cable 230 that remains attached between canister electronics
detector. Indeed, if sampling of the detector occurs at X Hz,          and device 202。' until flex cable 230 extends to its full
and timed transmissions also occur at X Hz, then "continu­             length, whereinafter sensor 202' disconnects from cable 23〇.
ous" or "timed sequence^^ data may be substantially identi­            Time tag relay 214ろ of device 202を，FIG. lOF, thus takes
cal. Timed sequence or event data, therefore, provides for             the form of a plug (not shown) to connect and alternatively
the opportunity to process the detector signals, between               disconnect with flex cable 23〇. In FIG. lOF, canister elec­
transmissions, to derive useful events or to weed out noise            tronics (e.g., elements 210, 212, 216) are disposed within
or useless information.                                                base assembly 206' and therefore flex cable 230 appears to
[0231] FIG. 10 shows a sensor-dispensing canister 200                  extend only to base assembly 206' when in fact cable 230
constructed according to the invention. Canister 200 is                extends to canister electronics disposed therein. When a user
shown containing a plurality of sensor 202. A lid 204 may              removes sensor 202' from canister 200', device 202。' is
be coupled with canister 200 to enclose sensors 202 within             powered when strip 208', held with base assembly 206' (or
canister 200, as desired. Each of sensors 202 can for                  electronics therein) disconnects from sensor 202'; and at that
example be a monitor device such as described above;                   time clock 218 is enabled to track real time. Before flex
however canister 200 can be used for other battery-powered             cable 230 disconnects from sensor 202', time and/or data
sensors. Although canister 200 is shown with two-dozen                 information is communicated between interfaces 214¢, 214Z?
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to provide the "re시" time to sensor 202' as provided by clock          may beneficially be used with a MMD having a speed sensor
216. Once real time is provided to sensor 202', clock 218              detector; and that MMD reports (by wireless communica­
maintains and tracks advancing time so that sensor 202' can            tion) speed “events" that exceed a certain threshold, e.g., 40
tag events with time and/or date information, as described             mph. Lift ticket receiver 238 captures that event data and
herein.                                                                reports it though indicator 239. A person wearing lift ticket
[0234] One advantage of sensor canister 200' is that once              receiver 238 with a speed sensing MMD will thus be
used, it may be rensed by installing additional sensors within         immediately known by the ski lift area that the person skis
the cavity. In addition, one canister can carry multiple               recklessly, as a lift operator can view the speeding violation
monitor devices, such as fOO MMDs that each respond to an              indicator LED 239. Alternatively, indicator 239 is itself a
event of "10 g^s.^^ In another example, another canister               wireless relay that communicates with a third receiver such
carries 200 MMDs that respond to an event of TOO g^s.^^ A              as a ski ticket reader currently used to review bar code 24〇.
canister of MMDs can be in any suitable number that meets              Lift ticket receiver 238 can further include circuitry as in
a given application; typically however sensors within the              monitor device 10 of FIG. 1 so that it responds to wireless
canister of the invention are packaged together in groups of           requests for appropriate “event data," such as speed viola­
50, fOO, f50, 200, 250, 500 or fOOO. A variety pack of                 tion data. As such, indicator 239 may take the form of a
MMDs can also be packaged within a canister, such as a                 transmitter relaying requested event data to the third
canister containing ten 5 g MMDs, ten fO g MMDs, ten f5                receiver, for example. Event data may be stored in memory
g MMDs, ten 20 g MMDs, ten 25 g MMDs, ten 30 g MMDs,                   236 until requested by the third receiver interrogating lift
ten 35 g MMDs, ten 40 g MMDs, ten 45 g MMDs, and ten                   ticket receiver 238.
50 g MMDs. Another variety package can for example                     [0236] Preferably, canisters 200' imparts a unique ID to
include groups of MMDs spaced at fO g interv시s. EMDs                   the dispensed electronics一e.g., to each sensor or receiver
can also be packaged in variety configurations within can­             taken from canister 200'— —security reasons. More par­
isters 200, 200'.                                                      ticularly, in addition to communicating a current date and
[0235] Canisters 200, 200' can also function to dispense               time to the dispensed electronics, canister 200' also prefer­
one or a plurality of receivers. Specifically, each of elements        ably imparts a unique ID code which is used in subsequent
202 of FIG. 10 may alternatively be a receiver such as                 interrogations of the dispensed electronics to obtain data
receiver 24 of FIG. I. In this way, a plurality of receivers           therein. Therefore, data within a monitor device, for
may be dispensed and powered as described above. FIG.                  example, cannot be tampered with without the appropriate
lOG shows one receiver 231 constructed according to the                access code; and that code is only known by the party
invention. Receiver 231 has a communications port 232,                 controlling canister 200' and dispensing the electronics.
battery 233 and indicator 234. Receiver 231 can further
include processor 235, memory 236 and clock 237, as a                  [0237] FIG. lOG and FIG. lOH illustrate certain advan­
matter of design choice and convenience such as to imple­              tages of the invention. First, receivers in the form of lift
ment functionality described in connection with FIGS. lOG,             tickets 238 may be packaged and dispensed to power the lift
lOH. Receiver 231 can for example be dispensed as one of               ticket upon use. Lift tickets are dispensed by the thousands
a plurality of receivers一as an element 202, 202' dispensed             and are sometimes stored for months prior to use. Accord­
from canisters 200, 200' above. In operation, battery 233              ingly, battery power may be conserved until dispensed so
powers receiver 231 and receiver 231 receives inputs in the            that internal electronics function when used by a skier for the
form of wireless communications (e.g., in accord with the              day. Further, tickets 238 monitor a user^s performance
teachings herein, wireless communications can include                  behavior during the day to look for offending events: e.g.,
known transmission protocols such as radio-frequency com­              exceeding the ski resort speed limit of 35 mph; exceeding
munication, infrared communication and inductive magnetic              the jump limit of two seconds; or performing an overhead
communication) from a sensor such as a MMD. Communi­                   flip on the premises. Whatever the monitor device is set to
cations port 232 serves to capture the wireless communica­             measure and transmit as “events" may be visually displayed
tions data such that indicator 234 re-communicates appro­              (e.g., a LED or LCD) at indicator 234 or re-transmitted to
priate “event" data to a person or machine external to                 read the offending information. Receiver 231 may incorpo­
receiver 231. Specifically, in one embodiment, receiver 231            rate transponders as discussed above to facilitate the indi­
operates to relay very simple information regarding event              cator functionality, i.e., to relay data as appropriate.
data from a movement device. If for example a MMD sends                [0238] Batteries used in the above MMDs and devices like
event data to receiver 231 that reported the MMD experi­               the lift ticket can benefit by using paper-like batteries such
enced an airtime event of five seconds, and it was important           as set forth in U.S. Pat. No. 5,897,522, incorporated herein
that this information was known immediately, then receiver             by reference. Such batteries provide flexibility in several of
231 is programmed (e.g., through processor 235) to indicate            the monitor devices described herein. Powering such bat­
the occurrence of that five-second airtime event through               teries when dispensing a sensor or receiver still provides
indicator 234. Such data may also be stored in memory 236,             advantages to conserve battery power until the sensor or
if desired, until a person or machine requiring the data               receiver is used. A device battery 18 of FIG. 1 can for
acquires it through indicator 234. By way of another                   example be a paper-like battery or coin cell.
example, receiver 231 can take the form of a ski lift ticket
238 shown in FIG. lOH. Lift ticket 238 is thus a receiver              [0239] FIG. 101 shows yet another sensor 231' con­
with an indicator 239 in the form of a LED. Lift ticket 238            structed according to the invention. Like receiver 231,
is preferably made like other lift tickets, and may for                sensor 231' preferably conforms to a shape of a license
example include bar code 240, indicating that a person                 ticket, e.g., a ski lift ticket. However sensor 231' does not
purchased the ticket for a particular day, and ticket connect­         couple to a separate monitor device; rather, sensor 231' is a
ing wire 241 to couple ticket 238 to clothing. Lift ticket 238         stand-alone device that serves to monitor and gauge speed­
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ing activity. Like other sensors of the invention, an “event”             has a speed limit of 30 mph. Speeding violations within any
is generated and commnnicated off-board (i.e., to a person or             of zones A or B are then communicated to the resort. The
external electronics) when sensor 231' exceeds a pre-as­                  advantage of this feature of the invention is that certain
signed valne. Typically, that value is a speed limit associated           slopes or mountain areas permit higher speeds, and yet other
with the authority issuing sensor 231' (e.g., a resort that               slopes (e.g, a tree skiing area) do not support higher speeds.
issues a ski lift ticket). Sensor 231' is preferably dispensed            The resort may for example specify speed limits according
through one of the “power on" techniques described herein,                to terrain. GPS receiver 243 determines earth position一
such as by dispensing sensor 231' from a canister 200, 200'.              which processor 235' determines is within a particular
Typically, when sensor 231' detects a speeding event, (a)                 zone一and speed violations are then determined relative to
data is communicated off-board (e.g., sensor 231' generates               the speed limit within the particular zone, providing a more
a wireless signal of the speed violation), and/or (b) a visual            flexible system for the ski resort.
indicator is generated to inform the authority (e.g., via a ski
lift operator of the ski lift area) of the violation. In case (a),        [0243] Position locater 243 of another embodiment is an
indicator 234' may for example be a communications port                   altimeter, preferably including a solid-state pressure sensor.
such as port 16, FIG. 1; in the case (b), indicator 234' may              Altimeter 243 of one embodiment provides gross position
for example be an LED or other visual indicator that one can              information such as the maximum and minimum altitude on
visually detect to learn of the speeding violation. Indicator             a ski mountain. For a particular resort, maximum and
234' of one embodiment is a simple LED that turns black                   minimum altitude approximately correspond to a distance of
(ON), or 시ternatively white (OFF), after the occurrence of                “Z" meters, the distance needed to traverse between the
a speeding event. A quick visual review of sensor 231' thus               minimum and maximum altitude. Processor 235' then deter­
informs the resort of the speeding violation.                             mines speed based upon dividing Z by the time between
                                                                          determining the minimum and maximum 시titudes. Frac­
[0240] Sensor 231' also has a battery 233' that is preferably             tional speeds may also be determined. If for example a
powered when sensor 231' is dispensed to a user (e.g., to a               particular skier traverses between a maximum altitude and
snowboarder at a resort). Optionally, position locater 243 is             h시f-way between the minimum and maximum altitudes,
included with sensor 231' to track earth location of sensor               then processor 235' determines speed based upon dividing
23'; processor 235' thereafter determines speed based upon                Z/2 by the time between determining (a) the maximum
movement between locations over a time period (e.g., dis­                 altitude and (b) the midpoint between the minimum and
tance between a first location and a second location, divided             maximum altitudes.
by the time differential defined by arriving at the second
location after leaving the first location, provides speed).               [0244] As discussed above, one MMD of the invention
Clock 237' provides timing to sensor 231'. Optionally,                    includes an airtime sensor. FIG. 11 and FIG. 12 collectively
memory 236' serves one of several functions as a matter of                illustrate the preferred embodiment for determining and
design choice. Data gathered by sensor 231' may be stored                 detecting airtime in accord with the invention. A MMD
in memory 236'; such data may be communicated off-board                   configured to measure airtime preferably uses an acceler­
during subsequent interrogations. As discussed above, data                ometer as the detector; and FIG. 11 depicts electrical and
may also be communicated off-board at the occurrence of a                 process steps 250 for processing acceleration signals to
speeding “event." As an alternative, indicator 234' may be a              determine an “airtime" event. FIG. 12 illustrates state
transponder RFID tag to be read by a ticket card reader. In               machine logic 280 used in reporting this airtime. By way of
one embodiment, on slope transmitters irradiate sensor 231'               example, FIG. 12 shows that motion is preferably deter­
with a signal that reflects to determine Doppler speed; that              mined prior to determining airtime, as airtime is meaningful
speed is imparted to sensor memory 236' and reported to the               in certain applications (e.g., wakeboarding) when the
resort.                                                                   vehicle (e.g., the wakeboard) is moving and non-stationary.

[0241] Preferably, sensor 231' operates in “low power"                    [0245] More particularly, FIG. 11 depicts discrete-time
mode. Position locater 243 in one preferred embodiment is                 signal processing steps of an airtime detection algorithm.
a GPS receiver. GPS receiver and processor 243, 235' for                  Acceleration data 252 derive from a detector in the form of
example collectively operate to make timed measurements                   an accelerometer. Two pseudo-power level signals 266a,
of earth location so as to coarsely measure speed. For                    212a are produced from data 252 by differentiating (step
example, by measuring earth location each five seconds, and               254), rectifying (step 256), and then filtering through respec­
by dividing the distance traveled in those five seconds by                tive low-pass filters at steps 266 or 272. More particularly,
five seconds, a coarse measure of speed is determined. Other              a difference signal of data 252 is taken at step 254. The
timed measurements could be made as a matter of design                    difference signal for example operates to efficiently filter
choice, e.g., %, f, f5, 20, 25, 30 or 60 seconds. By taking               data 252. The difference signal is next rectified, preferably,
fewer measurements, and by reducing processing, battery                   at step 256. Optionally, a limit filter serves to limit rectified
power is conserved over the course of a day, as it is                     data at step 258. Rectified, limited data may be resealed, if
preferable that the ticket determines speeding violations for             desired, at step 26〇. The limiting and rescaling steps 258,
at least a full day, in Winter. Finely determining speed at               260 help reduce quantization effects on the resolution of
about one-second intervals is useful in the preferred embodi­             power signals 266¢, 212a. Filtering at steps 266, 272 incor­
ment of the invention.                                                    porate different associated time constants, and feed binary
                                                                          hysteresis functions with different trigger levels, to produce
[0242] Memory 236' may further define location informa­                   “power" signals 2660 212a.
tion relative to one or more “zones" at a resort, such that
speed may be assigned to each zone. In this manner, for                   [0246] More particularly, data from step 260 is bifurcated
example, a resort can specify that ski run "X" (of zone "A")              along fast-signal path 262 and slow-signal path 264, as
has a speed limit of 35 mph, while ski run "Y" (of zone "B")              shown. In path 262, a low pass filter operation (here shown
                                                                            68



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as a one pole, 20 Hz low pass filter) first occurs at step 266         and 212a are also shown. A ski click 310 illustrating the
to produce power signal 266«. Two comparators compare                  importance of signals 2060 212a shows how the invention
power signal 266。to thresholds, at step 268, to generate two           prevents identification of ski click 310 as a landing or second
signals 270 used to identify possible takeoffs and landings            takeoff.
for an airtime event. In path 264, a low pass filter operation
(here shown as a one pole 2 Hz low pass filter) first occurs           [0252] Data transmission from a sensor (e.g., a MMD) to
at step 272 to produce power signal 212a. Three compara­               a display unit (e.g., a receiver) is gener시ly at least 99.9%
tors compare power signal 212a to thresholds, at step 274,             reliable. In the case of one-way communication, a redundant
to generate three “confidence" signals 276 used to assess              transmission protocol is preferably used to cover for lost
confidence of takeoffs and landings for an airtime event.              data transmissions. Communications are also preferably
Finally, a state machine 280, described in more detail in              optimized so as to reduce battery consumption. One way to
FIG. 12, evaluates signals 270, 276 to generate airtime                reduce battery consumption is to synchronize transmission
events 278.                                                            with reception. The ''transmission period^^ (the period
                                                                       between one transmission and the next), the size of the
[0247] Those skilled in the art should appreciate that the             storage buffer in sensor memory, and the number of times
airtime detection scheme of FIG. II also may be used for               data is repeated (defining a maximum age of an event) are
other detectors, such as those in the form of piezoelectric            adjustable to achieve battery consumption goals.
strips and microphones, without departing from the scope of
the invention.                                                         [0253] A state diagram for transmission protocols between
                                                                       one sensor and display unit, utilizing one-way transmission,
[0248] FIG. 12 s아lematically 아lows state machine logic                 is shown in FIG. 14 and FIG. I4A. FIG. 14 and FIG. I4A
280 used to report and identify airtime events, in accord with         specifically show the operational state transitions for the
the invention. State machine 280 includes several processes,           sensor (chart 273) and display unit (chart 274) with respect
including determining motion 282, determining potential                to transmission protocols, in one embodiment of the inven­
takeoffs 284 (e.g., of the type determined along path 262,             tion. The numerical times provided in FIG. 14 are illustra­
FIG. II), determining takeoff confirmations 286 (e.g., of the          tive, without limitation, and may be adjusted to optimize
type determined along path 264, FIG. II), determining                  performance. As those skilled in the art should appreciate,
potential landings 288 (e.g., of the type determined along             alternative protocols may be used in accord with the inven­
path 262, FIG. II), and determining landing confirmations              tion between sensors and receivers. With reference to FIG.
290 (e.g., of the type determined along path 264, FIG. II).            14 and FIG. I4A, the display unit is generally in a low
Logic flow between processes 282, 284, 286, 288, 290                   power mode unless receiving data, to conserve power in the
occurs as illustrated and annotated according to the preferred         display unit. To accomplish this, transmissions between the
embodiment of the invention.                                           sensor and display unit are synchronized such that the
[0249] In summary, the relative fast signal from fast-signal           display unit knows when the sensor can next transmit. When
path 262, FIG. II, isolates potential takeoffs and potential           the sensor has no data to transmit, there preferably is no
landings from data 252 with timing accuracy (defined by                transmission; however, synchronization is still maintained
filter 266) that meets airtime accuracy specifications, e.g.,          by short transmissions. Synchronization need not be per­
以00 of 5 a second. The drawback of detections along path               formed at each transmission period, but preferably at a
262 is that it may react to accelerometer signal fluctuations          suitably spaced multiple of the transmission period. The
that do not represent real events, which may occur with a ski          period between synchronization-only transmissions is then
click in the middle of an airtime jump by a skier. This                determined by the amount of clock drift between the display
problem is solved by confirming potential takeoffs and                 unit and the sensor unit. The sync-only transmission may
landings with confirmation takeoffs and landings triggered             include the power up sequence and the sync byte, such that
by a slower signal, i.e., along path 264. The slower signal            the display unit maintains sync with sensor transmissions.
212a is thus used to confirm landings and takeoffs, but is not         The transmission period is preferably selectable by software
used for timing because it does not have sufficient time               for both the sensor and the display unit.
resolution.
                                                                       [0254] By way of example, one sensor unit is monitor
[0250] An accelerometer signal described in FIG. II and                device 10 of FIG. I, and one display unit is receiver 24 of
FIG. 12 is preferably sensitive to the vertical axis (i.e., the        FIG. I. When the sensor and receiver function as a pair, the
axis perpendicular to the direction of motion, e.g., typically         sensor unit preferably has an identification (ID) number
the direction of forward velocity, such as the direction down          communicated to the display unit in transmission so that the
a hill for a snowboarder) to produce a raw acceleration                display unit only decodes data from one particular sensor.
signal (i.e., data 252, FIG. II) for processing. Other accel­
                                                                       [0255] Preferably, the display unit determines the sync
erometer orientations can also be used effectively. The raw
                                                                       pattern for sensor transmissions by active listening until
acceleration signal may for example be sampled at high
                                                                       receipt of a synchronization or data transmission with the
frequencies (e.g., 4800 Hz) and then acted upon by the
                                                                       matching sensor ID. Once a valid transmission from the
algorithm of FIG. iL With a stream of accelerometer data,
                                                                       matching sensor is received, the display unit calculates the
the algorithm produces an output stream of time-tagged
                                                                       time of the next possible transmission and controls the
airtime events.
                                                                       display unit accordingly. When the sensor is a MMD used to
[0251] FIG. 13 graphically shows representative acceler­               determine airtime, and the sensor does not necessarily have
ometer data 300 captured by a device of the invention and              a re시 time clock; data sent to the display unit includes
covering an airtime event 302. Event 302 occurs between                airtime values with time information as to when the airtime
takeoff 304 and landing 306, both determined through the               occurred. As this sensor does not necessarily maintain a real
algorithm of FIG. II. Data representing power signals 266«             time clock, the time information sent from the sensor is
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relative to the packet transmission time. Preferably, the              [0260] By way of example, consider an airtime event of
display nnit, which has a real time clock, will convert the            f .72 seconds, occurring 2.f seconds before start of trans­
relative time into an absolnte time snch that airtime as an            mission. In accord with FIG. 14 and FIG. I4A, the trans­
event is tagged with appropriate time and/or date informa­             mitted data would be as follows:
tion.                                                                         [0261] <P/up> <Sync> <Sensor ID> <Product ID>
[0256] The amonnt of data communicated between the                              <Count> [<Age> <Airtime>]
sensor and display nnit varies. By way of example, for                        [0262] <Checksum>    <OxAA>     <Ox    AD>
typical skier and snowboarder operation, an airtime event                       <0xl2><0x01><0x01><0x02>0xl58><0x21>
covering the 0-5 second range with a resolntion of 以〇〇由
second is generally adequate. The coding of such airtime               [0263] Assuming that the age and airtime data are com­
events can use nine data bits. Ten bits allow for measurement          bined into two bytes, and that <P/up> is one byte in length,
of up to approximately ten seconds, if desired. For an age,            the entire packet is eight bytes in length. At a transmission
where the resolution of age is one second (i.e., a time stamp          speed of f200 baud, a typical transmission speed between a
resolution) and the maximum age of a repeat transmission is            sensor and receiver, the eight bytes takes 67 ms to transmit.
fifteen seconds, four bits are used. Data transmission also            Assuming sequential transmission periods of 500 ms, the
typically has overhead, such as startup time, synchronization          transmission duty cycle is 13.4% for a single jump.
byte, sensor ID used to verify correct sensor reception, a             [0264] Those skilled in the art should appreciate that
product identifier to 시low backwards compatibility in future           alternatives from the above-described protocols may be
receivers, a count of the number of data items in the packet,          made without departing from the scope of the invention. In
and, following the actual data, a checksum to gain confi­              one alternative, pseudo random transmissions are used
dence in the received data. This overhead is approximately             between a sensor and receiver. If for example two sensors
six bytes in length. To reduce the effect of overhead, stored          are together, and transmitting, the transmissions may inter­
data in the sensor is preferably sent in one message. An               fere with one another if both transmissions synchronously
airtime event for example can be stored in the sensor until            overlap. Therefore, in situations like this, a pseudo random
transmitted with the desired redundancy, after which it is             transmission interval may be used, and preferably random­
typically discarded. Thus, the number of airtime events                ized by the unique sensor identification number <Sensor
included in a transmission depends upon the number of                  ID>. If both the display unit and the sensor follow the same
items still in the sensor^s buffer (e.g., in memory 20, FIG.           sequence, they can remain in complete sync. Accordingly, a
1). When the buffer is empty, there is, generally, no data             collision of one transmission (by two adj acent sensors) will
transmission.                                                          likely not occur on the next transmission. In another alter­
[0257] A typical data transmission can for example                     native, it may also be beneficial for the receiver to define a
include: <P/up> <Sync> <Sensor ID> <Product ID>                        bit pattern for the <Sync> byte that does not occur anywhere
<Count> [<Age> <Airtime>] <Checksum>. <P/up> is the                    else in the transmitted data, such as used, for example, with
power-up time for the transmitter. A character may be                  the HDLC bit stuffing protocol. In another alternative, it may
transmitted during power up to aid the transmitter startup,            be beneficial to use an error correction protocol, instead of
and help the receiver start to synchronize on the signal. The          retransmissions, to reduce overall data throughput. In still
<Sync> character is sent so that the receiver can recognize            another alternative, a more elaborate checksum is used to
the start of a new message. <Sensor ID> defines each sensor            reduce the risk of processing mv시id data.
with a unique ID number such that the display unit can                 [0265] In still another 시teraative, a “Hamming Code^^
selectively use data from a matching sensor. <Product ID>              may be used in the transmission protocol. Hamming codes
defines each sensor with a product ID to allow for backward            are typically used with continuous streams of data, such as
compatibility in future receivers. <Count> defines how                 for a CD player, or for the system described in connection
many age/airtime values are included in a message. The                 with FIG. 8; however they are not generally used with event
<Age> field provides the age of an associated airtime value,           or timed sequence transmissions described in connection
which may be used by the display unit to identify when an              with FIG. 14. Nevertheless, Hamming codes may make the
airtime is retransmitted. <Airtime> is the actu시 airtime               data paths more robust. The wireless receiver in the display
value. <Checksum> provides verification that the data was              unit may take a finite time in start-up before it can receive
received correctly.                                                    each message. Since a further goal of the transmission
[0258] A sensor^s buffer length should accommodate the                 protocol is generally to reduce the overall number of trans­
maximum number of airtime jumps for the duration of                    missions from the sensor, it may be beneficial to add
retransmissions. By way of example, transmissions can be               additional data to the transmission and send it fewer times
restricted so that no more than one jump every three seconds           rather than to retransmit data several times. For example,
is recognized; and retransmissions should generally finish             rather than sending all buffered airtime values with each
within a selected time interval (e.g., six seconds). Therefore,        transmission, two data items can be sent, together with a
this exemplary sensor need only store two airtime events at            count of airtimes in the sensor buffer, and a sum of the
any one time. The buffer length is preferably configurable,            airtimes. If the display unit misses one airtime (e.g., deter­
and can for example be set to hold four or more airtime                mined by the count value), it can use the sum value received
events.                                                                and the summation of the airtimes it has previously received
                                                                       to determine the missing airtime. A similar scheme can be
[0259] Transmission electronics within the sensor and
                                                                       used for age values so as to determine the time of the missing
display units may use a UART, meaning that data is defined
                                                                       airtime.
in byte-sized quantities. As those skilled in the art under­
stand, alternative transmission protocols can utilize bit level        [0266] The display unit receiver is typically in the physical
resolution to further reduce transmission length.                      form of a watch, pager, cell phone or PDA; and, further,
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receivers also typically have corresponding function시ity. By            to the data storage at block 324. Data is stored to meet
way of example, one receiver is a cell phone that addition­             transmission protocol requirements; preferably, data is
ally functions as a receiver to read and interpret data from a          stored in a cyclic buffer, and once all data transmissions are
MMD. Furthermore, a display unit is preferably capable of               performed, the data is discarded. Fransmission can be per­
receiving and displaying more than one movement metric.                 formed by a UART, at block 326, where data content is
As such, data packets described above preferably include the            arranged to provide sufficient robustness. Power control at
additional metric data, e.g., containing both impact and                block 328 monitors signal activity level to determine if the
airtime event data. Display units of the invention preferably           sensor should be in 'operating' mode, or in 'sleep' mode.
have versatile attachment options, such as to facilitate                Sleep mode preserves the battery to obtain a greater opera­
attachment to a wrist (e.g., via a watch or Velcro strap for            tive life. While in sleep mode, the processor wakes periodi­
over clothing), a neck (e.g., via a necklace), or body (e.g., by        cally to check for activity. Timing and control at block 330
a strap or belt).                                                       maintains timing and scheduling of software components.
[0267] Sensors such as the monitor devices described                    [0270] With regard to FIG. 16, receiver message handler
above, and corresponding display unit receivers, preferably             at block 332 performs data reconstruction and duplication
have certain characteristics, and such as to accommodate                removal from transmission protocols. Resulting data items
extreme temperature, vibration and shock environments.                  are sent to data management and storage at block 334.
One representative sensor and receiver used to determine                Stored data ensures that the user can select desired infor­
airtime in action sports can for example have the following             mation for display, at block 336. The display driver prefer­
non-limiting characteristics: sensor attaches to a flat surface         ably performs additional data processing, such as in display­
(e.g., to snowboard, ski, wake-board); sensor stays attached            ing Tot시 Lists (e.g., values representing cumulative of a
during normal aggressive use; display unit attachable to                metric). Best lists (e.g., values representing the best or
outside of clothing or gear; waterproof; display unit battery           highest or lowest metric), and Current Lists (e.g., values
life three months or more; sensor battery life one week or              representing latest metric). These lists are filled automati-
more of continuous use; on/off functionality by switch or               c시ly, but may be cleared or reset by the user. Buttons
automatic operation; characters displayed at data unit visible          typically control the display unit, at block 338. Button inputs
from a minimum of eighteen inches; minimum data com­                    by users are scanned for user input, with corresponding
prehension time for data minimum of 0.5 second; last                    information passed to the user interface/menu control block
airtime data accessible with no physical interaction; one               344. rhe display driver of block 336 selects and formats data
second maximum time delay for display of airtime data after             for display, and sends it to the receiver's display device (e.g.,
jump; displayed data readable in sunlight; displayed data               an LCD). This information may also include menu items to
includes time and/or date information of airtime; user selec­           allow the user select, or perform functions on, stored data,
tion of accumulated airtime; display unit provides real time            or to select different operation modes. A real time clock of
information; display unit operable with a maximum of two                block 340 maintains the current time and date even when the
buttons; physical survivability for five foot drop onto con­            display is inactive. The time and date is used to time stamp
crete; scratch and stomp resistant; no sharp edges; minimum             event data (e.g., an airtime event). Timing and control at
data precision 切〇山 second; minimum data accuracy 必5山                    block 342 maintains timing and scheduling of various soft­
second; minimum data resolution ら/100由 second; minimum                  ware components. User interface at block 344 accepts input
data reliability。。*〇〇〇 messages received; algorithm perfor­             from the button interface, to select data items for display. A
mance less than one percent false positive and less then two            user preferably can scroll through menu items, or data lists,
percent false negative indications per day; and temperature             as desired.
range minimum of -10C-60C.
                                                                        [0271] FIG. 17 아lows one housing suitable for use with a
[0268] Those skilled in the art should appreciate that the              monitor device (e.g., a MMD) of the invention. The housing
above description of communication protocols of “airtime"               is shown with three pieces: a top element 362, a bottom
between sensor and receiver can be applied to monitor                   element 364, and an o-ring 366. As 아lown in FIG. 18,
devices sensing other metrics, e.g., temperature, without               elements 362, 364 form a watertight seal with o-ring 366 to
departing from the scope of the invention.                              form an internal cavity that contains and protects sensor
                                                                        electronics 368 (e.g., detector 12, processor 14, communi­
[0269] By way of example, FIG. 15 아lows functional
                                                                        cations port 16 of FIG. 1) disposed within the cavity.
blocks 320, 322, 324, 326, 328, 330 of one sensor of the
                                                                        Batteries 370 power sensor electronics 368, such as
invention. The sensor^s algorithm analyses signals from an
                                                                        described in connection with FIGS. 3F, 3G. In combination,
internal detector and determines an event such as airtime.
                                                                        the housing is preferably sm시1, with volume dimensions
This event information is stored and made ready for trans­
                                                                        less than about 35 mmxfS mmxfS mm. Generally, one
mission to the display unit. FIG. 16 shows functional blocks
                                                                        dimension of the housing is longer than the other dimen­
332, 334, 336, 338, 340, 342, 344 of one display unit of the
                                                                        sions, as illustrated; though this is not required.
invention. Transmission protocols between functional
blocks 326, 332 ensure that data is received reliably. The              [0272] FIG. 19 shows an alternative housing 372 suitable
internal detector of the sensor of FIG. 15 for example is an            for use with a sensor (e.g., a MMD) of the invention.
accelerometer oriented to measure acceleration in the Z                 Housing 372 is shown with three pieces: a top element 374,
direction (i.e., perpendicular to the X, Y plane of motion).            a bottom element 376, and an o-ring 378. As above, ele­
Signals generated from the detector are sampled at a suitable           ments 374,376 form a watertight seal with o-ring 378 to
frequency, at block 320, and then processed by an event                 form an internal cavity that contains and protects sensor
algorithm, at block 322. The 시gorithm applies filters and               electronics disposed therein. FIG. 19 also shows housing
control logic to determine event, e.g., the takeoff and landing         372 coupled to sensor bracket 38〇. A mating screw 382
times for airtime events. Event data such as airtime is passed          passes through housing 372, as shown, and through sensor
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bracket 380 for attachment to a vehicle attachment bracket.           [0278] FIG. 26 shows one housing 384 for a monitor
FIG. 20 illustrates one vehicle attachment bracket 390; FIG.          device of the invention. Housing 384 is preferably made
21 illustrates another vehicle attachment bracket 40〇. Mat­           from mold urethane and includes a top portion 384a and
ing screw 382 preferably has a large head 382。so that                 bottom portion 384b. An o-ring (not shown) between por­
human fingers can efficiently manipulate screw 382, thereby           tions 384a, 384b serves to keep electronics within housing
attaching and detaching housing 372 from the vehicle                  384 dry and free from environmental forces external to
attachment bracket, and, thereby, from the underlying                 housing 384. FIG. 27 shows the inside of top portion 384a;
vehicle. Screw 382 also preferably clamps together elements           FIG. 28 아lows the inside of bottom portion 384b; and FIG.
374, 376, 378 at a single location to seal sensor electronics         29 shows one monitor device 386, constructed according to
within housing 372.                                                   the invention, for operational placement within housing 384.
[0273] Bracket 390 of FIG. 20 attaches directly to vehicle            Portions 384a, 384b are clamped together by screw attach­
392. Vehicle 392 is for example a sport vehicle such as a             ment channels 388. In FIG. 29, device 386 includes batteries
snowboard, ski, wakeboard, or skateboard. Vehicle 392 may             389a, 389b used to power a radio-frequency transmitter 390
also be part of a car or motorcycle. A surface 394 of vehicle         and other electronics coupled with PCB 391. Data from
392 may be flat; and thus bracket 390 preferably has a                device 386 is communicated to remote receivers through
corresponding flat surface so that bracket 390 is efficiently         antenna 392. When transmitter 390 is a 433 MHz transmit­
bonded, glued, screwed, or otherwise attached to surface              ter, for example, antenna 392 is preferably coil-shaped, as
394. Bracket 390 시so has screw hole 396 into which mating             shown, running parallel to the short axis 393 of PCB 391 and
screw 382 threads to, along direction 399.                            about 4.5 mm above the non-battery edge 394 of PCB 391.
                                                                      Coil antenna 392 is preferably about f5 mm long along
[0274] FIG. 21 아lows one alternative vehicle attachment               length 392a and about 5.5 mm in diameter along width
bracket 40〇. Bracket 400 has an L-shape to facilitate attach­         39가?; and coil antenna 392 is preferably made from about 20
ment to bicycle frame 398. Frame 398 is for example part of           turns 392c of enameled copper wire. Antenna 392 may be
a bicycle or mountain biking sports vehicle. A seat 402 is            coupled to housing 384 via protrusions 385. The o-ring
shown for purposes of illustration. Bracket 400 has a screw           between portions 384a, 384b may be placed on track 386.
hole 404 into which mating screw 382 threads to, along
direction 406. Sensor outline 408 illustrates how housing             [0279] FIG. 30, FIG. 31 and FIG. 32 collectively illus­
372 may attach to bracket 40〇.                                        trate one mounting system for attaching monitor devices of
[0275] Brackets 380,390,400 illustrate how sensors of the             the invention to objects with flat surfaces. FIG. 30 shows a
invention may beneficially attach to sporting vehicles of             plate 396 that is preferably injection molded using a tough
practically any shape, and with low profile once attached             metal replacement material such as the Verton™. Plate 396
thereto. The brackets of the invention preferably conform to          is preferably permanently secured to the flat surface (e.g., to
the desired vehicle and provide desired orientations for the          a ski or snowboard) with 3M VHB tape or other glue or
sensor within its housing. By way of example, L-shaped                screw. Skis, bicycles, and other vehicles use a corresponding
bracket 400 may be used to effectively orient a sensor to bike        shaped plate that accepts the same sensor. FIG. 31 shows
398. If for example the sensor includes a two-axis acceler­           plate 396 in perspective view with a monitor device 397 of
ometer as the detector, with sensitive axes 410,412 arranged          the invention. FIG. 32 shows an end view illustrating how
as shown, then vehicle vibration substantially perpendicular          plate 396 couples with device 397, and particularly with a
to ground (i.e., ground being the plane of movement for the           lower portion 397。of device 397.
vehicle, illustrated by vector A) may be detected in sensor           [0280] FIG. 33 아lows a top view of a long-life acceler­
orientations illustrated by attachment of housing 372 to              ometer sensor 420 constructed according to the invention.
attachments 390, 400 of FIGS. 20 and 21, respectively. In             Sensor 420 can for example be a MMD. Accelerometer
addition, such an arrangement provides for mounting the               sensor 420 includes a PCB 422, a processor 424 (preferably
sensor to a vehicle with a low profile extending from the             with internal memory 424a; memory 424。may be FLASH),
vehicle.                                                              a coin cell battery 426, a plurality of g-quantifying moment
[0276] Vehicle attachment brackets (and sensor brackets)              arms 428a-e, and communications module 43〇. PCB 422
are preferably made with sturdy material, e.g.. Aluminum,             has a matching plurality of contacts 432a-e, which some­
such that, once attached to a vehicle (e.g., vehicle 390 or           times connect in circuit with corresponding moment arms
398), the vibration characteristics of the underlying vehicle         428a-e. In one embodiment, module 430 is a transponder or
transmit through to the housing attached thereto; the sensor          RFID tag with internal FLASH memory 430a. The five
within the housing may then monitor movement sign시s                   moment arms 428a-e and contacts 432a-e are shown for
(e.g., vibration of the vehicle, generally generated perpen­          illustrative purposes; fewer arm and contacts can be pro­
dicular to “A" in FIG. 20 and FIG. 21) directly and with              vided with accelerometer sensor, as few as one to four or
little signal loss or degradation.                                    more than five.
[0277] FIG. 22 아lows housing 374 from a lower perspec­                [0281] Battery 426 serves to power sensor 42〇. PCB 422
tive view, and specifically shows sensor bracket 380 con­             and processor 424 serve to collect data from accelerom-
figured with back connecting elements 376。of housing                  eter(s) 428a-e when one or more contact with contacts
element 376. FIG. 23 further illustrates bracket 38〇. FIG.            432a-e. Communications module 430 serves to transmit data
24 further illustrates element 374, including screw hole 374。         from sensor 422 to a receiver, such as in communications
for mating screw 382, and in forming part of the cavity 374b          ports 16, 26. Operation of accelerometer sensor 420 is
for sensor electronics. FIG. 25 further illustrates element           described with discussion of FIG. 34.
376, including screw aperture 376b for mating screw 382.
Elements 376, 374 may optionally be joined together via               [0282] In illustrative example of operation of sensor 420,
attachment channels 377, with screws or alignment pins.               moment arm 428d moves in direction 434。when force
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moves arm 428d in the other direction 434b. Once arm 428d             the g loads are met. Processor 424 then stores or causes data
moves far enough (corresponding to space 436), then arm               transmission of the time tagged g load events similar to the
428d contacts contact 432d. At that point, a circnit is               monitor device and receiver of FIG. I.
completed between arm 428¢ processor 424 and battery
426, snch as through track lines 438¢, 438Z? connecting,              [0287] FIG. 36 shows a runner speedometer system 450
respectively, contact 432d and arm 428d to other compo­               constructed according to the invention. A sensor 452 is
nents with PCB 422. A certain amonnt of force is required             located with each running shoe 454. For purpose of illus­
to move arm 428d to contact 432d; arm 428d is preferably              tration, shoes 454A, 454B are shown at static locations "A"
constructed in such a way that that force is known. For               and "B", corresponding to sequential landing locations of
example, arm 428d can be made to touch contact 432d in                shoes 454. In reality, however, shoes 454 are not stationary
response to fO g of force in direction 434a. Other arms               while running, and typically they do not simultaneously land
42&Z-C, 428e have different lengths (or at least different            on ground 456 as they appear in FIG. 36. Sensor 452A is
masses) so that they respond to different forces 434 to make          located with shoe 454A; sensor 452B is located with shoe
contact with respective contacts 432. In this way, the array          454B. Sensors 452 may be within each shoe 454 or attached
of moment arms 428 quantize several g^s for accelerometer             thereto. Sensors 452A, 452B cooperatively function as a
100.                                                                  proximity sensor configured to determine stride distance 461
                                                                      between sensors 452, while running. One or both of sensors
[0283] In the preferred embodiment, processor 424                     452 have an antenna 458 and internal transmitter (not
includes A/D functionality and has a “sleep" mode, such as            shown). A sensor 452 can for example be a monitor device
the “pic" f6F873 by MICROCHIP. Accordingly, accelerom­                such as shown in FIG. I, where detector 12 is the proximity
eter sensor 422 draws very little current during sleep mode           sensor and the transmitter is the communications port 16.
and only wakes up to record contacts between arms 428 and             Receiver 462 is preferably in the form of a runner^s watch
contacts 432. The corresponding battery life of accelerom­            with an antenna 466 and a communications port (e.g., port
eter sensor 422 is then very long since the only “active"             26, FIG. 1) to receive signals from sensor(s) 452. Receiver
component is processor 424一which is only active for very              462 also preferably includes a processor and driver to drive
short period outside of sleep mode. Communications mod­               a display 468. Receiver 462 can for example have elements
ule is also active for just a period required to transmit data        14, 18, 20, 22, 16 of device 10 of FIG. 1. Receiver 462
from sensor 42〇.                                                      preferably provides real time clock information in addition
                                                                      to other functions such as displaying speed and distance data
[0284] Processor 424 thus stores data events for the plu­             described herein.
rality of moment arms 428. By way of example, moment
arms 428a-e can be made to complete the circuit with                  [0288] In the preferred embodiment, sensors 452 inter­
contacts 432 at 25 g (arm 428e), 20 g (arm 428の，f5 g (arm             nally process proximity data to c시culate velocity and/or
428c), fO g (arm 428Z?) and 5 g (arm 428a), and processor             distance as “event" data, and then wirelessly communicate
424 stores results from the highest g measured by any one             the event data to receiver 462. Alternatively, proximity data
arm 428. For example, if the accelerometer sensor experi­             is relayed to receiver 462 without further calculation at
ences a force 434b of 20 g, then each of arms 428ら 428¢               sensors 452. Calculations to determine distance or velocity
428c and 428b touch respective contacts 432; however only             performed by a runner using shoes 454 can be accomplished
the largest result (20 g for arm 428b) needs to be recorded           in sensor(s) 452 or in receiver 462, or in combination
since the other arms (428e-c) cannot measure above their              between the two. Distance is determined by a maximum
respective g ratings. Longer length arms 428 generally                separation between sensors 452 for a stride; preferably, that
measure less force due to their increased responsiveness to           maximum distance is scaled by a preselected value deter­
force. Those skilled in the art should appreciate that arms           mined by empirical methods, since the maximum distance
428 can be made with different masses, and even with the              between sensors 452A, 452B determined while running is
same length, to provide the same function as shown in                 not generally equal to the actual separation 461 between
FIGS. 33 and 34.                                                      successive foot landings (i.e., while running, only one of
                                                                      shoes 454 is on the ground at any one time typically, and so
[0285] Data events from arms 428 may be recorded in                   the maximum running separation is less than actual footprint
memory 424。or 430a. If for example communications                     separation 461——scaling value accounts for this differ­
module 430 is a transponder or RFID tag, with internal                ence and calibrates system 450).
FLASH memory 4300 then data is preferably stored in
memory 430a when accelerometer sensor 420 wakes up;                   [0289] Velocity is then determined by the maximum stride
data is then off-loaded to a receiver interrogating transpon­         distance (and preferably scaled to the preselected value)
der from memory 430a. Alternatively, processor 424 has                divided by the time associated with shoe 454 impacting
memory 424。and event data is stored there. Module 430                 ground 456. An accelerometer may be included with sensor
might also be an RF transmitter that wirelessly transmits             452 to assist in determining impacts corresponding to strik­
data off-board at predetermined interv시s.                             ing ground 456, and hence the time between adjacent
                                                                      impacts for shoe positions A and B. Events may be queued
[0286] FIG. 35 shows a circuit 440 illustrating operation             and transmitted in bursts to receiver 462; however events are
of accelerometer sensor 42〇. Processor 424 is minimally               typically communicated at each occurrence. Events are
powered by battery 426 through PCB 422, and is generally              preferably time tagged, as described above, to provide
in sleep mode until a signal is generated by one or more              additional timing detail at receiver 462.
moment arms 428 with corresponding contacts 432. Each
arm and contact combination 428, 432 serve to sense quan­             [0290] FIG. 37 shows an alternative runner speedometer
tized g loads, as described above, and to initiate an “event”         system 480 constructed according to the invention. A sensor
recording at processor 424, the event being generated when            482 is located with one running shoe 484. For purpose of
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illustration, shoe 484 is shown at two distinct but separate          processed to determine distance. Preferably, data from the
static locations "A" and "B", corresponding to successive             sensor accelerometer is processed through a low pass filter.
landing locations of shoe 484. In reality, shoe 484 is not            Preferably, that filter is an analog filter with a pole of about
stationary while mnning, and also does not simultaneously             50 Hz (those skilled in the art should appreciate that other
land at two separate locations A, B on ground 486 as it               filters can be used). However, generally only velocity is
appears in FIG. 37. Shoe 484 can correspond to the left or            calculated within sensor 482; and distance is calculated in
right foot of a runner using system 48〇. Sensor 482 is                receiver 492 based on the velocity information and time T
located with shoe 484; it may be within shoe 484 or attached          between impacts 500 (or low motion regions 502) of sensor
thereto. Sensor 482 has an accelerometer oriented along axis          482. Preferably, velocity is only c시culated over the time
490, direction 490 being generally oriented towards the               interval between each impact 500. Velocity may alterna­
runner^s direction of motion 491. Sensor 482 has an antenna           tively be calculated over an interval that is shorter than T,
488 and internal transmitter (not shown). Sensor 482 can for          such that runner velocity is scaled to velocity over the lesser
example be a monitor device such as shown in FIG. I,                  interval. The shorter interval is useful in that acceleration
where detector 12 is the accelerometer oriented with sensi­           data is sometimes more consistent over the shorter interval,
tivity along direction 490, and the transmitter is the com­           and thus much more appropriate as a scalable gauge for
munications port 16. Sensor 482 transmits travel or accel­            velocity. Given the short time of T, very little drift of
eration data to receiver 492. Receiver 492 is preferably in           accelerometer data occurs, and velocity may be determined
the form of a runner^s watch with an antenna 496 and a                sufficiently. T- is typically less than about one second, and is
communications port (e.g., port 26, FIG. 1) to receive                typically about % second or less.
signals from sensor 482. Receiver 492 also preferably
                                                                      [0295] Briefly, the processor within sensor 482 samples
includes a processor and driver to drive a display 498.
                                                                      accelerometer data within each "T" period, or portion of the
Receiver 492 can for example have elements 14,18, 20, 22,
                                                                      T period, and integrates that data to determine velocity. The
16 of device 10 of FIG. 1. Receiver 492 preferably provides
                                                                      initial velocity starting from each impact 500 (or low motion
real time clock information in addition to other functions
                                                                      region 502) is approximately zero. If          represents one
such as displaying speed and distance data described herein.
                                                                      sample of accelerometer data, and the sampling rate of the
[0291] In one embodiment, sensor 482 transmits continu­               processor is 200 Hz (i.e., preferably a rate higher than the
ous acceleration data to receiver 492; and receiver 492               low pass filter), then A/200 represents the velocity for one
calculates velocity and/or distance based upon the data, as           sample period (リ200 second) of the processor. Data 504
described in more detail below. Sensor 492 thus operates              illustrates data     over time t. Since T (in seconds)个 200
much like a MMD 150 described in FIG. 8, and receiver 492             samples=x samples are taken for each period T, then the sum
processes real time feeds of acceleration data to determine           of all of the A《200 for each of the x samples, divided by the
speed and/or distance. In the preferred embodiment, how­              number x, determines average velocity over period T. For
ever, sensor 482 internally processes acceleration data from          integrations over a period that is less than T, fewer samples
its accelerometer(s) to calculate velocity and/or distance as         (less than x) are used to c시culate velocity.
“event" data; it then wirelessly communicates the event data          [0296] Sensor 482 calculates and transmits its velocity
to receiver 492 as wireless data 493. Events are preferably           data to receiver 492. Velocity data  corresponds to period
queued and transmitted in bursts to receiver 492; however             T], velocity data     corresponds to period T» and so on.
events are typically communicated at each occurrence (i.e.,           Generally, because of processing time, sensor 482 in this
after each set of successive steps from A to B). Events are           example transmits       in period T?, transmits     during
preferably time tagged, as described above, to provide                period T3, and so on. Receiver 492 averages \“，over time,
additional timing detail at receiver 492.                             and communicates the average to the runner in useful units,
[0292] Generally, sensor 482 calculates a velocity and/or             e.g., fO mph or f5 kmph.
distance event after sensing two “impacts." Impacts 500 are           [0297] Note that if only one accelerometer is provided
shown in FIG. 38. Each impact is detected by the sensor^s             with each shoe 484, then calibration of velocity      may be
accelerometer; when shoe 484 strikes ground 486 during                made for sensor 452 by calibration against a known refer­
running, a shock is transmitted through shoe 484 and sensor           ence, e.g., by running after a car or running on a treadmill.
482; and sensor 482 detects that impact 500. An additional            More particularly, since the accelerometer is oriented in
accelerometer in sensor 482, oriented with sensitivity per­           various ways during a period T, other than along direction
pendicular to motion direction 491, may also be included to           491, then errors are induced due to the acceleration of
assist in detecting the impact; however even one acceler­             gravity and other forces. However, since V- is reported
ometer oriented along motion direction 490 receives jarring           sequentially to receiver 492, a correction factor may be
motion typically sufficient to determine impact 500.                  applied to these velocities prior to display on display 498.
[0293] Alternatively, sensor 482 calculates velocity and/or           By way of example, if one runner substantially maintains his
distance between successive low motion regions 502.                   shoes 484 level, such that accelerometers in sensors 492
Regions 502 correspond to when shoe is relatively stationary          maintain a constant orientation along direction 491 during
(at least along direction 491) after landing on ground 486            period T, then the reported \“ reasonably approximates
and prior to launching into the air.                                  actual velocity over that period. However if the runner
                                                                      points his shoes with toe towards ground 486, during period
[0294] Once impact 500 or low motion region 502 is                    T, then only a component of the detected acceleration vector
determined within sensor 482, sensor 482 integrates accel­            is oriented along direction 491. However, by c시ibrating
eration data generated by its internal accelerometer until the        system 480 against a known reference, a substantially true
next impact or low motion region to determine velocity; a             velocity for each period T may be obtained. Moreover, shoe
double integration of the acceleration data may also be               sensor 482 can have a different adjustment factor applied for
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different gaits (e.g., jogging or running, as shoe orientations           ment, when determined, defines a change of potential energy
during period T may vary for different gaits).                            that may be reported as work or caloric burn. For example,
                                                                          accelerometer 510 can include multiple axes, such that angle
[0298] Generally, a calibration for velocity is made at least             θ may be determined. By knowing vertical climb, even over
once for each shoe using the invention, to account for                    short distances, a work function is created. An inclinometer
variations in electronic components and other effects. Cali­              or angle measurement may also be integrated into such
bration also adjusts for the gait of the runner in orienting the          systems, and work functions may also be determined on a
accelerometer relative to ground 486. Preferably, like sev­               hill. Certain MMDs of the invention include for example
eral of the MMDs described herein, a battery powers sensor                speed detectors (e.g., accelerometers or Doppler radar
482; and that battery can be replaced once depleted. Implant­             devices) to determine speed. By using the hill angle for the
ing the MMD within shoe 484 is beneficial in that a fixed                 upward or downward movement, with speed, another work
orientation, relative to direction 491, is made at each land­             function is created associated with the climb or descent.
ing.                                                                      Such a work function can add to c시one consumption
[0299] To alleviate the problems associated with accelera­                calculations in fitness or biking applications. Such inven­
tion errors, one preferred sensor 482' for a shoe 484' is                 tions are also useful in determining whether the climb
shown in FIG. 39. Sensor 482' is shown in a side cross                    occurred on a hill or on stairs, also assisting the work
sectional view (not to scale); and motion direction 491' of               function c시culation.
the runner is shown in relation to accelerometer orientation              [0302] There are several advantages of the invention of
axes 506¢, 506Z? and ground 486'. Shoe 484' is shown flat on              FIGS. 36-39. The prior art such as 아lown in U.S. Pat. No.
ground 486' and generally having a sole orientation 487 also              6,052,654, incorporated by reference, describes a calculat­
at angle θ relative to accelerometer axis 506«. Sensor 482'               ing pedometer; but the system does not automatically cal­
has at least a two-axis accelerometer 510 (or, alternatively,             culate speed and distance as the invention does. Another
a three axis accelerometer, with the third axis oriented in               patent, U.S. Pat. No. 5,955,667, also incorporated herein by
direction 506c) as the sensor detector, with one axis 506。                reference, requires the use of a tilt sensor or other mecha­
oriented at angle θ relative to ground 486' (and hence                    nism that determines the angular orientation of accelerom­
relative to shoe sole 487 on ground 486'). Angle θ is chosen,             eters relative to a datum plane. The invention does not
preferably, such that accelerometer axis 506。maximally                    require tilt sensors or the continual determination of the
orients along axis 491' while the runner runs. Specifically,              angle of the accelerometers relative to a fresh datum plane.
since during a period T the toe of shoe 484' tips towards
ground 486' while running, then angle θ approximately                     [0303] FIG. 40 shows one runner speedometer system 520
orients that accelerometer such that its sensitive axis 506。is            constructed according to the invention. System 520 includes
parallel with axis 491' for at least part of period Tp Angle θ            a GPS monitor device 522, accelerometer-based monitor
can be approximately forty-five degrees. Other angles are                 device 524, and wrist instrument 526. Device 522 is similar
also suitable; for example an angle θ of zero degrees is                  to device 10 of FIG. 1 except detector 12 is a GPS chipset
described in connection with FIG. 37, and other angles up                 receiving and decoding GPS signals. Device 522 has a
to about seventy-five degrees may also function sufficiently.             processor (e.g., processor 12, FIG. 1) that communicates
Axis 506Z? is preferably oriented with sensitivity perpen­                with the chipset detector to determine speed and/or distance.
dicular to orientation 506«. Data from accelerometer 510 is               Speed and/or distance can be accurately determined without
communicated to low pass filter 511 and then to processor                 knowing absolute location, as in the GPS sensors of the prior
512 where it is sampled as data A^          (a, b, c representing         art. Speed and/or distance information is then wirelessly
the two or three separate axes 506fl-c of sensitivity for                 communicated, via its communications port, to wrist instru­
accelerometer 510). Data Ai a b c is then used to (a)                     ment 526 as wireless data 531. Instrument 526 is preferably
determine impacts 500 (and/or low motion regions 502), as                 a digit시 watch with functionality such as receiver 24, FIG.
above, and (b) determine \“ based upon             a b c f이' any          1. Preferably, device 522 clips into clothing pocket of the
given period T- (or for any part of a period T). Errors in V-             mnner^s shirt 53〇. As described above, system 520 includes
are corrected by processing the several components             a b        one or two accelerometer-based devices 524 in runner shoes
c of the acceleration data. If for example data A— is "zero"              532. Device(s) 524 in shoe(s) 532 augment GPS device 522
for part of period T, then either the shoe is at constant                 to improve speed and/or distance accuracy of system 520;
velocity, or stopped; or if A^ . is "one" then it is substantially        however either device 522, 524 may be used without the
oriented with the toe greatly tipped towards ground 486',                 other. Together, however, system 520 preferably provides
such that that accelerometer reads the acceleration due to                approximately 99% or better accuracy (for speed and/or
gravity only. Data -       may be used to determine which                 distance) under non-obscured sky conditions. Wrist instru­
physical case it is, and to augment the whole         data stream         ment 526 collates data from GPS device 522 and acceler­
in determining Vp                                                         ometer device(s) 524 to provide overall speed and distance
                                                                          traveled information, as well as desired timing and fitness
[0300] Once processor 512 determines \“ for period T^,                    data metrics.
then communications port 514 transmits \“ to the user^s
watch receiver (e.g., receiver 492, FIG. 37) as wireless data             [0304] Sy마em 520 thus preferably has at least one MMD
515. The watch receiver calculates a useful runner speed,                 524 attached to, or within, runner shoe 532; MMD 524 of the
e.g., f5 km/hour, and displays that to the user. Battery 516              preferred embodiment includes at least one accelerometer
powers sensor 482'.                                                       arranged to detect forward acceleration of runner 525. A
                                                                          processor within MMD 524 processes the forward accelera­
[0301] Note that the systems of FIG. 36, 37, 39 provide                   tion to determine runner speed. Additional accelerometers in
other benefits associated with upward or downward move­                   MMD 524 may be used, as described herein, to assist in
ment and work functions. Such upward or downward move­                    determining speed with improved accuracy. In the preferred
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embodiment, MMD 524 wirelessly transmits speed as wire­              additionally include tension measurement sensor 556 used to
less data 527 to wrist instrument 526, where speed is                measure tension of chain 558. Sensor 556 similarly accu­
displayed for runner 525. System 520 providing speed from            mulates, processes and transmits tension data to receiver and
a single MMD 524 can provide speed accuracy of about                 display 546. Device 546 preferably includes processing and
97%. To improve accuracy, a second MMD 524 (not shown)               memory elements (e.g., similar to receiver 231, FIG. lOG)
is attached to, or placed within, a second shoe 532; the             to accumulate and process data from one or more of sensors
second MMD 524 also determining runner speed. Speed                  542, 544, 548, 556 in the desired way for a user of system
information from a second shoe 532Z? is thus combined with           54〇.
speed information from shoe 532。to provide improved
                                                                     [0308] As alternatives to system 540, without departing
speed accuracy to runner 525; for example, the two speeds
                                                                     from the scope of the invention, those skilled in the art
from shoes 532¢, 532b are averaged. System 520 providing
                                                                     should appreciate that (f) sensor 542 may be combined with
speed from a pair of MMDs 524 can provide speed accuracy
                                                                     either of sensor 544 or receiver 546; (2) sensors 542 and 544
of better than 97%.
                                                                     may communicate through electrical wiring instead of
[0305] System 520 works as a runner speedometer with                 through wireless communications; (3) a GPS sensor provid­
MMD 524 (or multiple MMDs 524, one in each shoe 532).                ing earth location and altitude may instead provide the data
However, to improve accuracy of speed delivered to runner            of sensors 542, 544 for system 540; and (4) receiver and
525, a GPS chip device 522 is attached to clothing 530 of            display 546 may instead be a watch mounted to a user^s
runner 525. Device 522 may for example be placed within              wrist. Preferably, system 540 includes memory, e.g., within
a pocket of clothing 530, the pocket being in the shoulder           receiver and display 546, that stores gradient information
region so that device 522 has a good view of the sky. Device         associated with a certain ride on terrain, and then provides
522 processes successive GPS signals to determine a speed            a “trail difficulty" assessment for the stored data. Maximum
based upon successive positions. System 520 utilizing                and minimum gradients are also preferably stored and
device 522 thus provides enhanced speed to runner 525                annotated in memory for later review by a user of system
when using device 522. Speed from device 522 is commu­               54〇.
nicated to wrist instrument 526 where it is displayed for
                                                                     [0309] FIG. 42 shows a system 600 constructed according
runner 525. Preferably, instrument 526 uses speed from
                                                                     to the invention. System 600 is particularly useful for
device 522 when speed data is consistent and approximately
                                                                     application to spectator sports like NASCAR. System 600 in
similar to speed data from ED 524. Instrument 526 alterna­
                                                                     one application thus includes an array of data capture
tively combines speed data from device 522 and device 524
                                                                     devices 602 coupled to racecars 604. A data capture device
to provide a composite speed. If device 522 is obscured, so
                                                                     602 may for example be a monitor device as described
GPS sign시s are not available, then system 520 provides
                                                                     herein, with one or a plurality of detectors to monitor
speed to runner 525 solely from MMD 524 (or multiple
                                                                     movement metrics. As described below, data capture devices
MMDs 524, one in each shoe). As an alternative, device 522
                                                                     602 preferably have wireless transmitters connected with
can be integrated within a pocket in a hat worn by runner
                                                                     antennas to transmit wireless data 606 to listening receivers
525, such that device 522 again has an un-obscured view of
                                                                     608. Receivers 608 can take the form of a computer relay
the sky.
                                                                     608(2 and/or a crowd data device 608Z?, each of which is
[0306] FIG. 41 shows a computerized bicycle system 540               described below. In the preferred embodiment, data capture
constructed according to the invention. In use, system 540           devices 602 communicate wireless data 606 to computer
determines caloric burn or "work" energy expended, among             relay 608¢; and computer relay 608。relays select wireless
other functions described herein. System 540 includes fore/          data 610 to a plurality of crowd data devices 608Z?. However,
aft tilt sensor 542 and speed sensor 544; sensors 542, 544           data capture devices 602 can directly relay wireless data 606
determine then wirelessly transmit bicycle tilt information          to crowd data devices 608Z?, if desired, and as a matter of
and speed information, respectively, and as wireless data            design choice. Crowd data devices 608Z? are provided to
545, to receiver and display 546. A processor (not shown) in         spectators 612 during a sporting event, such as a NASCAR
receiver and display 546 combines data from sensors 542,             race of racecars 604 on racetrack 605. Devices 608Z? may be
544 to determine elevation change, and, hence, work energy           rented, sold or otherwise provided to spectators 612, such as
(e.g., change of potential energy); receiver and display 546         in connection with ticketing to access racetrack 605, and to
then displays work energy to a user of bicycle system 54〇.           sit in spectator stands 616. Data devices 608Z? may also be
Work energy may be converted to caloric burn, in one                 modified personal data devices or cell phones enabled to
embodiment of the invention. Sensor 542 may include a                interpret wireless data 606 and/or 610 for display of relevant
small gyroscope or an electrolytic type tilt device, known in        information to its owner-spectator. Access to data 606, 610
the art, as the detector for measuring bicycle tilt. Speed           in this manner is preferably accomplished contractu시ly such
sensor 544 is readily known in the art; however the combi­           that the cell phones or data devices have encoded informa­
nation of speed sensor 544 with other sensors of FIG. 41             tion necessary to decode wireless data 606 and/or 61〇.
provides new and useful data accord with the invention.
                                                                     [0310] Wireless data 606 can for example be at 2.4 GHz
[0307] System 540 can additionally include crank torque              since data capture device 602 may be sufficiently powered
measnrement sensor 548. Sensor 548 preferably includes a             from racecars 604. Wireless data 610 can for example be
strain gauge connected with bicycle crank 550 to measure             unlicensed frequencies such as 433 MHz or 900-928 MHz,
force applied to pedals 552 and wheels 554. Preferably, a            so that each crowd data device 608Z? may be powered by
sensor 548 is applied to each pedal so that system 540               small batteries such as described herein in connection with
determines the full effort applied by the cyclist on any             receivers for monitor devices. Wireless data 610 can further
terrain. Sensor(s) 548 accumulate, process and transmit              derive from cellular networks, if desired, to communicate
tension data to receiver and display 546. System 540 can             directly with a crowd data device. Wireless link 606 and 610
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can encompass two way communications, if desired, snch as                [0315] Data captured by device 608Z?' may be from one car
through wireless transceivers.                                           or from multiple cars 604. Car selection button 630 can be
[0311] Computer relay 608。may further provide data                       pressed to capture all data 606' from all cars, or only certain
directly to a display scoreboard 614 so that spectators 612              data from one car, or variants thereof. In one embodiment,
may view scoreboard 614 for information derived by system                the update rate transferred as wireless data 606' from any car
60〇. Scoreboard 614 may for example be near to spectator                 604' to any crowd data device is about one second; and so
stand 616.                                                               each device generally acquires data from one car at any one
                                                                         time and “immediately" (i.e., within about one second)
[0312] FIG. 43 shows one data capture device 602' con­                   acquires data from another car if selected by button 63〇.
structed according to the invention. Device 602' may be                  Alternatively, all data 606' from all cars 604 are communi­
attached to car 604' or integrated with car 604'. For purposes           cated and captured to each device 608か.This alternative
of illustration, car 604' is only partially shown, with wheels           mode however uses more data bandwidth to devices 608ケ.
605 and body 607. Preferably, device 602' is integrated with
existing car electronics 618. For example, car electronics               [0316] Accordingly, users of crowd data device 608Z?' may
618 typically include a speedometer and tachometer, and                  view performance and data metrics from any car of choice
other gauges for fuel and overheating. Device 602' thus                  during a race. Currently, spectators only have a vague feel
preferably integrates and communicates with car electronics              for what is actually happening to a car at a race between
618, as illustrated by overlapping dotted lines between items            multiple cars 604. With the invention, a spectator can
602' and 618. Device 602' also communicates desired metric               monitor her car of choice and review data personally
information to spectators 612 (either directly or through                desired. One spectator might for example be interested in the
computer relay 608の.Device 602' thus includes a wireless                 driver heart rate of one car; one other spectator might for
transmitter 620 and antenna 622 to generate wireless data                example be interested in the speed of the lead car; yet
606'.                                                                    another spectator might for example be interested in the
                                                                         temperature of the top four cars; most spectators are con­
[0313] Data relayed to spectators 612 can be of varied
                                                                         cerned about which car is the lead car. In accord with the
format. Device 602' can for example be a MMD with a
                                                                         invention, each spectator may acquire personal desired data
detector providing acceleration information. Acceleration
                                                                         in near real time and display it on individual crowd data
data in the form of "g's" and impact is one preferred data
                                                                         devices in accord with the invention. Data captured from
communicated to spectators 612 through wireless data 606'.
                                                                         system 600 can further be relayed to the Internet or to
Car 604' may in addition have accelerometers as part of car
                                                                         broadcast media through computer relay 608¢, if desired, so
electronics; and device 602' preferably communicates on­
                                                                         that performance metrics may be obtained at remote loca­
board acceleration data as wireless data 606'. Device 602'
                                                                         tions and, again, in near real time.
and car electronics 618 can for example include a speed­
ometer, accelerometer, tachometer, gas gauge, spin sensor,               [0317] The invention also provides for displaying certain
temperature gauge, and driver heart rate sensor. An on-board             data at display scoreboard 614. Computer relay 608。may in
computer can further provide position information about car              addition connect to race officials with computers that quan­
604' position within the current race (e.g., 4由 out of fifteen           tify or collate car order and other details like car speed. Such
racecars). Accordingly, device 602' collects data from these             data can be relayed to individuals through crowd data
sensors and electronic sources and communicates one or                   devices 608Z? or through scoreboard 614, or both.
more of the following information as wireless data 606':
racecar speed, engine revolutions per minute, engine tem­                [0318] System 600 may be applied to many competitive
perature, driver heart rate, gas level, impact, g^s, race track          sports. For example, when the data capture device is like a
position, and spin information. As described in connection               MMD, system 600 can be applied to sports like hockey,
with the monitor devices above, data 606' may be continu­                basketball, football, soccer, volleyball and rodeos. A MMD
ally transmitted or transmitted at timed sequence intervals,             in the form of an adhesive bandage, described above, is
e.g., every minute. Data 606' may also be transmitted when               particularly useful. Such a MMD can for example be applied
an event occurs, e.g., when a major impact is reported by a              with football body armor or padding, as illustrated in FIG.
device 602' (e.g., in the form of a MMD) such as when car                45. FIG. 45 shows a footb시1 player^s padding 650 with a
604' experiences a crash. A spin sensor also preferably                  MMD 652. MMD 652 can be applied external to padding
quantifies rollover rate, acceleration and total rotations (e.g.,        650, though it is preferably constructed internally to padding
four flips of the car is 1440 degrees).                                  65〇. MMD 652 operates like a data capture device 602 of
                                                                         system 600 (FIG. 42). MMD 652 can for example capture
[0314] FIG. 44 shows one crowd data device 608Z?' con­                   and relay impact information to spectators of a football
structed according to the invention. Device 608Z?' in one                game, where each of the players wears body armor or
embodiment is a cell phone constructed and adapted to                    padding such as padding 650, to provide performance met­
interpret information from wireless data 606' (or data 610).             rics for all players and to individual spectators. Impacts from
Device 608Z?' can also be a receiver such as receiver 24 of              blows between players may then be obtained for any player
FIG. 1. Device 608が preferably includes a display 621 to                 for relay to any spectator or user of the Internet according to
display metrics acquired from information within wireless                the teachings of the invention. Device 652 can alternatively
data 606' (and/or data 610). Communications port 623 and                 include other detectors, e.g., heart-rate detectors, to monitor
antenna 624 capture data 606' and/or 61〇. An internal                    fitness and tiredness levels of athletes in real time; prefer­
processor decodes and drives display 621. On-Off button                  ably, in this aspect, MMD 652 attaches directly to the skin
628 turns device 608Z?' on and off. Car selector button 630              of the player.
provides for selecting which car 604' to review data from.
Data mode button 632 provides for selecting which data to                [0319] Likewise, a MMD of the invention is effectively
view from selected car 604'.                                             used in rodeo, as 아lown in FIG. 46. Preferably one MMD
                                                                           77



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654 attaches to the saddle 656 of the animal 658 ridden in             attached to a bull or rider to monitor and report heartbeat. In
the rodeo (or to the horn of a bull, or to a rope attached to          one embodiment, a Kapton flex circuit 688 connects battery
the animal), and one MMD 660 attaches to the rider 662 on              690 to the PCBs 686, and PCBs 686 to one other, so as to
animal 658. Each MMD generates a signal, similar to signals            flexibly conform to the shape of the underlying object or
154, 156 of FIG. 8A. As such, data from each MMD 654,                  body. In one option, EMD or MMD 684 is all housed
660 can be compared to the other to assess how well rider              high-density foam or similar flexible housing 694; this can
662 rides in saddle 656. This comparison may be benefi­                maximize the EMD or MMD^s protection and allow it to be
cially used in judging, removing subjectivity from the sport.          worn close to the object of body. For example, such an EMD
For example, by attaching MMD 660 with the pant-belt                   or MMD 684 may be worn on the torso of a person, where
662A of rider 662, if signals from MMDs 654, 660 collate               accurate g-levels seen by the body can be measured. In one
appropriately, then rider 662 is efficiently riding animal 658.        embodiment, battery 690 is a plastic Lithium-ion power cell
Of course, one MMD 654 or 660 can 시so be used benefi­                  that has a malleable plastic case with any variety of form
cially to report metrics such as impact to the audience.               factor. Other batteries may also be used, in accord with the
                                                                       invention.
[0320] FIG. 47 아lows a representative television or video
monitor display 678 of a bull 670 and bull rider 672, as well          [0323] The invention of one preferred embodiment
as a plurality of MMDs 674A-D attached thereto to monitor              employs data taken from monitor devices such as described
certain aspects of bull and rider activity, in accord with the         above and applies that data to video games, arcade games,
invention. Display 678 also includes a graphic 676 provid­             computer games and the like (collectively a "game") to
ing data from one or more of MMDs 674 so that a view of                “personalize" the game to real ability and persons. For
display 678 can review movement metric content associated              example, when a monitor device is used to capture airtime
bull and/or rider activity. In exemplary operation, MMD                (and e.g., heart rate) of a snowboarder, that data is down­
674A is attached to back rope 680 so as to monitor, for                loaded to a database for a game and used to “limit" how a
example, rump bounce impacts and frequency; MMD 674B                   game competitor plays the game. In this way, a snowboard
is attached to rider rope 682 so as to monitor, for example,           game player can compete against world-class athletes, and
loosening of the grip of rider 672 onto bull 670; MMD 674C             others, with some level of realism provided by the real data
is attached to bull horn 684 so as to monitor, for example,            used in the game.
bull head bounce and frequency; and MMD 674D is
attached to rider 672 so as to monitor, for example, rider             [0324] More particularly, one missing link in the prior art
bounce and frequency, and impact upon being thrown from                between video games and reality is that one a person can be
bull 670. A sensor (not shown) may also attach to the rider^s          great at a video game and relatively poor at a corresponding
foot or boot, if desired. MMDs 674 can for example be                  real sport (e.g., if the game is a snowboard game, the player
coupled to a reconstruction computer and receiver 152 of               may not be a good snowboarder; if the game is a car race,
FIG. 8A, so as to process multiple MMDs 674 and to report              the person may not be a good race car driver; and so on).
meaningful data to a television, scoreboard and/or the Inter­          With performance metrics captured as described herein, the
net. Data collected from MMDs 674 in one embodiment are                data is applied such that an entirely new option is provided
collated and stored in a database so as to characterize bull           with games. As known in the art, games take the form of
strength and throwing efficiency over time. For example, by            PLAYSTATION, SEGA, GAMEBOY, etc.
looking at magnitude and frequency of acceleration data
                                                                       [0325] In operation the invention of the preferred embodi­
from MMD 674C over time for a particular bull provides
                                                                       ment works as follows. Individuals use a monitor device to
detail as to how the bull behaves over time. Professional bull
                                                                       measure one or more performance metrics in real life. Data
riding media can then better gauge which bulls to use for
                                                                       from the monitor devices are then downloaded into a game
which riders and events.
                                                                       (or computer running the game) for direct use by the game.
[0321] Those skilled in the art should also appreciate that            Data used in the game may be averaged or it may be the best
MMDs 674 can include different detectors providing data                score for a particular player. By way of example, when the
desired by sports media. For example, if the MMD contains              performance metric is ''airtime", the option applied to the
a linear accelerometer, linear motion forces are reported; if          game allows the game player (typically a teenager) to
the MMD contains a rotational accelerometer, rotational                measure a certain number of airtimes, in re시 life, and
forces are reported. These MMDs may be placed on various               download them into the game so that the air the game player
parts of bull 670 or rider 672, such as on the body and head.          'catches^ during the game corresponds to his real airtime
Data from MMDs may be relayed to television, scoreboards               (e.g., best airtime, average airtime, etc.). Data used in games
and/or the Internet. Data collated on the Internet preferably          can be collated and interpreted in many ways, such as an
includes bull and rider performance summaries.                         mdividu시's best seven airtimes of a day or a personal all
                                                                       time record for an airtime jump.
[0322] FIG. 48 shows one EMD or MMD 684 constructed
according to the invention. EMD or MMD 684 has specific                [0326] The effect of the invention applied to games is that
advantages as a “wearable" sensor, similar to MMD 10",                 game users are somewhat restricted in what they can do. In
FIG. 2. EMD or MMD 684 utilizes “Hex strip"688 (known                  a ski game, for example, a kid that does not have the natural
in the art) to mount mini-PCBs 686 (devices 686 can also be            athletic ability to do flips will not, if the option is selected,
silicon chips) directly thereto. As a whole, EMD or MMD                be permitted to perform flips in a game. Competitions within
684 can "wrap" about objects and persons to fulfill the                games then become far more real. If a kid catches only one
variety of needs disclosed herein. By way of example, EMD              second of airtime, on average, then it is unlikely that he can
or MMD 684 is useful for comfortable attachment to the                 catch three seconds of airtime like Olympic athletes; accord­
rodeo rider 662, FIG. 46, such as to monitor and report                ingly, when the gaming option is selected, those kids will not
“impact" events. Another such EMD or MMD 684 may be                    be permitted within the game to throw airtime (and corre­
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sponding tricks that require like airtimes) of three seconds or        [0331] FIG. 49 shows one network gaming system 700
higher, for example. The game restricts them to doing tricks           constructed according to the invention. System 700 operates
that could actu시ly be completed in their normal airtime.               to collect data from one or more monitor devices 702, such
[0327] There would of course still be elements making the              as through an Internet connection 703 with multiple home
game unrealistic, and fun. The invention applied to games              users of devices 702. A server 704 collates performance data
does however add a measure of realism to the games. For                and relays parameters to games. By way of example, server
example, limiting a game to airtime may restrict movements             704 relays these parameters to a computer game 705 through
to certain types, e.g., one flip instead of two. This is one           Internet connection 706. Game 705 includes a real personal
example of how the invention applied to games makes the                data module 708 that stores parameters from server 704.
game much more real. Another gaming option is to permit                Users of computer game 705 may select an option to invoke
the gaming user to expand their current real performance by            the parameters of module 708, thereby limiting the game as
some percentage. For example, a gaming user can instruct               described above.
the game to permit fOO% performance boost to his real data             [0332] As an alternative, users of devices 702 may directly
in competitions in the game. In this way, the gaming user              download game parameters to computer game 705, as
knows how far off his real performance is from gaming                  through a local data link 71〇. Users may also type game
performance. If for example it takes a 120% performance                parameters directly into module 708. In either case, com­
boost to beat a well-known Olympic athlete, then she knows             puter game 705 has real limiting functions to gaming actions
(at least in some quasi-quantitative measure) how much                 via the invention. Preferably server 704 controls the down­
harder she will need to work (i.e., 20%) to compete with the           load of data to computer game 705 so that data is controlled
Olympic athlete.                                                       and collated in a master database for other uses and com­
[0328] Similar limitations to the games may be done with               petitions.
other metrics discussed herein, including drop distance,               [0333] System 700 can further network with an arcade
speed and impact, heart rate and other metrics. For example,           game 720 in a similar manner, such as through Internet
by acquiring “impact" data through a MMD of the invention,             connection 718. Real performance data is again stored in
it is known how much impact a particular athlete achieves              real personal data module 722 in game 720 (or at the
during a jump or during a particular activity. By way of               computer controlling game 720) so that users have restric­
example, by collecting impact data from a boxer or karate              tions upon play. User ID codes facilitate storing and access­
athlete, it is roughly known the magnitude of impacts that             ing data to a particular person. In this way, users of arcade
that person endures. Such limitations are applied to games,            games can access and limit their games to real data associ­
in accord with other embodiments of the invention. Accord­             ated with their skill. Competitions between players at arcade
ingly, a video game competitor may be limited to actions               games, each with their own re시 personal data in play,
that he or she can actually withstand in real life. Spin rates         increase the competitiveness and fairness of game playing.
too can limit the game in similar ways.
                                                                       [0334] FIG. 50 illustrates a simplified flow chart of game
[0329] In the preferred embodiment of the invention, data              operation such as described above. A start of a game
from monitor devices applied to persons are downloaded as              maneuver starts at step 730. A start may be initiated by a joy
performance metrics into games. These metrics become                   stick action, or button action, for example. Prior to perform­
parameters that are adhered to by the player if the gaming             ing the action, the game compares the desired game maneu­
option is selected within the game. The ability to play the            ver with real personal data, at step 732. At step 734, a
game, and the moving of the correct buttons, joystick or               comparison is made to determine whether the requested
whatever, is thus linked to the real sport. By way of example,         maneuver is within preselected limits (e.g., within a certain
PLAYSTATION has a 'world championshipfor the games.                    percentage from real personal data) related to the real
In accord with the invention, game players may now com­                personal data. If the answer is yes, then the game performs
pete with their ability tied to competitions within the game,          the maneuver, at step 736. If the answer is no, then the game
making it much more realistic on the slopes, vert ramp or              modifies, restricts or stops the maneuver, at step 738.
other game obstacle.
                                                                       [0335] FIG. 51 shows one speed detection system 800
[0330] In accord with one embodiment, systems like sys­
                                                                       constructed according to the invention. System 800 includes
tem 600 are also effectively applied to “venues" like
                                                                       a ticket reader 802 for each ski lift 804. For example, reader
skateparks. The data capture devices (preferably in the form
                                                                       802-1 covers ski lift 804-1 to read tickets of persons riding
of MMDs) are applied to individual users of the venue, e.g.,
                                                                       ski lift 804-1; reader 802-2 covers lift 804-2 to read tickets
skateboarders. Data acquired from the users are transmitted
                                                                       of persons riding lift 804-2. Lift 804-1 carries persons (e.g.,
to a computer relay that in turn connects directly to game
                                                                       skiers and snowboarders) between locations "A" and "B";
providers or Internet gaming sources. The venues are thus
                                                                       lift 804-2 carries persons from locations “C" to "D". These
linked to games. Resorts with venues such as terrain parks
                                                                       persons travel (e.g., by ski or snowboard) from location B to
are thus incentivized to make their venue part of the gaming
                                                                       A by approximate distance B-A, from location B to C by
world, where kids play in their park in synthesized video,
                                                                       approximate distance B-C, from location D to A by approxi­
and then actu시ly use the venue to acquire data for use with
                                                                       mate distance D-A, and from location D to C by approxi­
the game. By tying competitors together from real venues to
                                                                       mate distance D-C.
gaming, a real venue and a game venue become much more
alike. Stigmas associated with playing games may also be               [0336] Approximate distances B-A, B-C, D-A, D-C are
reduced because gaming is then tied to reality and kids can            stored in remote computer 806. Specifically, computer 806
participate in meaningful ways, both at the venue and within           has memory 808 to store distances B-A, B-C, D-A, D-C.
the game. Kids can then compete based upon real ability at             Computer 806 and readers 804 preferably communicate by
both the game and in real life.                                        wireless data 810-1, 810-2; thus computer 806 preferably
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has antenna 812, and associated receiver and transmitter                where the damage occurred, is stored in memory 846. As
814, to facilitate communications 81〇. Computer 806 further             described herein, other detectors 844 may be used to gen­
has a processor 816 to process data and to facilitate control           erate “events" (e.g., a spin event, or an airtime event,
of computer 806.                                                        temperature, humidity, flip-over events, etc.) in conjunction
                                                                        with GPS 아lip 842. Data in memory 846 is relayed to a
[0337] A representative reader 802' is shown in FIG. 52.
                                                                        receiver 850 having data access codes of device 84〇. Alter­
Reader 802' has an antenna 820 and transmitter/receiver 822
                                                                        natively, data is communicated to receiver 850 by wireless
to facilitate communications 810' with computer 806.
                                                                        and timed-sequence transmissions. Communications ports
Among other functions, reader 802' reads ski lift tickets such
                                                                        852, 854 facilitate data transfers 860 between device 840
as ticket 826 of a person riding lifts 804 via a scan beam 807.
                                                                        and receiver 85〇. Transfers 860 may be one way, or two­
Ticket 826 usually includes a bar code 828 read by reader
                                                                        way, as a matter of design choice. A clock 862 may be
802'.
                                                                        incorporated into device 840 to provide timing and/or real­
[0338] In operation, a ticket 826 is read each time for                 time clock information used to time tag data events from one
persons riding lifts 804. A time is associated with when the            or both of detector 844 and GPS 아面 842. As above, a
ticket is read and logged into computer 806. When that ticket           battery 864 serves to power device 84〇. A processor 848
826 again is read, e.g., either at lift 804-1 or 804-2, a second        serves to manage and control device 840 to achieve its
reading time is logged into computer 806. Processor 816 of              functionality.
computer 806 then determines speed based upon (a) the two
                                                                        [0342] FIG. 54 아lows a system 866 suitable for use with
reading times, (b) the approximate lift time for the appro­
                                                                        a device 840, or with other MMDs or EMDs disclosed
priate lift 804, and (c) the distance traveled (i.e., one of
                                                                        herein. System 866 has particular advantages in the shipping
distances B-A, B-C, D-A, D-C). For example, suppose a
                                                                        industry, wherein a device 865 (e.g,. device 840, or one or
person enters lift 804-1 at 9 am exactly and enters lift 804-2
                                                                        more EMDs or MMDs) attaches to a package 867 (or to the
at 9:f4 am. Suppose lift 804-1 takes ten minutes, on average,
                                                                        goods 868 within package 867) so that system 866 can
to move a rider from A to B. Accordingly, this person
                                                                        monitor data associated with shipment of goods and package
traveled distance B-C in four minutes. If distance B-C is two
                                                                        868, 867. Multiple devices 865 may be attached to package
miles, then that person traversed distance B-C with a speed
                                                                        867 or goods 868 as needed or required to obtain the data of
of 30 mph. If the resort where system 800 is installed sets a
                                                                        interest. Certain data determined by device 865, during
maximum speed of 25 mph for the mountain 801, then that
                                                                        shipment, include, for example, impact data or g^s, tempera­
person exceeded the speed and may be expelled from the
                                                                        ture, data indicating being inverted, humidity and other
resort. Note further that the resort may specify speed zones,
                                                                        metrics. In sum, one or more of these data are wirelessly
corresponding to each of the paths B-A, B-C, D-A, D-C. If
                                                                        communicated, as wireless data 863, to an interrogation
for example path B-Ahas a wide path, then a speed may be
                                                                        device reader 869 to assess the data corresponding to
set at 30 mph. A person successively repeating lift 804-1
                                                                        shipment conditions and/or abuse of package 867 and/or
may thus be checked for speeds exceeding 30 mph. If on the
                                                                        goods 868. Data 863 preferably includes “time tag" data
other hand path D-A has a lot of trees, then a speed of 20
                                                                        indicating when a certain “event" occurred, e.g., when goods
mph may be set; and a rider who rides lift 804-2 and arrives
                                                                        868 experienced a fO g event. Preferably, data from reader
at lift 804-1 can be checked for violations along route D-A.
                                                                        869 is further relayed to a remote database 871 so that
[0339] When a ski lift 804 stops, then additional time is               system 866 may be operated with other similar systems 866
added to that person^s journey. A feedback data mechanism               so as to monitor a large amount of packages and goods
tracking lift movement can augment data in computer 806 to              shipments at different locations. Damaged goods can for
adjust skier speed calculations on dynamic basis.                       example be evaluated by any reader 869 and recorded into
                                                                        a common database 871 by the controlling company.
[0340] Note that system 800 serves to replace or augment
sensor 231' of FIG. 101. Since sensor 231' independently                [0343] The invention of FIG. 54 thus has certain advan­
determines speed, then reader 802 may for example read                  tages. Companies that ship expensive equipment 868 have
sensor 231' to see whether speeds were exceeded for one or              an incentive to prove to the receiver that any damage
more zones. Sensor 231' may instead have a visual indicator             incurred was not the result of faulty packaging 867 or
which is triggered when a person exceeds a speed limit in               unsatisfactory production and assembly. Also, shipment
any of zones for B-A, B-C, D-A, D; and a human operator                 insurers want to know when and where damage occurs, so
sees the indicator when there is a violation.                           that premiums may be adjusted appropriately or so that
                                                                        evidence may be offered to encourage the offending party to
[0341] As shown in FIG. 53, one monitor device 840 of
                                                                        improve handling procedures.
the invention incorporates a GPS receiver chip 842 to locate
device 84〇. Device 840 is preferably integrated with an                 [0344] The monitor devices of the invention have further
adhesive strip such as discussed in FIG. 2. Device 840 also             application in medicine and patient health. One monitor
preferably “powers on^^ when opened and dispensed, such as              device 870 of the invention is shown in FIG. 55. Specifi­
shown in FIGS. 4 and 10. In operation, device 840 is                    cally, device 870 attaches to a baby^s body 872 (e.g., to a
generally applied to persons or objects to assess, locate and           baby^s chest, throat, leg, arm, buttocks or back) to monitor
log “events". By way of example, by attaching device 840                movement such as respiratory rate, pulse rate, or body
to a new computer shipped to a retailer, an impact event may            accelerations. Device 870 of the preferred embodiment
be recorded and stored in memory 846 by an accelerometer                synchronizes to repetitive movements (e.g., pulse rate or
detector 844, as described above, and a location associated             respiratory rate) and generates an “event" in the absence of
with the impact event is also stored, as provided by GPS chip           the repetitive movements. Device 870 can for example be
842. As such, for example, the exact amount of damage                   device 10比 FIG. 2E, facilitating easy placement on the
received by the computer, as well as the exact location of              infant by the adhesive strip (which is also beneficially
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sterilized) to measure heart rate as an event. Device 870 can          invention. At start 884, the device is unwrapped and/or
alternatively be a monitor device using a microphone to                dispensed from a container. The device is then applied to a
detect “breathing" as a health metric for the infant. Regard­          baby^s body, preferably as an adhesive bandage package, in
less of the metric, the event reported by device 870 is                step 886. Once applied, the device synchronizes to baby
preferably communicated immediately as wireless sign시s                 body movement (such as repetitive movements associated
874 to a remote monitor 876, with an antenna 878 to receive            with pulse or respiratory rate), breathing sounds or heart
signals 874. Monitor 876 is preferably portable so as to be            rate, in step 888. The device then searches for “events" in the
carried with the infanf s parents. Monitor 876 generates an            form of the absence of repetitive signals, indicating for
audible or visual alarm when an event is received from                 example the danger of an absence of pulse, heart rate or
signals 874. Device 870 seeks to address the very realistic            respiration, in step 89〇. In step 892, the monitor device
concern of parents relative to Sudden Infant Death Syn­                generates a wireless sign시 as a warning; that sign시 is
drome, or other illnesses. Device 870 preferably relays a              received at a remote receiver at step 894. Once received,
warning event data to alarm monitor 876 within seconds of              remote receiver generates an audible alarm (e.g., a buzzer
detecting trouble with the infant. For example, if device 870          sounds) or visible alarm (e.g., an LED is lit), in step 896.
detects the absence of heart rate or breathing, the alarm at           Preferably, steps 890-896 occur in less than one or several
monitor 876 is made in near real time.                                 seconds (e.g., less than five or ten or fifteen seconds). Once
                                                                       the alarm occurs, a parent checks the infant (step 898) to
[0345] Like other monitor devices herein, device 870 has               determine whether the 시arm is real and, if needed, to
a detector 870。to detect the desired metric. For purposes of           administer aid. If for some reason the alarm was incorrect,
illustration, other elements such as the device^s communi­             the remote receiver is reset (step 898) and the monitor device
cations port and processor are not shown, though reference             continues to assess distressing situations to generate events.
may be made to FIG. 1 to construct device 87〇. In one
embodiment, detector 870。is a piezoelectric element that               [0349] As an alternative, the detector of the monitor
generates a voltage signal at every pulse or breath of baby            device (FIG. 55) is a temperature (or alternatively a humid­
872, such as 아lown and described in FIG. 7-7B. Detector                ity) detector, and the alarm monitor merely tracks infant
870(2 may alternatively be an accelerometer arranged to                temperature for worried parents; such a device is useful for
sense accelerations of the infanfs chest (or other body                sick infants in particular. The temperature sensor can be
portion); and thus chest (or other body portion) accelerations         coupled with other detectors (e.g., heart rate) to provide
are used to determine the repetitive signal (or simply move­           multiple functions, if desired.
ment or absence of movement). Preferably, the sensitive axis
of the accelerometer is perpendicular to baby body 872. For            [0350] The MMDs and EMDs of the invention thus have
example, such an accelerometer can be used to sense accel­             several other advantages. They may be used discretely and
erations of the baby^s chest, rising and filing. In still              safely as medical diagnostic and monitoring detectors. With
another embodiment, detector 870。is a force-sensing resis­             appropriate detectors, EMDs of the invention can for
tor or electro-resistive element generating signals responsive         example provide for portable, wireless pulse oxymeters or
to force or weight applied to device 87〇. Such a device is             blood glucose monitors. With the appropriate detectors in
useful to sense when baby body 872 rolls onto device 87〇.              MMDs, rehabilitation clinicians would be able to quantita­
Yet another detector 870。is a Hall Effect detector; that               tively monitor metrics such as limb movement and balance.
detector within device 870 detects when baby body 872                  EMDs equipped with certain detectors may find use as real
inverts, that is when the baby rolls over. A roll over event is        time, remote and inexpensive pH monitors and blood gas
one particular event of interest by parents; and in this               monitors.
embodiment, a warning signal 874 is generated at each roll             [0351] One MMD 900 of the invention and useful in
over. Detector 870。can alternatively be a microphone; and              medical applications is shown in FIG. 57. MMD 900 is
the device^s processor processes the sound data to detect              similar to device 10 of FIG. 1, but in addition (or alterna­
recurring audible data indicative of breathing sounds.                 tively) has a detector 902 that senses weight. Detector 902
[0346] Preferably, device 870 is integrated with an adhe­              for example is a force sensing resistor or electro-resistive
sive strip 880; and device 870 and strip 880 form an                   device. Preferably, MMD 900 is applied to one or more
adhesive bandage monitor device such as described above in             locations at the bottom of a human foot 906 via attachment
connection with FIGS. 2-2D, 8C. Device 870 and 마rip 880                with adhesive strips 908. Those skilled in the art should
are also preferably packaged so as to “power on" when                  appreciate that MMD 900 can alternatively be located at
dispensed or used. A wrapper such as described in FIGS.                other locations on the human body. On the occurrence of an
4-4A may be used; or preferably device 870 and wrapper                 ''event", MMD 900 generates wireless signals 910 for
880 dispense from a canister 200, 200' such as described               receipt at a remote receiver 912, here shown in the form of
above in FIGS. lO-lOF. In this way, device 870 is conve­               a watch with antenna 914. Watch 912 is generally worn by
niently dispensed and applied to baby body 872, and without            the person having foot 906.
contamination and germs.                                               [0352] MMD 900 is preferably in the form of a MMD lOz
[0347] Those skilled in the art should appreciate that                 of FIGS. 2B-2C, though with a weight sensing detector. In
device 870 may also attach to the infant in a variety of places        operation, MMD 900 is first calibrated: all the weight of
depending on the parenfs desire. Device 870 may for                    person with foot 906 is applied to MMD 900 so that detector
example attach to the back or bottom of the infant, and                902 is calibrated to that entire weight. Alternatively, a
generate an event for every time the infant rolls over.                separate weight simply calibrates MMD 900. Thereafter,
                                                                       MMD 900 generates "events" corresponding to fractions of
[0348] FIG. 56 아lows a flowchart of steps associated with              the entire weight that the person with foot 906 applies to
applying and using one monitor device according to the                 MMD 900. For example, one MMD 900 generates wireless
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data 910 each time MMD 900 experiences at least one-                    in determining weight loss. By way of example, a runner
fourth the entire weight; that data 910 is converted and                may use shoe 956 to determine weight loss in ounces,
displayed on receiver 912, as shown. In this way, when a cast           informing the runner that he or she should drink replacement
is applied to a person, MMD 900 may be applied nnder foot,              water. Accordingly, in the preferred embodiment, a runner
so that the person may obey doctor^s orders to put no more              first calibrates his or her weight prior to a race; then system
than % weight on foot 906, for example. As an alternative,              950 reports weight loss relative to the c시ibrated weight.
MMD 900 is already calibrated to certain weights, e.g., 200             Those skilled in the art should appreciate that alternatives
lbs, f80 lbs, etc. A precalibrated MMD 900 may then be                  from the foregoing may be achieved without departing from
applied to 200 lbs persons to generate events as needed. For            the scope of the invention.
example, an MMD 900 is nsed effectively to generate an
event, to inform the person, that % or % of the person^s entire         [0356] FIG. 60 아lows one force-sensing resistor 960
weight is on one foot.                                                  suitable for use with the systems and/or MMD of FIGS.
                                                                        57-59. Resistor 960 includes resistive material 962 and
[0353] A weight sensing MMD may also take the form of                   interdigitated contacts 964A, 964B; material 962 forms an
MMD 920, FIG. 58. Here, MMD 920 has an array of                         electrical path between contact 964A and contact 964B. In
detectors 922. Detectors 922 may be force sensing resistors             operation, a force applied to resistor 960 increases the
or other weight sensitive elements. Detectors 922 collec­               conductivity in the path between contacts 964A, 964B. By
tively and electrically couple to processor 924. Other ele­             measuring resistance or conductance between contacts
ments (not shown) connect with processor 924, e.g., a                   964A, 964B, the applied force onto resistor 960 is known.
communications port and battery, snch as monitor device 10              Typically, resistor 960 is c시ibrated so that a particular
of FIG. I. In operation, MMD 920 senses weight applied to               resistance translates into and applied force; as such, a
foot 930 while walking or standing. Over time, MMD 920                  processor such as processor 954 or 924 may be used to
ascertains the actual weight of the person of foot 93〇. Once            monitor and report force at any given time. In one embodi­
weight is determined, MMD 920 relays weight information                 ment, force is reported to users in pounds, providing a
to a remote receiver, e.g., watch 940 with antenna 9400 via             typically used weight designation for such users.
wireless signals 942. Receiver 940 displays pertinent data,
e.g., what fractional weight is applied onto foot 93〇.                  [0357] Preferably, resistor 960 includes flexible polymers
                                                                        as active spring agents as the sensing element for loading
[0354] In this way, a person may track his or her weight at             conditions. Such polymers provide load-sensing resistors
any time. MMD 920 and receiver 940 may also communi­                    with enhanced performance and with preferable mechanical
cate two-way, so that watch 940 queries MMD 920 for                     characteristics.
weight data, thereby conserving battery power. Those skilled
in the art 아lould appreciate that MMD and receiver 920, 940             [0358] FIG. 61 아lows another weight sensing device 970
may be configured differently and still be within the scope             constructed according to the invention. Device 970 is
of the invention. In one embodiment, MMD 920 is inte­                   formed of a shoe 972 and includes a fluid cavity 974 that
grated with a shoe pad insert to fit into any shoe. Alterna­            displaces and pressurizes with applied force一a force such
tively, MMD 920 is integrated directly into a shoe, as shown            as provided by a user wearing shoe 972. A pressure sensor
in FIG. 59. Detector 922 may also have fewer or more                    976A coupled with cavity 974, through a small conduit 975,
detectors depending upon design placement of detectors                  measures pressure. A processor (e.g., processor 954, 924
relative to foot 930; that is, a single detector can be nsed to         above) coupled with sensor 976A monitors pressure signals
measure weight if arranged to accurately detect all or part of          and converts the sign시s to weight. As above, preferably
a person^s weight. In such a configuration, MMD 920 may                 device 970 is calibrated such that a particular pressure
take the form of an adhesive bandage monitor device with a              corresponds to a particular weight. Preferably, and for
single detector and applied to the sole of a foot, as shown in          increased accuracy, cavity 974 does not completely displace
FIG. 57. Preferably, weight is c시ibratcd prior to use (e.g.,            away from any portion of cavity 974 when a user applies
when shoe is lifted off the ground) so that weight is                   weight to cavity 974 while wearing shoe 972.
determined relatively. In another embodiment, selectively
                                                                        [0359] As an alternative to a single cavity 974, cavity 974
positioning elements 922 to high impact areas of foot 930
                                                                        can also be made up of separate fluid cells, as exemplified
(e.g., at the ball and heel of foot 930), the invention monitors
                                                                        by sections 974A, 974B, 974C, and 974D, and multiple
impact and improper walking or running events so as to
                                                                        sensors 976A, 976B. In this embodiment, cavity membrane
provide corrective feedback to users or doctors.
                                                                        walls 978 separate sections 974A, 974B, 974C, 974D;
[0355] FIG. 59 shows a shoe-based weight sensing system                 optionally two or more of sections 974A, 974B, 974C, 974D
950 constructed according to the invention. System 950 has              have an individual pressure sensor monitoring pressure of
one or more weight sensing detectors 952 coupled to a                   the particular section, such as sensor 976Afor section 974D
processing section 954 (and, as a matter of design choice,              and sensor 976B for section 974C. This embodiment is
other components such as shown in device 10 of FIG.                     particularly useful in providing highly accurate weight sens­
I)一all arranged with a shoe 956 (or within an insert for shoe           ing for a user of shoe 972. Each fluid cell 974A-D may for
956). In operation, shoe 956 generates wireless signals 958             example have differing pressurization characteristics to
for a remote receiver (e.g., watch 940, FIG. 58) to inform              manage the overall weight application of a human foot. For
the person wearing shoe 956 of his or her weight or weight              example, cells 974B, 974C may be formed with higher
loss. By integrating a transceiver and antenna 959 with                 pressure cavities as they are, respectively, under the ball or
processing section 954, the remote receiver interrogates                heel of the foot and likely have to accommodate higher
shoe 956 for weight information. In this way, health con­               pressures (i.e., higher applied weight to those sections). In
scious persons can wear shoe 956 and learn of their weight              either event, a processor connected to the several pressure
at any desired time. Such a shoe 956 is for example useful              sensors 976A, 976B beneficially determines weight as a
                                                                          82



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combination of different pressnres of the different flnid cells.        [0364] FIG. 63 shows a professional wrestling rink sys­
Alternatively, a single pressnre sensor 976Amay be used to              tem 1100 constructed according to the invention. System
sequentially measure pressure from various fluid cells 974A-            1100 has a rink 1102 within which professional wrestlers
D; and the processor (not shown) then determines weight                 compete (often times theatrically). Adjacent rink 1102 are
based upon the several measurements.                                    tables 1104 and chairs 1106, sometimes used in conjunction
[0360] Those skilled in the art should appreciate that the              with rink 1102 (e.g., items 1104 and 1106 are sometimes
number of cells 974A-D, and the number of sensors 976A,                 used to smash over a wrestler as part of a performance). A
976B, are a matter of design choice and do-not depart from              plurality of sensors (e.g., MMDs or EMDs) 1108 are placed
the scope of the invention; more or fewer cells 974 or                  (attached, stuck to, etc.) throughout rink, table and/or chairs
sensors 976 may be used without departing from the scope                1102, 1104, 1106. For example, in one preferred embodi­
of the invention. Those skilled in the art should also appre­           ment a plurality of MMD sensors 1108 are placed under rink
ciate that a shoe insert can alternatively house cavity 974             canvas 1110, such as at positions marked "X", so as to report
(and/or sections 974A, 974B); for example, shoe 972 can for             “impact" of wrestlers in rink 1102. MMD sensors 1108 may
example be a shoe insert instead of a shoe一constructed and              also be placed on one or more of the corner posts 1112 or
arranged such that a user applies weight on cavity 974 in use.          ropes 1114一used to form rink 1102. Sensors 1108 are
[0361] A weight-sensing device of the invention, for                    shown illustratively in a few positions about items 1102,
example as set forth in FIG. 61 may benefit from additional             1104, 1106, 1110, 1112, 1114 for purposes of illustration一
information such as temperature, as fluid pressure charac­              when in reality such sensors 1108 would be difficult to see,
teristics vary with temperature. Accordingly, in one embodi­            or would be hidden from view (for example, sensors 1108
ment of the invention, an additional detector is integrated             are preferably under canvas 1110).
with the processor to monitor temperature. As such, a device
970 for example can include one or more pressure detector               [0365] Data from sensors 1108 typically include informa­
976 and a temperature detector (not shown), both of which               tion such as impact, as described above. Events associated
input data to the processor for processing to determine                 with “impact" are communicated wirelessly to a receiving
weight applied to cavity 974 (or sections 974A-D).                      computer 1120 as wireless data 1122. Data 1122 for example
[0362] FIG. 62 shows an alternative arrangement of fluid                includes digital data representing impact data received at
sections 974' (e.g., shown as fluid sections 976', 1000,1004)           any of sensors 1108 when wrestlers hit canvas 1110, move
integrated with a shoe insert 972'. Preferably, sections 974'           ropes 1114, or hit post 1112. Receiving computer 1120
are integrated within insert 972', though FIG. 62 shows                 preferably has an antenna 1124 and communications port
sections 974' external to insert 972' for purposes of illustra­         1126 to receive data 1122. Computer 1120 typically re­
tion. In operation, a user stepping on insert 972' pressurizes          processes and then retransmits data 1122 to a media site
the various sections 974'一and a processor (not shown)                   1129, such as television, scoreboard or the Internet, so that
determines weight based upon pressure data from pressure                viewers may see data 1122 associated with wrestling at rink
sensors 976' connected with the various sections 974'.                  1102. Since wrestling in and about rink 1102 is often based
Higher pressure areas 1000 and lower pressure areas 1002                on choreographed action, computer 1120 preferably includes
are then preferably measured by separate pressure sensors               a data manipulation section 1130 which post processes data
976'. One or more pressure conduits 1004 may be used to                 1122 in predetermined ways. For example, section 1130 may
couple like-pressure areas so that a single sensor 976'                 apply an exponential or quadratic function to data 1122 so
monitors a single like-sensor area.                                     that, in effect, and by way of example, a 25 g impact on
[0363] The invention thus has several advantages in regard              canvas 1110 is reported as a 25 g impact, but a 50 g impact
to weight loss, monitoring and human fitness. In accord with            on canvas 1110 is reported as a 1000 g impact.
the above invention, a user of a weight monitoring system or            [0366] Section 1130 may also manipulate data for a par­
device disclosed herein can review his or her weight at                 ticular player. For example, FIG. 64 shows a representative
nearly any time. Runners using such a system and device to              television display 1131 that includes data from system 1100.
know their hydration loss; chiropodists may wish to monitor             FIG. 53 also shows representative wrestlers 1132 in rink
weight distribution over a patienf s feet; and athletic trainers        1102. In a preferred embodiment, one or more sensors 1108
may wish to analyze weight distribution and forces. The                 are also placed on wrestlers 1132, such as shown, to monitor
invention of these figures assists in these areas. In making            events such as impact received directly on wrestlers 1132. In
these measurements, force-sensing resistors may be used;                one embodiment, sensors 1108 of FIG. 64 are of the form of
but strain gauge pressure sensors in the shoe may also be               an adhesive bandage MMD, described above. In another
used. Preferably, in such embodiments, the bottom surface               embodiment, sensors 1108 are integrated into the waistband
of the foot is covered by sensors, as weight is not often               of the wrestler; this has advantages as being close to the
evenly distributed. Accordingly, a single sensor may not                wrestler^s center of gravity and is thus more representative
encompass a preferred arrangement, and therefore multiple               of total impact received by a particular wrestler.
sensors are preferred in the sole of the shoe (or in a shoe
insert), with the results of all sensors summed or combined             [0367] Data from computer 1120 is thus reported to a
to a single “weight" answer. In one embodiment, only a                  media destination 129 such as television so that it may be
portion of the foot need to be covered, covering a certain              displayed to audience members. FIG. 64 shows one exem­
percentage of the overall weight; and that percentage is                plary data display 1134 overlaid with the actual wrestling
scaled to a user^s full weight. Weight and compression                  performance— —television display 1131一and showing
forces monitored in a shoe or shoe insert, in accord with the           impact data in ''qualitative" bar scales. Display 1134 may
invention, can further assist in gauging caloric and/or physi­          include qualitative wording such as shown. Display 1134
cal effort.                                                             also preferably includes an advertiser overlay 1136 promot­
                                                                          83



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ing a certain brand; typically that advertiser pays for some            1110 is suspended. Vibration sensors and accelerometers
or all of the content provided for by system 1100 and shown             may alternatively be used as the detector in any floor­
in display 1134.                                                        monitoring sensor 1108.
[0368] Thns, FIGS. 63 and 64 demonstrate benefits in                    [0373] FIG. 65 아lows one surfing application for a MMD
which the TV viewer desires to see information snch as a                1140 of the invention. MMD 1140 of one preferred embodi­
display of forces acting on wrestlers in real- or near real­            ment includes an accelerometer detector (e.g., as in MMD
time; the data being presented in graphical or numeric form             10 above) and MMD 1140 determines "G's" for big bottom
and with a range of possible analyses performed on the                  turns. On-board signal processing for example preferably
forces such as latest, largest average and total. These forces          determines the location of a big bottom turn and records an
typically act in at least two planes i.e. from the side and from        “event" associated with the number of G^s in the turn. G^s
the front or back, though the invention may also take                   may also be reported for other locations. One difficulty with
account of forces in all three planes. Typically, the forces of         such measurements is that there may be many larger G
interest are those acting on the main mass (torso) of the               forces surfboard 1146 from flips, kicks and other actions;
wrestler, while flailing feet and arms are not generally as             however the invention solves this di伍culty by filtering out
important as body slams. The system of the invention thus               such actions. In one embodiment, the processor within
resolves forces on individuals and can detect the force of              MMD 1140 monitors the low frequency component of the
collision between two wrestlers.                                        accelerometer detector to determine the difference in the
[0369] In the preferred embodiment, at least one sensor                 peaks and troughs of sinusoidal movement, so that MMD
1108 attached to ropes 1114 preferably takes the form of a              1140 reports wave size and height over time.
long thin sensor (e.g., 0.5"x3") with a short piece wire (e.g.,         [0374] One MMD 1140 may also gauge the power of a
3") protruding from one end to function as the antenna. This            wave landing on top of the surfer 1142. Such a MMD 1140
sensor^s electronics utilizes a small low power accelerom­              preferably includes a pressure detector to determine pressure
eter as the sensing detector, and incorporates a simple gain            within water 1144 when a wave lands on surfboard 1146 and
block, a small micro controller such as Microchips^                     on surfer 1142. A “maximum pressure" event is then
PICf2LC672, and a sm시1 low power transmitter such as                    reported by MMD 114〇.
RFMs^RX6000 or RF Solutions^ TXf. These electronics
mount on flex circuit (e.g., as shown in FIG. 48) to allow for          [0375] Another MMD 1140 includes an inclinometer or
the excessive bending forces likely to be encountered. The              other angle determination detector to determine and report
power source is preferably a single small (thinnest available)          angle of the surfboard 1146; for example a maximum angle
lithium cell.                                                           is reported for a given run or day.
[0370] In the preferred embodiment, at least one sensor                 [0376] Data from any particular metric (e.g., g^s in a turn,
1108 attached to posts 1112 incorporates a gas pressure                 angle of surfboard, pressure under water) provided by MMD
sensor as the detector; such a sensor is incorporated into the          1140 is preferably reported wirelessly to a watch worn by
cushions protecting the corner posts 1112 and thus registers            surfer 1142; however such data may also be displayed on a
an increase reading as the wrestlers collide with the posts             display integrated with surfboard 1146 or directly with
Alternatively, such a sensor may be incorporated directly               sensor 1140, such as shown with an airtime sensor in U.S.
into a cushion attached to post 1112; preferably such a                 Pat. No. 5,960,380, incorporated herein by reference. In the
cushion is airtight. FIG. 61 shows one fluid-based pressure             form of a wristwatch, one MMD of the invention includes a
sensor that may be configured to such an application as the             pressure sensor housed in the watch; the MMD watch then
cushion with post; gas may for example replace the fluid or             reports the maximum pressure events without need of a
gel of FIG. 61. In an alternative configuration, sensors 1108           separate MMD 1140 mounted to surfboard 1146 (or inte­
integrated with the posts 1112 may include strain gauges as             grated therein).
the detector. Mounted directly to the posts 1112, these
                                                                        [0377] In one preferred embodiment, MMD 1140 includes
sensors indicate the forces acting on the post as the wrestlers
                                                                        a speed detector (such as a Doppler module or accelerom­
impact the posts 1112. In another alternative, a post sensor
                                                                        eters as discussed herein or in U.S. Pat. No. 5,960,380) so
may include vibration or accelerometer detector so that the
                                                                        that surfer speed is reported to surfer 1142. Preferably, in this
sensor 1108 determines impact forces.
                                                                        embodiment, distance traveled is also reported; by way of
[0371] In one embodiment, at least one of the sensors                   example the receiver of data from MMD 1140 (e.g., a digital
attached to ropes 1114 include extension detectors (or LVDT             watch) converts speed to distance by multiplying speed by
devices) at the points where the ropes are mounted. Sensors             a time duration traveled over that speed. FIG. 66 shows
1108 with strain gauges may also be used. Sensors attached              MMD 1140' including a Doppler module that radiates
to ropes 1114 preferably detect “rope deflection^^ as a                 energy 1150, as shown, to determine whether the rider of
reported metric.                                                        surfboard 1146' is within the “Green Room"—     —within a
                                                                        wave 1152. Preferably, such a MMD 1140' also includes a
[0372] In one embodiment, sensors 1108 in the floor                     speed sensor which indicates that board 1146' is in motion
incorporate piezoelectric cables mounted as an interlocking             so that the time duration of riding within the Green Room is
grid attached to the underside of the floor. For example, such          determined accurately.
cables connect the "x" locations of FIG. 63. In such a
configuration, only one sensor 1108 may be needed to                    [0378] FIG. 67 아lows a person시 network system 1300
monitor floor impact as all cables act as a single “detector”           constructed according to the invention. System 1300 keeps
for a MMD sensor 1108. Floor or canvas sensors 1108 may                 track of personal items, such as cell phone 1302, car keys
also incorporate strain gages attached in an array on the               1304, wallet or purse 1306, person시 data assistant 1308,
underside or around the perimeter at points where the floor             digital watch 1309, and/or personal computer 131〇. Addi­
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tional, fewer or different personal items can be tracked in           1306,1308,1310 knows that item 1304 is no longer linked
system 1300, at the selection of a user of system 130〇. For           and data is stored on every other item 1302, 1306, 1308,
example, a user can set up system 1300 to keep track of cell          1310 indicating a time when item 1304 left the network.
phone 1302 and keys 1304 only. Briefly, each personal item            Preferably, the stored data in every other item also includes
of FIG. 67 includes a network transceiver: cell phone 1302            where the network was when keys 1304 disappeared.
has transceiver 13020 car keys 1304 has transceiver 1304¢,
                                                                      [0382] In the simplest embodiment, each of items 1302­
wallet or purse 1306 has transceiver 13060 data assistant
                                                                      1310 includes a corresponding indicator 1302Z)-1310Z?; each
1308 has transceiver 13080 watch 1309 has a transceiver
                                                                      of indicators 1302ろ-1310ろ can for example be a LED, LCD,
13090 and computer 1310 has transceiver 1310。. Each
                                                                      buzzer or vibrator. When any of items 1301-1310 are "lost"
transceiver 13020 13040 13060 13080 13090 1310a
                                                                      from the network一e.g., one item moves beyond the Net­
communicates with every other transceiver substantially all
                                                                      work Distance—  —the indicator in one or more of the
the time via a wireless link 132〇. Those skilled in the art
                                                                      other items tells the user of system 1300 that an item has
appreciate that each transceiver 13020 13040 13060
                                                                      “left". That person can then expend effort to location the lost
13080 13090 1310(2 include an antenna to receive and
                                                                      item. By way of example, each of indicators 1302Z?-1310Z?
communicate data on link 132〇. In the preferred embodi­
                                                                      may provide a beep, sound or vibration to provide the user
ment, each transceiver 13020 13040 13060 13080 13090
                                                                      with knowledge of a lost item 1302-131〇.
1310(2 only maintains communications with any other trans­
ceiver over a selected distance, e.g., 100 feet, herein iden­         [0383] In a more complex embodiment, data stored on any
tified as the Network Distance. For example, cell phone               item 1302-1310 indicating the loss of any item within
transceiver 1302。maintains communications with every                  network 1300 is a “cookie'' of information detailing when
other transceiver 13040 13060 13080 13090 1310a so                    and where an item left the network. In this way, a user of
long as cell phone 1302 is within the Network Distance of             system 1300 can locate and find the lost item by reviewing
every other device 1304,1306,1308,1309,131〇. However,                 cookies in any other item. By way of example, consider a
for example, once cell phone 1302 is separated by keys 1304           network 1300 made from keys 1304, wallet 1306, digital
by more than the Network Distance, then cell phone 1302               watch 1309 and cell phone 1302—    —commonly carried
ceases communications with keys 1304 but maintains com­               by a m시e business person. In the preferred embodiment, this
munications with other items 1306, 1308, 1309, 1310                   person would designate items 1302, 1304, 1306, 1309 as
(assuming items 1306, 1308, 1309, 1310 are within the                 being “in network" (such as described below in connection
Network Distance from cell phone 1302).                               with FIG. 68)一and system 1300 thereafter monitors items
                                                                      1302,1304,1306,1309 so that the person can keep track of
[0379] In one preferred embodiment, each transceiver
                                                                      items 1302, 1304, 1306, 1309. If for example this person
13020 13040 13060 13080 13090 1310a includes a
                                                                      leaves his cell phone 1302 in a restaurant, then items 1304,
Bluetooth microchip and transceiver known in the art.
                                                                      1306, 1309 know this occurred and inform him of the time,
Bluetooth transceivers only maintain a communication link
                                                                      and preferably the location, of when cell phone 1302 was
(at a frequency of about 2.4 GHz in the ISM band) over a
                                                                      lost. Thus for example, watch 1309 can light an LED (as
short range, e.g., 50 feet, and are not generally suitable for
                                                                      indicator 1309Z?) that an item is lost; item 1304 can indicate
longer communication distances.
                                                                      (through a LCD indicator 1304Z)) that cell phone 1302 was
[0380] Optionally, one or more of transceivers 13020                  lost in cell area corresponding to downtown Boston at 15:15
13040 13060 13080 13090 1310(2 are instead transpon­                  pm. Specifically, in one embodiment, cell phone 1302 pro­
ders; and at least one of items 13020 13040 13060 13080               vides “location" information of at least a cell area; and cell
13090 1310(2 provide excitation energy to the transponders            phone 1302 provides "time" information by its real time
to “reflect" data along link 1320 to provide the functionality        clock (those skilled in the art appreciate that keys 1304,
described herein. Those skilled in the art should appreciate          digital watch 1309 or any other item can also include a real
that items 13020 13040 13060 13080 13090 1310a may                    time clock as a matter of design choice). Accordingly, link
incorporate other technology, such as transmitters, to facili­        1320 has location and time information updated to each item
tate like functionality. That is, not every item 1302, 1304,          1304,1306,1309. In leaving his cell phone at the restaurant,
1306, 1308, 1309, 1310 needs to transmit and receive data             keys 1304, wallet 1306. watch 1309 receive “cookie" depos­
on link 132〇. For example, wallet 1306 can include a                  ited in internal memory indicating when and where cell
transmitter instead of a transceiver to provide data about            phone 1302 left the network of items 1302, 1304, 1306,
itself on link 1320; and other items 1302,1304,1308,1309,             1309. Accordingly, the person reviews data in either of items
1310 can use w시let data to know whether it is in the network          1304, 1306, 1309 to learn of where he left his cell phone.
or not (even though wallet 1306 does not know whether                 Note that if he then lost item 1304, he may also learn
other items 1302, 1304, 1308, 1309, 1310 are in the net­              something of when item 1304 left the smaller network of
work). Transponders can provide like functionality for cer­           items 1304, 1306, 1309 depending upon time and location
tain items 1302, 1304, 1306, 1308, 1309, 1310 as a matter             data available. Those skilled in the art appreciate that cell
of design choice.                                                     phone technology enables more precise location information
                                                                      of where a cell phone is; and preferably this information will
[0381] Wireless link 1320 includes information about time
                                                                      be provided to network system 1300 so that more precise
and items in the network; preferably the information also
                                                                      location information is available to all network items. GPS
includes location information. For example, data 1320
                                                                      receiver chips may also be incorporated into any of items
informs each item 1302-1310 that every other item is still
                                                                      1302-1310 to provide the location information as described
within the network, and, thus, that one or more items have
                                                                      herein in connection with system 130〇.
not moved to beyond the Network Distance. If one item一
e.g., keys 1304----------- the network so that item 1304 no           [0384] Users of system 1300“program" which items are in
longer communicates on link 1320, every other item 1302,              the network preferably through a personal computer inter­
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face, shown in FIG. 68. In FIG. 68, a personal compnter               1408. For example, a user of coaster 1400 can order “another
1312 connects with a transceiver controller 1314 to program           beer" by pressing button 1410。. Other order functions can of
a network transceiver 1316。(representative of any trans­              course be included with coaster 1400, including an EED
ceiver 1302¢, 1304¢, 13060 1308¢, 1309¢, 13100 for                    1430 that provides the status of orders, sent to coaster 1400
example). Controller 1314 preferably includes a transceiver           via receiver 1408.
that wirelessly communications with transceiver 1316。via
                                                                      [0388] FIG. 72 shows a package management system
a data control link 1321. Computer 1312 provides security
                                                                      1500, and sensor 1502, of the invention. Sensor 1502 (e.g.,
and ID information so that items networked in system 1300
                                                                      a MMD or EMD described herein) may be integrated
are secure relative to other users with other networks. By
                                                                      directly with a shipping label 1504 for attachment to a box
way of example, computer 1312 may provide an password
                                                                      or envelope to ship products, goods or other material. Sensor
key that is only known and used by items of network 1300;
                                                                      1502 includes an integrated circuit 1502A, a communica­
so that other items of other networks does not communicate
                                                                      tions port 1502B and a battery 1502C to communicate data
on link 132〇.
                                                                      (e.g., impact, temperature, humidity) experienced by label
[0385] Note that a “wallet" or “purse" do not generally               1504 to external devices. By way of example, a remote
have electronics associated therewith, to provide the func­           receiver 1508 may be used to interrogate or read data from
tionality described above. Therefore, in the preferred                sensor 1502. In the preferred embodiment, sensor 1502 also
embodiment, a transceiver 1306。is “attached" to a wallet or           includes a unique package identifier (e.g., like a bar code) so
purse to provide the underlying electronics. By way of                as to identify label 1504 and the goods associated therewith.
example, such a transceiver takes the form of a credit card           A receiver 1508 linked to a transportation channel of label
inserted into the w시let or purse. FIG. 69 illustrates one             1504 (e.g., a transportation channel traveled by a shipping
non-electronic item 1340, e.g., a wallet 1306, attached to a          truck 1510) may then communicate with sensor 1502, e.g.,
transceiver 1340。suitable for construction as an attachment           via wireless link 1505, to determine whether label 1504 is in
like a smart card. Transceiver 1340。can for example include           the correct channel. Accordingly, sensor 1502 helps track
a Bluetooth microchip 1324。or alternatively a transmitter or          label 1504 and may further prevent theft of packages linked
transponder 1324Z?. A GPS receiver 1322 can alternatively             to label 1504 since the wireless system may automatically
be included with transceiver 1340。. An antenna 1326, if               determine inappropriate location of label 1504. A remote
needed, provides for communication along link 1320, FIG.              wireless relay tower 1512 may communicate with receiver
67. An LCD or LED data interface provides data and/or                 1508 so as to manage and track label 1504 movement and
warnings to users reviewing item 1340 (and specifically               location during shipment. The invention may augment or
transceiver 1340の.A user interface 1340c permits access to            even replace manual scanning of labels for shipping pack­
and/or modification of data or functionality of transceiver           ages; the invention may also prevent theft of packages by
1340(2. Areal time clock 1330 preferably provides time data           automatically identifying inappropriate packages in ship­
for time stamping "lost" item information onto network link           ment channels.
1320, so that a user would know when item 1340 (or other
                                                                      [0389] In the preferred embodiment, a dispenser 1514 may
items) were lost. In the preferred embodiment, a cookie
                                                                      contain several labels similar to label 1504; dispenser pref­
memory stores “events" associated with lost items—e.g., a
                                                                      erably issues label 1504 in a manner similar to canister 200,
cell phone was lost at GPS coordinates X,Y at noon,
                                                                      FIG. 10, so as to “power on" label 1504 with an internal
providing obvious benefit in finding the lost item.
                                                                      time stamp. A location code and/or time code are thus
[0386] FIG. 70 and FIG. 71 show an electronic drink                   preferably communicated from dispenser 1514 to sensor
coaster 1400 constructed according to the invention. Internal         1502 when label 1504 issues 1516 from dispenser 1514.
electronics 1402 sense the weight of a drink 1404 on coaster
                                                                      [0390] FIG. 73 shows a product integrity tracking system
1400 to automatically inform a restaurant or bar, via wireless
                                                                      1600 of the invention. One or more sensors 1602 (e.g., each
signals 1406 to a restaurant or bar receiver 1408, that the
                                                                      of the sensors being a MMD or EMD) attach to a customer
customer needs a drink or refill. In one embodiment, a
                                                                      product 1604. Preferably, sensors 1602“stick" to product
customer can also place an order from coaster 140〇. Liquid
                                                                      1604 similar to MMDs or EMDs discussed herein. Product
(e.g., beer) 1410 may be used to calibrate electronics 1402
                                                                      1604 may be any product of value, including, for example,
so that electronics 1402 knows when glass 1412 is full or
                                                                      medical devices, computers, furniture and pharmaceuticals
empty, to report the information as data 1406.
                                                                      (in the case of pharmaceuticals, sensors 1604 may for
[0387] FIG. 71 아lows a top plan view of coaster 1400,                 example attach to packaging containing the pharmaceuti­
including customer order or calibration buttons 14100                 cals, or be arranged adjacent to product 1604, such as
1410ろ.Electronics 1402, typically internal to coaster 1400,           indicated by sensor 1602A). Typically, product 1604 ini­
include a weight detector 1420, communications port 1422,             tiates shipment along a shipping channel at the customer
processor 1424, and antenna 1426; electronics 1402 are                facility 1610 (e.g., a plant or laboratory). The company of
similar in design to many of the MMDs or EMDs described               facility 1610 may for example independently attach sensors
herein. Weight detector 1420 detects weight on coaster                1602 to product 1604. A shipping channel may for example
1400; and processor 1422 decides how to use the weight                include a separate shipping company such as FED EX with
information in a meaningful way. By way of example,                   a truck 1612. At the conclusion of travel, product 1604
processor 1422 knows the approximate weight of glass 1412             reaches its destination 1614 (e.g., a place controlled by the
onto weight detector 1420, and once glass 1412 is filled with         customer of the company of facility 1610). At destination
beer it also knows when glass 1412 is empty一creating one              1614, sensors 1604 are read through wireless link 1619 by
reporting event to bar receiver 1408, if desired. Users of            an interrogating device 1620 so as to see how product 1604
coaster 1400 can also select inputs to coaster electronics            fared during travel. The shipping company may have per­
1402 so as to place orders, wirelessly, to restaurant receiver        sons 1622 to take the reading or this may occur automati­
                                                                        86



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cally at destination 1614. Data acqnired from sensor 1602                 13. A device of claim f, wherein the first communications
may for example include impact (or ''acceleration informa-             port comprises a one-way transmitter.
tion^^) and temperature, each preferably with a time stamp                14. A device of claim f3, wherein the transmitter trans­
help track event occurrences (e.g., an acceleration event              mits data to the receiver at preselected time mterv시s.
greater than fO g^s at 9:f〇 AM, Monday). Multiple sensors                 15. A device of claim 14, wherein the time intervals
1602 provide for detecting event occurrences at different              comprise one of 5 seconds, fO seconds, 20 seconds, 30
locations on product 1604. This is particularly useful for             seconds, 40 seconds, 50 seconds, 1 minute, 2 minutes, 3
complex medical devices that may have a relatively sturdy              minutes, 4 minutes, 5 minutes, fO minutes, 20 minutes, 30
base and a fragile robotic arm, each with different perfor­            minutes, 1 hour, 2 hours, 3 hours, 4 hours, 5 hours, 6 hours,
mance specifications (e.g., each with a maximum load                   7 hours, 8 hours, 24 hours, 2 days, 3 days, 4 days, 5 days,
allowance); sensors 1602 may thus each attach to separate              6 days and 7 days.
area of product 1604 so that product integrity information                16. A device of claim 14, wherein the transmitter trans­
1619 may be determined for multiple locations. Data from               mits data to the receiver substantially continuously, wherein
device 1620 may communicate automatically, via link 1621,              data substantially corresponds to real-time sign시s from the
and back to facility 1610 through network 1630 (e.g., the              detector.
Internet) and through a firewall 1632 so as to communicate                17. A device of claim f, wherein the first communications
product integrity information, in near real-time, to the com­          port communicates the events to the receiver substantially
pany of product 1604. In this way, this company may better             continuously, and further comprising a receiver having a
manage its brand integrity of product 1604 during shipment.            second communications port for receiving the events and for
If a damaging event occurred to product 1604, during                   reconstructing the substantially continuous events to gener­
shipment, that company will learn about it and may ship a              ate media signals suitable for display with broadcast media.
replacement product (or move to refurbish product 1604).
                                                                          18. A device of claim 17, wherein the receiver commu­
                                                                       nicates the media signals to one of Television or the Internet.
What is claimed is:
 1. A movement monitor device, comprising:                                19. A device of claim f, wherein the first communications
                                                                       port comprises a transceiver.
  a detector for generating a signal in response to movement              20. A device of claim f, further comprising a wrapper for
     of the device;                                                    surrounding and sealing the device within a flexible pack­
  a clock;                                                             age, a user of the device removing the wrapper prior to use,
                                                                       the wrapper having a battery-blocking element preventing
  a processor for processing the signal to generate one or             the battery from powering the device until the wrapper is
    more movement events and for time-tagging the move­                removed.
    ment events with time information from the clock; and                 21. A device of claim f, further comprising (a) an flexible
   a first communications port for communicating events,               adhesive strip for attaching the device to an object, (b) a
      tagged with the time information, to a receiver remote           wrapper for surrounding and sealing the device and strip
      from the device.                                                 within a flexible package, and (c) a soft material protecting
   2. A device of claim f, wherein the clock is a real-time            the processor, wherein the soft material, strip, and wrapper
clock.                                                                 are constructed and arranged substantially as an adhesive
   3. A device of claim f, further comprising at least one             bandage, the processor, detector and battery being adjacent
adhesive strip for attaching the device to an object.                  to the soft material.
   4. A device of claim 3, wherein the adhesive strip com­                22. A device of claim f, wherein the detector and pro­
prises one of laytex and rubber.                                       cessor are constructed and arranged as a single application
   5. A device of claim 3, further comprising protective soft          specific integrated circuit.
material adjacent to at least the processor and communica­                23. A device of claim f, wherein the detector and pro­
tions port for protecting the processor and port against               cessor and port are constructed and arranged as a single
contact with the object.                                               application specific integrated circuit.
   6. A device of claim 5, wherein the soft material com­                 24. A device of claim f, further comprising a cell phone,
prises cotton.                                                         the cell phone having a second communications port for
   7. A device of claim 3, wherein the object comprises a              receiving the events.
person.                                                                   25. A device of claim 24, wherein the cell phone is
   8. A device of claim 3, further comprising a wrapper for            constructed and arranged to store the events for transmission
surrounding and sealing the device within a flexible pack­             through a cellular network to a remote computer.
age, a user of the device removing the wrapper prior to use.              26. A device of claim f, further comprising a receiver
   9. A device of claim 3, wherein the strip comprises                 selected from the group of MP3 players, electronic PDAs,
flexible material such that the strip is attachable to non-flat        digital watches, cell phones and pagers, for receiving the
surfaces.                                                              events and relaying the events to a user.
   10. A device of claim f, wherein the first communications              27. A device of claim 26, further comprising headphones
port comprises a contact transponder.                                  connected with the receiver for synthesizing the events as
   11. A device of claim fO, wherein the first communica­              voice data to the user.
tions port comprises a conductive plate to facilitate com­                28. A device of claim f, wherein the first commnnications
munications with the receiver.                                         port transmits events to the receiver in one of three modes:
   12. A device of claim f, wherein the first communications           by event transmission and by timed sequence transmissions.
port responds to an interrogation signal from the receiver to             29. A device of claim f, further comprising a battery for
transmit data from the device to the receiver.                         powering the device.
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   3〇. A device of claim 29, wherein the battery comprises         comprises an extension for electrically decoupling the bat­
a coin cell.                                                       tery from at least the processor until such time that the
   31. A device of claim f, wherein the time information           non-stick strip is removed, whereinafter the battery powers
comprises date information.                                        the device.
   32. A device of claim f, wherein the time information              52. A device of claim f, further comprising a battery for
comprises time of day information.                                 powering the device, and further comprising an electrically
   33. A device of claim 32, wherein the time of day               non-conductive extension for electrically decoupling the
information comprises information abont an honr of the day.        battery from at least the processor until the extension is
   34. A device of claim 32, wherein the time of day               physically removed.
information comprises information abont a minnte of the               53. A device of claim f, wherein the detector comprises an
day.                                                               accelerometer.
   35. A device of claim 32, wherein the time of day                  54. A device of claim 53, wherein the processor processes
information comprises information abont a second of the            acceleration signals from the accelerometer to detect air­
day.                                                               time.
   36. A device of claim f, further comprising a printed              55. A device of claim 53, wherein the processor processes
circuit board having one or more layers for electrically           acceleration signals from the accelerometer to detect impact.
coupling at least two or more of the processor, first com­            56. A device of claim 53, wherein the processor processes
munications port, the detector and the clock.                      acceleration signals from the accelerometer to detect speed.
   37. A device of claim 36, wherein the board comprises at           57. A device of claim 53, wherein the processor processes
least two adjacent layers, each of the layers having a             acceleration signals from the accelerometer to detect power.
tcrmm시 for connecting to a battery inserted between the               58. A device of claim 53, wherein the processor processes
layers, the layers being sufficiently pliant to permit separa­     acceleration signals from the accelerometer to detect drop
tion between the layers in inserting the battery therebetween.     distance.
   38. A device of claim 37, further comprising a battery             59. A device of claim 53, wherein the processor processes
connected to the terminals for powering the device.                acceleration signals from the accelerometer to detect jarring.
   39. A device of claim 36, wherein a first side of the board
                                                                      6〇. A device of claim 53, wherein the detector comprises
comprises a first terminal for electrically connecting the
                                                                   a triaxial accelerometer.
board to a first side of a battery.
                                                                      61. A device of claim 60, wherein the processor processes
   40. A device of claim 39, further comprising a connecting
                                                                   acceleration signals from the accelerometer to detect air­
element for electrically connecting a second side of the
                                                                   time.
battery to the board, completing a circuit between the battery
                                                                      62. A device of claim 60, wherein the processor processes
and the board.
                                                                   acceleration signals from the accelerometer to detect impact.
   41. A device of claim 40, wherein the element has tension
                                                                      63. A device of claim 60, wherein the processor processes
for forcing the battery against the board.
                                                                   acceleration signals from the accelerometer to detect speed.
   42. A device of claim 39, further comprising a battery,
                                                                      64. A device of claim 60, wherein the processor processes
connected to the first terminal, for powering the device.
                                                                   acceleration signals from the accelerometer to detect power.
   43. A device of claim 42, wherein the battery comprises
a coin cell.                                                          65. A device of claim 60, wherein the processor processes
                                                                   acceleration signals from the accelerometer to detect drop
   44. A device of claim 39, wherein a second side of the
                                                                   distance.
board comprises a second terminal for electrically connect­
ing the board to a second side of a battery.                          66. A device of claim 60, wherein the processor processes
   45. A device of claim 44, further comprising an end clip        acceleration signals from the accelerometer to detect jarring.
for electrically connecting a second side of the battery to the       67. A device of claim f, wherein the detector comprises a
second terminal.                                                   pressure sensor.
   46. A device of claim 45, wherein the end clip is con­             68. A device of claim 67, wherein the processor processes
structed and arranged to force together the battery and the        pressure sign시s from the pressure sensor to determine
board.                                                             altitude variation over a preselected time interval.
   47. A device of claim f, further comprising a monolithic           69. A device of claim 67, wherein the time interval
and rigid housing for surrounding and protecting at least one      comprises about eight hours.
or more of the processor, first communications port, and              70. A device of claim 67, wherein the processor processes
detector.                                                          pressure sign시s from the pressure sensor to determine
   48. A device of claim 47, further comprising a magnet           altitude variation over a minimum and maximum altitude
coupled with the housing for attaching the device to metal-        occurring within about one to eight hours.
ized objects.                                                         71. A device of claim 67, wherein the processor processes
   49. A device of claim 47, further comprising one of a clip      pressure signals from the pressure sensor to determine drop
or pin to couple the housing to one of an object and person.       distance based upon variations in the pressure signals occur­
   5〇. A device of claim f, further comprising (a) at least one    ring within about % second to 5 seconds.
adhesive strip for attaching the device to an object, (b) an          72. A device of claim f, wherein the detector comprises an
adhesive applied to the strip, and (b) a non-stick strip for       accelerometer, and wherein the processor processes accel­
covering substantially all of the adhesive until the non-stick     eration signals from the accelerometer to detect airtime and
strip is removed, Whereinafter the adhesive strip may be           a drop distance occurring during the airtime.
stuck to an object.                                                   73. A device of claim f, wherein the detector comprises an
   51. A device of claim 50, further comprising (a) a battery      accelerometer and a pressure sensor, and wherein the pro­
for powering the device, and wherein the non-stick strip           cessor processes acceleration signals from the accelerom­
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eter, to determine airtime, and pressnre sign시s from the                   87. A canister of claim 86, further comprising a time tag
pressure sensor to determine a drop distance occnrring                  interface for communicating the re시 time clocking infor­
during the airtime.                                                     mation from the canister to at least one of the devices after
   74. A device of claim f, wherein the detector comprises a            that one of the devices becomes powered.
magnetorestrictive element, and wherein the processor pro­                 88. A canister of claim 87, wherein the canister imparts a
cesses signals from the magnetorestrictive element to deter­            unique ID to the at least one device through the time tag
mine one or more of spin, spin rate, and inversions of the              interface, wherein subsequent interrogation of the at least
device.                                                                 one device requires knowledge of the unique ID to read data
   75. A device of claim f, further comprising an environ­              from the at least one device.
mental sensor for determining one or more of temperature,                  89. A canister of claim 83, further comprising at least one
humidity, moisture, and pressure.                                       device, the device having a battery and a clock, the battery
   76. A device of claim f, wherein the detector comprises a            being electrically decoupled from power sources with the
Hall Effect sensor, and wherein the processor processes                 device by one of the battery-separating elements while the
signals from the Hall Effect sensor to detect one or more               device remains within the cavity, the battery powering the
inversions of the device.                                               electronics when the device is removed from the cavity, the
   77. A device of claim f, further comprising a flexible               time tag interface communicating time clocking information
wrapper for surrounding and sealing the device within a                 from the real time clock after the device is powered.
flexible package, a user of the device removing the wrapper                9〇. A canister of claim 83, one or more of the mobile
prior to use, the wrapper having flexible connectivity to one           electronic devices comprising a MMD.
or more additional wrappers containing one or more addi­                   91. A canister of claim 83, one or more of the mobile
tional devices, such that a plurality of devices attach together        electronic devices comprises a wireless receiver.
through interface with the wrapper.                                        92. A canister of claim 83, one or more of the mobile
   78. A device of claim 77, further comprising at least one            electronic devices comprising a ticket providing license to
adhesive strip for attaching the device to an object, the               access a venue.
wrapper surrounding and sealing the device and the adhesive                93. A method for communicating continuous movement
strip.                                                                  metrics for a media broadcast, comprising:
   79. A device of claim f, further comprising (a) at least one
                                                                          attaching one or more movement monitor devices to one
adhesive strip for attaching the device to an object, and (b)
                                                                             or more athletes;
a piezoelectric detector associated with the strip, the pro­
cessor detecting when the adhesive strip is removed from the              generating wireless signals representative of at least one
object by movement of the piezoelectric detector.                           movement metric associated with the athletes; and
   8〇. A device of claim f, further comprising (a) at least one
adhesive strip for attaching the device to an object, and                 capturing and converting the signals to performance event
wherein the detector comprises a piezoelectric element                      data;
associated with the strip, the processor detecting when the                relaying the performance event data to a media broad­
adhesive strip is removed from the object by movement of                      caster for display of the performance data.
the piezoelectric element.                                                 94. A method of claim 93, wherein the step of generating
   81. A device of claim f, further comprising a paper-like             wireless sign시s comprises generating signals representative
battery for powering the device.                                        of impact.
   82. A device of claim f, further comprising a GPS chip for              95. A method of claim 94, further comprising the step of
locating the device, data from the GPS chip providing                   generating wireless signals representative of impact and
information of where at least one of the events occurred.               magnitude of the impact.
   83. A canister for dispensing a plurality of mobile elec­               96. A method of claim 95, further comprising the step of
tronic devices and for powering the mobile electronic                   generating a bar graph indicative of the magnitude on one of
devices upon removal from the canister, comprising:                     (a) a television or (b) a display for Internet.
  a housing forming a cavity and constrncted and arranged                  97. A method of claim 93, wherein the step of converting
     to dispense, from the cavity, one or more of the                   comprises reconstructing the movement metric for g^s mag­
    plurality of mobile electronic devices; and                         nitude.
                                                                           98. A tamper proof sensor, comprising: a detector for
   a plurality of battery-separating elements, coupled with             sensing at least one characteristic and generating signals
     the housing, each of the elements electrically decou­              representative of that characteristic, and a processor for
     pling one device from its respective battery until the             processing the signals, and further comprising an adhesive
     one device is removed from the cavity, wherein each of             strip for attaching the sensor to an object, the strip having
     the devices conserves battery power while contained                adhesive forming an adhesion between the strip and the
     within the cavity and operationally draws upon its                 object, the strip having a motion detector for detecting
     battery upon removal from the cavity.                              removal of the strip from the object.
   84. A canister of claim 83, further comprising a lid for                99. A sensor of claim 98, wherein the motion detector
sealing the cavity.                                                     comprises a piezoelectric strip.
   85. A canister of claim 83, wherein the housing and cavity              100. A sensor of claim 98, further comprising memory for
are constructed and arranged to dispense at least one of the            storing an event associated with when the adhesive strip was
devices by finger manipulation by a user of the canister.               removed, the event including at least one of time and date
   86. A canister of claim 83, further comprising a real time           information indicating when the adhesive strip was
clock for providing real time clocking information.                     removed.
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   101. A sensor of claim 98, further comprising a transmit­              12〇. A system of claim f〇2, wherein the characteristics
ter for communicating at least one of time and date infor­            comprise magnitude of the impact.
mation associated with detecting the removal of the strip                 121. A system of claim f〇2, wherein the characteristics
from the processor.                                                   comprise frequency of the impact relative to an impact that
   102. A system for assessing competitive movements                  occurred earlier in time.
between two or more athletes, comprising at least one                     122. A system of claim f〇2, wherein the characteristics
movement monitor device attached to each athlete, each                comprise a number of impacts associated with at least one of
device having (a) a detector for generating sign시s indicative         the athletes.
of impact associated with the athlete, and (b) a transmitter              123. A system of claim f〇2, wherein the characteristics
for wirelessly transmitting a telemetry representation of the         comprise one or more body parts associated with the impact.
signals, and further comprising a receiver for receiving the              124. A system of claim 123, wherein the body parts
telemetry representation of the signals for reconstruction, at        comprise one or more of a head, a fist, a chest, an abdomen,
a monitor, as visual or voice data indicating characteristics         a knee, a foot, a stomach and an elbow.
of the impact.                                                            125. A method of determining airtime associated with
   103. A system of claim f〇2, wherein the athletes comprise          motion along a surface, comprising the steps of: generating
two boxers.                                                           signals representative of vibration associated with the
   104. A system of claim f〇2, wherein the athletes comprise          motion; filtering the signals through a first low pass filter;
members of a football team.                                           filtering the sign시s through a second low pass filter, and
   105. A system of claim f〇2, wherein the athletes comprise          combining filtered signals from the first and second low pass
members of a soccer team.                                             filters through state machine logic to determine airtime.
   106. A system of claim f〇2, wherein the athletes comprise              126. A method of claim f25, further comprising sensing
members of a rugby team.                                              the vibration with an accelerometer.
   107. A system of claim f〇2, wherein the athletes comprise              127. A method of claim f25, wherein the step of gener­
members of a hockey team.                                             ating signals comprises the step of sensing the vibration with
   108. A system of claim f〇2, wherein the athletes comprise          a microphone.
members of a volleyball team.                                             128. A method of claim f25, wherein the step of gener­
   109. A system of claim f〇2, wherein the athletes comprise          ating signals comprises the step of sensing the vibration with
wrestlers.                                                            a piezoelectric element.
   110. A system of claim f〇2, wherein the athletes comprise              129. A method of claim f25, wherein the step of filtering
members of a basketball team.                                         the signals through the first low pass filter comprises filter­
   111. A system of claim f〇2, wherein the receiver is                ing the sign시s through about a f-pole 20 Hz low pass filter.
constructed and arranged to relay the telemetry representa­               13〇. A method of claim f25, wherein the step of filtering
tion to one of television or the Internet.                            the signals through the second low pass filter comprises
   112. A system of claim f〇2, wherein the detector com­              filtering the signals through about a f-pole 2 Hz low pass
prises one of an accelerometer, microphone and piezoelec­             filter.
tric element.
                                                                          131. A method of claim f25, further comprising the step
   113. A system of claim f〇2, further comprising a proces­           of differentiating the signals prior to the steps of filtering.
sor for converting the signals to the telemetry representation
                                                                          132. A method of claim f25, further comprising the step
of the signals.
                                                                      of rectifying the signals prior to the step of filtering.
   114. A system of claim ff3, wherein the processor pro­
                                                                          133. A method of claim f25, further comprising the step
cesses the signals to isolate one or more impact events
                                                                      of limiting the signals prior to the step of filtering.
associated with the sign시s.
   115. A system of claim ff3, wherein the processor pro­                 134. A method of claim f25, further comprising the steps
cesses the signals such that the telemetry representation of          of differentiating and rectifying the signals prior to the step
the signals comprises fewer bits of data than a digital               of filtering.
representation of the signals.                                            135. A method of claim f26, further comprising the step
   116. A system of claim f〇2, wherein the monitor com­               of limiting the signals, after the step of rectifying and before
prises a scoreboard adjacent to an audience viewing the               the step of filtering.
athletes.                                                                 136. A method of claim f26, further comprising the step
   117. A system of claim f〇2, wherein the monitor com­               of rescaling the signals, after the step of rectifying and
prises a computer display connected to the receiver.                  before the step of filtering.
   118. A system of claim f〇2, further comprising a data link             137. A method of claim f25, further comprising the steps
between the receiver and a media producer, wherein the                of generating a first power signal after the step of filtering
monitor comprises a television display showing signals from           through the first low pass filter and of generating a second
the producer, the receiver communicating the visual or voice          power signal after the step of filtering through the second
data to the media producer such that a viewer at the                  low pass filter.
television display views the characteristics of the impact.               138. A method of claim 137, further comprising the step
   119. A system of claim f〇2, further comprising an Internet         of comparing the first power signal against two preselected
data link between the receiver and an Internet content                values to identify possible takeoffs and landing
provider, wherein the monitor comprises one or more com­                  139. A method of claim 137, further comprising the step
puters coupled to the Internet data link, the receiver com­           of comparing the second power signal against three prese­
municating the visual or voice data to the Internet content           lected values to identify possible takeoffs and landings.
provider such that a viewer at the computer views the                     14〇. A method of claim 125, wherein the step of com­
characteristics of the impact.                                        bining filtered sign시s from the first and second low pass
                                                                        90



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filters through state machine logic comprises determining                   153. A method of determining travel metrics for a runner
motion, the determination of airtime being dependent upon               running over ground, comprising the steps of: sensing a first
determination of motion.                                                acceleration in a first shoe of the runner; determining two
    141. A method of claim 125, wherein the step of com­                correlation events indicating successive contacts between
bining filtered sign시s from the first and second low pass               the shoe and the ground; integrating the first acceleration
filters through state machine logic comprises comparing                 between a period less than or equal to a time between the
potential takeoffs, correlated to comparisons of filtered sig-          successive contacts to determine a first period velocity;
n시s through the first low pass filter, to confirmed takeoffs,           wirelessly communicating the first period velocity to a
correlated to comparisons of filtered signals throngh the               receiver for displaying velocity to the runner based on the
second low pass filter.                                                 first period velocity.
    142. A method of claim f25, wherein the step of com­                    154. A method of claim 153, further comprising calibrat­
bining filtered sign시s from the first and second low pass               ing the first period velocity to a speed reference to compen­
filters through state machine logic comprises comparing                 sate for acceleration data between the correlation events.
potential landings, correlated to one or more comparisons of                155. A method of claim f54, further comprising compen­
filtered signals throngh the first low pass filter, to confirmed        sating for orientation of a sensitivity axis associated with an
landings, correlated to one or more comparisons of filtered             accelerometer within the first shoe.
signals throngh the second low pass filter.                                 156. A method of claim 153, further comprising sensing
    143. A sensor for sensing acceleration, comprising a                a second acceleration in the first shoe, the second accelera­
printed circuit board, a processor and a contact coupled in             tion being substantially perpendicular to the first accelera­
circuit with the circuit board, and at least one moment arm             tion.
for bending in response to the acceleration along an accel­                 157. A method of claim 156, further comprising compen­
eration axis and for completing circuit with the board,                 sating the first period velocity as a function of the second
contact and processor upon occurrence of a g load accel­                acceleration.
eration along the acceleration axis, the processor reporting                158. A method of claim 153, wherein the step of deter­
information associated with occurrence of the g load accel­             mining two correlation events comprises the step of deter­
eration.                                                                mining impacts of the shoe striking the ground.
    144. A sensor of claim 143, further comprising a com­                   159. A method of claim 153, wherein the step of deter­
munications port for wirelessly transmitting the information            mining two correlation events comprises the step of deter­
to a receiver.                                                          mining low motion regions in the first acceleration, the low
    145. A sensor of claim 143, further comprising a real time          motion regions corresponding to the shoe being relatively
clock for time tagging the information with one of time and             immobile in forward velocity in comparison to the shoe
date information corresponding to the occurrence.                       traveling in air between the correlation events.
    146. A sensor of claim 143, further comprising a plurality              16〇. A method of claim 153, wherein the step of sensing
of moment arms and corresponding contacts, each of the                  the first acceleration comprises sensing the acceleration
plurality of moment arms and contacts having a unique g                 along an axis between about 〇 and 60 degrees from a sole of
load acceleration, the processor reporting information asso­            the shoe substantially flat on the ground.
ciated with the occurrence of any of the unique g loads.                    161. A method of claim 153, wherein the step of sensing
    147. A sensor of claim 143, wherein the moment arm                  the first acceleration comprises sensing the first acceleration
defines its own g load by one or more of its mass, tensile              at a statistically typical angle substantially aligned with
strength and length.                                                    forward velocity of the runner over ground.
    148. A method of determining travel metrics for a runner                162. A method of claim 153, further comprising sensing
running over ground, comprising the steps of: sensing dis­              the acceleration in an axis between about 30 and 60 degrees
tance proximity between first and second shoes of the                   from a sole of the shoe substantially flat on the ground.
runner; wirelessly communicating the distance proximity to                  163. A method of claim 153, further comprising display­
a receiver; and determining distance traveled of the runner             ing the velocity at the receiver.
based on the distance proximity.                                            164. A method of claim 153, further comprising averaging
    149. A method of claim f48, further comprising sealing              the first period velocity over a plurality of successive
the distance proximity by a function of (a) a distance defined          correlation events to provide the runner with average speed.
by ground contact between the first and second shoes                        165. A method of claim 153, wherein the step of wire­
divided by (b) a maximal distance proximity between the                 lessly communicating the first period velocity to a receiver
first and second shoes while running to compensate for                  comprises wirelessly communicating the first period veloc­
errors in the distance traveled                                         ity to a watch worn by the runner.
    15〇. A method of claim f48, further comprising the step                 166. A method of claim 153, further comprising the step
of determining speed based upon the distance traveled                   of low pass filtering the first acceleration.
divided by a time associated with the distance traveled.                    167. A method of claim 166, further comprising low pass
    151. A method of claim f50, wherein the step of deter­              filtering the first acceleration data between about 50 and 200
mining speed comprises dividing (a) the distance traveled by            Hz.
(b) two times an average time between a minimal distance                    168. A method of claim 166, further comprising sampling
proximity and a maximum distance proximity while run­                   the filtered first acceleration at a sampling rate exceeding a
ning.                                                                   3 db roll-off of the filtered first acceleration.
    152. A method of claim f48, further comprising the step                 169. A method of claim f53, further comprising sensing
of wirelessly transmitting the distance traveled to a receiver          second and third accelerations in the first shoe, the first and
for displaying one or more of distance traveled and speed to            second accelerations being mntnally perpendicular to the
the runner.                                                             first acceleration.
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   170. A method of claim 169, further comprising compen­                  183. Amethod of claim f79, wherein the step of capturing
sating the first period velocity based upon the second and              performance data comprises capturing spin data.
third accelerations so as to reduce errors in determining                  184. Amethod of claim f79, wherein the step of capturing
runner velocity.                                                        performance data comprises capturing tachometer data.
   171. A method of claim f53, wherein the step of integrat­               185. Amethod of claim f79, wherein the step of capturing
ing the first acceleration comprises integrating over a period          performance data comprises capturing competitor race posi­
less than about % the time between the successive contacts.             tion information.
   172. A method of claim f53, further comprising deter­                   186. Amethod of claim f79, wherein the step of capturing
mining velocity of the runner within the receiver.                      performance data comprises capturing speed data.
   173. A system for monitoring ticket-holders for activity at             187. A method of claim f79, wherein the event is a
a sporting area, comprising:                                            NASCAR race and wherein the competitors are individual
  at least one movement monitor device connected with an                racecars.
     athlete at the sporting area, the device having (a) a                 188. A method of claim f79, wherein the event is a
     detector for generating a signal in response to move­              football game and wherein the competitors are individual
     ment of the device, (b) a processor for processing the             football players.
     signal to generate a movement event, and (c) a first                  189. Amethod of claim f79, wherein the event is a soccer
     communications port for wirelessly transmitting the                game and wherein the competitors are individual soccer
     movement event;                                                    players.
                                                                           19〇. A method of claim f79, wherein the event is a
    at least one receiver ticket issued to the athlete and              volleyball game and wherein the competitors are individual
       providing license to use the sporting area, the ticket           volleyball players.
       having (a) a second communications port for receiving               191. A method of claim f79, wherein the event is a
       the wirelessly transmitted event and (b) an indicator for        basketball game and wherein the competitors are individual
       communicating the event to a representative of the               basketball players.
       sporting area.
                                                                           192. A method of claim f79, wherein the event is a
    174. A system of claim f73, wherein the event comprises
                                                                        football game and wherein the competitors are individual
a speed event corresponding to a speed limit for the sporting
                                                                        rugby players.
area.
    175. A system of claim f73, wherein the sporting area is               193. A method of claim f79, wherein the event is a
a ski location and wherein the receiver ticket comprises a ski          football game and wherein the competitors are individual
lift ticket.                                                            wrestlers.
    176. Asystem of claim f73, wherein the device comprises                194. Amethod of claim f93, wherein the step of capturing
a clock and wherein the device time-tags the movement                   comprises capturing performance data from padding or body
event with one or both of date and time for communication               armor of an individual football player.
to the receiver ticket.                                                    195. Amethod of claim f79, wherein the event is a hockey
    177. A system of claim f73, further comprising a remote             game and wherein the competitors are individual hockey
receiver for reading the receiver ticket, and wherein the               players.
receiver ticket comprises a transmitter for communicating                  196. A method of claim f79, wherein the event is a car
the movement event to the remote receiver.                              race and wherein the competitors are individual racecars, the
    178. A system of claim f73, wherein the receiver ticket             step of capturing performance data comprising acquiring
comprises a paper-like battery for powering the receiver                data from car electronics of the individual racecars.
ticket.                                                                    197. Amethod of claim f79, wherein the step of capturing
    179. A method for relaying performance information to               performance data comprises providing a data capture device
spectators watching an event of the type having a plur시ity              with each of the competitors, the step of wirelessly com­
of competitors, comprising the steps of:                                municating comprising transmitting performance data from
                                                                        the data capture device.
  capturing performance data from each of a plurality of the
    competitors, by wireless smart sensors attached to the                 198. A method of claim f79, further comprising relaying
    competitors;                                                        at least part of the performance data to one or more of an
                                                                        Internet content provider and sports media broadcaster.
  wirelessly communicating at least part of the performance                199. A method for relaying performance information to
    data to one or more hand-held receivers controlled by               spectators watching an event of the type having a plur시ity
    a corresponding number of spectators;                               of competitors, comprising the steps of:
  displaying, at one of the hand-held receivers, selected                 capturing performance data from each of a plurality of the
      performance data in response to inputs at the one                     competitors;
      hand-held receiver, wherein spectators with hand-held
      receivers uniquely obtain desired performance data of               wirelessly communicating the performance data to a
      one or more competitors.                                              computer relay;
   180. A method of claim f79, wherein the step of capturing
                                                                          wirelessly communicating at least part of the performance
performance data comprises capturing acceleration data.
                                                                            data from the computer relay to one or more hand-held
   181. Amethod of claim f79, wherein the step of capturing
                                                                            receivers controlled by a corresponding number of
performance data comprises capturing gas gauge data.
                                                                            spectators; and
   182. Amethod of claim f79, wherein the step of capturing
performance data comprises capturing competitor heart rate                displaying, at one of the hand-held receivers, selected
data.                                                                        performance data in response to inputs at the one
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      hand-held receivers, wherein spectators with hand-held            220. Amethod of claim 2f9, wherein the race information
      receivers uniquely obtain desired performance data of          comprises one or more of lead car information and car order
      one or more competitors.                                       information.
   200. A method of claim f99, wherein the step of capturing            221. A method of claim f99, further comprising relaying
performance data comprises capturing acceleration data.              at least part of the performance data to one or more of an
   201. Amethod of claim f99, wherein the step of capturing          Internet content provider and sports media broadcaster.
performance data comprises capturing gas gauge data.                    222. A method for relaying performance information to
   202. Amethod of claim f99, wherein the step of capturing          spectators watching an event of the type having a plur시ity
performance data comprises capturing competitor heart rate           of competitors, comprising the steps of:
data.
                                                                       capturing performance data from each of a plurality of the
   203. Amethod of claim f99, wherein the step of capturing
                                                                         competitors;
performance data comprises capturing spin data.
   204. Amethod of claim f99, wherein the step of capturing            wirelessly communicating the performance data to a
performance data comprises capturing tachometer data.                    computer relay; and
   205. Amethod of claim f99, wherein the step of capturing
                                                                        communicating at least part of the performance data from
performance data comprises capturing competitor race posi­
                                                                          the computer relay to a scoreboard near to the specta­
tion information.
                                                                          tors.
   206. Amethod of claim f99, wherein the step of capturing
                                                                        223. Amethod of claim 222, wherein the event comprises
performance data comprises capturing speed data.
                                                                     a rodeo and wherein each of the competitors comprises a
   207. A method of claim f99, wherein the event is a                rodeo rider and an animal.
NASCAR race and wherein the competitors are individual
                                                                        224. Amethod of claim 223, wherein the step of capturing
racecars.
                                                                     performance data comprises attaching a first movement
   208. A method of claim f99, wherein the event is a                monitor device to a saddle on the animal and attaching a
football game and wherein the competitors are individual             second movement monitor device to the rider, and wherein
football players.                                                    the step of wirelessly communicating comprises generating
   209. Amethod of claim f99, wherein the event is a soccer          signals indicative of impact from each of the movement
game and wherein the competitors are individual soccer               monitor devices.
players.                                                                225. A method of claim 224, further comprising the step
   21〇. A method of claim f99, wherein the event is a                of generating a ratio metric for display on the scoreboard,
volleyball game and wherein the competitors are individual           the ration metric being a ratio of impact from the movement
volleyball players.                                                  devices.
   211. A method of claim f99, wherein the event is a                   226. Amethod of claim 223, wherein the step of capturing
basketball game and wherein the competitors are individual           performance data comprises the steps of applying a move­
basketball players.                                                  ment monitor device to each of the rodeo rider and the
   212. A method of claim f99, wherein the event is a                amm 시.
football game and wherein the competitors are individual                227. Amethod of claim 224, wherein the step of capturing
rugby players.                                                       performance data comprises capturing acceleration data
   213. A method of claim f99, wherein the event is a                from a saddle on the animal and from the rodeo rider.
football game and wherein the competitors are individual                228. A method of claim 225, further comprising generat­
wrestlers.                                                           ing a ratio as performance data, the ratio comprising a ratio
   214. Amethod of claim f99, wherein the step of capturing          between a filtered signal of acceleration data from the rider
performance data comprises capturing performance data                and a filtered signal of acceleration data from the saddle.
from padding or body armor of a football player.                        229. A method for adjusting maneuver actions within a
   215. Amethod of claim f99, wherein the event is a hockey          computerized game, comprising the steps of:
game and wherein the competitors are individual hockey
                                                                       downloading real performance data to a computer asso­
players.
                                                                         ciated with the game;
   216. A method of claim f99, wherein the event is a car
race and wherein the competitors are individual racecars, the          comparing requested game maneuvers, at the computer, to
step of capturing performance data comprising acquiring                  the real performance data;
data from car electronics of the individual racecars.
                                                                       performing the game maneuver if the requested game
   217. Amethod of claim f99, wherein the step of capturing              maneuver is within limits of the real performance data;
performance data comprises providing a data capture device               and
with each of the competitors, the step of wirelessly com­
municating comprising transmitting performance data from                modifying, restricting or inhibiting the game maneuver if
the data capture device.                                                  the requested game maneuver is not within the limits of
   218. A method of claim f99, further comprising the step                the real performance data.
of communicating at least part of the performance data from            23〇. A method of claim 229, wherein the step of down­
the computer relay to a scoreboard near to the spectators.           loading comprises communicating data from a movement
   219. A method of claim f99, wherein the event is a car            monitor device, that captured the real performance data, to
race and wherein the competitors are individual racecars,            the computer controlling the computerized game.
and further comprising capturing race information from                 231. A method of claim 229, wherein the step of down­
computers associated with race officials and communicating           loading comprises communicating data from a movement
that race information to the computer relay.                         monitor device, that captured the real performance data, to
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a server connected in network to the computer controlling,             for a change in altitude, the processor dividing the distance
at least in part, the computerized game.                               traveled by a time associated with traveling through the
   232. A method of claim 229, wherein the computerized                change in altitude.
game comprises an arcade game.                                            252. A ticket of claim 25f, wherein the change in altitude
   233. A method of claim 229, wherein the real performance            comprises a difference between minimum and maximum
data comprises user airtime.                                           altitudes approximately corresponding to minimum and
   234. A method of claim 229, wherein the computerized                maximum altitudes of a ski resort.
game comprises actions involving one or more of snow­                     253. A ticket of claim 252, wherein the processor frac­
boarding, wakeboarding, skateboarding, skiing, and martial             tionally determines speed based upon a fraction시 travel
arts.                                                                  between minimum and maximum altitudes, the ground
   235. A speedometer warning ticket, comprising:                      distance being shortened by a ratio corresponding to the
  a detector for generating signals indicative of location;            fractional travel between the minimum and maximum alti­
                                                                       tudes.
  a processor for processing the signals, over a time inter­              254. A method for determining speeding violations in a
    val, to determine speed of the ticket, the processor               ski resort, comprising the steps of: issuing a lift ticket to a
     determining when the speed exceeds a preselected                  person, the ticket having a unique bar code; reading the lift
     threshold; and                                                    ticket bar code at a first location; electronically storing a first
   an indicator for relaying information that the ticket               time associated with reading the lift ticket bar code at the
     exceeded the threshold.                                           first location; subsequently reading the lift ticket bar code at
   236. A ticket of claim 235, wherein the ticket comprises            a second location; electronically storing a second time
a ski lift ticket.                                                     associated with reading the lift ticket bar code at the second
   237. A ticket of claim 235, wherein the indicator com­              location; storing a distance traveled associated with travel­
prises a liquid crystal display, the display responsive to the         ing between the first and second locations; storing a ski lift
processor determining excessive speed by activating or                 time; determining a travel time of the lift ticket between the
deactivating one or more pixels to visually show that the              first and second locations based upon the first time, second
ticket exceeded the threshold.                                         time and chair lift time; dividing the distance traveled by the
   238. A ticket of claim 235, wherein the indicator com­              travel time to determine speed of the person.
prises a transmitter for generating wireless signals repre­               255. A method of claim 254, wherein the step of storing
senting the information that the ticket exceeded the thresh­           a distance traveled comprises determining distance traveled
old.                                                                   after exiting the ski lift.
   239. A ticket of claim 235, wherein the ticket comprises               256. A method of claim 254, wherein the steps of elec­
a housing formed into the shape of a lift ticket, the housing          tronically storing the first and second times comprises
protecting the detector and processor from environmental               wirelessly communicating the first and second times to a
exposure.                                                              remote computer.
   240. A ticket of claim 239, wherein the housing is formed              257. A method of claim 256, wherein the steps of storing
of material selected from the group of paper, plastic and              the distance traveled and ski lift time comprise storing the
rubber.                                                                distance traveled and ski lift time at the remote computer.
   241. A ticket of claim 235, wherein the time interval is               258. A method of claim 256, further comprising the steps
approximately five seconds.                                            of calculating speed at the remote computer and wirelessly
   242. A ticket of claim 235, wherein the time interval is            communicating the speed to a bar code reader at the ski lift.
approximately ten seconds.                                                259. A method of claim 254, wherein the step of reading
   243. A ticket of claim 235, wherein the time interval is            the lift ticket bar code comprises reading the bar codes with
approximately fifteen seconds.                                         a bar code reader.
   244. A ticket of claim 235, wherein the time interval is
                                                                          26〇. A method of claim 23사, wherein the second location
approximately one second.
                                                                       is substantially the same as the first location.
   245. A ticket of claim 235, wherein the time interval is
approximately thirty seconds.                                             261. A method of claim 254, wherein the first location
   246. A ticket of claim 235, wherein the time interval is set        comprises an entrance to a first ski lift, and wherein the
to ensure that battery power for the detector and processor            second location comprises a second entrance to a second ski
exceeds at least about eight hours in Winter weather.                  lift.
   247. A ticket of claim 235, further comprising memory for              262. A method of claim 254, further comprising utilizing
defining one or more zones and a preselected speed thresh­             one or more bar code readers in the steps of reading the lift
old within each of the zones, the processor determining                ticket bar code.
speed violations relative to the preselected speed threshold              263. A method of claim 254, further comprising adjusting
within any of the zones.                                               the travel time by stoppages in the ski lift.
   248. A ticket of claim 235, wherein the detector comprises             264. A system for determining speed of a person at a ski
a GPS receiver and wherein the location comprises earth                resort, the person having a unique lift ticket with bar code,
location.                                                              comprising: at least one bar code reader for reading the bar
   249. A ticket of claim 235, wherein the detector comprises          code at a ski lift; a computer for storing time associated with
an 시timeter and wherein the location comprises altitude.               reading the bar code at the ski lift, the computer storing
   250. A ticket of claim 235, wherein the detector comprises          distance traveled information between subsequent readings
a solid-state pressure sensor.                                         of the bar code, wherein speed for the person is determined
   251. A ticket of claim 235, further comprising memory for           based upon distance traveled and time between subsequent
storing information associated with ground distance traveled           readings of the bar code.
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   265. A system of claim 264, further comprising wireless             and arranged with the shoe to sense weight of a person
communications modules for communicating between the                   wearing the shoe and walking or standing; a processor for
bar code reader and the computer.                                      processing signals from the detectors to determine a weight
   266. A method for remotely detecting life-threatening               of the person; a remote receiver; and a communications port
stress of an individual, comprising the steps of: adhering a           for wirelessly communicating the weight to the remote
movement monitor device to the individual; sensing repeti­             receiver.
tive movements of the individual; sensing an absence of the               281. A system of claim 280, wherein the remote receiver
repetitive movements; generating a wireless signal from the            comprises a watch.
device; remotely receiving the sign시s and generating an                   282. A system of claim 280, wherein the communications
alarm indicating stress of the individual.                             port is a transceiver, and wherein the remote receiver has a
   267. A method of claim 266, wherein the step of sensing             transceiver to request weight information from the proces­
repetitive movements comprises sensing respiratory rate.               sor, the processor responding to the request to wirelessly
   268. A method of claim 267, wherein the step of adhering            communicate the weight to the remote receiver.
comprises adhering the device to the chest of the individual.             283. A system of claim 280, wherein the detectors com­
   269. A method of claim 266, wherein the step of sensing             prises one or more force sensing resistors.
repetitive movements comprises utilizing a piezoelectric                  284. A system of claim 280, further comprising a replace­
element disposed with the device, the element generating               able battery, with the shoe, for powering one or more of the
voltage in response to bending to detect the repetitive                detectors, processor and communications port.
movements.                                                                285. A system of claim 280, wherein the processor
   27〇. A method of claim 266, wherein the step of sensing             determines weight loss relative to a calibration weight,
repetitive movements comprises utilizing an accelerometer              wherein the person can review the weight loss selectively.
disposed with the device, the accelerometer generating a                  286. A method for determining speed of a runner, com­
signal in response accelerations associated with the repeti­           prising the steps of coupling a GPS receiver chip to the
tive movements.                                                        mnner^s clothing in a position to view the sky; sensing a first
   271. A method of claim 266, wherein the step of gener­              earth position at a first time; sensing a second earth position
ating an alarm comprises generating one or both of an                  at a second time; and determining speed based npon a
audible and visu시 alarm.                                               distance between the first and second locations divided by
   272. A method of claim 266, wherein the step of sensing             the time between the first and second times.
repetitive movements comprises sensing pulse rate.                        287. Amethod of claim 286, wherein the step of coupling
   273. A method of detecting roll-over of an individual,              comprises inserting the chip within a pocket formed within
comprising the steps of: adhering a movement monitor                   the clothing.
device to the individual; sensing inverting movements of the              288. Amethod of claim 287, wherein the step of inserting
individual; generating a wireless signal from the device;              the chip comprises inserting the chip within a pocket located
remotely receiving the signals and generating an alarm                 adjacent to the shoulder of the runner.
indicating roll-over.                                                     289. Amethod of claim 287, wherein the step of inserting
   274. A method of claim 273, wherein the step of sensing             the chip comprises inserting the chip within a hat located of
inverted movements comprises utilizing a Hall Effect sensor.           the runner.
   275. Amethod for monitoring fractional weight supported                29〇. A method of claim 286, further comprising the steps
by one foot of a person, comprising the steps of adhering a            of wirelessly relaying data indicative of speed to a remote
movement monitor device underneath the foot such that the              receiver in the form of a watch worn by the runner, and
device is compressed when weight is applied to the foot;               displaying the speed to the runner.
generating wireless signals representative of a target frac­              291. A method of claim 286, further comprising the steps
tional weight of a total weight of the person; remotely                of wirelessly relaying data indicative of the locations to a
receiving the wireless sign시s and displaying the fractional            remote receiver in the form of a watch worn by the runner,
weight to a user.                                                      processing, in the remote receiver, the data indicative of
   276. A method of claim 275, further comprising utilizing            locations to determine speed, and displaying the speed to the
one of a force sensing resistor or electro-resistive element in        runner.
the device, to respond to weight applied to the device.                   292. Amethod of claim 290 or 291, further comprising the
   277. A method of monitoring weight of a person, com­                steps of coupling one or more accelerometers with one or
prising the steps of constructing and arranging one or more            more shoes of the runner, processing acceleration signals
weight sensitive detectors underneath a foot of the person;            from the accelerometers to determine foot speed of the
processing signals from the detectors to determine weight;             runner, wirelessly transmitting data indicative of the foot
wirelessly communicating the weight to a remote receiver;              speed to the remote receiver, and displaying speed to the
and displaying weight information to the person.                       runner at the remote receiver and based on one or both of the
   278. A method of claim 277, wherein the step of con­                speed deriving from the GPS chip and the foot speed
structing and arranging weight sensitive detectors comprises           deriving from the accelerometers.
integrating the detectors within a shoe.                                  293. A method of claim 292, further comprising the step
   279. Amethod of claim 277, further comprising the steps             of blocking the speed deriving from the GPS chip when GPS
of generating an interrogation signal from the remote                  signals used in determining the locations are erratic or
receiver, and, in response to the interrogation signal, deter­         unavailable, wherein speed shown at the remote receiver
mining the weight and communicating the weight as wire­                represents foot speed.
less data sign시s for the remote receiver.                                 294. A method of claim 292, further comprising the step
   28〇. A shoe-based weight measuring system, comprising:              of mathematically combining speed deriving from the GPS
a shoe; one or more weight sensitive detectors constructed             chip and foot speed deriving from the accelerometers to
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provide a reported speed shown at the remote receiver, the             for informing a user that an item has left the network,
reported speed being more accurate than either the speed               wherein a user may locate lost items.
deriving from the GPS chip and the foot speed deriving from               309. A personal items network of claim 308, wherein each
the accelerometers.                                                    item further comprises memory, wherein a cookie is left
   295. A method of claim 292, further comprising the step             within the memory indicating one or more of a time and
of determining distance traveled based upon one or both of             location of a lost item.
the speed deriving from the GPS chip and the foot speed                   31〇. A personal items network of claim 309, wherein at
deriving from the accelerometers.                                      least one of the items is a cell phone providing the location.
   296. A method of claim 295, further comprising the step                311. A personal items network of claim 309, wherein at
of determining the distance traveled at an accuracy of at least        least one of the items is a GPS receiver providing the
about one meter per kilometer.                                         location.
   297. A heart rate detector, comprising an adhesive ban­                312. An electronic drink coaster, comprising a coaster
dage, electrodes, a processor and a wireless communications            containing a weight detector for sensing a weight or weight
port, the electrodes being disposed with the adhesive ban­             changes for container with drinking fluid on the coaster, and
dage to couple to skin once the bandage is applied to a                further comprising a processor for processing signals from
human, the processor processing signals from the electrodes            the weight detector, and a communications port for wire­
to detect heart rate, the communications port relaying one of          lessly relaying information relating to the drinking fluid on
a signal indicative of heart rate or a signal indicative of the        the coaster, wherein a bar or restaurant replaces or provides
absence of heart rate.                                                 a new drink when the drinking fluid is consumed.
   298. An on demand weight system, comprising a weight                   313. A coaster of claim 312, further comprising one or
detector coupled with a shoe for sensing weight of a person            more buttons selectable by a user for ordering a drink from
on the detector, a processor processing information from the           the bar or restaurant and from the coaster.
detector for determining applied weight, a personal data
                                                                          314. A method of managing a package through shipping
display, and a communications port for wirelessly relaying
                                                                       channels, comprising the steps of:
the applied weight to the data display.
   299. A system of claim 298, wherein the data display                  attaching a smart sensor to the package; and
comprises a digital watch.
   30〇. A system of claim 298, wherein the weight detector                wirelessly communicating between the smart sensor and
comprises one of a fluid and a pressure sensor and a                         one or more of the shipping channels to identify a
force-sensing resistor.                                                      location code associated with the package.
   301. A professional wrestling system, comprising a plu­                315. A method of claim 314, wherein the step of attaching
rality of impact sensors disposed about a professional wres­           comprises attaching a shipping label, including the sensor, to
tling rink, each of the sensors relaying impact information            the package.
associated with one or more of a floor, post or ropes making              316. A method of claim 314, wherein the step of attaching
up the rink, and a computer system for capturing the impact            comprises attaching a smart sensor having one or more
information and for processing the information as perfor­              environmental detectors for detecting a disposition of the
mance data for one or more of television, the Internet and             package.
local scoreboards.                                                        317. A method of claim 316, further comprising detecting
   302. A surfer data system, comprising a sensor mounted              one or more of impact, temperature, shock, inversion asso­
with a surfboard for sensing one or both of motion and water           ciated with the package.
information near to the surfboard, and a watch wirelessly                 318. A method of claim 3f4, further comprising imparting
coupled with the sensor for informing the user of the motion           the location code within the smart sensor.
and water information.                                                    319. A method of claim 3f8, wherein the steps of impart­
   303. A system of claim 302, wherein the sensor comprises            ing comprises utilizing a label dispenser, powering the smart
a Doppler module for detecting waves circumferentially                 sensor upon dispensing from the dispenser, and imparting at
disposed about the surfboard, the sensor relaying to the               least one of date and time to the smart sensor.
watch a time within which the surfboard is within a wave.                 320. A method of claim 3f8, wherein the step of imparting
   304. A system of claim 302, wherein the sensor comprises            comprises imparting one of zip code, area code or location
a pressure sensor for detecting immersion of the surfboard             to the smart sensor.
within water, the sensor relaying to the watch a time duration            321. A method of claim 3f4, further comprising identi­
under water.                                                           fying the package among a plurality of packages when the
   305. A system of claim 302, wherein the sensor comprises            location code indicates that the package is at an inappropri­
a speedometer for relaying speed information to the watch.             ate one of the channels.
   306. A system of 305, wherein the speedometer comprises                322. A method of claim 3f4, wherein the channels com­
one or both of a Doppler module and an accelerometer.                  prise one or more of a building, truck, plane and boat.
   307. A system of claim 302, wherein the sensor comprises               323. A method for establishing product integrity after
an angle detector for relaying a wave angle corresponding to           shipment from one location to another location, comprising
a maximum angle ridden on a wave by the surfboard.                     the step of: attaching one or more smart sensors to the
   308. A personal items network, comprising a plurality of            product, monitoring environmental conditions of the product
items, each item having a wireless communications port for             via the sensors and during shipment, wirelessly communi­
coupling in network with every other item, each item having            cating the conditions from the sensors to a receiver at the
a processor for determining if any other item in the network           second location, and communicating the conditions to a
is no longer linked to the item, each item having an indicator         third location.
                                                                         96



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US 2003/0163287 Al                                                                                             Aug. 28, 2003
                                                                 46


   324. A method of claim 323, wherein the step of com­                  327. A method of claim 323, the step of attaching com­
municating the conditions to the first location comprises             prising attaching an accelerometer to the product, and fur­
communicating the conditions through the Internet.                    ther comprising detecting free fall to determine a drop
   325. A method of claim 323, further comprising interro­            distance of the product.
gating, with the receiver, the sensors at the second location,           328. A method of claim 323, the step of monitoring
and before the step of wirelessly communicating.                      environmental conditions comprising monitoring tempera­
   326. A method of claim 323, wherein the step of moni­              ture relative to preset temperature guidelines of the product.
toring environmental conditions comprises detecting accel­
eration at at least one of the sensors.




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                                                                                            US006163721A

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United States Patent                                                   凹                          [11]      Patent Number:                    6,163,721
Thompson                                                                                          [45]      Date of Patent:                 Dec. 19, 2000


[54]     POWER CONSUMPTION REDUCTION IN                                                               5,292,343 3/1994 Blanchette et al..
         MEDICAL DEVICES BY EMPEOYING                                                                 5,330,513 7/1994 Nichols et al..
         PIPELINE ARCHITECTURE                                                                        5,388,578 2/1995 y〇mtov et al..
                                                                                                      5,447,519 9/1995 Peterson .
[75]     Inventor:        David L. Thompson, Fridley, Minn.                                           5,464,435 11/1995 Neumann .
                                                                                                      5,496,351 3/1996 Plicchi et al..
                                                                                                      5,562,711 10/1996 'Yerich et al..
[73]     Assignee: Medtronic, Inc., Minneapolis, Minn.                                                5,610,083 3/1997 Chan et al..
                                                                                                      5,683,432 11/1997 Goedeke et al..
[21]     Appl. No.: 09/289,502                                                                        5,730,142 3/1998 Sun et al..
                                                                                                      5,778,881 7/1998 Sun et al..
[22]     Filed:           Apr. 9, 1999                                                                5,782,888 7/1998 Sun et al..

                   R이ated U.S. Application Data                                                                  OTHER PUBLICATIONS

[63]     Continuation-in-part of application No. 09/067,881, Apr. 29,                          Jan Mulder et al., ''Application of the Back Gate in MOS
         1998, abandoned, and a continuation-in-part of application                            Weak Inversion Translinear Circnits,^^ IEEE Transactions on
         No. 09/181,460, Oct. 28,1998, and a continuation-in-part of                           Circnits and Systems— —Fnndamental Theory and Appli­
         application No. 09/f8f,459, Oct. 28, f998, and a continua­
         tion-in-part of application No. 09/f8f,5f7, Oct. 28, f998,                            cations, vol. 42, No. 11, Nov. 1995.
         and a continuation-in-part of application No. 09/f8f,523,
         Oct. 28, f998.                                                                       Primary Examiner一Scott M. Getzow
                                                                                              Attorney, Agent, or Firm—Thomas F. Woods; Harold R.
[51]     Int. C1.7 .......... .......................................... A61N 1/36
                                                                                              Patton; Girma Wolde-Michael
[52]     U.S. Ci.............. .................................................... 607/2
[58]     Fieid of Search .................. 607/2, 9, 5; 395/750.03,                           [57]                     ABSTRACT
                 395/750.04, 750.07, 800.32, 800.33, 800.34,
                                                                     556, 555, 557             Power consumption in medical and battery powered devices
                                                                                               is reduced through the use and operation of pipeline archi­
[56]                          References Cited                                                 tecture in a digit시 signal processor, microcontroller or
                                                                                               microprocessor by operating such devices at clock frequen­
                    U.S. PATENT DOCUMENTS                                                      cies tailored to conserve power while preserving computa­
       4,031,899       6/1977      Renirie .                                                   tional and executional performance. The digital signal
       4,428,378       1/1984      Anderson et al..                                            processor, microcontroller or microprocessor can be oper­
       4,460,835       7/1984      Masuoka .                                                   ated at lower clock frequencies relative to those that would
       4,561,442      12/1985      Vollmann et al..                                            be required by one of such processors to complete the
       4,663,701       5/1987      Stotts .                                                    multiple functions within a predetermined time period but
       4,791,318      12/1988      Lewis et al..                                               having no pipeline architecture. With reduced clock
       4,791,935      12/1988      Baudino et al..                                             frequency, power consumption is reduced. Further, with
       5,022,395       6/1991      Russie .                                                    reduced clock speed, supply voltages applied to such pro­
       5,052,388      10/1991      Sivula et al..
                                                                                               cessors may also be reduced.
       5,154,170      10/1992      Bennett et al..
       5,185,535       2/1993      Farb et al..
       5,187,796       2/1993      Wang et al..                                                                63 Claims, 20 Drawing Sheets




                                                      Sack Gate
                                                       Bias BV1




                                                      Back Gate
                                                      Bios BV2




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                                                                                       Appx1062
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                                      FIG. I




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                                      FIG. 2
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                              FIG. 4A



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                              FIG. 4B




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                               FIG. 5




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                                                                 FIG. 6



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                               FIG. 7




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                              FIG.




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                                     FIG. I I
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                                 FIG. 12




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                                      FIG. 14




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                                       System


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              Clk
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                                        DSP
                    V-Sense                                 Out
                                        DSP
                                       System
                    807                                813



                                           803



                                      FIG. 15

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                                    Genercrtor                z
                                                             Back
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             An 히og     _ Level —4                Digital
            Circuitry   f Shifter f              Circuitry


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                                        FIG. I6




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                                FIG. 17



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                                FIG. 18


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                             Voltage Source
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                                                         RF Tx/Rx                                                                                               0
                                                                                Clock
                       Ram/ROM
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                                                         ADC/MUX
                     Microcomputer
           〇             Circuit                                                 .      1
                                                                 ma              P遂〇                     Peak Sense
                                                         Vr히/Bias
                                                                                                         & Threshold
                                                                                                         Measurement                           Heart




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                         Data            ___                  341 이                               349    I
                        Monitor                                                                         345
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                                          .604     tnput/Output Circuit




                                                                                Clock
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                                                                               Source
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                          FIG. 20




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                            FIG. 22




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                                FIG. 24
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     POWER CONSUMPTION REDUCTION IN                               the supply voltage fVっり).In addition, dynamic power (P) is
      MEDICAL DEVICES BY EMPEOYING                                proportional to switching or clock frequency (F).
         PIPELINE ARCHITECTURE                                       In accordance with the formula for dynamic power
                                                                  consumption, it has been effective in conventional CMOS
      CLAIM TO PRIORITY AND REFERENCE TO                        5 integrated circuit designs to sc시e down the supply voltage
                RELATED APPLICATION                               for an entire device (e.g., hybrid) or integrated circuit (IC),
                                                                  i.e., operate the circuit at low supply voltages, to reduce
   This application is a Continuation-In-Part and claims          power consumption for such designs. For example, in the
priority and other benefits from the filing dates of the          MEDTRONIC SPECTRAX® device of circa f979, IC
following patent applications: (f) U.S. patent appln. Ser. No. 10 circuitry was powered by one lithium iodine cell (as opposed
09/067,88f for “Power Consumption Reduction in Medical            to the two cells of the prior art). This reduced the supply
Devices Using Multiple Supply Voltages and Clock Fre­             voltage to 2.8 volts from 5.6 volts, thus reducing overhead
quency ControT^ to Thompson, filed Apr. 29,1998, and now          current. Voltages required to be greater than 2.8 volts were
abandoned; (2) U.S. patent appln. Ser. No. 09/181,460 for         generated by a voltage doubler, or alternatively by a charge
“Power Consumption Reduction in Medical Devices 15 pump (e.g., output pacing pulses). Further, for example, in
Employing Multiple Digital Signal Processors^^ to                 the MEDTRONIC SYMBIOS® device of circa f983, logic
Thompson, filed Oct. 28, f998; (3) U.S. patent appln. Ser.        circuitry was powered by a voltage regulator controlling the
No. 09/181,459 for “Power Consumption Reduction in                IC supply voltage to a “sum of thresholds^^ supply. This
Medical Devices By Employing Different Supply Voltages^^          regulator provided a supply to the IC (i.e.,ヽJ品)〇f several
to Thompson, filed Oct. 28, f998; (4) U.S. patent appln. Ser. 20 hundred millivolts above the sum of the n-channel and
No. 09/181,517 for “Power Consumption Reduction in                p-channel thresholds of the CMOS transistors making up the
Medical Devices Employing Multiple Supply Voltages and            IC. This regulator was self calibrating regarding manufac­
Clock Frequency ControP to Thompson, filed Oct. 28, f998;         turing variations of the transistor thresholds.
and (5) U.S. patent appln. Ser. No. 09/181,523 for “Power            Other devices have reduced power consumption in other
Consumption Reduction in Medic시 Devices Employing 25 manners. For example, various device designs have shut­
Multiple Digital Signal Processors and Different Supply           down analog blocks and/or shut-off clocks to logic blocks
\山ages" to Thompson, filed Oct. 28, f998, all hereby              not being used at particular times, thereby reducing power.
incorporated by reference herein in their respective entire­      Further, for example, microprocessor based devices have
ties.                                                             historically used a “burst clock^^ design to operate a micro­
                                                               30 processor at a very high clock rate (e.g., generally 5〇〇-f〇〇〇
              FIELD OE THE INVENTION                              Kilohertz (KHz)), for relatively short periods of time to gain
   The present invention relates to the reduction of power        the benefit of a “duty cycle^^ to reduce average current drain.
consumption in integrated circuit designs, such as integrated     A much lower frequency clock (e.g., generally 32 KHz) is
circuits employed in medical devices, particularly implant­       used for other circuitry and/or the processor when not in the
able medical devices.                                          35 high clock rate mode, i.e., burst clock mode. Many known
                                                                  processor based implanted devices utilize the burst clock
          BACKGROUND OF THE INVENTION                             technique. For example, implanted devices available from
                                                                  Medtronic, Vitatron, Biotronic, ELA, Intermedics,
   Various devices require operation with low power con­          Pacesetters, InControl, Cordis, CPI, etc., utilize burst clock
sumption. For example, hand-held communication devices 40 techniques. A few illustrative examples which describe the
require such low power consumption and, in particular,            use of a burst clock are provided in U.S. Pat. No. 4,56f,442
implantable medical devices require low power capabilities.       to Vollmann et al., entitled “Implantable Cardiac Pacer With
With respect to implantable medical devices, for example,         Discontinuous Microprocessor Programmable Anu Fachy-
microprocessor-based implantable cardiac devices, such as         cardia Mechanisms and Patient Data Telemetry,^^ issued
implantable pacemakers and defibrillators, are required to 45 Dec. 3f, f985; U.S. Pat. No. 5,022,395 to Russie, entitled
operate with a lower power consumption to increase battery        “Implantable Cardiac Device With Dual Clock Control of
life and device longevity.                                        Microprocessor,^^ issued Jun. ff, f99f; U.S. Pat. No. 5,388,
   Generally, such low power devices are designed using           578 to Yomtov et al., entitled ''Improved Electrode System
complementary metal oxide semiconductor (CMOS) tech­              For Use With An Implantable Cardiac Patient Monitor,^^
nology. CMOS technology is generally used because such 50 issued Feb. 14,1995; and U.S. Pat. No. 5,154,170 to Bennett
technology has the characteristic of substantially zero           et al., entitled "Optimization for Rate Responsive Cardiac
“static" power consumption.                                       Pacemaker,^^ issued Oct. f3, f992.
   Power consumption of CMOS circuits consists generally             FIG. 1 represents a graphical illustration of energy/delay
of two power consumption factors, namely “dynamic”                versus supply voltage for CMOS circuits such as a CMOS
power consumption and static power consumption. Static 55 inverter 10 shown in FIG. 2 for illustrative purposes. The
power consumption is only due to current leakage as the           inverter 10 is provided with a supply voltage,ヽJdd，which is
quiescent current of such circuits is zero. Dynamic power         connected to the source of a PMOS field effect transistor
consumption is the dominant factor of power consumption           (FET) 12. PMOS FET12 has its drain connected to the drain
for CMOS technology. Dynamic power consumption is                 of an NMOS FET 14 whose source is connected to ground.
basically due to the current required to charge internal and 60 In this configuration, an input V^- applied to both the gates of
load capacitances during switching, i.e., the charging and        FETs 12,14 is inverted to provide output V〇. Simply stated,
discharging of such capacitances. Dynamic power (P)               one clock cycle, or logic level change, is used to invert the
equals: %CVd/f, where C is nodal capacitance, F is the            input ヽ'“ to V〇.
clock or switching frequency, and ヽJdd is the supply voltage         As shown in FIG. 1, the circuit logic delay increases
for the CMOS circuit. As can be seen from the formula for 65 drastically as the supply voltage is reduced to near one volt,
calculating dynamic power (P), such dynamic power con­            as represented by delay line 16 and energy/delay line 18. As
sumption of CMOS circuits is proportional to the square of        such, reducing of the supply voltage (ヽら出 continuously to
                                                                     22



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lower levels is impractical because of the need for higher        present invention may provide one or more of the following
supply voltages when higher frequency operation is                advantages: reduced power consumption through the use of
required. For example, generally CMOS logic circuits must         multiple digital signal processing (DSP) systems; reduced
periodically provide functionality at a higher frequency, e.g.,   power consumption through the use of a lower voltage
burst clock frequency. However, as the supply voltage (ヽら出      5 supply (Vdd); reduced power consumption by decreased
is decreased, such energy consumption is reduced by the           clock frequency for circuit designs; increased longevity of
square of the supply voltage (ヽ成り)as is shown by energy           circuits, particularly implantable device circuitry; provide a
consumption line 2〇. Therefore, speed requires a higher           potential reduction in product size; providing high perfor­
supply voltage (ヽ成り)which is in direct conflict with low          mance processing designs with additional features or func­
power consumption.                                             10 tions due to the ability to reduce power with respect to other
   Other problems are also evident when lower supply              “required" features and functions; reduced static power
voltages (Vdd) are used for CMOS circuit designs. When a          consumption; providing multi-processor designs and DSP
lower supply voltage is selected, static leakage current          designs having additional features or functions due to the
losses may arise, particularly at lower frequencies, due to       ability to reduce power with respect to other “required"
increased static leakage current losses.                       15 features and functions; reduced current drain for an overall
                                                                  design, even when operating analog circuitry at higher
   Various techniques for reducing power consumption in
                                                                  supply voltages relative to the supply voltages applied to
devices are known in the art, some examples of which may
                                                                  digit시 circuitry of the design.
be found in at least some of the references listed in Table 1
below.                                                               Some embodiments of the invention include one or more
                                                               20 of the following features: two or more digital sign시 pro­
                                                                  cessing systems; multiple processors, each performing func­
                           TABLE 1
                                                                  tions at lower clock frequencies to reduce power consump­
       Patent No.      Inventor           Issue Date              tion; a first and second digital signal processor operating on
                                                                  data representative of analog inputs to perform respective
        4,031,899      Renirie            Jun. 28, 1977
                                                               25 first and second functions at respective first and second
        4,460,835      Masuoka            Jul. 17, 1984
        4,561,442      VDllmann et al.    Dec. 31, 1985           clock frequencies during a predetermined time period with
        4,791,318      Lewis et al.       Dee. 13, 1988           the first and second clock frequencies being such that the
        5,022,395      Russie             Jun. 11, 1991           power consumed by the first and second digit시 signal
        5,154,170      Bennett et al.     Oct. 13, 1992
        5,185,535      Farb et al.        Feb. 9, 1993            processors during performance of such functions is less than
        5,187,796     Wang et al.         Feb. 16, 1993        30 the power that would be consumed if only one of the
        5,388,578     Vomtov et al.       Feb. 14, 1995           processors were to perform the functions within the time
        5,610,083      Chan et al.        Mar. 11, 1997           period; multiple digital signal processors having supply
                                                                  voltages that are reduced based on the reduction of clock
   All references listed in Table 1 above are hereby incor­       frequency for such processors; providing analog inputs, e.g.,
porated by reference herein, each in its respective entirety. 35 cardiac sense signals, to the multiple processors for use in
As those of ordinary skill in the art will appreciate readily     performing functions such as T-wave, P-wave, and R-wave
upon reading the Summary of the Invention, Detailed               detection; one or more analog circuits of a medical device
Description of the Embodiments, and Claims set forth              (e.g., an atrial sense amplifier, a ventricular sense amplifier,
below, at least some of the devices and methods disclosed in      a T-wave amplifier, one or more bandpass filters, one or
the publications, patents or patent applications referenced in 40 more detection circuits, one or more sensor amplification
the present application, including those disclosed in the         circuits, one or more physiological signal amplification
references listed in Table 1 above, may be modified advan­        circuits, one or more output circuits, a battery monitor
tageously in accordance with the teachings of the present         circuit, and/or a power on reset circuit) and one or more
invention.                                                        digit시 circuits of the medical device (e.g., a processor, a
                                                               45 controller and/or a memory) with the supply voltage applied
              SUMMARY OF THE INVENTION                            to the analog circuits being greater than that applied to the
                                                                  digit시 circuits; a source for applying a first fixed supply
   The present invention has certain objects. That is, various    voltage to digit시 circuits of a medical device and a voltage
embodiments of the present invention provide solutions to         generation circuit (e.g., a charge pump circuit) having the
one or more problems existing in the prior art respecting 50 first fixed supply voltage applied thereto for generating a
circuitry design having lower power consumption, particu­         second fixed supply voltage to be applied to an시og circuits
larly with respect to implantable medic시 devices. Those           of the medical device; adjustment of back gate bias of digital
problems include: CMOS, CML, SOS, SOI, BICMOS,                    circuits of the medical device; level shifting of signals being
PMOS and/or NMOS circuits having excessive dynamic                communicated between analog circuits and digital circuits
power consumption which reduces battery life; the inability 55 having different supply voltages applied thereto; employing
to utilize low voltage supply levels effectively; lack of         various ones or combinations of the foregoing features in
ability to provide adequate processing capabilities such as       CMOS, CML (Current Mode Logic), SOS (Silicon on
high processing capabilities including telemetry uplink/          Sapphire), SOI (Silicon on Insulator), BICMOS, PMOS
downlink, morphology detection, initialization of devices,        and/or NMOS circuitry.
while still providing low processing capabilities such as 60
sensing intrinsic beats, pacing, low speed telemetry, with the           BRIEF DESCRIPTION OF THE DRAWINGS
desired power consumption; and the inability to provide              FIG. 1 is a graphical illustration showing energy/delay
circuit designs that operate at lower frequencies and thus        versus supply voltage for CMOS circuit operation.
lower power consumption as opposed to the use of higher              FIG. 2 shows a prior art CMOS inverter which is used as
speed clocks such as burst clocks.                             65 a building block in many CMOS circuit designs.
   In comparison to known techniques for reducing power              FIG. 3 is a block diagram of a just-in-time clocking
consumption in circuit designs, various embodiments of the        system according to the present invention.
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   FIGS. 4A-4C show timing illustrations for use in describ­      least in part the use of multiple DSP systems to reduce power
ing the just-in-time clocking system of FIG. 3.                   consumption is shown in those Figures.
   FIG. 5 is a block diagram illustration of a multiple supply       FIG. 3 shows a general block diagram of a just-in-time
voltage system according to the present invention.                clock system 3〇. Just-in-time clock system 30 includes
   FIG. 6 is a block diagram illustrating a variable supply 5 integrated circuit 32 and clock source 34. Integrated circuit
voltage system according to the present invention.                32 includes a plurality of circuits Cl-Cn. Each circuit when
   FIG. 7 is a block diagram of clock controlled processing       operable is capable of performing one or more circuit
circuitry according to the present invention.                     functions. A function is defined herein as any operation
                                                                  performed on one or more inputs in a plurality of cycles that
   FIG. 8 is a diagram illustrating an implantable medical 10 results in an output. Generally, the functions performed by
device in a body.                                                 the various circuits Cl-Cn are usually, although not neces­
   FIG. 9 is a block diagram of the circuitry of a pacemaker      sarily always, performed in a predetermined number of
for use in illustrating one or more embodiments of the            clock cycles. Clock source 34 is operable for providing
present invention.                                                clock signals at a plurality of clock frequencies generally
   FIG. 10 is a schematic block diagram of an implantable 15 shown as clockl-clockn.
pacemaker/cardioverter/defibrillator (PCD) for illustrating          Circuits Cl-Cn of integrated circuit 32 may include
one or more embodiments of the present invention.                 discrete function circuits (e.g., logic circuits for operating
   FIG. 11 is a schematic block diagram illustrating a vari­      upon one or more inputs to implement a particular function
able clock/variable supply voltage digital signal processing      to provide one or more outputs therefrom), such as circuits
                                                               20
system according to the present invention.                        operating on one input from a sensor to provide a represen­
   FIG. 12 is a schematic block diagram generally illustrat­      tative signal to further functional circuitry, transceiver
ing the system of FIG. 11.                                        circuitry, conversion circuitry, etc. Moreover, circuits
   FIG. 13 is a schematic block diagram generally illustrat­      Cl-Cn may comprise data processing circuitry capable of
ing reduction in power consumption using multiple digital 25 performing multiple functions under program control.
signal processing systems according to the present inven­         Alternatively, such circuits Cl-Cn may implement firmware
tion.                                                             (software) functions/routines that must complete prior to
                                                                  some succeeding event or prior to the start of the next
   FIG. 14 is a schematic block diagram of a portion of           function. For example, as described further herein with
cardiac pacemaker including sense amplifiers for receiving        respect to illustrative embodiments of implantable medical
cardiac sense signals.                                         30
                                                                  devices, such circuits may include digital signal processing
   FIG. 15 is a two digital signal processing system embodi­      circuits, telemetry uplink/downlink circuitry, morphology
ment of a system according to FIG. 13 illustrating imple­         detection circuitry, arrhythmia detection circuitry, monitor­
mentation of the sense amplifier functions illustrated in FIG.    ing circuitry, pacing circuitry, microprocessors, and so on.
14 according to the present invention.                               The functions performed by each of circuits Cl-Cn are
                                                               35
   FIG. 16 is a general schematic block diagram of a device       typically required to be completed in a particular time period
according to the present invention using different supply         prior to a next functional process being undertaken. For
voltages for analog and digit시 circuits of the device.            example, one logic circuit may perform a function in a
   FIG. 17 is a more detailed schematic block diagram of one      predetermined time period to provide an output required by
embodiment of a pacemaker much like that shown in FIG. 40 another circuit, or for example, a function may need to be
9 according to the present invention wherein a lower supply       performed by processing circuitry during a particular period
voltage is applied to the digital circuits of the pacemaker       of time due to the need for other processing to be performed
with a charge pump being used to generate a higher supply         by such processing circuitry. In another example pertaining
voltage to be applied to the analog circuits of the pacemaker.    especially to an implantable medical device, processing to
   FIG. 18 is a block diagram illustrating the use of digital 45 complete a particular function may need to be performed in
signal processor(s) in the embodiment shown in FIG. 17.           a portion of a particular time interval such as a blanking
   FIG. 19 shows a block diagram of one embodiment of the         interval, an upper rate interval, an escape interval, or refrac­
present invention.                                                tory interval of a cardiac cycle, or further, such as during a
                                                                  pulse generator/programmer handshake.
   FIG. 20 shows one embodiment of a rate adaptive algo­
rithm of the present invention.                                50    Clock source 34 may be configured in any manner for
                                                                  providing clock sign시s at a plurality of frequencies. Such a
   FIG. 21 shows a modified version of the schematic block
                                                                  clock source may include any number of clock circuits
diagram of FIG. 11 according to one embodiment of the
                                                                  wherein each provides a single clock signal at a particular
present invention.
                                                                  frequency, clock source 34 may include one or more adjust­
   FIG. 22 shows conventional von Neumann microproces­
                                                               55 able clock circuits for providing clock signals over a con­
sor architecture.                                                 tinuous range of clock frequencies, and/or clock source 34
   FIG. 23 shows one embodiment of Harvard microproces­           may include a clock circuit that is operable to provide clock
sor architecture of the present invention.                        signals at discrete clock frequencies as opposed to over a
   FIG. 24 shows one embodiment of a pipeline architecture        continuous range. For example, the clock source 34 may
timing diagram of the present invention.                       60 include oscillators, clock dividers, timers, clock control
   FIG. 25 shows one embodiment of pipeline architecture          circuitry or any other circuit elements required for providing
of the present invention.                                         clock signaling according to the present invention.
                                                                  Preferably, clock source 34 is configured as a continuously
           DETAILED DESCRIPTION OF THE                            oscillating low frequency clock and a controllable on/off
                      EMBODIMENTS                              65 higher frequency clock.
   One embodiment of the present invention is first generally        Just-in-time controllable clock operation of the just-in­
described in reference to FIGS. 3-15. More particularly, at       time clocking system 30 of FIG. 3 is described herein in
                                                                     24



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reference to FIGS. 4A-4C. As shown in FIG. 4A, time                  substantially the entire maximum time period available for
period (x) represents the time period in which a circuit, e.g.,      such processing, i.e., time period y. Once again, a small
one of circuits Cl-Cn, is required to complete one or more           remainder time period 75 of the cardiac cycle time period x
functions. The same time period (x) is shown in FIG. 4B.             may exist. Such time period may be, for example, in the
The time period x may be equated to any number of different 5 range of about f.O millisecond to about fO.O milliseconds
time periods. For example, the time period may be the                when the cardiac cycle is in the range of about 400 milli­
amount of time a processing circuit has to perform a                 seconds to about f200 milliseconds.
particular detection function due to the need for a detection           FIG. 5 shows a general block diagram of a multiple
output by a certain point in time, may be a time period              supply voltage system 100 wherein one or more supply
required to complete a particular function by a certain logic 10 voltages are available and tailored for application to various
circuit so as to provide a timely output to a digit시 signal          circuits in an IC. The multiple supply voltage system 100
processing circuit, may be a time period to complete a               includes integrated circuit 102 and supply voltage source
firmware (software) routine, etc. Moreover, time period x            106. Integrated circuit 102 includes circuits Cl-Cn. Supply
may correspond to a cardiac cycle or a part thereof.                 voltage source 106 is operable for providing a plurality of
   As shown in FIG. 4B, and according to conventional 15 supply voltages Vl-Vn. Each supply voltage from supply
processing, circuit functions were typically performed at a          voltage source 106 is tailored to be applied to one or more
burst cycle frequency and, as such, the function performed           circuits of circuits Cl-Cn. As illustrated, supply voltage VI
required a time period 6〇. Therefore, only a small amount of         is applied to circuit Cl, supply voltage V2 is applied to
time (e.g., time period 60) of the entire time period x was          circuit C2 and C3, and so forth.
used to perform the one or more functions requiring n cycles 20         The tailoring of the supply voltages Vl-Vn to the par­
of time to complete. In such a case, conventionally, such            ticular circuits Cl-Cn is dependent upon the frequency at
burst clocks were at a substantially high clock rate, e.g.,          which the circuits Cl-Cn are required to be operated. For
5〇〇-f〇〇〇 KHz, for such short periods of time to gain the             example, and as previously described, the logic delay of
benefit of a “duty cycle^^ to reduce average current drain.          such CMOS, CML, SOS, SOI, BICMOS, PMOS and/or
However, such high clock rates may not be required for 25 NMOS circuitry circuits Cl-Cn increases drastically as the
carrying out such functions, or all functions.                       supply voltage is reduced to near 1 volt. If such logic delay
   With just-in-time clocking according to the present               is tolerable, the supply voltage provided to a particular
invention, as shown in FIG. 4A, substantially the entire time        circuit will drastically reduce the power consumption for
period x is used to perform the one or more functions which          that particular circuit as the energy is reduced in proportion
are completed in n cycles. In other words, the clock 30 to the square of the supply voltage fVっり).However, if such
frequency, e.g., one of clockl-clockn, for the circuit per­          logic delay is not tolerable, for example, if the logic circuit
forming the one or more functions during the time period x           performs a function that must be completed within a par­
is set such that the one or more functions are completed in          ticular period of time, the reduction of the supply voltage
the maximum time available for performing such functions,            (V/g) applied to such a circuit will be limited depending
                                                                  35
i.e., the clock frequency is at its lowest possible value. Stated    upon the acceptable logic delay. However, the supply volt­
another way, a lower frequency clock is employed such that           age ヽJdd for any particular circuit can be reduced as low as
the one or more functions are performed just-in-time for             possible yet meet adequate speed requirements.
other circuit or routine functionality to be performed.                 Integrated circuit 102 may include various different cir­
   In such a just-in-time manner, the clock frequency used to 40 cuits Cl-Cn like those described with reference to FIG. 3.
control the performance of such functions by the particular          The supply voltage source 106 may be implemented using a
CMOS, CML, SOS, SOI, BICMOS, PMOS and/or NMOS                        variety of components and may include any number of
circuitry is lowered resulting in reduced power consumption          voltage sources wherein each provides a single supply
by such circuitry. According to c시dilations of dynamic               voltage level, may include one or more adjustable voltage
power, the lower frequency results in proportional power 45 sources for providing supply voltage levels over a continu­
reduction. With the lowering of the clock frequency, the             ous range of levels, and/or may include a voltage source that
integrated circuit 32 including the various circuits Cl-Cn           is operable to provide discrete supply voltage levels as
can be designed to operate at a lower frequency, e.g., as            opposed to levels over a continuous range. The supply
opposed to burst frequency, and also at various other fre­           voltage source may include a voltage divider, a voltage
quencies depending upon need.                                     50
                                                                     regulator, a charge pump, or any other elements for provid­
   It is preferred that use of substantially the entire prede­       ing the supply voltages Vl-Vn. Preferably, the supply
termined period of time result in completion of the one or           voltage source 106 is configured as a charge pump.
more functions being performed prior to the end of the time             In the typic시 case, supply voltage (V^^) is generally in
period x as is represented by remainder time periods 55 in           the range of about 3 volts to about 6 volts. Preferably, and
FIG. 4A. This remainder time period 55, for example, is 55 in accordance with the present invention, the supply volt­
preferably near or about 〇 seconds.                                  ages Vl-Vn are in the range of about 1 volt to about 3 volts
   FIG. 4C shows an illustrative timing example for pro­             dependent upon the particular CMOS, CML, SOS, SOI,
cessing circuitry which performs multiple functions. For             BICMOS, PMOS and/or NMOS technology used.
example, the cardiac cycle of a patient is represented in FIG.          With reduction in supply voltage (V&), the threshold
4C as time period x. During time period 71, i.e., during a 60 voltage (Vj) for the circuits is also reduced. For example,
QRS complex of the cardiac cycle, high speed processing is           with supply voltages in the range of about 3 to about 6 volts,
performed at a high clock frequency relative to a lower clock        the thre아lold voltage for CMOS, CML, SOS, SOI,
frequency used to control operation of the processing cir­           BICMOS, PMOS and/or NMOS devices is generally in the
cuitry during time period y. During the time period y, when          range of about 0.8 volts to about f.O volt. Preferably, in
the processing circuitry is operated at a lower clock 65 implantable medical devices, lithium chemistries are utilized
frequency, such lower clock frequency may be set such that           for implantable batteries. Such lithium chemistries are gen­
the functions performed during z cycles are performed in             erally in the range of about 2.8 volts to about 3.3 volts and
                                                                      25



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generally the CMOS, CML, SOS, SOI, BICMOS, PMOS                     described in reference to FIG. 5. In variable supply voltage/
and/or NMOS circuitry has an associated threshold voltage           variable clock system 150, however, clock/voltage interface
of about 0.75.                                                      155 is employed to adjust supply voltages Vl-Vn applied to
   By reducing the supply voltages below about 2.8 volts,           the circuits Cl-Cn “on the             as required by specific
voltage thre아lolds for CMOS, CML, SOS, SOI, BICMOS, 5 timing functions required by or inherent to circuits Cl-Cn.
PMOS and/or NMOS devices may be decreased to as low as                  As an illustrative example, circuit Cl may be a particular
about 0.2 volts to about 0.3 volts. Currently, there are            logic circuit for performing one or more particular functions.
various ultra low power logic designs operating at a supply         Such functions may be required to be performed, however,
voltage as low as about 1.1 volts, as for example logic             in a first time period at a first clock frequency and during a
circuitry for microprocessors for laptop and other portable 10 different second time period at a second clock frequency so
computer applications. By utilizing the tailored supply volt­       that such function may be performed within the 시lowed
ages Vl-Vn, low power or ultra low power logic designs              time of the respective first and second time periods. That is,
may be employed for at least some of the various circuits           one time period is shorter than the other and, as such, the
Cl-Cn of integrated circuit 102. Other circuits may require         functions which require performance over a certain number
higher supply voltages. With the use of lower threshold 15 of cycles must be performed at a higher clock frequency if
levels due to lower supply voltages, static power consump­          it is to be completed within a time period that is shorter than
tion losses undesirably increase by several orders of mag­          another time period.
nitude.                                                                 In such an example, and according to the present
   Multiple supply voltage system 100 may therefore further         invention, clock/voltage interface 155 detects the clock
                                                                 20
optionally include back gate bias source 130 for providing          signal applied to circuit Cl during the first time period in
back gate bias voltages BVl-BVn to circuits Cl-Cn of                which the higher frequency clock signal is used and accord­
integrated circuit 102. Generally, back gate bias voltages          ingly provides supply voltage source 154 with a signal to
BVl-BVn are dependent upon the supply voltage Vl-Vn                 select and apply a certain supply voltage corresponding to
applied to the circuits Cl-Cn to adjust the threshold voltages      the higher clock frequency. Thereafter, when the lower clock
for devices of circuits Cl-Cn. For example, the threshold 25 frequency is applied to circuit Cl during the second time
voltage (も)for the CMOS, CML, SOS, SOI, BICMOS,                     period, clock/voltage interface 155 senses the use of the
PMOS and/or NMOS devices of the circuit may be at a                 lower clock frequency and applies a signal to voltage supply
lower value by providing a back gate bias voltage to the            source 154 for application of a certain supply voltage
particular circuits supplied with the lower supply voltage.         corresponding to the lower clock frequency for application
Moreover, if circuit Cl is supplied with a lower supply 30 to circuit Cl.
voltage VI, then a back gate bias voltage BVl may option­               In another example, circuit C2 may be a CMOS, CML,
ally be applied to circuit Cl to adjust the threshold voltage       SOS, SOI, BICMOS, PMOS and/or NMOS processor which
(も)for the CMOS, CML, SOS, SOI, BICMOS, PMOS                        may also have clock frequency and corresponding supply
and/or NMOS devices to a higher threshold voltage (ら)               voltage adjustments made “on the fly.^^ Such a system will
                                                                 35
value. In such a manner, static leakage current losses can be       become readily apparent to those skilled in the art from the
minimized because the equivalent higher threshold voltage           following discussion referring to FIG. 7.
has been restored. Moreover, a broader range of supply                  FIG. 7 shows a general block diagram of clock controlled
voltages is possible because the back gate adjustment allows        processing system 200 according to the present invention.
a tailoring of the threshold allowing high/low speed opera­
                                                                 40 Clock controlled processing system 200 includes processor
tion and eliminating the static current drain leakage.              202 (e.g., a CMOS, CML, SOS, SOI, BICMOS, PMOS
   The back gate bias voltage may be provided by, for               and/or NMOS microprocessor or CMOS, CML, SOS, SOI,
example, a fixed voltage source (e.g., a charge pump)               BICMOS, PMOS and/or NMOS digital signal processor),
connected to the back gate well via a contact. Alternatively,       clock source 204, supply voltage source 206, voltage regu­
an active body bias scheme whereby the voltage source is 45 lator 212, regulator interface 210, clock control 208, and
selectable or adjustable over an appropriate range may be           optional back gate bias source 214. In a manner similar to
used.                                                               that described in reference to FIG. 6, the supply voltage 206
   Back gate voltages may be applied in manners well know           applied to processor 202 is changed “on the         as required
in the art. The application of back gate bias voltages is           by specific circuit timing requirements.
described, for example, in various patent references, includ­ 50        Generally, processor 202 is operated under control of
ing U.S. Pat. No. 4,79f,3f8 to Lewis et al., U.S. Pat. No.          clock source 204. Depending upon the processing capability
4,460,835 to Masuoka, U.S. Pat. No. 5,6f〇,〇83 to Chan et            required, clock source 204 may operate processor 202 at any
al. and U.S. Pat. No. 5,f85,535 to Farb et al., all incorporated    one of a plurality of clock frequencies. Such clock frequen­
by reference herein in their respective entireties.                 cies may be selected under the control of clock control 208.
   FIG. 6 shows a general block diagram of a variable supply 55 Clock control 208 may be part of any timing and control
voltage/variable clock system 150 according to the present          hardware and/or timing and control software used to control
invention. System 150 includes integrated circuit 152, clock        operation of processor 202 as part of a larger system. Such
source 156, supply voltage source 154, and clock/supply             clock control may take the form, for example, of a digital
voltage interface 155. Supply voltage source 154 is operable        controller/timer circuit for performing timing control of an
for providing a plurality of supply voltages Vl-Vn to a 60 implantable medic시 device.
plurality of circuits Cl-Cn of integrated circuit 152. Clock            Processor 202 may perform any number of functions as
source 156 of system 150 is operable for providing clock            appropriate for the device in which it is used. High fre­
signals at a plurality of frequencies, clockl-clockn. Circuits      quency processing capabilities (i.e., about 250 KHz to about
Cl-Cn are of a similar nature to those described with               fO MHz), low frequency processing capabilities (i.e., about
reference to FIG. 3. Clock source 156 is similar to the clock 65 1 Hz to about 32 KHz), and processing capabilities with
source 34 as described with reference to FIG. 3. Supply             regard to frequencies between such limits are contemplated
voltage source 154 is similar to supply voltage source 106          according to the present invention. For simplicity purposes,
                                                                      26



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                             11                                                               12
clock control processing system 200 operation shall be          202 at the relatively lower clock frequency, a lower supply
described with reference to processor 202 performing only       voltage from supply voltage source 206 is applied to the
two different functions, each during a predetermined respec­    CMOS, CML, SOS, SOI, BICMOS, PMOS and/or NMOS
tive period of time. For example, with respect to an implant­   devices of processor 202 during time period y of the overall
able medical device such as a pacemaker, during the first 5 cardiac cycle time period x.
period of time, a high processing function requiring a             Moreover, and as shown in FIG. 7, an optional back gate
relatively high clock frequency may include a function such     bias 214 may be used to dynamically adjust the threshold
as telemetry uplink/downlink, morphology detection,             voltage (ら)of CMOS, CML, SOS, SOI, BICMOS, PMOS
initialization, arrhythmia detection, far-field R-wave          and/or NMOS circuitry devices of processor 202 as a
detection, EMI detection, retrograde conduction, etc. On the 10 function of the clock frequency applied to processor 202 by
other hand, low frequency processing functions may include      clock source 204. The regulator interface 210 detects the
a function such as sensing intrinsic beats, pacing, low speed   clock frequency used to control operation of processor 202
telemetry, transtelephonic data transfer, remote monitoring,    and controls the voltage level of back gate bias 214 to be
battery checks, etc.                                            applied to the CMOS, CML, SOS, SOI, BICMOS, PMOS
   When processor 202 performs high frequency processing 15 and/or NMOS devices of processor 202. The dynamic
functions during a predetermined time period, a relatively      adjustment of the threshold voltage may be implemented as
high clock frequency (e.g., about 250 KHz to about fO MHz)      an adjustable or selectable voltage source utilizing, for
may be supplied by clock source 204 for operation of            example, a charge pump and a regulator. The back gate
processor 202. Regulator interface 210 will detect the higher   voltage and the “normal" gate voltage provide a gate bias or
clock frequency applied to processor 202 for operation 20 voltage to the transistor. By adjusting the back gate voltage,
during the high processing function and apply a control         the “apparent" voltage is increased with a resultant reduction
signal to voltage regulator 212 for regulation of the supply    in leakage current.
voltage source 206. Supply voltage source 206 is operable          FIG. 8 is a simplified diagram of implantable medical
under control of voltage regulator 212 to provide a supply      device 260 for which the present invention finds particularly
voltage within a predetermined range, preferably between 25 efficacious application. Implantable medical device 260 is
about f.f volts and about 3 volts. When a high clock            implanted in body 250 near human heart 264. Implantable
frequency is employed to operate processor 202 for high         medical device 260 is connected to heart 264 by leads 262.
frequency processing functions, supply voltage source 206       In the case where device 260 is a pacemaker, leads 262 may
generally applies a supply voltage in the upper range of the    be pacing and sensing leads for sensing electrical signals
preferred supply voltages to the CMOS, CML, SOS, SOI, 30 attendant to the depolarization and repolarization of heart
BICMOS, PMOS and/or NMOS devices of processor 202.              264, and for providing pacing pulses in the vicinity of the
   On the other hand, when processor 202 executes low           distal ends thereof.
frequency processing functions during predetermined peri­          Implantable medical device 260 may be any implantable
ods of time, clock control 208 signals clock source 204 to      cardiac pacemaker such as those disclosed in U.S. Pat. No.
apply a lower frequency for operation of processor 202. As 35 5,f58,078 to Bennett et al., U.S. Pat. No. 5,387,228 to
such, regulator interface 210 detects the lower frequency       Shelton, U.S. Pat. No. 5,3f2,453 to Shelton et al., or U.S.
being used to operate processor 202 and issues a control        Pat. No. 5,f44,949 to Olson, all hereby incorporated herein
signal to voltage regulator 212 for regulation of supply        by reference in their respective entireties and which can all
voltage source 206 such that a lower supply voltage in the      be modified according to the present invention.
lower end of the preferred range of supply voltages is 40          Implantable medical device 260 may also be a pacemaker/
applied to the CMOS, CML, SOS, SOI, BICMOS, PMOS                cardioverter/defibrillator (PCD) corresponding to any of the
and/or NMOS devices of processor 202.                           various commercially-available implantable PCDs, one of
   It will be recognized by those skilled in the art that any   which is summarily described herein with reference to FIG.
intermediate processing capability may be achieved between      10 and described in detail in U.S. Pat. No. 5,447,5f9. In
the higher frequency and the lower frequency capabilities 45 addition to the PCD described in U.S. Pat. No. 5,447,519,
described hereinabove, and that the scope of the present        the present invention may be practiced in conjunction with
invention is not limited to processing at only two clock        PCDs such as those disclosed in U.S. Pat. No. 5,545,186 to
frequencies and at two corresponding supply voltages.           Olson et al., U.S. Pat. No. 5,354,316 to Keimel, U.S. Pat.
Instead, multiple levels of processing capability may be        No. 5,314,430 to Bardy, U.S. Pat. No. 5,131,388 to Pless, or
achieved according to the present invention with associated 50 U.S. Pat. No. 4,821,723 to Baker et al., all hereby incorpo­
clock frequencies and corresponding supply voltages being       rated herein by reference in their respective entireties. Those
applied to processor 202.                                       devices may be employed using the present invention in that
   FIG. 4C illustrates one embodiment of the clock control      such devices may employ or be modified with circuitry
processing system 200 of the present invention. As shown in     and/or systems according to the present invention.
FIG. 4C, during the overall cardiac cycle of predetermined 55      Alternatively, implantable medic시 device 260 may be an
time period x, a high frequency is employed to control          implantable nerve stimulator or muscle stimulator such as
operation of processor 202 during time period 71 of the         those disclosed in U.S. Pat. No. 5,199,428 to Obel et al.,
cardiac cycle time period x (e.g., during processing of the     U.S. Pat. No. 5,207,218 to Carpentier et al., or U.S. Pat. No.
QRS complex). Thereafter, a lower clock frequency is used       5,330,507 to Schwartz, or an implantable monitoring device
during time period y for controlling operation of processor 60 such as that disclosed in U.S. Pat. No. 5,331,996 issued to
202 to perform any of a number of other different functions,    Bennet et al., all of which are hereby incorporated by
such as cardiac event/EMI differentiation functions. During     reference herein in their respective entireties.
operation of the processor 202 at the higher clock frequency       Finally, implantable medical device 260 may be a
during time period 71, a higher supply voltage from supply      cardioverter, an implantable pulse generator (IPG) or an
voltage source 206 is applied to the CMOS, CML, SOS, 65 implantable cardioverter-defibrillator (ICD).
SOI, BICMOS, PMOS and/or NMOS circuitry devices of                 It is to be understood, however, that the scope of the
processor 202. Likewise, during operation of the processor      present invention is not limited to implantable medical
                                                                    27



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                                                           6,163,721
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devices or medical devices only, but includes any type of         circuit 322, and on-board random access memory (RAM)
electrical device which employs CMOS, CML (Current                324 and read only memory (ROM) 326. In this illustrative
Mode Logic), SOS (Silicon on Sapphire), SOI (Silicon on           embodiment, off-board circuit 328 comprises a RAM/ROM
Insulator), BICMOS, PMOS and/or NMOS circuitry or                 unit. On-board circuit 316 and off-board circuit 328 are each
circuit design where low power consumption is desired.          5 coupled by a communication bus 330 to digital controller/
   In general, implantable medical device 260 includes an         timer circuit 332.
hermetically-sealed enclosure that includes an electrochemi­         According to the present invention, the circuits shown in
cal cell such as a lithium battery, CMOS circuitry that           FIG. 9 are powered by an appropriate implantable battery
controls device operations, and a telemetry transceiver           supply voltage source 301 (e.g., a voltage source generally
antenna and circuit that receives downlinked telemetry com­ 10 shown in FIGS. 1-7). For the sake of clarity, the coupling of
mands from and transmits stored data in a telemetry uplink        supply voltage source 301 to various circuits pacemaker 300
to an external programmer. The circuitry may be imple­            is not shown in the figures. Further, the circuits operable
mented in discrete logic and/or may include a                     under control of a clock signal shown in FIG. 9 are operated
microcomputer-based system with A/D conversion.                   according to the present invention under clock source 338.
   It is to be understood that the present invention is not 15 For the sake of clarity, the coupling of such clock signals
limited in scope to particular electronic features and opera­     from the clock source 338 (e.g., a clock source generally
tions of particular implantable medical devices and that the      shown in FIGS. 1-7) to such CMOS, CML, SOS, SOI,
present invention may be useful in conjunction with various       BICMOS, PMOS and/or NMOS circuits of pacemaker 300
implantable devices. Moreover, the present invention is not       is not shown in the Figures.
limited in scope to implantable medical devices including 20         Antenna 334 is connected to input/output circuit 312 to
only a single processor but may be applicable to multiple­        permit uplink/downlink telemetry through RF transmitter
processor devices as well.                                        and receiver unit 336. Unit 336 may correspond to the
   FIG. 9 shows a block diagram illustrating the components       telemetry and program logic disclosed in U.S. Pat. No.
of pacemaker 300 in accordance with one embodiment of             4,556,063 issued to Thompson et al., hereby incorporated by
                                                               25 reference herein in its entirety, or to that disclosed in the
the present invention. Pacemaker 300 has a microprocessor­
based architecture. Illustrative pacemaker 300 of FIG. 9 is       above-referenced Wyborny et al. patent.
only one exemplary embodiment of such devices, however,              NREF and bias circuit 340 generates a stable voltage
and it will be understood that the present invention may be       reference and bias currents for circuits of input/output circuit
implemented in any logic-based, custom integrated circuit         312. Analog-to-digit시 converter (ADC) and multiplexer unit
                                                               30
architecture or in any microprocessor-based system.               342 digitize analog signals and voltages to provide “real­
   In the illustrative embodiment shown in FIG. 9, pace­          time" telemetry intracardiac signals and battery end-of-life
maker 300 is most preferably programmable by means of an          (EOL) replacement function. A power on reset circuit 341
external programming unit (not shown in the figures). One         functions as a means to reset circuitry.
such programmer suitable for the purposes of the present 35          Operating commands for controlling the timing pace­
invention is the commerci시ly available Medtronic Model            maker 300 are coupled by bus 330 to digital controller/timer
9790 programmer. The programmer is a microprocessor­              circuit 332, where digital timers and counters establish the
based device which provides a series of encoded signals           overall escape interv시 of pacemaker 300 as well as various
pacemaker 300 by means of a programming head which                refractory, blanking, and other timing windows for control­
transmits radio frequency (RF) encoded signals to antenna 40 ling the operation of the peripheral components disposed
334 pacemaker 300 according to a telemetry system such as,        within input/output circuit 312.
for example, that described in U.S. Pat. No. 5,f27,404 to            Digital controller/timer circuit 332 is preferably coupled
Wyborny et al., the disclosure of which is hereby to incor­       to sense circuitry 345 and to electrogram (EGM) amplifier
porated by reference herein in its entirety. It is to be          348 for receiving amplified and processed sign시s sensed by
understood, however, that any programming methodology 45 electrode 306 disposed on lead 302«. Such signals are
may be employed so long as the desired information is             representative of the electrical activity of the patienf s heart
transmitted to and from the pacemaker.                            264. Sense amplifier 346 of circuitry 345 amplifies sensed
   Pacemaker device 300 illustratively shown in FIG. 9 is         electrocardiac signals and provides an amplified signal to
electrically coupled to the patienf s heart 264 by leads 302.     peak sense and threshold measurement circuitry 347. Circuit
Lead 302。including electrode 306 is coupled to a node 310 50 347 in turn provides an indication of peak sensed voltages
in the circuitry pacemaker 300 through input capacitor 308.       and measured sense amplifier threshold voltages on path 357
Lead 302Z? is coupled to pressure circuitry 354 of input/         to digital controller/timer circuit 332. An amplified sense
output circuit 312 to provide a pressure sign시 from sensor        amplifier signal is also provided to comparator/threshold
309 to the circuit 354. The pressure signal is used to            detector 349. The sense amplifier may correspond to that
ascertain metabolic requirements and/or cardiac output of a 55 disclosed in U.S. Pat. No. 4,379,459 to Stein, which is
patient. Further, activity sensor 351, such as a piezoceramic     hereby incorporated by reference herein in its entirety.
accelerometer, provides a sensor output to activity circuit          The electrogram signal provided by EGM amplifier 348 is
352 of input/output circuit 312. The sensor output varies as      employed when the implanted device 300 is being interro­
a function of a measured parameter that relates to metabolic      gated by an external programmer (not shown) to transmit by
requirements of a patient. Input/output circuit 312 contains 60 uplink telemetry a representation of an analog electrogram
circuits for interfacing to heart 264, to activity sensor 351,    of the patienf s electrical heart activity. Such functionality is,
to antenna 334, to pressure sensor 309 and circuits for           for example, shown in U.S. Pat. No. 4,556,063 to Thompson
application of stimulating pulses to heart 264 to control its     et al., previously incorporated by reference.
rate as a function thereof under control of software-                Output pulse generator and amplifier 350 provides pacing
implemented algorithms in microcomputer unit 314.              65 stimuli to the patienf s heart 264 through coupling capacitor
   Microcomputer unit 314 preferably comprises on-board           305 and electrode 306 in response to a pacing trigger signal
circuit 316 that includes microprocessor 320, system clock        provided by digital controller/timer circuit 332. Output
                                                                      28



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amplifier 350 may correspond generally to the output ampli­           According to the present invention, the circuits shown in
fier disclosed in U.S. Pat. No. 4,476,868 to Thompson, also        FIG. 10 are powered by an appropriate implantable battery
incorporated by reference herein in its entirety. The circuits     supply voltage source 490 (e.g., a voltage source generally
of FIG. 9 comprise CMOS, CML, SOS, SOI, BICMOS,                    shown in FIGS. 1-7). For the sake of clarity, the coupling of
PMOS and/or NMOS circuitry capable of operation accord- 5 supply voltage source 490 to various circuits of the PCD 400
ing to the present invention include processor 320, digital        is not shown in the figures. Further, the circuits operable
controller timer circuit 332, RAM 324, ROM 326, RAM/               under control of a clock signal shown in FIG. 10 are
ROM unit 328 and ADC/Mux 342.                                      operated according to the present invention under clock
   FIG. 10 is a functional schematic diagram from U.S. Pat.        source 491. For the sake of clarity, the coupling of such
No. 5,447,5f9 to Peterson, which 아lows implantable PCD ］〇 clock signals from the clock source 491 (e.g., a clock source
400 in which the present invention may usefully be prac­           generally shown in FIGS. 1-7) to such CMOS, CML, SOS,
ticed. This diagram is an illustration to be taken only as an      SOI, BICMOS, PMOS and/or NMOS circuits of PCD 400 is
exemplary type of device in which the invention may be             not shown in the figures.
embodied, and not as limiting to the scope of the present             The occurrence of an R-wave sense event or detect signal
invention. Other implantable medical devices as previously 任 Rout 464 is communicated to processor 424 to initiate
described having functional organizations wherein the              morphology analysis on waveforms by processor 424 for use
present invention may be useful may also be modified in            in selection of a therapy for heart 264. For example, the
accordance with the present invention. The present inven­          processor may calculate the cumulative beat-to-beat vari­
tion is also believed to be useful, for example, in conjunction    ability of heart 264, time interv시s separating R-wave sense
with implantable PCDs such as those disclosed in U.S. Pat.         events, and various other functions as set out in numerous
No. 4,548,209 to Wielders et al.; U.S. Pat. No. 4,693,253 to       references including any of the references already listed
Adams et al.; U.S. Pat. No. 4,830,006 to Haluska et al.; and       herein and various other references with regard to implant­
U.S. Pat. No. 4,949,730 to Pless et al.; all of which are          able PCDs.
incorporated herein by reference in their respective entire­          Other portions of the PCD 400 of FIG. 10 are dedicated
ties.                                                           25 to the provision of cardiac pacing, cardioversion, and
   Illustrative PCD 400 is provided with six electrodes            defibrillation therapies. With regard to cardiac pacing, the
401,402, 404, 406, 408, and 41〇. Electrodes 401 and 402            pacer timing/control circuit 420 includes programmable
may be a pair of closely-spaced electrodes, for example, that      digit시 counters which control the basic timing intervals
are positioned in the ventricle of heart 264. Electrode 404        associated with cardiac pacing, including the pacing escape
may correspond to a remote, indifferent electrode located on 为 intervals, the refractory periods during which sensed
the housing of the implantable PCD 40〇. Electrodes 406,            R-waves are ineffective to restart timing of escape intervals,
408, and 410 may correspond to large surface area defibril­        etc. The durations of such intervals are typically determined
lation electrodes located on leads to the heart 264 or epi­        by processor 424 and communicated to pacer timer/control
cardial electrodes.                                                circuit 420 via address/data bus 44〇. Further, under control
   Electrodes 401 and 402 are shown as hard-wired to the 35 of processor 424, pacer timing/control circuit also deter­
near field (i.e., narrowly spaced electrodes) R-wave detector      mines the amplitude of such cardiac pacing pulses and pace
circuit 419 comprising band pass filtered amplifier 414, auto      out circuit 421 provides such pulses to the heart.
threshold circuit 416 (for providing an adjustable sensing            In the event that a tachyarrhythmia (i.e., tachycardia) is
threshold as a function of the measured R-wave amplitude),         detected, and an anti-tachyarrhythmia pacing therapy is
and comparator 418. An Rout signal 464 is generated 40 desired, appropriate timing mterv시s for controlling genera­
whenever the signal sensed between electrodes 401 and 402          tion of anti-tachycardia pacing therapies are loaded from
exceeds a sensing threshold defined by auto threshold circuit      processor 424 into pacer timing and control circuitry 42〇.
416. Further, the gain on amplifier 414 is adjusted by pacer       Similarly, in the event that generation of a cardioversion or
timer and control circuitry 42〇. The sense signal, for             defibrillation pulse is required, processor 424 employs the
example, is used to set the timing windows and to align 45 counters and timing and control circuitry 420 to control
successive waveshape data for morphology detection pur­            timing of such cardioversion and defibrillation pulses.
poses. For example, the sense event signal 464 may be                 In response to detection of fibrillation or a tachycardia
routed through the pacer/timer control circuit 420 on bus          requiring a cardioversion pulse, processor 424 activates
440 to processor 424 and may act as an interrupt for the           cardioversion/defibrillation control circuitry 454, which ini­
processor 424 such that a particular routine of operations, 50 tiates charging of the high voltage capacitors 456, 458, 460
e.g., morphology detection, discrimination functions, is           and 462 via charging circuit 450 under control of high
commenced by processor 424.                                        voltage charging line 452. Thereafter, delivery of the timing
   Switch matrix 412 is used to select available electrodes        of the defibrillation or cardioversion pulse is controlled by
under control of processor 424 via data/address bus 440 such       pacer timing/control circuitry 42〇. Various embodiments of
that the selection includes two electrodes employed as a far 55 an appropriate system for delivering and synchronization of
field electrode pair (i.e., widely spaced electrodes) in con­      cardioversion and defibrillation pulses, and controlling the
junction with a tachycardia/fibrillation discrimination func­      timing functions related to them is disclosed in more detail
tion (e.g., a function to discriminate between tachycardia,        in U.S. Pat. No. 5,f88,f〇5 to Keimel, which is incorporated
i.e., an abnormally fast heart rate, and fibrillation, i.e.,       herein by reference in its entirety. Other such circuitry for
uncoordinated and irregular heartbeats, so as to apply an 60 controlling the timing and generation of cardioversion and
appropriate therapy). Far field EGM signals from the               defibrillation pulses is disclosed in U.S. Pat. No. 4,384,585
selected electrodes are passed through band pass amplifier         to Zipes, U.S. Pat. No. 4,949,7f9 to Pless et al., and in U.S.
434 and into multiplexer 432, where they are converted to          Pat. No. 4,375,817 to Engle et al., all incorporated herein by
digit시 data sign시s by analog to digit시 converter (ADC) 430         reference in their entireties. Further, known circuitry for
for storage in random access memory 426 under control of 65 controlling the timing and generation of anti-tachycardia
direct memory access circuitry 428. For example, a series of       pacing pulses is described in U.S. Pat. No. 4,577,633 to
EGM complexes for several seconds may be performed.                Berkovits et al., U.S. Pat. No. 4,880,005 to Pless et al., U.S.
                                                                     29



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Pat. No. 4,726,380 to Vollmann et al., and U.S. Pat. No.              FIG. 11 shows variable clock/variable supply voltage
4,587,970 to Holley et al., all of which are incorporated          digit시 signal processing (DSP) system 500 which may be
herein by reference in their entireties.                           employed in conjunction with and/or in the alternative to
   Selection of a particular electrode configuration for deliv­    certain circuits shown in FIGS. 9 and 10. DSP system 500
ery of the cardioversion or defibrillation pulses is controlled 5 according to FIG. 11, for example, may be employed in
via output circuit 448 under control of cardioversion/             place of activity circuit 352, pressure circuit 354, sense
defibrillation control circuit 454 via control bus 446. Output     amplifier circuit 346 (for P-wave, R-wave- and/or T-wave
circuit 448 determines which of the high voltage electrodes        sense amplifiers), and further may be provided with addi­
406, 408 and 410 will be employed in delivering the                tional functionality with use of pseudo EKG sign시 502.
defibrillation or cardioversion pulse regimen.                  10 Generally, any number of analog signals 499, for example,
   The components of PCD 400 of FIG. 10 comprise CMOS,             such as pseudo EKG signals 502, activity sensor signal 503
CML, SOS, SOI, BICMOS, PMOS and/or NMOS circuitry                  and pressure and onset sensor signal 504, are provided
capable of operation according to the present invention            through respective amplifiers 505-507. The amplified sig-
include processor 424, control circuits 420 and 454, RAM           n시s are presented to multiplexer 510 which provides them
426, DMA 428, ADC 430, and multiplexer 432.                     15 to analog to digital converter (ADC) 516 of the digital signal
   According to the present invention, pacemaker 300 illus­        processing system 500 in a cycled fashion.
trated in FIG. 9 and PCD 400 illustrated in FIG. 10 may both          Signals 502-504 may be cycled at different rates by
be implemented in accordance with the generalized embodi­          cycling through the outputs of the several amplifiers/
ments previously described herein with reference to FIGS.          preamplifiers 505-507 such as described in pending U.S.
1-7. First, for example, with respect to pacemaker 300 of 20 patent application Ser. No. 08/801,335, Medtronic Docket
FIG. 9, voltage supply source 301 of pacemaker 300 may be          No. P-4521, entitled “Method for Compressing Digitized
implemented in a manner previously described with refer­           Cardiac Signals Combining Lossless Compression and Non­
ence to FIGS. 1-7. Likewise, clock source 338 of pacemaker         linear Sampling,^^ which describes variable compression via
300 may be implemented in such a manner as described with          ADC sampling and which is incorporated herein by refer­
reference to FIGS. 1-7. Clock source 491 of PCD 400 of 25 ence in its entirety. The ADC may also have variable
FIG. 10 and the voltage supply source 490 of PCD 400 of            conversion rates as described in U.S. Pat. No. 5,263,486 and
FIG. 10 may be implemented in accordance with the gen­             U.S. Pat. No. 5,312,446, incorporated by reference herein in
eralized embodiments previously described herein with ref­         their respective entireties.
erence to FIGS. 1-7.
                                                                      Input/output interface 514 and program registers 512 are
   As one illustrative example, ADC/Mux 342, RF 30
                                                                   utilized under control of a timing circuit (not shown) to
transmitter/receiver 336, digital controller timer circuit 332,
                                                                   control application of the analog signals from multiplexer
and various other CMOS, CML, SOS, SOI, BICMOS,
                                                                   510 to ADC 516 of the DSP system 500 which provides such
PMOS and/or NMOS circuits may be individually operated
                                                                   converted digital signals to digital filter 518 to provide a
at different clock frequencies available from clock source
                                                                   waveform for analysis to waveform analysis processor 520
338. Likewise, such circuits may be operated at correspond­ 35
                                                                   (i.e., a digital signal processor (DSP)) of system 50〇. To
ing supply voltages which may be different for each of the
                                                                   reduce power, the waveform analysis (DSP) processor 520
circuits. Moreover, RF transmitter/receiver 336 may be
                                                                   is clocked at different speeds, i.e., controlled “on the
operated during a particular time period (e.g., when
                                                                   according to the present invention, depending upon the
uplinking) at a particular clock frequency available from
                                                                   processing needs.
clock source 338 and at a particular supply voltage available 40
from voltage supply source 301 corresponding to the par­              Only during a QRS complex, for example, does waveform
ticular clock frequency. On the other hand, during a different     analysis processor 520 operate in a high speed processing
time period (e.g., during downlink), circuit 336 may be            mode at a relatively high frequency. During the remainder of
operated at a completely different clock frequency and             the cardiac cycle the DSP processor 520 may be “idling
supply voltage. Automatic adjustment of telemetry param­ 45 along^^ at a much lower clock frequency. Such a processing
eters under certain circumstances is described in U.S. Pat.        cycle has been previously described with reference to FIG.
No. 5,683,432 to Goedeke et al., hereby incorporated by            4C. In addition to the lower clock speed utilized for different
reference herein in its entirety.                                  portions of the cardiac cycle, one skilled in the art will
   In respect of FIG. 10, A/D converter circuit 430,               recognize that in accordance with the other aspects of the
cardioverter/defibrillator control circuit 454, and various 50 present invention, as the speed is reduced, the supply voltage
other circuits such as RAM 426, DMA 428, and multiplexer           level (Vs) may also be reduced accordingly. Thus, the
432 may also be operated at different clock frequencies            objective of reduced power consumption is realized.
available from clock source 491 and at different correspond­          DSP system 500 of FIG. 11 is generally shown in FIG. 12.
ing supply voltages available from supply voltage source           Generally, DSP systems, such as DSP system 500, may
49〇. A telemetry circuit (not shown in the Figures) may be 55 include an input filter, an ADC, a sample and hold circuit
employed with PCD 400 of FIG. 10 and may also be                   (sometimes built into the ADC), and a digital signal proces­
operated at different clock frequencies available from clock       sor to provide an output. The input filter, ADC, and sample
source 491 and at different corresponding supply voltages          and hold circuit provide data representative of an analog
available from supply voltage source 49〇. Additionally,            input to the processor. The digital signal processor can then
processor 424 may be operated at different clock speeds, 60 be used to implement one of various algorithms, such as, for
depending upon the function being performed by processor           example, digital filtering, mapping the input, performing
424 (such as described with reference to FIG. 7). Morphol­         morphology detection, functioning as sense amplifiers
ogy detection sensing at typical physiologic rates (i.e., 50 to    (P-wave, R-wave, or T-wave), etc., to provide a desired
f50 BPM), for example, may be performed at a first clock           output.
frequency and corresponding supply voltage while arrhyth­ 65          As used in a medical device described herein, the output
mia detection may be performed at a different clock fre­           of DSP system 500 is generally provided to a controller in
quency and corresponding supply voltage.                           digit시 form. Such a digital output resulting from digital
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processing may, however, be converted back into an analog       thereof. Digital signal processor 623 of the DSP system 603
output using components common to DSP systems such as           then operates on the data to perform a function and provide
a digital to analog (DAC) converter, output filters, etc. One   an output 633 (which may be converted back to an analog
skilled in the art will recognize that depending upon the       signal if desired). The digital signal processor 623 is oper-
application of the present invention, the components of DSP 5 ated at a second clock frequency Cfk2 and a second supply
system 500 may vary. For example, one DSP system may            voltage SV2 is applied to the digital signal processor 623.
include a DAC to provide an analog output, while another           Generally, the first and second clock frequencies Clkl and
such system may not.                                            Clk2 at which the first and second digital signal processors
   As shown in FIG. 12, two or more analog input signals        operate to perform their respective functions in a predeter-
499 are multiplexed by multiplexer 510 and converted to 1。mined time period, are lower relative to the clock frequency
digit시 data representative thereof for processing by the        necessary for a single processor to perform the same func­
digit시 signal processor of DSP system 500. The data rep­        tions in the same predetermined time period. The first and
resentative of the input signals is then operated upon by the   second clock frequencies Clkl and Clk2 are such that the
digital signal processor of DSP system 500 to perform           power consumed by the first and second digit시 signal
functions with regard thereto during a predetermined period 15 processors in performance of the respective functions during
of time. R-wave detection algorithms and P-wave detection       the predetermined period of time is less than the power that
algorithms may be performed, for example, by the same           would be consumed if only one of the first and second digital
digit시 signal processor during the predetermined time           signal processors were to perform both the respective func­
period using data representative of ventricular and atrial      tions within the predetermined time period.
analog input sign시s, respectively, provided to the multi­ 20       Likewise, supply voltages SVl and SV2 may also be
plexer 51〇.                                                     reduced because the digital signal processors 622 and 623
   Such multiplexing of the input sign시s and use of a single    are running at a lower speed and a decrease in clock
digit시 signal processor as shown in FIGS. 11 and 12 to          frequency allows use of lower supply voltages as previously
perform multiple functions in a predetermined period of         described herein. If the clock frequency Cfkl is reduced, for
time requires the digital signal processor of the DSP system 25 example, SVl applied to the digital signal processor 622
500 to be operated at a relatively high clock frequency. The    may also be reduced.
clock frequency is relatively high compared to the clock           By way of example, consider the case in which system
frequencies that would be required if multiple digit시 signal    600 includes only DSP system 602 and DSP system 603.
processors were used to perform the functions in the same 30 Each of DSP systems 602 and 603 receives a sin이e analog
time period. With operation at a relatively high frequency to   input 612 and 613, respectively. Digital signal processor 622
accomplish the multiple functions during this predetermined     operates on the data representative of analog input 612 at
period of time, a relatively high supply voltage must also be   clock frequency Cfkl to perform a first function. Digital
applied to the processor for operation.                         signal processor 623 operates on the data representative of
   The supply voltage is relatively high compared to the 35 the analog input 613 at clock frequency Clk2 to perform a
supply voltage that would be required if multiple digital       second function. In comparison to the power consumed by
signal processors were used to perform the functions in the     a system such as that shown in FIG. 12 (where a single
same time period. As such, the dynamic power (P) con­           processor is used to perform both the functions within the
sumed by the single digit시 signal processor ((P)=%CVd〇2f,       predetermined period of time using multiplexed inputs),
where C is nodal capacitance, F is the clock or switching 40 multiple digital signal processors may perform the same
frequency, and ヽJdd is the supply voltage for the processor)    functions, but while consuming substantially less power.
is rather high. The formula for calculating dynamic power          More particularly, by using two digital signal processors
(P) indicates that dynamic power consumption of CMOS,           in accordance with the present invention, the dynamic power
CML, SOS, SOI, BICMOS, PMOS and/or NMOS circuits is             so consumed (P2) may be computed by the formula:
proportional to the square of the supply voltage ぐdi如 In 45
addition, the dynamic power (P) is proportional to the                  (P2)=必(2C)(Vdd/2)2(F/2)
switching or clock frequency (F). As described below, the
same multiple functions as performed above using a single       where C is two times the nodal capacitance because there are
DSP system can be accomplished using multiple DSP sys­          two digital signal processors, F/2 is the reduced clock or
tems operating at lower clock frequencies and lower supply 如 switching frequency because both the digit시 signal proces­
voltages to reduce power consumption.                           sors can operate at % the speed as compared to a single
   FIG. 13 shows a generalized schematic illustration of        processor attempting to complete both functions in the
such a multiple processor system 600 including multiple         predetermined period of time, and ヽら部2 is the supply
DSP systems 602-604 for reducing power consumption              voltage because the digital signal processors are running at
according to the present invention. DSP system 602 is 55 % speed as compared to the single processor attempting to
provided with a first analog input signal 612 and includes      complete both functions in the predetermined time period.
conversion circuitry for converting the analog input signal        Power consumed by the two digital signal processors
612 to digital data representative thereof. Digital signal      illustration is given by the formula:
processor 622 of the DSP system 602 then operates on the                P2=次(V如2/4)f
data to perform a function and provide an output 632 (which g〇
may be converted back to an analog signal if desired). The      which is % the power consumed by the single processor
digital signal processor 622 is operated at a first clock       using multiplexed inputs as described above in respect of
frequency Clkl and a first supply voltage SVl is applied to     FIG. 12. One skilled in the art will now recognize that the
the digital signal processor 622.                               foregoing two digital signal processor embodiment of the
   DSP system 603 is provided with a second analog input 65 present invention occupies more integrated circuit die area
signal 613 and includes conversion circuitry for converting     than a single processor having multiplexed inputs. Power
the analog input sign시 613 to digit시 data representative        consumption is greatly reduced, however.
                                                                   31



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                             21                                                                  22
   In the illustrative embodiment described above, the clock             Ventricular electrocardiogram amplifier 742 is coupled to
frequencies at which the first and second digital signal             a conductor in lead 714 to receive a V-sense signal from
processors operate are substantially equal. Those clock              heart 764. Similarly, atrial electrocardiogram amplifier 743
frequencies need not be the same or substantially the same,          is coupled to one conductor of lead 715 to receive the
however, to reduce power consumption, and indeed may be 5 A-sense signal from heart 764. The electrocardiogram sig­
different. The first and second clock frequencies Clkl and           nals developed by amplifiers 742 and 743 are used on those
Clk2 at which the first and second digital signal processors         occasions when the implanted device is being interrogated
operate to perform the respective functions are most pref­           by an external programmer for uplink telemetry.
erably frequencies selected such that the power consumed                 FIG. 15 shows an embodiment of multiple DSP system
by the first and second digital signal processors in perfor­
                                                                  10 800 in accordance with the present invention for replacing
mance of the respective functions during the predetermined
                                                                     sensing circuitry 738 shown in FIG. 14. Multiple DSP
period of time is less than the power that would be consumed
if only one of the first and second digital signal processors        system 800 includes two DSP sy마ems 801 and 803. DSP
were to perform both of the functions within the predeter­           system 801 includes a digital signal processor 841 which
mined time period.                                                   operates on data representative of the A-sense signal 805
   Moreover, and as shown in FIG. 13, more than two DSP 15 originating from the atrium of the heart. Further, DSP system
systems, such as additional DSP system 604, may be                   803 includes a digital signal processor 842 which operates
employed to reduce power consumption. Additionally, each             on data representative of the V-sense signal 807 originating
of the digital sign시 processors, including DSP systems               from the ventricle of the heart. By way of example of the
602-604, may be provided with one or more analog inputs              present invention, digital signal processor 841 detects when
as represented generally by inputs 618 which may be 20 an atrial event (P-wave detection) occurs using the data
multiplexed as described with respect to FIG. 11, or alter­          representative of the A-sense signal during a predetermined
natively may be provided with a single input as shown above          period of time. In another example of the present invention,
with respect to DSP systems 602 and 603.                             digital signal processor 843 detects when an ventricular
   Use of multiple DSP systems is particularly beneficial            event (R-wave detection) occurs using the data representa­
when processing higher frequency analog signals, although 25 tive of the V-sense signal during the predetermined period of
such systems may be employed with any analog signal. Such            time.
multiple DSP configurations find particularly advantageous              As shown in FIG. 15, the digital signal processors operate
application, for example, when employed for P-wave,                  at clock frequencies that are % of the clock frequency
R-wave, and T-wave sensing, EMI detection, sensor signal
                                                                     necessary for operation of a single digital signal processor
processing of such signals as pressure, oxygen saturation,
                                                                  30 (assuming the corresponding single digital signal processor
blood flow and cardiac contractility signals, telemetry
functions, and the like. Such functions may be characterized         receives, via a multiplexer, both A-sense and V-sense signals
generally by the bandwidth of the analog signals being               and performs both the atrial and ventricular detection func­
processed to perform such functions. In general, the band­           tions during the predetermined period of time). As such, and
width of analog signals such as cardiac sense signals is in the      as described above in the general two digital signal proces­
range of between about fO Hz and about fOO Hz (as opposed 35 sor illustration, the power so consumed is substantially
to some sensor sign시s, such as pressure signals, having a            reduced using the two digital signal processors for perform­
bandwidth of between about 1 Hz and about fO Hz).                    ing the respective functions within the predetermined period
   FIGS. 14 and 15 illustrate the use of multiple DSP                of time in respect of the power that would otherwise be
systems to perform multiple functions required for operation         required for a single processor to perform the same functions
of a cardiac pacemaker. FIG. 14 shows some components 40 during the same time period.
conventionally used in a cardiac pacemaker such as that                 Additionally, and as described above, the supply voltage
described in U.S. Pat. No. 5,387,228 to Shelton, entitled            may also be reduced because the digital signal processors
“Cardiac Pacemaker With Programmable Output Pulse                    are running at % speed and a decrease in clock frequency
Amplitude and Method,^^ issued Feb. 7,1995. For simplicity,          permits use of lower supply voltages. Power consumption is
other components of the pacemaker, such as those previ­ 45 reduced because power the consumed is directly propor­
ously described herein and which are also described in other         tional to the square of the supply voltage. If the clock
documents referenced herein such as in U.S. Pat. No.                 frequency of the digital signal processors is reduced in half,
5,387,228, are not described in further detail.                      for example, relative to a single processor embodiment
   Referring again to FIG. 14, digital controller/timer circuit      using multiplexed inputs, the supply voltage may also be
731 is coupled to sensing circuitry including sense amplifier 50 reduced in half relative in respect of the supply voltage
circuit 738 and a sensitivity control circuit 739. More              employed in a single processor embodiment.
particularly, digital controller/timer circuit 731 receives an           Upon detecting an atrial event, DSP system 801 provides
A-event (atrial event) signal on fine 740, and a V-event             an A-event signal at output 811. Upon detecting a ventricular
(ventricular event) signal on fine 741. Sense amplifier circuit      event, DSP system 803 provides a V-event signal at output
738 is coupled to leads 714 and 715 and receives V-Sense 55 813. The sense amplifier functions illustrated in FIG. 14 are
(ventricular sense) and A-Sense (atrial sense) signals from          therefore accomplished using the two DSP system embodi­
heart 764. Sense amplifier circuit 738 asserts the A-event           ment of the present invention shown in FIG. 15, with a
signal on line 40 when an atrial event (i.e., a paced or             corresponding reduction in power consumption in respect of
intrinsic atrial event) is detected, and asserts the V-event         the use of a single DSP system to accomplish the same
signal on line 741 when a ventricular event (paced or 60 functions (such as those illustrated in FIG. 12).
intrinsic) is detected. Sense amplifier circuit 738 includes             Those skilled in the art will recognize that other signals
one or more sense amplifiers corresponding, for example, to          may be processed according to the present invention with
that disclosed in U.S. Pat. No. 4,379,459 to Stein. Sensitivity      the same or additional digital signal processors, controllers,
control circuit 739 is provided to adjust the gain of sense          microprocessors and/or systems. For example, such DSP
amplifier circuit 738 in accordance with programmed sen­ 65 systems may be used for T-wave detection, oxygen sensor
sitivity settings, as will be appreciated by those skilled in art    data analysis, pressure sensor data analysis, cardiac contrac­
of pacing.                                                           tility data analysis, EMI detection, or for processing and
                                                                      32



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analyzing any other signals or data sets may benefit from the      As such, in accordance with the present invention, device
use of digit시 signal processing.                                600 further most preferably includes voltage generator cir­
    The present invention is compatible with various fabri­     cuit 606 to generate at least one fixed supply voltage
cation technologies such as silicon on insulator (SOI),         (yanalog E application to analog circuitry 602. Voltage
silicon on sapphire (SOS), current mode logic (CML), 5 generator circuit 606 is supplied with supply voltage ヽJ返顽
BICMOS, PMOS and NMOS CMOS technologies, as well                to generate supply analog- Voltage generator circuit 606
as to conventional silicon CMOS technologies. The present       may generate any number of predetermined or fixed voltages
invention as described herein is enabling technology in         greater than V』商诚 to supply different analog circuits. For
respect of the employment of multiple DSP systems to            example, output circuits may require a larger voltage than
perform more functions and computations due to the manner 10 other amplification circuits. Voltage generator circuit 606
in which power consumption may be reduced for such              will generate both +/- supplies (ヽらわ and ヽJ員)to power only
multiple DSP systems. Moreover, multiple processor based        the analog circuitry 602.
designs may also be implemented in accordance with the             Digital circuitry 604 is supplied with the lower voltage
present invention due to reduced power consumption result­      ydigital- For example, as contemplated in the present
ing from supply voltages and clocking frequencies being 15 invention, lower fixed or predetermined supply voltage
reduced for various functions and computations performed        ^digital is in the range of about f.f to f.5 volts at beginning-
by the processors.                                              of-life (BOE) and about 0.8 volts to about f.O volts at
   Additionally, as power consumption is reduced, further       end-of-life (FOE). The generated fixed supply voltage Vg-
functionality may be added to devices in accordance with        log is in the range of about +/-2.0 volts to about +/-3.0 volts.
the present invention to provide a device having added 20          Level shifter 610 may be used to translate logic and/or
functionality yet lower or the same power consumption           control signals between the analog circuitry 602 and the
relative to conventional prior art devices. A processor in      digit시 circuitry 604. Such level shifting may be required due
accordance with the present invention may perform, for          to the difference in supply voltage being applied to the
example, various morphology detection functions such as         respective digit시 circuitry 604 and analog circuitry 602.
differentiation of retrograde P-waves and antegrade P-waves 25     As described previously above, with reduction in supply
of EGM waveform; differentiation of P-waves from far field      voltage (Vdd), threshold voltage (Vj) for the circuits is also
R-waves; differentiation of AF-A flutter-AT from sinus          reduced. With use of lower threshold levels due to lower
tachycardia; differentiation of VT-VF-V flutter from SVT;       supply voltages, static power consumption losses undesir­
differentiation of cardiac signals from electromagnetic inter­  ably increase by several orders of magnitude. A back gate
ference; etc. Also by way of example, various embodiments 30 bias source 609 may therefore be used to provide back gate
of the present invention may also be employed to detect or      bias voltages to digital circuitry 604. In this manner, static
filter out electromagnetic interference (EMI) emanating         leakage current losses can be minimized because the equiva­
from or generated by theft detectors, conductive signals, RE    lent higher threshold voltage has been restored. The back
noise, myopotentials, and the like.                             gate bias voltage may be provided by, for example, a fixed
    FIG. 16 is a general schematic block diagram of device 35 voltage source (e.g., a charge pump) connected to the back
600 including analog circuitry 602 and digital circuitry 604    gate well via a contact. Alternatively, an active body bias
(including clock circuit 605). The digital circuitry (e.g.,     scheme whereby the voltage source is selectable or adjust­
CMOS, CML, SOS, SOI, BICMOS, PMOS and/or NMOS                   able over an appropriate range may be used. Back gate
technology) has a fixed supply voltage (ヽり五隼赤况)applied          voltages may be applied in any known manner, such as those
thereto from power source 608, which may be any type of 40 previously described herein.
electrochemical cell or battery suitable for use in an implant­    FIG. 17 is a more detailed schematic block diagram of one
able medical device and providing an appropriate supply         embodiment of pacemaker 700 much like that shown in FIG.
voltage. Some examples of batteries or cells finding appli­     9. According to the present invention, a lower supply voltage
cation in respect of the present invention include, but are not VI (e.g., f.f volt source 710) is applied to digital circuitry
limited to, lithium iodine, lithium manganese, nickel 45 702 of pacemaker 700 with charge pump circuit 706 being
cadmium, nickel metal hydride, zinc manganese oxide, zinc       used to generate at least one higher supply voltage V2 (e.g.,
silver oxide, zinc mercuric oxide, lithium silver vanadium      3.0 volts) to be applied to analog circuitry 704 of pacemaker
oxide, lithium ion, div시ent silver oxide and silver oxide       70〇.
electrochemical cells and batteries. At least some of the          Digital circuitry 702 may, for example, include circuits
foregoing chemical systems may require stepping down of 50 such as those described above in reference to pacemaker 300
voltage for use in certain embodiments of the present           and FIG. 17. Digital circuitry 702 may include, for example,
invention.                                                      controller/timer and processor circuit 714 (including a clock
    Fixed supply voltage digital applied for operation of the   circuit 715) or memory circuits such as RAM/ROM circuits
digit시 circuitry is kept low to reduce power consumption as     716 for communication with controller/timer and processor
previously described herein. Power consumed by the 55 circuit 714. Such components and functionality are
CMOS, CML, SOS, SOI, BICMOS, PMOS and/or NMOS                   described herein with reference to FIG. 9.
is circuitry, for example, is proportional to the square of the    Analog circuitry 704 may include the analog circuits of
supply voltage. Therefore, a lower supply voltage is neces­     pacemaker 300 described previously in reference to FIG. 9.
sary to reduce power consumption.                               Such analog circuits may include, for example, atrial and
    Particularly for implantable devices, however, designing 60 ventricular sense amplifiers for receiving A-sense sign시s
analog circuitry 602 to function at such low supply voltages    from the atrium of heart 764 and for receiving V-sense
is difficult due to various considerations, such as small       signals from the ventricle of heart 764. Such sense amplifier
circuit headroom, small signal amplitudes (which may effec­     circuits are coupled to leads extending to heart 764 via
tively reduce amplifier sensitivity), sm시1 signal-to-noise      capacitors Cl and C2 to receive the V-Sense (ventricular
ratios, reduced common mode rejection ratios (CMRR), 65 sense) and A-Sense (atrial sense) signals from heart 764.
reduced transmitted telemetry power, voltage regulation and     Sense amplifier circuits then communicate an A-event signal
current source problems, and so on.                             to controller 714 when an atrial event (i.e., an intrinsic atrial
                                                                     33



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                              25                                                                   26
event or P-wave) is detected, and commnnicate a V-event            to the difference in supply voltages being applied to digital
signal to controller 714 when a ventricnlar event (an intrin­      circuitry 702 and analog circuitry 704, respectively. Such a
sic R-wave) is detected. Analog circuitry 704 may also             voltage level shifter may be implemented in various con­
include bandpass filters and detection circuitry to accom­         figurations. For example, illustrative voltage level shifters
plish such detection. Moreover, analog circuitry 704 may 5 are described in U.S. Pat. No. 4,663,70f, hereby incorpo­
include circuitry for T-wave detection, such as a T-wave           rated by reference herein in its entirety.
amplifier, bandpass filter, or capture detection circuitry.           Embodiments of the clock speed control and voltage
   Analog circuitry 704 may include various other circuits,        supplies of the present invention other than those shown in
such as analog to digit시 converters (ADCs); voltage refer­         FIGS. 9,10 and 11 are now described. The embodiments of
ence and current source circuits; telemetry transmission and 10 the present invention described hereinabove rely upon cir­
reception circuitry; sensor amplification circuitry, and           cuit design and/or firmware control to adjust device power
bandpass, detection, and drive circuitry to be used with such      consumption parameters. Those adjustments are based on a
sensors (e.g., minute ventilation activity, pressure,              present logic status or situation sensed in the circuitry of the
temperature, pH, pCO2 or oxygen sensors); ECG amplifiers           device, or on a location in a firmware program (e.g., initia­
and bandpass filters, such as amplifiers for A-sense signals, 15 tion or completion of a subroutine). A potential limitation of
V-sense sign시s and T-wave signals to be used for telemetry         such embodiments is the amount of time required to effect
purposes; output circuits and pump circuits such as those          a change in clock frequency, or to increase or decrease
described in U.S. Pat. No. 5,387,228 to Shelton; battery           supply   voltage levels.
monitor circuits; power on reset circuits; and any circuits           In another embodiment of the present invention, key
generally designed as analog circuits.                          20
                                                                   parameters or sign시s are sensed before being input to
   FIG. 18 shows an alternative embodiment for at least            Digit시 Controller Timer Circuit 332 or to Microcomputer
some of the analog circuitry 704 described in reference to         Circuit 314 to permit earlier prediction or enablement of
FIG. 17. The functions of some of the analog circuits, for         power reduction or power increase. In snch an embodiment
example sense amplifiers, may be implemented using cir­            of the present invention, circnit and firmware power needs
cuitry 780 which includes analog circuits 782 (e.g., 25 are predicted on the basis of expected usage, data inputs
preamplifiers, ADC^s, etc.) and further includes one or more       and/or signal statistics to control functional parameters
digit시 signal processors (DSPs) 784 to perform analysis            relating to the delivery of electrical power.
with respect to data communicated thereto by way of analog            FIG. 19 shows one such embodiment of the present
circuits 782. A similar illustrative implementation is             invention   where, for example, any one or more of an output
described hereinabove in respect of FIG. 11. As such, and 30 of comparator 349 (which is also an input to Digital Con­
according to the present invention as described in reference       troller Timer Circuit 332), an output of clock source 338, an
to FIGS. 16 through 18, supply voltage VI is applied to            output of supply voltage source 301, an output of Activity
DSP(s) 784 while charge pumped voltage V2 is used as the           Sensor 352, and/or an output of RF Tx/Rx 336 are monitored
supply voltage for analog circuits 782.                            by Data Monitor 600.
   Charge pump circuit 706 is used to generate both +/- 35            Other signals or inputs may also be monitored by Data
voltage supplies (VDD and VSS) to power analog circuitry           Monitor 600 of the present invention, including, but not
704. Various configurations for charge pump circuit 706 may        limited to, the following examples:
be used. Charge pump circuit 706 may be implemented, for              (f) Type and/or frequency of sensed events. Examples
example, using the techniques described in U.S. Pat. No.                 include, but are not limited to, sensed normal intrinsic
5,387,228 to Shelton. Charge pump circuit 706 may, for 40                sensed events, premature atrial contractions (PACs),
example, be regulated, such as with use of a charge com­                 premature ventricular contractions (PVCs), atri시 or
parator circuit to regulate the voltage, or charge pump circuit          ventricular tachycardia, atrial or ventricular flutter,
706 may be unregulated. The unregulated voltage may vary                 atrial or ventricular fibrillation, noise, electromagnetic
as the voltage source VI varies due to low battery                       interference, muscle signals, far-field R-waves
conditions, for example. Yet further, one or more supply 45              (FFRW), antegrade or retrograde p-waves, and the like;
voltages may be output from charge pump circuit 706 as                (2) Type and/or frequency of downlink or uplink telem­
voltage VI is pumped to different amplitudes. More than one              etry transmissions. Examples include, but are not lim­
supply voltage may be provided by charge pump circuit 706                ited to, sensed complete memory data dumps, sensed
or more than one charge pump circuit 706 may be employed                 selected memory location uplinks, detected retransmis­
to provide multiple supply voltages, where each charge 50                sions in a noisy environment such as those described in
pumped voltage is greater than supply voltage VI. That is,               U.S. Pat. No. 5,292,343 to Blan나lette et al., sensed
one charge pumped voltage may exceed another charged                     telemetry distance, transmission power, receiver
pumped voltage.                                                          sensitivity, bit error rate (BER), the amount of data
   Supply voltages VI and V2 described in reference to FIG.              telemetered or received such as described in U.S. Pat.
17 (i.e., wherein different supply voltages are applied to 55            No. 5,683,432 to Goedeke et al., and the like;
analog circuitry and digital circuitry, respectively) are fixed       (3) Type and/or frequency of sensed signals. Examples
predetermined voltages. In other words, pumped predeter­                 include, but are not limited to, high sensed rates of
mined fixed voltage V2 is applied to the analog circuits                 samples per second such as the activity rate response
whenever they are in operation, as opposed to a pumped                   signals sensed in U.S. Pat. No. 4,428,378 to Anderson
voltage being applied to circuits only when low battery 60               et al. or the cardiac acceleration signals sensed in U.S.
conditions are apparent. Such voltages are determined at the             Pat. No. 5,496,35f to Plicchi et al., low sensed rates of
time the circuits are designed and do not vary other than                samples per second such as those described in U.S. Pat.
possibly when batteries have even lower states of charge.                No. 5,562,7ff to Ye rich et al., and sensed oxygen
   Additionally, pacemaker 700 may include level shifter                 saturation sign시s such as those described in U.S. Pat.
708. Level 아lifter 708 may be used to translate logic and/or 65          No. 4,79f,935 to Baudino et al.;
control signals between analog circuitry 704 and controller           (4) Intra-circuit block activity per unit time (i.e. transition
and processor 714. Such level shifting may be required due               activity). Examples include, but are not limited to,
                                                                       34



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      sensing activity in individnal circnit blocks of Digital     determined signal levels in the various circuits or sub­
      Controller Timer Circuit 332 (not 아lown in FIG. 19);         circuits monitored thereby. Clocks 338 and 322 and voltage
   (5) Firmware snb-program activity per unit time.                sources 612 and 301 are adjusted under the control of Data
      Examples include, but are not limited to, sensing the        Monitor 600 to either minimize current drain while clock
      number and/or type of operand codes processed per 5 speed is decreased, or to allow optimum circuit function
      unit time by microprocessor 320 using a program              while clock speed is increased, all in a manner largely
      stored in RAM 324, ROM 326, or RAM/ROM unit                  similar to that described hereinabove in respect of FIGS. 9,
      328. For example, divide or multiply operand codes           10 and 11.
      typically require more clock cycles to execute than do          Referring now to FIG. 20, there is shown an exemplary
      add or shift operand codes;                               10 algorithm 700 for controlling the functionality of Data
   (6) Data streams. Examples include, but are not limited to,     Monitor 600 shown in FIG. 19. At block 702 a measurement
      sensed telemetry data formatting and movement,               is made of activity or signal transitions or changes occurring
      sensed Direct Memory Access (DMA) of intra-cardiac           per unit time. The time period over which such measure­
      electrogram 348 (lEGM) or sensed analog to digital           ments are made may range between milliseconds and
      converter 342 (ADC) sample or conversion rates simi­ 15 minutes, seconds depending on the expected range of fre­
      lar to that described in U.S patent appln. Ser. Nos.         quency of data arrival or generation. Block 704 periodically
      08/56f,738 and 08/768,687 to Muhlenberg, and the             senses whether the activity measured in block 702 exceeds
      like;                                                        a predetermined level or threshold. The threshold may be
   (7) Data bus activity. Examples include, but are not            fixed or programmable. The rate at which block 704 senses
      limited to, sensing activity along local bus 618 and/or 20 activity will vary between milliseconds and minutes accord­
      620 shown in Microcomputer Circuit 314 and Digital           ing to the particular signal, input or output being sensed. If
      Controller Timer Circuit 332, or sensing activity along      the sensed signal exceeds the predetermined threshold (i.e.,
      Data Communication Bus 330;                                  “yes"), then the controlled clock rate and/or the voltage
   (8) Timed, or “alarmed" wakeups. Examples include, but          supply^s voltage will be increased at block 706 under the
      are not limited to, sensing a two-second interrupt for 25 control of Data Monitor 600, and the algorithm will return
      rate response calculation similar to that described in       to measure block 702 via block 708. If at block 704 the
      U.S. Pat. No. 5,052,388 to Sivula et al., sensing            sensed result is "no", the minimum threshold is compared to
      completion of a diagnostic enable window or sensing          the sensed signal at block 71〇. If the sensed signal is below
      the gathering of diagnostic data similar to that             the minimum threshold, the clock rate and/or the voltage
      described in U.S. Pat. No. 5,330,5f3 to Bennett et al. 30 supply^s voltage is reduced at block 712 and a return to
   Implementation of this embodiment of the present inven­         measure block 702 is effected via block 708. If at block 710
tion generally requires use of adaptive control 시gorithm           the result is "no", the algorithm returns to measure block
700, one example of which is shown in FIG. 2〇. The                 702.
adaptive control algorithm should permit at least some                FIG. 21 shows a modification of the circuit shown in FIG.
operating parameters of circuit 300 to be adjusted on the fly 35 11, where a DSP-based circuit is reconfigured by
on the basis of sensed signal inputs or on the basis of sensed     re-programming from an external programmer or alterna­
use or activity occurring in the circuitry to be monitored . In    tively under the active control of control circuit 528 in real
preferred embodiments of the present invention, adaptive           time or “on the fly". Control circuit 528 is most preferably
control algorithm 700 is capable of analyzing or reducing          located inside implantable device 26〇. Monitor/control cir­
data, data patterns, and/or circuit activity levels, and on the 40 cuit 528 is most preferably programmed with or otherwise
basis of such data analysis or reduction adjusts the circuit or    effects adaptive control algorithm 700 shown in FIG. 21 and
device^s functionality or operation. For example, algorithm        monitors the same or similar signals, inputs and/or outputs
700 may be employed to alter the functionality and delivery        described hereinabove. Busses 524 in FIG. 21 are most
of power to the circuits and devices illustrated in FIGS. 9,10     preferably capable of reprogramming or reconfiguring one
and 11. Examples of some the inputs to adaptive control 45 or more of Mux 510, ADC 516, Digital Filter 518 and/or
algorithm 700 of the present invention are set forth imme­         Form Analysis 520 to permit sensing or detection of a
diately hereinabove in examples 1 through 8.                       particular type of signal. Such reconfiguration of DSP 500
   Data Monitor 600 in FIG. 19 measures or monitors data           permits adaptive filtering to be effected which is based upon
activity and further most preferably employs algorithm 700         the particular type of signal being sensed. For example, DSP
of FIG. 2〇. In addition to monitoring the inputs, outputs and 50 500 may be programmed to discriminate between or to
signals described hereinabove. Data Monitor 600 also most          monitor for supraventricular tachycardia (SVT), atrial fibril­
preferably monitors data on various busses, such as data           lation (AF), atrial flutter (AFL), ventricular tachycardia
communication bns 330, internal local busses (not shown in         (VT), ventricular fibrillation (VF), ventricular flutter (VFL),
FIG. 19) in microprocessor 320 via line 602, and digital           premature atrial contractions (PAC^s), premature ventricular
controller timer circuit 332 via line 606. Data Monitor 600 55 contractions (PVC^s), signal-to-noise ratio (SNR, or the
may also monitor signal inputs to various circuits such as         ratio of intrinsic cardiac signals to noise), electromagnetic
activity circuit 352 via line 608, RE Tx/Rx circuit 336 data       interference (EMI), myopotentials, and so on.
via line 604, or sense amplifier output circuit 346 via line          In yet another embodiment of the present invention,
610 connected to the output of sense amplifier comparator          pipelining architecture is employed to reduce power con­
349.                                                            60 sumption. Turning now to FIGS. 22 and 23, there are shown
   Upon detection of predetermined signal levels in the            two principal types of microprocessor architectures: the von
various circuits or sub-circuits monitored by Data Monitor         Neumann architecture (shown in FIG. 22), and the Harvard
600, clock source 338 and/or system clock 322 are con­             architecture (shown in FIG. 23).
trolled via lines 616 or 614 to speed up or slow down.                The von Neumann architecture of FIG. 22 generally has
Additionally, Data Monitor 600 is capable of controlling 65 a single unified memory which stores both instructions and
supply voltage sources 612 and 301 via control lines 614 and       data. In the von Neumann architecture, a high throughput is
616, respectively, in response to sensing or detecting pre-        required of the data bus. That is, all instructions, operand
                                                                     35



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                             29                                                                   30
addresses and data must successively occupy the single bus.          to Wang entitled ''Three-Dimensional Vector Co-Processor
In contrast, the Harvard architecture shown in FIG. 23 has           Having I, J and K Register Files and I, J and K Execution
two or more busses which permit instruction, address and             Units^^, hereby incorporated by reference herein in its
data fetching to be done in parallel. The Harvard architecture       entirety. See also U.S. Pat. No. 5,464,435 entitled "Parallel
typically has substantially greater processing throughput 5 Processors in Implantable Medical Device^^ to Neumann,
capability than does the von Neumann architecture.                   hereby incorporated by reference herein in its entirety, which
Consequently, the Harvard architecture is often employed in          describes using two processors in parallel in an implantable
DSP^s, where processing throughput demands are particu­              medical device to increase computational power.
larly high.                                                             Rather than seeking to increase the speed at which
   Two methods used to increase the effective processing 10 instructions at executed or to increase the number of calcu­
speed or throughput of a microprocessor or DSP are: (f) to           lations that can be made in a given unit of time, in the
reduce the number of average clock cycles required to                present invention, and completely contrary to the teachings
execute an instruction; and/or (2) to increase the clock speed       of the prior art, a reduction in clock speed and pipelining
(i.e., decrease the clock cycle length). One known method of         architecture are employed in combination to reduce power
reducing the average number of cycles required to execute 15 consumption in medical and other devices. That is, instead
an instruction without increasing the length of the clock            of utilizing the two-, three-, four- or other-fold increase in
cycle is to overlap the execution of multiple instructions.          speed or computing power gained by utilizing pipelining
Such overlapping of instructions is known in the art as              taught in the prior art, the present invention reduces clock
“pipelmmg".                                                          speed the factor permitted by the particular pipeline archi­
   Instruction pipelines function by dividing the execution of 20 tecture in question (e.g., clock speed is reduced by a factor
each instruction into several discrete portions, and then            of two, three, four or other factor), while processing capa­
executing one portion of several different instructions simul­       bilities roughly similar to those that would obtain if the
taneously. As shown in FIG. 24, the execution of a single            pipeline architecture were not present or utilized are main­
instruction can be subdivided into three discrete portions.          tained. The reduction of clock speed in the present invention
FIG. 24 shows that each instruction is divided into three 25 permits a reduction in the voltage of the voltage supply
discrete portions or stages respectively labelled “Stage f:          (VDD) provided. As a result, the capacity or current drain
fetch^^; “Stage 2: Execute f^^; and “Stage 3: Execute 2.^^           required of a battery powering an implantable medical
Three successive clock cycles are thus required to execute           device is reduced by the square of the resulting voltage
each complete instruction shown in FIG. 24. By creating              difference in accordance with the teachings set forth here­
such an instruction pipeline, a certain amount of operational 30 inabove.
or computational parallelism is achieved. Parallelism here              Those skilled in the art will now recognize that the
signifies that three instructions are being executed simulta­        technique of applying a lower supply voltage to digital
neously for any given clock cycle.                                   circuitry of a device having a relatively large charged
   Continuing to refer to FIG. 24, it can be seen that during        pumped voltage applied to the analog circuitry thereof may
the clock cycle labelled “one phase^^, the third instruction 35 be applicable to other medical or implantable devices in a
(i.e., RH<—ROM(PC)) is initiated, the second instruction             manner similar to that described in reference to a pacemaker.
(i.e., ACf<—F( . . . ) PC <—( . . . )V( . . . )) is executed, and    Application of different voltages to the analog and digital
storing of the first instruction (RAM <—AC2) is underway.            circuitry of the PCD described hereinabove in respect of
Although each instruction still requires three clock cycles to       FIG. 10, for example, may be employed to reduce power
execute, a three-level instruction pipeline like that illustrated 40 consumption.
in FIG. 24 results in a new instruction being initiated during          Additionally, as power consumption is reduced in accor­
each clock cycle.                                                    dance with the present invention, further functionality may
   When an instruction is being executed in each stage of the        be added to a device such that the device has added
pipeline, the pipeline is said to be full. Once the pipeline is      functionality and yet lower or the same power consumption
full, the effective rate of instruction completion is one 45 relative to a conventional prior art device.
instruction per clock cycle. By breaking down each instruc­             A processor such as a DSP, microprocessor, microcon­
tion into three smaller and simpler discrete portions or parts,      troller or controller in accordance with the present invention
the individual parts may be executed faster, which in turn           may perform, for example, various morphology detection
permits the individual clock cycles to be shortened. As the          functions in sensed and/or stored electrograms (EGM^s),
execution rate for new instructions depends upon the clock 50 such as differentiation of retrograde P-waves from antegrade
cycle, a shorter clock cycle leads to a higher instruction           P-waves; differentiation of P-waves from far field R-waves
execution rate. Of course, maintaining this rate requires that       (FFRW); differentiation of atrial fibrillation (AF) or atrial
the pipeline be kept full and that nothing delay the advance         flutter (AFL) from sinus tachycardia (ST); differentiation of
of instructions through the pipeline.                                ventricular tachycardia (VT) or ventricular flutter (VFL)
   FIG. 25 shows one embodiment of a microprocessor 55 from supraventricular tachycardia (SVT); differentiation of
pipeline architecture finding application in the present             cardiac signals from electromagnetic interference; and so
invention having three stages and three phases for executing         on. U.S. Pat. No. 5,447,5f9 to Peterson entitled "Method
instructions. Each stage is designed to perform a specific           and Apparatus for Discriminating Monophasic and Polypha-
phase of fetching or executing an instruction. Stage 1 is used       sic Arrhythmias and for Treatment Thereof", hereby incor­
to fetch an instruction from program memory and to load it 60 porated by reference herein in its entirety, describes methods
in an instruction register. Stage 2 is used to execute an            and apparatus for discriminating between different types of
arithmetic logic unit (ALU) operation and to update a                cardiac sign시s which find application in the present inven­
program counter. Stage 3 is used to load the result into data        tion. All patents referenced in the ^5f9 patent to Peterson are
memory.                                                              also incorporated by referenced herein, each in its respective
   The prior art describing pipelining processors and pipe­ 65 entirety.
line architecture relates to increasing processing speed and            Other adaptive filtering techniques, methods and appara­
computing power. See, for example, U.S. Pat. No. 5,f87,796           tus also find application in the present invention, such as
                                                                      36



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those described in U.S. Pat. No. 5,755,739 entitled ''Adap­              execute the plurality of instructions, each of the plu­
tive and Morphological System for Discriminating P-Waves                 rality of instructions being executed during an associ­
and R-Waves Inside the Hnman Body^^ to Sun et al.; U.S.                  ated predetermined time period prior to a subsequent
Pat. No. 5,778,881 entitled "Method and Apparatus for                    time period in which another of the plur시ity of instruc­
Discriminating P and R Waves^^ to Sun et al.; U.S. Pat. No. 5            tions is executed, the processing device being operable
5,730,f42 entitled "Method and Apparatus for Detecting                   to operate simultaneously upon each of two or more
Tachycardia^^ to Sun et al.; and U.S. Pat. No. 5,782,888                 instructions such that substantially the entire associated
entitled "Method of Selecting an Operating Mode for an                   predetermined time period is used to execute at least
Implantable Medical Device^^ to Sun et. al., all hereby                  one instruction prior to the subsequent time period in
incorporated by reference herein, each in its respective 10              which another of the plurality of instructions is
entirety. All patents referenced in the foregoing ^739, ^881,            executed, the at least one circuit being operable for
                                                                         executing at least one of the plurality of instructions
^142 and ^888 patents to Sun et al. are also incorporated by
                                                                         during a predetermined number of clock cycles, each of
referenced herein, each in its respective entirety.
                                                                         the plurality of instructions comprising at least first and
   Also by way of example, various embodiments of the                    second portions, the at least one circuit comprising
present invention may also be employed to detect or filter 15            pipeline circuitry capable of substantially simulta­
out electromagnetic interference (EMI) emanating from or                 neously receiving and outputting in parallel at least one
generated by theft detectors, conductive signals, RF noise,              of each of the corresponding respective portions of two
myopotentials, and the like.                                             or more of the plur시ity of instructions;
   The preceding specific embodiments are illustrative of the         a clock source for providing clock signals at a plurality of
practice of the invention. It is to be understood, therefore, 20         clock frequencies, the clock source being operatively
that other expedients known to those skilled in the art or               connected to control the at least one circuit at a clock
disclosed herein may be employed without departing from                  frequency such that substantially the entire predeter­
the invention or the scope of the appended claims. For                   mined time period is used to execute the at least one
example, the present invention is not limited to the use of              instruction, the at least one instruction being executed
any particular digital or analog circuits. Furthermore, the 25           just prior to the subsequent time period;
voltages applied need not be at any predefined level, but             wherein the clock frequency is such that the power
only need be different. Although a charge pump is preferred              consumed within the predetermined time period by the
for generating the higher supply voltage described herein,               at least one circuit in performance of executing each of
there may be other voltage generation devices capable of                 the plurality of instructions is less than the power that
generating the desired voltage levels for application to 30              would be consumed if the at least one circuit comprised
analog circuits.                                                         no pipeline circuitry and were to receive, execute and
   The present invention is also not limited to use in con­              output each of the plurality of instructions serially.
junction with pacemakers or PCDs, but may find further                2. The device of claim 1, wherein the predetermined time
application in other relevant areas such as personal comput­       period is based on physiological events.
                                                                      3. The device of claim 2, wherein the at least one time
ing or telecommunications where low power consumption is 35
                                                                   period is a time period selected from the group consisting of
desired. The present invention further includes within its
                                                                   a blanking interval, an upper rate interval, an escape interval,
scope the use of other techniques described herein in con­         a refractory interval, a pulse generator/programmer
junction with the application of different supply voltages to      handshake, and a cardiac event.
analog and digital circuits (such as, for example, just-in-time       4. The device of claim 1, wherein the device further
clocking devices and methods).                                  40 includes one or more supply voltage sources to provide one
   The present invention is also not limited, for example, to      or more supply voltages, the one or more supply voltage
the use of only two DSP systems, and DSP systems in                sources being operatively connected to the at least one
accordance with the present invention may be used with             circuit such that a supply voltage is applied thereto as a
other clock frequency management techniques described              function of the clock frequency applied thereto.
herein (such as multiple clock frequencies for more than one 45       5. The device of claim 4 wherein the at least one circuit
function performed by one or more processors). Moreover,           comprises at least a first logic circuit for performing a first
the supply voltage source used for the multiple DSP systems        function and a second logic circuit for performing a second
of the present invention may include not only discrete             function, each of the first and second logic circuits being
supply voltages, but may also include a source that is varied      operated at a different clock frequency, each of the logic
continuously over a particular range of voltages such as by 50 circuits having a different supply voltage applied thereto
a voltage regulator, with such voltages changed "on the fly^^      based on the different clock frequencies used to control the
with corresponding clock frequencies. The present invention        first and second logic circuits.
further includes within its scope methods of making and               〇. rhe device of claim 5, wherein the at least one circuit
using the features, concepts and circuitry described herein­       is operable to perform a plurality of functions, each of at
above.                                                          55 least two of the plurality of functions being performed at
   In the claims, means plus function clauses are intended to      different clock frequencies, a voltage generation circuit
cover the structures described herein as performing the            providing a supply voltage for application to the processing
recited function and their equivalents. Means plus function        device, the supply voltage being adjusted such that a first
clauses in the claims are not intended to be limited to            supply voltage is provided to the processing device during
structural equivalents only, but are also intended to include 60 performance of one of the at least two functions and a
structures which function equivalently in the environment of       second supply voltage is provided to the processing device
the claimed combination.                                           during performance of the other function, the first and
   I claim:                                                        second supply voltages being applied according to different
   1. A medical device comprising:                                 clock frequencies used to control the processing device.
   at least one circuit operable to execute a plurality of 65         7. The device of claim 6, wherein the voltage generation
      instructions, the at least one circuit comprising a pro­     circuit is a charge pump circuit for generating the second
      cessing device, the processing device being operable to      fixed supply voltage based on the first fixed supply voltage.
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                             33                                                                   34
   8. The device of claim 6, wherein the first supply voltage      second digital signal processors were to execute both the
ranges between abont 0.8 volts and abont 1.5 volts.                first and second sets of instructions within the predetermined
   9. The device of claim 6, wherein the second supply             time period.
voltage ranges between abont +/-2.0 volts and abont +/-3.0            26. The device of claim 25, wherein the device further
volts.                                                           5 includes a clock circuit for providing a first and second clock
   10. The device of claim 1, wherein the at least one circnit     frequency to control operation of the first and second digital
receives at least one analog input.                                signal processors during execution of the first set of instruc­
   11. The device of claim 10, wherein the at least one analog     tions and the second set of instructions, respectively, and
input is a cardiac sense signal.                                   further wherein the first and second clock frequencies are
   12. The device of claim 6, wherein at least one of the first 10 such that the power consumed by the first and second digital
and second functions is selected from the group of capture         signal processors in executing the first and second sets of
detection, R-wave detection, P-wave detection, T-wave              instructions during the predetermined time period is less
detection, electromagnetic interference detection, oxygen          than the power that would be consumed if only one of the
saturation determination, pressure determination, sensor car­      first and second digit시 signal processors were to execute
diac contractility determination, cardiac flow determination, 15 both of the first and second sets of instructions within the
telemetry reception and telemetry transmission.                    predetermined time period.
   13. The device of claim 1, wherein the device is an                27. The device of claim 26, wherein the levels of the first
hermetically sealed implantable medical device.                    and second supply voltages are applied on the basis of the
   14. The device of claim 13, wherein the implantable             first and second clock frequencies, respectively.
medical device is selected from the group consisting of an 20         28. The device of claim 25, wherein the first set of
implantable stimulator, an implantable nerve stimulator, an        instructions is executed at a clock frequency about equal to
implantable pacemaker, an IPG, an implantable cardioverter,        the clock frequency used for executing the second set of
an implantable PCD, an implantable defibrillator, an               instructions, and further wherein the first and second supply
implantable I CD and an implantable drug pump.                     voltages are about equal.
   15. The device of claim 1, wherein at least one of the first 25    29. The device of claim 25, wherein at least one of the
and second digital processing systems comprise circuits of a       instructions in the first and second sets of instructions
type selected from the group consisting of CMOS circuits,          corresponds to a function selected from the group consisting
CML circuits, SOS circuits, SOI circuits, BICMOS circuits,         of capture detection, R-wave detection, P-wave detection,
PMOS circuits and NMOS circuits.                                   T-wave detection, electromagnetic interference detection,
   lb. rhe device of claim 1, further comprising one or more 30 oxygen saturation determination, pressure determination,
digit시 circuits.                                                   sensor cardiac contractility determination, cardiac flow
   17. The device of claim 16, wherein the device further          determination, telemetry reception and telemetry transmis­
includes means for adjusting the back gate bias of at least        sion.
one of the one or more digital circuits.                              3〇. The device of claim 1, wherein the processing device
   18. The device of claim 16, wherein the one or more 35 comprises at least processing device selected from the group
digital circuits include one or more of a processor, a con­        consisting of a microprocessor, a digital signal processor and
troller and a memory.                                              a microcontroller.
   19. The device of claim 1, further comprising one or more          31. The device of claim 30, wherein a supply voltage
analog circuits.                                                   source is operatively connected to provide a supply voltage
   2〇. The device of claim 19, wherein at least one of the one 40 to the at least one processing device, the supply voltage
or more analog circuits includes at least one of an atrial         being such that the power consumed by the at least one
sense amplifier, a ventricular sense amplifier, a T-wave           processing device in executing the at least one instruction in
amplifier, one or more bandpass filters, one or more detec­        the predetermined time period is less than the power that
tion circuits, one or more sensor amplification circuits, one      would be consumed if one or more processing devices
or more physiological signal amplification circuits, one or 45 similar to the at least one processing device but having no
more output circuits, a battery monitor circuit, and a power       pipeline circuitry therein were to receive, execute and output
on reset circuit.                                                  each of the plurality of instructions sen시ly and further
   2丄.rhe device of claim 19, wherein at least one of the one      execute the instruction within the predetermined time
or more analog circuits includes at least one amplifier circuit    period.
for amplifying the one or more analog signals.                  50    32. The device of claim 1, wherein at least one of the
   22. The device of claim 19, further comprising one or           plurality of instructions corresponds to a function selected
more digital circuits.                                             from the group of capture detection, R-wave detection,
   23. The device of claim 22, wherein the device further          P-wave detection, T-wave detection, electromagnetic inter­
includes a level shifter to translate signals between the one      ference detection, oxygen saturation determination, pressure
or more analog circuits and the one or more digital circuits. 55 determination, sensor cardiac contractility determination,
   24. The device of claim 1, wherein the processing device        cardiac flow determination, telemetry reception and telem­
comprises at least one digital signal processor.                   etry transmission.
   25. The device of claim 1, wherein the processing device           33. The device of claim 1, wherein the at least one circuit
comprises first and second digital signal processors, a supply     comprises one or more circuits of a type selected from the
voltage source being operatively connected to provide a first 60 group consisting of a CMOS circuit, a CML circuit, an SOS
supply voltage to the first digital signal processor and a         circuit, an SOI circuit, a BICMOS circuit, a PMOS circuit
second supply voltage to the second digital signal processor,      and an NMOS circuit.
the first and second supply voltages being such that the              34. A method of conserving power in a medical device,
power consumed by the first and second digital signal              the method comprising:
processors in executing corresponding first and second sets 65        providing at least one circuit operable to execute a plu­
of instructions in the predetermined time period is less than            rality of instructions, the at least one circuit comprising
the power that would be consumed if only one of the first and             a processing device, the processing device being oper­
                                                                      38



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                             35                                                                  36
      able to execute the plurality of instructions, each of the       41. The method of claim 40, wherein the at least one of
      plurality of instructions being executed during an asso­      the first and second predetermined time periods are time
      ciated predetermined time period prior to a subsequent        periods selected from a group of time periods associated
      time period in which another of the plurality of instruc­     with cardiac events including blanking interval, upper rate
      tions is executed, the processing device being operable 5 interval, escape interv시, refractory interval, and pulse
      to operate simultaneously upon each of two or more            generator/programmer handshake.
      instructions such that substantially the entire associated       42. The method of claim 34, wherein the at least one
      predetermined time period is used to execute at least         circuit comprises a processing device, the processing device
      one instruction prior to the subsequent time period in        operable to perform a plurality of functions, each of the
      which another of the plurality of instructions is 10 plurality of functions being performed during an associated
      executed, the at least one circuit being operable for         predetermined time period prior to a subsequent time period
      executing at least one of the plurality of instructions       in which another of the plurality of functions is performed,
      during a predetermined number of clock cycles, each of        and further wherein the operating step includes:
      the plurality of instructions comprising at least first and      operating the processing device at a clock frequency to
      second portions, the at least one circuit comprising 15             perform at least one function of the plurality of func­
      pipeline circuitry capable of substantially simulta­                tions such that substantially the entire associated pre­
      neously receiving and outputting in parallel at least one           determined time period for the at least one function is
      of each of the corresponding respective portions of two             used to complete the first function prior to a subsequent
      or more of the plurality of instructions;                           time period in which another of the plurality of func­
                                                                          tions is performed.
   providing a clock source for providing clock signals at a 20        43. The method of claim 42, wherein the associated
      plurality of clock frequencies, the clock source being        predetermined time period is a time period based on physi­
      operatively connected to control the at least one circuit     ological events.
      at a clock frequency such that substantially the entire          44. The method of claim 43, wherein the associated time
      predetermined time period is used to execute the at           period is a time period selected from a group of time periods
      least one instruction, the at least one instruction being 25 associated with cardiac events including blanking interval,
      executed just prior to the subsequent time period;            upper rate interval, escape interval, refractory interval, and
   operating the clock source at a clock frequency is such          pulse generator/programmer handshake.
      that the power consumed within the predetermined time            45. The method of claim 34, wherein the method further
      period by the at least one circuit in performance of          includes controlling the level of a supply voltage applied to
      executing each of the plurality of instructions is less 30 the at least one circuit as a function of the clock frequency.
      than the power that would be consumed if the at least            46. The method of claim 38, wherein a charge pump
      one circuit comprised no pipeline circuitry and were to       circuit for generating the second supply voltage based on the
      receive, execute and output each of the plurality of          first supply voltage is provided.
      instructions serially.                                           47. The method of claim 46, wherein the first supply
                                                                    voltage ranges between about 0.8 volts and about f .5 volts.
   35. The method of claim 34, wherein the predetermined 35
                                                                       48. The method of claim 46, wherein the second supply
time period is based on physiological events.
                                                                    voltage ranges between about +/-2.0 volts and about +/-3.0
   36. The method of claim 35, wherein the at least one time        volts.
period is a time period selected from the group consisting of          49. The method of claim 34, wherein the at least one
a blanking interval, an upper rate interval, an escape interval,    circuit receives at least one analog input.
a refractory interval, a pulse generator/programmer 40                 5〇. The method of claim 49, wherein the at least one
handshake, and a cardiac event.                                     analog input is a cardiac sense signal.
   37. The method of claim 34, further comprising providing            51. The method of claim 39, wherein at least one of the
one or more supply voltage sources to provide one or more           first and second functions is selected from the group of
supply voltages.                                                    capture detection, R-wave detection, P-wave detection,
   38. The method of claim 37, further comprising opera­ 45 T-wave detection, electromagnetic interference detection,
tively connecting the one or more supply voltage sources to         oxygen saturation determination, pressure determination,
the at least one circuit such that a supply voltage is applied      sensor cardiac contractility determination, cardiac flow
thereto as a function of the clock frequency applied thereto.       determination, telemetry reception and telemetry transmis­
   39. The method of claim 34, wherein the at least one             sion.
circuit comprises at least a first logic circuit for performing 50     52. The method of claim 34, wherein the device is an
a first function and a second logic circuit for performing a        hermetically sealed implantable medical device.
second function, and further wherein the operating step                53. The method of claim 52, wherein the implantable
includes:                                                           medical device is selected from the group consisting of an
   operating the first logic circuit to perform the first func­     implantable stimulator, an implantable nerve stimulator, an
      tion during a first predetermined time period at a first 55 implantable pacemaker, an IPG, an implantable cardioverter,
      clock frequency such that substantially the entire first      an implantable PCD, an implantable defibrillator, an
      predetermined time period is used by the first logic          implantable I CD and an implantable drug pump.
      circuit to perform the first function; and                       54. The method of claim 34, wherein the at least one
   operating the second logic circuit at a second clock             circuit comprises a circuit of a type selected from the group
      frequency that is different than the first clock frequency 60 consisting of a CMOS circuit, a CML circuit, an SOS circuit,
      such that substantially the entire respective second          an SOI circuit, a BICMOS circuit, a PMOS circuit and an
      predetermined time period is used by the second logic         NMOS circuit.
      circuit to perform the second functions.                         55. The method of claim 34, further comprising providing
   4〇. The method of claim 39, wherein at least one of the          one or more digital circuits for the at least one circuit.
first predetermined time period and the second predeter­ 65            56. The method of claim 55, wherein the device further
mined time period is a time period based on physiological           includes providing means for adjusting the back gate bias of
events.                                                             at least one of the one or more digit시 circuits.
                                                                      39



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                                                         6,163,721
                             37                                                                 38
   57. The method of claim 55, wherein the one or more               6丄.rhe method of claim 34, wherein the method further
digit시 circuits inclnde one or more of a processor, a con­       includes controlling the level of a supply voltage applied to
troller and a memory.                                            the at least one circuit as a function of the clock frequency.
   58. The method of claim 34, further comprising providing          62. The method of claim 34, further comprising the step
one or more an시og circuits.                                    5 of providing at least one of at least one digital signal
                                                                 processor, at least one microprocessor and at least one
   59. The method of claim 58, wherein at least one of the
                                                                 microcontroller for incorporation into the at least one circuit.
one or more analog circuits includes at least one of an atrial       63. The method of claim 58, wherein the step of providing
sense amplifier, a ventricular sense amplifier, a T-wave         the one or more analog circuits includes the step of provid­
amplifier, one or more bandpass filters, one or more detec­      ing at least one of an atri시 sense amplifier, a ventricular
tion circuits, one or more sensor amplification circuits, one lo sense amplifier, a T-wave amplifier, one or more bandpass
or more physiological signal amplification circuits, one or      filters, one or more detection circuits, one or more sensor
more output circuits, a battery monitor circuit, and a power     amplification circuits, one or more physiological signal
on reset circuit.                                                amplification circuits, one or more output circuits, a battery
   6〇. The method of claim 58, wherein at least one of the       monitor circuit, and a power on reset circuit.
one or more analog circuits includes at least one amplifier 15
circuit for amplifying the one or more analog signals.




                                                                     40



                                                             Appx1101
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             UNITED STATES PATENT AND TRADEMARK OEHCE
                    CERTinCATE OF CORRECTION

PATENT NO.  :6,163,721                                                                           Page 1 of 1
DATED       :December 19,2000
INVENTOR(S) :David L. Thompson


      It is certified that error appears in the above-identified patent and that said Letters Patent is
      hereby corrected as shown below:



      Column 36,
      Line 38, "The method of claim 34^^ should read — The method of claim 1 —




                                                                   Signed and Sealed this

                                                         Twentieth Day of November, 2001
                        Attest:

                                                                   邛匕새」＞知\ P-                     危3

                                                                            NICHOLAS P. GODICI
                        Attesting Officer           Acting Director of the United States Patent and Trademark Office




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                                                                           US006711691B1

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(12)   United States Patent                                                           (10)Patent No.:                          US 6,711,691 Bl
       Howard et al.                                                                  (45)Date of Patent:                              Mar. 23, 2004


(54)    POWER MANAGEMENT FOR COMPUTER                                                    5,799,198 A     8/1998 Fung
        SYSTEMS                                                                          5,809,314 A * 9/1998 Carmean et al                    713/322
                                                                                         5,812,796 A     9/1998 Broedner et al.
(75)    Inventors: Brian D. Howard, Portola Valley, CA                                   5,892,959 A     4/1999 Fung
                   (US); Michal E. Culbert, San Jose,                                    6,105,097 A     8/2000 Larky et al.
                                                                                         6,119,194 A     9/2000 Miranda et al.
                   CA (US)
                                                                                         6,141,762A * 10/2000 Nicol et al                     713/300
                                                                                         6.230.277 Bl    5/2001 Nakaoka et al.
(73)    Assignee: Apple Computer; Inc., Cupertino, CA                                    6,272,644 Bl    8/2001 Urade et al.
                  (US)                                                                   6.308.278 Bl   10/2001 Khouli et al.
                                                                                         6,460,143 Bl * 10/2002 Howard et al                   713/323
(* )    Notice:      Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35                                                     OTHER PUBLICATIONS
                     U.S.C. 154(b) by 〇 days.                                   ''Universal Serial Bus Specification", Revision 1.0, Jan. 15,
                                                                                1996.
(21)    Appl. No.: 09/567,201
                                                                                * cited by examiner
(22)    Filed:       May 8, 2000
                                                                                Primary Examiner一Dennis M. Bntler
                 R이ated U.S. Application Data                                   (74) Attorney, Agent, or Firm—Beyer Weaver & Thomas
(60)    Provisional application No. 60/133,918, filed on May 13,                LLP
        1999.
                                                                                (57)                                     ABSTRACT
(51)    Int. C1.7                                  G06F 1/32
(52)    U.S. CI                     713/300; 713/320; 713/322                   Power management approaches for computer systems hav­
(58)    Field of Search                         713/300, 320,                   ing one or more processors are disclosed. One power man­
                                            713/322, 323, 324                   agement approach provides hierarchical power manage­
                                                                                ment. The hierarchical nature of the power management
(56)                   References Cited                                         provided by the invention has various levels of power
                                                                                management such that power consumption of the computer
                  U.S. PATENT DOCUMENTS                                         system is dependent upon the amount of work placed on the
       5,167,024 A      11/1992   Smith et al.                                  processing resources of the computer system. Another
       5,239,652 A       8/1993   Seibert et al.                                power management approach pertains to deterministic hand­
       5.254.928 A      10/1993   Young et al.                                  shaking provided between a power manager and one or more
       5,396,635 A       3/1995   Fung                                          controller units. The deterministic handshaking provides for
       5,483,656 A       1/1996   Oprescu et al.                                more reliable and controllable transitions between power
       5,557,777 A       9/1996   Culbert                                       management states which have associated power manage­
       5,590,061 A      12/1996   Hollow이1, II et al.                           ment taking place in the controller units. The power man­
       5,600,841 A       2/1997   Culbert                                       agement approaches are suitable for use with a single-
       5,632,037 A       5/1997   Maher et al                    713/322
                                                                                processor computer system or a multi-processor computer
       5,708,816 A       1/1998   Culbert
       5.710.929 A       1/1998   Fung                                          system.
       5,724,591 A       3/1998   Hara et al                     713/322
       5,737,615 A       4/1998   Tetrick                        713/324                               18 Claims, 22 Drawing Sheets




                                                                                                    INT-A

                                                                                    QREQ-A
                                                        SMI-A
                                            PLLC-A                                  QACK-A


                                                                                                    iNT-B
                                                                      PROCESSOR
                                                        SMI-B
                                             PLLC-B                           104

                                                                                                    INT-C
                                                                       PROCESSOR                    INT-D
                                                         SMI-C




                                                                                          性
                                                                                                  MEMORY
                                                                                                CONTROLLER/
                                                                                                    BUS
                                                                                     QREQ-D p    MANAGER
                                                                                    JQACK-D A
                                                                     HR흐                                   112
                                                                                     SUSREQ1
                                                                     POWER             SUSACK1        I
                                                                    MANAGER                        SRST.
                                                                                                  POC
                                              110




                                                                                      I/O - INTERRUPT CONTROLLER
                                                    SUSACKZ                                                      11£




                                                                                     1                                                         APPLE 1021



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                            FIG. 1A




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                                FIG. 1B


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                                티G. 1C




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                                 Appx1127
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                            202>°ヽ                                      200
                                  (OFF


                                            212
                                  SLEEP                                 214
     238
                                   ALL

         WAKEUP                     1             STARTUP PROCESSING
       PROCESSING
     FOR LAST ACTIVE
       PROCESSOR             SHUTDOWN
                            PROCESSING
                         FOR LAST PROCESOR
                236                                                     204

                                                               RUN
     224                                                     SNGLE
      〔▼---
        IDLE                                                             216
     PROCESSING
      FOR LAST
     PROCESSOR                                ACTIVATION PROCESSING
                                                 FOR ALL BUT LAST
                                                ACTIVE PROCESSOR
                                   207                                                  222
                                                                        206
                                                  NP
                                                                                 NAP
                                   NAP                         RU 샤
        IDLE                                                                  PROCESSING
                                 MULTIPLE                    MULTIPLE
       SINGLE                                 228                              FOR LAST
                                                                                ACTIVE
                                                  IP                          PROCESSOR
                                                                         218
                                  SNOOP                230

                                                  SHUTDOWN PROCESSING
                                                  FOR EXTRA PROCESSORS
                  226        \      232
                                                               ノ       208

          ACTIVATION
                                                                NAP
         PROCESSING                                                               234
     FOR LAST PROCESSOR                                       S NGLE
                                                                         SNOOP
                                         NAP SINGLE
                                         INTERRUPT
                            220 L       PROCESSING




                                      디G.2




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    PMGR DE-ASSERT RESETS FOR PROCESSORS                      324




      PROCESSORS EXECUTE RESET VECTORS                        326




     COMPLETE WARM OR COLD BOOT SEQUENCE                      328




              MAP ALL INTERRUPTS TO LAST                      330
                  ACTIVE PROCESSOR



                                                               332




      ENABLE INTERRUPTS ON ALL PROCESSORS                 〜334




                        FIG. 3B


                                       7



                                 Appx1130
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                      FIG, 3C

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                                                           406




                                                           408




                        티G. 4



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                                Appx1132
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                         디G.5

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                        FIG. 6


                                      11



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                         티G. 7

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                       FIG. 8B


                                    14



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                          END
                                             FIG. 9

                                    15



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                                              티 G. 10A

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                                Appx1139
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                      FIG. 10B


                                       17



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                         FIG. 11

                                      18



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                      FIG. 12


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                       디 G. 13A




                                    20



                                Appx1143
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                      디 G. 13B



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                      FIG. 14A


                                    22



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                          FIG. 14B

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                                                                                                2
    POWER MANAGEMENT FOR COMPUTER                                  tion is suitable for use with a single-processor computer
               SYSTEMS                                             system or a multi processor computer system.
                                                                      The invention can be implemented in numerous ways,
            CROSS-REFERENCE TO RELATED                             including as a computer system, an apparatus, a method, and
                         APPEICATION                             5 a computer readable medium. Several embodiments of the

   This application claims the benefit of U.S. Provisional         invention are discussed below.
Application No. 60/133,918, filed May 13, 1999, and                   As a power management method for a multi-processor
entitled “POWER MANAGEMENT FOR COMPUTER                            computer system having a plurality of processors, one
SYSTEMS^^, the content of which is hereby incorporated by          embodiment of the invention includes: monitoring workload
                                                                10
reference.                                                         on the multi-processor computer system; and, placing the
                                                                   multi-processor computer system in one of a plurality of
           BACKGROUND OF THE INVENTION                             predetermined power management states based on the work­
   f. Field of the Invention                                       load.
   The present invention relates to computer systems and, 15          As a method for managing power consumption of a
more particularly, to power management for computer sys­           multi-processor computer system having a plurality of
tems.                                                              processors, one embodiment of the invention includes:
                                                                   determining a processing workload for the multi-processor
   2. Description of the Related Art                               computer system; awakening one or more of the processors
   Computer systems include electrical components that             from an inactive mode to an active mode when the process­
                                                                20
consume power when is active. These electrical components          ing workload is heavy; and transitioning one or more of the
include processors, controllers, buses, and various sub­           processors from the active mode to the inactive mode when
systems. Limited power management has been performed to            the processing workload is light. The power consumption of
reduce the power consumption of these electrical compo­            the multi-processor computer system is managed such that
nents. Often, with portable computers where power con­             those of the processors that are not needed to process the
sumption is a major concern, the portable computers can 25 processing workload are transitioned into the inactive mode
enter a sleep mode in which the processor is slowed or             to conserve power, yet one or more of the processors can
stopped and in which the controllers, buses and various            awaken from the inactive mode to the active mode to
subsystems are also shutdown. The sleep mode thus pro­             provide additional processing capabilities as needed to
vides a state which the portable computer is able to enter to      handle the processing workload.
conserve power when processing resources are not needed. 30           As a method for providing deterministic state changes
In the sleep mode, processors, controllers and subsystems          within a computer system having a plurality of processors,
are able to be shutdown. Typically little power management         a bus controller and a power manager, one embodiment of
is offered with desktop computers.                                 the invention includes: determining when a lower power
   Although there are various disadvantages of conventional
                                                                35 state of the multi-processor computer system should be
power management, one disadvantage is that the power               entered to reduce power consumption, and entering the
management is primarily processor power management and             lower power state. The lower power state is entered by
not system level. As a result, the overall power management        performing the following operations: receiving at the bus
is not very efficient in reducing power consumption.               controller a state change request from the power manager;
Typically, many electrical components that consume signifi­
                                                                40 initiating a state change sequence at the bus controller upon
cant amounts of power are either not power managed or              receiving the state change request; and notifying the power
crudely power managed to have only an on state (i.e., active)      manager when the bus controller has completed the state
and an off state (i.e., shutdown). Also, in the case of desktop    change sequence.
computers, conventional power management has been even                As a computer system, one embodiment of the invention
less efficient.
                                                                45 includes: at least one processor, the processor executes
   Still further, conventional power management for multi­         operations in accordance with a processor clock; a bus
processor computer systems has not been efficient. Hence,          controller operatively connected to the processor, the bus
large amounts of power are consumed by these multi­                controller controls bus activity on a bus; and a power
processor computer systems even when there is no activity.         manager operatively connected to the processor and the bus
   Thus, there is a need for improved power management in 50 controller, the power manager controls the processor clock
computer systems.                                                  and shutdown of the bus controller, and the power manager
                                                                   provides a first handshaking between the power manager
             SUMMARY OF THE INVENTION                              and the bus controller to provide deterministic mode
   Broadly speaking, the invention relates to power manage­        changes for the computer system so as to manage power
ment for computer systems having one or more processors. 55 consumption.
One aspect of the invention pertains to providing hierarchi­          The advantages of the invention are numerous. Different
cal power management. The hierarchical nature of the power         embodiments or implementations may have one or more of
management provided by the invention has various levels of         the following advantages. One advantage of the invention is
power management such that power consumption of the                that it offers improved power management that is obtained
computer system is dependent upon the amount of work 60 by a layered approach. Another advantage of the invention
placed on the processing resources of the computer system.         is that the system power management provided by the
Another aspect lie of the invention pertains to deterministic      invention includes power management (i.e., shutdown) for
handshaking provided between a power manager and one or            not only processors but also related control circuitry (e.g.,
more controller units. The deterministic handshaking pro­          bus controllers, I/O controllers, memory controllers, inter­
vides for more reliable and controllable transitions between 65 rupt controllers). Still another advantage of the invention is
power management states which have associated power                that deterministic control over power management of control
management taking place in the controller units. The inven­        circuitry provides proper sequencing of shutdown opera­
                                                                    24



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tions. Yet another advantage of the invention is that more        invention pertains to providing hierarchical power manage­
aggressive power management of a computer system is               ment. The hierarchical nature of the power management
provided, whether for a single processor or a multi-processor     provided by the invention has various levels of power
system.                                                           management such that power consumption of the computer
   Other aspects and advantages of the invention will           5 system is dependent upon the amount of work placed on the
become apparent from the following detailed description,          processing resources of the computer system. Another
taken in conjunction with the accompanying drawings,              aspect of the invention pertains to deterministic handshaking
illustrating by way of example the principles of the inven­       provided between a power manager and one or more con­
tion.                                                             troller units. The deterministic handshaking provides for
                                                               10 more reliable and controllable transitions between power
       BRIEF DESCRIPTION OE THE DRAWINGS                          management states which have associated power manage­
   The present invention will be readily understood by the        ment taking place in the controller units. The invention is
following detailed description in conjunction with the            suitable for use with a single-processor computer system or
accompanying drawings, wherein like reference numer시s             a multi-processor computer system.
designate like structural elements, and in which:              15    Embodiments of the invention are discussed below with
   FIG. lA is a flow diagram of power management pro­             reference to FIGS. 1A-14B. However, those skilled in the
cessing according to a basic embodiment of the invention;         art will readily appreciate that the detailed description given
   FIG. IB is a flow diagram of processor deactivation            herein with respect to these figures is for explanatory
processing according to one embodiment of the invention;          purposes as the invention extends beyond these limited
                                                               20 embodiments.
   FIG. IC is a block diagram of a multiple processor
computer system according to one embodiment of the inven­            FIG. lA is a flow diagram of power management pro­
tion;                                                             cessing 10 according to a basic embodiment of the inven­
   FIG. 2 is a flow diagram of power management process­          tion. The power management processing 10 is performed by
ing according to one embodiment of the invention;                 a multi-processor computer system to reduce the power
                                                               25 consumption of any processing resources whenever those
   FIGS. 3A-3C are flow diagrams of start processing
                                                                  resources are not needed.
according to one embodiment of the invention;
                                                                     The power management processing 10 monitors 12 the
   FIG. 4 is a flow diagram of activation processing for all
                                                                  workload of the computer system or the processors within
but the last active processor according to one embodiment of
                                                                  the computer system. The workload reflects how busy the
the invention;                                                 30
                                                                  computer system or the processors therein are in processing
   FIG. 5 is a flow diagram of the shutdown processing for        useful tasks. Once the workload is obtained, it is determined
extra processors according to one embodiment of the inven­        14 whether the workload is heavy.
tion;
                                                                     When it is determined 14 that the workload is heavy, then
   FIG. 6 is a flow diagram of nap single interrupt processing    one or more processors of the computer system are activated
according to one embodiment of the invention;                  35
                                                                  16. Here, the heavy workload indicates that additional
   FIG. 7 is a flow diagram of nap processing for the last        processing resources are needed. By activating 16 one or
active processor according to one embodiment of the inven­        more of the processors (that were previously inactive), the
tion;                                                             computer system obtains the additional processing resources
   FIGS. 8A and 8B are flow diagrams of idle processing for       to help process the heavy workload.
                                                               40
the last active processor according to one embodiment of the         Assume a simplistic example in which the workload is
invention;                                                        fOOO units of work that is waiting to be processed by the
   FIG. 9 is a flow diagram of activation processing for the      computer system. If only one processor is active, the work­
last active processor according to one embodiment of the          load of the one processor can be considered fOOO units. If a
invention;
                                                               45 heavy workload is deemed anything over 600 units, then the
   FIGS. lOA and lOB are flow diagrams of shutdown                power management processing 10 will operate to activate
processing for the last active processor according to one         one or more additional processors. If one additional proces­
embodiment of the invention;                                      sor were to be activated 16, then the average workload for
   FIG. 11 is a flow diagram of wakeup processing for the         each of the two activated processors would drop to 500
last active processor according to one embodiment of the 50 units.
invention;                                                           On the other hand, when it is determined 14 that the
   FIG. 12 is a flow diagram of snoop processing according        monitored workload is not heavy, it is determined 18
to one embodiment of the invention;                               whether the monitored workload is light. When it is deter­
   FIG. 13A illustrates a flow diagram of nap processing          mined 18 that the monitored workload is light, then one or
according to one embodiment of the invention;                  55 more processors of the computer system are deactivated 2〇.
   FIG. 13B illustrates a flow diagram of interrupt process­      By deactivating 20 one or more of the processors, the
ing according to one embodiment of the invention;                 computer system conserves power by placing the computer
   FIG. 14A is a flow diagram of memory controller/bus            system, or its processors, into a lower powered state.
manager (MCBM) sleep shutdown processing according to                Following blocks 16 and 20, as well as following the
one embodiment of the invention; and                           60 decision block 18 when the workload is not light, the power
   FIG. 14B is a flow diagram of MCBM sleep wakeup                management processing 10 is complete and ends. However,
processing according to one embodiment of the invention.          typically, the power management processing 10 continu­
                                                                  ously repeats such that the power management for the
            DETAILED DESCRIPTION OF THE                           computer system is ongoing and dynamically performed.
                         INVENTION                             65    According to the invention, the deactivation 20 of one or
   The invention relates to power management for computer         more of the processors can be performed in a wide variety
systems having one or more processors. One aspect of the          of ways. In particular, the deactivation 20 can be performed
                                                                     25



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over a series of low power states into which the computer          placed in the first low power state. Still further, if further
system can enter (or low power modes into which its                power reduction is further desired, then the last active
processors can enter) to conserve power. The deactivation 20       processor can by placed in the second low power mode.
can also be considered to be performed over a series of            Typically, the second power mode would placed the last
layers such that different layers offer different tradeoffs of 5 active processor in even a greater power saving state than
processing resources verses power efSciency.                       provided by the first low power mode. Additionally, since
                                                                   the second low power mode essentially deactivates the last
   FIG. IB is a flow diagram of processor deactivation
                                                                   active processor, various other electrical components or
processing 30 according to one embodiment of the inven­            units within the multi-processor computer system can also
tion. The processor deactivation processing 30 is, for             be placed in a low-power state (or shut-down) to further
example, suitable for use as the deactivation 20 of the one 10 enhance the power reductions. For example, the electrical
or more processors such as shown in FIG. lA.                       components or units can include controllers (e.g., controller
   The processor deactivation processing 30 initially deter­       chips) or unneeded subsystems. Often, some subsystem can
mines whether there is more than one active processor.             be shutdown in other earlier layers.
When it is determined 32 that there is more than one active           A third low power mode could also be provided by the
processor, the processor deactivation processing 30 places 15 processor deactivation processing 3〇. The third low power
34 one or more (but not all) of the processors in a sleep          mode would offer even greater power reductions than pro­
mode. The number of the processors being placed in the             vided in the first and second low power modes. For example,
sleep mode is based on the workload. For example, in a             in the third low power mode, the last processor could be
computer system having five processors, the processor deac­
                                                                20 placed in the sleep mode and, thus, with all processors in the
tivation processing 30 could shutdown up to four of the            sleep mode, the computer system would itself be in a sleep
processors by placing them in the sleep mode when the              mode. More than three low power modes could also be
workload is light.                                                 provided. The various low power modes can include, for
   On the other hand, when it is determined 32 that there is       example, nap, doze or sleep modes for a processor as well
only one active processor, then the processor deactivation 25 as also remove clocks and power from a processor and/or
processing is performed for the last processor in a layered        other electrical components in certain of the various low
fashion. In particular, it is initially determined 36 whether      power states.
the last processor is in a run mode. The run mode is a mode           Although the invention is described herein largely in
in which the last active processor is active such that it          terms of a multi-processor computer system, the invention is
processes instructions. When it is determined that the last 30 also applicable to single processor computer systems. As an
processor is in the run mode, then the last processor is placed    example, blocks 34-44 of FIG. IB in effect pertain to power
38 in a first low power mode. In this embodiment, the first        management for single processor computer systems.
low power mode is a mode in which the processor conserves             FIG. IC is a block diagram of a multiple processor
some power but has a loss of performance as compared to            computer system 100 according to one embodiment of the
the run mode.                                                   35 invention. The multiple processor computer system 100
   Alternatively, when it is determined 36 that the last           includes a plurality of processors, including processor A
processor is not in the run mode, it is determined 40 whether      102, processor B 104, processor C 106 and processor D 108.
the last processor is in the first low power mode. When it is      Each of the processors 102-108 operates to execute instruc­
determined 40 that the last processor is already in the first      tions under the control of an operating system (not shown).
lower power mode, then the processor deactivation process­ 40 The multiple processor computer system 100 also includes
ing 30 can perform additional operations to provide greater        a power manager 110 that provides power management
reductions in power consumption. Specifically, the last pro­       functions for the multiple processor computer system 100.
cessor is placed 42 in a second low power mode. The second         In general, the power manager 110, provides soft resets
low power mode is a mode that offers less power consump­           (SRST), hard resets (HRST), system management interrupts
tion (as well as less performance) than does the first low 45 (SMIs), and configuration control signals for phase lock
power mode. Next, any unneeded electrical components or            loops (PLLs). In one embodiment, the power manager is an
units of the computer system are shut down 44. On the other        embedded controller or processor. The multiple processor
hand, when it is determined 40 that the last processor is not      computer system 100 also includes a memory controller/bus
in the first low power mode, it is assumed that the last           manager (MCBM) 112, a dynamic random access memory
processor is already in the second low power mode such that 50 (DRAM) 114, an I/O-interrupt controller (lOIC) 116, and an
additional processing by the processor deactivation process­       operating system 11. Although not shown in FIG. IC, the
ing 30 is not available and, thus, the processor deactivation      multiple processor computer system 100 would also include
processing 30 is complete and ends. In addition, following         other components such as Read Only Memory (ROM),
blocks 34, 38 and 44, the processor deactivation processing        system bus, display controller, etc.
30 is complete and ends.                                        55    The processors 102-108 operate to perform program
   The processor deactivation processing 30 can be consid­         instructions under the control of operating system 118. For
ered to have multiple hierarchical levels. For example, with       processor mode control, processors 102-108 communicate
respect to a multi-processor computer system, the processor        with the memory controller/bus manager 112 using a
deactivation processing 30 offers three layer of power man­        hardware-handshake. The hardware-handshake controls
agement. A first layer is provided by block 34 such that the 60 when the processors 102-108 are able to enter a lower power
number of processors that are active (and not sleeping) is         state. The processor A 102 supplies a quiescent request
determined based on workload. Within the first layer there         (QREQ-A) to the memory controller/bus manager 112.
are various different levels of power management based             Fikewise, the processor B 104, the processor C 106, and the
largely on the number of processors activated. In any case,        processor D 108 respectively supply quiescent signals
once only one of the processors is active, than a second layer 65 (QREQ-B, QREQ-C, and QREQ-D) to the memory
can be entered for further power reduction. In the second          controller/bus manager 112. When the memory controller/
layer provided by block 38, the last active processor is           bus manager 112 determines that all of the quiescent
                                                                     26



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requests QREQ-A, QREQ-B, QREQ-C, and QREQ-D all                    In one embodiment, the processors 102-108 themselves
are asserted, then the memory controller/bns manager 112        have a plurality of power modes, including run, doze, nap
asserts quiescent acknowledgement signals (QACK-A,              and sleep. When it is determined (e.g., by operating system)
QACK-B, QACK-C, and QACQ-D) back to each of the                 that an individual processor is idle, a nap bit for the
processors 102-108, after any snoop cycles are completed. 5 processor can be set to cause the processor to enter a doze
Hence, the hardware-handshake between the processors            mode. When all of the processors have entered a doze mode,
102-108 and the memory controller/bns manager 112 are           and the memory controller/bns manager 112 is idle, all the
provided by the quiescent request sign시s (QREQ) and the         processors can transition from a doze mode into a nap mode.
quiescent acknowledgement signals (QACK).                       However, once in the nap mode, if a snoop operation is
   Another hardware-handshake is provided between the 10 needed, the processors will return from the nap mode to the
power manager 110 and the memory controller/bns manager         doze mode so that the snoop operations can be performed.
112. The hardware-handshake utilizes a suspend request
                                                                Also, if an interrupt arrives for a processor in a nap mode,
(SUSREQl) and a suspend acknowledgement (SUSACKl).
                                                                the processor will transition to a run mode so that the
When the power manager 110 asserts the suspend request
(SUSREQl) the memory controller/bns manager 112 is              interrupt can be handled. The power management performed
instructed to enter a shut-down mode if a sleep bit has been 15 within processors is further described below with respect to
previously set or to enter an idle mode when an idle bit has    FIGS. 13A-13C.
been previously set. After the memory controller/bns man­          EIG. 2 is a flow diagram of power management process­
ager 112 completes its processing to enter either its shut­     ing 200 according to one embodiment of the invention. The
down mode or the idle mode, the suspend acknowledgement         power management processing 200 is performed by a mul­
(SUSACKl) is asserted to indicate that the memory 20 tiple processor computer system. For example, the multiple
controller/bns manager 112 is in now in the requested mode.     processor computer system 100 illustrated in FIG. IC can
The power manager 110 also supplies a system reset (SRST)       perform the power management processing 20〇.
and a power-on clear (POC). The system reset (SRST) resets         The power management processing 200 illustrates tran­
the one or more devices on buses being managed by the           sitioning between different states of power management.
memory controller/bns manager 112. The system reset 25
                                                                These different states allow for a layered approach to power
(SRST) affects the memory controller portion of the memory
                                                                management for a multiple processor computer system. In
controller/bns manager 112 such that the contents of DRAM
                                                                this embodiment, the power management states include an
114 are preserved, to aid in post-reset recovery and
                                                                off state 202, a run single state 204, a run multiple state 206,
de-bugging when power to the DRAM 114 has been main­
                                                                a nap multiple state 207, a nap single state 208, an idle single
tained. The power-on clear (POC) allows the power manager 30
                                                                state 210, and a sleep all state 212.
110 to reset the memory controller portion of the memory
controller/bns manager 112 and well as the DRAM 114                Each of the power management states offers a different
when the power to the DRAM 114 has previously been              tradeoff between processing capabilities and power con­
turned off.                                                     sumption. In order of processing capabilities, from most to
                                                                least, the power management states in this embodiment are
   The power manager 110 also interacts with the I/O- 35
                                                                the run multiple state 206, the nap multiple state 207, the run
intermpt controller 116 to support the incoming interrupts
                                                                single state 204, the nap single state 208, the idle single state
when the processors 102-108 are in a low power (or sleep)
                                                                210, the sleep all 마ate 212, and the off 마ate 202. With
mode. More particularly, when the processors 102-108 are
                                                                respect to power consumption, from least to most, the power
active, the I/O-intermpt controller 116 provides interrupts
                                                                management states have the reverse order from that noted
INT-A, INT-B, INT-C and INT-D to each of the processors 40
                                                                immediately above.
102-108, respectively. However, after the power manager
110 asserts a sleep request (SREQ) to the I/O-interrupt            The run multiple state 206 refers to the condition in which
controller 116, the I/O-intermpt controller 116 no longer       more than one of the processors are active or, if only one
supplies incoming interrupts to the processors 102-108          processor is active (run mode), the other processors are in
(which are inactive) but instead supplies a combined pro­ 45 the doze mode and can rapidly be made active.
cessor interrupt (PINT) to the power manager 110. The              The nap multiple state 207 refers to the condition in which
power manager 110 monitors the combined processor inter­        all processors are in the nap mode. All processor clocks are
rupt (PINT) to determine when interrupts need to be ser­        running and coherent cache storage for the processors is
viced. The I/O-interrupt controller 116 also receives the       maintained. A processor interrupt causes the state to change
system reset (SRST) from the power manager 110. The 50 to the run multiple state 206.
system reset (SRST) is used to reset the I/O-intermpt              The run single state 204 refers to the condition in which
controller 116.                                                 a single processor is running, and any other processors are
   There is also a hardware-handshake between the power         placed in the sleep mode with their caches flushed.
manager 110 and the I/O-intermpt controller 116. The               The nap single state 208 refers to the condition in which
hardware-handshake utilizes a suspend request (SUSREQ2) 55 the single processor (from the run single state 204) is in the
and a suspend acknowledgement (SUSACK2). When the               nap mode and has its processor clock running and its
power manager 110 asserts the suspend request                   coherent cache storage maintained, while the other proces­
(SUSREQ2), the I/O-interrupt controller 116 is m마ructed to      sors remain in the sleep mode.
enter a low power (or sleep) mode, in which the clocks for         The idle single state 210 refers to the condition in which
the I/O-intermpt controller 116 are stopped. After the I/O- 60 the single processor (from the run single state 204) is placed
intermpt controller 116 completes its processing to enter the   in sleep mode with its cache flushed, and all processor
low power mode, the suspend acknowledgement                     clocks are stopped.
(SUSACK2) is asserted to indicate to the power manager             The sleep all state 212 refers to the condition in which all
110 that the I/O-interrupt controller 116 is now in the low     processors are powered off with their caches flushed. The
power mode. In one embodiment, even when the I/O con­ 65 processor states are preserved in memory (e.g., DRAM 114).
troller 116 is in the low power mode, interrupts can still be   The power manager 110 remains operable by way of a low
received in an asynchronous manner.                             frequency clock. Various controllers (controllers 112, 116)
                                                                     27



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and memory (DRAM 114) are also in low power modes but              The applies to both the nap single state 208 and the nap
their state is preserved.                                          multiple state 207. Hence, from the nap multiple state 207,
   The off state 202 refers to the condition (namely, system       snoop processing 232 can be performed to return the mul­
shntdown) where the entire computer system is powered off.         tiple processors from their nap modes to their doze modes so
   The processing performed to transition between the vari­ 5 that the snoop transactions can be performed. After the
ous states 202-212 is also illustrated in FIG. 2. To transition    snoop transactions have been completed, the multiple pro­
from the off state 202 to the run single state 204, startup        cessors are returned to their nap modes and thus the nap
processing 214 is performed. The startup processing 214 is         multiple state 207. Likewise, from the nap single state 208,
described in detail below with respect to FIGS. 3A-3C. To          snoop processing 234 can be performed to return the last
transition from the run single state 204 to the run multiple 10 processor from its nap mode to its doze mode so that the
state 206, activation processing 216 for all but a last active     snoop transactions can be performed. After the snoop trans­
processor is performed. The activation processing 216 is           actions have been completed, the last processor is returned
described in detail below with respect to FIG. 4. To transi­       to its nap mode and thus the nap single state 208. One
tion from the run multiple state 206 to the nap single state
                                                                   embodiment of snoop processing is further described below
208, shutdown processing 218 for extra processors is per­
                                                                15 with reference to FIG. 12.
formed. The shutdown processing 218 is described in detail
below with respect to FIG. 5. Once in the nap single state            When no processing is needed, then the power manage­
208, the power management processing 200 may determine             ment processing 200 performs shutdown processing 236 for
that processing power is needed, such as to handle an              the last processor. The shutdown processing 236 transitions
interrupt that has occurred. Hence, when processing power          the power management processing 200 from the run single
is needed, nap single interrupt processing 220 can be per­ 20 state 204 to the sleep all state 212. The shutdown processing
formed to transition from the nap single state 208 to the run      236 is, for example, described in more detail below with
single state 204. The nap single interrupt processing 220 is       respect to FIGS. lOA and lOB. From the sleep all state 212,
further described below with respect to FIG. 6. On the other       if the power management processing 200 determines that
hand, while in the run single state 204, if the power              processing power is again needed, then wakeup processing
management processing 200 determines that the last active 25 238 for the last active processor can be performed to
processor is idle and thus less processing power is needed,        transition from the sleep all state 212 to the run single state
then nap processing 222 for the last active processor can be       2〇4. Fhe wakeup processing 238 is, for example, illustrated
performed to transition from the run single state 204 to the       in detail below with respect to FIG. 11 as well as FIG. 3C.
nap single state 208. The nap processing 222 for the last
active processor is described in detail below with respect to 30      Finally, if the computer system is to be completely turned
FIG. 7.                                                            off, the power management processing 200 typically tran­
   Furthermore, from the run single state 204, the power           sitions from the run single state 204 to the off state 202
management processing 200 can also enter the idle single           through the sleep state 212. Hence, to enter the off state 202,
state 21〇. The idle single state offers even more power            the shutdown processing 236 for the last processor is also
conservation than is available in the nap single state 208. In 35 performed. Additionally, the off state 202 or the sleep state
any case, to transition from the run single state 204 to the       212 can be entered more directly from the run multiple state
idle single state 210, idle processing 224 for the last pro­       206 by performing the shutdown processing 218 for extra
cessor is performed. The idle single state 210 could also be       processors as well as the shutdown processing 236 for the
entered from the nap single state 208 (e.g., via processing        last processor.
220 and then processing 224), such as after the last processor 40     FIGS. 3A-3C are flow diagrams of startup processing 300
is idle in the nap single state 208 for a predetermined period     according to one embodiment of the invention. The startup
of time. The idle processing 224 for the last processor is         processing 300 is, for example, suitable for use as the startup
further described below with respect to FIGS. 8A and 8B.           processing 214 illustrated in FIG. 2.
Once in the idle single state 210, when the power manage­             The startup processing 300 is invoked when a startup
ment processing 200 needs additional processing power, 45 event occurs. Examples of startup events include a system
activation processing 226 for the last processor can be            reset or a power-on. Once the startup processing 300 is
performed to transition from the idle single state 210 to the      invoked, a power manager (PMGR) asserts 302 SUSREQ2,
run single state 204. The activation processing 226 for the        SREQ, and SUSREQl. The power manager asserts 304 all
last processor is further described below with respect to FIG.     resets (except the POC). Then, a decision 306 determines
9.                                                              50 whether the DRAM is powered off. When the decision 306
   Still further, once in the run multiple state 206, the power    determines that the DRAM is powered off, then the power
management processing 200 may determine that particular            manager asserts 308 power-on clear (POC).
processors are not needed due, for example, to blocked                Following the decision 306 directly when the DRAM is
processes or light workloads. In such cases, the power             powered off, or otherwise following assertion 308 of POC,
management processing 200 can cause these processors to 55 a power manager (PMGR) activates 310 all power and
enter a doze mode and when all the processors have entered         clocks for the processors. In one implementation, the acti­
the doze mode, nap processing 228 is performed to transition       vation 310 of the power and clocks can initially turn-on
to the nap multiple state 207 where all the processors are in      power planes for the processors, start the clocks for the
the nap mode. The nap processing 228 is similar to process­        processors, and then activate phase lock loops (PLLs) within
ing described with respect to FIG. 7. Then, when processing 60 the processors. The memory controller/bus manager then
power is needed such as to process an interrupt, interrupt         asserts 312 SUSACKl. Next, at 314, the power manager
processing 230 is performed to transition to the run multiple      de-asserts POC and all non-processors resets that are cur­
state 206. Here, at least the processor receiving the interrupt    rently asserted. The power manager also de-asserts 316
is returned to a run mode. The interrupt processing 230 is         SUSREQl and SUSREQ2.
similar to processing described with respect to FIG. 6.         65    Once SUSREQl and SUSREQ2 are de-asserted, the
   Further, when processors are in the nap mode, they are          memory controller/bus manager and the I/O interrupt con­
unable to permit a snoop transaction of a bus or memory.           troller (lOIC) begin their respective internal wakeup
                                                                     28



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sequences at 318. Next, a decision 320 determines whether            awakened. Hence, the caches on all but the last active
the SUSACKl and SUSACK2 are de-asserted, thus indi­                  processors are enabled 406. Next, all but the last active
cating that the wakeup sequences have been completed.                processor enter 408 a run mode. The last active processor
When the decision 320 determines that the wakeup                     need not enter a run mode because it is already in the run
sequences are not yet completed, the startup processing 300 5 mode. The operating system typically then powers-up and/or
awaits their completion. Once the wakeup sequences are               enables any subsystems of the computer system that are
determined to be completed, the startup processing 300               required. Examples of such subsystems include a soundcard,
continues (see FIG. 3B).                                             PCI cards, hard disk or other drives, FireWire, Universal
   After the wakeup sequences have completed, the power              Serial Bus (USB), and/or display controller. Also, following
manager then deasserts 324 resets for the processors. After 10 the activation of the processors at 408, the activation pro­
the resets for the processors are deasserted 324, the proces­        cessing 400 is complete and ends.
sors execute 326 reset vectors. Then, the startup processing            FIG. 5 is a flow diagram of the shutdown processing 500
300 waits for warm or cold boot sequence to complete 328.            for extra processors according to one embodiment of the
Next, all interrupts are mapped 330 to the last active               invention. The shutdown processing 500 is, for example,
processor. By mapping all the interrupts to the last active 15 suitable for use as the shutdown processing 218 illustrated in
processor, the startup processing 300 can prevent all pro­           FIG. 2, where it is utilized to transition the processors of the
cessors but the last active processor from being awakened            computer system from the run multiple state 206 to the run
due to interrupts. Next, the power manager de-asserts 332            single state 204. The shutdown processing 500 is invoked
SREQ. When SREQ is de-asserted 332, interrupts on all of             when a light workload is detected by, for example, the
the processors are enabled 334.                                   20 operating system. When the shutdown processing 500

   At this point, the startup processing 300 has effectively         begins, the operating system is also able to shut down any
activated all of the processors. However, since the default          appropriate subsystems so as to conserve power.
state for the system is assumed to be the run single state in           Once the shutdown processing 500 is invoked, all inter­
this embodiment, additional processing is performed to               rupts are mapped 502 to the last active processor. The state
configure the processors for the run single state. Hence, to 25 of all but the last active processor is then saved 504. The
transition to the run single state, the following additional         caches on all but the last active processor are flushed and
processing is performed in the startup processing 300 (see           then disabled 506. Next, the sleep bit is set 508 in all but the
FIG. 3C). Specifically, the state of all but the last active         last active processor. Then, at 510, all but the last active
processor is saved 336. Next, the caches on all but the last         processor assert their quiescent requests (QREQ) and enter
active processor are flushed and then disabled 338. Sleep 30 the doze mode. The MCBM asserts 511 QACKs to those of
bits in all but the last active processor are then set 34〇. At       the processors asserting their QREQs to signal that the
this point, all the processors but the last active processor also    memory controller/bus manager is ready to permit these
assert 342 their quiescent reque마s (QREQ). Next, MCBM                processors to enter a sleep mode. Once a decision 512
asserts all QACKs to all the processors asserting QREQ to            determines that the QACKs of those of the processors
signal that the memory controller/bus manager is ready to 35 asserting their QREQs have been asserted, then all but the
permit those processors to enter a sleep mode. Once a                last active processor enter 514 the sleep mode. Here, the last
decision 346 determines that all the QACKs have been                 active processor remains in a run mode. Thereafter, the
asserted, then all but the last active processor enter 348 the       shutdown processing 500 is complete and ends. At this time,
sleep mode. Here, the last active processor remains in a run         the operating system can also power-down and/or disable
mode. Thereafter, the startup processing 300 is complete and 40 any subsystems that are required.
ends. At this point, the operating system can also power-up             FIG. 6 is a flow diagram of nap single interrupt processing
and/or enable any subsystems that are required.                      600 according to one embodiment of the invention. The nap
   FIG. 4 is a flow diagram of activation processing 400 for         single interrupt processing 600 is, for example, utilized by
all but the last active processor according to one embodi­ 45 the power management processing 200 to transition the
ment of the invention. The activation processing 400 is used         processors of the computer system from the nap single state
for transitioning the processors of the computer system from         208 to the run single state 204.
the run single state 204 to the run multiple state 206.                 When the last active processor is in the nap mode as is the
   The activation processing 400 is initiated when the com­          case in the nap single state 208 and an interrupt is received,
puter system, namely, the operating system, determines that 50 the processor receiving the interrupt, (namely, the last active
there is a heavy workload and that additional processors are         processor) needs to awaken from the nap mode and enter the
needed to handle the work. In such a case, the activation            run mode in order to process the interrupt. The nap single
processing 400 is, for example, suitable for use as the              interrupt processing 600 performs the awakening of the last
activation processing 216 illustrated in FIG. 2, where it            active processor when an interrupt is received.
performs the transition from the run single state 204 to the 55         Once an interrupt is received at the last active processor,
run multiple state 206.                                              the nap bit in the last active processor is cleared 602. Next,
   The activation processing 400 initially maps 402 inter­           the last active processor de-asserts 604 its quiescent request
rupts to all of the processors. After the interrupts have been       (QREQ). In turn, the memory controller/bus manager
re-mapped to all of the processors, all the processors in the        de-asserts 606 the quiescent acknowledgement (QACK).
sleep mode are able to receive interrupts to be awakened. 60 After the quiescent acknowledgement (QACK) is
Upon receiving such interrupts, the processors clear their           de-asserted 606, the last active processor enters 608 the run
sleep bits and de-assert their quiescent requests (QREQs) at         mode. The other remaining processors remain in their sleep
404 to awaken. These interrupts are typically scheduled by           mode. Thereafter, the interrupt that was received can be
the operating system specifically to induce wakeup but could         processed 610 by the last active processor. Following the
instead be norm시 interrupts from peripherals or timers. 65 processing of the interrupt, the nap single interrupt is pro­
Since all but the last active processors were previously             cessing 600 is complete and ends, and the computer system
sleeping, their caches need to be re-enabled when they are           is in the run single state.
                                                                       29



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   FIG. 7 is a flow diagram of nap processing 700 for the last        FIG. 9 is a flow diagram of activation processing 900 for
active processor according to one embodiment of the inven­         the last active processor according to one embodiment of the
tion. The nap processing 700 is, for example, utilized by the      invention. The activation processing 900 operates to transi­
power management processing 200 to transition the proces­          tion the computer system from the idle single state 210 to the
sors of the computer system from the run single state 204 to 5 run single state 204. Before invoking the activation process­
the nap single state 208. In particular, when the operating        ing 800, the operating system typically powers-up or enables
system detects that the workload has been low or nonexist­         any subsystems of the computer system that are required.
ent for a short period of time, the operating system initiates        The activation processing 900 is initiated by a wakeup
the nap processing 70〇.                                            event received at the power manager through the I/O-
                                                                   intermpt controller. Examples of such wakeup events can
   When the nap processing 700 is initiated, the nap bit is set 10
                                                                   include an mtera시 timer, a keystroke event, or a processor
702 in the last active processor. Then, at 704, the last active
                                                                   interrupt (PINT).
processor asserts 704 its quiescent request (QREQ) and
enters the doze mode. Next, it is determined 706 whether the          Once the activation processing 900 has been invoked, the
quiescent acknowledgement (QACK) is asserted. When the             power manager starts 902 the processor clocks. Then, the
quiescent request (QREQ) is presently asserted by a 15 power manager starts 904 the phase lock loops (PLLs) used
processor, and no snoop operations are needed, the memory          in providing intern시 clocks to the processors. Once the
controller/bus manager asserts the corresponding QACK to           processor clocks have stabilized, the power manager
that processor. Once the QACK is determined 706 to have            de-asserts 906 the suspend request (SUSREQl) to the
been asserted for the last active processor, the last active       memory controller/bus manager and the suspend request
processor enters 708 the nap mode. Here, all other proces­      20 (SUSREQ2) to the I/O-intermpt controller. Ihe idle bit is
sors remain in the sleep mode. At this point, the computer         then cleared 908. After the idle bit is cleared 908 the memory
system has entered the nap single state 208, and thus the nap      controller/bus manager has been cleared, the activation
processing 700 is complete and ends.                               processing 900 determines 910 whether the suspend
                                                                   acknowledgements (SUSACKl, SUSACK2) have been
   FIGS. 8A and 8B are flow diagrams of idle processing 800        de-asserted.
for the last active processor according to one embodiment of 25
                                                                      Once the decision block 910 determines that the suspend
the invention. The idle processing 800 is used to transition
                                                                   acknowledgements (SUSACKl, SUSACK2) have been
from the run single state 204 to the idle single state 21〇.
                                                                   de-asserted, the power manager de-asserts 912 the stop
Before invoking the idle processing 800, the operating
                                                                   request (SREQ). The last active processor then, at 914,
system typically shuts down any appropriate subsystems of
                                                                30 receives an interrupt, operates to clear its sleep bit, and
the computer system that are not needed.
                                                                   de-assert its quiescent request (QREQ). After any quiescent
   The idle processing 800 is invoked when the last active         request (QREQ) is de-asserted, all of the quiescent acknowl­
processor has been idle or has no workload for a given             edgements (QACKs) are de-asserted 916 by the memory
period of time. The idle processing 800 initially causes the       controller/bus manager. The caches on the last active pro­
operating system to set 802 an idle bit in the memory 35 cessor are enabled 918. Thereafter, the last active processor
controller/bus manager. Then, an idle command is sent 804          enters 920 the run mode. Here, the other processors remain
to the power manager. The power manager then, at 806,              in their sleep mode. At this point, the computer system has
asserts the suspend request (SUSREQl) to the memory                entered the run single state 204, and thus the activation
controller/bus manager, the suspend request (SUSREQ2) to           processing 900 is complete and ends. FIGS. lOA and lOB
the I/O-intermpt controller, and a stop request (SREQ) to the 40 are flow diagrams of shutdown processing 1000 for the last
I/O-intermpt controller. The caches on the last active pro­        active processor according to one embodiment of the inven­
cessor are flushed and then disabled at 808.                       tion. The shutdown processing 1000 is used to enter either
   Next, the sleep bit in the last active processor is set 812.    the sleep all state 212 or the off state 202 from the run single
The last active processor then asserts 814 the quiescent           state 204.
request (QREQ) and enters the doze mode. It is then 45                The shutdown processing 1000 is invoked when a sleep or
determined 816 whether the quiescent acknowledgement               off request is initiated. The shutdown processing 1000
(QACK) is asserted by the memory controller/bus manager.           initially causes the operating system to set 1002 the sleep bit
At this point, the idle processing 800 waits for the QACK to       in the memory controller/bus manger. Next, a sleep or off
be asserted. When the quiescent request (QREQ) is presently        command is sent 1004 to the power manager. When off is
asserted by a processor, and no snoop operations are needed, 50 requested the off command is used, and when sleep is
the memory controller/bus manager asserts the correspond­          requested the sleep command is used. The power manager
ing QACK to that processor. Once it is determined 816 that         then asserts 1006 the suspend requests (SUSREQl,
the QACK has been asserted for the last active processor, the      SUSREQ2) and the stop request (SREQ). The assertion of
last active processor enters the sleep mode 818. Here, all         the suspend requests (SUSREQl and SUSREQ2) cause the
other processors are already in their sleep mode.               55 memory controller/bus manager and the I/O-interrupt con­
   Next, it is determined 820 determines whether the sus­          troller to begin their internal shutdown sequences. In one
pend acknowledgments (SUSACKl and SUSACK2) has                     embodiment, with the SUSREQl asserted and the sleep bit
been asserted. Here, the idle processing 800 waits for the         set, the memory controller/bus manager operates to stop bus
SUSACKl and the SUSACK2 to be asserted. Once a                     activity and stop the PLLs as well as place the DRAM (e.g.,
decision 820 determines that the SUSACKl and SUSACK2 60 DRAM 114) into a self-refresh mode, thus placing the
have been asserted by the memory controller/bus manager,           memory controller/bus manager in the sleep mode. The stop
the power manager stops the phase lock loops (PLLs) used           request (SREQ) to the I/O-intermpt controller operates to
in providing internal clocks to the processors. The power          block interrupts to the processors and instead direct the
manager then stops 824 the processor clocks 824 (which are         interrupts to the power manager using the combined pro­
typically external to the processors). After the processor 65 cessor interrupt (PINT). The state of the last active processor
clocks are stopped, the idle processing 800 is complete and        is then saved 1008. Caches on the last active processor are
ends.                                                              flushed and then disabled 1010. The operating system then
                                                                      30



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sets 1012 the sleep bit in the last active processor. After the     tion of the internal wakeup sequences, the wakeup process­
sleep bit in the last active processor is set 1012, the last        ing 1100 continues. Namely, the resets for the processors are
active processor asserts its quiescent request (QREQ) and           de-asserted 1112. The processors then execute 1114 their
enters the doze mode 1014.                                          reset vectors. The states for all of the processors are then
   The shutdown processing 1000 then determines 1016 5 restored 1116. The power manager then de-asserts 1118 the
                                                                    stop request (SREQ). The interrupts on all of the processors
whether the quiescent acknowledgements (QACKs) have
                                                                    are then enabled 112〇. After the interrupts are enabled, the
been asserted. Once the decision 1016 determines that the
                                                                    processing follows blocks 336-348 of the startup processing
quiescent acknowledgement (QACK) has been asserted, the             300 illustrated in FIG. 3C.
last active processor enters 1018 a sleep mode. Here, all
                                                                 ]〇    EIG. 12 is a flow diagram of snoop processing 1200
other processors are already in the sleep mode. Thereafter,
                                                                    according to one embodiment of the invention. The snoop
the memory controller/bus manager and the I/O interrupt
                                                                    processing 1200 is associated with the snoop processing 232
controller (lOIC) begin 1020 an internal shutdown
                                                                    for the nap multiple state 207 and the snoop processing 234
sequence. The shutdown processing 1000 then determines
                                                                    for the nap single state 208 illustrated in FIG. 2. In
1022 whether the suspend acknowledgements (SUSACKl,
                                                                 ]5 particular, in certain processors, such as used in the
SUSACK2) have been asserted. Here, the shutdown pro­
                                                                    described embodiment, their individual modes of operation
cessing 1000 awaits the reception of the suspend acknowl­
                                                                    include a run mode, a nap mode, a doze mode and sleep
edgement (SUSACKl) from the memory controller/bus
                                                                    mode. However, snoop operations can occur in the run mode
manager and the suspend acknowledgement (SUSACK2)
                                                                    and the doze mode, but not in the nap mode or the sleep
from the I/O-interrupt controller to indicate that their respec­
                                                                 20 mode. Hence, the snoop processing 1200 operates during the
tive internal shutdown sequences have been completed.
                                                                    nap single state 208 to temporarily return a particular
Once the suspend acknowledgements (SUSACKl,
                                                                    processor to the doze mode so that the snoop operations can
SUSACK2) have been received, the power manager stops
                                                                    be performed and then return the particular processor to the
all clocks, asserts processor resets, and removes power to the
                                                                    nap mode once the snoop operations have been completed.
processors at 1024. Then, the shutdown processing 1000
                                                                 25 Similarly, during the nap multiple state 207, all the proces­
determines 1026 whether the off was requested and used to
                                                                    sors temporarily return to the doze mode so that the snoop
invoke the shutdown processing 1000. When it is deter­
                                                                    operations can be performed and then return to the nap mode
mined 1026 that off has been requested, then the power
                                                                    once the snoop operations have been completed.
manager asserts all resets and removes all power at 1028. In
this case, the computer system is placed in the off state 202          The snoop processing 1200 begins when there is a need to
and the shutdown processing 1000 is complete and ends. On 30 perform one or more snoop operations. When the snoop
the other hand, when it is determined 1026 that off has not         processing 1200 is invoked, the memory controller/bus
been requested (i.e., sleep requested), then the computer           manager de-asserts 1202 all the quiescent acknowledge­
system is placed in the sleep all 212 state and the shutdown        ments (QACKs). At this point, any napping processors enter
processing 1000 is complete and ends. In the sleep all state,       1204 the doze mode. The snoop operations can then be
the processors do not receive power, but the power manager,      35 completed    1206 by the processors in the doze mode. After
the DRAM and the various controllers continue to receive            the one or more pending snoop operations have been
power so that the sleeping processors can be awakened as            completed, the snoop processing 1200 determines 1208
needed. However, the DRAM and the various controllers are           whether all of the quiescent acknowledgements (QACKs)
typically also in a low power mode.                                 have been asserted. Here, the memory controller/bus man-
                                                                 40 ager will re-assert the quiescent acknowledgements
   FIG. 11 is a flow diagram of wakeup processing 1100 for          (QACKS) after all of the snoop transactions are complete.
the last active processor according to one embodiment of the        Thereafter, any processors in the doze mode re-enter 1210
invention. The wake up processing 1100 is used to awaken            the nap mode. When the dozing processors go to the nap
the last active processor from the sleep all state 212 to the       mode, the computer system returns to its former state (e.g.,
run single state 204.                                            45 the nap single state 208 or the nap multiple state 207) and the
   The wakeup processing 1100 is invoked when the power             snoop processing 1200 is complete and ends.
manager receives a wakeup event (e.g., an mtera시 timer, a              As previously noted, each of the processors can operate in
keystroke event, etc.). Once invoked, the power manager             a run mode, a doze mode, a nap mode and a sleep mode.
turns-on power to the processors and restarts the clocks at         FIG. 13A illustrates a flow diagram of nap processing 1300
1102. After the clocks are stable, the power manager starts 50 according to one embodiment of the invention. The nap
the processor PLLs and then de-asserts 1104 suspend                 processing 1300 is, for example, performed during the nap
requests (SUSREQl, SUSREQ2). At this point, the memory              processing 228 when transitioning from the run multiple
controller/bus manager (MCBM) and the I/O-interrupt con­            state 206 to the nap multiple state 207 illustrated in FIG. 2.
troller (lOIC) begins to perform their respective internal             The nap processing 1300 is invoked for a given processor
wakeup sequences The memory controller/bus manager then 55 whenever an idle task is scheduled to that processor during
clears its sleep bit (1106).                                        the run multiple state 206. The idle task is scheduled to a
   The wakeup processing 1100 then determines 1110                  processor when there is no useful work for the processor to
whether the suspend acknowledgements (SUSACKl,                      perform. For example, when all software processes available
SUSACK2) have been de-asserted. In other words, the                 to a given processor are blocked, the idle task is scheduled
memory controller/bus manager operates to de-assert the 60 to that processor. The idle task schedules (sets) 1304 the nap
suspend acknowledgement (SUSACKl) when its internal                 bit in the associated processor. The associated processor then
wakeup sequence has been completed, and the I/O-interrupt           asserts 1306 its quiescent request (QREQ). The associated
controller operates to de-assert the suspend acknowledge­           processor then enters 1308 the doze mode. The nap pro­
ment (SUSACK2) when its internal wakeup sequence has                cessing 1300 then determines 1310 whether the quiescent
been completed.                                                  65 acknowledgements (QACKS) have been asserted. Once it is
   Once the suspend acknowledgements (SUSACKl,                      determined 1310 that all the quiescent acknowledgements
SUSACK2) have been de-asserted to indicate the comple­              (QACKs) have been asserted, the processors in the doze
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mode enter 1312 the nap mode. Here, the associated pro­            tri-state such control lines so that these lines can be held high
cessor would enter the nap mode at this point. As snch, the        by pull-up resistors connected to the power of the peripheral
computer system transitions from the run multiple state 206        devices. Additionally, the memory controller/bus manager
to the nap multiple state 207 which offers lower power             can ignore any external bus control signals at this point as
consumption. After the processors in the doze mode enter 5 such control signals may result from transitions when power
1312 the nap mode, the nap processing 1300 is complete and         is switched on or off to the peripheral devices and the pull-up
ends.                                                              resistors. Next, the memory controller/bus manager
                                                                   bypasses and shuts down an internal phase-lock loops (PEL)
   FIG. 13B illustrates a flow diagram of interrupt process­       at 1412. Instead of using the internal PEE, the memory
ing 1326 according to one embodiment of the invention. The         controller/bus manager uses an external clock with a lower
interrupt processing 1326 is, for example, performed during 10 frequency. Thereafter, the memory controller/bus manager
the interrupt processing 230 when transitioning from the nap       asserts 1414 the suspend acknowledgment SUSACKl. After
multiple state 207 to the run multiple state 206 illustrated in    the suspend acknowledgment SUSACKl has been asserted
FIG. 2. In the case of the nap multiple state 207, one or more     1414, the sleep shutdown processing 1400 is complete and
of the processors are in the nap mode, whereas in the run          ends.
multiple state one or more of the processors are in the run 15        Also, as noted above, the controllers used in the computer
mode. In order to process an interrupt a processor needs to        system can also have wakeup sequences that return the
be in the run mode, so the following processing explains           controllers from sleep or idle modes to active modes. The
how the processors needing to handle interrupts enter the run      particular operations performed by the controller are depen­
mode from the nap mode.                                            dent on the particular type of controller or manager that
   The interrupt processing 1326 initially clears 1328 the nap 20 performs the wakeup sequence.
bit in the associated processor. The associated processor is          FIG. 14B is a flow diagram of sleep wakeup processing
the processor receiving the interrupt that needs to be pro­        1450 according to one embodiment of the invention. The
cessed. Then, the associated processor de-asserts 1330 its         sleep wakeup processing 1450 is, for example, the internal
quiescent request (QREQ). Once the associated processor            wakeup sequence performed by the memory controller/bus
                                                                   manager. The sleep wakeup processing 1450 begins at the
de-asserts 1330 its quiescent request (QREQ), the memory 25
                                                                   memory controller/bus manager when the suspend request
controller/bus manager de-asserts 1332 all the quiescent
                                                                   (SUSREQl) from the power manager is de-asserted. When
acknowledgements (QACKs). At this point, the associated            the sleep wakeup processing 1450 begins, the memory
processor enters 1334 the run mode. Although the associated        controller/bus manager is currently in the sleep mode
processor has entered the run mode, any of the other
                                                                30 because the sleep shutdown processing 1400 has already
processors that were in the nap mode enter the doze mode.          been performed. In any case, when the sleep shutdown
Thereafter, the associated processor handles 1336 the inter­       processing 1450 begins, the sleep and idle bits are cleared
rupt. After the interrupt is handled 1336, the interrupt           1452. Then, the memory controller/bus manager enables the
processing 1326 is complete and ends. If the workload on           internal PTT and then switches to utilize the internal PTT
the associated processor is subsequently determined to be          (instead of the external clock) after an appropriate amount of
low, the nap processing 1300 can thereafter be performed to 35 time to enable the internal PEL to lock its frequency. Next,
transition the associated processor back to the nap mode and       the DRAM is returned 1456 to its normal mode (i.e.,
the nap multiple state 207.                                        removed from the self-refresh mode). Then, data and
   As noted above the controllers used in the computer             address lines are released (no longer driven low), and the
system can also have sleep or idle modes that offer power 40 control lines for the bus are driven (no longer tri-stated) and
savings. These sleep or idle modes can be entered by the           de-asserted 1458. Next, the control of the bus by the memory
controller performing an internal sequence of operations to        controller/bus manager is released 1460 so that the memory
effect the mode change. The particular operations performed        controller/bus manager can accept bus requests from exter­
by the controller are dependent on the particular type of          nal devices.
controller or manager that performs the shutdown sequence. 45         Next, the suspend acknowledgment SUSACKl is
   FIG. 14A is a flow diagram of sleep shutdown processing         de-asserted 1462 to indicate to the power manager that the
1400 according to one embodiment of the invention. The             sleep wakeup processing 1450 is complete and ends. Note,
sleep shutdown processing 1400 is, for example, suitable for       if instead the power-on clear (POC) was asserted by the
use as the internal shutdown sequence performed by the             power manager to the memory controller/bus manager, the
memory controller/bus manager. The sleep shutdown pro­ 50 power manager is able to reset the memory controller
cessing 1400 is activated when the memory controller/bus           portion of the memory controller/bus manager after power to
manager receives the suspend request SUSREQl from the              the DRAM has been turned off. The separate resets allow the
power manager, all of the quiescent request QREQs are              computer system to preserve the contents of memory
received from the processors, and the sleep bit has been           through an ordinary reset when power to the DRAM has
previously set in the memory controller/bus manager.            55 been maintained.
   Once invoked, any previously queued transactions to be             The invention can also be embodied as computer readable
processed by the memory controller/bus manager are ini­            code on a computer readable medium. The computer read­
tially completed 1402. Next, the memory controller/bus             able medium is any data storage device that can store data
manager takes 1404 control of the bus. Here, the memory            which can be thereafter be read by a computer system.
controller/bus manager becomes the bus master and prevents 60 Examples of the computer readable medium include read­
any external grants of the bus. Then, the DRAM (i.e.,              only memory, random access memory, CD-ROMs, magnetic
SDRAM) is placed 1406 in a self-refresh mode. The                  tape, optical data storage devices. The computer readable
memory controller/bus manager also drives 1408 address             medium can also be distributed over a network coupled
and data lines for the bus low. The control lines for the bus      computer systems so that the computer readable code is
are then de-asserted 141〇. Also, in some embodiments, for 65 stored and executed in a distributed fashion.
those of the control lines that are driven high in their              The advantages of the invention are numerous. Different
de-asserted state, the memory controller/bus manager can           embodiments or implementations may have one or more of
                                                                      32



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the following advantages. One advantage of the invention is             (b8) changing the mode of the at least one of the proces­
that it offers improved power management obtained by a                      sors in accordance with the mode change bit after the
layered approach. Another advantage of the invention is that                acknowledgement to the mode change request has been
the system power management provided by the invention                       received.
inclndes power management (i.e., shntdown) for not only 5               7. A method as recited in claim 6, wherein said operations
processors but also related control circuitry (e.g., bns
                                                                     (b5)-(b8) are performed at least partially concurrent with the
controllers, I/O controllers, memory controllers, interrupt
controllers). Still another advantage of the invention is that       mode change sequence and before said notifying (b4).
deterministic control over power management of control                  8. A method as recited in claim 7, wherein the mode
circuitry provides proper sequencing of shutdown opera­ 10 change sequence is a shutdown sequence performed at the
tions. Yet another advantage of the invention is that more           bus controller, such that the bus controller thereafter has
aggressive power management of a computer system is                  reduced power consumption.
provided, whether for a single processor or a multi-processor           9. A method as recited in claim 7,
system.                                                                 wherein the multi-processor computer system further
   The many features and advantages of the present inven­                   includes an interrupt controller, and
tion are apparent from the written description, and thus, it is
intended by the appended claims to cover all such features              wherein    said method further comprises the operations of:
and advantages of the invention. Further, since numerous                    (b9) receiving, at the interrupt controller, a state change
modifications and changes will readily occur to those skilled                  request from the power manager;
in the art, it is not desired to limit the invention to the exact 20        (bfO) initiating a state change sequence at the interrupt
construction and operation as illustrated and described.                       controller upon receiving the state change request;
Hence, all suitable modifications and equivalents may be                       and
resorted to as filing within the scope of the invention.                    (bff) notifying the power manager when the interrupt
   What is claimed is:                                            25           controller has completed the state change sequence.
   1. In a computer system having a plurality of processors,
                                                                        10. A method as recited in claim 9,
a bus controller and a power manager, a method for pro­
viding deterministic state changes, said method comprising:             wherein said entering (b) of the lower power state also
   (a) determining when a lower power state of the multi­                  performs the operation of:
      processor computer system should be entered to reduce                 (bf2) stopping clocks to at least one of the processors
      power consumption; and                                      30           following said notifying (b4) and (bff), and
   (b) entering the lower power state by performing the                    wherein the lower power state is entered following said
      following operations:                                                    stopping (bf2).
      (bf) receiving, at the bus controller, a state change             11. A method as recited in claim 10, wherein the state
         request from the power manager;                             change sequence at the bus controller is a shutdown
      (b2) initiating a state change sequence at the bus 35 sequence performed at the bus controller, such that the bus
         controller upon receiving the state change request;         controller thereafter has reduced power consumption, and
         and                                                         wherein the state change sequence at the interrupt controller
      (b3) notifying the power manager when the bus con­             is a shutdown sequence performed at the interrupt controller,
         troller has completed the state change sequence.         40 such that the interrupt controller thereafter redirects inter­
   2. A method as recited in claim 1, wherein the computer           rupts to the power manager.
system is a multiprocessor computer system.                             12. A computer system, said computer system comprises:
   3. A method as recited in claim 1, wherein said entering
                                                                        at least one processor, said processor executes operations
(b) of the lower power state also performs the operation of:
                                                                            in accordance with a processor clock;
   (b4) setting a state change bit in the bus controller prior
      to said receiving (bf).                                     45    a  bus  controller operatively connected to said processor,
   4. A method as recited in claim 1, wherein the state change              said  bus controller controls bus activity on a bus; and
sequence is a shutdown sequence performed at the bus                    a power manager operatively connected to said processor
controller, such that the bus controller thereafter has reduced             and said bus controller, said power manager controls
power consumption.                                                50        the processor clock and shutdown of said bus
   5. A method as recited in claim 1,                                       controller, and said power manager provides a first
   wherein said entering (b) of the lower power state also                  handshaking between said power manager and said bus
      performs the operation of:                                            controller to provide deterministic mode changes for
      (b5) stopping clocks to at least one of the processors                said computer system so as to manage power consump-
         following said notifying, and wherein the lower 55                 tion.
         power state is entered following said stopping (b5).           13. A computer system as recited in claim 12,
   6. A method as recited in claim 1, wherein said entering
                                                                        wherein said computer system further comprises:
(b) of the lower power state also performs the operations of:
                                                                            an I/O controller operatively connected to said proces­
   (b5) setting a mode change bit in at least one of the
                                                                               sor and said power manager,
      processors to initiate a change its mode;
                                                                  6Q    wherein said power manager provides a second handshak­
   (b6) receiving, at the bus controller, a mode change
      request from at least one of the processors to the bus                ing between said power manager and said I/O
      controller in accordance with the mode change bit;                    controller, and
   (b7) receiving, at the at least one of the processors, an            wherein said power manager considers both the first
      acknowledgement from the bus controller to the mode 65                handshaking and the second shaking in providing deter­
      change request after the bus is prepared to permit the                ministic mode changes for said computer system so as
      mode change; and                                                      to manage power consumption.
                                                                        33



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   14. A computer system as recited in claim 12,                  16. A computer system as recited in claim 15, wherein
   wherein said computer system further comprises:             each of said processors has a run mode and a plurality of low
     an interrupt controller operatively connected to said     power modes.
        processor and said power manager,                         17. A computer system as recited in claim 12, wherein
   wherein said power manager provides a second handshak­ 5 said computer system further comprises:
     ing between said power manager and said interrupt
                                                                  computer program code for determining when a lower
     controller, and
                                                                    power mode of said computer system should be entered
   wherein said power manager considers both the first
                                                                    to reduce power consumption.
     handshaking and the second shaking in providing deter­ 10
     ministic mode changes for said computer system so as         18. A computer system as recited in claim 17, wherein
     to manage power consumption.                              said power manager controls the entry into the lower power
   15. A computer system as recited in claim 12, wherein       mode by sending a mode change request to said bus
said computer system comprises a plurality of processors,      controller, then awaiting a notification from said bus con­
said processors execute operations in accordance with pro­ 15 troller to said power manager when said bus controller has
cessor clocks,                                                 completed a mode change sequence in response to the mode
   wherein said bus controller and said power manager are      change request, and then completing the entry into the low
     operatively connected to said processors, and             power mode.
   wherein said power manager controls the processor
     clocks.




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                                                           Filed: July 28, 2021
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         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                                APPLE INC.
                                 Petitioner,

                                     v.

                          MASIMO CORPORATION,
                               Patent Owner.


                            Case IPR2020-01523
                            U.S. Patent 8,457,703



                     PATENT OWNER RESPONSE




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communication with the sensor, calculates physiological measurements, including

oxygen saturation and pulse rate, based on the detected light. (Id. at 1:38-47.) A

monitor then displays the calculated measurements to the clinician. (Id.)

      The ’703 patent discloses that patient monitors, such as pulse oximeters, are

increasingly utilized in portable, battery-operated applications. (Id., 1:55-56.) For

example, a patient may require a portable pulse oximeter during emergency

transport between hospital wards. (Id., 1:56-59.) Pulse oximeters are also

increasingly implemented as “plug-in modules for multiparameter patient monitors

having a restricted power budget.” (Id., 1:59-61.) The expanded use of pulse

oximeters created “an increasing demand for lower power and higher performance

pulse oximeters.” (Id., 1:61-63.)

      The ’703 patent explains that POSITAs attempted to meet the long-felt need

for lower power patient monitors by developing monitors having a “sleep mode.”

(Id., 1:63-2:16.) In sleep mode, the monitor’s processor powers down, except

perhaps for a portion of memory. (Id.) The monitor enters the sleep mode if it does

not detect a significant change in a particular physiological measurement for a

predetermined period of time. (Id.) A monitor operating in sleep mode periodically

checks the physiological measurements of the patient based on an internal timer to

determine whether to wake up (i.e., power up the monitor’s processor). (Id.)




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characteristics.”), 130:12-131:4 (“Wasn’t necessary to inform my opinions to

highlight which one is the correct one.”).)

      The Board should not permit Petitioner to introduce belated evidence on

reply regarding the correct construction of “processing characteristics” when

Petitioner stymied discovery regarding the correct meaning of the term during the

deposition of Petitioner’s declarant. Here, Petitioner acknowledged that

“processing characteristics” was subject to multiple constructions that affect the

obviousness analysis and yet opted not to construe the term. See e.g.,

OrthoPediatrics, Case IPR2018-01548, Paper 9, at 10 (“the Petition fails to

identify how the challenged claims are to be construed and applied to the prior

art”). Moreover, Petitioner relied exclusively on its declarant to support the

constructions, but the declarant never formed an opinion regarding the proper

construction. (See Pet. 50-51 (citing Ex. 1003, ¶¶97-98); Ex. 2003, 126:13-127:5,

130:12-131:4.) Permitting Petitioner to belatedly submit new evidence on reply

would prejudice Masimo because discovery is complete and Masimo has submitted

this Response.

      2.     Construction Of “Processing Characteristics”

      The Board should construe “processing characteristics” to require that the

processing characteristics are determined from a signal received from one or more

detectors configured to detect light. (Ex. 2001, ¶44.) Masimo’s construction is



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similar to Petitioner’s “limiting interpretation” construction. (Pet. 50.) Masimo’s

construction is the plain and ordinary meaning “processing characteristics” would

have had to a POSITA in July 2001 based on the intrinsic record. (37 C.F.R.

§ 42.100(b); Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en

banc); Ex. 2001, ¶¶43-47.)

      The claims of the ’703 patent support this construction. Phillips, 415 F.3d at

1314 (“the claims themselves provide substantial guidance as to the meaning of

particular claim terms”). Method claims 1, 9, and 12 require “receiving one or

more signals from one or more detectors configured to detect said light after

attenuation by said tissue.” (Ex. 1001, 11:37-39, 12:10-12, 12:34-36.) Similarly,

apparatus claims 15, 20, and 22 require “an input configured to receive at least one

signal responsive to light detected after attenuation by body tissue of a patient by a

noninvasive sensor.” (Id., 12:56-58, 13:19-21, 14:9-11.)

      All of the claims also require “comparing processing characteristics to a

predetermined threshold” and, “when said processing characteristics pass said

threshold,” “transitioning to continuously operating … at a higher power

consumption level.” (Id., 11:43-47, 12:16-20, 12:40-44, 12:62-66, 13:25-14:1,

14:15-19.) A POSITA would have understood that the processing characteristics

are determined from the signal received from the detector because (1) the signal

received from the detector is the only signal referenced in the claims, (2) all data



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processing in the claims depends on the signal from the detector, and (3) as

discussed herein, the specification consistently describes determining the

processing characteristics from the signal received form the detector. (Ex. 2001,

¶46.)

        The specification further confirms that the processing characteristics are

determined from a signal received from one or more detectors. (Id., ¶47.) Figure 4

(below) shows details “regarding the sensor interface 320, the signal processor 340

and the sampling controller 360.” (Ex. 1001, 5:28-30.) As shown, the detector

front-end 490 [green] (i.e., detector) provides a “conditioned and digitized input

signal 322 [red line] to the signal processor 340”:




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(Id., 5:35-38, Fig. 4.) The “signal processor 340 has a pre-processor 410 [blue] and

a post processor 430 [purple].” (Id., 5:40-41.) The “post processor 430 calculates

the physiological measurements 342 and the signal statistics 344, which are output

to a signal status calculator 450.” (Id., 5:46-48.) The physiological measurement

and signal statistics are examples of processing characteristics, which are

determined from the signal received from the detector. (Ex. 2001, ¶47.) The ’703

patent does not include any embodiments where a physiological sensor signal is

not received from the detector (i.e., detector front-end). (Id.)




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      For these reasons, the Board should construe “processing characteristics” to

require that the processing characteristics are determined from a signal received

from one or more detectors configured to detect light. (Ex. 2001, ¶¶43-49.)

     VII. GROUND 1A FAILS TO DEMONSTRATE OBVIOUSNESS

      In Ground 1A, Petitioner argues that Diab in combination with Amano

renders claims 9-10, 12-14, 20, and 22-24 obvious. (Pet. 3.) However, Petitioner

fails to show that Diab and Amano disclose or suggest at least two limitations of

independent claims 9, 12, 20, and 22: (1) operating at “a lower power consumption

level” and “a higher power consumption level,” and (2) “comparing processing

characteristics to a predetermined threshold.” (Ex. 2001, ¶¶50-51, 63-83.)

Petitioner also fails to show that a POSITA would have been motivated to combine

Diab with Amano. (Id.) For at least these reasons, Petitioner has not met its burden

of demonstrating that Ground 1A renders the identified claims unpatentable. (Id.)

A.    Overview Of Diab

      As noted above, Diab was cited during prosecution of the ’703 patent. (Ex.

1001, page 2.) Diab does not disclose methods of reducing the power consumption

of a patient monitor by intermittently reducing activation of an attached sensor,

reducing an amount of processing by a signal processor, or including an override

condition as claimed. (Ex. 2001, ¶53.) Rather, Diab discloses methods of isolating




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                                      Appx1293
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that Amano and Diab disclose different systems with different processing

algorithms that are not directly applicable to each other. (Id.)

      Because Petitioner fails to address the continuous operation of the motion

artifact suppression module, Petitioner never demonstrates that Diab’s oximeter

operates at a lower and higher power consumption level under its actual operating

conditions. Moreover, even if a POSITA would have been motivated to “suspend

and not execute” Diab’s motion artifact suppression module, Petitioner still fails to

show that the oximeter would have had a lower power consumption level. (Ex.

2001, ¶¶74-78.) As discussed herein, Petitioner fails to account for and address

several processing operations that would have increased power consumption, not

lowered it. (Id.)

      Thus, for all of these reasons, and as explained below, Petitioner fails to

show that Diab and Amano render claims 9-10, 12-14, 20, and 22-24 obvious.

      2.     A POSITA Would Not “Suspend And Not Execute” Diab’s
             Motion Artifact Suppression Module

      A POSITA would not have been motivated to “suspend and not execute”

Diab’s motion artifact suppression module 580 because the module is necessary to

generate the clean plethysmograph waveform, which is critical to patient

monitoring. (Ex. 2001, ¶¶53-59, 65-73.) As shown below, Diab’s pulse rate

calculation module 410 generates a heart rate [red lines] and a clean

plethysmograph waveform [blue lines] through different processing paths:


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module 580 if motion is not detected” because doing so would prevent generation

and presentation of the clean plethysmograph waveform. (Pet. 17; Ex. 2001, ¶¶53-

59, 65-69.) Petitioner has not argued, or offered any evidence, that power

consumption concerns would have motivated a POSITA to eliminate the clean

plethysmograph waveform. (Id.) For this reason, Petitioner has failed to show that

Ground 1A renders the claims obvious. (Id.)

      3.     A POSITA Would Not Have Been Motivated To Combine Diab
             And Amano

      A POSITA also would not have been motivated to combine Diab and

Amano due to the differences in the systems. (Ex. 2001, ¶¶70-73.) Diab and

Amano disclose different processing algorithms that result in different outputs that

are not directly applicable to each other. (Id.) For example, Diab, as discussed

herein, produces multiple patient-monitoring outputs, including a heart rate and

clean plethysmograph waveform. (See e.g., Ex. 1007, Fig. 14 (identifying

outputs).) The same is not true for the embodiments in Amano relied upon by

Petitioner. (See e.g., Pet. 8-9 (citing Ex. 1004, 21:3-57, 40:23-24).) Amano’s

apparatus detailed in Figure 1 produces a single output, a qualitative description of

the patient’s pulse condition as “Hua mai, Ping mai, [or] Xuan mai.” (Ex. 1004,

23:5-9.)

      Moreover, unlike Diab, Amano’s apparatus is specifically designed to

“suspend and not execute” certain modules when no motion is detected. (Ex. 2001,


                                       -41-
                                      Appx1307
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for the differences between Diab and Amano, and the unique aspects of Diab’s

oximeter. (Ex. 2001, ¶¶74-78.)

      Diab’s pulse rate calculation module 410 includes a motion status module

584 that signals whether motion has been detected. (Ex. 1007, 47:50-54.) As

shown below, the signal generated by the motion status module 584 [green]

becomes an input (see red line) to the spectrum analysis module 590 [orange] and

the output filter 594 [pink]:




(Id., Fig. 20.) The spectrum analysis module 590 and output filter 594 operate

differently depending on whether motion is detected. (Id., 50:8-14, 50:21-29.)

Petitioner does not address these differences.

      With respect to the output filter 594, Diab discloses that “[i]f motion is large,

this filter is slowed down, if there is little or no motion, this filter can sample much



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                                        Appx1312
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the “clip and smooth filter.” (Ex. 1007, 46:61-63 (“the clip and smooth filter 566

takes each new saturation value and compares it to the current saturation value”).)

       For these reasons, Petitioner has failed to meet its burden to demonstrate that

Diab    discloses,   either   expressly    or   inherently,   “comparing   processing

characteristics to a predetermined threshold.”

E.     Diab And Amano Do Not Disclose Or Suggest Reducing An Amount Of
       Processing By A Signal Processor

       Petitioner also failed to show that Diab and Amano disclose “continuously

operating at said lower power consumption level comprises reducing an amount of

processing by a signal processor.” (Ex. 2001, ¶¶85-90.) Petitioner argues that

“performing ‘spectral estimation on the signals … directly without motion artifact

suppression’ includes reducing an amount of processing because the signal

processor process less data (only infrared samples) and ‘without motion artifact

suppression.’” (Pet. 22.) Petitioner is incorrect for two reasons.

       First, Petitioner’s argument relies on the faulty premise that a POSITA

would have been motivated to “suspend and not execute” Diab’s motion artifact

suppression module and that the oximeter would process “only infrared samples.”

(Id., 21.) As demonstrated herein, Diab’s motion artifact suppression module

operates continuously to generate the clean plethysmograph waveform and a

POSITA would not have been motivated to “suspend and not execute” it. (Supra

VII.A, VII.C.)


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                                          Appx1318
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       Second, even if the motion artifact suppression module were suspended, as

Petitioner argues, a POSITA still would have understood that Diab’s oximeter may

process more data when no motion is detected. (Ex. 2001, ¶¶87-90.) The motion

status module 584 signals whether the oximeter has detected motion. (Ex. 1007,

47:50-54.) As shown below, the signal generated by the motion status module 584

is an input (see red line) to the spectrum analysis module 590 [orange] and the

output filter 594 [pink]:




(Id., Fig. 20.)

       With respect to the output filter 594, Diab discloses that “[i]f motion is large,

this filter is slowed down, if there is little or no motion, this filter can sample much

faster and still maintain a clean value.” (Ex. 1007, 50:23-27.) A POSITA would

have recognized that a module that samples “much faster” processes more data.


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(Ex. 2001, ¶88.) This increase in processing when no motion is detected directly

contradicts Petitioner’s assertion that Diab’s oximeter will process less data when

no motion is detected. (Id.)

      Similarly, the spectrum analysis module 590 operates differently depending

on the motion status. Diab states, “In the case of motion, the spectrum analysis

module 590 selects the peak in the spectrum with the highest amplitude, because

the motion artifact suppression module 580 attenuates all other frequencies to a

value below the actual heart rate peak.” (Ex. 1007, 50:8-12.) “In the case of no

motion, the spectrum analysis module selects the first harmonic in the spectrum as

the heart rate as described above.” (Ex. 1007, 50:12-14; see also 38:14-33

(describing selection of first harmonic).) A POSITA would have understood that

the algorithms utilized by Diab when “no motion” is detected could consume more

power than the algorithms utilized by Diab when motion is detected. (Ex. 2001,

¶89.) Again, this contradicts Petitioner’s arguments.

      For all of these reasons, a POSITA would not have found it obvious that

Diab processes less data when no motion is detected. (Ex. 2001, ¶90.)

Consequently, Petitioner fails to demonstrate that Ground 1A renders the

challenged claims unpatentable.




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                                      Appx1320
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B.     Petitioner Admits That Amano Does Not Compare “Processing
       Characteristics” To A Predetermined Threshold

       Petitioner admits that Amano does not compare processing characteristics to

a predetermined threshold under the proper construction of “processing

characteristics.” (Pet. 50-51.) As explained in the claim construction section, the

proper construction of “processing characteristics” requires that the processing

characteristics are determined from a signal received from one or more detectors

configured to detect light. (Supra VI.B.2.) Petitioner admits that Amano does not

determine the processing characteristics from a signal received from one or more

detectors configured to detect light. (Pet. 50-51.) Rather, Amano receives the

processing characteristics from an acceleration sensor, which is a different

component than the detector that detects light. (See e.g., Pet. 50; Ex. 1004, 21:9-

12.)

       The only comparison to a threshold that Petitioner identifies in Amano

happens in the judging section 22 [green]:




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                                      Appx1339
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(Pet. 55-56; Ex. 1004, 21:58-63, Fig. 1.) The “judging section determines whether

body movement is present or not, based on the body movement waveform TH, to

yield a control signal C.” (Ex. 1004, 21:58-63, Fig. 1.) The “judgment section 22

makes a judgment by comparing a threshold value with the body movement

waveform TH.” (Id.) However, as Amano repeatedly states, and Petitioner admits,

the body movement waveform TH, which Petitioner identifies as the “processing




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characteristics,” is received from an “acceleration sensor,” not a detector

configured to detect light. (Id., 21:9-12, 35:25-27, 40:65-41:3; Pet. 50.)

      Thus, there is no dispute that Grounds 3A-3B cannot render the claims

obvious under the proper construction of “processing characteristics.” (Ex. 2001,

¶¶128-129.)

C.    Petitioner Fails To Show That Turcott Discloses Or Suggests
      “Reducing/Reduce Activation Of An Attached Sensor” In Combination
      With The Other Claim Limitations

      In Ground 3B, Petitioner argues that the combination of Amano and Turcott

renders claims 1-3 and 15-17 obvious. (Pet. 3.) However, as discussed in Ground

1C, Turcott does not disclose or suggest reducing the activation of a sensor during

monitoring to lower power consumption levels as disclosed in the ’703 patent.

(Supra IX.B-C.) Thus, Amano and Turcott cannot render the above-identified

claims obvious.

      Moreover, Petitioner fails to adequately explain why Turcott would have

motivated a POSITA to reduce activation of Amano’s sensor during monitoring.

(Ex. 2001, ¶¶131-136.) Petitioner argues that a “POSITA would have been

motivated to implement Turcott’s teachings of reducing the duty cycle to lower

power consumption in a pulse oximeter in combination with Amano’s pulse wave

examination apparatus to further minimize power consumption.” (Pet. 65.)

However, as discussed herein, the desire to minimize power consumption would



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UNITED STATES PATENT AND TRADEMARK OFFICE


BEFORE THE PATENT TRIAL AND APPEAL BOARD


                      APPLE INC.
                       Petitioner,

                           v.

           MASIMO CORPORATION,
                  Patent Owner.


               Case IPR2020-01523
               U.S. Patent 8,457,703


 DECLARATION OF VIJAY K. MADISETTI, PH.D.




                                                                     MASIMO 2001
                                                                   Masimo v. Apple
                                                                    IPR2020-01523




                                     Appx1349
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and data off). The ’703 patent discloses that the “data off” state may be used in

addition to high and low duty cycles to manage the power consumption of the

monitor. Id. at 8:4-46, Fig. 8.

      29.     In another embodiment, the patient monitor increases or decreases the

input samples processed by the monitor by varying the number of data blocks

processed by the processor. Id. at 6:5-8. For example, the monitor decreases the

overlap between adjacent data blocks processed by the processor to decrease power

consumption. Id. at 7:51-8:3.

      30.     In operation of the patient monitors described in the ’703 patent, a

patient event, such as poor oxygen saturation, may trigger the monitor to increase

the samples received and processed, such as by moving from a low duty cycle or

data off state to a high duty cycle. Id. at 8:47-61, Fig. 9. Conversely, if the monitor

is in a high duty cycle state and neither an event nor low signal quality occurs, the

monitor may decrease the samples received and processed, such as by transitioning

to a low duty cycle to conserve power. Id. at 9:6-18. Thus, patient monitors

described in the ’703 patent can adapt during adverse patient events or upon signal

quality issues.

B.     Introduction To The Independent Claims Of The ’703 Patent

      31.     The ’703 patent has six independent claims. Claims 1, 9, and 12

describe methods of managing power consumption by (a) reducing activation of an



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B.     “Processing Characteristics”

      43.    The term “processing characteristics” appears in every independent

claim of the ’703 patent.

      44.    In my opinion, the Board should construe “processing characteristics”

to require that the “processing characteristics” are determined from a signal

received from one or more detectors configured to detect light. This construction is

the meaning “processing characteristics” would have had to a POSITA in July 2001

based on the patent claims and specification.

      45.    The claims of the ’703 patent support this construction.           Method

claims 1, 9, and 12 require “receiving one or more signals from one or more

detectors configured to detect said light after attenuation by said tissue.” Ex. 1001

(’703 patent) at 11:37-39, 12:10-12, 12:34-36. Similarly, apparatus claims 15, 20,

and 22 require “an input configured to receive at least one signal responsive to light

detected after attenuation by body tissue of a patient by a noninvasive sensor.” Id.

at 12:56-58, 13:19-21, 14:9-11.

      46.    All of the claims also require “comparing processing characteristics to

a predetermined threshold” and, “when said processing characteristics pass said

threshold,” “transitioning to continuously operating … at a higher power

consumption level.” Id. at 11:43-47, 12:16-20, 12:40-44, 12:62-66, 13:25-14:1,

14:15-19. A POSITA would have understood that the processing characteristics are



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determined from the signal received from the detector because (1) the signal

received from the detector is the only signal referenced in the claims, (2) all data

processing in the claims depends on the signal from the detector, and (3) as

discussed herein, the specification consistently describes determining the processing

characteristics from the signal received from the detector.

      47.     The specification further confirms that the processing characteristics

are determined from a signal received from one or more detectors. Figure 4 (below)

shows details “regarding the sensor interface 320, the signal processor 340 and the

sampling controller 360.” Ex. 1001 at 5:28-30. As shown, the detector front-end

490 [green] (i.e., detector) provides a “conditioned and digitized input signal 322

[red line] to the signal processor 340”:




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              (Illustrating processing path from detector front-end)
Id. at 5:35-38, Fig. 4. The “signal processor 340 has a pre-processor 410 [blue]

and a post processor 430 [purple].” Id. at 5:40-41. The “post processor 430

calculates the physiological measurements 342 and the signal statistics 344, which

are output to a signal status calculator.”      Id. at 5:46-48.   The physiological

measurement and signal statistics are examples of processing characteristics, which

are determined from the signal received from the detector. The ’703 patent does

not include any embodiments where a physiological sensor signal is not received

from the detector (i.e., detector front-end).


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                                        Appx1376
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“reducing/reduce an amount of processing by a signal processor.” Dr. Anthony’s

arguments regarding these limitations require that a POSITA would have been

motivated to “suspend and not execute” Diab’s “motion artifact suppression

module.” However, as I discuss below, Diab’s motion artifact suppression module

cannot be suspended because it is necessary for other aspects of Diab’s patient

monitor.

      51.    The combination of Diab and Amano also does not disclose

“comparing processing characteristics to a predetermined threshold.” Dr. Anthony

assumes that Diab detects motion by comparing a certain value to a “predetermined

threshold,” but that is not accurate. A POSITA would have understood that Diab

does not necessarily compare the value to a predetermined threshold to detect

motion.

      52.    For these reasons, the combination of Diab and Amano do not render

claims 9-10, 12-14, 20, and 22-24 obvious.

A.     Overview Of Diab

      53.    Diab does not disclose methods of intermittently reducing the power

consumption of a patient monitor. Rather, Diab discloses methods of isolating a

primary or secondary signal portion from a composite measured signal using signal-

processing techniques. Ex. 1007 (Diab) at 3:16-21, 8:65-9:4, Figs. 4-5. Diab’s

oximeter includes a “pulse rate calculation module 410.”      Figure 20 (below)



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“illustrates a block diagram of the operations of the pulse rate calculation module

[410].” Ex. 1007 (Diab) at 8:16-17. Diab’s pulse rate calculation module 410

generates a heart rate [red lines] and a clean plethysmograph waveform [blue lines]

through different processing paths:




    (Red lines illustrate heart rate processing path; Blue lines illustrate clean
                          plethysmograph processing path)
Ex. 1007 (Diab) at 49:29-32, 50:27-29, Fig. 20; see also id., 39:25-30, Fig. 14. For

example, the module 410 determines the heart rate by applying “spectral

estimation” (586 or 588), “spectrum analysis” (590), “slew rate limiting” (592), and

“output filter” (594) to the infrared and red signals. Id. at 47:30-50:29, Fig. 20.

The pulse rate calculation module 410 does not use these same modules (i.e.,

“spectral estimation” (586 or 588), “spectrum analysis” (590), “slew rate limiting”

(592), and “output filter” (594)) to process the infrared and red signals to generate


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the clean plethysmograph waveform. Id. Consequently, the heart rate processing

path is not indicative or representative of the clean plethysmograph waveform

processing path.

          54.    With respect to the heart rate processing path, Diab discloses, “If

motion is not detected, spectral estimation on the signals is carried out directly

without motion artifact suppression.” Id. at 47:52-54. Conversely, Diab states, “In

the case of motion, motion artifacts are suppressed using the motion artifact

suppression module 580.”        Id. at 47:55-56.   As shown in Figure 20 (below),

“spectral estimation” [purple] applies to only the heart rate processing path [red

lines]:




   (Illustrating that “spectral estimation” [purple] is part of only the heart rate
 processing path [red lines], not the clean plethysmograph processing path [blue
                                        lines])

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Ex. 1007 (Diab) at Fig. 20.       “Spectral estimation” is not part of the clean

plethysmograph waveform processing path [blue lines].

      55.    As shown below, Diab’s pulse rate calculation module 410 includes a

“motion status module 584 [red]” that uses the “average peak width value” to

determine whether motion is present:




(Illustrating the motion status module 584 [red] for determining whether motion
                                   is present)

Ex. 1007 (Diab) at 47:43-47, Fig. 20. Diab discloses, “if the peaks are wide, this is

taken as an indication of motion.” Id. at 47:52-54; see also id., 46:53-55 (“The

width of the peaks provides some indication of motion by the patient – wider peaks

indicating motion.”).    However, Diab does not disclose how the oximeter

determines whether peaks are “wide.”




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      56.     As shown below, the pulse rate calculation module 410 also includes a

“motion artifact suppression module 580”:




          (Illustrating the motion artifact suppression module 580 [blue])
Id. at 47:30-38, Fig. 20.

      57.     Diab discloses that generating the clean plethysmograph waveform

requires continuous operation of the motion artifact suppression module 580. Diab

states that the “infrared and red sample packets, the saturation value and the output

of the motion status module are provided to the motion artifact suppression module

580,” as illustrated by the blue lines:




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 (Blue lines illustrate clean plethysmograph processing path, which includes the
                      motion artifact suppression module 580)

Ex. 1007 (Diab) at 47:47-49, Figs. 20-21.

      58.    Figure 21 (below), which is “a block diagram of the operations of the

motion artifact suppression module of FIG. 20,” illustrates that the motion artifact

suppression module 580 uses the infrared and red packets to generate the clean

plethysmograph waveform (highlighted yellow):




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   (The clean waveform (highlighted yellow) is an output of the motion artifact
                           suppression module 580)
Id. at 49:14-32, Fig. 21. For example, the “reference generator 582” subtracts the

red and infrared signals from each other after multiplying by the arterial saturation

ratio. See id. at 42:60-43:7 (describing operation of reference generator), 48:49-53

(stating that reference generator 582” is the same as the corresponding module in

saturation transform reference processor 530).

      59.    Similarly, the “DC removal” [green] and “bandpass filter” [purple]

modules process the infrared and red packets to generate the clean plethysmograph

waveform:




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  (The infrared and red signals are processed by the DC Removal [green] and
 Bandpass Filter [purple] modules to generate the clean waveform [highlighted
                                    yellow])
Ex. 1007 (Diab) at Fig. 21. If this processing did not occur, the oximeter could not

derive the clean plethysmograph waveform from infrared and red packets and

output it for presentation to a clinician. Id.; see also id. at 5:59-60. Importantly,

Diab never discloses that Diab’s oximeter generates the clean plethysmograph

waveform without the motion artifact suppression module 580, or discloses not

generating a clean plethysmograph waveform.

B.     Overview Of Amano
      60.    Amano describes “a pulse wave examination apparatus which can

judge the pulse condition objectively and accurately.” Ex. 1004 (Amano) at 3:20-

23. Amano explains that “typical forms of pulse waveforms by the classification of



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consumption concerns would have motivated a POSITA to eliminate the important

clean plethysmograph waveform.

      69.     Because a POSITA would not have been motivated to suspend the

motion artifact suppression module, Dr. Anthony’s argument that Diab’s oximeter

would operate at a “lower power consumption level” when the module is not

executed is not correct. Ex. 1003 (Anthony Declaration) at ¶55. Similarly, Dr.

Anthony’s argument that Diab’s oximeter would operate at a “higher power

consumption level” when the motion artifact suppression module is executed is also

not correct. Id. at ¶58.

       2.     Amano Would Not Have Motivated A POSITA To Suspend
              Diab’s Motion Artifact Suppression Module
      70.     Even if a POSITA would have been motivated to “suspend and not

execute” Diab’s motion artifact suppression module, Amano would not have

motivated a POSITA to do so for several reasons. First, a POSITA would not have

been motivated to combine Diab and Amano due to the differences in the systems.

Diab and Amano disclose different processing algorithms that result in different

outputs that are not directly applicable to each other. For example, Diab produces

multiple    patient-monitoring     outputs,   including   a   heart   rate   and   clean

plethysmograph waveform.         See e.g., Ex. 1007 (Diab) at Fig. 14 (identifying

outputs). The same is not true for the embodiments in Amano relied upon by Dr.

Anthony. See e.g., Ex. 1003 at ¶42 (citing Ex. 1004 (Amano) 21:3-57, 40:23-24).


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The apparatus disclosed and described in Figure 1 produces a single output, a

qualitative description of the patient’s pulse condition as “Hua mai, Ping mai, [or]

Xuan mai.” Ex. 1004 at 23:5-9.

      71.     Second, as discussed in the “Overview Of Amano” above, Amano’s

apparatus is specifically designed to “suspend and not execute” certain modules

when no motion is detected. Diab is not. Specifically, Diab’s motion artifacts

suppression module cannot be suspended because its continuous operation is

necessary to generate the clean plethysmograph waveform.

      72.     Third, as discussed in the “Overview of Amano” above, Amano’s

apparatus relies on an additional sensor, an acceleration sensor, to detect motion.

Ex. 1004 (Amano) at 21:9-12, 35:25-27, 40:65-41:3. Diab does not include an

acceleration sensor to supply movement signals and instead identifies motion using

detected light. See e.g., Ex. 1007 (Diab) at 50-54, Fig. 20 (detecting motion by

comparing peak widths). Amano is not only different from Diab, but also from the

’703 patent in which the patient monitor uses signal processing techniques to detect

motion from the signal received from an optical detector. Ex. 1001 (’703 patent) at

6:25-41, Fig. 4.

      73.     As a result of all these differences, a POSITA would not have had a

reasonable expectation of success in combining Amano’s disclosure to suspend

specific modules with Diab’s oximeter. A POSITA would have at least understood



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that Amano’s disclosure of suspending its “body movement component eliminating

section” is not applicable to Diab’s motion artifact suppression module because

each module has different processing responsibilities.

       3.     Dr. Anthony Does Not Show That Suspension Of Diab’s Motion
              Artifact Suppression Module Would Result In A “Lower Power
              Consumption Level”
      74.     Even if a POSITA would have been motivated to “suspend and not

execute” Diab’s motion artifact suppression module, Dr. Anthony still does not

show that suspending the module would result in a “lower power consumption

level,” as required by the ’703 patent claims. Dr. Anthony assumes that Diab’s

oximeter would consume less power by suspending the motion artifact suppression

module because Amano’s apparatus consumes less power when it suspends specific

modules. Ex. 1003 (Anthony Declaration) ¶¶54-55. However, again, Dr. Anthony

does not account for the differences between Diab and Amano, and the unique

aspects of Diab’s oximeter.

      75.     Diab’s pulse rate calculation module 410 includes a motion status

module 584 that signals whether motion has been detected. Ex. 1007 (Diab) at

47:50-54. As shown below, the signal generated by the motion status module 584

[green] becomes an input (see red line) to the spectrum analysis module 590

[orange] and the output filter 594 [pink]:




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  (Illustrating input of motion status signal [red line] to spectrum analysis and
                                   output filter)
Id. at Fig. 20. The spectrum analysis module 590 and output filter 594 operate

differently depending on whether motion is detected. Id. at 50:8-14, 50:21-29. Dr.

Anthony does not address these differences.

      76.    With respect to the output filter 594, Diab discloses that “[i]f motion

is large, this filter is slowed down, if there is little or no motion, this filter can

sample much faster and still maintain a clean value.” Ex. 1007 (Diab) at 50:23-27.

A POSITA would have recognized that a module that samples “much faster” will

process more data and increase the power consumption level. This higher power

consumption level when no motion is detected directly contradicts Dr. Anthony’s

argument that Diab’s oximeter will operate at a lower power consumption level

when no motion is detected. Ex. 1003 (Anthony Declaration) ¶¶54-55.


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      77.    Similarly, the spectrum analysis module 590 operates differently

depending on the motion status. Diab states, “In the case of motion, the spectrum

analysis module 590 selects the peak in the spectrum with the highest amplitude,

because the motion artifact suppression module 580 attenuates all other frequencies

to a value below the actual heart rate peak.”        Ex. 1007 (Diab) at 50:8-12.

Conversely, in “the case of no motion, the spectrum analysis module selects the first

harmonic in the spectrum as the heart rate as described above.” Id. at 50:12-14; see

also 38:14-33 (describing selection of first harmonic). A POSITA would have

understood that the algorithms utilized by Diab when “no motion” is detected could

consume more power than the algorithms utilized by Diab when motion is detected.

      78.    Thus, Dr. Anthony’s assumption that suspension of Diab’s motion

artifact suppression module would necessarily lower the power consumption level

is incorrect. For this additional reason, Dr. Anthony has not shown that Diab and

Amano render the claims obvious.

D.     The Combination Of Diab And Amano Does Not Disclose Or Suggest
       Comparing “Processing Characteristics To A Predetermined
       Threshold”

      79.    All of the independent claims in the ’703 patent require “comparing

the processing characteristics to a predetermined threshold.”          Even if the

combination of Diab and Amano disclosed or suggested operating a patient monitor

at a “lower power consumption level” and a “higher power consumption level,” Dr.



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because the signal processor process less data (only infrared samples) and ‘without

motion artifact suppression.’” Ex. 1003 ¶62. Dr. Anthony is incorrect for two

reasons.

      86.       First, Dr. Anthony’s argument relies on the faulty premise that a

POSITA would have been motivated to “suspend and not execute” Diab’s motion

artifact suppression module and that the oximeter would process “only infrared

samples.”      Ex. 1003 at ¶¶53-55.   As explained above, Diab’s motion artifact

suppression module operates continuously to generate the clean plethysmograph

waveform and a POSITA would not have been motivated to “suspend and not

execute” it.

      87.       Second, even if the motion artifact suppression module were

suspended, a POSITA still would have understood that Diab’s oximeter may

process more data when no motion is detected. The motion status module 584

signals whether the oximeter has detected motion. Ex. 1007 (Diab) at 47:50-54. As

shown below, the signal generated by the motion status module 584 is an input (see

red line) to the spectrum analysis module 590 [orange] and the output filter 594

[pink]:




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                                      Appx1400
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   (Illustrating input of motion status signal [red line] to spectrum analysis and
                                    output filter)
Id. at Fig. 20.

       88.        With respect to the output filter 594, Diab discloses that “[i]f motion

is large, this filter is slowed down, if there is little or no motion, this filter can

sample much faster and still maintain a clean value.” Ex. 1007 (Diab) 50:23-27. A

POSITA would have recognized that a module that samples “much faster”

processes more data. This increase in processing when no motion is detected

directly contradicts Dr. Anthony’s assertion that Diab’s oximeter will process less

data when no motion is detected.

       89.        Similarly, the spectrum analysis module 590 operates differently

depending on the motion status. Diab states, “In the case of motion, the spectrum



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analysis module 590 selects the peak in the spectrum with the highest amplitude,

because the motion artifact suppression module 580 attenuates all other frequencies

to a value below the actual heart rate peak.” Ex. 1007 (Diab) 50:8-12. “In the case

of no motion, the spectrum analysis module selects the first harmonic in the

spectrum as the heart rate as described above.” Id. at 50:12-14; see also 38:14-33

(describing selection of first harmonic). A POSITA would have understood that the

algorithms utilized by Diab when “no motion” is detected could consume more

power than the algorithms utilized by Diab when motion is detected. Again, this

contradicts Dr. Anthony’s arguments.

      90.    For all of these reasons, a POSITA would not have assumed that Diab

would process less data if the motion artifact suspension module were suspended.

Consequently, I do not believe that Dr. Anthony has demonstrated that Diab and

Amano render claims 9-10 and 20-21 obvious.

 X.    THE COMBINATION OF DIAB, AMANO, AND EDGAR DOES NOT
                RENDER THE CLAIMS OBVIOUS
      91.    Dr. Anthony argues that the combination of Diab, Amano, and Edgar

renders dependent claims 11 and 21 obvious. However, a POSITA would not have

been motivated to combine Diab, Amano, and Edgar. Edgar discloses methods of

“processing measured signals to remove unwanted signal components caused by

noise and especially noise caused by motion artifacts.” Ex. 1005 (Edgar) 1:15-18.

Edgar specifically purports to address a need in the art for “a method, apparatus and


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                                                                                Page 1
                 UNITED STATES PATENT AND TRADEMARK OFFICE
                 BEFORE THE PATENT TRIAL AND APPEAL BOARD
           __________________________________
           APPLE INC.,                                        )
                                                              )
                                     Petitioner,              )
                                                              ) Case IPR2020-01523
                       -against-                              ) U.S. Patent
                                                              ) 8,457,703
           MASIMO CORPORATION,                                )
                                                              )
                                     Patent Owner.            )
           __________________________________)



                          VIDEO-RECORDED DEPOSITION OF
                               BRIAN W. ANTHONY, PH.D.
                          Zoom Recorded Videoconference
                                        07/07/2021
                                     1:03 p.m. (EDT)



           REPORTED BY:      AMANDA GORRONO, CLR
           CLR NO. 052005-01


           ______________________________________________________
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   1                                                            07/07/2021

   2                                                            1:03 p.m. (EDT)

   3

   4              VIDEO-RECORDED DEPOSITION OF BRIAN W. ANTHONY,

   5       Ph.D., held virtually via Zoom Videoconferencing,

   6       before Amanda Gorrono, Certified Live Note Reporter,

   7       and Notary Public of the State of New York.

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                                                                                Page 3
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 21        Group
 22        Brian Sparks - Exhibit Technician - Digital Evidence


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                                                                               Page 47
   1               A.          As it is 580 in Figure 21, which is a

   2       subblock of the figure block in Figure 20, ones

   3       labeled "clean waveform" and the other one is labeled

   4       "plethysmograph clean waveform," so they wouldn't be

   5       referring to the same thing.

   6               Q.          And in Figure 21 the infrared and red

   7       samples are used as inputs in something called a

   8       "reference generator 582," correct?

   9               A.          That is correct.               They both feed into

 10        528, a reference generator.

 11                Q.          And have you had an opportunity to

 12        form an opinion regarding how the reference generator

 13        processes the red and infrared snapshots?

 14                            MR. SMITH:        Objection; form.

 15                A.          Wasn't necessary to go into the

 16        details of understanding -- of characterizing what

 17        that specific block is doing.                But it's taking as

 18        input the infrared and red to form a reference.

 19                Q.          Okay.      The motion artifact

 20        suppression module 580 also includes modules for DC

 21        removal 583 and bandpass filter 585, correct?

 22                A.          Yes.     In the box, the dotted block



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                                   Appx1500
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                                                                               Page 48
   1       labeled "570," it includes the DC removal block 583

   2       and the bandpass filter 585.

   3               Q.          And you have not offered any opinions

   4       whether the clean waveform could be generated without

   5       DC removal or bandpass filtering, correct?

   6                           MR. SMITH:        Objection; form.

   7               A.          Did not need to opine on sort of

   8       modifications for alternative embodiments.

   9               Q.          And have you formed an understanding

 10        of how the DC removal module and the bandpass

 11        filtering module processes the signals received from

 12        the infrared snapshot and the reference generator?

 13                            MR. SMITH:        Objection; form.

 14                A.          Just highlighting in Paragraph -- in

 15        Column 48 of the Diab reference, around Line 43

 16        describing the figure -- the motion artifact

 17        reference processor 570 is the same as the reference

 18        processor 530 at the saturation transfer module.

 19                            It goes on, Line 48, "The reference

 20        processor 570, therefore, has a saturation equation

 21        module 581, a reference generator 582, a DC removal

 22        module 583 and a bandpass filter module 585."



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                                                                               Page 54
   1       the green pathway.

   2               Q.          And the purple line reflects the

   3       signals and modules used to determine the pulse rate

   4       with motion artifact suppression, correct?

   5               A.          The additional -- the purple

   6       highlight "Additional processing for motion artifact

   7       suppression," which includes the motion artifact

   8       suppression, spectral estimation, spectral analysis.

   9       And the slew rate limiting and the output filter.

 10                Q.          In Paragraph 54, you provide the

 11        opinions that it would have "been obvious to suspend

 12        and not execute the operations of Diab's motion

 13        artifact suppression module 580 if motion is not

 14        detected based on Amano's teachings," correct?

 15                A.          Correct.       "Teaching of suspending the

 16        operation of body movement component eliminating

 17        section when no body movement is present."

 18                Q.          And you rely on Amano's teachings

 19        because Diab does not say that determining the pulse

 20        rate without motion artifact suppression results in a

 21        lower power consumption level, correct?

 22                A.          So as I highlight in Paragraphs 44



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                                                                               Page 68
   1       for me to understand your opinions.                  And so I'm

   2       asking:      Do you -- have you expressed an opinion

   3       regarding whether the detection of motion impacts the

   4       creation of the clean PPG waveform?

   5                           MR. SMITH:        Objection; form, asked

   6       and answered.

   7               Q.          If you have not expressed an opinion,

   8       that's fine.       Let me know.         I don't think you have,

   9       but if you believe you have, please point me to the

 10        portion of your Declaration where you discuss how

 11        motion impacts the creation of the clean PPG

 12        waveform.

 13                            MR. SMITH:        Objection to form,

 14        argumentative.

 15                A.          So as I highlight in 58, so a clean

 16        plethysmograph signal is a signal presumably that

 17        does not have noise or doesn't have motion in it as

 18        one example of what it would mean to clean up the

 19        plethysmograph signal.            And so if motion is not

 20        present, we don't need to remove it to generate the

 21        clean plethysmograph signal as highlighted here that

 22        if no motion is detected, estimation is carried out



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                                                                               Page 69
   1       directly without motion artifact suppression.                       So no

   2       need to suppress -- it's not dirty with motion

   3       artifacts, so no need to clean it.                   It's already

   4       clean.     In the case of motion, it's dirty, so we need

   5       to clean it with the motion artifact suppression

   6       module in 580.

   7                Q.         So in Paragraph 58, you quote a

   8       portion of Diab that says, "If motion is not

   9       detected, spectral estimation on the signals is

 10        carried out directly without, without motion artifact

 11        suppression," correct?

 12                 A.         That is the second sentence of

 13        Paragraph 58, correct.

 14                 Q.         And if we look at Figure 20 which is

 15        of Diab which is on the screen, the clean PPG

 16        waveform is not subjected to spectral estimation,

 17        correct?

 18                            MR. SMITH:        Objection; form.

 19                 A.         It's not, it's not -- it doesn't go

 20        through that box labeled spectral estimation, but

 21        indeed one, one option for motion artifact

 22        suppression would be including spectral estimation so



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                                                                              Page 125
   1       describe -- I sort of talk about reducing activation.

   2               Q.          And does that mean you have not

   3       rendered an opinion regarding the proper construction

   4       of the term "processing characteristics"?

   5                           MR. SMITH:        Objection; form.

   6               A.          As I highlight here in 97 and 98, a

   7       limiting interpretation requiring process

   8       characteristics be obtained from a signal provided by

   9       the photodetector as opposed to a non-limiting

 10        meeting and including characteristics or features in

 11        Paragraph 98 obtained from or used for processing

 12        information.

 13                Q.          Is the limiting interpretation

 14        provided in Paragraph 97 the proper construction of

 15        the term processing characteristics?

 16                            MR. SMITH:        Objection; form.

 17                A.          So it's highlighting Diab indeed

 18        teaches that these limitations are met where

 19        processing characteristics are obtained from a signal

 20        process, from a signal provided by a photodetector.

 21                Q.          Right.      And is it your opinion that

 22        that, that the limiting interpretation in Paragraph



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                                                                              Page 126
   1       97 is the proper construction of processing

   2       characteristics?

   3                           MR. SMITH:        Objection; form.

   4               A.          Certainly a person of skill in the

   5       art reading Diab would understand those limitations

   6       were met under interpretation of processing

   7       characteristics come from a signal provided by the

   8       photodetector.

   9                           And in a alternative, sort of, not as

 10        limited, but an alternative equally valid

 11        interpretation here processing characteristics met by

 12        Amano's acceleration sensor output.

 13                Q.          Is the limiting interpretation you

 14        referred to in Paragraph 97 of your Declaration the

 15        meaning that processing characteristics would have

 16        had to a person of ordinary skill in the art in

 17        July 2001?

 18                            MR. SMITH:        Objection; form.

 19                A.          Didn't need to construe sort of a

 20        specific definition of processing characteristics

 21        highlighting that there is a subset and a broader set

 22        of processing characteristics.                And Diab teaches



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                                                                              Page 127
   1       limitation from a signal provided by a photodetector,

   2       and in a non-limiting -- or in -- teaches these

   3       limitations based on alternative non-limiting not as

   4       constrained interpretation of processing

   5       characteristics.

   6               Q.          Is if fair to say, Dr. Anthony, that

   7       you have not formed an opinion on whether the

   8       limiting interpretation or the alternative

   9       non-limiting interpretation is the construction or

 10        meaning that a person of ordinary skill in the art

 11        would have had in July 2001?

 12                            MR. SMITH:        Objection; form.

 13                A.          A person skilled in the art reading

 14        processing characteristics would understand what they

 15        meant in the context.

 16                            And I guess I would just also

 17        highlight looking -- reading -- where did it go?

 18        I've lost my place.          Sorry.

 19                Q.          No problem.         Let me ask you in a

 20        different way:        Have you formed an opinion of whether

 21        the correct construction of processing

 22        characteristics is the limiting interpretation or the



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                                                                              Page 128
   1       alternative non-limiting interpretation you identify

   2       in Paragraph 98?

   3                           MR. SMITH:        Objection; form.

   4               A.          At the time of the patent, whether a

   5       person of skill in the art reading processes and

   6       characteristics, you know, shows interpreted as

   7       limiting and being from a photodetector Diab teaches

   8       those limitations.          And if the -- in a broader

   9       interpretation, processing characteristics we include

 10        characteristics or features that is, you know, Amano

 11        teaches those limitations based on those alternative

 12        non-limiting interpretation of processing

 13        characteristics.

 14                Q.          So you have provided in your expert

 15        declaration two potential definitions for processing

 16        characteristics, a limiting interpretation in

 17        Paragraph 97, and a alternative non-limiting

 18        interpretation in Paragraph 98.

 19                            Do you have an opinion regarding

 20        which of those interpretations is the correct

 21        construction of processing characteristics?

 22                            MR. SMITH:        Objection; form.



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                                                                              Page 129
   1               A.          Certainly Diab takes the broader

   2       construction, which is an alternative non-limiting

   3       interpretation of processing characteristics.                       The --

   4       something obtained from the photodetector would fall

   5       underneath there.

   6                           And if I also, sort of, highlight

   7       maybe -- let's see.          Where was it?           So if we look at

   8       Claim 1, for example, in the '703 patent, processing

   9       characteristics, as in the last two limitations of

 10        Claim 1; and then a independent claim on one is four,

 11        for example, where a method of Claim 1 wherein said

 12        processing characteristics comprise signal

 13        characteristics from one or more light sensitive

 14        detectors.

 15                            So a person of skill in the art

 16        reading that, sort of, the broader interpretation is

 17        sort of what you get by reading one, and then the

 18        narrow is, is four.          Or narrow it to just the

 19        light-sensitive detector.

 20                            Certainly Diab teaches, whether that

 21        characteristic coming from a signal provided by

 22        the -- whether it be a photodetector or another



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                                   Appx1582
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                                                                              Page 130
   1       sensor.

   2               Q.           Okay.     You didn't answer my question.

   3       I'll ask it one more time, and then we can --

   4               A.           I'm sorry.

   5               Q.           Do you have an opinion as to whether

   6       the limiting interpretation of processing

   7       characteristics you've provided in Paragraph 97, or

   8       the alternative non-limiting interpretation of

   9       processing characteristics you've provided in

 10        Paragraph 98 -- okay.            Let me scratch that and start

 11        over.

 12                             Is the limiting interpretation

 13        identified in Paragraph 97 or the alternative

 14        non-limiting interpretation identified in Paragraph

 15        98 the correct construction of processing

 16        characteristics?

 17                             MR. SMITH:        Objection; form.

 18                A.           Wasn't necessary to inform my

 19        opinions to highlight which one is the correct one.

 20        The processing characteristics, Diab teaches the

 21        limitation -- teaches limiting interpretation

 22        requiring that these processing characteristics come



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                                                                              Page 131
   1       from the photodetector; and Amano teaches them with a

   2       broader non-limiting interpretation of the processing

   3       characteristics coming from, for example, Amano's

   4       acceleration sensor output.

   5               Q.          Okay.      Why, don't we take --

   6               A.          Now I'm limiting it --

   7               Q.          Do you have more to add?              I'm sorry

   8       to cut you off.

   9               A.          This could be the second, the

 10        additional sentence, "The non-limiting plain meaning

 11        of the phrase includes characteristics obtained from

 12        or used for processing information."

 13                            MR. STOWELL:         Okay.       Sorry I

 14        interrupted you.

 15                            Why don't we take a break now.                  Is

 16        that good?

 17                            THE WITNESS:         Sure.

 18                            MR. STOWELL:         Why don't we plan to

 19        met back at -- let's see.             It would be 5:10 your

 20        time.

 21                            THE VIDEOGRAPHER:              The time is --

 22                            MR. SMITH:        We're off the record.



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  UNITED STATES PATENT AND TRADEMARK OFFICE
                  ____________

   BEFORE THE PATENT TRIAL AND APPEAL BOARD
                  ____________


                        APPLE INC.,
                         Petitioner,

                               v.

                 MASIMO CORPORATION,
                      Patent Owner.
                     ____________

                    Case IPR2020-01523
                    Patent No. 8,457,703
                       ____________



PETITIONER’S REPLY TO PATENT OWNER’S RESPONSE




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                               EXHIBITS

APPLE-1001     U.S. Patent No. 8,457,703 to Al-Ali (“the ’703 Patent”)

APPLE-1002     Excerpts from the Prosecution History of the ’703 Patent

APPLE-1003     Declaration of Brian W. Anthony, Ph.D.

APPLE-1004     U.S. Patent No. 6,293,915 to Amano et al. (“Amano”)

APPLE-1005     U.S. Patent No. 6,393,311 to Edgar, Jr. et al. (“Edgar”)

APPLE-1006     U.S. Patent No. 6,527,729 to Turcott (“Turcott”)

APPLE-1007     U.S. Patent No. 5,632,272 to Diab et al. (“Diab”)

APPLE-1008     U.S. Patent No. 6,178,343 to Bindszus et al.

APPLE-1009     U.S. Patent No. 5,924,979 to Swedlow et al.

APPLE-1010     Tremper, Pulse Oximetry, Anesthesiology, The Journal of the
               American Society of Anesthesiologists, Inc., Vol. 70, No. 1
               (January 1989)

APPLE-1011     Mendelson, Skin Reflectance Pulse Oximetry: In Vivo
               Measurements from the Forearm and Calf, Journal of Clinical
               Monitoring, Vol. 7, No. 1 (January 1991)

APPLE-1012     Excerpts from Bronzino, The Biomedical Engineering
               Handbook, CRC Press, Inc. (1995)

APPLE-1013     Konig, Reflectance Pulse Oximetry – Principles and Obstetric
               Application in the Zurich System, Journal of Clinical
               Monitoring, Vol. 14, No. 6 (August 1998)

APPLE-1014     U.S. Patent No. 5,490,505 to Diab et al.

APPLE-1015     U.S. Patent No. 5,027,410 to Williamson et al.




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APPLE-1016     U.S. Patent Application Publication No. 2003/0004428 to Pless
               et al.

APPLE-1017     U.S. Patent Application Publication No. 2002/0032386 to
               Sackner et al.

APPLE-1018     U.S. Patent Application Publication No. 2003/0163287 to Vock
               et al.

APPLE-1019     U.S. Patent No. 6,163,721 to Thompson

APPLE-1020     U.S. Patent No. 5,058,203 to Inagami

APPLE-1021     U.S. Patent No. 6,711,691 to Howard et al.

APPLE-1022-1030         Reserved

APPLE-1031     Scheduling Order, Masimo v. Apple et al., Case 8:20-cv-00048,
               Paper 37 (April 17, 2020)

APPLE-1032        Stipulation by Apple

APPLE-1033     Telephonic Status Conference, Masimo v. Apple et al., Case
               8:20-cv-00048, Paper 78 (July 13, 2020)

APPLE-1034     Joseph Guzman, “Fauci says second wave of coronavirus is
               ‘inevitable’”, TheHill.com (Apr. 29, 2020), available at:
               https://thehill.com/changing-america/resilience/natural-
               disasters/495211-fauci-says-second-wave-of-coronavirus-is

APPLE-1035     “Tracking the coronavirus in Los Angeles County,”
               LATimes.com (Aug. 20, 2020), available at
               https://www.latimes.com/projects/california-coronavirus-cases-
               tracking-outbreak/los-angeles-county/

APPLE-1036     Order Amending Scheduling Order, Masimo et al. v. True
               Wearables et al., Case 8:18-CV-02001 (July 7, 2020)




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                                    Appx1681
        Case: 22-1890   Document: 22     Page: 677    Filed: 02/15/2023

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APPLE-1037     Order Regarding Motion to Stay (Redacted) in Masimo
               Corporation et al. v. Apple Inc., Case 8:20-cv-00048, October
               13, 2020

APPLE-1038     Single Exponential Smoothing, Engineering Statistics
               Handbook, Internet Archive Wayback Machine capture April
               19, 2001, available at
               https://web.archive.org/web/20010419095031/http://www.itl.ni
               st.gov:80/div898/handbook/pmc/section4/pmc431.htm

APPLE-1039     Transcript of Deposition of Vijay K. Madisetti, Ph.D.




                                   v
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                                                           Case No. IPR2020-01523
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      The arguments in Masimo’s POR attempt to overcome the substantial

evidence of unpatentability of the challenged claims. These arguments fail

because, as explained in the Petition and further clarified below, the cited prior art

references render the challenged claims of the ’703 patent unpatentable.

I.    CLAIM CONSTRUCTION

      A.     “processing characteristics”
      Masimo alleges that the plain meaning of “processing characteristics” should

“require that the processing characteristics are determined from a signal received

from one or more detectors configured to detect light.” POR, 23-27. But the ’703

claims and specification demonstrate that Masimo’s construction is unjustifiably

limiting, and thus should not be adopted.

      With respect to the claims, claim 4, which depends from independent claim

1, recites that “said processing characteristics comprise signal characteristics from

one or more light sensitive detectors.” APPLE-1001, 11:59-61. If “processing

characteristics” were required to be “determined from a signal received from one

or more detectors,” claim 4 would be rendered meaningless. Such an interpretation

is legal error and is contrary to well-established canons of claim interpretation.

Bicon, Inc. v. Straumann Co., 441 F.3d 945, 951 (Fed. Cir. 2006) (“claim language

should not be treated as meaningless”).

      Further, claim 8 recites “said processing characteristics include determining

                                            1

                                       Appx1683
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an estimate of current power consumption and comparing said estimate with a

target power consumption.” APPLE-1001, 12:1-4. The specification makes clear

that, contrary to Masimo’s proposed construction, the “estimate of current power

consumption” (which, per claim 8, is included in the “processing characteristics”)

is not “determined from a signal received from one or more detectors configured to

detect light.”

      Claim 8 corresponds to the following description in the specification:

             The power status calculator 460 utilizes an internal time
             base, such as a counter, timer or real-time clock, in
             conjunction with the control engine state to estimate the
             average power consumption of at least a portion of the
             pulse oximeter 300. The power status calculator 460 also
             stores a predetermined power target and compares its
             power consumption estimate to this target.

APPLE-1001, 6:45-51, FIG. 4. The power status calculator 460 is highlighted in

FIG. 4 below. FIG. 4 and the corresponding description in the specification show

that the power consumption estimate (“processing characteristics” per claim 8) is

not determined from a signal received from the detector front-end 490, but rather

from a signal received from control engine 440. Id.




                                         2

                                      Appx1684
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                         APPLE-1001, FIG. 4 (annotated)

      As such, the claims and specification do not require that “processing

characteristics” be determined from a signal received from detectors configured to

detect light as Masimo argues. Id. In fact, the ’703 patent explicitly describes

“processing characteristics” determined from a signal received from another

element of a patient monitor, such as a control engine, and nothing in the intrinsic

evidence precludes “processing characteristics” from being determined from a

signal received from another element of a patient monitor, such as an acceleration

sensor, as described in Amano.

      Thus, the ’703 patent demonstrates that Masimo’s proposed construction of

“processing characteristics” is unjustifiably limiting and should not be adopted.

                                          3

                                       Appx1685
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II.   DIAB IN VIEW OF AMANO RENDERS CLAIMS 9-10, 12-14, 20,
      AND 22-24 OBVIOUS (GROUND 1A)

      A.     Diab in view of Amano teaches operating at “a lower power
             consumption level” and “a higher power consumption level.”

                   A POSITA would have found it obvious to suspend and not
                   execute Diab’s motion artifact suppression module if motion
                   is not detected.
      In its POR, Masimo contends that Diab’s motion artifact suppression

module 580 “is necessary to generate the clean plethysmograph waveform, which

is critical to patient monitoring.” POR, 30-41. But Masimo’s (and its declarant’s)

contentions are inconsistent with Diab’s explicit disclosures.

      For example, Diab discloses that its system can, but does not necessarily

need to, provide a clean plethysmograph waveform. APPLE-1007, 35:42-50

(“may be provided”), 49:29-32 (“can be”), cf. 50:27-29 (the pulse/heart rate “is

advantageously provided”). Additionally, Diab teaches that a “clean”

plethysmograph waveform would only need to be generated by the correlation

canceler of the motion artifact suppression module if motion is detected. APPLE-

1007, 2:24-27, 3:6-9, 4:39-43, 5:3-9, 9:20-27, 13:15-20, 33:19-23, 33:47-50, 34:1-

7, 47:55-56, 48:34-42, FIG. 3. If motion is not detected, the signal measured by

the detector is representative of the arterial pulse, and a plethysmograph waveform

can be generated from the signal using “traditional filtering techniques, such as

simple subtraction, low pass, band pass, and high pass filtering” or “[a] static

                                          4

                                       Appx1686
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filtering system, such as a bandpass filter.” APPLE-1007, 2:31-45, 4:20-35, 4:59-

64, 9:16-20, 33:45-47, 33:64-34:1, 47:52-54, 48:6-13, FIG. 1. Indeed, Dr.

Anthony testified that “if motion is not present, we don’t need to remove it to

generate the clean plethysmograph signal.” EX2003, 68:15-69:6. Because Diab’s

purported invention is “the removal or derivation of either the primary or

secondary signal portion” where “[t]he secondary portion also includes artifacts

due to patient movement,” Diab’s FIGS. 20 and 21 depict the modules that are

executed “[i]n the case of motion.” APPLE-1007, 1:17-22, 4:20-50, 47:30-50:29.

Diab’s FIGS. 20 and 21 do not show the generation of the plethysmograph

waveform using “traditional filtering techniques” because it was well known in the

art, as indicated by Diab. In re Wands, 858 F.2d 731, 735 (Fed. Cir. 1988) (“need

not disclose what is well known”).

      Masimo’s contention that Diab “requires continuous operation of the motion

artifact suppression module” is contradicted by their assertion that modules

“operate differently depending on whether motion is detected” by the motion status

module. POR, 34, 46; EX2001, ¶¶57, 75. Masimo’s POR and Dr. Madisetti’s

declaration provide annotations to Diab’s FIG. 20 (reproduced below) to show that

the spectrum analysis module and the output filter “operate differently depending

on whether motion is detected,” but omit highlighting that the signal generated by

the motion status module 584 is also provided to the motion artifact suppression
                                         5

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module 580:




Id. If Diab required “continuous operation of the motion artifact suppression

module,” as Masimo alleged, there would be no reason to provide the motion status

to the motion artifact suppression module since the motion artifact suppression

module would not “operate differently depending on whether motion is detected.”

See id.; POR, 34, 46; EX2001, ¶¶57, 75.

      Based on Diab’s disclosure, a POSITA would have recognized that Diab’s

motion artifact suppression module does, in fact, “operate differently depending on

whether motion is detected.” APPLE-1007, 2:24-45, 3:6-9, 4:20-64, 5:3-9, 9:16-

27, 13:15-20, 33:19-23, 33:45-50, 33:64-34:7, 47:52-56, 48:6-13, 48:34-42, FIGS.

1, 3. The Petition provided an annotation of Diab’s FIG. 21 showing an example

(reproduced below) of the additional processing performed by the motion artifact

                                          6

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suppression module when motion is detected, and showing that Diab’s motion

artifact suppression module does “operate differently depending on whether

motion is detected” in accordance with Diab’s disclosure. Id.; Petition, 17.




                                                       Additional processing for
                                                       motion artifact suppression

                     APPLE-1007, Detail of FIG. 21 (annotated)

      As shown in the example above, the clean plethysmograph waveform can be

generated using “traditional filtering techniques, such as... band pass... filtering” of

the infrared signal if motion is not detected, or using a correlation canceler 571 if

motion is detected, consistent with Diab’s disclosure. Id.; APPLE-1007, 49:18-21.

Alternatively, because Diab’s FIG. 21 DC removal module 583 and the bandpass

filter module 585 are the same as the FIG. 20 DC removal and bandpass filter

module 578, a POSITA would have found it obvious to suspend and not execute all

the operations of the motion artifact suppression module 580 and instead provide

the clean plethysmograph waveform from the FIG. 20 DC removal and bandpass
                                           7

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filter module 578. Id.; APPLE-1007, 48:6-11, 48:48-53, 42:27-30. In any case, a

POSITA would have found it obvious not to execute operations of Diab’s motion

artifact suppression module 580 if no motion is detected. Id.; APPLE-1003, ¶¶52-

54.

                    A POSITA would have been motivated to apply Amano’s
                    teachings to suspend and not execute operations of Diab’s
                    motion artifact suppression module if no motion is detected
                    to reduce calculation time and power consumption.

      Masimo alleges that “[a] POSITA also would not have been motivated to

combine Diab and Amano due to the differences in the systems,” including

“different processing algorithms,” “different outputs,” Amano’s “additional

sensor,” and “different processing responsibilities.” POR, 41-45. Masimo’s

arguments primarily focus on whether Diab’s and Amano’s systems can be

physically combined together. Masimo’s arguments are misplaced as they do not

focus sufficiently on the teachings of Diab and Amano. “The test for obviousness

is not whether the features of a secondary reference may be bodily incorporated

into the structure of the primary reference.... Rather, the test is what the combined

teachings of those references would have suggested to those of ordinary skill in the

art.” In re Keller, 642 F.2d 413, 425 (CCPA 1981); see also In re Sneed, 710 F.2d

1544, 1550 (Fed. Cir. 1983) (“[I]t is not necessary that the inventions of the

references be physically combinable to render obvious the invention under


                                          8

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review.”).

      The Petition relies on Amano’s teachings of suspending “the operations of...

body movement component eliminating section” “when no body movement is

present” which reduces calculation time and power consumption, not on the

physical combination of Diab and Amano. Petition, 17-18; APPLE-1004, 21:50-

22:6, 35:54-64; APPLE-1007, 48:34-49:38; APPLE-1003, ¶¶54-55. As the

Petition establishes, a POSITA would have found it obvious, based on Amano’s

teachings, to suspend and not execute operations of Diab’s motion artifact

suppression module 580 if motion is not detected to reduce calculation time and

power consumption. Id. As explained above in Section II.A.1, supra, suspending

and not executing operations of Diab’s motion artifact suppression module if no

motion is detected is consistent with Diab’s disclosure.

                   Suspending operations of the motion artifact suppression
                   module would result in Diab’s device operating “at a lower
                   power consumption level,” thereby “reducing an amount of
                   processing by a signal processor.”

      Masimo alleges that “Petitioner’s assumption that suspension of Diab’s

motion artifact suppression module will necessarily lower the power consumption

level is incorrect.” POR, 45-48. Masimo further alleges that “Petitioner also failed

to show that Diab and Amano disclose ‘continuously operating at said lower power

consumption level comprises reducing an amount of processing by a signal


                                         9

                                      Appx1691
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processor.’” POR, 52-54. Masimo relies on the same rationale for both

contentions.

      As a first reason, Masimo alleges that the output filter 594 “will process

more data and increase the power consumption” if no motion is detected. POR,

45-47, 53-54. In doing so, Masimo relies on Diab’s disclosure that “if there is little

or no motion, this filter can sample much faster and still maintain a clean value,”

and concludes that the filter processes more data and increases power consumption

if there is no motion. POR, 47; EX2001, ¶¶76, 88; APPLE-1007, 50:23-27. This

interpretation of Diab’s disclosure is incorrect.

      Diab discloses that “[t]he output filter 594 comprises an exponential

smoothing filter similar to the exponential smoothing filter described above with

respect to the clip and smooth filter 566... controlled via an output filter coefficient

module.” APPLE-1007, 50:21-23. Describing the clip and smooth filter 566, Diab

discloses that an exponential smoothing filter is computed using the conventional

equation in the form y(n)=α*x(n)+(1-α)*y(n-1) where α is the smoothing

coefficient, x(n) is the input sample, and y(n-1) is the previous smoothed value.

APPLE-1007, 47:5-10; APPLE-1038, 1. As apparent from this equation and as

known by a POSITA, the speed at which older values are dampened is the function

of α. Id., APPLE-1038, 2. When α is close to 1, dampening is fast, and when α is

close to 0, dampening is slow. Id. Accordingly, a POSITA would have
                                           10

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understood Diab’s disclosure that “[i]f motion is large, this filter is slowed down”

to refer to the filter dampening being slowed down by selecting α that is close to 0.

Id.; APPLE-1007, 50:23-27. Conversely, Diab’s disclosure that “if there is little or

no motion, this filter can sample much faster and still maintain a clean value”

refers to the filter dampening faster by selecting α that is close to 1. Id. In either

case, the filter’s equation and thus the amount of processing are the same; only the

values, including smoothing coefficient α, used by the equation has changed. Id.

      This is illustrated in Diab’s FIG. 20, which is correctly annotated below to

show that the motion status module 584 (green) provides a signal (red line) to the

output filter coefficient module 596 (blue) that provides the smoothing coefficient

(blue line) to the output filter 594 (pink) to control the filter’s dampening. APPLE-

1007, 48:2-3, 50:23-25.




                                           11

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                    APPLE-1007, Detail of FIG. 20 (annotated)

Thus, Masimo’s assertions that the output filter 594 “will process more data and

increase the power consumption” if no motion is detected, are contrary not only to

common sense, but also to Diab’s explicit disclosure. POR, 45-47, 53-54.

Accordingly, Masimo’s arguments with respect to the output filter 594 are

meritless.

      In addition, Masimo further argues that the spectrum analysis module 590

“could consume more power” when no motion is detected than when motion is

detected. POR, 47-48, 54; EX2001, ¶¶77, 89. But Diab does not disclose that

selecting the first harmonic “could consume more power” than selecting the peak

with the highest amplitude. Diab discloses that the spectrum analysis module 590

selects the first harmonic by selecting “the first peak that has an amplitude of at

least 1/20 th [sic] of the largest peak,” based on the output of the spectrum

estimation module 588, which performs its operations regardless of whether

motion is detected. APPLE-1007, 48:21-31. Thus, in both the case of motion and

no motion, the spectrum analysis module 590 is merely “selecting” a value from

the output of one of the spectrum estimation modules 588 or 586. See id. Diab

does not describe any difference between these two selections, and Masimo’s

argument alleges no such difference. See POR, 47-48, 54; EX2001, ¶¶77, 89.

Thus, Masimo’s argument that the spectrum analysis module 590 “could consume

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more power” when no motion is detected is nothing more than naked speculation.

      Based on Diab’s teachings as a whole, the Petition establishes that a

POSITA would have found obvious that suspending operations of Diab’s motion

artifact suppression module would result in operating “at a lower power

consumption level” and “reducing an amount of processing by a signal processor.”

Petition, 14-18, 21-22; APPLE-1003, ¶¶52-55, 61-62. Masimo’s arguments

regarding the output filter 594 and the spectrum analysis module 590 fail to show

otherwise.

      B.      Diab teaches “comparing processing characteristics to a
              predetermined threshold.”

      The Petition establishes that “a predetermined threshold” corresponds to “a

width value above which the peaks are considered ‘wide’,” as disclosed in Diab.

Petition, 18-20. Dr. Anthony further explains that “a predetermined threshold”

corresponds to “a value corresponding to ‘wider peaks indicating motion’,” as

disclosed in Diab. APPLE-1003, ¶¶56-57. The Petition and Dr. Anthony further

establish that Diab teaches comparing the “average peak width value” (processing

characteristics) to “a width value above which the peaks are considered ‘wide’”

(predetermined threshold). Id.; Petition, 18-20.

      Masimo argues that “[t]he Petition does not identify how Diab allegedly

satisfies the ‘predetermined’ requirement,” but did not explain why “a width value


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above which the peaks are considered ‘wide’” is not a “predetermined” threshold.

POR, 50. But in order for the “average peak width value” to be compared to “a

width value above which the peaks are considered ‘wide’,” such “width value”

must be determined before the comparison is performed. Thus, the width value

represents a “predetermined threshold.”

      In addition, Masimo presents several examples purporting to show how

“Diab’s oximeter could evaluate the peak width,” but it still remains unclear why

the threshold values in those examples do not satisfy the “predetermined”

requirement. POR, 51-52. In each of the examples described in the POR, the

threshold value (e.g., “an average of the most recent peak widths,” “the most recent

peak width,” and “recent data points”) is determined before the comparison is

performed and is thus “predetermined” relative to the comparison. See id.

      The ’703 patent provides no further insight into the meaning of

“predetermined” that would justify deviating from its plain meaning relied on by

Petitioner and Dr. Anthony. The ’703 patent uses the terms “predetermined” and

“predetermining” with respect to “a target power level,” “power target,” and

“target power consumption level.” APPLE-1001, 2:34-37, 3:23-27, 3:52-56, 6:15-

19, 6:49-51, 8:22-28. But the ’703 patent provides no definition for

“predetermined” nor does it provide an explanation of how or why the “target

power level,” “power target,” and “target power consumption level” are
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predetermined. As such, the Petition and Dr. Anthony properly applied the plain

meaning of “predetermined” and established that Diab teaches “comparing

processing characteristics to a predetermined threshold,” as required by the claims.

Petition, 18-20; APPLE-1003, ¶¶56-57.

III.   A POSITA WOULD HAVE BEEN MOTIVATED TO COMBINE
       EDGAR WITH DIAB AND AMANO (GROUND 1B)
       As explained in the Petition and Dr. Anthony’s declaration, Edgar seeks to

improve upon Diab’s technique for calculating blood oxygen saturation, and a

POSITA would have been motivated to implement Edgar’s technique, instead of

Diab’s technique, to calculate blood oxygen saturation. Petition, 30-33; APPLE-

1005, 3:58-4:6, 5:1-11; APPLE-1003, ¶¶68-72. Masimo contends that “because

Edgar distinguishes Diab’s approach to cancelling noise, a POSITA would not

have been motivated to combine Edgar with Diab.” POR, 55-56. Masimo appears

to be arguing that Edgar teaches away from its combination with Diab. But

Edgar’s teachings do not establish “clear discouragement” of the combination, as

required for teaching away. In re Ethicon, Inc., 844 F.3d 1344, 1351 (Fed. Cir.

2017); In re Gurley, 27 F.3d 551, 553 (Fed. Cir. 1994) (“A reference may be said

to teach away when a person of ordinary skill, upon reading the reference, would

be discouraged from following the path set out in the reference, or would be led in

a direction divergent from the path that was taken by the applicant.”).


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      In fact, as Masimo admits, Edgar suggests that its inventions provide an

advantage over Diab’s approach. See POR, 55-56. A POSITA seeking to improve

Diab’s device, upon reading Edgar, would have been encouraged to implement

Edgar’s technique, instead of Diab’s technique, to calculate blood oxygen

saturation using a relatively simple computation as compared to Diab’s, as

established in the Petition. Petition, 30-33; APPLE-1003, ¶¶68-72.

IV.   DIAB IN VIEW OF AMANO AND TURCOTT RENDER CLAIMS 1-7
      AND 15-18 OBVIOUS (GROUND 1C)

      A.     Diab in view of Amano and Turcott teach “reducing/reduce
             activation of an attached sensor.”
      The Petition establishes that a POSITA would have found it obvious to

combine Diab’s (as supplemented with Amano’s) and Turcott’s teachings to

implement the oximeter’s signal processor to reduce activation of the attached

sensor. Petition, 37-40, 41-43; APPLE-1003, ¶¶80-86. Masimo, focusing on

Turcott’s purported deficiency individually, argues that “Turcott does not disclose

or suggest reducing activation of a sensor during monitoring to lower power

consumption levels.” POR, 60-61. Masimo’s arguments here are inapposite as

“[n]on-obviousness cannot be established by attacking references individually

where the rejection is based upon the teachings of a combination of references.”

Bradium Technologies v. Iancu, 923 F. 3d 1032, 1050 (Fed. Cir. 2019). Instead,

each reference “must be read, not in isolation, but for what it fairly teaches in

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combination with the prior art as a whole.” Id.

      Further, the Supreme Court’s decision in KSR Int’l Co. v. Teleflex Inc., 550

U.S. 398, 406 (2007) “does not support [the] theory that a person of ordinary skill

can only perform combinations of a puzzle element A with a perfectly fitting

puzzle element B. To the contrary, KSR instructs that the obviousness inquiry

requires a flexible approach,” recognizing that “‘[a] person of ordinary skill is also

a person of ordinary creativity, not an automaton.’” ClassCo, Inc. v. Apple, Inc.,

838 F.3d 1214, 1219 (Fed. Cir. 2016). Thus, “the question under 35 [U.S.C. §]

103 is not merely what the references expressly teach but what they would have

suggested to one of ordinary skill in the art at the time the invention was made.”

Merck & Co. v. Biocraft Labs., Inc., 874 F.2d 804, 807–08 (Fed. Cir. 1989).

      The Petition establishes that a POSITA would recognize that Diab already

provides control for driving the light emitters with an emitter current and adjusting

the current for changes in the ambient room light or other changes during

monitoring (APPLE-1007, 35:50-36:6); and that Diab and Amano teach

adjusting/suspending operations depending on motion-induced noise during

monitoring (APPLE-1007, 47:52-56; APPLE-1004, 21:50-22:6). Petition, 21, 37-

38. Based on these teachings, as explained in the Petition, a POSITA would have

found it obvious to also adjust the drive current, the frequency of the pulse train,

the pulse duration, or the duty cycle of the pulse train to optimize the signal to
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noise ratio and to minimize power consumption (APPLE-1006, 11:51-59).

Petition, 14-18, 37-40, 41 (analysis of element 1[c] incorporating Ground 1A’s

analysis of element 9[c])), 41-43; APPLE-1003, ¶¶52-55, 80-86. Neither Masimo

nor its declarant dispute the Petition’s and Dr. Anthony’s analysis in this regard,

but instead improperly focus on Turcott’s purported deficiencies outside the

context of the proposed combination.

      Masimo argues that “Turcott does not disclose or enable making these

adjustments in real-time during patient monitoring,” “does not identify any

conditions during patient monitoring that would trigger a reduction in the duty

cycle,” and “also does not disclose the hardware and software necessary to make

the real-time adjustments.” POR, 61. Consequently, Masimo concludes that “a

POSITA would have understood Turcott to suggest selecting the parameters once

during product design or setup.” Id. Masimo’s conclusion is unsupported

conjecture, as Turcott does not disclose selecting/setting the parameters only once

during product design or setup. Rather, Turcott explicitly uses the terms

“adjusted” and “adjusting,” connoting that multiple values are possible for the

adjustment during monitoring and not a single value selected during product design

or setup. APPLE-1006, 11:51-59.




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      B.     A POSITA would have been motivated to apply Turcott’s
             teachings to Diab’s oximeter.

      The Petition establishes that a POSITA would have been motivated to

modify Diab based on Amano’s and Turcott’s teachings to achieve a patient

monitor that optimizes the signal-to-noise ratio and minimizes power consumption,

as both Amano and Turcott disclose a need to optimize the signal-to-noise ratio

and minimize power consumption. Petition, 38; APPLE-1003, ¶81; APPLE-1004,

21:50-53, 22:4-6, 35:54-64; APPLE-1006, 11:54-59. Specifically, Turcott teaches

that “the driver current, the frequency of the pulse train, the pulse duration, or the

duty cycle” “is adjusted to optimize the signal to noise ratio and to minimize power

consumption.” APPLE-1006, 11:54-59. Contrary to Masimo’s contentions (POR,

62), a POSITA would not have merely wanted to minimize power consumption of

the patient monitor, but would have also wanted to optimize signal to noise ratio

(as explained in the Petition). Petition, 38; APPLE-1003, ¶81; APPLE-1004,

21:50-53, 22:4-6, 35:54-64; APPLE-1006, 11:54-59. Thus, a POSITA would have

also been motivated to adjust, e.g., by increasing, activation of the sensor to

optimize signal to noise ratio when the signal to noise ratio is low. APPLE-1006,

11:54-59.

      As also explained in the Petition, a POSITA would have further been

motivated to reduce Diab’s emitter drive current. Petition, 42; APPLE-1003, ¶85.


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Diab explicitly discloses that “the current could be adjusted for changes in the

ambient room light and other changes which would [a]ffect the voltage input to the

front end analog signal conditioning circuitry 330.” APPLE-1007, 36:2-6; APPLE-

1003, ¶84; Petition, 41. Without addressing the relevance of Diab’s disclosure

cited in the Petition, Masimo points instead to Diab’s disclosure of “an alternative

embodiment in which the emitter drive current is held constant” because “it would

be advantageous to fix the emitter drive current for all patients.” POR, 63;

APPLE-1007, 37:17-35. Masimo then argues that “[b]ased on this disclosure, a

POSITA would not have been motivated to reduce Diab’s drive current because

doing so could disadvantageously affect the oximeter readings.” Id. But the

asserted combination does not rely on Diab’s alternative embodiment but rather on

Diab’s explicit disclosure of adjusting the drive current. APPLE-1007, 36:2-6;

APPLE-1003, ¶84; Petition, 41.

      Masimo further contends that “a POSITA would have been discouraged

from reducing activation of Diab’s sensor... without proper patient and signal

protections in place,” and “Diab and Turcott do not include a feedback loop

whereby physiological measurements or signal statistics are used to adjust the

sensor activation level.” POR, 62-63. But the claims of the ’703 patent do not

require such “a feedback loop.” These arguments are therefore based on

unclaimed limitations and cannot form the basis for a proper obviousness analysis:
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“we know of no principle of law which would authorize us to read into a claim an

element which is not present, for the purpose of making out a case of novelty....”

McCarthy v. Lehigh Valley R. Co., 160 U.S. 110, 116 (1895); Smith & Nephew,

Inc. v. Rea, 721 F.3d 1371, 1381 (Fed. Cir. 2013) (“an unclaimed and undisclosed

feature... cannot be the basis for finding [a] patent to be non-obvious over the prior

art.”).

          Masimo’s arguments that “Turcott describes an invasive ‘implantable

monitoring device’” is also meritless. POR, 63-64. Turcott explicitly discloses

that its teachings apply to noninvasive pulse sensors: “As with most of the sensors

described here, the vascular plethysmography and arterial O2 saturation sensors can

be used in noninvasive, external embodiments, in contrast to incorporation in an

implantantable monitor.” APPLE-1006, 11:66-12:15. While Turcott discloses that

there are “disadvantages” associated with “an external embodiment... that

necessarily requires patient cooperation,” Turcott also discloses that “[t]hese

optical sensors are particularly attractive candidates for an external embodiment”

and describes a number of “advantages” of such an external embodiment. APPLE-

1006, 12:2-28. Masimo fails to mention much less address this disclosure of

Turcott. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir. 2006) (“a

given course of action often has simultaneous advantages and disadvantages, and

this does not necessarily obviate motivation to combine.”).
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      Masimo’s fourth argument that “Petitioner fails to explain how the

combination of Turcott, Diab, and Amano would operate to adjust activation of

Diab’s sensors” (POR, 65-67) fails to acknowledge the Petition’s explanation that

the combination “would include implementing the oximeter’s signal processor to

reduce the drive current or the duty cycle of the pulse train of the LEDs when the

oximeter is operating at the lower power consumption level.” Petition, 42;

APPLE-1003, ¶85. Masimo’s argument further fails to account for what would

have been suggested to a POSITA from Diab’s, Amano’s, and Turcott’s teachings.

As evident from Masimo’s explanation of the combination in its POR, the

modification of Diab to incorporate Turcott’s teachings would have been well

within the skill level of a POSITA. See, e.g., ClassCo, Inc. v. Apple, Inc., 838 F.3d

1214, 1219 (Fed. Cir. 2016) (“KSR does not require that a combination only unite

old elements without changing their respective functions. Instead, KSR teaches that

‘[a] person of ordinary skill is also a person of ordinary creativity, not an

automaton.’ And it explains that the ordinary artisan recognizes ‘that familiar items

may have obvious uses beyond their primary purposes, and in many cases a person

of ordinary skill will be able to fit the teachings of multiple patents together like

pieces of a puzzle.’ The rationale of KSR does not support [Patent Owner’s] theory

that a person of ordinary skill can only perform combinations of a puzzle element

A with a perfectly fitting puzzle element B. To the contrary, KSR instructs that the
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obviousness inquiry requires a flexible approach.”).

V.    GROUNDS 2A-2C ESTABLISH THAT THE CHALLENGED
      CLAIMS ARE OBVIOUS

      Masimo’s attempt to rebut Petitioner’s Grounds 2A-2C (POR, 67-69) rests

on the same arguments discussed above and thus fails for the same reasons.

Further, even if Grounds 2A-2C were subject to the deficiencies alleged by

Masimo (which, as described above, it is not), a POSITA would nonetheless have

found the claims obvious based on the general knowledge of a POSITA, as

explained in the Petition. See Petition, 47-49.

VI.   AMANO RENDERS CLAIMS 9-10, 12-14, 20, and 22-24 OBVIOUS
      (GROUND 3A)

      A.     Amano teaches determining “measurement values for one or
             more physiological parameters of a patient.”

      The Petition establishes that Amano determines measurement values for a

physiological parameter of a patient by determining a pulse waveform and a pulse

condition of a subject being monitored; the pulse waveform and the pulse

condition are “measurement values for a physiological parameter of a patient.”

Petition, 54-55; APPLE-1003, ¶¶104-105. Masimo takes issue with Amano’s

disclosure because allegedly “Amano does not disclose that the notifying section

displays any measurement values.” POR, 72. But the claims do not require

displaying measurement values. This argument is therefore based on unclaimed

limitations and cannot form the basis for a proper obviousness analysis. McCarthy
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v. Lehigh Valley R. Co., 160 U.S. 110, 116 (1895); Smith & Nephew, Inc. v. Rea,

721 F.3d 1371, 1381 (Fed. Cir. 2013). That Amano’s apparatus determines a pulse

waveform and a pulse condition, which are “measurement values for a

physiological parameter of a patient,” is enough to satisfy the claims.

      Masimo states that Amano’s notifying section provides an output that

qualitatively describes the patient’s pulse condition: “notifying section 80 displays

the characters ‘Hua mai, Ping mai, Xuan mai’ or symbols, e.g., icons,” while

arguing that Amano’s output “are not measurement values but qualitative

classifications of the patient’s condition.” POR, 72; APPLE-1004, 23:5-7. But

Masimo did not explain why these alleged “qualitative classifications” are not

“measurement values.” Id. Amano’s pulse condition is determined from the

harmonics of a measured pulse waveform. See, e.g., APPLE-1004, 21:3-23:9, FIG.

1. The pulse condition is therefore “measurement values for a physiological

parameter of a patient.” See EX2003, 165:20-166:11.

      B.     Amano teaches “comparing processing characteristics to a
             predetermined threshold.”
      Petitioner and Masimo both agree that Amano receives the processing

characteristics from an acceleration sensor and compares it to a threshold value.

Petition, 50-51; POR, 73-75; APPLE-1003, ¶98; EX2001, ¶¶128-129. Masimo

however argues that Amano’s disclosure does not meet “the proper construction of


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‘processing characteristics’ [which] requires that the processing characteristics are

determined from a signal received from one or more detectors configured to detect

light.” POR, 73-75. However, as discussed in Section I.A, the ’703 patent

explicitly describes “processing characteristics” determined from a signal received

from another element of a patient monitor, such as a control engine, and nothing in

the intrinsic evidence precludes “processing characteristics” from being

determined from a signal received from another element of a patient monitor, such

as an acceleration sensor, as described in Amano. Amano renders obvious these

limitations based on the plain meaning of “processing characteristics.” APPLE-

1003, ¶98. Indeed, the plain meaning of “processing characteristics” includes

characteristics or features obtained from or used for processing information,

including Amano’s acceleration sensor output, which is used by Amano to provide

a body movement waveform that used for processing of the pulse waveform. Id.;

APPLE-1004, 21:9-49. Accordingly, Amano’s teachings satisfy the “processing

characteristics” limitations.

VII. AMANO IN VIEW OF TURCOTT RENDER CLAIMS 1-3 and 15-17
     OBVIOUS (GROUND 3B)

      Masimo’s attempt to rebut the Amano-Turcott combination rests on

arguments discussed above in Sections IV.A-IV.B and thus fails for the same

reasons. Notably, the Petition establishes that a POSITA would have found it


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obvious to combine Amano’s and Turcott’s teachings to implement Amano’s

apparatus to reduce the drive current or the duty cycle of the pulse train of the

LED. Petition, 64-67; APPLE-1003, ¶¶122-126. Further, the Petition and Dr.

Anthony establish that a POSITA would have been motivated to modify Amano

based on Turcott’s teachings to achieve a pulse wave examination apparatus that

optimizes the signal-to-noise ratio and minimizes power consumption, as both

Amano and Turcott disclose a need to optimize the signal-to-noise ratio and

minimize power consumption. Petition, 64; APPLE-1003, ¶119; APPLE-1004,

21:50-53, 22:4-6, 35:54-64; APPLE-1006, 11:54-59. Specifically, Turcott teaches

that “the driver current, the frequency of the pulse train, the pulse duration, or the

duty cycle” “is adjusted to optimize the signal to noise ratio and to minimize power

consumption.” APPLE-1006, 11:54-59. Contrary to Masimo’s contentions (POR,

75-76), a POSITA would not have merely wanted to minimize power consumption

of the patient monitor, but would have also wanted to optimize signal to noise

ratio. Petition, 64; APPLE-1003, ¶119; APPLE-1004, 21:50-53, 22:4-6, 35:54-64;

APPLE-1006, 11:54-59. Thus, a POSITA would have also been motivated to

increase activation of the sensor to optimize signal to noise ratio when the signal to

noise ratio is low and reduce activation of the sensor to minimize power

consumption when the signal to noise ratio is high. APPLE-1006, 11:54-59.

      Masimo further contends that “a POSITA would have been discouraged
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from reducing activation of Amano’s sensor without the proper protections in

place,” and “[n]either Amano nor Turcott include these protections.” POR, 76.

But the claims do not require such “protections.” These arguments are therefore

based on unclaimed limitations and cannot form the basis for a proper obviousness

analysis. McCarthy v. Lehigh Valley R. Co., 160 U.S. 110, 116 (1895); Smith &

Nephew, Inc. v. Rea, 721 F.3d 1371, 1381 (Fed. Cir. 2013).

      Finally, Masimo’s argument that “Petitioner also fails to explain how the

combination of Amano and Turcott would operate to adjust activation of Amano’s

sensors” (POR, 76-79) fails to acknowledge the Petition’s and Dr. Anthony’s

explanation that it “would include implementing the apparatus to reduce the drive

current or the duty cycle of the pulse train of the LED.” Petition, 66-67; APPLE-

1003, ¶123. Masimo’s argument further fails to account for what would have been

suggested to a POSITA from Amano’s and Turcott’s teachings. As evident from

Masimo’s explanation of the combination in its POR, the modification of Amano

to incorporate Turcott’s teachings would not have been beyond the skill level of a

POSITA. See, e.g., ClassCo, 838 F.3d at 1219 (“KSR does not require that a

combination only unite old elements without changing their respective functions.

Instead, KSR teaches that ‘[a] person of ordinary skill is also a person of ordinary

creativity, not an automaton.’”).



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VIII. CONCLUSION

     All Challenged Claims are unpatentable.



                                   Respectfully submitted,



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                CERTIFICATION UNDER 37 CFR § 42.24(d)

      Under the provisions of 37 CFR § 42.24(d), the undersigned hereby certifies

that the word count for the foregoing Petitioner’s Reply to Patent Owner’s

Response totals 5,586, which is less than the 5,600 allowed under 37 CFR § 42.24.



                                         Respectfully submitted,




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                         CERTIFICATE OF SERVICE

      Pursuant to 37 CFR §§ 42.6(e)(1) and 42.6(e)(4)(iii), the undersigned

certifies that on October 21, 2021, a complete and entire copy of this Petitioner’s

Reply to Patent Owner’s Response and exhibits were provided via email to the

Patent Owner by serving the email correspondence addresses of record as follows:

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                                                                                  Page 1
              UNITED STATES PATENT AND TRADEMARK OFFICE

                BEFORE THE PATENT TRIAL AND APPEAL BOARD

                               --------------------

                                     APPLE, INC.

                                     Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.

                               --------------------

                                   IPR2020-01523

                             U.S. Patent 8,457,703

                             ---------------------

                Deposition of VIJAY K. MADISETTI, Ph.D.

                               Conducted Virtually

                       Wednesday, September 15, 2021

                                     11:04 a.m.



         Pages: 1-83

         Reported by: Matthew Goldstein, RPR, RMR

         ______________________________________________________

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                                                                            Apple v. Masimo
                                     1                                       IPR2020-01523
                                   Appx1716
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9/15/2021                       Apple, Inc. v. Masimo Corp.           Vijay K. Madisetti, Ph.D.


                                                                                    Page 2
   1            Deposition of VIJAY K. MADISETTI, Ph.D.,

   2     conducted virtually:

   3            Pursuant to Notice, before Matthew Goldstein,

   4     RPR, RMR, Notary Public in and for the State of

   5     Maryland.

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9/15/2021                       Apple, Inc. v. Masimo Corp.           Vijay K. Madisetti, Ph.D.


                                                                                    Page 3
   1                          A P P E A R A N C E S

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                                         3
                                   Appx1718
       Case: 22-1890     Document: 22        Page: 711        Filed: 02/15/2023

9/15/2021                       Apple, Inc. v. Masimo Corp.           Vijay K. Madisetti, Ph.D.


                                                                                   Page 59
   1     case of motion, the spectrum analysis module 590

   2     selects the peak in the spectrum with the highest

   3     amplitude."

   4                    And then it goes further in line 12, "In

   5     the case of no motion, the spectrum analysis

   6     module selects the first harmonic in the spectrum

   7     as the heart rate as described above," in other

   8     sections that I cite in paragraph 89 of my

   9     declaration.

 10             Q.      And what's the difference between

 11      selecting the first harmonic and selecting the

 12      peak and the spectrum with the highest amplitude?

 13             A.      It is significant in the sense that a

 14      POSITA would understand that in the context of

 15      Diab, in the context of the algorithms disclosed,

 16      there is significant overhead and higher power

 17      consumption to the extent, as disclosed in Diab,

 18      that when the motion is detected, the techniques

 19      start with Diab would consume more power when no

 20      motion is detected.

 21             Q.      What operations are being performed to

 22      generate that significant overhead?



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                                                         Filed: December 2, 2021
Filed on behalf of:
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          UNITED STATES PATENT AND TRADEMARK OFFICE


           BEFORE THE PATENT TRIAL AND APPEAL BOARD


                                 APPLE INC.
                                  Petitioner,

                                      v.

                           MASIMO CORPORATION,
                                Patent Owner.


                             Case IPR2020-01523
                             U.S. Patent 8,457,703



               PATENT OWNER’S SUR REPLY TO REPLY



                                    Appx1803
           Case: 22-1890      Document: 22     Page: 713   Filed: 02/15/2023

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Apple Inc. v. Masimo Corporation
evidence. See e.g., Intelligent Bio-Systems, 821 F.3d at 1369-1370 (affirming

Board decision to not consider new arguments raised in reply); Ariosa Diagnostics

v. Verinata Health, Inc., 805 F.3d 1359, 1368 (Fed. Cir. 2015) (rejecting

previously unidentified portions of a prior-art reference). Petitioner’s decision to

delay claim construction is inconsistent with its burden to state in the Petition

“[h]ow the challenged claim is to be construed.” 37 C.F.R. §42.104(b)(3).

B.    Masimo’s Construction Of “Processing Characteristics” Is Correct

      Petitioner argues Masimo’s construction of “processing characteristics” is

“unjustifiably limiting” based on claims 4 and 8. (Reply 1-3.)

      Claim 4 states:

      wherein     said     processing    characteristics   comprise    signal

      characteristics from one or more light sensitive detectors.

Petitioner argues, “If ‘processing characteristics’ were required to be ‘determined

from a signal received from one or more detectors,’ claim 4 would be rendered

meaningless.” (Reply 1.)

      Petitioner is incorrect. Petitioner assumes the limitation “from one or more

light sensitive detectors” is the narrowing limitation of claim 4. However,

Petitioner ignores that claim 4 is narrower than claim 1 because the “processing

characteristics comprise signal characteristics.” The ’703 patent discloses that

processing characteristics can include (1) physiological measurements and (2)



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                                        Appx1811
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signal statistics, both of which are received from the one or more light sensitive

detectors. (Ex. 1001, 4:11-27, Figs. 3-4.) Claim 4 is limited to signal characteristics

(i.e., as opposed to physiological measurements).

      The clause identified by Petitioner, “from one more light sensitive

detectors,” supports Masimo’s construction that the “processing characteristics”

must come “from a signal received from one or more detectors configured to detect

light.” (See also POR 23-27.)

      Claim 8 also does not support Petitioner’s argument. Claim 8 states:

      wherein said processing characteristics include determining an

      estimate of current power consumption and comparing said estimate

      with a target power consumption.

Petitioner argues the “specification makes clear that…the ‘estimate of current

power consumption’…is not ‘determined from a signal received from one or more

detectors configured to detect light.’” (Reply 2.) Instead, Petitioner argues that the

power consumption estimate is determined “from a signal received from control

engine 440.” (Id.)

      Petitioner is incorrect that the “power consumption estimate…is not

determined from a signal received from the detector front-end 490.” As illustrated

by the red lines below, the “process status calculator 460” [orange] estimates the




                                        -5-
                                       Appx1812
           Case: 22-1890      Document: 22    Page: 715     Filed: 02/15/2023

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Apple Inc. v. Masimo Corporation
current power consumption using a signal received from the detector front-end 490

[green]:




(Ex. 1001, Fig. 4, 5:28-6:55.) While the signal passes through other processing

modules before reaching the power status calculator 460, the power consumption

estimate is still “determined from a signal received from one or more detectors

[490] configured to detect light.”

      This distinguishes the ’703 patent from Amano. Amano determines its

alleged “processing characteristics” from a signal received exclusively from an

acceleration sensor, not a “detector configured to detect light.” (Ex. 1004, 21:9-12,


                                       -6-
                                      Appx1813
           Case: 22-1890     Document: 22     Page: 716     Filed: 02/15/2023

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Apple Inc. v. Masimo Corporation
module once it is suspended. Diab does not disclose any suspension or wakeup

circuitry or modules, and Petitioner has not shown that a POSITA could easily

modify Diab’s complex calculations to include such circuitry or modules. (Ex.

2001, ¶¶53-59, 65-69.)

      For these reasons and those in the POR, a POSITA would not have found it

obvious, or been motivated, to “suspend and not execute” Diab’s motion artifact

suppression module based on Amano.

      2.     Figures 20-21 Illustrate A Complete Module

      Petitioner argues that Diab’s Figures 20-21 are incomplete. (Reply 4-5.)

Petitioner argues in the case of no motion, “a plethysmograph waveform can be

generated from the signal using ‘traditional filtering techniques, such as simple

subtraction, low pass, band pass, and high pass filtering’ or ‘a static filtering

system, such as a bandpass filter.’” (Id. (emphasis added).) Petitioner argues

Figures 20-21 “do not show the generation of the plethysmograph waveform using

‘traditional filtering techniques’ because it was well known in the art, as indicated

by Diab.” (Reply 5.)

      However, Figures 20 and 21 do show the alleged “traditional filtering

techniques.” The motion artifact suppression module utilizes a bandpass filter [red]

and a lowpass filter [purple] to generate the clean waveform:




                                       -11-
                                      Appx1818
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        Moreover, Diab does not mention “filter dampening.” Rather, Diab states the

output “filter can sample much faster” or be “slowed down.” (Ex. 1007, 50:23-27.)

A POSITA would have understood that a “module that samples ‘much faster’ will

process more data and increase the power consumption level.” (POR 47; Ex. 2001,

¶76.)

        Petitioner also argues that the spectrum analysis module 590 does not

consume more power when no motion is detected because the module merely

selects one of two values and that “Diab does not describe any difference between

these two selections[.]” (Reply 12.) That is not true. The module does not simply

select a value; it runs algorithms to determine which value to select. (See e.g., Ex.

1039, 58:13-59:20, 63:14-65:2, 68:2-16, 69:20-72:2 (explaining how module

operates).) For example, for no motion, the module selects “the first peak that has

an amplitude of at least 1/20th of the largest peak in the spectrum.” (Ex. 1007,

48:28-31.) Before selecting a peak, the module first determines the “largest peak”

and then runs calculations to identify “the first peak.” (Id.; POR 47; Ex. 2001,

¶77.) As explained by Masimo’s declarant, this process may consume more power

than selecting the first harmonic in the case of motion. (Ex. 1039, 68:2-72:2.)

Petitioner cited no contrary evidence.




                                          -17-
                                         Appx1824
               Case: 22-1890   Document: 22       Page: 718   Filed: 02/15/2023




                   Apple Inc. (Petitioner)
                             v.
              Masimo Corporation (Patent Owner)
                           Petitioner Demonstratives
                               Case No. IPR2020-01523
                               U.S. Patent No. 8,457,703

            Before Hon. Josiah C. Cocks, Robert L. Kinder, Amanda F. Wieker
                              Administrative Patent Judges


                                                                                          1




                                                                                     APPLE 1040
DEMONSTRATIVE EXHIBIT – NOT EVIDENCE          1                                   Apple v. Masimo
                                                                                   IPR2020-01523




                                      Appx1877
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           “Processing Characteristics” Does Not Require
                          Construction
                                        Petition




                                                                       Petition, 51

                               Patent Owner’s Response




                                                                    PO Response, 23

                                   Petitioner’s Reply




                                                                        Pet. Reply, 1
                                                                                        7




DEMONSTRATIVE EXHIBIT – NOT EVIDENCE          7




                                      Appx1883
                      Case: 22-1890          Document: 22        Page: 720   Filed: 02/15/2023




        Diab Renders Obvious Adjusting Behavior of a Patient Monitor By
                      Reducing an Amount of Processing

                                                        Diab


                                                      APPLE-1007, 47:55-56 (cited at Pet. 15)




   APPLE-1007, 47:52-54 (cited at Pet. 15)
                                                                                    APPLE-1007, 48:6-9 (cited at Pet. 15)




                                                                                             APPLE-1007, FIG. 20
                                                                       (as annotated at Pet. 16; APPLE-1003, ¶53)    13




DEMONSTRATIVE EXHIBIT – NOT EVIDENCE                        13




                                                    Appx1889
               Case: 22-1890      Document: 22          Page: 721      Filed: 02/15/2023




       Diab Renders Obvious Adjusting Behavior of a Patient Monitor By
                     Reducing an Amount of Processing

                                    Patent Owner’s Response




                                                                                  PO Response, 34




                               APPLE-1007, FIG. 20 (as annotated at POR, 34)


                                                                                                    17




DEMONSTRATIVE EXHIBIT – NOT EVIDENCE               17




                                             Appx1893
        Case: 22-1890     Document: 22   Page: 722    Filed: 02/15/2023




Trials@uspto.gov                                                Paper # 31
571-272-7822                                    Entered: February 16, 2022

       UNITED STATES PATENT AND TRADEMARK OFFICE

                              __________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        __________

                             APPLE INC.,
                              Petitioner,

                                   v.

                        MASIMO CORPORATION,
                             Patent Owner.
                              __________


                            IPR2020-01523
                          Patent 8,457,703 B2
                              __________

                         Record of Oral Hearing
                         Held: January 19, 2022
                             ___________



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.




                                 Appx1998
      Case: 22-1890    Document: 22     Page: 723   Filed: 02/15/2023


IPR2020-01523
Patent 8,457,703 B2

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      The above-entitled matter came on for hearing on Wednesday,
January 19, 2022, commencing at 12:39 p.m., EDT, at the U.S. Patent and
Trademark Office, by video/by telephone, before Chris Hofer, Notary
Public.




                                    2

                                Appx1999
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     IPR2020-01523
     Patent 8,457,703 B2
 1         According to Masimo the show goes on and that module is going to
 2   continue to process and it's going to continue to absorb processing cycles
 3   and therefore power and we don't believe that's true at all. We believe that
 4   there's an in input too that we'll talk a lot about that would tell that device to
 5   do something different to modify its processing and therefore have a
 6   corresponding modification in the power that's consumed as a consequence
 7   and this is based on the express disclosure found in Diab as well as
 8   inferences that are drawn from it in other statements.
 9         But let's look at Diab pretty closely if we could as we're talking to this
10   and there's a couple of excerpts you can see at the top of this slide. The top
11   and the top left quotes immediately follow from one another in the
12   specification, both are referencing the same section and they speak to the
13   what happens in each of the circumstances. I'm going to address them in the
14   order they're listed on this slide although they are opposite in the actual
15   specification of Diab. But it says in the case of motion motion artifacts are
16   suppressed. There's no real mystery to that. But they also say that if motion
17   is not detected it tells us what happens here. It says spectral estimation on
18   the signals is carried out without motion artifact suppression. The key here
19   is Diab's use of the word without. It describes what happens when motion is
20   not detected. Spectral estimation of signals is carried out without motion
21   artifact suppression. Motion artifact suppression does not occur. This is
22   Diab's disclosure expressly. It couldn't be more clear.
23         Now also in Diab there's a great number of instances where it speaks
24   more affirmatively to the actual performance of motion suppression and in
25   doing so we believe it draws out what negative inference that you don't


                                             6

                                       Appx2003
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     IPR2020-01523
     Patent 8,457,703 B2
 1   perform that same suppression in the absence of motion. An example of this
 2   would be found, for instance, at Diab 48, 34 to 36 and I'll quote,
 3         "In the case of motion, a motion artifact suppression is completed."
 4         Now this is an affirmative indication. But we believe there's a
 5   negative inference from it. Why would you specify in the case of motion if
 6   not suggesting at least rendering obvious to those of skill that in the absence
 7   of motion the opposite would happen.
 8         Slide 14, please. For fear of beating a dead horse the point is also
 9   reinforced we believe by Diab's disclosure of input from its motion status
10   module 584 to the motion artifact suppression module 580 and this is shown
11   at the bottom left of the prior figure. Motion status module 584 we know
12   generates an output reflecting the presence or the absence of motion and it
13   provides a trigger therefore for additional motion artifact suppression
14   module and the processing that's done by it. Dr. Anthony credibly testifies
15   that motion status input to the motion artifact suppression module must have
16   a purpose and one of skill would find it obvious in view of Diab's other
17   disclosure as well as the namesake of module 580 itself that it foregoes
18   motion artifact suppression processes when informed of no motion and in
19   this way the naming conventions themselves given by Diab's further
20   disclosure by Diab of exactly what's going on when read in light of this
21   motion status indication. Of course, this is an obviousness inquiry and this
22   is a rhetorical issue. Why wash a car if the car isn’t dirty? Why clean, why
23   perform the processing on a motion artifact laden signal, there is no motion
24   and this is what Diab is telling us.
25         Even Masimo offers tellingly helpful rhetoric on this. In its Patent


                                             7

                                       Appx2004
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     IPR2020-01523
     Patent 8,457,703 B2
 1   Owner response, it confirms that operations are different in light of motion
 2   or lack thereof by Diab. I'll quote, the modules, "operate differently based
 3   on motion status input." There's no rational basis offered alongside of this
 4   by Masimo to distinguish modules 590 and 94 that are implicated by that
 5   statement from 580. Instead, they maintain for whatever reason that the
 6   module continues in its way regardless of whether the motion is there or not
 7   and we can see in Diab that there's none.
 8         Slide 15, please. As shown by figure 21 that's annotated at the bottom
 9   of this figure you can see, and Anthony has testified to this in paragraph 54
10   incidentally, that the motion artifact suppression module of Diab has
11   components whose functions in red are useful for motion suppression but
12   has other components that are only partially devoted to this function because
13   they're not useful to it and therefore don't process data, but they process data
14   regardless of motion. So, some of its components that are internal would
15   naturally be affected by lack of motion because they're devoted to getting rid
16   of motion artifacts. Others might still operate. It's hard to know. What we
17   do know is the obviousness theories that have been set forth suggest that
18   either you shut down that module, you suspend its operation all together or
19   you shut down at least the portions of processing that are devoted to motion
20   suppression.
21         Slide 17, please. With all this why does Masimo maintain -- why are
22   we talking about this -- why do they maintain that even if motion were
23   absent a POSITA would not find it obvious to forego the processing that is
24   specifically designed to eliminate motion inspired artifacts. Well, in the
25   figure you see here, figure 20, you can see there's a lead line that shows out


                                            8

                                      Appx2005
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     IPR2020-01523
     Patent 8,457,703 B2
 1   as a clean plethysmograph waveform at the bottom, it's labeled and
 2   highlighted. Masimo goes further than just identifying a lead line. They
 3   draw some conclusions that we think are fairly incredible and unsupported,
 4   two of which stand out. One, that a POSITA would have considered the
 5   generation of that clean plethysmograph waveform by the motion artifact
 6   suppression module 580 a critical feature of Diab and two, that because
 7   that's a critical feature that a person would not modify Diab in any way that
 8   would affect the generation of that signal or the availability of that signal in
 9   that spot.
10          Now let's unwind this. First, accepting Masimo's argument that
11   generation by 580, module 580, of a clean plethysmograph wave form is
12   essential to Diab if we accept that, which we do not, but for the purposes of
13   the argument if we accept that Masimo still fails to account for contentions
14   that a POSITA would find it obvious to suspend performance of processes
15   after which module 580 is named, the ones that deal with motion artifact
16   suppression in the absence of motion and to be clear about this point, recall
17   figure 21 -- we just saw it -- which showed that several of the module 580
18   sub-components, there's a DC band filter and a bandpass filter but they're not
19   fully devoted to artifact suppression so it's possible that you could suppress
20   the activities, the motion artifact suppression, you could suspend those and
21   nevertheless still get to a place where the lead line would be present and
22   that's not addressed in the arguments that they've given us.
23          Now another issue with this is, to be clear, Masimo's critical feature
24   theory is just itself unsustainable. Masimo's theory turns on the notion that
25   that waveform is critical to the teaching of Masimo but when you look at


                                             9

                                       Appx2006
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     IPR2020-01523
     Patent 8,457,703 B2
 1   Masimo -- Diab, when you look at Diab beyond figure 20 there's scant
 2   mention of exactly what that is, why it's there and frankly that it's only there
 3   and we know that that's not the only place you can find a clean
 4   plethysmograph waveform. What you find at that spot as highlighted -- and
 5   let's go back to that (indiscernible) figure 20, it's on slide 17 -- you can see
 6   that it's cleaned of motion. That's the point of putting the lead line here. It's
 7   to show someone of skill reading this that you can find clean
 8   plethysmograph waveforms after this because you clean it in the presence of
 9   motion. But in the absence of motion, why would you go through the
10   processing that's otherwise devoted to cleaning out motion? You find the
11   clean plethysmograph waveform available wherever. This is something
12   that's well understood by people of skill. There's no motion error to clean
13   out and the only difference between the output of this module and the input
14   of it is that you've cleaned out that motion that no longer exists or the
15   artifacts no longer exist in the absence of motion.
16         So, their contentions seem to be that because figure 20 shows an
17   opportunity to obtain this waveform at the spot where it's shown, that it
18   wouldn't be obvious for a POSITA to forego having the module perform
19   processing operations that are specifically designed for cleaning of motion
20   artifacts and we think this defies logic. Again, why would you run a car
21   that's clean through a car wash?
22         If we could jump to slide 19, please. Starting at the bottom --
23         JUDGE COCKS: Actually, I have a question, Mr. Renner.
24         MR. RENNER: Yes.
25         JUDGE COCKS: Can we go back to slide 13? That would illustrate


                                             10

                                        Appx2007
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     IPR2020-01523
     Patent 8,457,703 B2
 1   my question better. So, I think I heard you suggest -- well, let me ask. The
 2   infrared signal that's shown in green there, there are occasions when it goes
 3   through motion artifact suppression and times that it does not; is that
 4   accurate?
 5          MR. RENNER: The green signal does not. Sorry, the green signal is
 6   free of --
 7          JUDGE COCKS: The green signal --
 8          MR. RENNER: -- the, oh, sorry.
 9          JUDGE COCKS: So, I guess my question then is I think you're
10   suggesting that the purple signal from what's called the red snapshot, if that
11   could pass through the motion artifact suppression module without
12   undergoing motion artifact suppression; is that accurate?
13          MR. RENNER: That is accurate. That's one thing that could happen
14   and in order of course -- there are several different things spoken to in the
15   record as to what a person of skill would find. But, Your Honor, I think
16   you're asking is that possible and the answer is we believe so.
17          JUDGE COCKS: So, I guess my question then is what is the purpose
18   of figure 20 in showing the infrared snapshot, the green, not passing through
19   the motion artifact suppression if that module can be turned off for motion
20   artifact suppression? I guess, what is the entire purpose of that upper
21   schematic portion dealing with infrared snapshot if it would pass -- if it
22   could pass through the motion artifact suppression module without
23   undergoing motion artifact suppression?
24          MR. RENNER: Yes. Great question. That goes back to, you'll recall
25   I mentioned that the Diab reference speaks of two different kinds of noise


                                            11

                                      Appx2008
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     IPR2020-01523
     Patent 8,457,703 B2
 1   and the kind of noise that we're spending all of our time with is the motion
 2   artifacts noise that needs to be suppressed. So, in the existence of motion
 3   you want to suppress the artifacts that are motion laden and that's what the
 4   580 module and the purple path does.
 5         But there's a second kind of noise that Diab is speaking to in its
 6   disclosure and that's noise that comes of respiration and other low frequency
 7   effects on the blood. Those effects are filtered out in the green. So in the
 8   absence of motion, you need not pursue all of the processing that it
 9   contemplates on motion artifacts but you still might have, in fact you
10   probably have, other artifacts, the ones that are respiratory in nature and
11   those are going to pass through different filters as you can see in different
12   processing to get rid of them and then they all will under the spectral
13   analysis collectively which is where you can see the green and the purple
14   come together in the presence of motion. Does that help? So, kind of there's
15   two different kinds of noise --
16         JUDGE COCKS: I understand your answer.
17         MR. RENNER: Uh-huh.
18         JUDGE COCKS: Okay. Go ahead. Thank you.
19         MR. RENNER: Sure. So, we were at slide 19, if I may, and here we
20   were looking at testimony from Dr. Anthony that concerns the notion that
21   the motion suppression is not necessary and it's the why drive your car
22   through a car wash. He says, and this is in response to questions in the
23   deposition, if motion is not present we need not remove it to generate the
24   clean plethysmograph signal and this is at the transcript at 68, 15 to 69, 6.
25         Now we expounded upon that. That was of course his deposition


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 1   early on. There was no mention of this in the brief where the critical theory
 2   was introduced. Instead, this was not regarded and we talked about that in
 3   our Petitioner's reply at 4 and 7 and 8 and we'll leave that to the papers but
 4   the point being that there's very specific testimony here from Dr. Anthony
 5   that confirms the very concept of don't do something that's not necessary and
 6   that could be changing the processing, that could be shutting down the
 7   element all together.
 8         Without more, I would move to slide 25 and we'd start speaking about
 9   Amano's contribution. So generally, at slide 25 Amano is leveraged relating
10   to its body movement eliminating operations. Sounds very familiar. These
11   are designed to address motion artifacts also in a manner that's similar to
12   what Diab just gave us with its motion artifact suppression module and
13   Amano says, and I'll quote. This is from 21, 50 to 22, 6. It says,
14         "When the control signal C," its control signal, "indicates that no body
15   movement is present, the operations of the body movement component
16   eliminating section are suspended."
17         And then it goes on to say that this can "reduce power consumption in
18   the apparatus." So much like Diab but a little more explicitly here, you see
19   from Amano an indication that when you get a motion, a no motion signal,
20   you shut down the operations that are devoted to getting rid of motion
21   artifacts and when you do that, you get the side benefit of less processing
22   equals less power consumption. This isn't really a tough concept but we
23   wanted to have a reference in the combination that was express on this point,
24   hence we have Amano.
25         So it also talks about the relationship that exists between performance


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 1   of its movement eliminating operations therefore and the power
 2   consumption and it discloses that a POSITA similarly would commonly
 3   know that the power consumption is indeed increased when a device
 4   performs processing and power consumption is decreased when it foregoes
 5   the same, and more to the point therefore it teaches suspending in light of no
 6   motion and motion eliminating operation they didn't call for just like what
 7   Diab has said but in the context of, as Dr. Anthony explains, these two
 8   together it becomes even more evident and more obvious that what you're
 9   going to do in a system like Diab is you're going to stop the processing that's
10   devoted to motion artifacts if indeed there is no motion.
11         If we could go to slide 29, please. Now the obviousness of the
12   combination of Diab and Amano is there's an attempt to undermine that
13   based on details that are not part of the combination itself. Various different
14   details you'll probably hear about, that have got really nothing to do with the
15   combination of Amano. Keep in mind I want to be very clear on this, has
16   been looked upon for very specifically its teaching of artifact suppression,
17   motion artifact suppression, and shutting down the processing for that in the
18   spirit of pursuing power consumption savings. Beyond that we're leaving
19   Diab where it is in large part so the other details that are said to be
20   conflicting as between them would have to amount to a teaching away or
21   something along those lines and we would submit to you that the record just
22   does not establish that kind of proof.
23         To this point, none of the supposed incompatibilities between the
24   device of Diab and Amano have bearing on the proposed combination. In
25   fact, the devices described in Diab and Amano share many key features that


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 1   based on that attenuation and like Diab it (indiscernible) move motion, we've
 2   talked about this already. The difference that we are going to talk about is it
 3   uses an accelerometer to detect motion rather than influencing it or inferring
 4   it from a light signal. In Diab we infer from a light signal what motion
 5   existed here. It's an accelerometer that bears that out and that difference
 6   forms the crux of Masimo's attack on it and its attempt to leverage the term
 7   processing characteristic. You'll note that the trigger was formed by virtue
 8   of the processing characteristic being part of a comparison to that
 9   predetermined threshold.
10         So, what is a processing characteristic? If we go to slide 7. What we
11   can see here is that Masimo's construction was that the processing
12   characteristic is to require the characteristics determined from a signal
13   received from one or more detectors configured to detect light. So,
14   something's that determined from a signal, received from one or more
15   detectors that are configured to detect light and that's what they're reading
16   into the words processing characteristic. We think that plain meaning does
17   the trick to what we had alleged at the front end and we don't see reason to
18   move from that.
19         Looking at their construction we think it's improper. It injects
20   unclaimed subject matter from the specification into the claim. It usurps the
21   amendment process in doing so. If they had wanted more detail into the
22   claim they certainly could have amended the claims while in prosecution or
23   even during these proceedings. We have amendment procedures. Why from
24   a light signal? Why from detectors configured to detect light? These are
25   details that are just not needed, and why is the term unclear enough to even


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                                      Appx2016
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 1   need construction? It's just broad. Presumably it's purposely broad. It
 2   renders claim 4 and the language of claim 4 superfluous and conflicts with
 3   limitations found in claim 8. With respect to claim 4 there's from one or
 4   more light sensing devices is the way the terms read in claim 4. These
 5   words within claim 4 wouldn't be necessary if this indeed was the
 6   construction that was appropriate and claim 8 it demands the processing
 7   characteristics include current power consumption which is not determined
 8   from a light detector and then contrary -- when you look at this -- contrary to
 9   that is what's wrong with plain meaning? You know, processing
10   characteristics, processing. It enables processing. It's yielded from
11   processing. It might do more looking back or looking forward.
12   Characteristic, is a discernable attribute. It's not limited to process or
13   component and Amano's accelerometer meets both of these terms and then
14   together.
15         So, with that, Your Honor, I think I would reserve the remainder of
16   my time for rebuttal. How much time do we have left?
17         JUDGE COCKS: Okay. You'll have your ten minutes.
18         MR. RENNER: Thank you. I should ask if there are any questions
19   before we split here that you would like me to answer. I'm happy to stay on
20   and do that before we break.
21         JUDGE COCKS: So actually, I would like to ask one question. If we
22   can scroll back briefly to slide 13 and I should have asked this earlier. Just
23   for my edification, and this is not what you were discussing about processing
24   characteristics, but my question is this. A signal that -- production of the
25   clean plethysmograph waveform, if that signal does not undergo motion


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                                       Appx2017
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                    CERTIFICATE OF SERVICE AND FILING

      I certify that on February 15, 2023, I electronically filed the foregoing

JOINT APPENDIX using the Court’s CM/ECF filing system. Counsel for

appellee were electronically served by and through the Court’s CM/ECF filing

system per Fed. R. App. P. 25 and Fed. Cir. R. 25(e).


                                           /s/ Lauren A. Degnan
                                           Lauren A. Degnan
